USCA4 Appeal: 23-2097      Doc: 11-1       Filed: 12/06/2023   Pg: 1 of 462




                                            No. 23-2097



                              In The United States Court Of Appeals
                                     For The Fourth Circuit

                                         LULA WILLIAMS,
                                          Plaintiff-Appellee

                                                  v.

                                       MATT MARTORELLO,
                                        Defendant-Appellant,


                          On Appeal From The United States District Court
                        For The Eastern District Of Virginia (Robert E. Payne)
                                        (3:17-cv-00461-REP)


                                         JOINT APPENDIX
                                            VOLUME I



        Matthew William Wessler                        Steven D. Gordon
        Gupta Wessler PLLC                             Holland & Knight LLP
        1900 L Street NW, Suite 312                    800 17th Street, N.W., Suite 1100
        Washington, D.C. 20036                         Washington, D.C. 20006
        Telephone: (202) 888-1741                      Telephone: (202) 955-3000
        E-mail : matt@guptawessler.com                 E-mail: steven.gordon@hklaw.com

        Counsel for Appellee                           Counsel for Appellant
        December 6, 2023
USCA4 Appeal: 23-2097   Doc: 11-1      Filed: 12/06/2023   Pg: 2 of 462




        Krisi Cahoon Kelly
        Andrew Joseph Guzzo
        Kelly Guzzo, PLC
        3925 Chain Bridge Road, Suite 202
        Fairfax, VA 22030
        Telephone: (703) 424-7576
        E-mail: kkelly@kellyguzzo.com
        E-mail: aguzzo@kellyguzzo.com

        Counsel for Appellee
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 3 of 462




                                                  VOLUME I

                                           TABLE OF CONTENTS

            No.                         Document Description                           Page No.

             1                           District Court Docket                        JA001-JA165

             2                                 Complaint                              JA166-JA197

             3           Memorandum opinion denying motion to dismiss for             JA198-JA278
                                      lack of jurisdiction

             4      Tribal defendants’ memorandum in support of motion for            JA279-JA284
                                       entry of judgment

             5           Tribal defendants’ reply brief in support of motion for      JA285-JA296
                                           entry of judgment

             6                     Class action settlement agreement                  JA297-JA375

             7          Memorandum opinion approving class action settlement          JA376-JA412

             8            Memorandum order denying Martorello’s motion to             JA413-JA414
                                dismiss pursuant to Fed.R.Civ.P. 19

             9          Exhibits #3 to #6 to plaintiffs’ memorandum in support        JA415-JA459
                            of their motion for partial summary judgment
USCA4 Appeal: 23-2097         Doc: 11-1         Filed: 12/06/2023     Pg: 4 of 462

                                                         APPEAL,CLOSED,JURY,PROTO,REMAND,STAYED

                                        U.S. District Court
                              Eastern District of Virginia - (Richmond)
                          CIVIL DOCKET FOR CASE #: 3:17-cv-00461-REP


  Williams et al v. Big Picture Loans, LLC et al                    Date Filed: 06/22/2017
  Assigned to: District Judge Robert E. Payne                       Date Terminated: 09/22/2023
  Referred to: Magistrate Judge Mark R. Colombell (Settlement)      Jury Demand: Plaintiff
  related Case: 3:20-mc-00008-REP                                   Nature of Suit: 470 Racketeer/Corrupt
  Case in other court: USCA, 18-01827                               Organization
                       23-02097                                     Jurisdiction: Federal Question
  Cause: 28:1331 Fed. Question: Racketeering (RICO) Act
  Plaintiff
  Lula Williams                                     represented by Craig Carley Marchiando
  on behalf of themselves and all individuals                      Consumer Litigation Associates
  similarly situated                                               763 J Clyde Morris Boulevard
                                                                   Suite 1A
                                                                   Newport News, VA 23601
                                                                   (757) 930-3660
                                                                   Fax: (757) 930-3662
                                                                   Email: craig@clalegal.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                    Kristi Cahoon Kelly
                                                                    Kelly Guzzo PLC
                                                                    3925 Chain Bridge Road
                                                                    Suite 202
                                                                    Fairfax, VA 22030
                                                                    703-424-7570
                                                                    Fax: 703-591-9285
                                                                    Email: kkelly@kellyguzzo.com
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED

                                                                    Amy L. Austin
                                                                    Office of the Federal Public Defender
                                                                    701 E. Broad St.
                                                                    Suite 3600
                                                                    Richmond, VA 23219
                                                                    804-565-0880
                                                                    Fax: 804-648-5033
                                                                    Email: amy_austin@fd.org
                                                                    TERMINATED: 09/14/2021

                                                                    Andrew Joseph Guzzo
                                                                    Kelly Guzzo PLC
                                                                    3925 Chain Bridge Road
                                                                    Suite 202
                                                     Page 1
                                                                                                JA001
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023      Pg: 5 of 462

                               Fairfax, VA 22030
                               703-424-7576
                               Fax: 703-591-0167
                               Email: aguzzo@kellyguzzo.com
                               ATTORNEY TO BE NOTICED

                               Beth Ellen Terrell
                               Terrell Marshall Law Group PLLC
                               936 North 34th St
                               Suite 300
                               Seattle, WA 98103-6689
                               **NA**
                               (206) 816-6603
                               Fax: (206) 319-5450
                               Email: bterrell@terrellmarshall.com
                               PRO HAC VICE
                               ATTORNEY TO BE NOTICED

                               Casey Shannon Nash
                               Kelly Guzzo PLC
                               3925 Chain Bridge Road
                               Suite 202
                               Fairfax, VA 22030
                               703-424-7571
                               Fax: 703-591-0167
                               Email: casey@kellyguzzo.com
                               ATTORNEY TO BE NOTICED

                               Drew David Sarrett
                               Consumer Litigation Associates, PC
                               626 East Broad Street
                               Suite 300
                               Richmond, VA 23219
                               804-905-9900
                               Fax: 757-930-3662
                               Email: drew@clalegal.com
                               ATTORNEY TO BE NOTICED

                               Eleanor Michelle Drake
                               Berger Montague PC
                               1229 Tyler Street NE
                               Suite 205
                               Minneapolis, MN 55413
                               612-594-5933
                               Fax: 612-584-4470
                               Email: emdrake@bm.net
                               PRO HAC VICE
                               ATTORNEY TO BE NOTICED

                               Elizabeth Anne Adams
                               Terrell Marshall Law Group PLLC
                               936 North 34th St
                               Suite 300
                               Seattle, WA 98103-6689

                                              Page 2
                                                                              JA002
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023     Pg: 6 of 462

                             **NA**
                             (206) 816-6603
                             Fax: (206) 319-5450
                             Email: eadams@terrellmarshall.com
                             PRO HAC VICE
                             ATTORNEY TO BE NOTICED

                             Elizabeth W. Hanes
                             Consumer Litigation Associates (Richmond)
                             626 E Broad Street
                             Suite 300
                             Richmond, VA 23219
                             (757) 930-3660
                             Fax: (757) 930-3662
                             Email: elizabeth@clalegal.com
                             TERMINATED: 04/14/2020

                             James Patrick McNichol
                             Kelly Guzzo PLC
                             Gateway Plaza
                             3925 Chain Bridge Road
                             Suite 202
                             Fairfax, VA 22030
                             703-424-7573
                             Email: pat@kellyguzzo.com
                             ATTORNEY TO BE NOTICED

                             James Wilson Speer
                             Virginia Proverty Law Center
                             919 E Main Street
                             Suite 610
                             Richmond, VA 23219
                             804-782-9430
                             Fax: (804) 649-0974
                             Email: jay@vplc.org
                             ATTORNEY TO BE NOTICED

                             Jennifer Rust Murray
                             Terrell Marshall Law Group PLLC
                             936 North 34th St
                             Suite 300
                             Seattle, WA 98103-6689
                             **NA**
                             (206) 816-6603
                             Fax: (206) 319-5450
                             Email: jmurray@terrellmarshall.com
                             PRO HAC VICE
                             ATTORNEY TO BE NOTICED

                             John Albanese
                             Berger Montague PC
                             1229 Tyler Street NE
                             Suite 205
                             Minneapolis, MN 55413

                                              Page 3
                                                                             JA003
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023   Pg: 7 of 462

                                                        612-594-5997
                                                        Fax: 612-584-4470
                                                        Email: jalbanese@bm.net
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Leonard Anthony Bennett
                                                        Consumer Litigation Associates
                                                        763 J Clyde Morris Boulevard
                                                        Suite 1A
                                                        Newport News, VA 23601
                                                        757-930-3660
                                                        Fax: 757-930-3662
                                                        Email: lenbennett@clalegal.com
                                                        ATTORNEY TO BE NOTICED

                                                        Matthew G Rosendahl
                                                        Kelly Guzzo PLC
                                                        3925 Chain Bridge Road
                                                        Suite 202
                                                        Fairfax, VA 22030
                                                        703-434-3901
                                                        Email: matt@kellyguzzo.com
                                                        ATTORNEY TO BE NOTICED

                                                        Matthew William Wessler
                                                        Gupta Wessler PLLC
                                                        1900 L Street NW
                                                        Suite 312
                                                        Washington, DC 20036
                                                        **NA**
                                                        (202) 888-1741
                                                        Fax: (202) 888-7792
                                                        Email: matt@guptawessler.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Michael Allen Caddell
                                                        Caddell & Chapman
                                                        628 East 9th St.
                                                        Houston, TX 77007-1722
                                                        **NA**
                                                        713-751-0400
                                                        Fax: (713) 751-0906
                                                        Email: mac@caddellchapman.com
                                                        ATTORNEY TO BE NOTICED

     Plaintiff
     Gloria Turnage                        represented by Craig Carley Marchiando
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                        Kristi Cahoon Kelly

                                         Page 4
                                                                                JA004
USCA4 Appeal: 23-2097   Doc: 11-1         Filed: 12/06/2023   Pg: 8 of 462

                                    (See above for address)
                                    LEAD ATTORNEY
                                    ATTORNEY TO BE NOTICED

                                    Amy L. Austin
                                    (See above for address)
                                    TERMINATED: 09/14/2021

                                    Andrew Joseph Guzzo
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Beth Ellen Terrell
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Casey Shannon Nash
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Drew David Sarrett
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Eleanor Michelle Drake
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Elizabeth Anne Adams
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Elizabeth W. Hanes
                                    (See above for address)
                                    TERMINATED: 04/14/2020

                                    James Patrick McNichol
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    James Wilson Speer
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Jennifer Rust Murray
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    John Albanese
                                    (See above for address)

                                                Page 5
                                                                             JA005
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023      Pg: 9 of 462

                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Leonard Anthony Bennett
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Matthew G Rosendahl
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Michael Allen Caddell
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

       Plaintiff
       George Hengle                              represented by Craig Carley Marchiando
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Kristi Cahoon Kelly
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Amy L. Austin
                                                              (See above for address)
                                                              TERMINATED: 09/14/2021

                                                              Andrew Joseph Guzzo
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Beth Ellen Terrell
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Casey Shannon Nash
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Drew David Sarrett
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Eleanor Michelle Drake
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Elizabeth Anne Adams
                                                              (See above for address)

                                         Page 6
                                                                                    JA006
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023      Pg: 10 of 462

                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Elizabeth W. Hanes
                                                              (See above for address)
                                                              TERMINATED: 04/14/2020

                                                              James Patrick McNichol
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              James Wilson Speer
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Jennifer Rust Murray
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              John Albanese
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Leonard Anthony Bennett
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Matthew G Rosendahl
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

                                                              Matthew William Wessler
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Michael Allen Caddell
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

       Plaintiff
       Dowin Coffy                                represented by Craig Carley Marchiando
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                              Kristi Cahoon Kelly
                                                              (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Amy L. Austin

                                         Page 7
                                                                                 JA007
USCA4 Appeal: 23-2097   Doc: 11-1        Filed: 12/06/2023    Pg: 11 of 462

                                    (See above for address)
                                    TERMINATED: 09/14/2021

                                    Andrew Joseph Guzzo
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Beth Ellen Terrell
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Casey Shannon Nash
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Drew David Sarrett
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Eleanor Michelle Drake
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Elizabeth Anne Adams
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Elizabeth W. Hanes
                                    (See above for address)
                                    TERMINATED: 04/14/2020

                                    James Patrick McNichol
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    James Wilson Speer
                                    (See above for address)
                                    ATTORNEY TO BE NOTICED

                                    Jennifer Rust Murray
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    John Albanese
                                    (See above for address)
                                    PRO HAC VICE
                                    ATTORNEY TO BE NOTICED

                                    Leonard Anthony Bennett
                                    (See above for address)

                                              Page 8
                                                                              JA008
USCA4 Appeal: 23-2097        Doc: 11-1           Filed: 12/06/2023      Pg: 12 of 462

                                                                           ATTORNEY TO BE NOTICED

                                                                           Matthew G Rosendahl
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Matthew William Wessler
                                                                           (See above for address)
                                                                           PRO HAC VICE
                                                                           ATTORNEY TO BE NOTICED

                                                                           Michael Allen Caddell
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

       Plaintiff
       Marcella P. Singh                                       represented by Craig Carley Marchiando
       Administrator of the Estate of Felix M.                                (See above for address)
       Gillison, Jr.                                                          LEAD ATTORNEY
                                                                              ATTORNEY TO BE NOTICED

                                                                           Kristi Cahoon Kelly
                                                                           (See above for address)
                                                                           LEAD ATTORNEY
                                                                           ATTORNEY TO BE NOTICED

                                                                           Amy L. Austin
                                                                           (See above for address)
                                                                           TERMINATED: 09/14/2021

                                                                           Andrew Joseph Guzzo
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Beth Ellen Terrell
                                                                           (See above for address)
                                                                           PRO HAC VICE
                                                                           ATTORNEY TO BE NOTICED

                                                                           Casey Shannon Nash
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Drew David Sarrett
                                                                           (See above for address)
                                                                           ATTORNEY TO BE NOTICED

                                                                           Eleanor Michelle Drake
                                                                           (See above for address)
                                                                           PRO HAC VICE
                                                                           ATTORNEY TO BE NOTICED

                                                                           Elizabeth Anne Adams
                                                                           (See above for address)

                                                      Page 9
                                                                                                 JA009
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023     Pg: 13 of 462

                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Elizabeth W. Hanes
                                                           (See above for address)
                                                           TERMINATED: 04/14/2020

                                                           James Patrick McNichol
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           James Wilson Speer
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Jennifer Rust Murray
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           John Albanese
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Leonard Anthony Bennett
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Matthew G Rosendahl
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           Matthew William Wessler
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Michael Allen Caddell
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

     Defendant
     Big Picture Loans, LLC                  represented by Craig Thomas Merritt
     TERMINATED: 02/18/2020                                 MerrittHill, PLLC
                                                            919 E. Main Street
                                                            919 East Main Street
                                                            Suite 1000
                                                            Richmond, VA 23219
                                                            804-916-1601
                                                            Email: cmerritt@merrittfirm.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                         Page 10
                                                                                   JA010
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023      Pg: 14 of 462

                             David Neal Anthony
                             Troutman Pepper Hamilton Sanders LLP
                             (Richmond)
                             Troutman Sanders Bldg
                             1001 Haxall Point
                             PO Box 1122
                             Richmond, VA 23219
                             804-697-5410
                             Fax: 804-698-5118
                             Email: david.anthony@troutman.com
                             LEAD ATTORNEY
                             ATTORNEY TO BE NOTICED

                             Shannan Marie Fitzgerald
                             Office of the Richmond City Attorney
                             900 East Broad Street
                             Suite 400
                             Richmond, VA 23219
                             804-646-7946
                             Email: Shannan.Fitzgerald2@rva.gov
                             LEAD ATTORNEY
                             ATTORNEY TO BE NOTICED

                             Anna Marek Bruty
                             Rosette LLP
                             44 Grandville Ave SW
                             Sutie 300
                             Grand Rapids, MI 49503
                             **NA**
                             949-922-8586
                             Fax: 517-913-6443
                             Email: abruty@rosettelaw.com
                             PRO HAC VICE
                             ATTORNEY TO BE NOTICED

                             Harrison Mann Gates
                             Christian & Barton LLP
                             909 E Main St
                             Suite 1200
                             Richmond, VA 23219
                             (804) 697-4105
                             Fax: (804) 697-6105
                             Email: hgates@cblaw.com
                             TERMINATED: 12/06/2018

                             James Edward Moore
                             Christian & Barton LLP
                             909 East Main Street
                             Suite 1200
                             Richmond, VA 23219-3095
                             (804) 697-4100
                             Email: jmoore@cblaw.com

                             Julie Diane Hoffmeister

                                              Page 11
                                                                               JA011
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023     Pg: 15 of 462

                                                        Troutman Sanders LLP (Richmond)
                                                        1001 Haxall Point
                                                        Suite 1500
                                                        Richmond, VA 23219
                                                        (804) 697-1200
                                                        Email:
                                                        julie.hoffmeister@troutmansanders.com
                                                        ATTORNEY TO BE NOTICED

                                                        Justin Alexander Gray
                                                        Rosette LLP (NA-MI)
                                                        25344 Red Arrow Hwy
                                                        Mattawan, MI 49071
                                                        **NA**
                                                        (269) 283-5005
                                                        Fax: 517-916-6443
                                                        Email: jgray@rosettelaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Karrie Sue Wichtman
                                                        Rosette, LLP
                                                        25344 Red Arrow Highway
                                                        Mattawan, MI 49071
                                                        NA
                                                        269-283-5005
                                                        Fax: 517-913-6443
                                                        Email: kwichtman@rosettelaw.com
                                                        TERMINATED: 08/21/2018
                                                        PRO HAC VICE

                                                        Timothy James St. George
                                                        Troutman Pepper Hamilton Sanders LLP
                                                        (Richmond)
                                                        Troutman Sanders Bldg
                                                        1001 Haxall Point
                                                        PO Box 1122
                                                        Richmond, VA 23219
                                                        804-697-1254
                                                        Email: timothy.st.george@troutman.com
                                                        ATTORNEY TO BE NOTICED

                                                        William Henry Hurd
                                                        Troutman Sanders LLP (Richmond)
                                                        Troutman Sanders Bldg
                                                        1001 Haxall Point
                                                        PO Box 1122
                                                        Richmond, VA 23219
                                                        (804) 697-1335
                                                        Email: william.hurd@troutmansanders.com
                                                        ATTORNEY TO BE NOTICED
  Defendant

                                         Page 12
                                                                                  JA012
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023   Pg: 16 of 462

    Matt Martorello                       represented by David Neal Anthony
                                                         Troutman Sanders LLP (Richmond)
                                                         Troutman Sanders Bldg
                                                         1001 Haxall Point
                                                         PO Box 1122
                                                         Richmond, VA 23218
                                                         804-697-5410
                                                         Fax: 804-698-5118
                                                         Email:
                                                         david.anthony@troutmansanders.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        John David Taliaferro
                                                        Loeb & Loeb LLP (DC)
                                                        901 New York Ave NW
                                                        Suite 300 East
                                                        Washington, DC 20001
                                                        202-618-5015
                                                        Fax: 202-318-0691
                                                        Email: jtaliaferro@loeb.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alicia Marie Clough
                                                        Loeb & Loeb LLP (NA-LA)
                                                        10100 Santa Monica Boulevard
                                                        Suite 2200
                                                        Los Angeles, CA 90067
                                                        **NA**
                                                        (310) 282-2000
                                                        Fax: (310) 282-2200
                                                        Email: aclough@loeb.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Bernard Robert Given , II
                                                        Loeb & Loeb LLP (NA-LA)
                                                        10100 Santa Monica Boulevard
                                                        Suite 2200
                                                        Los Angeles, CA 90067
                                                        **NA**
                                                        (310) 282-2235
                                                        Fax: (310) 282-2200
                                                        Email: bgiven@loeb.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Bethany Danielle Simmons
                                                        Loeb & Loeb LLP
                                                        345 Park Avenue
                                                        New York, NY 10154
                                                        **NA**
                                                        (212) 407-4000

                                         Page 13
                                                                                JA013
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023     Pg: 17 of 462

                             Fax: (212) 407-4990
                             Email: bsimmons@loeb.com
                             PRO HAC VICE
                             ATTORNEY TO BE NOTICED

                             Charles Palella
                             Armstrong Teasdale LLP (NY-NA)
                             919 Third Avenue
                             37th Floor
                             New York, NY 10022
                             NA
                             (212) 209-4403
                             Fax: (212) 409-8385
                             Email: cpalella@armstrongteasdale.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             David Foster Herman
                             Armstrong Teasdale LLP (NA-PA)
                             2005 Market Street
                             29th Floor
                             One Commerce Square
                             Philadelphia, PA 19103
                             NA
                             215-246-3467
                             Fax: 215-569-8228
                             Email: dherman@armstrongteasdale.com
                             TERMINATED: 01/15/2019
                             PRO HAC VICE

                             Douglas Marsh
                             Armstong Teasdale, LLP
                             4643 S. Ulster Street
                             Suite 800
                             Denver, CO 80327
                             NA
                             720-200-0676
                             Fax: 314-612-2378
                             Email: dmarsh@armstrongteasdale.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             Hugh McCoy Fain , III
                             Spotts Fain PC
                             411 E Franklin St
                             PO Box 1555
                             Richmond, VA 23218-1555
                             (804) 788-1190
                             Email: hfain@spottsfain.com
                             TERMINATED: 12/09/2020

                             John Michael Erbach
                             Spotts Fain PC
                             411 E Franklin St

                                             Page 14
                                                                              JA014
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023     Pg: 18 of 462

                             Suite 600
                             Richmond, VA 23219
                             804-697-2044
                             Fax: 804-697-2144
                             Email: jerbach@spottsfain.com
                             TERMINATED: 12/09/2020

                             John B Rottenborn
                             Woods Rogers Vandeventer Black PLC
                             (Roanoke)
                             10 South Jefferson Street
                             Suite 1800
                             Roanoke, VA 24011
                             540-983-7540
                             Email: ben.rottenborn@wrvblaw.com
                             ATTORNEY TO BE NOTICED

                             Jonathan Peter Boughrum
                             Armstrong Teasdale LLP (NA-PA)
                             2005 Market Street
                             29th Floor
                             One Commerce Square
                             Philadelphia, PA 19103
                             NA
                             267-780-2012
                             Fax: 215-405-9070
                             Email: jboughrum@armstrongteasdale.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             Jonathan Frank Hollis
                             Woods Rogers Vandeventer Black PLC
                             901 East Byrd Street
                             Suite 1550
                             Richmond, VA 23219
                             804-343-5020
                             Fax: 804-495-2098
                             Email: jhollis@woodsrogers.com
                             TERMINATED: 05/12/2021

                             Karen M. Stemland
                             Woods Rogers PLC (Charlottesville)
                             123 East Main Street
                             Suite 500
                             Charlottesville, VA 22902
                             434-220-6826
                             Fax: 434-566-0473
                             Email: kstemland@woodsrogers.com
                             ATTORNEY TO BE NOTICED

                             Maurice Francis Mullins
                             Spotts Fain PC
                             411 E Franklin Street
                             Suite 600

                                             Page 15
                                                                              JA015
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023     Pg: 19 of 462

                             Richmond, VA 23219
                             804-697-2000
                             Fax: 804-697-2169
                             Email: cmullins@spottsfain.com
                             TERMINATED: 12/09/2020

                             Michael Christopher Witsch
                             Armstrong Teasdale LLP (NA-PA)
                             2005 Market Street
                             29th Floor
                             One Commerce Square
                             Philadelphia, PA 19103
                             NA
                             (267) 780-2016
                             Fax: 215-405-9070
                             Email: mwitsch@atllp.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             Michelle Lynne Alamo
                             Armstrong Teasdale LLP (CO-NA)
                             4643 S Ulster Street
                             Suite 800
                             Denver, CO 80237
                             NA
                             (720) 722-7189
                             Fax: (720) 200-0679
                             Email: malamo@armstrongteasdale.com
                             TERMINATED: 07/07/2020
                             PRO HAC VICE

                             Paul Louis Brusati
                             Armstrong Teasdale LLP
                             7700 Forsyth Blvd
                             Suite 1800
                             St. Louis, MO 63105
                             NA
                             (314) 552-6602
                             Fax: (314) 613-8522
                             Email: pbrusati@armstrongteasdale.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             Richard Lawrence Scheff
                             Armstrong Teasdale LLP (NA-PA)
                             2005 Market Street
                             29th Floor
                             One Commerce Square
                             Philadelphia, PA 19103
                             NA
                             267-780-2010
                             Fax: 215-405-9070
                             Email: rlscheff@atllp.com
                             TERMINATED: 09/17/2020

                                             Page 16
                                                                              JA016
USCA4 Appeal: 23-2097   Doc: 11-1       Filed: 12/06/2023     Pg: 20 of 462

                             PRO HAC VICE

                             Steven D. Gordon
                             Holland & Knight
                             800 17th Street, NW
                             Ste 1100
                             Washington, DC 20006
                             202-955-3000
                             Fax: 202-955-5564
                             Email: steven.gordon@hklaw.com
                             PRO HAC VICE
                             ATTORNEY TO BE NOTICED

                             Timothy James St. George
                             Troutman Sanders LLP (Richmond)
                             Troutman Sanders Bldg
                             1001 Haxall Point
                             PO Box 1122
                             Richmond, VA 23218
                             804-697-1254
                             Email: timothy.st.george@troutman.com
                             ATTORNEY TO BE NOTICED

                             Tod Daniel Stephens
                             Armstrong Teasdale LLP
                             7700 Forsyth Blvd
                             Suite 1800
                             St. Louis, MO 63105
                             NA
                             (314) 342-8065
                             Fax: (314) 621-5065
                             Email: tstephens@armstrongteasdale.com
                             TERMINATED: 09/17/2020
                             PRO HAC VICE

                             William Nathaniel Grosswendt
                             Loeb & Loeb LLP (NA-LA)
                             10100 Santa Monica Boulevard
                             Suite 2200
                             Los Angeles, CA 90067
                             NA
                             310-282-2348
                             Fax: 310-282-2200
                             Email: wgrosswendt@loeb.com
                             TERMINATED: 10/07/2022
                             PRO HAC VICE

                             William Ojile
                             Armstrong Teasdale LLP (CO-NA)
                             4643 S Ulster Street
                             Suite 800
                             Denver, CO 80237
                             NA
                             (303) 575-4000

                                             Page 17
                                                                              JA017
USCA4 Appeal: 23-2097       Doc: 11-1   Filed: 12/06/2023    Pg: 21 of 462

                                                            Fax: (720) 200-0679
                                                            Email: bojile@armstrongteasdale.com
                                                            TERMINATED: 09/17/2020
                                                            PRO HAC VICE
    Defendant
    Ascension Technologies, Inc.              represented by Craig Thomas Merritt
    TERMINATED: 02/18/2020                                   (See above for address)
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                            David Neal Anthony
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Shannan Marie Fitzgerald
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Anna Marek Bruty
                                                            (See above for address)
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Harrison Mann Gates
                                                            (See above for address)
                                                            TERMINATED: 12/06/2018

                                                            James Edward Moore
                                                            (See above for address)

                                                            Julie Diane Hoffmeister
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            Justin Alexander Gray
                                                            (See above for address)
                                                            PRO HAC VICE
                                                            ATTORNEY TO BE NOTICED

                                                            Karrie Sue Wichtman
                                                            (See above for address)
                                                            TERMINATED: 08/21/2018
                                                            PRO HAC VICE

                                                            Timothy James St. George
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                                            William Henry Hurd
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED

                                             Page 18
                                                                                      JA018
USCA4 Appeal: 23-2097   Doc: 11-1   Filed: 12/06/2023   Pg: 22 of 462

       Defendant
       Daniel Gravel                           represented by David Neal Anthony
       TERMINATED: 10/18/2017                                 (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
       Defendant
       James Williams, Jr.                     represented by David Neal Anthony
       TERMINATED: 04/05/2018                                 (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                           Justin Alexander Gray
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Karrie Sue Wichtman
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Timothy James St. George
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
       Defendant
       Gertrude McGeshick                      represented by David Neal Anthony
       TERMINATED: 04/05/2018                                 (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                           Justin Alexander Gray
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Karrie Sue Wichtman
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Timothy James St. George
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
       Defendant
       Susan McGeshick                         represented by David Neal Anthony
       TERMINATED: 04/05/2018                                 (See above for address)
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                           Justin Alexander Gray
                                         Page 19
                                                                               JA019
USCA4 Appeal: 23-2097     Doc: 11-1        Filed: 12/06/2023     Pg: 23 of 462

                                                                 (See above for address)
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                 Karrie Sue Wichtman
                                                                 Rosette, LLP
                                                                 25344 Red Arrow Highway
                                                                 Mattawan, MI 49071
                                                                 **NA**
                                                                 269-283-5005
                                                                 Fax: 517-913-6443
                                                                 Email: kwichtman@rosettelaw.com
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                 Timothy James St. George
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED
    Defendant
    Giiwegiizhigookway Martin                     represented by David Neal Anthony
    TERMINATED: 04/05/2018                                       (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Justin Alexander Gray
                                                                 (See above for address)
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                 Karrie Sue Wichtman
                                                                 (See above for address)
                                                                 PRO HAC VICE
                                                                 ATTORNEY TO BE NOTICED

                                                                 Timothy James St. George
                                                                 (See above for address)
                                                                 ATTORNEY TO BE NOTICED
    Movant
    Eventide Credit Acquisition Company,          represented by John Michael Erbach
    LLC                                                          (See above for address)
                                                                 TERMINATED: 12/09/2020
    Interested Party
    Rosette, LLP                                  represented by Craig Crandall Reilly
                                                                 Law Office of Craig C. Reilly
                                                                 209 Madison Street
                                                                 Suite 501
                                                                 Alexandria, VA 22314
                                                                 703-549-5354
                                                                 Fax: 703-549-2604
                                                                 Email: craig.reilly@ccreillylaw.com
                                                Page 20
                                                                                          JA020
USCA4 Appeal: 23-2097           Doc: 11-1          Filed: 12/06/2023     Pg: 24 of 462

  Interested Party
  Justin Gray                                           represented by Craig Crandall Reilly
                                                                       (See above for address)

                                                                       Leonard Anthony Bennett
                                                                       (See above for address)
                                                                       ATTORNEY TO BE NOTICED

  Interested Party
  Conner & Winters, LLC                                 represented by Wyatt B. Durrette , Jr.
                                                                       Durrette Arkema Gerson & Gill PC
                                                                       1111 East Main Street
                                                                       16th Floor
                                                                       Richmond, VA 23219
                                                                       (804) 775-6900
                                                                       Fax: (804) 775-6911
                                                                       Email: wdurrette@dagglaw.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

  Interested Party
  Greenberg Traurig, LLP                                represented by John F. O'Connor , Jr.
                                                                       Steptoe & Johnson LLP
                                                                       1330 Connecticut Ave NW
                                                                       Washington, DC 20036
                                                                       202-429-3000
                                                                       Fax: 202-429-3902
                                                                       Email: joconnor@steptoe.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED


   Date Filed        #      Docket Text
   06/22/2017            1 COMPLAINT against All Defendants (Filing fee: $400, receipt number: 0422-5585119)
                           filed by George Hengle, Felix Gillison, Jr, Lula Williams, Dowin Coffy, and Gloria
                           Turnage. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Civil Cover Sheet) (jsmi, )
                           (Entered: 06/23/2017)
   06/23/2017            2 Summons Issued as to All Defendants. NOTICE TO ATTORNEY: Print out two
                           electronically issued summons and one copy of the attachments for each defendant to be
                           served with the complaint. (jsmi, ) (Entered: 06/23/2017)
   06/30/2017            3 WAIVER OF SERVICE Returned Executed as to all defendants waiver sent on
                           6/29/2017, answer due 8/28/2017. (Attachments: # 1 Letter) (jsmi, ) (Entered:
                           07/03/2017)
   07/14/2017            4 Certificate of Compliance as to All Defendants. See 3 Waiver of Service Returned
                           Executed for answer deadline. (jsmi, ) (Entered: 07/14/2017)
   07/25/2017            5 Motion to appear Pro Hac Vice by Karrie Sue Wichtman and Certification of Local
                           Counsel David N. Anthony Filing fee $ 75, receipt number 0422-5633481. by Ascension
                           Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude
                           McGeshick, Susan McGeshick, James Williams, Jr. (Anthony, David) (Entered:
                           07/25/2017)

                                                        Page 21
                                                                                                   JA021
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 25 of 462

   07/25/2017     6 Motion to appear Pro Hac Vice by Justin Alexander Gray and Certification of Local
                    Counsel David N. Anthony Filing fee $ 75, receipt number 0422-5633503. by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (Anthony, David) (Entered:
                    07/25/2017)
   07/28/2017     7 ORDER granting 5 Motion for Pro hac vice and 6 Motion for Pro hac vice. Karrie Sue
                    Wichtman and Justin Alexander Gray for Giiwegiizhigookway Martin, Susan
                    McGeshick, Ascension Technologies, Inc., Big Picture Loans, LLC, Gertrude
                    McGeshick, James Williams, Jr. Signed by District Judge Robert E. Payne on 7/28/2017.
                    (jsmi, ). Modified to add additional defendants on 8/7/2017 (nbrow). (Entered:
                    07/28/2017)
   08/28/2017     8 Consent MOTION for Extension of Time to File Answer by Ascension Technologies,
                    Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan
                    McGeshick, James Williams, Jr. (Attachments: # 1 Exhibit 1 (Proposed Order))
                    (Anthony, David) (Entered: 08/28/2017)
   08/28/2017     9 Consent MOTION for Extension of Time to File Answer by Matt Martorello.
                    (Attachments: # 1 Exhibit 1 (Proposed Order))(Anthony, David) (Entered: 08/28/2017)
   08/28/2017    10 Consent MOTION for Extension of Time to File Answer by Daniel Gravel.
                    (Attachments: # 1 Exhibit 1 (Proposed Order))(Anthony, David) (Entered: 08/28/2017)
   08/28/2017    11 Motion to appear Pro Hac Vice by David Foster Herman and Certification of Local
                    Counsel David N. Anthony Filing fee $ 75, receipt number 0422-5685554. by Matt
                    Martorello. (Anthony, David) (Entered: 08/28/2017)
   08/29/2017    12 Motion to appear Pro Hac Vice by Richard Lawrence Scheff and Certification of Local
                    Counsel David N. Anthony Filing fee $ 75, receipt number 0422-5686427. by Matt
                    Martorello. (Anthony, David) (Entered: 08/29/2017)
   08/29/2017    13 Motion to appear Pro Hac Vice by Jonathan Peter Boughrum and Certification of Local
                    Counsel David N. Anthony Filing fee $ 75, receipt number 0422-5686442. by Matt
                    Martorello. (Anthony, David) (Entered: 08/29/2017)
   08/30/2017    14 ORDER granting 12 Motion for Richard Lawrence Scheff to appear as Pro Hac Vice for
                    Matt Martorello. Signed by District Judge Robert E. Payne on 8/29/2017. (sbea, )
                    (Entered: 08/30/2017)
   08/30/2017    15 ORDER granting 13 Motion for Jonathan Peter Boughrum to appear as Pro Hac Vice for
                    Matt Martorello. Signed by District Judge Robert E. Payne on 8/29/2017. (sbea, )
                    (Entered: 08/30/2017)
   08/30/2017    16 ORDER granting 11 Motion for David Foster Herman to appear as Pro Hac Vice for
                    Matt Martorello. Signed by District Judge Robert E. Payne on 8/30/2017. (sbea, )
                    (Entered: 08/30/2017)
   08/30/2017           Minute Entry for proceedings held before District Judge Robert E. Payne:Telephone
                        Conference held on 8/30/2017. (Court Reporter Peppy Peterson, OCR.)(khan, )
                        (Entered: 09/08/2017)
   09/01/2017    17 ORDER that Defendants' several CONSENT MOTIONS FOR EXTENSION OF TIME
                    TO FILE RESPONSIVE PLEADINGS (ECF Nos. 8 , 9 , and 10 ) are denied.
                    Defendants shall file their Answers to the Complaint by September 29, 2017.
                    Furthermore, it is ORDERED that Defendants shall file any motions to dismiss by
                    September 29, 2017; Plaintiffs shall respond by October 31, 2017, and Defendants shall
                    reply by November 8, 2017. Furthermore, it is ORDERED that Plaintiffs shall submit to

                                                    Page 22
                                                                                               JA022
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 26 of 462

                        Defendants any discovery requests respecting the Court's jurisdiction over the
                        Defendants by September 14, 2017, and Defendants shall submit to Plaintiffs any
                        discovery requests respecting the Court's jurisdiction by September 29, 2017.
                        Furthermore, it is ORDERED that Plaintiffs shall, as necessary, conduct depositions
                        concerning the Court's jurisdiction over Defendants by October 31, 2017. It is so
                        ORDERED. Signed by District Judge Robert E. Payne on 8/31/2017. (sbea, ) (SEE
                        ORDER 42 AMENDING DEADLINES entered on 10/10/17. Modified on 10/11/2017
                        (jtho, ). (Entered: 09/01/2017)
   09/20/2017    18 Joint MOTION for Protective Order by Ascension Technologies, Inc., Big Picture
                    Loans, LLC, Daniel Gravel, Giiwegiizhigookway Martin, Matt Martorello, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (Attachments: # 1 Exhibit 1
                    (Proposed Stipulated Protective Order))(Anthony, David) (Entered: 09/20/2017)
   09/22/2017    19 STIPULATED PROTECTIVE ORDER. See Order for details. Signed by District Judge
                    Robert E. Payne on 9/22/2017. (Attachments: # 1 Exhibit A) (jsmi, ) (Entered:
                    09/22/2017)
   09/28/2017    20 NOTICE of Appearance by Casey Shannon Nash on behalf of Dowin Coffy, Felix
                    Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams (Nash, Casey) (Entered:
                    09/28/2017)
   09/29/2017    21 Consent MOTION for Extension of Time to File Response/Reply Pleadings by Daniel
                    Gravel. (Attachments: # 1 Exhibit 1)(Anthony, David) (Entered: 09/29/2017)
   09/29/2017    22 MOTION to Dismiss for Lack of Jurisdiction by Ascension Technologies, Inc., Big
                    Picture Loans, LLC. (Anthony, David) (Entered: 09/29/2017)
   09/29/2017    23 Memorandum in Support re 22 MOTION to Dismiss for Lack of Jurisdiction filed by
                    Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                    Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                    13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, #
                    19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                    Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29
                    Exhibit 30, # 30 Exhibit 31, # 31 Exhibit 32, # 32 Exhibit 33, # 33 Exhibit 34, # 34
                    Exhibit 35, # 35 Exhibit 36, # 36 Exhibit 37, # 37 Exhibit 38, # 38 Exhibit 39, # 39
                    Exhibit 40, # 40 Exhibit 41, # 41 Exhibit 42, # 42 Exhibit 43, # 43 Exhibit 44)(Anthony,
                    David) (Attachment 19 replaced on 10/2/2017) (jsmi, ). (Attachment 33 replaced on
                    10/2/2017) (jsmi, ). (Attachment 36 replaced on 10/2/2017) (jsmi, ). (Attachment 34
                    replaced on 10/2/2017) (jsmi, ). (Attachment 37 replaced on 10/2/2017) (jsmi, ).
                    (Attachment 4 replaced on 11/21/2017 per Order 81 entered on 11/21/17) (jtho, ).
                    (Attachment 24 replaced on 7/27/2018) (jsmi, ). (Attachment 29 replaced on 7/27/2018)
                    (jsmi, ). (Attachment 31 replaced on 7/27/2018) (jsmi, ). (Attachment 34 replaced on
                    7/27/2018) (jsmi, ). (Entered: 09/29/2017)
   09/29/2017    24 MOTION to Dismiss for Failure to State a Claim by Ascension Technologies, Inc., Big
                    Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan
                    McGeshick, James Williams, Jr. (Anthony, David) (Entered: 09/29/2017)
   09/29/2017    25 Memorandum in Support re 24 MOTION to Dismiss for Failure to State a Claim filed
                    by Ascension Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin,
                    Gertrude McGeshick, Susan McGeshick, James Williams, Jr. (Anthony, David)
                    (Entered: 09/29/2017)
   09/29/2017    26 MOTION to Dismiss for Failure to Exhaust Tribal Remedies and Under the Doctrine of
                    Forum Non Conveniens by Big Picture Loans, LLC. (Anthony, David) (Entered:

                                                    Page 23
                                                                                                JA023
USCA4 Appeal: 23-2097      Doc: 11-1         Filed: 12/06/2023      Pg: 27 of 462

                        09/29/2017)
   09/29/2017    27 Memorandum in Support re 26 MOTION to Dismiss for Failure to Exhaust Tribal
                    Remedies and Under the Doctrine of Forum Non Conveniens filed by Big Picture Loans,
                    LLC. (Anthony, David) (Entered: 09/29/2017)
   09/29/2017    28 MOTION to Dismiss for Lack of Jurisdiction (Subject Matter Jurisdiction, Personal
                    Jurisdiction, and Article III Standing) by Giiwegiizhigookway Martin, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (Anthony, David) (Entered:
                    09/29/2017)
   09/29/2017    29 Memorandum in Support re 28 MOTION to Dismiss for Lack of Jurisdiction (Subject
                    Matter Jurisdiction, Personal Jurisdiction, and Article III Standing) filed by
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr. (Attachments: # 1 Affidavit G. McGeshick, # 2 Affidavit J. Williams, # 3 Affidavit S.
                    McGeshick, # 4 Affidavit G. Martin)(Anthony, David) (Entered: 09/29/2017)
   09/29/2017    30 ANSWER to 1 Complaint, by Ascension Technologies, Inc., Big Picture Loans, LLC,
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr.(Anthony, David) (Entered: 09/29/2017)
   09/29/2017    31 MOTION to Seal by Ascension Technologies, Inc., Big Picture Loans, LLC,
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr. (Anthony, David) (Entered: 09/29/2017)
   09/29/2017    32 Memorandum in Support re 31 MOTION to Seal filed by Ascension Technologies, Inc.,
                    Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan
                    McGeshick, James Williams, Jr. (Attachments: # 1 Appendix 1, # 2 Exhibit 1)(Anthony,
                    David) (Entered: 09/29/2017)
   09/29/2017    33 Notice of Filing Sealing Motion LCvR5(C) by Ascension Technologies, Inc., Big Picture
                    Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick,
                    James Williams, Jr re 28 MOTION to Dismiss for Lack of Jurisdiction (Subject Matter
                    Jurisdiction, Personal Jurisdiction, and Article III Standing), 24 MOTION to Dismiss
                    for Failure to State a Claim , 26 MOTION to Dismiss for Failure to Exhaust Tribal
                    Remedies and Under the Doctrine of Forum Non Conveniens, 22 MOTION to Dismiss
                    for Lack of Jurisdiction (Anthony, David) (Entered: 09/29/2017)
   09/29/2017    34 Sealed Attachment/Exhibit(s). (Attachments: # 1 Exhibit 2, # 2 Exhibit 19, # 3 Exhibit
                    20, # 4 Exhibit 22, # 5 Exhibit 24, # 6 Exhibit 30, # 7 Exhibit 32, # 8 Exhibit 33, # 9
                    Exhibit 35, # 10 Exhibit 36, # 11 Exhibit 38)(Anthony, David) (Entered: 09/29/2017)
   09/29/2017    35 ANSWER to 1 Complaint, by Matt Martorello.(Anthony, David) (Entered: 09/29/2017)
   09/29/2017    36 MOTION to Dismiss for Failure to State a Claim by Matt Martorello. (Anthony, David)
                    (Entered: 09/29/2017)
   09/29/2017    37 Memorandum in Support re 36 MOTION to Dismiss for Failure to State a Claim filed
                    by Matt Martorello. (Anthony, David) (Entered: 09/29/2017)
   10/02/2017    38 Financial Interest Disclosure Statement (Local Rule 7.1) by Big Picture Loans, LLC.
                    (Anthony, David) (Entered: 10/02/2017)
   10/02/2017    39 Financial Interest Disclosure Statement (Local Rule 7.1) by Ascension Technologies,
                    Inc.. (Anthony, David) (Entered: 10/02/2017)
   10/03/2017    40 ORDER that 21 CONSENT MOTION FOR EXTENSION OF TIME TO FILE
                    RESPONSIVE PLEADINGS is granted. It is further ORDERED that the defendant,
                    Daniel Gravel, shall file his Answer and any other motions with respect to the Complaint

                                                  Page 24
                                                                                               JA024
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 28 of 462

                        by October 13, 2017. Signed by District Judge Robert E. Payne on 10/2/2017. (jsmi, )
                        (Entered: 10/03/2017)
   10/09/2017    41 Joint MOTION for Extension of Time to File Response/Reply as to 28 MOTION to
                    Dismiss for Lack of Jurisdiction (Subject Matter Jurisdiction, Personal Jurisdiction, and
                    Article III Standing), 24 MOTION to Dismiss for Failure to State a Claim , 36 MOTION
                    to Dismiss for Failure to State a Claim , 26 MOTION to Dismiss for Failure to Exhaust
                    Tribal Remedies and Under the Doctrine of Forum Non Conveniens, 22 MOTION to
                    Dismiss for Lack of Jurisdiction to Extend Briefing Schedule by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Matt
                    Martorello, Gertrude McGeshick, Susan McGeshick, James Williams, Jr. (Attachments:
                    # 1 Exhibit 1 (Proposed Order))(Anthony, David) (Entered: 10/09/2017)
   10/11/2017    42 ORDER having considered the Joint Motion to Extend Briefing Schedule and for good
                    cause shown, it is hereby ORDERED that the Joint Motion to Extend Briefing Schedule
                    41 is granted. It is further ORDERED that the Order 17 entered on September 1, 2017 is
                    amended to reflect that plaintiffs shall file their response to the motions to dismiss by
                    November 3, 2017 and the defendants shall file their replies by November 11, 2017. In
                    all other respects the Order entered on September 1, 2017 shall remain unaffected and
                    shall continue in full force and effect. Signed by District Judge Robert E. Payne on
                    10/10/17. (jtho, ) (Entered: 10/11/2017)
   10/11/2017    43 ORDER that having considered DEFENDANTS BIG PICTURE LOANS, LLC,
                    ASCENSIONTECHNOLOGIES, LLC, JAMES WILLIAMS, JR., GERTRUDE
                    MCGESHICK, SUSANMCGESHICK, AND GIIWEGIIZHIGOOKWAY MARTIN'S
                    Motion to Seal 31 and for good cause shown and the requirements of Local Civil Rule 5
                    having been met, it is hereby ORDERED that the Motion to Seal 31 is GRANTED and
                    certain exhibits 34 to the pleadings as outlined in the Order are filed under seal provided
                    that appropriately redacted versions thereof are filed in the public record. (SEE ORDER
                    FOR DETAILS). Signed by District Judge Robert E. Payne on 10/10/17. (Entered:
                    10/11/2017)
   10/12/2017    44 ORDER that any disputes related to the parties' discovery concerning the Court's
                    jurisdiction over the Defendants are referred to United States Magistrate Judge Roderick
                    C. Young for disposition. Signed by District Judge Robert E. Payne on 10/11/2017.
                    (jsmi, ) (Entered: 10/12/2017)
   10/12/2017           Case referred to Magistrate Judge Roderick C. Young. (jsmi, ) (Entered: 10/12/2017)
   10/13/2017    45 VACATED PER 47 ORDER ENTERED ON 10/16/2017 - ORDER that the parties file a
                    joint motion - in accordance with this Order - addressing the current discovery disputes
                    no later than 10 days from the entry of this Order. The parties are reminded that
                    discovery disputes requiring judicial intervention are strongly disfavored and that the
                    Court will consider imposing sanctions pursuant to Federal Rule of Civil Procedure 37
                    and Local Rule 37 against any party not acting in good faith to resolve a dispute before
                    involving the Court. See Order for details. Signed by Magistrate Judge Roderick C.
                    Young on 10/13/2017. (jsmi, ) Modified on 10/16/2017 (jsmi, ). (Entered: 10/13/2017)
   10/13/2017    46 Joint MOTION to Voluntarily Dismiss (Defendant Daniel Gravel) by Daniel Gravel.
                    (Attachments: # 1 Exhibit 1 (Proposed Dismissal Order))(Anthony, David) (Entered:
                    10/13/2017)
   10/16/2017    47 ORDER that the Court hereby vacates 45 Order previously issued on October 13, 2017.
                    See Order for details. Signed by Magistrate Judge Roderick C. Young on 10/16/2017.
                    (jsmi, ) (Entered: 10/16/2017)
   10/16/2017    48 TRANSCRIPT of proceedings held on October 16, 2017, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                                                    Page 25
                                                                                                 JA025
USCA4 Appeal: 23-2097    Doc: 11-1          Filed: 12/06/2023      Pg: 29 of 462

                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 11/15/2017. Redacted Transcript Deadline set for
                    12/18/2017. Release of Transcript Restriction set for 1/16/2018.(peterson, peppy)
                    (Entered: 10/16/2017)
  10/16/2017        Minute Entry for proceedings held before District Judge Robert E. Payne:Telephone
                    Conference held on 10/16/2017. (Court Reporter Peppy Peterson, OCR.)(khan, )
                    (Entered: 11/02/2017)
  10/18/2017    49 ORDER that Plaintiffs' motion for waiver of the privileges claimed in Defendants'
                   attorney-client and work-product privilege logs and their supporting brief shall be filed
                   by October 23, 2017; Defendants' response shall be filed by October 30, 2017, and
                   Plaintiffs' reply shall be filed by November 8, 2017; Documents relating to the vendors
                   of Big Picture Loans,LLC, may be produced in redacted form; All documents
                   concerning the capital sources of Big Picture Loans, LLC, shall be produced in un-
                   redacted form, and Defendants' objection to providing documents relating to the
                   structure and operation of the business is OVERRULED; Defendants' objection to
                   Plaintiffs ' subpoenas on the ground that they are intended to frustrate business
                   operations is OVERRULED; All of Defendants' discovery requests are stricken, with the
                   exception of Defendants' depositions of Plaintiffs; Defendants' request for a limitation
                   on discovery to "Tier One" only is DENIED as premature; The provisions of this Court's
                   42 ORDER of October 11, 2017 requiring Plaintiffs to file their responses to Defendants'
                   motions to dismiss by November 3, 2017 and Defendants to file their replies by
                   November 11, 2017 shall be held in suspension until the parties have conferred with
                   respect to the discovery required by this ORDER and a new schedule can be determined.
                   See Order for additional details and deadlines. Signed by District Judge Robert E. Payne
                   on 10/17/2017. (jsmi, ) (Entered: 10/18/2017)
  10/18/2017    50 DISMISSAL ORDER. It is, hereby ORDERED, ADJUDGED, and DECREED that the
                   Complaint against DANIEL GRAVEL is DISMISSED without prejudice. Signed by
                   District Judge Robert E. Payne on 10/17/2017. (jsmi, ) (Entered: 10/18/2017)
  10/23/2017    51 MOTION to Compel Documents Withheld on the Basis of Attorney-Client Privilege by
                   Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.
                   (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 10/23/2017)
  10/23/2017    52 Memorandum in Support re 51 MOTION to Compel Documents Withheld on the Basis
                   of Attorney-Client Privilege filed by Dowin Coffy, Felix Gillison, Jr, George Hengle,
                   Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Oct. 2 Privilege Log, # 2
                   Exhibit 2 - Oct. 10 Privilege Log, # 3 Exhibit 3 - Oct. 13 Privilege Log, # 4 Exhibit 4 -
                   July 2012 Amended & Restated Servicing Agreement (Redacted), # 5 Exhibit 5 - BPL's
                   Interrogatory Responses (Redacted), # 6 Exhibit 6 - Resume of James Dowd (Redacted),
                   # 7 Exhibit 7 - Sept. 2015 Loan and Security Agreement (Redacted), # 8 Exhibit 8 -
                   Ascension Employee List (Redacted), # 9 Exhibit 9 - Feb. 2015 Letter from McFadden
                   (Redacted), # 10 Exhibit 10 - Promissory Note (Redacted), # 11 Exhibit 11 - Sept. 14,
                   2015 Agreement and Plan of Merger (Redacted))(Kelly, Kristi) (Entered: 10/23/2017)
  10/23/2017    53 MOTION to Seal by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage,
                   Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 10/23/2017)

                                                 Page 26
                                                                                             JA026
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023       Pg: 30 of 462

   10/23/2017    54 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams re 53 MOTION to Seal (Kelly, Kristi) (Entered:
                    10/23/2017)
   10/23/2017    55 Sealed Memorandum in Support re 53 MOTION to Seal . (Kelly, Kristi) (Entered:
                    10/23/2017)
   10/23/2017    56 Sealed Attachment/Exhibit(s) re 53 MOTION to Seal . (Attachments: # 1 Exhibit, # 2
                    Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit)(Kelly, Kristi)
                    (Entered: 10/23/2017)
   10/23/2017    57 Memorandum in Support re 53 MOTION to Seal filed by Dowin Coffy, Felix Gillison,
                    Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 10/23/2017)
   10/24/2017    58 NOTICE of Appearance by Timothy James St. George on behalf of Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Matt
                    Martorello, Gertrude McGeshick, Susan McGeshick, James Williams, Jr (St. George,
                    Timothy) (Entered: 10/24/2017)
   10/24/2017    59 Joint MOTION for Entry of Agreed Order by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1. Agreed Order)
                    (Kelly, Kristi) (Entered: 10/24/2017)
   10/26/2017    60 AGREED ORDER. It is ORDERED that the deadlines set forth in the Court's
                    September 1, 2017 17 Order regarding the Defendants' motions to dismiss are hereby
                    AMENDED as follows: Plaintiffs shall respond to the Defendants' motions to dismiss by
                    December 7, 2017, and Defendants shall file their replies by December 21, 2017. Signed
                    by District Judge Robert E. Payne on 10/26/2017. (jsmi, ) (Entered: 10/26/2017)
   10/27/2017    61 MOTION for Protective Order to Protect Privileged Attorney-Client Communications
                    by Ascension Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin,
                    Gertrude McGeshick, Susan McGeshick, James Williams, Jr. (St. George, Timothy)
                    (Entered: 10/27/2017)
   10/27/2017    62 Memorandum in Support re 61 MOTION for Protective Order to Protect Privileged
                    Attorney-Client Communications filed by Ascension Technologies, Inc., Big Picture
                    Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick,
                    James Williams, Jr. (Attachments: # 1 Exhibit A)(St. George, Timothy) (Entered:
                    10/27/2017)
   10/30/2017    63 RESPONSE in Support re 53 MOTION to Seal filed by Matt Martorello. (St. George,
                    Timothy) (Entered: 10/30/2017)
   10/30/2017    64 RESPONSE in Support re 53 MOTION to Seal filed by Ascension Technologies, Inc.,
                    Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan
                    McGeshick, James Williams, Jr. (St. George, Timothy) (Entered: 10/30/2017)
   10/30/2017    65 Memorandum in Opposition re 51 MOTION to Compel Documents Withheld on the
                    Basis of Attorney-Client Privilege filed by Ascension Technologies, Inc., Big Picture
                    Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick,
                    James Williams, Jr. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                    4, # 5 Exhibit 5)(St. George, Timothy) (Entered: 10/30/2017)
   10/30/2017    66 Second MOTION to Seal by Ascension Technologies, Inc., Big Picture Loans, LLC,
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr. (St. George, Timothy) (Entered: 10/30/2017)
   10/30/2017    67 Memorandum in Support re 66 Second MOTION to Seal filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude

                                                   Page 27
                                                                                                 JA027
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 31 of 462

                     McGeshick, Susan McGeshick, James Williams, Jr. (Attachments: # 1 Appendix 1)(St.
                     George, Timothy) (Entered: 10/30/2017)
  10/30/2017     68 Notice of Filing Sealing Motion LCvR5(C) by Ascension Technologies, Inc., Big Picture
                    Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick,
                    James Williams, Jr re 66 Second MOTION to Seal (St. George, Timothy) (Entered:
                    10/30/2017)
  10/30/2017     69 Sealed Response/Reply/Opposition. (Attachments: # 1 Exhibit 2, # 2 Exhibit 3, # 3
                    Exhibit 4, # 4 Exhibit 5, # 5 Certificate of Service)(St. George, Timothy) (Entered:
                    10/30/2017)
  11/02/2017     70 ORDER that the plaintiffs' 53 MOTION TO SEAL is granted in part and denied in part.
                    The Motion is granted with respect to the PLAINTIFFS' 55 MEMORANDUM IN
                    SUPPORT OF MOTION TO COMPEL DOCUMENTS WITHHELD ON THE BASIS
                    OF ATTORNEY-CLIENT PRIVILEGE and Exhibits 4, 5, 7, 8, 9, 10, and 11 thereto and
                    those documents are filed under seal; provided that appropriately redacted versions
                    thereof are filed in the public record. The plaintiffs' MOTION TO SEAL is denied with
                    respect Exhibit 6, the Resume of James V. Dowd, and the plaintiffs are directed to file a
                    version of the resume redacting the personal identifiers of Mr. Dowd forthwith. Signed
                    by District Judge Robert E. Payne on 11/1/2017. (jsmi, ) (Entered: 11/02/2017)
  11/08/2017     71 REPLY to Response to Motion re 51 MOTION to Compel Documents Withheld on the
                    Basis of Attorney-Client Privilege filed by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)
                    (Kelly, Kristi) (Entered: 11/08/2017)
  11/08/2017     72 Memorandum in Opposition re 61 MOTION for Protective Order to Protect Privileged
                    Attorney-Client Communications filed by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3, # 4 Exhibit 4)(Kelly, Kristi) (Entered: 11/08/2017)
  11/09/2017     73 ORDER granting 66 TRIBAL DEFENDANTS' Motion to Seal MEMORANDUM IN
                    OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL and Exhibits 2, 3, 4, and 5
                    thereto provided that appropriately redacted versions thereof are filed in the public
                    record. It is so ORDERED. Signed by District Judge Robert E. Payne on 11/09/2017.
                    (nbrow) (Entered: 11/09/2017)
  11/17/2017     74 MOTION For Leave to Replace Exhibit No. 4 re 23 Memorandum in Support,,,,
                    (Unopposed) by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 11/17/2017)
  11/17/2017     75 Memorandum in Support re 74 MOTION For Leave to Replace Exhibit No. 4 re 23
                    Memorandum in Support,,,, (Unopposed) filed by Ascension Technologies, Inc., Big
                    Picture Loans, LLC. (Attachments: # 1 Exhibit A)(St. George, Timothy) (Entered:
                    11/17/2017)
  11/20/2017     76 REPLY to Response to Motion re 61 MOTION for Protective Order to Protect
                    Privileged Attorney-Client Communications filed by Ascension Technologies, Inc., Big
                    Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude McGeshick, Susan
                    McGeshick, James Williams, Jr. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(St. George,
                    Timothy) (Entered: 11/20/2017)
  11/20/2017     77 MOTION Leave to File Sur-Reply in Opposition to Plaintiffs' Motion to Compel re 52
                    Memorandum in Support,,, by Ascension Technologies, Inc., Big Picture Loans, LLC,
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr. (St. George, Timothy) (Entered: 11/20/2017)

                                                   Page 28
                                                                                              JA028
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023       Pg: 32 of 462

   11/20/2017    78 Memorandum in Support re 77 MOTION Leave to File Sur-Reply in Opposition to
                    Plaintiffs' Motion to Compel re 52 Memorandum in Support,,, filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (Attachments: # 1 Exhibit A)(St.
                    George, Timothy) (Entered: 11/20/2017)
   11/21/2017    79 Memorandum in Opposition re 77 MOTION Leave to File Sur-Reply in Opposition to
                    Plaintiffs' Motion to Compel re 52 Memorandum in Support,,, filed by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 11/21/2017)
   11/21/2017    80 REPLY to Response to Motion re 77 MOTION Leave to File Sur-Reply in Opposition to
                    Plaintiffs' Motion to Compel re 52 Memorandum in Support,,, filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (St. George, Timothy) (Entered:
                    11/21/2017)
   11/21/2017    81 ORDER having considered the Unopposed 74 Motion for Leave to Replace Exhibit, 23-
                    4, and there being no objection, it is hereby ORDERED that the Clerk is directed to
                    substitute the corrected Exhibit (ECF No. 75-1) in place of Exhibit 4 (ECF No. 23-4) to
                    Big Picture Loans, LLC and Ascension Technologies, Inc.'s Brief in Support of their
                    Motion to Dismiss for Lack of Subject Matter Jurisdiction. Signed by District Judge
                    Robert E. Payne on 11/21/17. (jtho, ) (Entered: 11/21/2017)
   11/27/2017    82 NOTICE by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula
                    Williams re 70 Order on Motion to Seal,, (Notice of Filing Regarding Plaintiffs' Motion
                    to Seal) (Attachments: # 1 Exhibit (Redacted Amended Servicing Agreement), # 2
                    Exhibit (Redacted Interrogatory Responses), # 3 Exhibit (Redacted Resume of James
                    Dowd), # 4 Exhibit (Redacted Loan and Security Agreement), # 5 Exhibit (Redacted
                    Ascension Employee List), # 6 Exhibit (Unredacted Feb. 2015 Letter), # 7 Exhibit
                    (Redacted Promissory Note), # 8 Exhibit (Redacted Plan of Merger))(Kelly, Kristi)
                    (Entered: 11/27/2017)
   12/07/2017    83 Memorandum in Opposition re: 22 MOTION to Dismiss for Lack of Subject Matter
                    Jurisdiction filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5
                    Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, #
                    12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit, # 16 Exhibit, # 17 Exhibit, # 18
                    Exhibit, # 19 Exhibit, # 20 Exhibit, # 21 Exhibit, # 22 Exhibit, # 23 Exhibit, # 24
                    Exhibit, # 25 Exhibit, # 26 Exhibit, # 27 Exhibit, # 28 Exhibit, # 29 Exhibit, # 30
                    Exhibit, # 31 Exhibit, # 32 Exhibit). (Kelly, Kristi). Modified docket entry on
                    12/08/2017. (walk, ). (Attachment 5 replaced on 2/22/2018) (jsmi, ). (Attachment 2
                    replaced on 7/27/2018) (jsmi, ). (Attachment 4 replaced on 7/27/2018) (jsmi, ).
                    (Attachment 5 replaced on 7/27/2018) (jsmi, ). (Attachment 6 replaced on 7/27/2018)
                    (jsmi, ). (Attachment 7 replaced on 7/27/2018) (jsmi, ). (Attachment 8 replaced on
                    7/27/2018) (jsmi, ). (Attachment 11 replaced on 7/27/2018) (jsmi, ). (Attachment 13
                    replaced on 7/27/2018) (jsmi, ). (Attachment 15 replaced on 7/27/2018) (jsmi, ).
                    (Attachment 16 replaced on 7/27/2018) (jsmi, ). (Attachment 17 replaced on 7/27/2018)
                    (jsmi, ). (Attachment 22 replaced on 7/27/2018) (jsmi, ). (Attachment 23 replaced on
                    7/27/2018) (jsmi, ). (Attachment 24 replaced on 7/27/2018) (jsmi, ). (Attachment 25
                    replaced on 7/27/2018) (jsmi, ). (Attachment 26 replaced on 7/27/2018) (jsmi, ).
                    (Attachment 30 replaced on 7/27/2018) (jsmi, ). (Attachment 32 replaced on 7/27/2018)
                    (jsmi, ). (Entered: 12/07/2017)
   12/07/2017    84 Memorandum in Opposition re 24 MOTION to Dismiss for Failure to State a Claim
                    filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.

                                                   Page 29
                                                                                                JA029
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 33 of 462

                        (Kelly, Kristi) (Entered: 12/07/2017)
   12/07/2017    85 Memorandum in Opposition re 36 MOTION to Dismiss for Failure to State a Claim
                    filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1 - Excerpt of Hearing Transcript)(Kelly, Kristi) (Entered:
                    12/07/2017)
   12/07/2017    86 Memorandum in Opposition re: 26 MOTION to Dismiss for Failure to Exhaust Tribal
                    Remedies and Under the Doctrine of Forum Non Conveniens filed by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit). (Kelly, Kristi).
                    Modified docket entry on 12/08/2017. (walk, ). (Entered: 12/07/2017)
   12/07/2017    87 Memorandum in Opposition re 28 MOTION to Dismiss for Lack of Jurisdiction
                    (Subject Matter Jurisdiction, Personal Jurisdiction, and Article III Standing) filed by
                    Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 12/07/2017)
   12/07/2017    88 MOTION to Seal 83 Memorandum in Opposition re: 22 MOTION to Dismiss for Lack
                    of Subject Matter Jurisdiction by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Proposed Order). (Kelly, Kristi). Modified
                    docket entry on 12/08/2017. (walk, ). (Entered: 12/07/2017)
   12/07/2017    89 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams re 88 MOTION to Seal (Kelly, Kristi) (Entered:
                    12/07/2017)
   12/07/2017    90 Sealed Memorandum in Opposition to 22 MOTION to Dismiss for Lack of Subject
                    Matter Jurisdiction re: 88 MOTION to Seal. (Kelly, Kristi). Modified docket entry on
                    12/08/2017. (walk, ). (Entered: 12/07/2017)
   12/07/2017    91 Sealed Exhibits re: 90 Sealed Memorandum in Opposition to 22 MOTION to Dismiss
                    for Lack of Subject Matter Jurisdiction re: 88 MOTION to Seal. (Attachments: # 1
                    Exhibit #2 to Plaintiffs' Opposition, # 2 Exhibit #3 to Plaintiffs' Opposition, # 3 Exhibit
                    #4 to Plaintiffs' Opposition, # 4 Exhibit #5 to Plaintiffs' Opposition, # 5 Exhibit #6 to
                    Plaintiffs' Opposition, # 6 Exhibit #7 to Plaintiffs' Opposition, # 7 Exhibit #8 to
                    Plaintiffs' Opposition, # 8 Exhibit #9 to Plaintiffs' Opposition, # 9 Exhibit #10 to
                    Plaintiffs' Opposition, # 10 Exhibit #11 to Plaintiffs' Opposition, # 11 Exhibit #12 to
                    Plaintiffs' Opposition, # 12 Exhibit #13 to Plaintiffs' Opposition, # 13 Exhibit #14 to
                    Plaintiffs' Opposition, # 14 Exhibit #15 to Plaintiffs' Opposition, # 15 Exhibit #16 to
                    Plaintiffs' Opposition, # 16 Exhibit #17 to Plaintiffs' Opposition, # 17 Exhibit #18 to
                    Plaintiffs' Opposition, # 18 Exhibit #19 to Plaintiffs' Opposition, # 19 Exhibit #20 to
                    Plaintiffs' Opposition, # 20 Exhibit #21 to Plaintiffs' Opposition, # 21 Exhibit #22 to
                    Plaintiffs' Opposition, # 22 Exhibit #23 to Plaintiffs' Opposition, # 23 Exhibit #24 to
                    Plaintiffs' Opposition, # 24 Exhibit #25 to Plaintiffs' Opposition, # 25 Exhibit #26 to
                    Plaintiffs' Opposition, # 26 Exhibit #27 to Plaintiffs' Opposition, # 27 Exhibit #28 to
                    Plaintiffs' Opposition, # 28 Exhibit #29 to Plaintiffs' Opposition, # 29 Exhibit #30 to
                    Plaintiffs' Opposition, # 30 Exhibit #31 to Plaintiffs' Opposition, # 31 Exhibit #32 to
                    Plaintiffs' Opposition). (Kelly, Kristi). Modified docket entry on 12/08/2017. (walk, ).
                    (Attachment 4 replaced on 2/22/2018) (jsmi, ). (Entered: 12/07/2017)
   12/07/2017    92 Memorandum in Support re 88 MOTION to Seal filed by Dowin Coffy, Felix Gillison,
                    Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 12/07/2017)
   12/07/2017    93 MOTION to Seal 86 Memorandum in Opposition re: 26 MOTION to Dismiss for
                    Failure to Exhaust Tribal Remedies and Under the Doctrine of Forum Non Conveniens
                    by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.

                                                     Page 30
                                                                                                  JA030
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 34 of 462

                        (Attachments: # 1 Proposed Order). (Kelly, Kristi). Modified docket entry on
                        12/08/2017. (walk, ). (Entered: 12/07/2017)
   12/07/2017    94 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams re 93 Second MOTION to Seal (Kelly, Kristi)
                    (Entered: 12/07/2017)
   12/07/2017    95 Sealed Memorandum in Opposition re: 26 MOTION to Dismiss for Failure to Exhaust
                    Tribal Remedies and Under the Doctrine of Forum Non Conveniens re: 93 MOTION to
                    Seal. (Kelly, Kristi). Modified docket entry on 12/08/2017. (walk, ). (Entered:
                    12/07/2017)
   12/07/2017    96 Sealed Exhibits re: 95 Sealed Memorandum in Opposition re: 26 MOTION to Dismiss
                    for Failure to Exhaust Tribal Remedies and Under the Doctrine of Forum Non
                    Conveniens re: 93 MOTION to Seal. (Attachments: # 1 Exhibit #2 to Plaintiffs'
                    Opposition, # 2 Exhibit #3 to Plaintiffs' Opposition, # 3 Exhibit #4 to Plaintiffs'
                    Opposition, # 4 Exhibit #5 to Plaintiffs' Opposition, # 5 Exhibit #6 to Plaintiffs'
                    Opposition). (Kelly, Kristi). Modified docket entry on 12/08/2017. (walk, ). (Entered:
                    12/07/2017)
   12/07/2017    97 Memorandum in Support re: 93 MOTION to Seal filed by Dowin Coffy, Felix Gillison,
                    Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi). Modified docket entry
                    on 12/08/2017. (walk, ). (Entered: 12/07/2017)
   12/21/2017    98 REPLY to Response to Motion re 36 MOTION to Dismiss for Failure to State a Claim
                    filed by Matt Martorello. (St. George, Timothy) (Entered: 12/21/2017)
   12/21/2017    99 REPLY to Response to Motion re 24 MOTION to Dismiss for Failure to State a Claim
                    filed by Ascension Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway
                    Martin, Gertrude McGeshick, Susan McGeshick, James Williams, Jr. (Anthony, David)
                    (Entered: 12/21/2017)
   12/21/2017   100 REPLY to Response to Motion re 26 MOTION to Dismiss for Failure to Exhaust Tribal
                    Remedies and Under the Doctrine of Forum Non Conveniens filed by Big Picture Loans,
                    LLC. (Anthony, David) (Entered: 12/21/2017)
   12/21/2017   101 REPLY to Response to Motion re 28 MOTION to Dismiss for Lack of Jurisdiction
                    (Subject Matter Jurisdiction, Personal Jurisdiction, and Article III Standing) filed by
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr. (Anthony, David) (Entered: 12/21/2017)
   12/21/2017   102 REPLY to Response to Motion re 22 MOTION to Dismiss for Lack of Jurisdiction filed
                    by Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1,
                    # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                    Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                    13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, #
                    19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22)(Anthony, David)
                    (Attachment 3 replaced on 7/27/2018) (jsmi, ). (Attachment 4 replaced on 7/27/2018)
                    (jsmi, ). (Attachment 5 replaced on 7/27/2018) (jsmi, ). (Attachment 6 replaced on
                    7/27/2018) (jsmi, ). (Attachment 7 replaced on 7/27/2018) (jsmi, ). (Attachment 11
                    replaced on 7/27/2018) (jsmi, ). (Attachment 13 replaced on 7/27/2018) (jsmi, ).
                    (Attachment 22 replaced on 7/27/2018) (jsmi, ). (Entered: 12/21/2017)
   12/21/2017   103 MOTION to Seal by Ascension Technologies, Inc., Big Picture Loans, LLC. (Anthony,
                    David) (Entered: 12/21/2017)
   12/21/2017   104 Memorandum in Support re 103 MOTION to Seal filed by Ascension Technologies,
                    Inc., Big Picture Loans, LLC. (Attachments: # 1 Appendix 1)(Anthony, David) (Entered:

                                                     Page 31
                                                                                                  JA031
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 35 of 462

                      12/21/2017)
  12/21/2017    105 Notice of Filing Sealing Motion LCvR5(C) by Ascension Technologies, Inc., Big Picture
                    Loans, LLC re 103 MOTION to Seal (Anthony, David) (Entered: 12/21/2017)
  12/21/2017    106 Sealed Response/Reply/Opposition. (Attachments: # 1 Exhibit 1, # 2 Exhibit 3, # 3
                    Exhibit 4, # 4 Exhibit 5, # 5 Exhibit 6, # 6 Exhibit 7, # 7 Exhibit 8, # 8 Exhibit 9, # 9
                    Exhibit 10, # 10 Exhibit 11, # 11 Exhibit 12, # 12 Exhibit 13, # 13 Exhibit 14, # 14
                    Exhibit 17, # 15 Exhibit 19, # 16 Exhibit 20, # 17 Exhibit 21, # 18 Exhibit 22, # 19
                    Certificate of Service)(Anthony, David) (Entered: 12/21/2017)
  12/28/2017    107 ORDER that the plaintiffs' 88 MOTION TO SEAL is granted and PLAINTIFFS' 83
                    MEMORANDUM IN OPPOSITION TO DEFENDANTS BIG PICTURE LOANS,
                    LLC AND ASCENSION TECHNOLOGIES, INC.'S MOTION TO DISMISS FOR
                    LACK OF SUBJECT MATTER JURISDICTION and Exhibits 1-30, and 32 thereto are
                    filed under seal; provided that appropriately redacted versions thereof are filed in the
                    public record. Signed by District Judge Robert E. Payne on 12/28/2017. (jsmi, )
                    (Entered: 12/28/2017)
  12/28/2017    108 ORDER that the plaintiffs' 93 SECOND MOTION TO SEAL is granted and
                    PLAINTIFFS' 95 OPPOSITION TO DEFENDANT BIG PICTURE LOANS, LLC'S
                    BRIEF IN SUPPORT OF ITS MOTION TO DISMISS FOR FAILURE TO EXHAUST
                    TRIBAL REMEDIES AND UNDER THE DOCTRINE OF FORUM NON
                    CONVENIENS and 96 Exhibits 1, 2, 3, 4, 5 and 6 thereto are filed under seal; provided
                    that appropriately redacted versions thereof are filed in the public record. Signed by
                    District Judge Robert E. Payne on 12/28/2017. (jsmi, ) (Entered: 12/28/2017)
  01/03/2018    109 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC,
                    Giiwegiizhigookway Martin, Gertrude McGeshick, Susan McGeshick, James Williams,
                    Jr re 73 Order on Motion to Seal, (Notice of Filing Regarding Defendants' Motion to
                    Seal) (Attachments: # 1 Exhibit 2 (Redacted), # 2 Exhibit 3, # 3 Exhibit 4 (Redacted), #
                    4 Exhibit 5 (Redacted))(St. George, Timothy) (Entered: 01/03/2018)
  01/03/2018    110 ORDER that 103 TRIBAL DEFENDANTS' THIRD MOTION TO SEAL is granted and
                    106 BIG PICTURE LOANS AND ASCENSION TECHNOLOGIES' REPLY IN
                    SUPPORT OF ITS MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
                    JURISDICTION and certain exhibits thereto are filed under seal; provided that
                    appropriately redacted versions thereof are filed in the public record. Signed by District
                    Judge Robert E. Payne on 1/3/2018. (cgar, ) (Entered: 01/03/2018)
  01/12/2018    111 ORDER re submissions made by the defendants, Big Picture Loans, LLC, Ascension
                    Technologies, LLC, James Williams, Jr., Gertrude McGeshick, Susan McGeshick, and
                    Giiwegiizhiigookway Martin, respecting claims of privilege. It is hereby ORDERED
                    that the claims of privilege are sustained, overruled, or modified as outlined. Documents
                    as to which the claims of privilege have been overruled in whole or in part shall be
                    produced to plaintiffs' counsel by January 20, 2018. See Order for details. Signed by
                    District Judge Robert E. Payne on 1/12/2018. (jsmi, ) (Entered: 01/12/2018)
  02/02/2018    112 MOTION for Leave to File Supplemental Authority by Dowin Coffy, Felix Gillison, Jr,
                    George Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 02/02/2018)
  02/02/2018    113 Memorandum in Support re 112 MOTION for Leave to File Supplemental Authority
                    filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1 - Memorandum Opinion in Pennsylvania v. Think Finance,
                    # 2 Exhibit 2 - Finding of Fact and Conclusion of Law in CFPB v. CashCall)(Kelly,
                    Kristi) (Entered: 02/02/2018)

                                                    Page 32
                                                                                                  JA032
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 36 of 462

   02/06/2018   114 Response to 112 MOTION for Leave to File Supplemental Authority filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC, Giiwegiizhigookway Martin, Gertrude
                    McGeshick, Susan McGeshick, James Williams, Jr. (St. George, Timothy) (Entered:
                    02/06/2018)
   02/08/2018   115 Response to 114 Response, filed by Dowin Coffy, Felix Gillison, Jr, George Hengle,
                    Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 02/08/2018)
   02/27/2018   116 ORDER that the following motions are denied as moot: PLAINTIFFS' 51 MOTION TO
                    COMPEL DOCUMENTS WITHHELD ON THE BASIS OF ATTORNEY-CLIENT
                    PRIVILEGE; DEFENDANTS 61 MOTION FOR PROTECTIVE ORDER TO
                    PROTECT PRIVILEGED ATTORNEY-CLIENT COMMUNICATIONS; and TRIBAL
                    DEFENDANTS' 77 MOTION FOR LEAVE TO FILE SUR-REPLY. See Order for
                    details. Signed by District Judge Robert E. Payne on 2/27/2018. (jsmi, ) (Entered:
                    02/27/2018)
   03/12/2018   117 ORDER that defendants' 24 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM UPON WHICH RELIEF MAY BE GRANTED is granted in part and taken
                    under advisement in part. The motion is taken under advisement to the extent that Big
                    Picture Loans, LLC and Ascension Technologies, Inc. seek dismissal under Rule 12(b)
                    (6). However, the motion is granted to the extent that the Tribal Officer Defendants seek
                    dismissal under Rule 12(b)(6. By April 5, 2018, Plaintiffs may file an Amended
                    Complaint as to the Tribal Officer Defendants; and the Tribal Officer Defendants shall,
                    by April 30, 2018, file their Answers thereto and any motions respecting the adequacy of
                    the Amended Complaint. It is further ORDERED that the facts and legal contentions are
                    adequately presented in the materials before the Court and oral argument would not aid
                    the decisional process. See Order for details. Signed by District Judge Robert E. Payne
                    on 3/9/2018. (jsmi, ) (Entered: 03/12/2018)
   03/12/2018   118 ORDER that Plaintiffs' 112 MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                    AUTHORITY is granted. Signed by District Judge Robert E. Payne on 3/9/2018. (jsmi, )
                    (Entered: 03/12/2018)
   03/12/2018   119 ORDER that 36 MOTION OF DEFENDANT MATT MARTORELLO TO DISMISS
                    THE COMPLAINT PURSUANT TO FED. R. CIV. P. 12 is denied. It is further
                    ORDERED that the facts and legal contentions are adequately presented in the materials
                    before the Court and oral argument would not aid the decisional process. See Order for
                    details. Signed by District Judge Robert E. Payne on 3/12/2018. (jsmi, ) (Entered:
                    03/12/2018)
   03/12/2018   120 ORDER that DEFENDANTS JAMES WILLIAMS, JR., GERTRUDE MCGESHICK,
                    SUSAN MCGESHICK, AND GIIWEGIIZHIGOOKWAY MARTIN'S 28 MOTION TO
                    DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION, PERSONAL
                    JURISDICTION, AND ARTICLE III STANDING is denied as moot. The Tribal Officer
                    Defendants shall file any motions regarding the Court's lack of jurisdiction based on the
                    Amended Complaint by April 30, 2018. Signed by District Judge Robert E. Payne on
                    3/12/2018. (jsmi, ) (Entered: 03/12/2018)
   04/04/2018   121 NOTICE of Voluntary Dismissal Without Prejudice as to the Tribal Officials by Dowin
                    Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams (Kelly, Kristi)
                    (Entered: 04/04/2018)
   04/05/2018   122 ORDER that Plaintiffs' 121 notice shall be construed as a notice of its intent not to file
                    an Amended Complaint against the Tribal Officer Defendants. Accordingly, those
                    defendants may be terminated as defendants in this action (please see Order for
                    additional information.) It is so ORDERED. Signed by District Judge Robert E. Payne
                    on 04/04/2018. (walk, ) (Entered: 04/05/2018)

                                                    Page 33
                                                                                                  JA033
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023      Pg: 37 of 462

   06/25/2018   123 ORDER that the foregoing documents will be unsealed unless the Defendants
                    demonstrate by 5:00 p.m., June 28, 2018 that there are valid reasons for keeping the
                    documents under seal in perspective of the rights of public access to court documents
                    under the common law and the First Amendment, especially those that are key to an
                    understanding of a court decision on an important issue. Signed by District Judge Robert
                    E. Payne on 6/25/2018. (jsmi, ) (Entered: 06/25/2018)
   06/26/2018   124 ORDER that DEFENDANTS BIG PICTURE LOANS AND ASCENSION
                    TECHNOLOGIES' 22 MOTION TO DISMISS FOR LACK OF SUBJECT MATTER
                    JURISDICTION is denied. It is further ORDERED that the facts and legal contentions
                    are adequately presented in the materials before the Court and oral argument would not
                    aid the decisional process. As all pending motions to dismiss have been resolved, it is
                    further ORDERED that the parties shall communicate with chambers to set a pretrial
                    and trial schedule in this action. Signed by District Judge Robert E. Payne on 6/26/2018.
                    (jsmi, ) (Entered: 06/26/2018)
   06/26/2018   125 ORDER that DEFENDANTS BIG PICTURE LOANS, LLC, ASCENSION
                    TECHNOLOGIES, LLC, JAMES WILLIAMS, JR., GERTRUDE MCGESHICK,
                    SUSAN MCGESHICK, AND GIIWEGIIZHIGOOKWAY MARTIN'S 24 MOTION TO
                    DISMISS FOR FAILURE TO STATE A CLAIM UPON WHICH RELIEF MAY BE
                    GRANTED is denied as to Big Picture and Ascension. It is further ORDERED that the
                    facts and legal contentions are adequately presented in the materials before the Court
                    and oral argument would not aid the decisional process. Signed by District Judge Robert
                    E. Payne on 6/26/2018. (jsmi, ) (Entered: 06/26/2018)
   06/28/2018   126 MOTION To File an Opinion Under Seal or, Alternatively, to Permanently Seal 37
                    Documents by Ascension Technologies, Inc., Big Picture Loans, LLC. (Anthony, David)
                    (Entered: 06/28/2018)
   06/28/2018   127 Memorandum in Support re 126 MOTION To File an Opinion Under Seal or,
                    Alternatively, to Permanently Seal 37 Documents filed by Ascension Technologies, Inc.,
                    Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                    (Anthony, David) (Entered: 06/28/2018)
   07/03/2018   128 ORDER SETTING PRETRIAL CONFERENCE. See for complete details. Signed by
                    Nikki Brown with the permission of District Judge Robert E. Payne on 07/03/2018.
                    (nbrow) (Entered: 07/03/2018)
   07/03/2018   129 SCHEDULING ORDER: Initial Pretrial Conference set for 7/24/2018 at 11:45 AM in
                    Richmond Judges Chamber before District Judge Robert E. Payne. See for complete
                    details. Signed by Nikki Brown with the permission of District Judge Robert E. Payne
                    on 07/03/2018. (Attachment: # 1 Schedule A) (nbrow) (Entered: 07/03/2018)
   07/03/2018   131 AMENDED PER ORDER 132 ORDER that TRIBAL DEFENDANTS' 126 MOTION
                    TO FILE AN OPINION UNDER SEAL OR, ALTERNATIVELY, TO PERMANENTLY
                    SEAL 37 DOCUMENTS is granted to the extent that the Tribal Defendants seek to have
                    the Memorandum Opinion regarding DEFENDANTS BIG PICTURE LOANS AND
                    ASCENSION TECHNOLOGIES' 22 MOTION TO DISMISS FOR LACK OF
                    SUBJECT MATTER JURISDICTION temporarily filed under seal. The Clerk is
                    directed to file the Memorandum Opinion under seal, and to provide counsel for
                    Plaintiffs, Big Picture, and Ascension with copies of the Opinion. The Opinion will
                    remain sealed for 14 days. See Order for additional details. Signed by District Judge
                    Robert E. Payne on 7/3/2018. (jsmi, ) Modified on 7/5/2018 (tjoh, ). (Entered:
                    07/03/2018)
   07/05/2018   132 ORDER. Having reconsidered the process described in the Court's previous ORDER
                    (EOF No. 131), it is hereby ORDERED that the Order is amended such that any

                                                  Page 34
                                                                                               JA034
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 38 of 462


                      notebook submitted to the Court for in camera review shall also be provided to
                      Plaintiffs, which may review the notebook consistent with the STIPULATED
                      PROTECTIVE ORDER (EOF No. 19). If Plaintiffs have any response to the request that
                      certain documents remain sealed, they shall respond within ten (10) days of the
                      submission of the notebook, and the party requesting redaction shall reply within three
                      (3) days thereof. Signed by District Judge Robert E. Payne on 07/03/2018. (tjoh, )
                      (Entered: 07/05/2018)
  07/17/2018    133 Response to 131 Order on Motion for Miscellaneous Relief,, filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)
                    (St. George, Timothy) (Entered: 07/17/2018)
  07/17/2018    134 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC re 132 Order,, of
                    Submission of Documents for In Camera Review Pursuant to the Court's July 3, 2018
                    Order (St. George, Timothy) (Entered: 07/17/2018)
  07/19/2018    135 NOTICE OF APPEAL as to 124 Order on Motion to Dismiss/Lack of Jurisdiction,, by
                    Ascension Technologies, Inc., Big Picture Loans, LLC. Filing fee $ 505, receipt number
                    0422-6185152. (St. George, Timothy) (Entered: 07/19/2018)
  07/20/2018    136 ORDER that the Initial Pretrial Conference scheduled for 11:45 a.m. July 24, 2018 is
                    rescheduled to 11:30 a.m. July 25, 2018. Signed by District Judge Robert E. Payne on
                    7/19/2018. (jsmi, ) (Entered: 07/20/2018)
  07/20/2018          Reset Hearing: Initial Pretrial Conference set for 7/25/2018 at 11:30 AM in Richmond
                      Judges Chamber before District Judge Robert E. Payne. (nbrow) (Entered: 07/20/2018)
  07/20/2018    137 MOTION to Stay Proceedings Pending Appeal by Ascension Technologies, Inc., Big
                    Picture Loans, LLC. (St. George, Timothy) (Entered: 07/20/2018)
  07/20/2018    138 Memorandum in Support re 137 MOTION to Stay Proceedings Pending Appeal filed by
                    Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                    Exhibit H, # 9 Exhibit I)(St. George, Timothy) (Entered: 07/20/2018)
  07/20/2018    139 Transmission of Notice of Appeal to US Court of Appeals re 135 Notice of Appeal (All
                    case opening forms, plus the transcript guidelines, may be obtained from the Fourth
                    Circuit's website at www.ca4.uscourts.gov) (lgar, ) (Entered: 07/20/2018)
  07/23/2018          USCA Case Number 18-1827, Case Manager Cathy Herb for 135 Notice of Appeal filed
                      by Big Picture Loans, LLC, Ascension Technologies, Inc.. (lgar, ) (Entered: 07/23/2018)
  07/24/2018    140 MOTION to Stay by Matt Martorello. (St. George, Timothy) (Entered: 07/24/2018)
  07/24/2018    141 Memorandum in Support re 140 MOTION to Stay filed by Matt Martorello. (St. George,
                    Timothy) (Entered: 07/24/2018)
  07/25/2018          Minute Entry for proceedings held before District Judge Robert E. Payne: Initial Pretrial
                      Conference held on 7/25/2018. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                      (Entered: 07/25/2018)
  07/25/2018    142 ORDER that DEFENDANT BIG PICTURE LOANS, LLC'S 26 MOTION TO
                    DISMISS FOR FAILURE TO EXHAUST TRIBAL REMEDIES AND UNDER THE
                    DOCTRINE OF FORUM NON CONVENIENS is denied. It is further ORDERED that
                    the facts and legal contentions are adequately presented in the materials before the Court
                    and oral argument would not aid the decisional process. See Order for details. Signed by
                    District Judge Robert E. Payne on 7/24/2018. (jsmi, ) (Entered: 07/25/2018)

                                                   Page 35
                                                                                                JA035
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 39 of 462


  07/25/2018    143 ORDER that the Clerk shall unseal entirely the following documents: ECF Nos. 34, 34-
                    1, 34-2, 34-3, 34-4, 34-8, 34-10, 34-11, 90, 91-8, 91-9, 91-11, 91-13, 91-17, 91-18, 91-
                    26, 91-27, 91-28, 91-30, 106, 106-1, 106-7, 106-8, 106-9, 106-11, 106-13, 106-16, and
                    106-17. Furthermore, it is ORDERED that Plaintiffs or Big Picture and Ascension
                    whichever party originally filed the document noted shall re-file the following
                    documents with redactions consistent with those described: ECF Nos. 23-24, 23-29, 23-
                    31, 23-34, 83-2, 83-4, 83-5, 83-6, 83-7, 83-8, 83-11, 83-13, 83-15, 83-16, 83-17, 83-22,
                    83-23, 83-24, 83-25, 83-26, 83-30, 83-32, 102-3, 102-4, 102-5, 102-6, 102-7, 102-11,
                    102-13, and 102-22. All other documents not referenced in this Order shall remain
                    sealed. Signed by District Judge Robert E. Payne on 7/25/2018. (jsmi, ) (Entered:
                    07/25/2018)
  07/26/2018    144 JURY INITIAL PRETRIAL ORDER. At a pretrial conference held on July 25, 2018,
                    this action was set for trial by a jury on March 18, 2019, at 9:30 o'clock, a.m. The
                    Scheduling Order and Pretrial Schedule A previously issued in this action shall remain in
                    effect. A Final Pretrial Conference will be conducted at 10:00 o'clock, a.m. on March 11,
                    2019, at which time trial counsel shall appear and present for entry a Final Pretrial Order
                    setting forth: (See for complete details). It is so ORDERED. Signed by District Judge
                    Robert E. Payne on 07/26/2018. (nbrow) (Entered: 07/26/2018)
  07/26/2018          Set Hearings: Final Pretrial Conference set for 3/11/2019 at 10:00 AM in Richmond
                      Judges Chamber before District Judge Robert E. Payne. Jury Trial set for 3/18/2019 at
                      09:30 AM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                      (Entered: 07/26/2018)
  07/26/2018    145 ORDER that the settlement conference and proceedings required by paragraph 3 of the
                    Scheduling Order are referred to United States Magistrate Judge David J. Novak.
                    Counsel shall be responsible for contacting the Chambers of Magistrate Judge Novak
                    within 5 days of the date of this Order to schedule the conference to occur within the
                    fifty-day period required by paragraph 3 of the Scheduling Order or at such other time as
                    Magistrate Judge Novak shall approve. Signed by District Judge Robert E. Payne on
                    7/26/2018. (jsmi, ) (Entered: 07/26/2018)
  07/26/2018          Case referred to Magistrate Judge David J. Novak. (jsmi, ) (Entered: 07/26/2018)
  07/27/2018    146 REDACTED MEMORANDUM OPINION re: (SEALED MEMORANDUM OPINION
                    130 ). Signed by District Judge Robert E. Payne on 07/27/2018. (tjoh, ) Modified docket
                    text on 5/24/2019 (jtho, ). (Entered: 07/27/2018)
  07/31/2018    147 TRANSCRIPT of proceedings held on July 25, 2018, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 8/30/2018. Redacted Transcript Deadline set for 10/1/2018.
                    Release of Transcript Restriction set for 10/29/2018.(peterson, peppy) (Entered:
                    07/31/2018)
  08/02/2018    148 MOTION to Overrule Defendant Martorello's Discovery Objections by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 08/02/2018)

                                                   Page 36
                                                                                               JA036
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 40 of 462

   08/02/2018   149 Memorandum in Support re 148 MOTION to Overrule Defendant Martorello's
                    Discovery Objections filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5)(Kelly, Kristi) (Entered: 08/02/2018)
   08/03/2018           Conference Call set for 8/3/2018 at 11:00 AM before Magistrate Judge David J. Novak.
                        (cgar) (Entered: 08/03/2018)
   08/03/2018           Minute Entry for proceedings held before Magistrate Judge David J. Novak:Telephone
                        Conference held on 8/3/2018. (cgar) (Entered: 08/03/2018)
   08/03/2018   150 Memorandum in Opposition re 137 MOTION to Stay Proceedings Pending Appeal filed
                    by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 08/03/2018)
   08/07/2018   151 Memorandum in Opposition re 140 MOTION to Stay filed by Dowin Coffy, Felix
                    Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1
                    - Oct. 31, 2017 e-mail correspondence, # 2 Exhibit 2 - Aug. 2018 letter correspondence)
                    (Kelly, Kristi) (Entered: 08/07/2018)
   08/09/2018   152 REPLY to Response to Motion re 137 MOTION to Stay Proceedings Pending Appeal
                    filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1
                    Exhibit A)(St. George, Timothy) (Entered: 08/09/2018)
   08/13/2018   153 Consent MOTION for Extension of Time to File Response/Reply in Support of Motion
                    to Stay by Matt Martorello. (Attachments: # 1 Proposed Order)(St. George, Timothy)
                    (Entered: 08/13/2018)
   08/14/2018   154 ORDER that 153 Motion for Extension of Time to File Reply Brief in Support of
                    Motion to Stay is granted, and that Matt Martorello shall have up to and including
                    August 16, 2018 to file his reply brief in support of his Motion to Stay. Signed by
                    District Judge Robert E. Payne on 8/14/2018. (jsmi, ) (Entered: 08/14/2018)
   08/16/2018   155 NOTICE of Appearance by Maurice Francis Mullins on behalf of Matt Martorello
                    (Mullins, Maurice) (Entered: 08/16/2018)
   08/16/2018   156 REPLY to Response to Motion re 140 MOTION to Stay filed by Matt Martorello.
                    (Mullins, Maurice) (Entered: 08/16/2018)
   08/16/2018   157 Memorandum in Opposition re 148 MOTION to Overrule Defendant Martorello's
                    Discovery Objections filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit
                    B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Mullins, Maurice) (Entered: 08/16/2018)
   08/17/2018   158 MOTION to Withdraw as Attorney Karrie Sue Wichtman by Ascension Technologies,
                    Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1 (Proposed Order))(St.
                    George, Timothy) (Entered: 08/17/2018)
   08/17/2018   159 Memorandum in Support re 158 MOTION to Withdraw as Attorney Karrie Sue
                    Wichtman filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 08/17/2018)
   08/17/2018   160 NOTICE of Appearance by Hugh McCoy Fain, III on behalf of Matt Martorello (Fain,
                    Hugh) (Entered: 08/17/2018)
   08/17/2018   161 NOTICE of Appearance by John Michael Erbach on behalf of Matt Martorello (Erbach,
                    John) (Entered: 08/17/2018)
   08/20/2018   162 ORDER REGARDING PROCEDURES FOR SETTLEMENT CONFERENCE. The
                    Court has scheduled this case for a settlement conference on September 4, 2018, at
                    10:00 a.m. At that time, the parties shall report to the chambers of United States
                                                    Page 37
                                                                                               JA037
USCA4 Appeal: 23-2097       Doc: 11-1           Filed: 12/06/2023        Pg: 41 of 462

                        Magistrate Judge David J. Novak. In addition to counsel, each party must have a
                        representative physically present with the full authority to settle this action. The failure
                        of a party to have a representative physically present with full authority to settle the case
                        may result in the imposition of sanctions upon that party. SEE ORDER FOR DETAILS.
                        Signed by Magistrate Judge David J. Novak on 08/17/2018. (smej, ) (Entered:
                        08/20/2018)
   08/20/2018           Settlement Conference set for 9/4/2018 at 10:00 AM in Richmond Judges Chamber
                        before Magistrate Judge David J. Novak. (cgar) (Entered: 08/20/2018)
   08/21/2018   163 ORDER that the MOTION TO WITHDRAW COUNSEL [sic] 158 is granted. It is
                    further ORDERED that the Clerk shall remove Karrie Sue Wichtman, Esquire as
                    counsel of record for the defendants, Big Picture Loans, LLC and Ascension
                    Technologies, Inc. Signed by District Judge Robert E. Payne on 08/20/2018. (smej, )
                    (Entered: 08/21/2018)
   08/22/2018   164 REPLY to Response to Motion re 148 MOTION to Overrule Defendant Martorello's
                    Discovery Objections filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5)(Kelly, Kristi) (Entered: 08/22/2018)
   08/22/2018   165 MOTION to Seal by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 08/22/2018)
   08/22/2018   166 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams re 165 MOTION to Seal (Kelly, Kristi) (Entered:
                    08/22/2018)
   08/22/2018   167 Sealed Document re 165 MOTION to Seal . (Attachments: # 1 Exhibit 4 to Reply Brief,
                    # 2 Exhibit 5 to Reply Brief)(Kelly, Kristi) (Entered: 08/22/2018)
   08/22/2018   168 Memorandum in Support re 165 MOTION to Seal filed by Dowin Coffy, Felix Gillison,
                    Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 08/22/2018)
   08/24/2018   169 MOTION for Leave to File a Sur Reply in Opposition to Plaintiffs' Motion to Overrule
                    Discovery Objections by Matt Martorello. (Attachments: # 1 Proposed Order)(Mullins,
                    Maurice) (Entered: 08/24/2018)
   08/24/2018   170 Memorandum in Support re 169 MOTION for Leave to File a Sur Reply in Opposition
                    to Plaintiffs' Motion to Overrule Discovery Objections filed by Matt Martorello.
                    (Attachments: # 1 Exhibit Proposed Sur Reply)(Mullins, Maurice) (Entered:
                    08/24/2018)
   08/27/2018   171 NOTICE by Dowin Coffy, Felix Gillison, Jr., George Hengle, Gloria Turnage, Lula
                    Williams Regarding Defendant Martorello's 169 MOTION for Leave to File a Sur-Reply
                    in Opposition to Plaintiffs' Motion to Overrule Discovery Objections. (Kelly, Kristi).
                    Modified docket entry on 08/27/2018. (walk, ). (Entered: 08/27/2018)
   08/31/2018   175 ORDER that the Plaintiffs' 165 MOTION TO SEAL is granted and PLAINTIFFS' 167
                    REPLY BRIEF IN SUPPORT OF THEIR MOTION TO OVERRULE DEFENDANT
                    MARTORELLO'S DISCOVERY ORDER and Exhibits 4 and 5 thereto are filed under
                    seal; provided that appropriately redacted versions thereof are filed in the public record.
                    Signed by District Judge Robert E. Payne on 8/30/2018. (jsmi, ) (Entered: 08/31/2018)
   09/04/2018           Settlement Conference set for 10/16/2018 at 10:00 AM in Richmond Judges Chamber
                        before Magistrate Judge David J. Novak. (cgar) (Entered: 09/04/2018)
   09/04/2018           Minute Entry for proceedings held before Magistrate Judge David J. Novak:Settlement
                        Conference held on 9/4/2018. (cgar) (Entered: 09/05/2018)

                                                      Page 38
                                                                                                      JA038
USCA4 Appeal: 23-2097    Doc: 11-1          Filed: 12/06/2023      Pg: 42 of 462

  09/06/2018    176 Motion to appear Pro Hac Vice by Matthew Wessler and Certification of Local Counsel
                    Leonard A. Bennett Filing fee $ 75, receipt number 0422-6260707. by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 09/06/2018)
  09/06/2018    177 Motion to appear Pro Hac Vice by Jennifer Rust Murray and Certification of Local
                    Counsel Leonard A. Bennett Filing fee $ 75, receipt number 0422-6260719. by Dowin
                    Coffy, Felix Gillison, Jr, George Hengle. (Bennett, Leonard) (Entered: 09/06/2018)
  09/06/2018    178 Motion to appear Pro Hac Vice by Elizabeth Anne Adams and Certification of Local
                    Counsel Leonard A. Bennett Filing fee $ 75, receipt number 0422-6260729. by Dowin
                    Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Bennett,
                    Leonard) (Entered: 09/06/2018)
  09/06/2018    179 Motion to appear Pro Hac Vice by Beth Ellen Terrell and Certification of Local Counsel
                    Leonard A. Bennett Filing fee $ 75, receipt number 0422-6260749. by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 09/06/2018)
  09/11/2018    180 Motion to appear Pro Hac Vice by Eleanor Michelle Drake and Certification of Local
                    Counsel Kristi C. Kelly Filing fee $ 75, receipt number 0422-6266950. by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 09/11/2018)
  09/11/2018    181 Motion to appear Pro Hac Vice by John Gerard Albanese and Certification of Local
                    Counsel Kristi C. Kelly Filing fee $ 75, receipt number 0422-6266970. by Dowin Coffy,
                    Felix Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 09/11/2018)
  09/11/2018    182 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC OF COMPLIANCE
                    WITH ORDER ENTERED BY THE UNITED STATES DISTRICT COURT FOR THE
                    DISTRICT OF PUERTO RICO (Attachments: # 1 Exhibit A)(St. George, Timothy)
                    (Entered: 09/11/2018)
  09/12/2018    183 ORDERS granting 176 , 177 , 178 , and 179 Motiona for Pro hac vice. Matthew William
                    Wessler, Jennifer Rust Murray, Elizabeth Anne Adams, and Beth Ellen Terrell appointed
                    for Lula Williams, Gloria Turnage, George Hengle, Dowin Coffy, and Felix Gillison, Jr.
                    Signed by District Judge Robert E. Payne on 9/11/2018. (jsmi, ) (Entered: 09/12/2018)
  09/12/2018    184 NOTICE of Appearance by Elizabeth W. Hanes on behalf of Dowin Coffy, Felix
                    Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams (Hanes, Elizabeth) (Entered:
                    09/12/2018)
  09/13/2018    185 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC of Compliance with
                    Order Entered by the United States District Court for the District of Puerto Rico (St.
                    George, Timothy) (Entered: 09/13/2018)
  09/14/2018    186 MOTION to Substitute Party by Dowin Coffy, George Hengle, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 09/14/2018)
  09/14/2018    187 Memorandum in Support re 186 MOTION to Substitute Party filed by Dowin Coffy,
                    George Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1)(Kelly,
                    Kristi) (Entered: 09/14/2018)
  09/14/2018    188 ORDER granting 180 and 181 Motions for Pro hac vice. Eleanor Michelle Drake and
                    John Gerard Albanese added for Dowin Coffy, Felix Gillison, Jr., George Hengle, Gloria
                    Turnage, and Lula Williams. Signed by District Judge Robert E. Payne on 9/13/2018.
                    (jsmi, ) ( (Entered: 09/14/2018)

                                                  Page 39
                                                                                             JA039
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 43 of 462


  09/14/2018    189 MOTION to Certify Class against Defendant Matt Martorello by Dowin Coffy, Felix
                    Gillison, Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    09/14/2018)
  09/14/2018    190 Memorandum in Support re 189 MOTION to Certify Class against Defendant Matt
                    Martorello filed by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                    5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, #
                    11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                    Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                    Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                    Exhibit 26, # 27 Exhibit 27)(Kelly, Kristi) (Entered: 09/14/2018)
  09/14/2018    191 MOTION to Seal by Dowin Coffy, Felix Gillison, Jr, George Hengle, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 09/14/2018)
  09/14/2018    192 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Felix Gillison, Jr, George
                    Hengle, Gloria Turnage, Lula Williams re 191 MOTION to Seal (Kelly, Kristi) (Entered:
                    09/14/2018)
  09/14/2018    193 Sealed Document re 191 MOTION to Seal . (Attachments: # 1 Exhibit 1, # 2 Exhibit 2,
                    # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                    Exhibit 11, # 10 Exhibit 12, # 11 Exhibit 13, # 12 Exhibit 14, # 13 Exhibit 15, # 14
                    Exhibit 16, # 15 Exhibit 17, # 16 Exhibit 21)(Kelly, Kristi) (Entered: 09/14/2018)
  09/14/2018    194 Memorandum in Support re 191 MOTION to Seal filed by Dowin Coffy, Felix Gillison,
                    Jr, George Hengle, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 09/14/2018)
  09/20/2018    195 ORDER that DEFENDANT MARTORELLO'S 169 MOTION FOR LEAVE TO FILE A
                    SUR-REPLY IN OPPOSITION TO PLAINTIFFS' MOTION TO OVERRULE
                    DISCOVERY OBJECTIONS is granted. It is further ORDERED that the defendant,
                    Matt Martorello, shall electronically file his proposed Sur-Reply forthwith. Signed by
                    District Judge Robert E. Payne on 9/20/2018. (jsmi, ) (Entered: 09/20/2018)
  09/20/2018    196 Reply to 148 MOTION to Overrule Defendant Martorello's Discovery Objections
                    (Defendant Matt Martorello's Sur-Reply in Opposition to Plaintiffs' Motion to Overrule
                    Discovery Objections) filed by Matt Martorello. (Erbach, John) (Entered: 09/20/2018)
  09/26/2018    197 ORDER that Plaintiffs' 191 MOTION TO SEAL is granted and PLAINTIFFS' 193
                    MEMORANDUM IN SUPPORT OF MOTION FOR CLASS CERTIFICATION OF
                    CLAIMS AGAINST DEFENDANT MATT MARTORELLO and certain exhibits
                    thereto are filed under seal; provided that appropriately redacted versions thereof are
                    filed in the public record. Signed by District Judge Robert E. Payne on 9/26/2018. (jsmi,
                    ) (Entered: 09/26/2018)
  09/28/2018          Minute Entry for proceedings held before Magistrate Judge David J. Novak:Telephone
                      Conference (w/David Anthony) held on 9/28/2018. (cgar) (Entered: 09/28/2018)
  10/02/2018    198 Supplemental MOTION to Stay All Proceedings Pending Appeal of the Court's June 26,
                    2018 Order by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 10/02/2018)
  10/02/2018    199 Memorandum in Support re 198 Supplemental MOTION to Stay All Proceedings
                    Pending Appeal of the Court's June 26, 2018 Order filed by Ascension Technologies,
                    Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                    # 4 Exhibit D)(St. George, Timothy) (Entered: 10/02/2018)

                                                    Page 40
                                                                                                 JA040
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 44 of 462


  10/03/2018          Minute Entry for proceedings held before Magistrate Judge David J. Novak:Telephone
                      Conferences held on 10/3/2018. (cgar) (Entered: 10/03/2018)
  10/09/2018    200 ORDER that the plaintiffs' 186 MOTION TO SUBSTITUTE PARTY is granted. It is
                    further ORDERED that the Clerk shall substitute Marcella P. Singh, as Administrator of
                    the Estate of Felix M. Gillson, Jr., as the party in place of the plaintiff, Felix M. Gillson,
                    Jr., deceased. Signed by District Judge Robert E. Payne on 10/8/2018. (jsmi, ) (Entered:
                    10/09/2018)
  10/11/2018    201 Motion to appear Pro Hac Vice by Anna Marek Bruty and Certification of Local Counsel
                    Timothy J. St. George Filing fee $ 75, receipt number 0422-6310914. by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (St. George, Timothy) (Entered:
                    10/11/2018)
  10/11/2018    202 NOTICE of Appearance by Craig Thomas Merritt on behalf of Ascension Technologies,
                    Inc., Big Picture Loans, LLC (Merritt, Craig) (Entered: 10/11/2018)
  10/11/2018    203 NOTICE of Appearance by Harrison Mann Gates on behalf of Ascension Technologies,
                    Inc., Big Picture Loans, LLC (Gates, Harrison) (Entered: 10/11/2018)
  10/12/2018    204 Consent MOTION for Extension of Time to File Response/Reply as to 189 MOTION to
                    Certify Class against Defendant Matt Martorello by Matt Martorello. (Attachments: # 1
                    Exhibit 1 (Proposed Order))(St. George, Timothy) (Entered: 10/12/2018)
  10/16/2018    205 ORDER that Defendant's 204 Motion for Extension of Time is granted. It is further
                    ORDERED that, by October 22, 2018, the defendant, Matt Martorello, shall file his
                    response to PLAINTIFFS' 189 MOTION FOR CLASS CERTIFICATION OF CLAIMS
                    AGAINST DEFENDANT MATT MARTORELLO and, by November 5, 2018, the
                    plaintiffs shall file their reply. Signed by District Judge Robert E. Payne on 10/16/2018.
                    (jsmi, ) (Entered: 10/16/2018)
  10/16/2018    206 ORDER granting 201 Motion for Pro hac vice. Anna Marek Bruty appointed for
                    Ascension Technologies, Inc. and Big Picture Loans, LLC. Signed by District Judge
                    Robert E. Payne on 10/16/2018. (jsmi, ) (Entered: 10/16/2018)
  10/16/2018    207 Memorandum in Opposition re 198 Supplemental MOTION to Stay All Proceedings
                    Pending Appeal of the Court's June 26, 2018 Order filed by Dowin Coffy, George
                    Hengle, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Aug. 2018 E-mail
                    Chain, # 2 Exhibit 2 - Sept. 4 E-mail, # 3 Exhibit 3 - Aug. 2018 E-mail Chain, # 4
                    Exhibit 4 - filed under seal, # 5 Exhibit 5 - filed under seal, # 6 Exhibit 6 - Aug. 6, 2018
                    Interrogatory Responses, # 7 Exhibit 7 - Aug. 14, 2018 Interrogatory Responses)(Kelly,
                    Kristi) (Entered: 10/16/2018)
  10/16/2018    208 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 10/16/2018)
  10/16/2018    209 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 208 MOTION to Seal (Kelly, Kristi)
                    (Entered: 10/16/2018)
  10/16/2018    210 Sealed Attachment/Exhibit 4 re 208 MOTION to Seal . (Attachments: # 1 Exhibit 5)
                    (Kelly, Kristi) Modified to correct docket text on 2/8/2019 (jsmi, ). (Entered:
                    10/16/2018)
  10/16/2018    211 Memorandum in Support re 208 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    10/16/2018)

                                                     Page 41
                                                                                                   JA041
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 45 of 462

  10/17/2018          Telephone Conference (w/Kristi Kelly)set for 10/16/2018 at 04:15 PM before Magistrate
                      Judge David J. Novak. (cgar) (Entered: 10/17/2018)
  10/17/2018          Minute Entry for proceedings held before Magistrate Judge David J. Novak:Telephone
                      Conferences held on 10/16/2018. (cgar) (Entered: 10/17/2018)
  10/18/2018    212 Consent MOTION to Exceed Page Limitation of Local Civil Rule 7(F)(3) by Matt
                    Martorello. (St. George, Timothy) (Entered: 10/18/2018)
  10/18/2018    213 Memorandum in Support re 212 Consent MOTION to Exceed Page Limitation of Local
                    Civil Rule 7(F)(3) filed by Matt Martorello. (Attachments: # 1 Exhibit 1 (Proposed
                    Order))(St. George, Timothy) (Entered: 10/18/2018)
  10/19/2018    214 STATUS REPORT by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(St. George,
                    Timothy) (Entered: 10/19/2018)
  10/19/2018    215 ORDER GRANTING Defendant, Matt Martorello's 212 Motion to Exceed Page
                    Limitation of Local Civil Rule 7(f)(3) with respect to his forthcoming memorandum in
                    opposition to Plaintiffs' Motion for Class Certification (Dkt. No. 189 and 1. Martorello
                    may file a memorandum in opposition to Plaintiffs' Renewed Motion for Class
                    Certification not to exceed 40 pages in length; and, 2. Plaintiffs, if desired, may file a
                    reply brief in support of their Motion for Class Certification not to exceed 30 pages in
                    length. It is so ORDERED. Signed by District Judge Robert E. Payne on 10/19/2018.
                    (walk, ) (Entered: 10/19/2018)
  10/22/2018    216 DISREGARD FILING. SEE 22 . Memorandum in Opposition re 189 MOTION to
                    Certify Class against Defendant Matt Martorello filed by Matt Martorello.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B (proposed to be filed under seal), # 3 Exhibit
                    C, # 4 Exhibit D (proposed to be filed under seal), # 5 Exhibit E (proposed to be filed
                    under seal), # 6 Exhibit F, # 7 Exhibit G (proposed to be filed under seal), # 8 Exhibit H,
                    # 9 Exhibit I (proposed to be filed under seal), # 10 Exhibit J (proposed to be filed under
                    seal), # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M (proposed to be filed under seal), #
                    14 Exhibit N, # 15 Exhibit O (proposed to be filed under seal), # 16 Exhibit P (proposed
                    to be filed under seal), # 17 Exhibit Q, # 18 Exhibit R (proposed to be filed under seal),
                    # 19 Exhibit S (proposed to be filed under seal), # 20 Exhibit T (proposed to be filed
                    under seal), # 21 Exhibit U (proposed to be filed under seal), # 22 Exhibit V, # 23
                    Exhibit W, # 24 Exhibit X (proposed to be filed under seal), # 25 Exhibit Y (proposed to
                    be filed under seal), # 26 Exhibit Z (proposed to be filed under seal), # 27 Exhibit AA, #
                    28 Exhibit BB, # 29 Exhibit CC (proposed to be filed under seal), # 30 Exhibit DD, # 31
                    Exhibit EE, # 32 Exhibit FF, # 33 Exhibit GG, # 34 Exhibit HH, # 35 Exhibit II
                    (proposed to be filed under seal), # 36 Exhibit JJ (proposed to be filed under seal), # 37
                    Exhibit KK, # 38 Exhibit LL (proposed to be filed under seal), # 39 Exhibit MM, # 40
                    Exhibit NN (proposed to be filed under seal), # 41 Exhibit OO (proposed to be filed
                    under seal), # 42 Exhibit PP (proposed to be filed under seal), # 43 Exhibit QQ, # 44
                    Exhibit RR)(St. George, Timothy) Modified on 10/26/2018 (jsmi, ). (Entered:
                    10/22/2018)
  10/22/2018    217 MOTION to Seal Certain Exhibits and Information in 220 Memorandum in Opposition
                    to Plaintiffs' Motion for Class Certification by Matt Martorello. (St. George, Timothy).
                    Modified docket entry on 10/24/2018. (walk, ). (Entered: 10/22/2018)
  10/22/2018    218 Memorandum in Support re: 217 MOTION to Seal Certain Exhibits and Information in
                    220 Memorandum in Opposition to Plaintiffs' Motion for Class Certification filed by
                    Matt Martorello. (St. George, Timothy). Modified docket entry on 10/24/2018. (walk, ).
                    (Entered: 10/22/2018)

                                                    Page 42
                                                                                                JA042
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 46 of 462

   10/22/2018   219 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re: 217 MOTION to Seal
                    Certain Exhibits and Information in 220 Memorandum in Opposition to Plaintiffs'
                    Motion for Class Certification. (St. George, Timothy). Modified docket entry on
                    10/24/2018. (walk, ). (Entered: 10/22/2018)
   10/22/2018   220 SEALED Memorandum in Opposition to Plaintiffs' Motion for Class Certification re:
                    217 MOTION to Seal Certain Exhibits and Information in 220 Memorandum in
                    Opposition to Plaintiffs' Motion for Class Certification. (Attachments: # 1 Exhibit B, # 2
                    Exhibit D, # 3 Exhibit E, # 4 Exhibit G, # 5 Exhibit I, # 6 Exhibit J, # 7 Exhibit M, # 8
                    Exhibit O, # 9 Exhibit P, # 10 Exhibit R, # 11 Exhibit S, # 12 Exhibit T, # 13 Exhibit U,
                    # 14 Exhibit X, # 15 Exhibit Y, # 16 Exhibit Z, # 17 Exhibit CC, # 18 Exhibit II, # 19
                    Exhibit JJ, # 20 Exhibit LL, # 21 Exhibit NN, # 22 Exhibit OO, # 23 Exhibit PP)(St.
                    George, Timothy). Clerk replaced attachment (8) Exhibit O on 10/23/2018 at the request
                    of filing attorney. NEF was regenerated. Modified docket text on 10/23/2018 (sbea, ).
                    Modified docket entry on 10/24/2018. (walk, ). (Entered: 10/23/2018)
   10/23/2018   221 Motion to appear Pro Hac Vice by Michael Christopher Witsch and Certification of
                    Local Counsel John Michael Erbach Filing fee $ 75, receipt number 0422-6329274. by
                    Matt Martorello. (Erbach, John) (Entered: 10/23/2018)
   10/23/2018           Notice of Correction re 216 Memorandum in Opposition. Notified filing attorney
                        regarding proper procedure for splitting documents over 10MB size limit and for filing
                        redacted exhibits for the public record. Attorney will refile Memorandum in Opposition
                        with appropriately redacted exhibits. (jsmi, ) (Entered: 10/23/2018)
   10/23/2018   222 Memorandum in Opposition re 189 MOTION to Certify Class against Defendant Matt
                    Martorello (Corrected, redacted exhibits) filed by Matt Martorello. (Attachments: # 1
                    Exhibit A (Part I), # 2 Exhibit A (Part II), # 3 Exhibit B (proposed to be filed under seal),
                    # 4 Exhibit C, # 5 Exhibit D (proposed to be filed under seal), # 6 Exhibit E (proposed to
                    be filed under seal), # 7 Exhibit F, # 8 Exhibit G (proposed to be filed under seal), # 9
                    Exhibit H, # 10 Exhibit I (proposed to be filed under seal), # 11 Exhibit J (proposed to
                    be filed under seal), # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M (proposed to be filed
                    under seal), # 15 Exhibit N, # 16 Exhibit O (proposed to be filed under seal), # 17
                    Exhibit P (proposed to be filed under seal), # 18 Exhibit Q, # 19 Exhibit R (proposed to
                    be filed under seal), # 20 Exhibit S (proposed to be filed under seal), # 21 Exhibit T
                    (proposed to be filed under seal), # 22 Exhibit U (proposed to be filed under seal), # 23
                    Exhibit V, # 24 Exhibit W, # 25 Exhibit X (proposed to be filed under seal), # 26 Exhibit
                    Y (proposed to be filed under seal), # 27 Exhibit Z (proposed to be filed under seal), #
                    28 Exhibit AA, # 29 Exhibit BB, # 30 Exhibit CC (proposed to be filed under seal), # 31
                    Exhibit DD, # 32 Exhibit EE, # 33 Exhibit FF, # 34 Exhibit GG, # 35 Exhibit HH, # 36
                    Exhibit II (proposed to be filed under seal), # 37 Exhibit JJ (proposed to be filed under
                    seal), # 38 Exhibit KK, # 39 Exhibit LL (proposed to be filed under seal), # 40 Exhibit
                    MM, # 41 Exhibit NN(proposed to be filed under seal), # 42 Exhibit OO (proposed to be
                    filed under seal), # 43 Exhibit PP (proposed to be filed under seal), # 44 Exhibit QQ, #
                    45 Exhibit RR)(St. George, Timothy) (Entered: 10/23/2018)
   10/23/2018   223 Consent MOTION for Extension of Time to File Reply Memorandum to Supplemental
                    Motion to Stay All Proceedings Pending Appeal of the Courts June 26, 2018 Order by
                    Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1)(St.
                    George, Timothy) (Entered: 10/23/2018)
   10/25/2018   224 ORDER that 223 Consent Motion for Extension of Time to File Their Reply to
                    Supplemental Motion to Stay All Proceedings Pending Appeal of the Court's June 26,
                    2018 Order is granted. The time by which Big Picture Loans, LLC and Ascension
                    Technologies, LLC must file their reply is extended until October 30, 2018. Signed by
                    District Judge Robert E. Payne on 10/24/2018. (jsmi, ) (Entered: 10/25/2018)

                                                    Page 43
                                                                                                  JA043
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 47 of 462

   10/26/2018   225 ORDER granting 221 Motion for Pro hac vice. Michael Christopher Witsch appointed
                    for Matt Martorello. Signed by District Judge Robert E. Payne on 10/26/2018. (jsmi, )
                    (Entered: 10/26/2018)
   10/29/2018   226 Consent MOTION for Extension of Time to File Response/Reply as to 189 MOTION to
                    Certify Class against Defendant Matt Martorello by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 10/29/2018)
   10/29/2018   227 Memorandum in Support re 226 Consent MOTION for Extension of Time to File
                    Response/Reply as to 189 MOTION to Certify Class against Defendant Matt Martorello
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Kelly, Kristi) (Entered: 10/29/2018)
   10/29/2018   228 REPLY to Response to Motion re 198 Supplemental MOTION to Stay All Proceedings
                    Pending Appeal of the Court's June 26, 2018 Order filed by Ascension Technologies,
                    Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)
                    (St. George, Timothy) (Entered: 10/29/2018)
   10/30/2018   229 ORDER that 217 NON-CONFIDENTIAL MOTION TO FILE CERTAIN EXHIBITS
                    AND INFORMATION IN MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
                    MOTION FOR CLASS CERTIFICATION UNDER SEAL is granted and the
                    OPPOSITION TO PLAINTIFFS' 220 MOTION FOR CLASS CERTIFICATION OF
                    CLAIMS AGAINST DEFENDANT MATT MARTORELLO and certain exhibits
                    thereto are filed under seal; provided that appropriately redacted versions thereof are
                    filed in the public record. Signed by District Judge Robert E. Payne on 10/30/2018.
                    (jsmi, ) (Entered: 10/30/2018)
   10/31/2018   230 ORDER that the PLAINTIFFS' 226 CONSENT MOTION FOR EXTENSION OF
                    TIME TO FILE REPLY BRIEF IN SUPPORT OF THEIR MOTION TO CERTIFY
                    CLASS AS TO DEFENDANT MATT MARTORELLO is granted. It is further
                    ORDERED that the plaintiffs shall file their reply in support of PLAINTIFFS' MOTION
                    FOR CLASS CERTIFICATION OF CLAIMS AGAINST DEFENDANT MATT
                    MARTORELLO by November 19, 2018. Signed by District Judge Robert E. Payne on
                    10/31/2018. (jsmi, ) (Entered: 10/31/2018)
   11/01/2018   231 MOTION to Strike Reply in Support of Supplemental Motion to Stay by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 11/01/2018)
   11/01/2018   232 Memorandum in Support re 231 MOTION to Strike Reply in Support of Supplemental
                    Motion to Stay filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 (Hearing Transcript), # 2 Exhibit 2
                    (Interrogatory Responses))(Bennett, Leonard) (Entered: 11/01/2018)
   11/08/2018           Settlement Conference set for 11/13/2018 at 03:00 PM in Richmond Judges Chamber
                        before Magistrate Judge David J. Novak. (cgar) (Entered: 11/08/2018)
   11/08/2018           *****SETTLEMENT CONFERENCE SET IN ERROR***Telephone Conference
                        (w/Richard Scheff) set for 11/13/2018 at 03:00 PM in Richmond Courtroom 5400 before
                        Magistrate Judge David J. Novak. (cgar) (Entered: 11/08/2018)
   11/09/2018   233 Memorandum in Opposition re 231 MOTION to Strike Reply in Support of
                    Supplemental Motion to Stay filed by Ascension Technologies, Inc., Big Picture Loans,
                    LLC. (St. George, Timothy) (Entered: 11/09/2018)
   11/09/2018   234 NOTICE of Appearance by Craig Carley Marchiando on behalf of Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Marchiando, Craig)

                                                   Page 44
                                                                                               JA044
USCA4 Appeal: 23-2097      Doc: 11-1            Filed: 12/06/2023    Pg: 48 of 462

                        (Entered: 11/09/2018)
   11/13/2018           Minute Entry for proceedings held before Magistrate Judge David J. Novak:Telephone
                        Conference held on 11/13/2018. (cgar) (Entered: 11/29/2018)
   11/15/2018   235 RESPONSE in Support re 231 MOTION to Strike Reply in Support of Supplemental
                    Motion to Stay filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 11/15/2018)
   11/19/2018   236 RESPONSE in Support re 189 MOTION to Certify Class against Defendant Matt
                    Martorello filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1. Aug. 2016 Loan Agreement, # 2 Exhibit 2.
                    Oct. 28, 2018 Letter Opinion, # 3 Exhibit 3. Williams Depo. Trans. (filed under seal), #
                    4 Exhibit 4. McGeschick Depo. Trans. (filed under seal), # 5 Exhibit 5. Martorello
                    Depo. Trans., # 6 Exhibit 6. Dowd Depo. Trans. (filed under seal), # 7 Exhibit 7. BPL
                    Investment Opportunity Brochure, # 8 Exhibit 8. Feb. 28, 2015 Resolution, # 9 Exhibit
                    9. Feb. 21, 2015 Written Consent, # 10 Exhibit 10. Jan. 26, 2016 Assignment
                    Agreement, # 11 Exhibit 11. Feb. 17, 2015 Valuation Report (filed under seal), # 12
                    Exhibit 12. Dec. 31, 2015 Ownership of Bellicose)(Kelly, Kristi) (Entered: 11/19/2018)
   11/19/2018   237 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 11/19/2018)
   11/19/2018   238 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 237 MOTION to Seal (Kelly, Kristi)
                    (Entered: 11/19/2018)
   11/19/2018   239 Sealed Response/Reply/Opposition re 237 MOTION to Seal . (Kelly, Kristi) (Entered:
                    11/19/2018)
   11/19/2018   240 Sealed Attachment/Exhibit(s) re 237 MOTION to Seal . (Attachments: # 1 Exhibit 4, # 2
                    Exhibit 6, # 3 Exhibit 7, # 4 Exhibit 11, # 5 Exhibit 12)(Kelly, Kristi) (Entered:
                    11/19/2018)
   11/19/2018   241 Memorandum in Support re 237 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    11/19/2018)
   11/20/2018   242 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC Notice of Change of
                    Firm Address (St. George, Timothy) (Entered: 11/20/2018)
   11/21/2018   243 Consent MOTION for Extension of Expert Discovery Deadline by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                    Order)(Kelly, Kristi) (Entered: 11/21/2018)
   11/21/2018   244 Memorandum in Support re 243 Consent MOTION for Extension of Expert Discovery
                    Deadline filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Kelly, Kristi) (Entered: 11/21/2018)
   11/21/2018   245 MOTION to Quash and for Protective Order by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett,
                    Leonard) (Entered: 11/21/2018)
   11/21/2018   246 Memorandum in Support re 245 MOTION to Quash and for Protective Order filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Bennett, Leonard) (Entered: 11/21/2018)
   11/26/2018   247 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 245 MOTION to Quash and for Protective Order, 246 Memorandum in

                                                     Page 45
                                                                                               JA045
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 49 of 462

                      Support (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit Exhibit
                      C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6 Exhibit Exhibit F, # 7 Exhibit
                      Exhibit G, # 8 Exhibit Exhibit H)(Bennett, Leonard) (Entered: 11/26/2018)
  11/30/2018    248 MOTION to Withdraw as Attorney by Ascension Technologies, Inc., Big Picture Loans,
                    LLC. (Attachments: # 1 Proposed Order)(Gates, Harrison) (Entered: 11/30/2018)
  12/05/2018    249 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC (Notice of
                    Transferred Motions to Quash and Appearances) (St. George, Timothy) (Entered:
                    12/05/2018)
  12/05/2018    250 MOTION for Leave to File Supplemental Authority by Ascension Technologies, Inc.,
                    Big Picture Loans, LLC. (St. George, Timothy) (Entered: 12/05/2018)
  12/05/2018    251 Memorandum in Support re 250 MOTION for Leave to File Supplemental Authority
                    filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1
                    Exhibit 1)(St. George, Timothy) (Entered: 12/05/2018)
  12/05/2018    252 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC re 198 Supplemental
                    MOTION to Stay All Proceedings Pending Appeal of the Court's June 26, 2018 Order,
                    137 MOTION to Stay Proceedings Pending Appeal (Request for Expedited Ruling)
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(St. George, Timothy) (Entered: 12/05/2018)
  12/05/2018    253 Memorandum in Opposition re 245 MOTION to Quash and for Protective Order filed
                    by Matt Martorello. (Attachments: # 1 Exhibit A)(Mullins, Maurice) (Entered:
                    12/05/2018)
  12/06/2018    254 ORDER that the Motion to Withdraw As Counsel 248 is GRANTED, and Harrison M.
                    Gates is permitted to withdraw as counsel of record for Big Picture and Ascension in this
                    matter. It is so ORDERED. Signed by District Judge Robert E. Payne on 12/04/2018.
                    (smej, ) (Entered: 12/06/2018)
  12/06/2018    255 ORDER that the Plaintiffs' MOTION TO SEAL 237 is granted and PLAINTIFFS'
                    REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION OF CLAIMS
                    AGAINST DEFENDANT MATT MARTORELLO 239 and Exhibits 4, 6, 7, 11 and 12
                    thereto 240 are filed under seal; provided that appropriately redacted versions thereof are
                    filed in the public record. It is so ORDERED. Signed by District Judge Robert E. Payne
                    on 12/04/2018. (smej, ) (Entered: 12/06/2018)
  12/07/2018    256 RESPONSE to Motion re 250 MOTION for Leave to File Supplemental Authority filed
                    by Dowin Coffy, George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 12/07/2018)
  12/07/2018    257 Response to 252 NOTICE, Plaintiffs' Response to Motion to Expedite Ruling on Big
                    Picture Loans and Ascension Technologies, LLC's Motion to Stay Pendidng Appeal and
                    Supplemental Motion to Stay all Proceedings Pending Appeal filed by Dowin Coffy,
                    George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    12/07/2018)
  12/07/2018    258 NOTICE by Matt Martorello re 252 NOTICE, Joinder in Support of Request for
                    Expedited Ruling on Pending Motions to Stay (Attachments: # 1 Exhibit A)(Mullins,
                    Maurice) (Entered: 12/07/2018)
  12/10/2018    259 Reply to 257 Response, to Request for Expedited Ruling on Motion to Stay Pending
                    Appeal and for Supplemental Motion to Stay All Proceedings Pending Appeal filed by
                    Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George, Timothy) (Entered:
                    12/10/2018)

                                                   Page 46
                                                                                               JA046
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 50 of 462


  12/10/2018    260 Consent MOTION to Substitute Corrected Exhibits to Matt Martorellos Memorandum
                    in Opposition to Plaintiffs Motion for Class Certification by Matt Martorello. (St.
                    George, Timothy) (Entered: 12/10/2018)
  12/10/2018    261 Memorandum in Support re 260 Consent MOTION to Substitute Corrected Exhibits to
                    Matt Martorellos Memorandum in Opposition to Plaintiffs Motion for Class
                    Certification filed by Matt Martorello. (Attachments: # 1 Proposed Order Exhibit 1, # 2
                    Exhibit I, # 3 Exhibit U, # 4 Exhibit PP, # 5 Exhibit QQ, # 6 Exhibit RR, # 7 Exhibit SS)
                    (St. George, Timothy) (Entered: 12/10/2018)
  12/10/2018    262 MOTION to Seal Exhibits Filed in Support of Consent Motion to Substitute Corrected
                    Exhibits to Martorellos Memorandum in Opposition to Plaintiffs Motion for Class
                    Certification by Matt Martorello. (St. George, Timothy) (Entered: 12/10/2018)
  12/10/2018    263 Memorandum in Support re 262 MOTION to Seal Exhibits Filed in Support of Consent
                    Motion to Substitute Corrected Exhibits to Martorellos Memorandum in Opposition to
                    Plaintiffs Motion for Class Certification filed by Matt Martorello. (St. George, Timothy)
                    (Entered: 12/10/2018)
  12/10/2018    264 NOTICE by Matt Martorello re 260 Consent MOTION to Substitute Corrected Exhibits
                    to Matt Martorellos Memorandum in Opposition to Plaintiffs Motion for Class
                    Certification of Filing Documents Under Seal (St. George, Timothy) (Entered:
                    12/10/2018)
  12/10/2018    265 Sealed Attachment/Exhibit(s) re 261 Memorandum in Support,. (Attachments: # 1
                    Exhibit I, # 2 Exhibit U, # 3 Exhibit QQ, # 4 Exhibit RR, # 5 Exhibit SS)(St. George,
                    Timothy) (Entered: 12/10/2018)
  12/11/2018    266 Reply to Motion re 245 MOTION to Quash and for Protective Order filed by Dowin
                    Coffy, George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    12/11/2018)
  12/12/2018    267 Response to 258 NOTICE Plaintiffs' Response to Defendant Matt Martorello's Joinder
                    in Support of Request for Expedited Ruling on Motions to Stay filed by Dowin Coffy,
                    George Hengle, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    12/12/2018)
  12/13/2018    268 MOTION for Leave to File a Sur Reply in Opposition to Plaintiffs' Motion for Class
                    Certification by Matt Martorello. (Attachments: # 1 Proposed Order)(Mullins, Maurice)
                    (Entered: 12/13/2018)
  12/13/2018    269 Memorandum in Support re 268 MOTION for Leave to File a Sur Reply in Opposition
                    to Plaintiffs' Motion for Class Certification filed by Matt Martorello. (Attachments: # 1
                    Exhibit A - Proposed Sur Reply, # 2 Exhibit A to Proposed Sur Reply (original to be
                    filed under seal))(Mullins, Maurice) (Entered: 12/13/2018)
  12/13/2018    270 MOTION to Seal Ex A to Proposed Sur Reply in Opposition to Plaintiffs' Motion for
                    Class Certification by Matt Martorello. (Attachments: # 1 Proposed Order)(Mullins,
                    Maurice) (Entered: 12/13/2018)
  12/13/2018    271 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 270 MOTION to Seal
                    Ex A to Proposed Sur Reply in Opposition to Plaintiffs' Motion for Class Certification
                    (Mullins, Maurice) (Entered: 12/13/2018)
  12/13/2018    272 Memorandum in Support re 270 MOTION to Seal Ex A to Proposed Sur Reply in
                    Opposition to Plaintiffs' Motion for Class Certification filed by Matt Martorello.
                    (Mullins, Maurice) (Entered: 12/13/2018)

                                                   Page 47
                                                                                               JA047
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 51 of 462

   12/13/2018   273 Sealed Document re 270 MOTION to Seal Ex A to Proposed Sur Reply in Opposition to
                    Plaintiffs' Motion for Class Certification. (Mullins, Maurice) (Entered: 12/13/2018)
   12/14/2018   274 ORDER that the MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
                    250 is granted. It is so ORDERED. Signed by District Judge Robert E. Payne on
                    12/14/2018. (smej, ) (Entered: 12/14/2018)
   12/14/2018   275 CONSENT ORDER that the 260 Motion to Substitute Corrected Exhibits is
                    GRANTED. The Exhibits attached to Martorello's Consent Motion are hereby accepted
                    and incorporated into Martorello's earlier-filed Memorandum in Opposition to Plaintiffs'
                    Motion for Class Certification and replace the following previously-filed exhibits:
                    Exhibit I, Exhibit U,Exhibit PP, Exhibit QQ, Exhibit RR, and Exhibit SS. See Order for
                    details. Signed by District Judge Robert E. Payne on 12/14/2018. (ccol, ) (Entered:
                    12/14/2018)
   12/14/2018   276 Opposition to 268 MOTION for Leave to File a Sur Reply in Opposition to Plaintiffs'
                    Motion for Class Certification filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 12/14/2018)
   12/18/2018   277 Reply to 267 Response, 258 NOTICE of Joinder of Request for Expedited Ruling on Big
                    Picture Loans, LLC and Ascension Technologies, LLC's Motion to Stay Pending Appeal
                    and Supplemental Motion to Stay All Proceedings Pending Appeal filed by Matt
                    Martorello. (Mullins, Maurice) (Entered: 12/18/2018)
   12/19/2018   278 ORDER that 262 MOTION TO FILE 273 CERTAIN EXHIBITS AND INFORMATION
                    IN CONSENT MOTION TO SUBSTITUTE CORRECTED EXHIBITS TO
                    MARTORELLO'S 261 MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
                    MOTION FOR CLASS CERTIFICATION UNDER SEAL is granted and certain
                    exhibits in connection with DEFENDANT MATT MARTORELLO'S MEMORANDUM
                    IN SUPPORT OF CONSENT MOTION TO SUBSTITUTE CORRECTED EXHIBITS
                    TO MARTORELLO'S MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
                    MOTION FOR CLASS CERTIFICAITON are filed under seal; provided that
                    appropriately redacted versions thereof are filed in the public record. Signed by District
                    Judge Robert E. Payne on 12/18/2018. (jsmi, ) (Entered: 12/19/2018)
   12/20/2018   279 REPLY to Response to Motion re 268 MOTION for Leave to File a Sur Reply in
                    Opposition to Plaintiffs' Motion for Class Certification filed by Matt Martorello.
                    (Mullins, Maurice) (Entered: 12/20/2018)
   12/20/2018   280 Motion to appear Pro Hac Vice by Tod Daniel Stephens and Certification of Local
                    Counsel Maurice Mullins Filing fee $ 75, receipt number 0422-6417683. by Matt
                    Martorello. (Mullins, Maurice) (Entered: 12/20/2018)
   12/20/2018   281 Motion to appear Pro Hac Vice by Paul Louis Brusati and Certification of Local Counsel
                    Maurice Mullins Filing fee $ 75, receipt number 0422-6417714. by Matt Martorello.
                    (Mullins, Maurice) (Entered: 12/20/2018)
   01/02/2019   282 Motion to appear Pro Hac Vice by Michelle Lynne Alamo and Certification of Local
                    Counsel Maurice Mullins Filing fee $ 75, receipt number 0422-6427126. by Matt
                    Martorello. (Mullins, Maurice) (Entered: 01/02/2019)
   01/02/2019   283 ORDER granting 280 and 281 Motions for Pro hac vice. Paul Louis Brusati and Tod
                    Daniel Stephens for Matt Martorello. Signed by District Judge Robert E. Payne on
                    1/2/2019. (jsmi, ) (Entered: 01/02/2019)
   01/04/2019   284 ORDER granting 282 Motion for Pro hac vice. Michelle Lynne Alamo appointed for
                    Matt Martorello. Signed by District Judge Robert E. Payne on 1/3/2019. (jsmi, )
                    (Entered: 01/04/2019)

                                                   Page 48
                                                                                               JA048
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023        Pg: 52 of 462

   01/04/2019   285 NOTICE by Dowin Coffy, George Hengle, Gloria Turnage, Lula Williams Plaintiffs'
                    Notice of Request for In-Person Conference to Address Outstanding Discovery Disputes
                    (Bennett, Leonard) (Entered: 01/04/2019)
   01/06/2019   286 Response to 285 NOTICE filed by Matt Martorello. (Mullins, Maurice) (Entered:
                    01/06/2019)
   01/07/2019   287 ORDER re PLAINTIFFS' 285 NOTICE OF REQUEST FOR IN-PERSON
                    CONFERENCE TO ADDRESS OUTSTANDING DISCOVERY DISPUTES. It is
                    hereby ORDERED that by 5:00 p.m. on January 8, 2019, the Plaintiffs shall file a
                    document setting out discovery issues that they wish the Court to address in a
                    conference before the Court; by 5:00 p.m. on January 10, 2019, Defendant Matt
                    Martorello shall respond to the Plaintiffs' filing; and by 5:00 p.m. on January 11, 2019,
                    the Plaintiffs shall reply to Defendant Martorello's filing. A hearing pertaining to these
                    discovery issues shall take place on January 15, 2019 at 10:30 a.m. in Courtroom 7400.
                    Signed by District Judge Robert E. Payne on 1/7/2018. (jsmi, ) (Entered: 01/07/2019)
   01/07/2019           Set Hearing: Discovery Hearing set for 1/15/2019 at 10:30 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 01/07/2019)
   01/08/2019   288 ORDER that Paragragh 2 of the Court's previous 287 Order applies to any other
                    defendant that wishes to respond to the Plaintiffs' discovery issues. All parties shall
                    participate in the hearing that shall take place on January 15, 2019. Signed by District
                    Judge Robert E. Payne on 1/7/2019. (jsmi, ) (Entered: 01/08/2019)
   01/08/2019   289 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 287 Order,, Notice of Plaintiffs' Statement of Outstanding Discovery
                    Disputes (Kelly, Kristi) (Entered: 01/08/2019)
   01/08/2019   290 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 289 NOTICE of Filing of Exhibits (Attachments: # 1 Exhibit 1, # 2 Exhibit
                    2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8,
                    # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14
                    Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19
                    Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21)(Kelly, Kristi) (Entered: 01/08/2019)
   01/08/2019   291 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 01/08/2019)
   01/08/2019   292 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 291 MOTION to Seal (Kelly, Kristi)
                    (Entered: 01/08/2019)
   01/08/2019   293 Sealed Document re 291 MOTION to Seal . (Attachments: # 1 Exhibit 7, # 2 Exhibit 15,
                    # 3 Exhibit 18)(Kelly, Kristi) (Entered: 01/08/2019)
   01/08/2019   294 Memorandum in Support re 291 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    01/08/2019)
   01/09/2019   295 NOTICE of Appearance by Shannan Marie Fitzgerald on behalf of Ascension
                    Technologies, Inc., Big Picture Loans, LLC (Fitzgerald, Shannan) (Entered: 01/09/2019)
   01/09/2019   296 NOTICE of Appearance by James Edward Moore on behalf of Ascension Technologies,
                    Inc., Big Picture Loans, LLC (Moore, James) (Entered: 01/09/2019)
   01/10/2019   297 ORDER that the DEFENDANTS' 270 MOTION TO FILE EXHIBIT TO PROPOSED
                    SUR-REPLY TO PLAINTIFFS' MOTION FOR CLASS CERTIFICATION UNDER
                    SEAL is granted and 273 Exhibit A to the proposed SUR-REPLY IN OPPOSITION TO

                                                    Page 49
                                                                                                   JA049
USCA4 Appeal: 23-2097       Doc: 11-1           Filed: 12/06/2023       Pg: 53 of 462

                        PLAINTIFFS' [269-1] MOTION FOR CLASS CERTIFICATION OF CLAIMS
                        AGAINST DEFENDANT MATT MARTORELLO is filed under seal; provided that
                        appropriately redacted versions thereof are filed in the public record. Signed by District
                        Judge Robert E. Payne on 1/9/2019. (jsmi, ) (Entered: 01/10/2019)
   01/10/2019   298 Response to 289 NOTICE filed by Ascension Technologies, Inc., Big Picture Loans,
                    LLC. (St. George, Timothy) (Entered: 01/10/2019)
   01/10/2019   299 Response to 289 NOTICE filed by Matt Martorello. (Attachments: # 1 Exhibit 1)
                    (Mullins, Maurice) (Entered: 01/10/2019)
   01/11/2019   301 Response to 299 Response filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                    # 4 Exhibit 4, # 5 Exhibit 5)(Kelly, Kristi) (Entered: 01/11/2019)
   01/11/2019   302 Response to 298 Response filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                    3)(Kelly, Kristi) (Entered: 01/11/2019)
   01/11/2019   303 MOTION for Entry of Order by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered:
                    01/11/2019)
   01/14/2019   304 MOTION to Withdraw as Attorney by David Foster Herman for Matt Martorello by
                    Matt Martorello. (St. George, Timothy) (Entered: 01/14/2019)
   01/15/2019   306 ORDER that 304 MOTION FOR WITHDRAWAL OF APPERANCE PURSUANT TO
                    LOCAL CIVIL RULE 83.1(G) is granted. The Clerk is directed to remove David Foster
                    Herman, Esquire, of Armstrong Teasdale, LLP, as pro hac vice counsel for the
                    defendant, Matt Martorello. Attorney David Foster Herman terminated. Signed by
                    District Judge Robert E. Payne on 1/14/2019. (jsmi, ) (Entered: 01/15/2019)
   01/15/2019   307 Minute Entry for proceedings held before District Judge Robert E. Payne: Discovery
                    Status Hearing held on 1/15/2019. Arguments heard on discovery and motions to stay
                    (ECF Nos. 137 , 140 ); plaintiffs to file brief on motion to compel by 01/25/19, response
                    by 02/01/19, reply by 02/06/19; parties to confer and meet in joint conference room on
                    7th floor (room #7202) at 9:00 a.m. on 01/18/19; parties to submit new electronic
                    authorization forms; response to motion for entry of order (ECF No. 303 ) due 01/21/19,
                    reply by 01/23/19; matter continued for additional hearing on 01/24/19 at 1:30 p.m.
                    (Court Reporter Peppy Peterson, OCR.)(nbrow ) (Entered: 01/15/2019)
   01/17/2019   309 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 307 Discovery Hearing,, 303 MOTION for Entry of Order (Attachments: #
                    1 Exhibit Declaration of E. Michelle Drake, # 2 Exhibit "A" to Drake Declaration)
                    (Bennett, Leonard) (Entered: 01/17/2019)
   01/17/2019   310 ORDER that counsel shall meet and confer on Friday, January 18, 2019, to attempt to
                    resolve issues; by 3:30 p.m., Friday, January 18, 2019, counsel shall report to the Court:
                    (a) the issues that have been resolved (and shall place the resolution on the record); and
                    (b) the issues that are to be the subject of motions to compel (or other motions) and
                    briefed; by January 25, 2019, the parties shall file any such motions and supporting
                    briefs; by February 1, 2019, the parties shall file any briefs in response to any such
                    motions; by February 6, 2019, the parties shall file their reply briefs to the response
                    briefs; to help the Court understand the position of the parties, the motion shall identify
                    the general subject area to which the discovery is addressed; and if the parties cannot
                    agree about whether the Plaintiffs agreed to allow Defendant Martorello to submit his
                    privilege logs late, then an evidentiary hearing shall take place in Courtroom 7400
                    during the hearing at 3:30 p.m. on January 18, 2019 about the issue. See Order for

                                                      Page 50
                                                                                                    JA050
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 54 of 462

                        details. Signed by District Judge Robert E. Payne on 1/16/2019. (jsmi, ) (Entered:
                        01/17/2019)
   01/17/2019   311 TRANSCRIPT of proceedings held on January 15, 2019, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 2/19/2019. Redacted Transcript Deadline set for 3/19/2019.
                    Release of Transcript Restriction set for 4/17/2019.(peterson, peppy) (Entered:
                    01/17/2019)
   01/17/2019   312 ORDER that by January 21, 2019, the Defendants and non-party TranDotCom
                    Solutions, LLC shall file any responses to Plaintiffs' 303 MOTION FOR ENTRY OF
                    ORDER and by January 23, 2019, the Plaintiffs shall file any reply to any response.
                    Signed by District Judge Robert E. Payne on 1/16/2019. (jsmi, ) (Entered: 01/17/2019)
   01/17/2019   313 ORDER that the trial date set to begin on March 18, 2019 is continued until further
                    order of the Court, with the condition that no new discovery other than the discovery
                    that has already been requested can be served on any party at this point. Further, the
                    motion for summary judgment deadline set for January 25, 2019 will also be extended.
                    Counsel shall confer and suggest a new date for the filing of motions for summary
                    judgment and the briefing thereof. Signed by District Judge Robert E. Payne on
                    1/16/2019. (jsmi, ) (Entered: 01/17/2019)
   01/17/2019           Set Hearing: Discovery Status Hearing set for 1/18/2019 at 03:30 PM in Richmond
                        Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered: 01/17/2019)
   01/18/2019   316 Minute Entry for proceedings held before District Judge Robert E. Payne: Discovery
                    Status Hearing held on 1/18/2019. Parties to file agreed order to include spoliation and
                    ESI discovery plan by 01/22/19; Court modified briefing schedule to Order (ECF No.
                    310 ) re: motions to compel by agreement of the parties - brief due 01/28/19, response
                    due 02/04/19, reply due 02/08/19. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                    (Entered: 01/18/2019)
   01/18/2019   317 AGREED ORDER finding as moot 245 Plaintiffs' Motion for Protective Order. See for
                    complete details. IT IS SO ORDERED. Signed by District Judge Robert E. Payne on
                    01/18/2019. (nbrow) (Entered: 01/18/2019)
   01/21/2019   318 Memorandum in Opposition re 303 MOTION for Entry of Order filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (St. George, Timothy) (Entered:
                    01/21/2019)
   01/21/2019   319 TRANSCRIPT of proceedings held on January 18, 2019, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 2/20/2019. Redacted Transcript Deadline set for 3/25/2019.

                                                     Page 51
                                                                                                  JA051
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 55 of 462

                        Release of Transcript Restriction set for 4/22/2019.(peterson, peppy) (Entered:
                        01/21/2019)
   01/22/2019   320 ORDER that the Court's prior order regarding the parties' 310 motion to compel
                    schedule is modified to the following dates: by January 28, 2019, the parties shall file
                    any motions to compel discovery and any supporting briefs; by February 4, 2019, the
                    parties shall file any briefs in response to any such motions; and by February 8, 2019,
                    the parties shall file their reply briefs to the response briefs. Signed by District Judge
                    Robert E. Payne on 1/22/2019. (jsmi, ) (Entered: 01/22/2019)
   01/22/2019   321 ORDER that by January 24, 2019, the parties shall submit a joint order regarding the
                    protocol for additional discovery and electronically stored information; and by January
                    24, 2019, the parties shall submit a report to the Court outlining all discovery issues that
                    they have agreed upon and all discovery issues that are still in dispute. Signed by
                    District Judge Robert E. Payne on 1/22/2019. (jsmi, ) (Entered: 01/22/2019)
   01/22/2019   322 Joint MOTION to Enter Agreed Orders by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Kelly,
                    Kristi) (Entered: 01/22/2019)
   01/23/2019   323 MEMORANDUM ORDER that the Court remains of the view that TRIBAL
                    DEFENDANTS' 137 MOTION TO STAY ALL PROCEEDINGS PENDING APPEAL
                    OF THE COURT'S JUNE 26, 2018 ORDER and TRIBAL DEFENDANTS' 198
                    SUPPLEMENTAL MOTION TO STAY ALL PROCEEDINGS PENDING APPEAL OF
                    THE COURT'S JUNE 26, 2018 ORDER and DEFENDANT MATT MARTORELLO'S
                    140 MOTION TO STAY are moot for the reasons set forth. Finally, the Court is
                    concerned that allowing the case against Martorello to go forward in its current posture
                    could pose a risk to any class claim against the Corporate Defendants if Martorello were
                    to prevail in the trial of a case against him alone. The Court will order further briefing on
                    that issue before further considering class certification. See Order for additional details.
                    Signed by District Judge Robert E. Payne on 1/22/2019. (jsmi, ) (Entered: 01/23/2019)
   01/23/2019   324 ORDER that 291 MOTION TO SEAL is granted and PLAINTIFFS' 293 STATEMENT
                    OF OUTSTANDING DISCOVERY DISPUTES and certain exhibits thereto are filed
                    under seal; provided that appropriately redacted versions thereof are filed in the public
                    record. Signed by District Judge Robert E. Payne on 1/23/2019. (jsmi, ) (Entered:
                    01/23/2019)
   01/23/2019   325 Reply to Motion re 303 MOTION for Entry of Order Plaintiffs' Reply in Support filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Bennett, Leonard) (Entered: 01/23/2019)
   01/23/2019   326 ORDER that the parties may take depositions of the following individuals or entities
                    regarding the location, collection, preservation and uploading of documents and
                    information for potential review in this case: Matt Martorello, Zayra Emanuelli, Adil
                    Karem, and Kryonyx. The parties shall each designate ESI Liaisons who will meet, in
                    person or by videoconference or telephone, to establish a formal ESI Protocol. The
                    protocol will be filed with the Court on or before March 1, 2019. On or before January
                    25, 2019 Defendants shall produce image and load files for their previous productions
                    which substantially comply with the formatting requirements set forth in the Instructions
                    to and Exhibit A of Plaintiff Galloway's First Set of Requests for Production to Matt
                    Martorello in Galloway et al v. Big Picture Loans, et. al. Case No. 3:18-CV-00406. See
                    Order for details. Signed by District Judge Robert E. Payne on 1/23/2019. (jsmi, )
                    (Entered: 01/23/2019)
   01/23/2019   327 ORDER REGARDING DISCOVERY DISPUTES. See Order for complete details.
                    Signed by District Judge Robert E. Payne on 1/23/2019. (jsmi, ) (Entered: 01/23/2019)

                                                    Page 52
                                                                                                  JA052
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 56 of 462


  01/25/2019    328 ORDER that that a hearing shall take place on the plaintiffs' 303 MOTION FOR
                    ENTRY OF ORDER on February 4, 2019 at 10:00 a.m. Signed by District Judge Robert
                    E. Payne on 1/24/2019. (jsmi, ) (Entered: 01/25/2019)
  01/25/2019          Set Hearing: Motion for Entry of Order Hearing set for 2/4/2019 at 10:00 AM in
                      Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered:
                      01/25/2019)
  01/25/2019    329 ORDER that the parties in William V. Big Picture Loans, LLC, No. 3:17-cv-461, shall
                    comply with the following schedule in relation to the plaintiffs' subpoena upon Rosette:
                    the plaintiffs shall modify their subpoena to Rosette by January 29, 2019; after the
                    subpoena is modified and before February 19, 2019, counsel shall meet and confer to
                    resolve any disputes about the subpoena; if Rosette continues to object to any part of the
                    modified subpoena, the plaintiffs shall file any motion to compel production by
                    February 19, 2019; Rosette shall file any response to the plaintiffs' motion to compel by
                    March 5, 2019; the plaintiffs shall file any reply to the plaintiffs' motion to compel by
                    March 12, 2019. Signed by District Judge Robert E. Payne on 1/25/2019. (jsmi, )
                    (Entered: 01/25/2019)
  01/28/2019    330 TRANSCRIPT of proceedings held on January 24, 2019, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 2/27/2019. Redacted Transcript Deadline set for 4/1/2019.
                    Release of Transcript Restriction set for 4/29/2019.(peterson, peppy) (Main
                    Document 330 replaced on 1/29/2019) (jtho, ). (Entered: 01/28/2019)
  01/28/2019    331 **DISREGARD - FILED IN ERROR (SEE TRANSCRIPT 330 ** TRANSCRIPT of
                    proceedings held on January 24, 2019, before Judge Robert E. Payne, Court Reporter
                    Peppy Peterson, Telephone number 804-916-2267. NOTICE RE REDACTION OF
                    TRANSCRIPTS: The parties have thirty (30) calendar days to file with the Court a
                    Notice of Intent to Request Redaction of this transcript. If no such Notice is filed,
                    the transcript will be made remotely electronically available to the public without
                    redaction after 90 calendar days. The policy is located on our website at
                    www.vaed.uscourts.gov Transcript may be viewed at the court public terminal or
                    purchased through the court reporter before the deadline for Release of Transcript
                    Restriction. After that date it may be obtained through PACER Redaction Request
                    due 2/27/2019. Redacted Transcript Deadline set for 4/1/2019. Release of Transcript
                    Restriction set for 4/29/2019.(peterson, peppy) Clerk Modified on 1/29/2019 to
                    correct docket as transcript filed in error. (jtho, ). (Entered: 01/28/2019)
  01/28/2019    332 MOTION for Protective Order Regarding Defendant Martorello's Second Set of
                    Interrogatories by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Kelly, Kristi) (Entered: 01/28/2019)
  01/28/2019    333 Memorandum in Support re 332 MOTION for Protective Order Regarding Defendant
                    Martorello's Second Set of Interrogatories filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2)(Kelly, Kristi) (Entered: 01/28/2019)

                                                   Page 53
                                                                                               JA053
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 57 of 462

   01/28/2019   334 MOTION to Overrule Martorello's Objections and Compel Discovery Responses by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 01/28/2019)
   01/28/2019   335 Memorandum in Support re 334 MOTION to Overrule Martorello's Objections and
                    Compel Discovery Responses filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                    # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                    Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   336 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   337 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 336 MOTION to Seal (Kelly, Kristi)
                    (Entered: 01/28/2019)
   01/28/2019   338 Sealed Document re 336 MOTION to Seal . (Attachments: # 1 Exhibit 1, # 2 Exhibit 6,
                    # 3 Exhibit 7, # 4 Exhibit 8, # 5 Exhibit 9, # 6 Exhibit 11, # 7 Exhibit 13, # 8 Exhibit 14,
                    # 9 Exhibit 15, # 10 Exhibit 16)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   339 Memorandum in Support re 336 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    01/28/2019)
   01/28/2019   340 MOTION to Compel Information Withheld on the Basis of Attorney-Client Privilege by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 01/28/2019)
   01/28/2019   341 Memorandum in Support re 340 MOTION to Compel Information Withheld on the Basis
                    of Attorney-Client Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1. Dec. 2018 Interrogatories,
                    # 2 Exhibit 2. FILED UNDER SEAL, # 3 Exhibit 3. Weddle Declaration, # 4 Exhibit 4.
                    Jan. 2014 Email Thread, # 5 Exhibit 5. FILED UNDER SEAL, # 6 Exhibit 6. FILED
                    UNDER SEAL, # 7 Exhibit 7. FILED UNDER SEAL, # 8 Exhibit 8. FILED UNDER
                    SEAL, # 9 Exhibit 9. Raining Bird Depo., # 10 Exhibit 10. FILED UNDER SEAL, # 11
                    Exhibit 11. FILED UNDER SEAL, # 12 Exhibit 12. FILED UNDER SEAL, # 13
                    Exhibit 13. FILED UNDER SEAL, # 14 Exhibit 14. FILED UNDER SEAL, # 15
                    Exhibit 15. FILED UNDER SEAL, # 16 Exhibit 16. FILED UNDER SEAL, # 17
                    Exhibit 17. FILED UNDER SEAL, # 18 Exhibit 18. FILED UNDER SEAL, # 19
                    Exhibit 19 - Oct. 2017 Gray Email, # 20 Exhibit 20. FILED UNDER SEAL, # 21
                    Exhibit 21. FILED UNDER SEAL, # 22 Exhibit 22. FILED UNDER SEAL, # 23
                    Exhibit 23. FILED UNDER SEAL, # 24 Exhibit 24. Oct. 2, 2017 Privilege Log, # 25
                    Exhibit 25. Oct. 7, 2017 Privilege Log)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   342 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   343 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 342 MOTION to Seal (Kelly, Kristi)
                    (Entered: 01/28/2019)
   01/28/2019   344 Sealed Attachment/Exhibit(s) re 342 MOTION to Seal . (Attachments: # 1 Exhibit 2.
                    Sept. 2015 Merger Agreement, # 2 Exhibit 5. July 2012 Servicing Agreement, # 3
                    Exhibit 6. Red Rock Revenue, # 4 Exhibit 7. Bellicose Formation Doc., # 5 Exhibit 8.
                    Email to Gravel, # 6 Exhibit 10. Aug. 2014 Email to Williams, # 7 Exhibit 11. Dec. 2014
                    EIN Email, # 8 Exhibit 12. Feb. 2015 Resolution Creating Ascension, # 9 Exhibit 13.
                                                    Page 54
                                                                                                 JA054
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 58 of 462

                        Eventide Formation Certificate, # 10 Exhibit 14. Williams Depo. Excerpt, # 11 Exhibit
                        15. McGeshick Depo. Excerpt, # 12 Exhibit 16. Eventide Operating Agreement, # 13
                        Exhibit 17. Eventide Distributions, # 14 Exhibit 18. Martorello Text Messages, # 15
                        Exhibit 20. Nov. 2012 Legal Opinion, # 16 Exhibit 21. April 2014 Weddle Article, # 17
                        Exhibit 22. April 2015 Weddle Article, # 18 Exhibit 23. Nov. 2014 Rosette Opinion
                        Letter)(Kelly, Kristi) (Entered: 01/28/2019)
   01/28/2019   345 Memorandum in Support re 342 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    01/28/2019)
   01/31/2019   346 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 303 MOTION for Entry of Order (Attachments: # 1 Exhibit Declaration of
                    E. Michelle Drake, # 2 Exhibit "A" to Drake Declaration)(Bennett, Leonard) (Entered:
                    01/31/2019)
   01/31/2019   347 Consent MOTION to Modify Briefing Schedule re 340 MOTION to Compel
                    Information Withheld on the Basis of Attorney-Client Privilege by Matt Martorello.
                    (Attachments: # 1 Proposed Order)(Mullins, Maurice) (Entered: 01/31/2019)
   02/01/2019   348 ORDER GRANTING CONSENT MOTION TO MODIFY BRIEFING SCHEDULE.
                    Martorello shall file his Response in Opposition to the Plaintiffs' 340 Motion to Compel
                    Information Withheld on the Basis of Attorney-Client Privilege by February 11,2019
                    (the "Privilege Motion"); and Plaintiffs shall file their Reply in Support of the Privilege
                    Motion by February 18, 2019. Signed by District Judge Robert E. Payne on 2/1/2019.
                    (jsmi, ) (Entered: 02/01/2019)
   02/01/2019   349 ORDER that PLAINTIFFS' 148 MOTION TO OVERRULE DEENDANT
                    MARTORELLO'S DISCOVERY OBJECTIONS is denied as moot. Signed by District
                    Judge Robert E. Payne on 2/1/2019. (jsmi, ) (Entered: 02/01/2019)
   02/03/2019   351 NOTICE of Appearance by Julie Diane Hoffmeister on behalf of Ascension
                    Technologies, Inc., Big Picture Loans, LLC (Hoffmeister, Julie) (Entered: 02/03/2019)
   02/04/2019   352 Minute Entry for proceedings held before District Judge Robert E. Payne: Motion
                    Hearing 303 Motion for Entry of Order held on 2/4/2019. Arguments heard; matters
                    submitted; Court will have decision. (Court Reporter Krista Harding, OCR.) (nbrow)
                    (Entered: 02/04/2019)
   02/04/2019   353 Memorandum in Opposition re 332 MOTION for Protective Order Regarding Defendant
                    Martorello's Second Set of Interrogatories filed by Matt Martorello. (Attachments: # 1
                    Exhibit A)(Erbach, John) (Entered: 02/04/2019)
   02/04/2019   354 Memorandum in Opposition re 334 MOTION to Overrule Martorello's Objections and
                    Compel Discovery Responses filed by Matt Martorello. (Attachments: # 1 Exhibit A)
                    (Erbach, John) (Entered: 02/04/2019)
   02/06/2019   355 TRANSCRIPT of proceedings held on 2/4/2019, before Judge Robert E. Payne, Court
                    Reporter/Transcriber Krista Liscio, Telephone number 804 916-2296. NOTICE RE
                    REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter/transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER Redaction Request due 3/8/2019. Redacted Transcript Deadline set for


                                                    Page 55
                                                                                                 JA055
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 59 of 462

                        4/8/2019. Release of Transcript Restriction set for 5/7/2019.(liscio, krista) (Entered:
                        02/06/2019)
   02/07/2019   356 Consent MOTION to Modify Briefing Schedule by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 02/07/2019)
   02/07/2019   357 Memorandum in Support re 356 Consent MOTION to Modify Briefing Schedule filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 02/07/2019)
   02/08/2019   358 ORDER that the plaintiffs shall file their reply briefs in support of their 332 Motion for a
                    Protective Order Regarding Defendant Martorello's Second Set of Interrogatories, 334
                    Motion to Overrule Martorello's Objections and Compel Discovery Responses, and 340
                    Motion to Compel Information Withheld on the Basis of Attorney-Client Privilege by
                    February 19, 2019. Signed by District Judge Robert E. Payne on 2/7/2019. (jsmi, )
                    (Entered: 02/08/2019)
   02/08/2019   359 ORDER that plaintiffs' 243 CONSENT MOTION TO EXTEND EXPERT
                    DISCOVERY DEADLINE is denied as moot. Signed by District Judge Robert E. Payne
                    on 2/8/2019. (jsmi, ) (Entered: 02/08/2019)
   02/08/2019   360 ORDER that 208 MOTION TO SEAL is granted and 210 Exhibits 4 and 5 to the
                    PLAINTIFFS' 207 OPPOSITION TO DEFENDANT BIG PICTURE, LLC AND
                    ASCENSION TECHNOLOGIES, INC.'S SUPPLEMENTAL MOTION TO STAY ALL
                    PROCEEDINGS PENDING APPEAL OF THE COURT'S JUDGE 26, 2018 ORDER
                    are filed under seal; provided that appropriately redacted versions thereof are filed in the
                    public record. Signed by District Judge Robert E. Payne on 2/8/2019. (jsmi, ) (Entered:
                    02/08/2019)
   02/08/2019   361 ORDER that 336 MOTION TO SEAL is granted and PLAINTIFFS' 338
                    MEMORANDUM IN SUPPORT OF THEIR MOTION TO OVERRULE
                    MARTORELLO'S OBJECTIONS AND COMPEL DISCOVERY RESPONSES and
                    certain exhibits thereto are filed under seal; provided that appropriately redacted
                    versions thereof are filed in the public record. Signed by District Judge Robert E. Payne
                    on 2/8/2019. (jsmi, ) (Entered: 02/08/2019)
   02/08/2019   362 ORDER that PLAINTIFFS' 231 MOTION TO STRIKE TRIBAL DEFENDANTS'
                    REPLY BRIEF IN SUPPORT OF SUPPLEMENTAL MOTION TO STAY ALL
                    PROCEEDINGS PENDING APPEAL OF THE COURT'S JUNE 26, 2018 ORDER
                    (ECF No. 231) is denied as moot. Signed by District Judge Robert E. Payne on
                    2/8/2019. (jsmi, ) (Entered: 02/08/2019)
   02/11/2019   363 ORDER that 342 MOTION TO SEAL is granted and PLAINTIFFS' 344
                    MEMORANDUM IN SUPPORT OF MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE and certain
                    exhibits thereto are filed under seal; provided that appropriately redacted versions
                    thereof are filed in the public record. Signed by District Judge Robert E. Payne on
                    2/8/2019. (jsmi, ) (Entered: 02/11/2019)
   02/11/2019   364 MOTION to Seal by Matt Martorello. (Attachments: # 1 Proposed Order)(Erbach, John)
                    (Entered: 02/11/2019)
   02/11/2019   365 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 364 MOTION to Seal
                    (Erbach, John) (Entered: 02/11/2019)
   02/11/2019   366 Sealed Document re 364 MOTION to Seal . (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                    # 3 Exhibit D, # 4 Exhibit F, # 5 Exhibit G, # 6 Exhibit H, # 7 Exhibit I, # 8 Exhibit K, #

                                                     Page 56
                                                                                                 JA056
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 60 of 462

                      9 Exhibit L, # 10 Exhibit N, # 11 Exhibit O, # 12 Exhibit P, # 13 Exhibit R, # 14 Exhibit
                      S, # 15 Exhibit T, # 16 Exhibit U, # 17 Exhibit V, # 18 Exhibit W, # 19 Exhibit X, # 20
                      Exhibit Y, # 21 Exhibit Z, # 22 Exhibit AA, # 23 Exhibit BB, # 24 Exhibit CC, # 25
                      Exhibit DD, # 26 Exhibit EE, # 27 Exhibit FF, # 28 Exhibit GG, # 29 Exhibit HH, # 30
                      Exhibit II, # 31 Exhibit JJ, # 32 Exhibit KK, # 33 Exhibit LL, # 34 Exhibit MM, # 35
                      Exhibit NN, # 36 Exhibit OO, # 37 Exhibit PP, # 38 Exhibit QQ)(Erbach, John)
                      (Entered: 02/11/2019)
  02/11/2019    367 Memorandum in Support re 364 MOTION to Seal filed by Matt Martorello. (Erbach,
                    John) (Entered: 02/11/2019)
  02/11/2019    368 Memorandum in Opposition re 340 MOTION to Compel Information Withheld on the
                    Basis of Attorney-Client Privilege filed by Matt Martorello. (Attachments: # 1 Exhibit A,
                    # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, #
                    8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit
                    M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19
                    Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit
                    X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, #
                    30 Exhibit DD, # 31 Exhibit EE, # 32 Exhibit FF, # 33 Exhibit GG, # 34 Exhibit HH, #
                    35 Exhibit II, # 36 Exhibit JJ, # 37 Exhibit KK, # 38 Exhibit LL, # 39 Exhibit MM, # 40
                    Exhibit NN, # 41 Exhibit OO, # 42 Exhibit PP, # 43 Exhibit QQ, # 44 Exhibit RR, # 45
                    Exhibit SS, # 46 Exhibit TT, # 47 Exhibit UU)(Erbach, John) (Entered: 02/11/2019)
  02/12/2019    369 ORDER of USCA as to 135 Notice of Appeal filed by Big Picture Loans, LLC,
                    Ascension Technologies, Inc. : Upon consideration of appellants motion to stay and
                    motion to exceed type-volume limitation, and defendants motion for leave to intervene,
                    the court denies the motions. (lbre, ) (Entered: 02/12/2019)
  02/15/2019    370 Consent MOTION for Extension of Time to File Response/Reply as to 340 MOTION to
                    Compel Information Withheld on the Basis of Attorney-Client Privilege by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Kelly, Kristi) (Entered: 02/15/2019)
  02/15/2019    371 Memorandum in Support re 370 Consent MOTION for Extension of Time to File
                    Response/Reply as to 340 MOTION to Compel Information Withheld on the Basis of
                    Attorney-Client Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 02/15/2019)
  02/15/2019    372 ORDER granting 370 Motion for Extension of Time to File Response/Reply re 340
                    MOTION to Compel Information Withheld on the Basis of Attorney-Client Privilege
                    Replies due by 2/26/2019. Signed by Magistrate Judge David J. Novak on 02/15/2019.
                    (tjoh, ) (Entered: 02/15/2019)
  02/18/2019    373 Motion to appear Pro Hac Vice by William Ojile and Certification of Local Counsel
                    John Michael Erbach Filing fee $ 75, receipt number 0422-6498486. by Matt
                    Martorello. (Erbach, John) (Entered: 02/18/2019)
  02/19/2019    374 REPLY to Response to Motion re 332 MOTION for Protective Order Regarding
                    Defendant Martorello's Second Set of Interrogatories filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    02/19/2019)
  02/19/2019    375 REPLY to Response to Motion re 334 MOTION to Overrule Martorello's Objections and
                    Compel Discovery Responses filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                    # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12)(Kelly, Kristi) (Entered: 02/19/2019)

                                                   Page 57
                                                                                                JA057
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023       Pg: 61 of 462

   02/19/2019   376 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 02/19/2019)
   02/19/2019   377 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 376 MOTION to Seal (Kelly, Kristi)
                    (Entered: 02/19/2019)
   02/19/2019   378 Sealed Document re 376 MOTION to Seal . (Attachments: # 1 Exhibit 5, # 2 Exhibit 6,
                    # 3 Exhibit 7, # 4 Exhibit 11, # 5 Exhibit 12)(Kelly, Kristi) (Entered: 02/19/2019)
   02/19/2019   379 Memorandum in Support re 376 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    02/19/2019)
   02/19/2019   380 Consent MOTION to Modify Briefing Schedule by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 02/19/2019)
   02/19/2019   381 Memorandum in Support re 380 Consent MOTION to Modify Briefing Schedule filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 02/19/2019)
   02/21/2019   382 Consent MOTION for Leave to File Corrected Memorandum and Related Relief by
                    Matt Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered:
                    02/21/2019)
   02/21/2019   383 Memorandum in Support re 382 Consent MOTION for Leave to File Corrected
                    Memorandum and Related Relief filed by Matt Martorello. (Attachments: # 1 Exhibit A)
                    (Erbach, John) (Entered: 02/21/2019)
   02/25/2019   384 ORDER granting 373 Motion for Pro hac vice. William Ojile appointed for Matt
                    Martorello. Signed by District Judge Robert E. Payne on 2/22/2019. (jsmi, ) (Entered:
                    02/25/2019)
   02/26/2019   385 ORDER that DEFENDANT'S 364 MOTION TO FILE UNDER SEAL is granted and
                    DEFENDANT MATT MARTORELLO'S 366 MEMORANDUM IN OPPOSITION TO
                    PLAINTIFFS' MOTION TO COMPEL and certain exhibits thereto are filed under seal;
                    provided that appropriately redacted versions thereof are filed in the public record.
                    Signed by District Judge Robert E. Payne on 2/25/2019. (jsmi, ) (Entered: 02/26/2019)
   02/26/2019   386 ORDER that Defendant's 340 Consent Motion For Leave To File Corrected
                    Memorandum In Opposition To Plaintiffs' Motion To Compel Information Withheld On
                    The Basis Of Attorney-Client Privilege And Modify Briefing Schedule is GRANTED.
                    Plaintiffs shall have until March 5, 2019, to file their reply brief in support of their
                    Motion to Compel Information Withheld on the Basis of Attorney-Client Privilege.
                    Signed by District Judge Robert E. Payne on 2/25/2019. (jsmi, ) (Entered: 02/26/2019)
   02/26/2019   387 ORDER that this Court hereby grants Plaintiffs' Consent Motion to Modify Briefing
                    Schedule. It is hereby ordered that Plaintiffs shall file any necessary motion to compel
                    regarding Rosette's production on or before March 5,2019; Rosette shall file any
                    response to the Plaintiffs' motion to compel on or before March 19, 2019, and the
                    Plaintiffs' shall file any reply to their motion to compel on or before March 26, 2019.
                    Signed by District Judge Robert E. Payne on 2/25/2019. (jsmi, ) (Entered: 02/26/2019)
   02/27/2019   388 Sealed Response/Reply/Opposition re 386 Order on Motion to Compel,. (Erbach, John)
                    (Entered: 02/27/2019)
   02/27/2019   389 Memorandum in Opposition re 340 MOTION to Compel Information Withheld on the
                    Basis of Attorney-Client Privilege (filed per Order at Dkt. No. 386) filed by Matt

                                                   Page 58
                                                                                                JA058
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 62 of 462

                        Martorello. (Erbach, John) (Entered: 02/27/2019)
   03/01/2019   390 Consent MOTION for Extension of Deadline to File ESI Protocol by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Bennett, Leonard) (Entered: 03/01/2019)
   03/01/2019   391 Memorandum in Support re 390 Consent MOTION for Extension of Deadline to File
                    ESI Protocol filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Bennett, Leonard) (Entered: 03/01/2019)
   03/04/2019   392 MOTION for Entry of Order Allowing Production of Consumer Reports by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Proposed Order)(Kelly, Kristi) (Entered: 03/04/2019)
   03/05/2019   393 Consent MOTION to Modify Briefing Schedule by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 03/05/2019)
   03/05/2019   394 Memorandum in Support re 393 Consent MOTION to Modify Briefing Schedule filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 03/05/2019)
   03/05/2019   395 RESPONSE in Support re 340 MOTION to Compel Information Withheld on the Basis
                    of Attorney-Client Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Placeholder (filed under
                    seal), # 2 Exhibit 2 - Placeholder (filed under seal), # 3 Exhibit 3 - Feb. 2016 Loan
                    Agreement, # 4 Exhibit 4 - Placeholder (filed under seal), # 5 Exhibit 5 - Placeholder
                    (filed under seal), # 6 Exhibit 6 - Placeholder (filed under seal), # 7 Exhibit 7 -
                    Placeholder (filed under seal), # 8 Exhibit 8 - Placeholder (filed under seal), # 9 Exhibit
                    9 - Placeholder (filed under seal), # 10 Exhibit 10 - Placeholder (filed under seal), # 11
                    Exhibit 11 - Placeholder (filed under seal), # 12 Exhibit 12 - Placeholder (filed under
                    seal), # 13 Exhibit 13 - Placeholder (filed under seal), # 14 Exhibit 14 - Placeholder
                    (filed under seal), # 15 Exhibit 15 - Placeholder (filed under seal), # 16 Exhibit 16 -
                    Placeholder (filed under seal), # 17 Exhibit 17 - Placeholder (filed under seal), # 18
                    Exhibit 18 - Placeholder (filed under seal), # 19 Exhibit 19 - Placeholder (filed under
                    seal), # 20 Exhibit 20 - Placeholder (filed under seal), # 21 Exhibit 21 - Placeholder
                    (filed under seal))(Kelly, Kristi) (Entered: 03/05/2019)
   03/05/2019   396 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 03/05/2019)
   03/05/2019   397 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 396 MOTION to Seal (Kelly, Kristi)
                    (Entered: 03/05/2019)
   03/05/2019   398 Sealed Attachment/Exhibit(s) re 396 MOTION to Seal . (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 4, # 4 Exhibit 5, # 5 Exhibit 6, # 6 Exhibit 7, # 7 Exhibit 8, # 8
                    Exhibit 9, # 9 Exhibit 10, # 10 Exhibit 11, # 11 Exhibit 12, # 12 Exhibit 13, # 13 Exhibit
                    14, # 14 Exhibit 15, # 15 Exhibit 16, # 16 Exhibit 17, # 17 Exhibit 18, # 18 Exhibit 19, #
                    19 Exhibit 20, # 20 Exhibit 21)(Kelly, Kristi) (Entered: 03/05/2019)
   03/05/2019   399 Memorandum in Support re 396 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    03/05/2019)
   03/06/2019   400 ORDER this Court hereby grants Plaintiffs' Consent 390 Motion for Extension of the
                    Deadline to File ESI Protocol. It is hereby ordered that Plaintiffs and Defendant
                    Matthew Martorello shall file their ESI Protocol, in accordance with the requirements

                                                    Page 59
                                                                                                 JA059
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 63 of 462

                        outlined in the Court's January 23, 2019 326 Order, on or before March 22, 2019. Signed
                        by District Judge Robert E. Payne on 3/6/2019. (jsmi, ) (Entered: 03/06/2019)
   03/06/2019   401 ORDER that 376 MOTION TO SEAL is granted and Exhibits 2, 5, 6, 7, 11 and 12 to the
                    PLAINTIFFS' 378 REPLY IN SUPPORT OF THEIR MOTION TO OVERRULE
                    MARTORELLO'S OBJECTIONS AND COMPEL DISCOVERY RESPONSES are
                    filed under seal; provided that appropriately redacted versions thereof are filed in the
                    public record. Signed by District Judge Robert E. Payne on 3/6/2019. (jsmi, ) (Entered:
                    03/06/2019)
   03/06/2019   402 ORDER that this Court hereby grants Plaintiffs' 393 Consent Motion to Modify Briefing
                    Schedule. It is hereby ordered that Plaintiffs shall file any necessary motion to compel
                    regarding Rosette's production on or before March 7,2019; Rosette shall file any
                    response to the Plaintiffs' motion to compel on or before March 21, 2019, and the
                    Plaintiffs' shall file any reply to their motion to compel on or before March 28, 2019..
                    Signed by District Judge Robert E. Payne on 3/6/2019. (jsmi, ) (Entered: 03/06/2019)
   03/07/2019   403 MOTION for Leave to File Supplemental Authority In Support of Motion to Compel
                    Information Withheld on the Basis of Attorney-Client Privilege by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                    Order)(Kelly, Kristi) (Entered: 03/07/2019)
   03/07/2019   404 Memorandum in Support re 403 MOTION for Leave to File Supplemental Authority In
                    Support of Motion to Compel Information Withheld on the Basis of Attorney-Client
                    Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Kelly,
                    Kristi) (Entered: 03/07/2019)
   03/07/2019   405 MOTION to Compel Response to Subpoena Issued to Rosette, LLP by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 03/07/2019)
   03/07/2019   406 Memorandum in Support re 405 MOTION to Compel Response to Subpoena Issued to
                    Rosette, LLP filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                    5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Kelly, Kristi) (Entered:
                    03/07/2019)
   03/07/2019   407 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 03/07/2019)
   03/07/2019   408 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 407 MOTION to Seal (Kelly, Kristi)
                    (Entered: 03/07/2019)
   03/07/2019   409 Sealed Document re 407 MOTION to Seal . (Attachments: # 1 Exhibit 2, # 2 Exhibit 3,
                    # 3 Exhibit 4, # 4 Exhibit 5, # 5 Exhibit 6, # 6 Exhibit 7)(Kelly, Kristi) (Entered:
                    03/07/2019)
   03/07/2019   410 Memorandum in Support re 407 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    03/07/2019)
   03/07/2019   411 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 03/07/2019)
   03/07/2019   412 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 411 MOTION to Seal (Kelly, Kristi)


                                                    Page 60
                                                                                                 JA060
USCA4 Appeal: 23-2097      Doc: 11-1            Filed: 12/06/2023    Pg: 64 of 462

                        (Entered: 03/07/2019)
   03/07/2019   413 Sealed Document re 411 MOTION to Seal . (Attachments: # 1 Exhibit 1, # 2 Exhibit 2,
                    # 3 Exhibit 3, # 4 Exhibit 4)(Kelly, Kristi) (Entered: 03/07/2019)
   03/07/2019   414 Memorandum in Support re 411 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    03/07/2019)
   03/13/2019   415 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 3/12/2019.
                    (jsmi, ) (Entered: 03/13/2019)
   03/13/2019   416 ORDER that the plaintiffs' 303 MOTION FOR ENTRY OF ORDER is granted. It is
                    further ORDERED that TranDotCom Solutions, LLC, shall segregate and preserve the
                    data that it has agreed to produce and, by March 30, 2019, file a pleading in this Court
                    certifying under oath that it has segregated and preserved the data that it has agreed to
                    produce so that the data can be produced after the Court decides the pending motion for
                    class certification. Signed by District Judge Robert E. Payne on 3/12/2019. (jsmi, )
                    (Entered: 03/13/2019)
   03/19/2019   417 ORDER that 396 MOTION TO SEAL is granted and PLAINTIFFS' 398 REPLY IN
                    SUPPORT OF MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS
                    OF ATTORNEY-CLIENT PRIVILEGE and certain exhibits thereto are filed under seal;
                    provided that appropriately redacted versions thereof are filed in the public record.
                    Signed by District Judge Robert E. Payne on 3/18/2019. (jsmi, ) (Entered: 03/19/2019)
   03/19/2019   418 ORDER that 407 MOTION TO SEAL is granted and the PLAINTIFFS' 409
                    MEMORANDUM IN SUPPORT OF THEIR MOTION TO COMPEL RESPONSE TO
                    SUBPOENA ISSUED TO ROSETTE, LLP and Exhibits 2, 3, 4, 5, 6, and 7 thereto are
                    filed under seal; provided that appropriately redacted versions thereof are filed in the
                    public record. Signed by District Judge Robert E. Payne on 3/18/2019. (jsmi, ) (Entered:
                    03/19/2019)
   03/19/2019   419 ORDER that 411 MOTION TO SEAL is granted and the plaintiffs' 413
                    MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
                    SUPPLEMENTAL AUTHORITY IN SUPPORT OF MOTION TO COMPEL
                    INFORMATION WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE
                    and Exhibits 1, 2, 3 and 4 thereto are filed under seal; provided that appropriately
                    redacted versions thereof are filed in the public record. Signed by District Judge Robert
                    E. Payne on 3/18/2019. (jsmi, ) (Entered: 03/19/2019)
   03/19/2019   420 Memorandum in Opposition re 392 MOTION for Entry of Order Allowing Production
                    of Consumer Reports filed by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(St. George, Timothy) (Entered: 03/19/2019)
   03/21/2019   421 Memorandum in Opposition re 403 MOTION for Leave to File Supplemental Authority
                    In Support of Motion to Compel Information Withheld on the Basis of Attorney-Client
                    Privilege (Redacted Version) filed by Matt Martorello. (Attachments: # 1 Exhibit VV, #
                    2 Exhibit WW, # 3 Exhibit XX, # 4 Exhibit YY, # 5 Exhibit ZZ, # 6 Exhibit AAA, # 7
                    Exhibit BBB, # 8 Exhibit CCC, # 9 Exhibit DDD, # 10 Exhibit EEE, # 11 Exhibit FFF, #
                    12 Exhibit GGG, # 13 Exhibit HHH, # 14 Exhibit III, # 15 Exhibit JJJ, # 16 Exhibit
                    KKK, # 17 Exhibit LLL, # 18 Exhibit MMM, # 19 Exhibit NNN, # 20 Exhibit OOO, #
                    21 Exhibit PPP, # 22 Exhibit QQQ)(Erbach, John) (Entered: 03/21/2019)
   03/21/2019   422 MOTION to Seal Unredacted Memorandum in Opposition to Plaintiffs' Motion for
                    Leave to File Supplemental Authority and Exhibits VV, XX, YY, ZZ, AAA, BBB, CCC,
                    FFF, GGG, HHH, KKK, and OOO thereto by Matt Martorello. (Attachments: # 1
                    Proposed Order)(Erbach, John) (Entered: 03/21/2019)

                                                     Page 61
                                                                                                JA061
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 65 of 462

   03/21/2019   423 Memorandum in Support re 422 MOTION to Seal Unredacted Memorandum in
                    Opposition to Plaintiffs' Motion for Leave to File Supplemental Authority and Exhibits
                    VV, XX, YY, ZZ, AAA, BBB, CCC, FFF, GGG, HHH, KKK, and OOO thereto filed by
                    Matt Martorello. (Erbach, John) (Entered: 03/21/2019)
   03/21/2019   424 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 422 MOTION to Seal
                    Unredacted Memorandum in Opposition to Plaintiffs' Motion for Leave to File
                    Supplemental Authority and Exhibits VV, XX, YY, ZZ, AAA, BBB, CCC, FFF, GGG,
                    HHH, KKK, and OOO thereto (Erbach, John) (Entered: 03/21/2019)
   03/21/2019   425 Sealed Response/Reply/Opposition re 422 MOTION to Seal Unredacted Memorandum
                    in Opposition to Plaintiffs' Motion for Leave to File Supplemental Authority and
                    Exhibits VV, XX, YY, ZZ, AAA, BBB, CCC, FFF, GGG, HHH, KKK, and OOO thereto,
                    403 MOTION for Leave to File Supplemental Authority In Support of Motion to Compel
                    Information Withheld on the Basis of Attorney-Client Privilege. (Attachments: # 1
                    Exhibit VV, # 2 Exhibit XX, # 3 Exhibit YY, # 4 Exhibit ZZ, # 5 Exhibit AAA, # 6
                    Exhibit BBB, # 7 Exhibit CCC, # 8 Exhibit FFF, # 9 Exhibit GGG, # 10 Exhibit HHH, #
                    11 Exhibit KKK, # 12 Exhibit OOO)(Erbach, John) (Entered: 03/21/2019)
   03/22/2019   426 DISREGARD-FILED IN ERROR: RESPONSE in Support re 392 MOTION for Entry
                    of Order Allowing Production of Consumer Reports filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit
                    Castle Payday now BPL, # 2 Exhibit Pepper Cash now BPL)(Bennett, Leonard)
                    Modified on 3/22/2019 to seal document-counsel will refile corrected document (wtuc,
                    ). (Entered: 03/22/2019)
   03/22/2019   427 Consent MOTION for Extension of Deadline to File ESI Protocol by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Bennett, Leonard) (Entered: 03/22/2019)
   03/22/2019   428 Memorandum in Support re 427 Consent MOTION for Extension of Deadline to File
                    ESI Protocol filed by Dowin Coffy, George Hengle, Marcella P. Singh. (Bennett,
                    Leonard) (Entered: 03/22/2019)
   03/22/2019           Notice of Correction re 426 Response in Support of Motion; DISREGARD document;
                        attorney filed incorrect document containing sealed information; counsel will refile
                        Notice, Motion to Seal, corrected sealed document and redacted document promptly.
                        (jtho, ) (Entered: 03/22/2019)
   03/22/2019   429 REPLY to Response to Motion re 392 MOTION for Entry of Order Allowing Production
                    of Consumer Reports (Corrected) filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Bennett, Leonard) (Entered:
                    03/22/2019)
   03/22/2019   430 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered:
                    03/22/2019)
   03/22/2019   431 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 430 MOTION to Seal (Bennett, Leonard)
                    (Entered: 03/22/2019)
   03/22/2019   432 Sealed Document re 430 MOTION to Seal . (Attachments: # 1 Exhibit 4, # 2 Exhibit 5)
                    (Bennett, Leonard) (Entered: 03/22/2019)
   03/22/2019   433 Memorandum in Support re 430 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:

                                                    Page 62
                                                                                                JA062
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 66 of 462

                        03/22/2019)
   03/26/2019   434 ORDER that plaintiffs' 427 CONSENT MOTION FOR EXTENSION OF DEADLINE
                    TO FILE ESI PROTOCOL is granted. By April 1, 2019, the parties shall file a status
                    report that describes their efforts to collect the electronically stored information ("ESI")
                    relevant in this case; that states whether the parties have come to an agreement about
                    what data must be collected and the methods of such collection; and that proposes a
                    deadline for when the parties will file their proposed ESI protocol. Signed by District
                    Judge Robert E. Payne on 3/26/2019. (jsmi, ) (Entered: 03/26/2019)
   03/26/2019   435 ORDER PLAINTIFFS' 332 MOTION FOR A PROTECTIVE ORDER REGARDING
                    DEFENDANT MARTORELLO'S SECOND SET OF INTERROGATORIES is granted;
                    and, therefore, it is ORDERED that, because the defendant, Matt Martorello, served
                    interrogatories in excess of those permitted by the Federal Rules of Civil Procedure
                    without first obtaining leave of Court so to, the plaintiffs shall not be required to answer
                    any of the interrogatories. It is further ORDERED that, by April 15, 2019, Martorello
                    may serve on the plaintiffs a new set of interrogatories within the proper limits
                    proscribed by the Federal Rules of Civil Procedure; provided, however, that none of
                    those interrogatories may be contention interrogatories. See Order for further details.
                    Signed by District Judge Robert E. Payne on 3/26/2019. (jsmi, ) (Entered: 03/26/2019)
   03/27/2019   436 Reply to Response to Motion re 403 MOTION for Leave to File Supplemental Authority
                    In Support of Motion to Compel Information Withheld on the Basis of Attorney-Client
                    Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Bennett, Leonard) Modified docket text on 4/1/2019 (smej, ). (Entered:
                    03/27/2019)
   03/27/2019   437 MOTION to Strike Defendant Matt Martorello's Memorandum in Opposition to
                    Plaintiffs' Motion for Leave to File Supplemental Authority by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    03/27/2019)
   03/27/2019   438 Memorandum in Support re 437 MOTION to Strike Defendant Matt Martorello's
                    Memorandum in Opposition to Plaintiffs' Motion for Leave to File Supplemental
                    Authority filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Bennett, Leonard) (Entered: 03/27/2019)
   03/28/2019   439 ORDER - It is hereby ORDERED that, for good cause shown and in the interest of
                    justice, the MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY IN
                    SUPPORT OF MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS
                    OF ATTORNEY CLIENT PRIVILEGE 403 is granted and the Court will consider the
                    supplemental authority and information. Signed by District Judge Robert E. Payne on
                    03/28/2019. (smej, ) (Entered: 03/28/2019)
   03/28/2019   440 ORDER - It is hereby ORDERED that the MOTION FOR ENTRY OF ORDER
                    ALLOWING PRODUCTION OF CONSUMER REPORTS 392 is granted because it
                    seeks relevant information from the consumer reporting agency, DataX, Ltd., and
                    production of that information does not violate the Fair Credit Reporting Act. SEE
                    ORDER FOR DETAILS. Signed by District Judge Robert E. Payne on 03/28/2019.
                    (smej, ) (Entered: 03/28/2019)
   03/28/2019   441 MEMORANDUM ORDER re 334 MOTION TO OVERRULE MARTORELLO'S
                    OBJECTIONS AND COMPEL DISCOVERY RESPONSES is granted. The documents
                    required to be produced by paragraphs (2) (A) through (J) shall be produced to counsel
                    for plaintiffs by April 27, 2019 and shall be identified and keyed to the discovery request
                    to which they are being produced; and the filing required by paragraphs (1)(B) shall be


                                                    Page 63
                                                                                                  JA063
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 67 of 462

                        made by April 29, 2019. See Order for additional details. Signed by District Judge
                        Robert E. Payne on 3/28/2019. (jsmi, ) (Entered: 03/28/2019)
   03/28/2019   442 REDACTED REPLY in Support re 405 MOTION to Compel Response to Subpoena
                    Issued to Rosette, LLP filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Jan. 15, 2019 Hr'g Trans., # 2
                    Exhibit 2 - Placeholder, # 3 Exhibit 3 - Placeholder, # 4 Exhibit 4 - Placeholder, # 5
                    Exhibit 5 - Placeholder, # 6 Exhibit 6 - July 2018 Initial Pretrial Conf. Trans.)(Kelly,
                    Kristi) Modified to correct docket text on 4/1/2019 (smej, ). (Entered: 03/28/2019)
   03/28/2019   443 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 03/28/2019)
   03/28/2019   444 Memorandum in Support re 443 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    03/28/2019)
   03/28/2019   445 Sealed Attachment/Exhibit(s) re 443 MOTION to Seal . (Attachments: # 1 Exhibit 2 -
                    Sealed Excerpt from Martorello Depo, # 2 Exhibit 3 - Sealed Excerpt from Merritt
                    Deposition, # 3 Exhibit 4 - Sealed E-mail with Business Plan, # 4 Exhibit 5 - Sealed E-
                    mail)(Kelly, Kristi) (Entered: 03/28/2019)
   03/28/2019   446 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 443 MOTION to Seal (Kelly, Kristi)
                    (Entered: 03/28/2019)
   03/29/2019   447 ORDER that DEFENDANT MARTORELLO'S 268 MOTION FOR LEAVE TO FILE A
                    SUR-REPLY IN OPPOSITION TO PLAINTIFFS' MOTION FOR CLASS
                    CERTIFICATION is denied. See Order for additional details. Signed by District Judge
                    Robert E. Payne on 3/28/2019. (jsmi, ) (Entered: 03/29/2019)
   03/29/2019   448 Consent MOTION for Extension of Deadline for TranDotCom Filing by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Kelly, Kristi) (Entered: 03/29/2019)
   03/29/2019   449 Memorandum in Support re 448 Consent MOTION for Extension of Deadline for
                    TranDotCom Filing filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Kelly, Kristi) (Entered: 03/29/2019)
   03/29/2019   450 ORDER that PLAINTIFFS' 437 MOTION TO STRIKE DEFENDANT MATT
                    MARTORELLO'S MEMORANDUM IN OPPOSITION TO PLAINTIFFS' MOTION
                    FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY is denied as moot because by
                    439 ORDER the Court granted the plaintiffs' 403 Motion for Leave to File Supplemental
                    Authority. Signed by District Judge Robert E. Payne on 3/29/2019. (jsmi, ) (Entered:
                    03/29/2019)
   04/01/2019   451 STATUS REPORT (Joint) Regarding ESI Protocol by Matt Martorello. (Mullins,
                    Maurice) (Entered: 04/01/2019)
   04/02/2019   452 ORDER that for good cause shown, this Court hereby grants Plaintiffs' 448 Consent
                    Motion for Extension of the Deadline for TranDotCom Filing. It is hereby ordered that
                    TranDotCom Solutions, LLC, in accordance with the requirements outlined in the
                    Court's March 13, 2019 Order (ECF No. 416 ), shall segregate and preserve the data for
                    production and file a pleading certifying the same on or before April 12, 2019. It is so
                    ORDERED. Signed by District Judge Robert E. Payne on 04/02/2019. (walk, ) (Entered:
                    04/02/2019)
   04/03/2019   453 MOTION For Leave to File a Sur-Reply re 340 MOTION to Compel Information
                    Withheld on the Basis of Attorney-Client Privilege by Matt Martorello. (Mullins,
                                                     Page 64
                                                                                                  JA064
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 68 of 462

                        Maurice) (Entered: 04/03/2019)
   04/03/2019   454 ORDER re 422 DEFENDANT'S MOTION TO FILE UNDER SEAL HIS
                    UNREDACTED RESPONSE AND EXHIBITS VV, XX, YY, ZZ, AAA, BBB, CCC,
                    FFF, GOG, HHH, KKK, AND 000 IN OPPOSITION TO PLAINTIFFS' MOTION FOR
                    LEAVE TO FILE SUPPLEMENTAL AUTHORITY. It is hereby ORDERED that
                    henceforth no document shall be entered for filing under seal unless the terms of 19
                    STIPULATED PROTECTIVE ORDER have been satisfied and there has been a
                    demonstration by the Defendants that, in fact, specific information in a document is
                    entitled to protection because it is truly confidential business information or a trade
                    secret and by a certification of counsel for the Plaintiffs wherein counsel agrees that the
                    specified information is confidential business information or a trade secret. See Order
                    for additional details and deadlines. Signed by District Judge Robert E. Payne on
                    4/3/2019. (jsmi, ) (Entered: 04/03/2019)
   04/03/2019   455 Memorandum in Support re 453 MOTION For Leave to File a Sur-Reply re 340
                    MOTION to Compel Information Withheld on the Basis of Attorney-Client Privilege
                    filed by Matt Martorello. (Attachments: # 1 Exhibit Proposed Sur-Reply, # 2 Exhibit
                    RRR, # 3 Exhibit SSS, # 4 Exhibit TTT, # 5 Exhibit UUU, # 6 Exhibit VVV, # 7 Exhibit
                    WWW, # 8 Exhibit XXX, # 9 Exhibit YYY, # 10 Exhibit ZZZ, # 11 Exhibit AAAA, # 12
                    Exhibit BBBB, # 13 Exhibit CCCC, # 14 Exhibit DDDD, # 15 Exhibit EEEE, # 16
                    Exhibit FFFF, # 17 Exhibit GGGG, # 18 Exhibit HHHH, # 19 Exhibit IIII)(Mullins,
                    Maurice) (Entered: 04/03/2019)
   04/03/2019   456 MOTION to Seal by Matt Martorello. (Attachments: # 1 Proposed Order)(Mullins,
                    Maurice) (Entered: 04/03/2019)
   04/03/2019   457 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 456 MOTION to Seal
                    (Mullins, Maurice) (Entered: 04/03/2019)
   04/03/2019   458 Memorandum in Support re 456 MOTION to Seal filed by Matt Martorello. (Mullins,
                    Maurice) (Entered: 04/03/2019)
   04/03/2019   459 Sealed Response/Reply/Opposition re 456 MOTION to Seal . (Attachments: # 1 Exhibit
                    RRR, # 2 Exhibit SSS, # 3 Exhibit UUU, # 4 Errata WWW, # 5 Exhibit XXX, # 6
                    Exhibit ZZZ, # 7 Exhibit AAAA, # 8 Exhibit BBBB, # 9 Exhibit CCCC, # 10 Exhibit
                    DDDD, # 11 Exhibit EEEE, # 12 Exhibit FFFF, # 13 Exhibit GGGG)(Mullins, Maurice)
                    (Entered: 04/03/2019)
   04/05/2019   460 ORDER re 451 JOINT STATUS REPORT REGARDING ESI PROTOCOL. The parties
                    shall have until May 13, 2019 to complete the ESI Protocol and to submit to the Court
                    for resolution any disputes over aspects of the Protocol as to which they cannot agree.
                    To that end, on May 13, 2019, the parties shall file: (1) the ESI Protocol on which they
                    have agreed; and (2) a list of topics as to which they are in disagreement and, as to the
                    topics therein listed, the Plaintiffs shall file their Statement of Position on May 16, 2019;
                    the Defendant shall file his response on May 21, 2019; and the Plaintiffs shall file their
                    reply on May 24, 2019. Signed by District Judge Robert E. Payne on 4/5/2019. (jsmi, )
                    (Entered: 04/05/2019)
   04/05/2019   461 ORDER that Defendant's 456 DEFENDANT'S MOTION TO FILE PROPOSED
                    SURREPLY AND CERTAIN EXHIBITS IN OPPOSITION TO PLAINTIFFS'
                    MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS OF
                    ATTORNEY-CLIENT PRIVILEGE UNDER SEAL is denied as moot because the Court
                    denied DEFENDANT MARTORELLO'S 453 MOTION FOR LEAVE TO FILE A SUR-
                    REPLY IN OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE. Signed by
                    District Judge Robert E. Payne on 4/5/2019. (jsmi, ) (Entered: 04/05/2019)

                                                    Page 65
                                                                                                  JA065
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023       Pg: 69 of 462

   04/05/2019   462 ORDER that DEFENDANT MARTORELLO'S 453 MOTION FOR LEAVE TO FILE A
                    SUR-REPLY IN OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL
                    INFORMATION WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE
                    is denied. See Order for details. Signed by District Judge Robert E. Payne on 4/5/2019.
                    (jsmi, ) (Entered: 04/05/2019)
   04/10/2019   463 Reply to Motion re 443 MOTION to Seal filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 04/10/2019)
   04/12/2019   464 MOTION to Strike 395 Response in Support of Motion,,,,, by Matt Martorello. (Mullins,
                    Maurice) (Entered: 04/12/2019)
   04/12/2019   465 Memorandum in Support re 464 MOTION to Strike 395 Response in Support of
                    Motion,,,,, filed by Matt Martorello. (Mullins, Maurice) (Entered: 04/12/2019)
   04/12/2019   466 Second MOTION for Extension of Deadline for TranDotCom Filing by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Kelly, Kristi) (Entered: 04/12/2019)
   04/12/2019   467 Memorandum in Support re 466 Second MOTION for Extension of Deadline for
                    TranDotCom Filing filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Kelly, Kristi) (Entered: 04/12/2019)
   04/16/2019   468 ORDER - This Court hereby grants Plaintiffs' Consent Motion for Extension of the
                    Deadline for TranDotCom Filing 466 . It is hereby ordered that TranDotCom Solutions,
                    LLC, in accordance with the requirements outlined in the Court's March 13, 2019 Order,
                    shall segregate and preserve the data for production and file a pleading certifying the
                    same on or before April 19, 2019. Signed by District Judge Robert E. Payne on
                    04/15/2019. (jsau, ) (Entered: 04/16/2019)
   04/16/2019   469 NOTICE by Matt Martorello Change of Address of Richard L. Scheff, Jonathan P.
                    Boughram & Michael C. Witsch (Erbach, John) (Entered: 04/16/2019)
   04/16/2019   470 Memorandum in Opposition re 464 MOTION to Strike 395 Response in Support of
                    Motion,,,,, filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1 - Oct. 2013 Email Chain)(Kelly, Kristi)
                    (Entered: 04/16/2019)
   04/19/2019   471 Third MOTION for Extension of Deadline for TranotCom Filing by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Kelly, Kristi) (Entered: 04/19/2019)
   04/19/2019   472 Memorandum in Support re 471 Third MOTION for Extension of Deadline for
                    TranotCom Filing filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Kelly, Kristi) (Entered: 04/19/2019)
   04/22/2019   473 REPLY to Response to Motion re 464 MOTION to Strike 395 Response in Support of
                    Motion,,,,, filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Erbach,
                    John) (Entered: 04/22/2019)
   04/23/2019   474 ORDER that this Court hereby grants Plaintiffs' 471 Consent Motion for Extension of
                    the Deadline for TranDotCom Filing. It is hereby ordered that TranDotCom Solutions,
                    LLC, in accordance with the requirements outlined in the Court's 416 March 13, 2019
                    Order shall segregate and preserve the data for production and file a pleading certifying
                    the same on or before May 3,2019. No further extension will be granted. Signed by
                    District Judge Robert E. Payne on 4/23/2019. (jsmi, ) (Entered: 04/23/2019)
   04/24/2019   475 MOTION for Leave to File Supplemental Authority by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Gingras

                                                   Page 66
                                                                                                JA066
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 70 of 462

                        Opinion, # 2 Proposed Order)(Kelly, Kristi) (Entered: 04/24/2019)
   04/24/2019   476 Memorandum in Support re 475 MOTION for Leave to File Supplemental Authority
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Kelly, Kristi) (Entered: 04/24/2019)
   05/03/2019   477 Motion to appear Pro Hac Vice by Charles Palella and Certification of Local Counsel
                    Maurice Mullins Jr. Filing fee $ 75, receipt number 0422-6623214. by Matt Martorello.
                    (Mullins, Maurice) (Entered: 05/03/2019)
   05/03/2019   478 VACATED PER 954 ORDER ENTERED ON 12/8/2020 - MEMORANDUM
                    OPINION. Signed by District Judge Robert E. Payne on 05/03/2019. (smej, ) Modified
                    on 12/8/2020 (jsmi, ). (Entered: 05/03/2019)
   05/03/2019   479 VACATED PER 954 ORDER ENTERED ON 12/8/2020 - ORDER - It is hereby
                    ORDERED that: The PLAINTIFFS' MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE 340 is granted in
                    part and denied in part; and Further, having considered DEFENDANT MATT
                    MARTORELLO'S MOTION TO STRIKE PLAINTIFFS' REPLY IN SUPPORT OF
                    MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS OF
                    ATTORNEY-CLIENT PRIVILEGE AND RELATED EXHIBITS 464 and the
                    supporting, opposing, and reply memoranda, it is hereby ORDERED that the motion is
                    denied. SEE ORDER FOR DETAILS. Signed by District Judge Robert E. Payne on
                    05/03/2019. (smej, ) Modified on 12/8/2020 (jsmi, ). (Entered: 05/03/2019)
   05/03/2019   480 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 416 Order on Motion for Miscellaneous Relief,, (Attachments: # 1 Exhibit
                    TranDotCom Certification)(Bennett, Leonard) (Entered: 05/03/2019)
   05/08/2019   481 Memorandum in Opposition re 475 MOTION for Leave to File Supplemental Authority
                    filed by Matt Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Erbach, John)
                    (Entered: 05/08/2019)
   05/09/2019   482 Response Regarding Rosette, LLP's Citation of Supplemental Authority filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 05/09/2019)
   05/10/2019   483 ORDER granting 477 Motion for Pro hac vice. Charles Palella appointed for Matt
                    Martorello. Signed by District Judge Robert E. Payne on 5/9/2019. (jsmi, ) (Entered:
                    05/10/2019)
   05/13/2019   484 Response to 481 Memorandum in Opposition filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 05/13/2019)
   05/13/2019   485 STATUS REPORT (Joint Submission Regarding ESI Protocol) by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    05/13/2019)
   05/16/2019   486 MOTION for Reconsideration re 479 Order on Motion to Compel,,, Order on Motion to
                    Strike,, by Matt Martorello. (Erbach, John) (Entered: 05/16/2019)
   05/16/2019   487 Memorandum in Support re 486 MOTION for Reconsideration re 479 Order on Motion
                    to Compel,,, Order on Motion to Strike,, filed by Matt Martorello. (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Erbach, John) (Entered:
                    05/16/2019)
   05/16/2019   488 MOTION for Sanctions for Failure to Comply with Court Order Dated May 3, 2019 by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 05/16/2019)

                                                    Page 67
                                                                                              JA067
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 71 of 462

   05/16/2019   489 Memorandum Regarding ESI Disputes to 460 Order,, filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit
                    Declaration of E. Michelle Drake, # 2 Exhibit "1", # 3 Exhibit "2", # 4 Exhibit "3", # 5
                    Exhibit "4", # 6 Exhibit "5" FILED UNDER SEAL, # 7 Exhibit "6", # 8 Exhibit "7", # 9
                    Exhibit "8", # 10 Exhibit "9", # 11 Exhibit "10", # 12 Exhibit "11" FILED UNDER
                    SEAL, # 13 Exhibit "12")(Bennett, Leonard) (Entered: 05/16/2019)
   05/16/2019   490 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered:
                    05/16/2019)
   05/16/2019   491 Memorandum in Support re 490 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    05/16/2019)
   05/16/2019   492 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 490 MOTION to Seal , 491 Memorandum in
                    Support, 489 Memorandum,, (Bennett, Leonard) (Entered: 05/16/2019)
   05/16/2019   493 Sealed Memorandum in Support re 489 Memorandum,,. (Bennett, Leonard) (Entered:
                    05/16/2019)
   05/16/2019   494 Sealed Attachment/Exhibit(s) re 490 MOTION to Seal , 491 Memorandum in Support,
                    492 Notice of Filing Sealing Motion LCvR5(C), 489 Memorandum,,. (Bennett,
                    Leonard) (Entered: 05/16/2019)
   05/16/2019   495 Sealed Attachment/Exhibit(s) re 490 MOTION to Seal , 491 Memorandum in Support,
                    492 Notice of Filing Sealing Motion LCvR5(C), 489 Memorandum,,. (Bennett,
                    Leonard) (Entered: 05/16/2019)
   05/16/2019   496 Memorandum in Support re 488 MOTION for Sanctions for Failure to Comply with
                    Court Order Dated May 3, 2019 filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Oct. 2013 Email
                    Chain, # 2 Exhibit 2 - Dec. 2012 Email Chain)(Bennett, Leonard) (Entered: 05/16/2019)
   05/20/2019   497 NOTICE of Appearance by William Henry Hurd on behalf of Ascension Technologies,
                    Inc., Big Picture Loans, LLC (Hurd, William) (Entered: 05/20/2019)
   05/20/2019   498 NOTICE OF FILING by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Kelly, Kristi) (Main Document 498 replaced on 5/22/2019)
                    (jsmi, ). (Additional attachment(s) added on 5/22/2019: # 1 Proposed Scheduling Order)
                    (jsmi, ) (Entered: 05/20/2019)
   05/21/2019           Notice of Correction re 498 NOTICE. Filing attorney notified that Proposed Order
                        should be filed as attachment to the Notice. (jsmi, ) (Entered: 05/21/2019)
   05/21/2019   499 MOTION Certification of Interlocutory Appeal under 28 U.S.C. Sec. 1292(b) re 479
                    Order on Motion to Compel,,, Order on Motion to Strike,, 478 Memorandum Opinion
                    by Matt Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered:
                    05/21/2019)
   05/21/2019   500 MOTION to Stay re 479 Order on Motion to Compel,,, Order on Motion to Strike,, 478
                    Memorandum Opinion (Stay Pending Interlocutory Appeal and/or Decision on a
                    Petition for Writ of Mandamus) by Matt Martorello. (Attachments: # 1 Proposed Order)
                    (Erbach, John) (Entered: 05/21/2019)
   05/21/2019   501 Memorandum in Support re 499 MOTION Certification of Interlocutory Appeal under
                    28 U.S.C. Sec. 1292(b) re 479 Order on Motion to Compel,,, Order on Motion to Strike,,
                    478 Memorandum Opinion , 500 MOTION to Stay re 479 Order on Motion to Compel,,,

                                                    Page 68
                                                                                                JA068
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 72 of 462

                        Order on Motion to Strike,, 478 Memorandum Opinion (Stay Pending Interlocutory
                        Appeal and/or Decision on a Petition for Writ of Mandamus) filed by Matt Martorello.
                        (Erbach, John) (Entered: 05/21/2019)
   05/21/2019   502 ORDER that the Court has reviewed the allegedly privileged documents in Binders 1
                    through 9 submitted by Martorello to assure that they are closely related to the subject
                    matter waiver found in 478 MEMORANDUM OPINION and 479 ORDER, and to the
                    basis for the criminal/fraud exception found therein. Martorello shall produce all
                    documents in Binders 1 through 9 except those listed above as not closely related.
                    Production shall be made within 10 days after the Court decides MATT
                    MARTORELLO'S 479 MOTION FOR RECONSIDERATION OF ORDER
                    GRANTING IN PART PLAINTIFFS' MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE AND REQUEST
                    FOR ORAL ARGUMENT. See Order for details. Signed by District Judge Robert E.
                    Payne on 5/21/2019. (jsmi, ) (Entered: 05/21/2019)
   05/21/2019   503 Response to 489 Memorandum,, Matt Martorello's Response to Plaintiffs' Memorandum
                    Regarding ESI Disputes filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)
                    (Erbach, John) (Entered: 05/21/2019)
   05/23/2019   504 Reply to 489 Memorandum,, Regarding ESI Disputes filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1,
                    # 2 Exhibit 2)(Kelly, Kristi) (Entered: 05/23/2019)
   05/24/2019   505 MOTION to Seal Unredacted Memorandum in Support and Certain Exhibits in Support
                    of Motion for Leave to File Supplemental Exhibits in Support of Motion for
                    Reconsideration by Matt Martorello. (Erbach, John) (Entered: 05/24/2019)
   05/24/2019   506 Memorandum in Support re 505 MOTION to Seal Unredacted Memorandum in Support
                    and Certain Exhibits in Support of Motion for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration filed by Matt Martorello. (Erbach, John)
                    (Entered: 05/24/2019)
   05/24/2019   507 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 505 MOTION to Seal
                    Unredacted Memorandum in Support and Certain Exhibits in Support of Motion for
                    Leave to File Supplemental Exhibits in Support of Motion for Reconsideration (Erbach,
                    John) (Entered: 05/24/2019)
   05/24/2019   508 Sealed Memorandum in Support re 505 MOTION to Seal Unredacted Memorandum in
                    Support and Certain Exhibits in Support of Motion for Leave to File Supplemental
                    Exhibits in Support of Motion for Reconsideration. (Attachments: # 1 Exhibit Tab A, # 2
                    Exhibit 3, # 3 Exhibit 9, # 4 Exhibit 10, # 5 Exhibit 12, # 6 Exhibit 13, # 7 Exhibit 14, #
                    8 Exhibit 15, # 9 Exhibit 16, # 10 Exhibit 19, # 11 Exhibit 20, # 12 Exhibit 21, # 13
                    Exhibit 22, # 14 Exhibit 23, # 15 Exhibit 24)(Erbach, John) (Entered: 05/24/2019)
   05/24/2019   509 MOTION for Leave to File Supplemental Exhibits in Support of Motion for
                    Reconsideration by Matt Martorello. (Attachments: # 1 Exhibit Tab A, # 2 Exhibit 1, # 3
                    Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9
                    Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit
                    13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, #
                    20 Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25
                    Exhibit 24, # 26 Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28)(Erbach,
                    John) (Entered: 05/24/2019)
   05/24/2019   510 Memorandum in Support re 509 MOTION for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration filed by Matt Martorello. (Attachments: # 1
                    Exhibit Tab A, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, #
                                                    Page 69
                                                                                                 JA069
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 73 of 462

                      7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11,
                      # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, # 18
                      Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23
                      Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26 Exhibit 25, # 27 Exhibit 26, # 28
                      Exhibit 27, # 29 Exhibit 28)(Erbach, John) (Entered: 05/24/2019)
  05/24/2019    511 ORDER having considered Plaintiffs' Memorandum Regarding ESI Disputes 489 , for
                    the reasons stated on the record during conference call, it is hereby ORDERED that by
                    May 29, 2019, Defendant Matt Martorello shall produce all documents that are
                    responsive to search terms contained in "Exhibit 1" [489-2] of Plaintiffs' Memorandum
                    Regarding ESI Disputes 489 . SEE ORDER FOR DETAILS. Signed by District Judge
                    Robert E. Payne on 5/24/19. (jtho, ) (Entered: 05/24/2019)
  05/24/2019    512 Joint MOTION for Protective Order Joint Motion to Enter Amended Stipulated
                    Protective Order by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (Attachments: # 1 Exhibit 1 (Proposed Amended Stipulated Protective Order))(Anthony,
                    David) (Entered: 05/24/2019)
  05/28/2019    513 MEMORANDUM ORDER that if Rosette, LLP fails to produce a privilege log by June
                    17, 2019, then the failure to produce such privilege log will be deemed as a waiver of
                    any claim of privilege due to unjustified delay. The plaintiffs contend that Rosette
                    already waived its ability to submit a privilege log based on its failure to produce a
                    privilege log already. The plaintiffs shall brief that issue pursuant to a motion to compel
                    if they wish to pursue it. The opening brief shall be filed by June 17, 2019; Rosette, LLP
                    shall respond by July 1, 2019; and the reply brief shall be filed by July 10, 2019. The
                    unredacted documents covered herein shall be produced to the plaintiffs by June 17,
                    2019. See Order for details. Signed by District Judge Robert E. Payne on 5/28/2019.
                    (jsmi, ) (Entered: 05/28/2019)
  05/29/2019    514 AMENDED STIPULATED PROTECTIVE ORDER. See Order for details. Signed by
                    District Judge Robert E. Payne on 5/29/2019. (Attachments: # 1 Exhibit A) (jsmi, )
                    (Entered: 05/29/2019)
  05/29/2019    515 MEMORANDUM ORDER re issues involving the collection of electronically stored
                    information ("ESI") raised in PLAINTIFFS' MEMORANDUM REGARDING ESI
                    DISPUTES (ECF Nos. 489 (redacted) and 493 (sealed)), the response thereto (ECF No.
                    503), and the reply (ECF No. 504). See Order for complete details and deadlines. Signed
                    by District Judge Robert E. Payne on 5/29/2019. (jsmi, ) (Entered: 05/29/2019)
  05/30/2019    516 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC Defendants Big
                    Picture Loans, LLC and Ascension Technologies, LLC's Statement of Position on
                    Plaintiffs' Requested Rule 30(b)(6) Deposition Practice (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(St. George, Timothy) (Entered: 05/30/2019)
  05/30/2019    517 TRANSCRIPT of the conference call held on May 22, 2019, before Judge Robert E.
                    Payne, Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 7/1/2019. Redacted Transcript Deadline set for 7/30/2019.
                    Release of Transcript Restriction set for 8/28/2019.(peterson, peppy) (Main
                    Document 517 replaced on 7/19/2019) (jtho, ). (Entered: 05/30/2019)

                                                    Page 70
                                                                                                  JA070
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023      Pg: 74 of 462

  05/30/2019    518 NOTICE of Appearance by Craig Crandall Reilly on behalf of Rosette, LLP, Justin Gray
                    (Reilly, Craig) (Entered: 05/30/2019)
  05/30/2019    519 Response to 498 NOTICE, Statement of Position Opposing Deposition of Justin Gray,
                    Esq. filed by Justin Gray, Rosette, LLP. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                    Proposed Order)(Reilly, Craig) (Entered: 05/30/2019)
  05/30/2019    520 RESPONSE to Motion re 505 MOTION to Seal Unredacted Memorandum in Support
                    and Certain Exhibits in Support of Motion for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration filed by Rosette, LLP. (Reilly, Craig) (Entered:
                    05/30/2019)
  05/30/2019    521 RESPONSE in Opposition re 488 MOTION for Sanctions for Failure to Comply with
                    Court Order Dated May 3, 2019 filed by Matt Martorello. (Attachments: # 1 Exhibit 1, #
                    2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Erbach, John) (Entered: 05/30/2019)
  05/30/2019    522 Memorandum in Opposition re 486 MOTION for Reconsideration re 479 Order on
                    Motion to Compel,,, Order on Motion to Strike,, filed by Dowin Coffy, George Hengle,
                    Rosette, LLP, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                    Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12,
                    # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16)(Kelly, Kristi)
                    (Attachment 3 replaced on 5/31/2019) (jsmi, ). (Entered: 05/30/2019)
  05/30/2019    523 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams (Statement of Position Regarding Spoliation Discovery) (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Kelly, Kristi) (Entered:
                    05/31/2019)
  05/31/2019    524 MOTION for Leave to Serve Requests for Production and Third-Party Subpoenas by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 05/31/2019)
  05/31/2019    525 Memorandum in Support re 524 MOTION for Leave to Serve Requests for Production
                    and Third-Party Subpoenas filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Kelly, Kristi)
                    (Entered: 05/31/2019)
  05/31/2019    526 NOTICE by Dowin Coffy, Justin Gray, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams re 454 Order,,, Plaintiffs' Submission Regarding Sealing
                    Documents Relating to Pending Motions (Bennett, Leonard) (Entered: 05/31/2019)
  05/31/2019    527 Response to 454 Order,,, Martorello's Statement Regarding Sealed Exhibits in Response
                    to April 3, 2019 Order filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                    Exhibit H)(Erbach, John) (Entered: 05/31/2019)
  05/31/2019    528 MOTION for Reconsideration re 515 Order, 511 Order, Partial Reconsideration of
                    Memorandum Order (ECF No. 515) and Clarification or Modification of Memorandum
                    Order (ECF No. 515) and Order (ECF No. 511) by Matt Martorello. (Erbach, John)
                    (Entered: 05/31/2019)
  05/31/2019    529 Memorandum in Support re 528 MOTION for Reconsideration re 515 Order, 511 Order,
                    Partial Reconsideration of Memorandum Order (ECF No. 515) and Clarification or
                    Modification of Memorandum Order (ECF No. 515) and Order (ECF No. 511) filed by
                    Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                    D)(Erbach, John) (Entered: 05/31/2019)

                                                   Page 71
                                                                                                JA071
USCA4 Appeal: 23-2097    Doc: 11-1          Filed: 12/06/2023       Pg: 75 of 462

   06/03/2019   530 Consent MOTION for Extension of Time to File Response/Reply as to 486 MOTION
                    for Reconsideration re 479 Order on Motion to Compel,,, Order on Motion to Strike,, ,
                    522 Memorandum in Opposition,, by Matt Martorello. (Attachments: # 1 Proposed
                    Order)(Erbach, John) (Entered: 06/03/2019)
   06/04/2019   531 ORDER that 530 CONSENT MOTION FOR EXTENSION OF TIME TO FILE REPLY
                    MEMORANDUM IN SUPPORT OF MOTION FOR RECONSIDERATION is granted.
                    It is further ORDERED that the defendant. Matt Martorello, shall file his reply in
                    support of his 486 Motion for Reconsideration by June 12, 2019. Signed by Magistrate
                    Judge David J. Novak on 6/4/2019. (jsmi, ) (Entered: 06/04/2019)
   06/04/2019   532 Opposition to 499 MOTION Certification of Interlocutory Appeal under 28 U.S.C. Sec.
                    1292(b) re 479 Order on Motion to Compel,,, Order on Motion to Strike,, 478
                    Memorandum Opinion filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 06/04/2019)
   06/05/2019   533 REPLY to Response to Motion re 488 MOTION for Sanctions for Failure to Comply
                    with Court Order Dated May 3, 2019 filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Taylor Order, # 2
                    Exhibit 2 - Davis Order, # 3 Exhibit 3 - Tamblay Order, # 4 Exhibit 4 - Oct. 29, 2013 E-
                    mail, # 5 Exhibit 5 - Aug. 12, 2013 E-mail, # 6 Exhibit 6 - Nov. 4, 2014 E-mail, # 7
                    Exhibit 7 - Gravel Depo. Excerpt)(Kelly, Kristi) (Entered: 06/05/2019)
   06/06/2019   534 ORDER that this matter is before the Court on MATT MARTORELLO'S MOTION
                    FOR RECONSIDERATION OF ORDER, ECF NO. 479 , GRANTING IN PART
                    PLAINTIFFS' MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS
                    OF ATTORNEY-CLIENT PRIVILEGE AND REQUEST FOR ORAL ARGUMENT
                    (ECF No. 486 ). Having considered MATT MARTORELLO'S MEMORANDUM IN
                    SUPPORT OF MOTION FOR RECONSIDERATION OF ORDER, ECF NO. 479 ,
                    GRANTING IN PART PLAINTIFFS' MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASISOF ATTORNEY-CLIENT PRIVILEGE (ECF No. 487 ),
                    it is hereby ORDERED that, by June 11, 2019, the plaintiffs shall file a response to
                    Martorello's contention that the Court erred in holding that Bellicose was the funding
                    source of Red Rock's loans and that the plaintiffs have alleged that there are other
                    funding sources for Red Rock's loans. See Memorandum Opinion (ECF No. 378 ) at 5
                    n.2; MATT MARTORELLO'S MEMORANDUM IN SUPPORT OF MOTION FOR
                    RECONSIDERATION OF ORDER, ECF NO. 479 , GRANTING IN PART
                    PLAINTIFFS' MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS
                    OF ATTORNEY-CLIENT PRIVILEGE (ECF No. 487 ) at 2 n.1. It is so ORDERED.
                    Signed by Magistrate Judge David J. Novak on 06/06/2019. (walk, ) (Entered:
                    06/06/2019)
   06/07/2019   535 RESPONSE to Motion re 505 MOTION to Seal Unredacted Memorandum in Support
                    and Certain Exhibits in Support of Motion for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration, 486 MOTION for Reconsideration re 479 Order
                    on Motion to Compel,,, Order on Motion to Strike,, filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    06/07/2019)
   06/07/2019   536 Memorandum Martorello's Opening Brief Explaining Why He Is Entitled To Proceed
                    With A Privilege Review to 515 Order, filed by Matt Martorello. (Erbach, John)
                    (Entered: 06/07/2019)
   06/07/2019   537 RESPONSE to Motion re 509 MOTION for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration filed by Dowin Coffy, George Hengle, Marcella


                                                  Page 72
                                                                                              JA072
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 76 of 462

                      P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Weddle Depo
                      Excerpt)(Kelly, Kristi) (Entered: 06/07/2019)
  06/07/2019    538 Response to 534 Order,,,, filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Jan. 2012 Loan
                    Agreement, # 2 Exhibit 2 - Organization Charts, # 3 Exhibit 3 - Dec. 2016 E-mail, # 4
                    Exhibit 4 - Sept. 2015 Merger, # 5 Exhibit 5 - Dec. 2014 Promissory Note, # 6 Exhibit 6
                    - Nov. 2013 Promissory Note, # 7 Exhibit 7 - Nov. 2013 Promissory Note, # 8 Exhibit 8
                    - Aug. 2014 Promissory Note)(Kelly, Kristi) (Entered: 06/07/2019)
  06/07/2019    539 MOTION for Protective Order Regarding Plaintiffs' Demand for Second Deposition of
                    Matt Martorello Related to Alleged Spoliation Issues by Matt Martorello. (Erbach, John)
                    (Entered: 06/07/2019)
  06/07/2019    540 Memorandum in Support re 539 MOTION for Protective Order Regarding Plaintiffs'
                    Demand for Second Deposition of Matt Martorello Related to Alleged Spoliation Issues
                    filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                    Exhibit D, # 5 Exhibit E)(Erbach, John) (Entered: 06/07/2019)
  06/10/2019    541 REPLY to Response to Motion re 499 MOTION Certification of Interlocutory Appeal
                    under 28 U.S.C. Sec. 1292(b) re 479 Order on Motion to Compel,,, Order on Motion to
                    Strike,, 478 Memorandum Opinion , 500 MOTION to Stay re 479 Order on Motion to
                    Compel,,, Order on Motion to Strike,, 478 Memorandum Opinion (Stay Pending
                    Interlocutory Appeal and/or Decision on a Petition for Writ of Mandamus) filed by Matt
                    Martorello. (Erbach, John) (Entered: 06/10/2019)
  06/10/2019    542 MOTION to Quash in part Non-Party Subpoena or, in the Alternative, Motion for
                    Protective Order by Matt Martorello, Eventide Credit Acquisition Company, LLC.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Erbach, John) (Entered:
                    06/10/2019)
  06/10/2019    543 MOTION for Protective Order (in the Alternative to Motion to Quash) by Eventide
                    Credit Acquisition Company, LLC, Matt Martorello. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3)(Erbach, John) (Entered: 06/10/2019)
  06/10/2019    544 Memorandum in Support re 543 MOTION for Protective Order (in the Alternative to
                    Motion to Quash), 542 MOTION to Quash in part Non-Party Subpoena or, in the
                    Alternative, Motion for Protective Order filed by Eventide Credit Acquisition Company,
                    LLC, Matt Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Erbach,
                    John) (Entered: 06/10/2019)
  06/12/2019    545 REPLY to Response to Motion re 486 MOTION for Reconsideration re 479 Order on
                    Motion to Compel,,, Order on Motion to Strike,, filed by Matt Martorello. (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                    7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L,
                    # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                    Exhibit R, # 19 Exhibit S, # 20 Exhibit T)(Erbach, John) (Entered: 06/12/2019)
  06/13/2019    546 Financial Interest Disclosure Statement (Local Rule 7.1) by Eventide Credit Acquisition
                    Company, LLC. (Erbach, John) (Entered: 06/13/2019)
  06/13/2019    547 REPLY to Response to Motion re 509 MOTION for Leave to File Supplemental Exhibits
                    in Support of Motion for Reconsideration filed by Matt Martorello. (Attachments: # 1
                    Exhibit 1)(Erbach, John) (Entered: 06/13/2019)
  06/14/2019    548 RESPONSE to Motion re 524 MOTION for Leave to Serve Requests for Production and
                    Third-Party Subpoenas filed by Matt Martorello. (Erbach, John) (Entered: 06/14/2019)

                                                   Page 73
                                                                                               JA073
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023        Pg: 77 of 462

   06/14/2019   549 MOTION to Strike Declaration of John Norman in Support of Motion for
                    Reconsideration by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Bennett, Leonard) (Entered: 06/14/2019)
   06/14/2019   550 Memorandum in Support re 549 MOTION to Strike Declaration of John Norman in
                    Support of Motion for Reconsideration filed by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 (Rule 26(a)(2)
                    Disclosure), # 2 Exhibit 2 (Norman Report))(Bennett, Leonard) (Entered: 06/14/2019)
   06/14/2019   551 Memorandum in Opposition re 528 MOTION for Reconsideration re 515 Order, 511
                    Order, Partial Reconsideration of Memorandum Order (ECF No. 515) and Clarification
                    or Modification of Memorandum Order (ECF No. 515) and Order (ECF No. 511) filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit Declaration of E. Michelle Drake)(Bennett, Leonard)
                    (Entered: 06/14/2019)
   06/14/2019   552 MOTION to Compel Production of Documents and Information Withheld on the Basis
                    of Attorney-Client Privilege by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Guzzo, Andrew) (Entered: 06/14/2019)
   06/14/2019   553 Memorandum in Support re 552 MOTION to Compel Production of Documents and
                    Information Withheld on the Basis of Attorney-Client Privilege filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit 1 - Oct. 2, 2017 Privilege Log, # 2 Exhibit 2 - Oct. 11, 2017 Privilege Log, # 3
                    Exhibit 3 - Weddle Depo. Excerpt)(Guzzo, Andrew) (Entered: 06/14/2019)
   06/14/2019   554 MOTION to Strike 523 NOTICE, Plaintiffs' Statement of Position by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (St. George, Timothy) (Entered:
                    06/14/2019)
   06/14/2019   555 Memorandum in Support re 554 MOTION to Strike 523 NOTICE, Plaintiffs' Statement
                    of Position filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 06/14/2019)
   06/17/2019   556 MOTION to Compel Documents Withheld by Rosette, LLP by Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 06/17/2019)
   06/17/2019   557 Memorandum in Support re 556 MOTION to Compel Documents Withheld by Rosette,
                    LLP filed by George Hengle, Rosette, LLP, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Ex. 1, # 2 Ex. 2, # 3 Ex. 3, # 4 Ex. 4, # 5 Ex. 5, # 6 Ex. 6, #
                    7 Ex. 7, # 8 Ex. 8, # 9 Ex. 9)(Bennett, Leonard) (Entered: 06/17/2019)
   06/17/2019   558 Response to 536 Memorandum filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - Drake Decl.)
                    (Guzzo, Andrew) (Entered: 06/17/2019)
   06/20/2019   559 Reply to Motion re 524 MOTION for Leave to Serve Requests for Production and
                    Third-Party Subpoenas (REPLY IN SUPPORT) filed by Dowin Coffy, Justin Gray,
                    George Hengle, Marcella P. Singh. (Bennett, Leonard) (Entered: 06/20/2019)
   06/20/2019   560 REPLY to Response to Motion re 528 MOTION for Reconsideration re 515 Order, 511
                    Order, Partial Reconsideration of Memorandum Order (ECF No. 515) and Clarification
                    or Modification of Memorandum Order (ECF No. 515) and Order (ECF No. 511) filed
                    by Matt Martorello. (Mullins, Maurice) (Entered: 06/20/2019)
   06/21/2019   561 Consent MOTION for Extension of Time to File Response/Reply as to 554 MOTION to
                    Strike 523 NOTICE, Plaintiffs' Statement of Position by Dowin Coffy, George Hengle,


                                                   Page 74
                                                                                                 JA074
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 78 of 462

                      Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                      (Kelly, Kristi) (Entered: 06/21/2019)
  06/21/2019    562 Memorandum in Support re 561 Consent MOTION for Extension of Time to File
                    Response/Reply as to 554 MOTION to Strike 523 NOTICE, Plaintiffs' Statement of
                    Position filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Kelly, Kristi) (Entered: 06/21/2019)
  06/21/2019    563 Opposition to 539 MOTION for Protective Order Regarding Plaintiffs' Demand for
                    Second Deposition of Matt Martorello Related to Alleged Spoliation Issues filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1 (Martorello Dep. excerpts))(Bennett, Leonard) (Entered:
                    06/21/2019)
  06/21/2019    564 MOTION for Leave to File Reply to Plaintiffs' Response to Court's Order Dated June 6,
                    2019 by Matt Martorello. (Erbach, John) (Entered: 06/21/2019)
  06/21/2019    565 Memorandum in Support re 564 MOTION for Leave to File Reply to Plaintiffs'
                    Response to Court's Order Dated June 6, 2019 filed by Matt Martorello. (Attachments:
                    # 1 Exhibit 1, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, #
                    7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K,
                    # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit O, # 17 Exhibit P)(Erbach,
                    John) (Entered: 06/21/2019)
  06/24/2019    566 MOTION for Protective Order by Ascension Technologies, Inc., Big Picture Loans,
                    LLC. (St. George, Timothy) (Entered: 06/24/2019)
  06/24/2019    567 Memorandum in Support re 566 MOTION for Protective Order filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                    # 3 Exhibit C, # 4 Exhibit D)(St. George, Timothy) (Entered: 06/24/2019)
  06/24/2019    568 Reply to 515 Order, Martorello's Reply Brief Explaining Why He Is Entitled To Proceed
                    With A Privilege Review filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B)(Erbach, John) (Entered: 06/24/2019)
  06/24/2019    569 Memorandum in Opposition re 542 MOTION to Quash in part Non-Party Subpoena or,
                    in the Alternative, Motion for Protective Order filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                    Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                    13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, #
                    19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24
                    Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26)(Guzzo, Andrew) (Entered: 06/24/2019)
  06/24/2019    570 Memorandum in Opposition re 543 MOTION for Protective Order (in the Alternative to
                    Motion to Quash) filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                    Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                    Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                    Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                    Exhibit 25, # 26 Exhibit 26)(Guzzo, Andrew) (Entered: 06/24/2019)
  06/24/2019    571 Cross MOTION to Compel Against Non-Party Conner & Winters, LLP by Dowin Coffy,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Guzzo, Andrew) (Entered: 06/24/2019)

                                                   Page 75
                                                                                               JA075
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 79 of 462

   06/24/2019   572 Memorandum in Support re 571 Cross MOTION to Compel Against Non-Party Conner
                    & Winters, LLP filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                    Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                    Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                    Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                    Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                    Exhibit 25, # 26 Exhibit 26)(Guzzo, Andrew) (Entered: 06/24/2019)
   06/25/2019   573 ORDER that Plaintiff's 561 Motion for Extension of Time to File is granted. The
                    plaintiffs shall file, by July 5, 2019, their response to DEFENDANTS BIG PICTURE
                    LOANS, LLC AND ASCENSION TECHNOLOGIES, LLC'S 554 MOTION TO
                    STRIKE PLAINTIFFS' STATEMENT OF POSITION and the defendants shall file their
                    reply by July 18, 2019. Signed by District Judge Robert E. Payne on 6/25/2019. (jsmi, )
                    (Entered: 06/25/2019)
   06/26/2019   574 ORDER that the plaintiffs are directed to file a response to DEFENDANT
                    MARTORELLO'S 564 MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFFS'
                    RESPONSE TO COURT'S ORDER DATED JUNE 6, 2019 by June 28, 2019,
                    addressing whether Defendant Matt Martorello's attached proposed reply. No reply in
                    support of DEFENDANT MARTORELLO'S MOTION FOR LEAVE TO FILE A
                    REPLY TO PLAINTIFFS' RESPONSE TO COURT'S ORDER DATED JUNE 6, 2019
                    is necessary. Signed by District Judge Robert E. Payne on 6/26/2019. (jsmi, ) (Entered:
                    06/26/2019)
   06/27/2019   575 REPLY to Response to Motion re 539 MOTION for Protective Order Regarding
                    Plaintiffs' Demand for Second Deposition of Matt Martorello Related to Alleged
                    Spoliation Issues filed by Matt Martorello. (Attachments: # 1 Exhibit A)(Erbach, John)
                    (Entered: 06/27/2019)
   06/28/2019   576 RESPONSE in Opposition re 549 MOTION to Strike Declaration of John Norman in
                    Support of Motion for Reconsideration filed by Matt Martorello. (Mullins, Maurice)
                    (Entered: 06/28/2019)
   06/28/2019   577 RESPONSE in Opposition re 552 MOTION to Compel Production of Documents and
                    Information Withheld on the Basis of Attorney-Client Privilege filed by Matt Martorello.
                    (Attachments: # 1 Exhibit A)(Mullins, Maurice) (Entered: 06/28/2019)
   06/28/2019   578 Memorandum in Opposition re 564 MOTION for Leave to File Reply to Plaintiffs'
                    Response to Court's Order Dated June 6, 2019 filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Bennett, Leonard)
                    (Entered: 06/28/2019)
   07/01/2019   579 REPLY to Response to Motion re 543 MOTION for Protective Order (in the Alternative
                    to Motion to Quash), 542 MOTION to Quash in part Non-Party Subpoena or, in the
                    Alternative, Motion for Protective Order filed by Eventide Credit Acquisition Company,
                    LLC, Matt Martorello. (Erbach, John) (Entered: 07/01/2019)
   07/01/2019   580 Memorandum in Opposition re 556 MOTION to Compel Documents Withheld by
                    Rosette, LLP filed by Rosette, LLP. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit,
                    # 4 Exhibit)(Reilly, Craig) (Entered: 07/01/2019)
   07/03/2019   581 Opinion of USCA re 135 Notice of Appeal : Reversed and remanded with instructions
                    by published opinion. (lbre, ) (Entered: 07/03/2019)
   07/03/2019   582 USCA JUDGMENT as to 135 Notice of Appeal filed by Big Picture Loans, LLC,
                    Ascension Technologies, Inc. In accordance with the decision of this court, the judgment
                                                   Page 76
                                                                                                JA076
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 80 of 462

                      of the district court is REVERSED. This case is REMANDED to the district court for
                      further proceedings consistent with the court's decision. This judgment shall take effect
                      upon issuance of this court's mandate in accordance with Fed. R. App. P. 41. (lbre, )
                      (Entered: 07/03/2019)
  07/03/2019    583 MOTION to Stay Deadlines to File Responses to Big Picture and Ascension's Motion
                    for Protective Order and Big Picture and Ascension's Motion to Strike Plaintiffs'
                    Statement of Position by Dowin Coffy, Justin Gray, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard)
                    (Entered: 07/03/2019)
  07/03/2019    584 Memorandum in Support re 583 MOTION to Stay Deadlines to File Responses to Big
                    Picture and Ascension's Motion for Protective Order and Big Picture and Ascension's
                    Motion to Strike Plaintiffs' Statement of Position filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    07/03/2019)
  07/05/2019    585 REPLY to Response to Motion re 549 MOTION to Strike Declaration of John Norman
                    in Support of Motion for Reconsideration filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Guzzo, Andrew) (Entered:
                    07/05/2019)
  07/05/2019    586 REPLY to Response to Motion re 564 MOTION for Leave to File Reply to Plaintiffs'
                    Response to Court's Order Dated June 6, 2019 filed by Matt Martorello. (Attachments:
                    # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                    7 Exhibit G, # 8 Exhibit H)(Erbach, John) (Entered: 07/05/2019)
  07/08/2019    587 MOTION to Stay re 571 Cross MOTION to Compel Against Non-Party Conner &
                    Winters, LLP by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 07/08/2019)
  07/08/2019    588 Memorandum in Support re 587 MOTION to Stay re 571 Cross MOTION to Compel
                    Against Non-Party Conner & Winters, LLP filed by Ascension Technologies, Inc., Big
                    Picture Loans, LLC. (St. George, Timothy) (Entered: 07/08/2019)
  07/08/2019    589 Memorandum in Opposition re 571 Cross MOTION to Compel Against Non-Party
                    Conner & Winters, LLP filed by Eventide Credit Acquisition Company, LLC, Matt
                    Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                    Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11
                    Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit
                    P, # 17 Exhibit Q)(Mullins, Maurice) (Entered: 07/08/2019)
  07/09/2019    590 RESPONSE to Motion re 571 Cross MOTION to Compel Against Non-Party Conner &
                    Winters, LLP filed by Conner & Winters, LLC. (Durrette, Wyatt) (Entered: 07/09/2019)
  07/09/2019    591 MOTION for Extension of Time to File Response/Reply as to 580 Memorandum in
                    Opposition by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Proposed Order)(Hanes, Elizabeth) (Entered: 07/09/2019)
  07/10/2019    592 ORDER that the Plaintiffs' 583 Motion to Stay is denied. See Order for additional details
                    and deadlines. Signed by District Judge Robert E. Payne on 7/10/2019. (jsmi, ) (Entered:
                    07/10/2019)
  07/10/2019    593 ORDER that the TRIBAL DEFENDANTS' 587 MOTION TO STAY PLAINTIFFS'
                    CROSS MOTION TO COMPEL AGAINST NON-PARTY CONNER & WINTERS,
                    LLP is denied. See Order for additional details and deadlines. Signed by District Judge
                    Robert E. Payne on 7/10/2019. (jsmi, ) (Entered: 07/10/2019)

                                                    Page 77
                                                                                                 JA077
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023        Pg: 81 of 462

   07/12/2019   594 REPLY to Response to Motion re 552 MOTION to Compel Production of Documents
                    and Information Withheld on the Basis of Attorney-Client Privilege filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit 1, # 2 Exhibit 2)(Guzzo, Andrew) (Entered: 07/12/2019)
   07/12/2019   595 ORDER - It is hereby ORDERED that the motion (ECF No. 591) is granted. It is further
                    ORDERED that the plaintiffs shall file, by July 17, 2019, their reply (with respect to
                    Non-Party Rosette, LLC only) in support of PLAINTIFFS' MOTION TO COMPEL
                    (ECF No. 571). Their reply with respect to the defendants. Big Picture Loans, LLC and
                    Ascension Technologies, Inc., shall be filed by August 14, 2019. (See ORDER, ECF No.
                    593). Signed by District Judge Robert E. Payne on 07/11/2019. (tjoh, ) (Entered:
                    07/12/2019)
   07/15/2019   596 RESPONSE in Support re 571 Cross MOTION to Compel Against Non-Party Conner &
                    Winters, LLP filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Guzzo, Andrew) (Entered: 07/15/2019)
   07/15/2019   597 Reply to 589 Memorandum in Opposition,, filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Guzzo, Andrew) (Entered:
                    07/15/2019)
   07/17/2019   598 Reply to 580 Memorandum in Opposition filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Bennett, Leonard)
                    (Entered: 07/17/2019)
   07/22/2019   599 ORDER - It is hereby ORDERED that: By August 23, 2019, the parties to this case,
                    other than Lula A. Williams, et al., shall file a Statement of Position ("SOP"), or, if
                    appropriate, a motion, setting out their positions on: (a) the effect, if any, of the Fourth
                    Circuit's Decision on further proceedings in this case. SEE ORDER FOR
                    DEADLINES AND DETAILS. Signed by District Judge Robert E. Payne on
                    07/22/2019. (smej, ) (Entered: 07/22/2019)
   07/25/2019   600 USCA Mandate re 135 Notice of Appeal : The judgment of this court, entered July 03,
                    2019, takes effect today. This constitutes the formal mandate of this court issued
                    pursuant to Rule 41(a) of the Federal Rules of Appellate Procedure. (lbre, ) (Entered:
                    07/25/2019)
   07/29/2019   601 ORDER that the Statements of Position required by paragraph (1) entered on July 22,
                    2019, shall state positions in summary form and shall not exceed 7 pages in length. The
                    response required in paragraph (2) of the July 22 Order shall not exceed 7 pages and the
                    replies required in paragraph (2) of the July 22 Order shall not exceed 5 pages. It is
                    furthe ORDERED that the Statements of Position required by paragraph (3) of the July
                    22 Order shall state positions in summary form and shall not exceed 7 pages in length.
                    The response required in paragraph (4) of the July 22 Order shall not exceed 7 pages and
                    the replies required in paragraph (4) of the July 22 Order shall not exceed 5 pages.
                    Signed by Magistrate Judge David J. Novak. on 7/29/2019. (jsmi, ) (Entered:
                    07/29/2019)
   08/08/2019   602 Response to 566 MOTION for Protective Order filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    08/08/2019)
   08/08/2019   603 Opposition to 554 MOTION to Strike 523 NOTICE of Plaintiffs' Statement of Position
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Guzzo, Andrew). Modified docket entry on 08/09/2019. (walk, ). (Entered:
                    08/08/2019)

                                                    Page 78
                                                                                                   JA078
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023     Pg: 82 of 462

  08/12/2019    604 MOTION for Entry of Judgment under Rule 54(b) and 58(d) by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (Attachments: # 1 Exhibit 1 (Proposed
                    Order))(Anthony, David) (Entered: 08/12/2019)
  08/12/2019    605 Memorandum in Support re 604 MOTION for Entry of Judgment under Rule 54(b) and
                    58(d) filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (Anthony, David)
                    (Entered: 08/12/2019)
  08/14/2019    606 REPLY to Response to Motion re 554 MOTION to Strike 523 NOTICE, Plaintiffs'
                    Statement of Position filed by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (St. George, Timothy) (Entered: 08/14/2019)
  08/15/2019    607 MOTION for Extension of Time to File Response/Reply Motion for Extension of Time
                    to File Response to Plaintiffs' Cross Motion to Compel Against Non-Party Conner &
                    Winters, LLP by Ascension Technologies, Inc., Big Picture Loans, LLC. (St. George,
                    Timothy) (Entered: 08/15/2019)
  08/15/2019    608 Memorandum in Opposition re 607 MOTION for Extension of Time to File
                    Response/Reply Motion for Extension of Time to File Response to Plaintiffs' Cross
                    Motion to Compel Against Non-Party Conner & Winters, LLP filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit 1 - Aug. 8, 2019 Email)(Guzzo, Andrew) (Entered: 08/15/2019)
  08/15/2019    617 MDL Hearing Order re: MDL No. 2906 - Section A (Designated for Oral Argument).
                    Panel Hearing set for 9/26/19 in Los Angeles, CA. Notices of Presentation or Waiver of
                    Oral Argument due on or before 9/9/19. Notice of Presentation or Waiver of Oral
                    Argument form (JPML form 9) can be downloaded from website. Signed by Judge
                    Sarah S. Vance, Chair, Panel on Multi-District Litigation on 8/15/19. (Attachments: # 1
                    MDL Advisory). (jtho, ) (Entered: 08/28/2019)
  08/16/2019    609 ORDER that DEFENDANTS BIG PICTURE LOANS, LLC AND ASCENSION
                    TECHNOLGOIES, LLC'S 566 MOTION FOR PROTECTIVE Order is denied as moot.
                    See Order for details. Signed by District Judge Robert E. Payne on 8/15/2019. (jsmi, )
                    (Entered: 08/16/2019)
  08/21/2019    610 REPLY to Response to Motion re 607 MOTION for Extension of Time to File
                    Response/Reply Motion for Extension of Time to File Response to Plaintiffs' Cross
                    Motion to Compel Against Non-Party Conner & Winters, LLP filed by Ascension
                    Technologies, Inc., Big Picture Loans, LLC. (St. George, Timothy) (Entered:
                    08/21/2019)
  08/23/2019    611 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC re 599 Order,
                    Defendants Big Picture Loans, LLC and Ascension Technologies, LLC's Statement of
                    Position in Response to Court's July 22, 2019 Order [ECF No. 599] (St. George,
                    Timothy) (Entered: 08/23/2019)
  08/23/2019    612 NOTICE by Ascension Technologies, Inc. re 599 Order, (Joint Statement of Position of
                    Brian McFadden and Simon Xu Liang) (Attachments: # 1 Exhibit 1 (Hearing transcript
                    excerpts))(St. George, Timothy) (Entered: 08/23/2019)
  08/23/2019    613 NOTICE by Matt Martorello re 599 Order, 601 Order,,, (Statement of Position)
                    (Attachments: # 1 Exhibit A)(Erbach, John) (Entered: 08/23/2019)
  08/26/2019    614 MOTION for Extension of Time to File Response/Reply as to 604 MOTION for Entry
                    of Judgment under Rule 54(b) and 58(d) by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett,
                    Leonard) (Entered: 08/26/2019)

                                                  Page 79
                                                                                             JA079
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 83 of 462

   08/26/2019   615 Memorandum in Support re 614 MOTION for Extension of Time to File
                    Response/Reply as to 604 MOTION for Entry of Judgment under Rule 54(b) and 58(d)
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1)(Bennett, Leonard) (Entered: 08/26/2019)
   08/26/2019   616 RESPONSE in Opposition re 571 Cross MOTION to Compel Against Non-Party
                    Conner & Winters, LLP filed by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (St. George, Timothy) (Entered: 08/26/2019)
   08/28/2019           Minute Entry for proceedings held before Magistrate Judge David J. Novak:Conference
                        Calls held on 8/28/2019. (cgar) (Entered: 09/03/2019)
   08/29/2019   618 ORDER that 607 MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
                    PLAINTIFFS' CROSS MOTION TO COMPEL AGAINST NON-PARTY CONNER &
                    WINTERS, LLP is granted. It is further ORDERED that the defendants, Big Picture
                    Loans, LLC and Ascension Technologies, LLC, shall file their response to
                    PLAINTIFFS' 571 CROSS MOTION TO COMPEL AGAINST NON-PARTY
                    CONNER & WINTERS, LLP by August 26, 2019. Signed by District Judge Robert E.
                    Payne on 8/29/2019. Filed nunc pro tunc August 15, 2019. (jsmi, ) (Entered:
                    08/29/2019)
   09/03/2019   619 Reply to Motion re 571 Cross MOTION to Compel Against Non-Party Conner &
                    Winters, LLP filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Bennett, Leonard) (Entered: 09/03/2019)
   09/03/2019           Minute Entry for proceedings held before Magistrate Judge David J. Novak: Conference
                        Call held on 9/3/2019. (cgar) (Entered: 09/03/2019)
   09/04/2019   620 Memorandum in Opposition re 604 MOTION for Entry of Judgment under Rule 54(b)
                    and 58(d) filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Guzzo, Andrew) (Entered: 09/04/2019)
   09/06/2019           Minute Entry for proceedings held before Magistrate Judge David J. Novak Conference
                        Call held on 9/6/2019. (cgar) (Entered: 09/06/2019)
   09/10/2019   621 REPLY to Response to Motion re 604 MOTION for Entry of Judgment under Rule 54(b)
                    and 58(d) filed by Ascension Technologies, Inc., Big Picture Loans, LLC. (Anthony,
                    David) (Entered: 09/10/2019)
   09/10/2019   622 MOTION for Leave to File Supplemental Authority by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 09/10/2019)
   09/10/2019   623 Memorandum in Support re 622 MOTION for Leave to File Supplemental Authority
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1- Neff Opinion, # 2 Exhibit 2 - Davis Opinion)
                    (Kelly, Kristi) (Entered: 09/10/2019)
   09/16/2019   624 Response to 613 NOTICE Matt Martorello's Statement of Position filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit "1")(Bennett, Leonard) (Entered: 09/16/2019)
   09/16/2019   625 Response to 611 NOTICE, Big Picture Loans, LLC's and Ascension Technologies, LLC's
                    Statement of Position filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 09/16/2019)
   09/16/2019   626 Response to 612 NOTICE Brian McFadden's and Simon Liang's Joint Statement of
                    Position filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula


                                                   Page 80
                                                                                              JA080
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 84 of 462

                        Williams. (Bennett, Leonard) (Entered: 09/16/2019)
   09/20/2019   627 ORDER that 607 MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
                    PLAINTIFFS' CROSS MOTION TO COMPEL AGAINST NON-PARTY CONNER &
                    WINTERS, LLP is granted. The documents agreed to be produced (see ECF No. 607,
                    paragraph 3) will be produced by September 20, 2019; and the 3,000 additional
                    documents referred to in ECF No. 607, paragraph 4, will be reviewed and produced (or a
                    privilege log served) by September 30, 2019. Signed by District Judge Robert E. Payne
                    on 9/17/2019. (jsmi, ) (Entered: 09/20/2019)
   09/20/2019   628 MDL ORDER DEEMING MOTION WITHDRAWN AND VACATING THE
                    SEPTEMBER 26, 2019 HEARING SESSION ORDER (31 in CAN/5:18-cv-03476, 33
                    in GAN/1:18-cv-03217, 34 in MA/1:18-cv-12277, 54 in MDL No. 2906, 34 in OR/3:18-
                    cv-01651, 31 in VAE/3:17-cv-00461, 32 in VAE/3:18-cv-00406, 43 in VAE/3:19-cv-
                    00314), ( 1 in MDL No. 2906) THIS MDL IS CLOSED Signed by Clerk of the Panel
                    John W. Nichols on 9/20/2019. Associated Cases: MDL No. 2906, CAN/5:18-cv-03476,
                    GAN/1:18-cv-03217, MA/1:18-cv-12277, OR/3:18-cv-01651, VAE/3:17-cv-00461,
                    VAE/3:18-cv-00406, VAE/3:19-cv-00314 (SM). Signed by Clerk on 09/20/2019. (jsmi, )
                    (Entered: 09/20/2019)
   09/23/2019   629 Reply to 624 Response In Support of Statement of Position Pursuant to ECF Nos. 599 &
                    601 filed by Matt Martorello. (Erbach, John) (Entered: 09/23/2019)
   09/23/2019   630 Reply to 625 Response filed by Ascension Technologies, Inc., Big Picture Loans, LLC.
                    (St. George, Timothy) (Entered: 09/23/2019)
   09/23/2019   631 Reply to 626 Response in Support of Statement of Position of Brian McFadden and
                    Simon Liang filed by Ascension Technologies, Inc.. (St. George, Timothy) (Entered:
                    09/23/2019)
   09/24/2019   632 Memorandum in Opposition re 622 MOTION for Leave to File Supplemental Authority
                    filed by Matt Martorello. (Attachments: # 1 Exhibit 1)(Mullins, Maurice) (Entered:
                    09/24/2019)
   09/30/2019   633 RESPONSE in Support re 622 MOTION for Leave to File Supplemental Authority filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 09/30/2019)
   10/08/2019           Minute Entry for proceedings held before Magistrate Judge David J. Novak: Conference
                        Call held on 10/8/2019. (cgar) (Entered: 10/09/2019)
   10/16/2019           Minute Entry for proceedings held before Magistrate Judge David J. Novak:Attorney
                        Appointment Meeting held on 10/16/2019. (cgar) (Entered: 10/16/2019)
   10/21/2019   634 ORDER REGARDING PROCEDURES FOR SETTLEMENT CONFERENCE. The
                    Court has scheduled this case for a settlement conference on October 28, 2019, at 10:00
                    a.m. At that time, the following parties shall report to the chambers of United States
                    District Judge David J. Novak: (1) Plaintiffs; (2) Matt Martorello; (3) Justin Martorello;
                    (4) Rebecca Martorello; (5) Jeremy Davis; (6) Eventide Credit Acquisitions, LLC; (7)
                    Bluetech Irrevocable Trust; (8) Kairos Holdings, LLC; (9) Liont, LLC; (10) Breakwater
                    Holdings, LLC; and, (11) Gallant Capital, LLC. See Order for additional details. Signed
                    by Magistrate Judge David J. Novak on 10/21/2019. (jsmi, ) (Entered: 10/21/2019)
   10/21/2019           Settlement Conference set for 10/28/2019 at 10:00 AM in Richmond Judges Chamber
                        before District Judge David J. Novak. (cgar) (Entered: 10/21/2019)
   10/21/2019   637 ORDER that because the Parties have advised the Court that they have reached a
                    settlement and require extension of some deadlines to finalize the formal settlement, by
                    October 29, 2019, the Parties shall finalize the settlement agreement and file it along
                                                    Page 81
                                                                                                JA081
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 85 of 462

                        with a Motion (with supporting papers and brief) seeking Preliminary Approval of the
                        Settlement and therewith shall submit a proposed Order, proposed notices, and proposed
                        dates for all steps necessary for final approval of the settlement. Any deadlines
                        associated with 554 and 604 motions or Orders are STAYED until 60 days from date of
                        this ORDER or further Order of the Court, whichever shall first occur. This ORDER
                        shall have no effect on any pending motions or deadlines as between Plaintiffs and Matt
                        Martorello. All counsel in this case shall meet in person with United States District
                        Judge David J. Novak on October 28, 2019 at 9:30 a.m. to discuss settlement of the
                        claims against Matt Martorello. See Order for additional details and deadlines. Signed
                        by District Judge Robert E. Payne on 10/21/2019. (jsmi, ) (Entered: 10/21/2019)
   10/28/2019           Minute Entry for proceedings held before District Judge David J. Novak:Settlement
                        Conference held on 10/28/2019. (cgar) (Entered: 10/29/2019)
   10/31/2019   640 ORDER that by November 21, 2019, the Parties shall finalize the settlement agreement
                    and file it along with a Motion (with supporting papers and brief) seeking Preliminary
                    Approval of the Settlement and therewith shall submit a proposed Order, proposed
                    notices, and proposed dates for all steps necessary for final approval of the settlement.
                    This Order shall have no effect on any pending motions or deadlines as between
                    Plaintiffs and co-Defendant Matt Martorello. See Order for details. Signed by District
                    Judge Robert E. Payne on 10/31/2019. (jsmi, ) (Entered: 10/31/2019)
   11/13/2019           Conference Call set for 11/14/2019 at 11:15 AM before District Judge David J. Novak.
                        (cgar) (Entered: 11/13/2019)
   11/18/2019   641 ORDER that by November 21, 2019, counsel for the Parties shall file the Certification
                    and pleading required by Paragraph (3) of 637 October 21 Order. See Order for details.
                    Signed by District Judge Robert E. Payne on 11/18/2019. (jsmi, ) (Entered: 11/18/2019)
   11/21/2019   642 NOTICE by Ascension Technologies, Inc., Big Picture Loans, LLC re 641 Order of
                    Compliance with November 18, 2019 Order (St. George, Timothy) (Entered:
                    11/21/2019)
   11/21/2019   643 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 637 Order,,,, 641 Order Plaintiffs' Certification (Bennett, Leonard) (Entered:
                    11/21/2019)
   11/22/2019   644 ORDER that, by 5:00 p.m. November 26, 2019, counsel shall finalize the settlement
                    agreement with respect to the plaintiffs and the defendants. Big Picture Loans, LLC and
                    Ascension Technologies, LLC, and file it along with a Motion (with supporting papers
                    and brief) seeking Preliminary Approval of the Settlement and therewith shall submit a
                    proposed Order, proposed notices, and proposed dates for all steps necessary for final
                    approval of the settlement. Signed by District Judge Robert E. Payne on 11/22/2019.
                    (jsmi, ) (Entered: 11/22/2019)
   12/20/2019   645 ORDER that any deadlines associated with the following motions are STAYED until
                    further Order of the Court: (a) DEFENDANTS BIG PICTURE LOANS, LLC AND
                    ASCENSION TECHNOLOGIES, LLC'S MOTION TO STRIKE PLAINTIFFS'
                    STATEMENT OF POSITION (ECF No. 554 ); and (b) MOTION FOR ENTRY OF
                    JUDGMENT OF DEFENDANTS BIG PICTURE LOANS, LLC AND ASCENSION
                    TECHNOLOGIES, LLC (ECF No. 604 ). It is so ORDERED. Signed by District Judge
                    Robert E. Payne on 12/20/2019. (sbea, ) (Entered: 12/20/2019)
   01/08/2020   646 ORDER - It appearing that, in Renee Galloway, et al. v. James Williams, Jr., et al., Civil
                    Action No. 3:19cv470 ("Galloway III"), a number of defendants in Lula Williams, et al.
                    v. Big Picture Loans, LLC, et al., Civil Action No. 3:17cv461 ("Williams"), Renee
                    Galloway, et al. v. Big Picture Loans, LLC, et al., Civil Action No. 3:18cv406
                    ("Galloway I"), and Renee Galloway, et al. v. Justin Martorello, et al., Civil Action No.
                                                    Page 82
                                                                                                 JA082
USCA4 Appeal: 23-2097       Doc: 11-1          Filed: 12/06/2023        Pg: 86 of 462

                        3:19cv314 ("Galloway II"),(the "Settling Defendants") have agreed to settle the
                        plaintiffs' claims against them in Williams, Galloway I, and Galloway II, and it
                        appearing that numerous motions are pending in those three cases against the defendants
                        who did not settle (the "Non-Settling Defendants") and against Third-Parties, and
                        finding that, considering the length of time that this case has been pending, it is
                        necessary to proceed expeditiously to resolve: (a) the plaintiffs' claims against the Non-
                        Settling Defendants in Williams, Galloway I, and Galloway II; and (b) the motions
                        affecting Third-Parties. The Clerk is directed to file a copy of this Order in Williams,
                        Galloway I, and Galloway II. (SEE ORDER FOR ALL DEADLINES AND DETAILS).
                        Signed by District Judge Robert E. Payne on 1/8/20. (jtho, ) (Entered: 01/08/2020)
   01/08/2020           Set Hearing: Status Conference set for 1/29/2020 at 10:00 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 01/08/2020)
   01/22/2020   648 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 646 Order,,,,, (Joint Notice of Agreed List of Outstanding Motions)
                    (Attachments: # 1 Exhibit 1 - Agreed List of Outstanding Motions, # 2 Exhibit 2 -
                    Agreed List of Miscellaneous Proceedings)(Kelly, Kristi) (Entered: 01/22/2020)
   01/22/2020   649 NOTICE by Matt Martorello re 646 Order,,,,, Defendant's Proposed Order in Which
                    Pending Motions Should Be Resolved (Erbach, John) (Entered: 01/22/2020)
   01/22/2020   650 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams (Plaintiffs' Statement of Position on Suggested Order for Resolution of
                    Pending Motions) (Kelly, Kristi) (Entered: 01/22/2020)
   01/23/2020   651 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 646 Order,,,,, (Joint Supplemental Notice) (Attachments: # 1 Exhibit 1 -
                    Amended List of Miscellaneous Actions)(Kelly, Kristi) (Entered: 01/23/2020)
   01/29/2020   654 Minute Entry for proceedings held before District Judge Robert E. Payne: Status
                    Conference held on 1/29/2020. Defendant Martorello to file supplemental brief re: class
                    certification (fourth circuit decision) by 02/12/20, response by 02/26/20, oral argument
                    set for 03/06/20 at 10:00 a.m.; parties to discuss order denying sur-reply; defendant
                    Martorello to file motion to consolidate by 02/07/20, response by 02/17/20, reply
                    02/24/20; plaintiffs and defendant Martorello to compile list identifying evidence
                    destroyed re: Jennifer Weddle; parties to tender agreed order for counsel John
                    O'Connor/client to not further destroy evidence; Court grants motion for leave to file
                    supplemental authority (ECF Nos. 475 & 622 in case 3:17-cv-461). (Court Reporter
                    Peppy Peterson, OCR.) (nbrow) (Entered: 01/29/2020)
   01/30/2020   655 ORDER that for the reasons set forth on the record at the hearing on January 29, 2020, it
                    is hereby ORDERED that: (1) Defendant Matt Martorello shall file by February 7, 2020
                    his motion to consolidate Lula Williams, et al. v. Big Picture Loans, LLC, et al., Civil
                    Action No. 3:17-cv-461, Renee Galloway, et al. v. Big Picture Loans, LLC, et al., Civil
                    Action No. 3:18-cv-406, and Renee Galloway, et al. v. Justin Martorello, et al., Civil
                    Action No. 3:19-cv-314; (2) The Plaintiffs shall file their opposition by February 17,
                    2020; and, (3) Defendant Matt Martorello shall file his reply by February 24, 2020. It is
                    so ORDERED. Signed by District Judge Robert E. Payne on 01/30/2020. (walk, )
                    (Entered: 01/30/2020)
   01/30/2020   656 ORDER that Defendant Matt Martorello shall file supplemental briefing addressing the
                    effect of the Fourth Circuit's decision on PLAINTIFFS' 189 MOTION FOR CLASS
                    CERTIFICATION OF CLAIMS AGAINST DEFENDANT MATT MARTORELLO by
                    February 12, 2020; Plaintiffs shall file their response by February 26, 2020; the Court
                    shall hear oral argument on this motion on March 6, 2020 at 10.00 A.M; Plaintiffs' 475
                    MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY is GRANTED;

                                                     Page 83
                                                                                                   JA083
USCA4 Appeal: 23-2097     Doc: 11-1         Filed: 12/06/2023      Pg: 87 of 462

                     Plaintiffs' 622 MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY is
                     GRANTED. Signed by District Judge Robert E. Payne on 1/30/2020. (jsmi, ) (Entered:
                     01/30/2020)
  01/30/2020         Set Hearing: Motion Hearing set for 3/6/2020 at 10:00 AM in Richmond Courtroom
                     7400 before District Judge Robert E. Payne. (nbrow) (Entered: 01/30/2020)
  01/31/2020    657 TRANSCRIPT of proceedings held on January 29, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date, it may be obtained through PACER
                    Redaction Request due 3/2/2020. Redacted Transcript Deadline set for 4/1/2020.
                    Release of Transcript Restriction set for 4/30/2020.(peterson, peppy) (Entered:
                    01/31/2020)
  02/05/2020    658 STRIKEN PER 659 ORDER ENTERED ON 2/6/2020 - NOTICE by Matt Martorello of
                    Correction of the January 29, 2020 Status Conference Record Related to the Deposition
                    Testimony of Greenberg Traurig, LLP Attorney Jennifer Weddle (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)
                    (Erbach, John) Modified to add docket text on 2/6/2020 (jsmi, ). (Entered: 02/05/2020)
  02/06/2020    659 ORDER that 658 NOTICE OF CORRECTION OF THE JANUARY 29, 2020 STATUS
                    CONFERENCE RECORD RELATED TO THE DEPOSITION TESTIMONY OF
                    GREENERG TRAURIG, LLP, ATTORNEY JENNIFER WEDDLE be stricken as an
                    improper pleading. If counsel desire to address the matters raised in NOTICE OF
                    CORRECTION OF THE JANUARY 29, 2020 STATUS CONFERENCE RECORD
                    RELATED TO THE DEPOSITION TESTIMONY OF GREENERG TRAURIG, LLP,
                    ATTORNEY JENNIFER WEDDLE that should be done in a format recognized by the
                    Federal Rules of Civil Procedure. Signed by District Judge Robert E. Payne on
                    2/6/2020. (jsmi, ) (Entered: 02/06/2020)
  02/07/2020    660 MOTION to Consolidate Cases by Matt Martorello. (Mullins, Maurice) (Entered:
                    02/07/2020)
  02/07/2020    661 Memorandum in Support re 660 MOTION to Consolidate Cases filed by Matt
                    Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Mullins, Maurice) (Entered:
                    02/07/2020)
  02/10/2020    662 MOTION for Leave to File Supplemental Authority Related to Motion for Class
                    Certification by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1 - MacDonald Opinion, # 2 Exhibit 2 - Proposed
                    Order)(Kelly, Kristi) (Entered: 02/10/2020)
  02/10/2020    663 Memorandum in Support re 662 MOTION for Leave to File Supplemental Authority
                    Related to Motion for Class Certification filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 02/10/2020)
  02/12/2020    664 Memorandum in Opposition re 189 MOTION to Certify Class against Defendant Matt
                    Martorello Supplemental Brief Addressing the Effect of the Fourth Circuit's Decision on
                    Plaintiffs' Motion for Class Certification per Order at ECF No. 656 filed by Matt
                    Martorello. (Erbach, John) (Entered: 02/12/2020)

                                                  Page 84
                                                                                             JA084
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 88 of 462

  02/12/2020    665 MOTION to Amend/Correct 447 Order on Motion for Leave to File, Motion for
                    Amended Decision on Sur-Reply per Court's Direction at ECF No. 654 by Matt
                    Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered: 02/12/2020)
  02/12/2020    666 Memorandum in Support re 665 MOTION to Amend/Correct 447 Order on Motion for
                    Leave to File, Motion for Amended Decision on Sur-Reply per Court's Direction at ECF
                    No. 654 filed by Matt Martorello. (Attachments: # 1 Exhibit A)(Erbach, John) (Entered:
                    02/12/2020)
  02/17/2020    667 Memorandum in Opposition re 660 MOTION to Consolidate Cases filed by Lula
                    Williams. (Bennett, Leonard) (Entered: 02/17/2020)
  02/18/2020    668 ORDER that in accordance with, and as instructed by, the Judgment of the United States
                    Court of Appeals for the Fourth Circuit entered on July 3, 2019, and the mandate entered
                    on July 25, 2019, this action is dismissed with prejudice against the defendants, Big
                    Picture Loans, LLC and Ascension Technologies, LLC for lack of subject matter
                    jurisdiction. Signed by District Judge Robert E. Payne on 2/18/2020. (jsmi, ) (Entered:
                    02/18/2020)
  02/19/2020    669 ORDER that 665 MOTION FOR AMENDED DECISION ON SUR-REPLY is granted
                    and the defendant. Matt Martorello, shall immediately file his SUR-REPLY IN
                    OPPOSITION TO PLAINTIFFS' 269 MOTION FOR CLASS CERTIFICATION OF
                    CLAIMS AGAINST DEFENDANT MATT MARTORELLO and the exhibit thereto.
                    Signed by District Judge Robert E. Payne on 2/18/2020. (jsmi, ) (Entered: 02/19/2020)
  02/19/2020    670 ORDER that 662 PLAINTIFFS' MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                    AUTHORITY RELATED TO THEIR MOTION FOR CLASS CERTIFICATION is
                    granted. Signed by District Judge Robert E. Payne on 2/18/2020. (jsmi, ) (Entered:
                    02/19/2020)
  02/19/2020    671 Reply to 669 Order on Motion to Amend/Correct, 189 MOTION to Certify Class
                    against Defendant Matt Martorello (Sur-Reply in Opposition to Plaintiffs' Motion for
                    Class Certification of Claims Against Defendant Matt Martorello) filed by Matt
                    Martorello. (Attachments: # 1 Exhibit A)(Erbach, John) (Entered: 02/19/2020)
  02/19/2020    672 NOTICE by Lula Williams re 654 Status Conference,,, (Log of Weddle Documents)
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Bennett,
                    Leonard) (Entered: 02/19/2020)
  02/20/2020    673 ORDER. It is hereby ORDERED that the hearing on MARTORELLO'S 664
                    SUPPLEMENT set for March 6, 2020 is cancelled and that, by March 4, 2020, counsel
                    shall file a Notice advising whether it is necessary to have an evidentiary hearing on the
                    PLAINTIFFS' 249 MISREPRESENTATION FILING filed in Galloway I before the
                    commencement of the briefing and hearing schedule set forth above for the Amended
                    Motion for Class Certification. See Order for additional details. Signed by District Judge
                    Robert E. Payne on 2/20/2020. (jsmi, ) (Entered: 02/20/2020)
  02/21/2020          Set Hearing: Amended Motion for Class Certification Hearing set for 6/5/2020 at 10:00
                      AM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                      (Entered: 02/21/2020)
  02/21/2020    674 MOTION to Transfer Case to the Northern District of Texas by Matt Martorello.
                    (Mullins, Maurice) (Entered: 02/21/2020)
  02/21/2020    675 Memorandum in Support re 674 MOTION to Transfer Case to the Northern District of
                    Texas filed by Matt Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                    # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Mullins, Maurice) (Entered: 02/21/2020)

                                                   Page 85
                                                                                               JA085
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 89 of 462

  02/24/2020    676 REPLY to Response to Motion re 660 MOTION to Consolidate Cases filed by Matt
                    Martorello. (Erbach, John) (Entered: 02/24/2020)
  02/26/2020    677 MOTION to Strike 672 NOTICE Regarding Compliance with ECF No. 654 (Documents
                    Pertaining to Jennifer Weddle) by Matt Martorello. (Erbach, John) (Entered:
                    02/26/2020)
  02/26/2020    678 Memorandum in Support re 677 MOTION to Strike 672 NOTICE Regarding
                    Compliance with ECF No. 654 (Documents Pertaining to Jennifer Weddle) filed by Matt
                    Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5)(Erbach, John) (Entered: 02/26/2020)
  03/04/2020    679 NOTICE by Matt Martorello re 673 Order,, Notice of Matt Martorello Regarding
                    Evidentiary Hearing (Erbach, John) (Entered: 03/04/2020)
  03/05/2020    680 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 673 Order,, (Attachments: # 1 Exhibit "1")(Bennett, Leonard) (Entered:
                    03/05/2020)
  03/05/2020    681 MOTION for Extension of Time to File Plaintiffs' Notice Regarding Evidentiary
                    Hearing by Dowin Coffy, George Hengle, Marcella P. Singh, Lula Williams.
                    (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 03/05/2020)
  03/05/2020    682 Memorandum in Support re 681 MOTION for Extension of Time to File Plaintiffs'
                    Notice Regarding Evidentiary Hearing filed by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 03/05/2020)
  03/06/2020    683 Memorandum in Opposition re 674 MOTION to Transfer Case to the Northern District
                    of Texas filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit "1", # 2 Exhibit "2", # 3 Exhibit "3", # 4 Exhibit
                    "4", # 5 Exhibit "5")(Bennett, Leonard) (Entered: 03/06/2020)
  03/09/2020    684 ORDER that that 681 MOTION FOR EXTENSION OF TIME TO FILE PLAINTIFFS'
                    NOTICE REGARDING EVIDENTIARY HEARING is granted and the filing of
                    PLAINTIFFS' NOTICE REGARDING EVIDENTIARY HEARING is considered
                    timely filed. Signed by District Judge Robert E. Payne on 3/9/2020. (jsmi, ) (Entered:
                    03/09/2020)
  03/10/2020    685 ORDER that DEFENDANTS BIG PICTURE LOANS, LLC AND ASCENSION
                    TECHNOLOGIES, LLC'S 554 MOTION TO STRIKE PLAINTIFFS' STATEMENT OF
                    POSITION; 604 MOTION FOR ENTRY OF JUDGMENT OF DEFENDANTS BIG
                    PICTURE LOANS, LLC AND ASCENSION TECHNOLOGIES, LLC; and
                    PLAINTIFFS' 614 MOTION FOR EXTENSION OF TIME TO FILE THEIR
                    OPPOSITION TO DEFENDANTS BIG PICTURE LOANS, LLC AND ASCENSION
                    TECHNOLOGIES, LLC'S MOTION FOR ENTRY OF JUDGMENT are denied as
                    moot. Signed by District Judge Robert E. Payne on 3/10/2020. (jsmi, ) (Entered:
                    03/10/2020)
  03/11/2020    686 Memorandum in Opposition re 677 MOTION to Strike 672 NOTICE Regarding
                    Compliance with ECF No. 654 (Documents Pertaining to Jennifer Weddle) filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage. (Attachments: # 1
                    Exhibit "1", # 2 Exhibit "2" FILED UNDER SEAL, # 3 Exhibit "3", # 4 Exhibit "4", # 5
                    Exhibit "5", # 6 Exhibit "6")(Bennett, Leonard) (Entered: 03/11/2020)
  03/11/2020    687 MOTION re 654 Status Conference,,, To Enforce Court's Minute Order by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Bennett, Leonard) (Entered: 03/11/2020)

                                                  Page 86
                                                                                              JA086
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023      Pg: 90 of 462

   03/11/2020   688 Memorandum in Support re 687 MOTION re 654 Status Conference,,, To Enforce
                    Court's Minute Order filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit "1", # 2 Exhibit "2" FILED UNDER
                    SEAL, # 3 Exhibit "3", # 4 Exhibit "4", # 5 Exhibit "5", # 6 Exhibit "6")(Bennett,
                    Leonard) (Entered: 03/11/2020)
   03/11/2020   689 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered:
                    03/11/2020)
   03/11/2020   690 Memorandum in Support re 687 MOTION re 654 Status Conference,,, To Enforce
                    Court's Minute Order, 689 MOTION to Seal filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    03/11/2020)
   03/11/2020   691 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, Justin Gray, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams re 687 MOTION re 654
                    Status Conference,,, To Enforce Court's Minute Order, 686 Memorandum in Opposition,
                    688 Memorandum in Support, 689 MOTION to Seal (Bennett, Leonard) (Entered:
                    03/11/2020)
   03/11/2020   692 Sealed Response/Reply/Opposition re 686 Memorandum in Opposition, 688
                    Memorandum in Support,. (Attachments: # 1 Exhibit "2" FILED UNDER SEAL, # 2
                    Certificate of Service for Sealed Docs)(Bennett, Leonard) (Entered: 03/11/2020)
   03/12/2020   693 REPLY to Response to Motion re 674 MOTION to Transfer Case to the Northern
                    District of Texas filed by Matt Martorello. (Attachments: # 1 Exhibit Exhibit 1)(Erbach,
                    John) (Entered: 03/12/2020)
   03/17/2020   694 REPLY to Response to Motion re 677 MOTION to Strike 672 NOTICE Regarding
                    Compliance with ECF No. 654 (Documents Pertaining to Jennifer Weddle) filed by Matt
                    Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Erbach, John)
                    (Entered: 03/17/2020)
   03/18/2020   695 RESPONSE to Motion re 689 MOTION to Seal filed by Matt Martorello. (Erbach,
                    John) (Entered: 03/18/2020)
   03/18/2020   696 ORDER - Having considered Paragraph (2) of General Order No. 2020 - 03 entered on
                    March 16, 2020, it is hereby ORDERED that the filing deadlines with respect to: (1)
                    MATT MARTORELLO'S MOTION TO STRIKE PLAINTIFFS' NOTICE
                    REGARDING COMPLIANCE WITH ECF NO. 654 (DOCUMENTS PERTAINING
                    TO JENNIFER WEDDLE) (ECF No. 677); and (2) PLAINTIFFS' MOTION TO
                    ENFORCE COURT'S MINUTE ORDER, ECF NO. 654 (ECF No. 687) remain in
                    accord with Local Rule 7(F). Signed by District Judge Robert E. Payne on 03/18/2020.
                    (tjoh, ) (Entered: 03/18/2020)
   03/18/2020   697 ORDER - It is hereby ORDERED that an evidentiary hearing shall be held on the issues
                    raised in the PLAINTIFFS' STATEMENT OF POSITION REGARDING MATERIAL
                    MISREPRESENTATIONS MADE TO THE COURT BY DEFENDANTS IN
                    SUPPORT OF THEIR MOTIONS TO DISMISS FOR LACK OF JURISDICTION
                    (ECF No. 249) filed in Galloway I. It is ORDERED that the briefing scheduled for the
                    Amended Motion for Class Certification set in paragraph B of the ORDER (ECF No.
                    673) is suspended; and that an evidentiary hearing on the issues raised in the
                    PLAINTIFFS' STATEMENT OF POSITION REGARDING MATERIAL
                    MISREPRESENTATIONS MADE TO THE COURT BY DEFENDANTS IN
                    SUPPORT OF THEIR MOTIONS TO DISMISS FOR LACK OF JURISDICTION
                    (ECF No. 249) filed in Galloway I will be held on June 5, 2020 at 10:00 a.m. At the

                                                  Page 87
                                                                                               JA087
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 91 of 462

                        conclusion of the hearing on June 5, 2020, the Court will set a new schedule for the
                        filing and briefing of an Amended Motion for Class Certification. Signed by District
                        Judge Robert E. Payne on 03/18/2020. (tjoh, ) (Entered: 03/18/2020)
   03/18/2020           Set Hearing: Evidentiary Hearing set for 6/5/2020 at 10:00 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 03/18/2020)
   03/24/2020   698 RESPONSE in Opposition re 687 MOTION re 654 Status Conference,,, To Enforce
                    Court's Minute Order filed by Greenberg Traurig, LLP. (Attachments: # 1 Exhibit
                    Exhibit 1 -- Letter of 2/14/20, # 2 Exhibit Exhibit 2 -- Excerpts from Weddle Deposition,
                    # 3 Exhibit Exhibit 3 -- Letter of 3/16/20)(O'Connor, John) (Entered: 03/24/2020)
   03/24/2020   699 NOTICE of Appearance by John F. O'Connor, Jr on behalf of Greenberg Traurig, LLP
                    (O'Connor, John) (Entered: 03/24/2020)
   03/25/2020   700 Memorandum in Opposition re 687 MOTION re 654 Status Conference,,, To Enforce
                    Court's Minute Order filed by Matt Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit
                    2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Erbach, John)
                    (Entered: 03/25/2020)
   03/30/2020   701 Reply to 698 Response in Opposition to Motion, filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    03/30/2020)
   03/31/2020   702 Reply to 687 MOTION re 654 Status Conference,,, To Enforce Court's Minute Order,
                    700 Memorandum in Opposition, filed by Dowin Coffy, Justin Gray, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    03/31/2020)
   04/06/2020   703 ORDER that the DEFENDANT'S 422 MOTION TO FILE UNDER SEAL HIS
                    UNREDACTED RESPONSE AND EXHIBITS W, XX, YY, ZZ, AAA, BBB, CCC,
                    FFF, GGG, HHH, KKK, AND 000 IN OPPOSITION TO PLAINTIFFS' MOTION FOR
                    LEAVE TO FILE SUPPLEMENTAL AUTHORITY is granted See Order for details.
                    Signed by District Judge Robert E. Payne on 4/6/2020. (jsmi, ) (Entered: 04/06/2020)
   04/06/2020   704 ORDER that the Plaintiffs' 430 MOTION TO SEAL is granted; and the PLAINTIFFS'
                    432 REPLY IN SUPPORT OF MOTION FOR ENTRY OF ORDER ALLOWING
                    PRODUCTION OF CONSUMER REPORTS and certain exhibits thereto are filed under
                    seal; provided that appropriately redacted versions thereof are filed in the public record.
                    Signed by District Judge Robert E. Payne on 4/6/2020. (jsmi, ) (Entered: 04/06/2020)
   04/06/2020   705 ORDER that the Plaintiffs' 443 MOTION TO SEAL is granted; and the PLAINTIFFS'
                    445 REPLY IN SUPPORT OF MOTION TO COMPEL AS TO NON-PARTY
                    ROSETTE, LLP and certain exhibits thereto are filed under seal; provided that
                    appropriately redacted versions thereof are filed in the public record. Signed by District
                    Judge Robert E. Payne on 4/6/2020. (jsmi, ) (Entered: 04/06/2020)
   04/06/2020   706 ORDER that the Plaintiffs' 490 MOTION TO SEAL is granted; and the PLAINTIFFS'
                    493 MEMORANDUM REGARDING ESI DISPUTES and certain exhibits thereto are
                    filed under seal; provided that appropriately redacted versions thereof are filed in the
                    public record. Signed by District Judge Robert E. Payne on 4/6/2020. (jsmi, ) (Entered:
                    04/06/2020)
   04/06/2020   707 ORDER that 505 Motion to Seal is granted; and MATT MARTORELLO'S 508
                    MOTION AND MEMORANDUM IN SUPPORT OF LEAVE TO FILE
                    SUPPLEMENTAL EXHIBITS IN SUPPORT OF MOTION FOR
                    RECONSIDERATION and certain exhibits thereto are filed under seal; provided that


                                                     Page 88
                                                                                                  JA088
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 92 of 462

                      appropriately redacted versions thereof are filed in the public record. Signed by District
                      Judge Robert E. Payne on 4/6/2020. (jsmi, ) (Entered: 04/06/2020)
  04/07/2020    708 ORDER - It is hereby ORDERED that MATT MARTORELLO'S MOTION AND
                    MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
                    SUPPLEMENTAL EXHIBITS IN SUPPORT OF MOTION FOR
                    RECONSIDERATION (ECF No. 509) is granted. Signed by District Judge Robert E.
                    Payne on 04/06/2020. (tjoh, ) (Entered: 04/07/2020)
  04/08/2020    709 ORDER that, by April 25, 2020, counsel shall advise whether the PLAINTIFFS' 524
                    MOTION FOR LEAVE TO SERVE REQUESTS FOR PRODUCTION AND THIRD-
                    PARTY SUBPOENAS is affected by the Settlement Agreement and, if so, how. Signed
                    by District Judge Robert E. Payne on 4/7/2020. (jsmi, ) (Entered: 04/08/2020)
  04/13/2020    710 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 4/9/2020.
                    (jsmi, ) (Entered: 04/13/2020)
  04/13/2020    711 ORDER that 660 MOTION FOR CONSOLIDATION is denied. Signed by District
                    Judge Robert E. Payne on 4/9/2020. (jsmi, ) (Entered: 04/13/2020)
  04/13/2020    712 MOTION to Withdraw as Attorney by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Hanes, Elizabeth)
                    (Entered: 04/13/2020)
  04/14/2020    713 ORDER that 712 MOTION TO WITHDRAW AS COUNSEL is granted. It is further
                    ORDERED that the Clerk shall remove Elizabeth W. Hanes, Esquire as counsel of
                    record for the plaintiffs. Signed by District Judge Robert E. Payne on 4/14/2020. (jsmi, )
                    (Entered: 04/14/2020)
  04/15/2020    714 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 4/14/2020.
                    (jsmi, ) (Entered: 04/15/2020)
  04/15/2020    715 ORDER that 674 MOTION TO TRANSFER VENUE is denied. It is further ORDERED
                    that the facts and legal contentions are adequately presented in the materials before the
                    Court and oral argument would not aid the decisional process. Signed by District Judge
                    Robert E. Payne on 4/14/2020. (jsmi, ) (Entered: 04/15/2020)
  04/24/2020    716 NOTICE by Matt Martorello re 709 Order, (Statement of Position in Response to Order
                    at ECF 709) (Mullins, Maurice) (Entered: 04/24/2020)
  04/24/2020    717 STATUS REPORT Regarding Plaintiffs' Motion for Leave to Serve Requests for
                    Production and Third-Party Subpoenas by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9
                    Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12)(Kelly, Kristi) (Entered:
                    04/24/2020)
  05/04/2020    718 MOTION for Clarification or, in the Alternative, to Adjourn Evidentiary Hearing
                    Scheduled for June 5, 2020 by Matt Martorello. (Erbach, John) (Entered: 05/04/2020)
  05/04/2020    719 MOTION to Continue (Seeking Adjournment of June 5, 2020 Evidentiary Hearing in the
                    Alternative to Motion for Clarification) by Matt Martorello. (Erbach, John) (Entered:
                    05/04/2020)
  05/04/2020    720 Memorandum in Support re 718 MOTION for Clarification or, in the Alternative, to
                    Adjourn Evidentiary Hearing Scheduled for June 5, 2020, 719 MOTION to Continue
                    (Seeking Adjournment of June 5, 2020 Evidentiary Hearing in the Alternative to Motion
                    for Clarification) filed by Matt Martorello. (Erbach, John) (Entered: 05/04/2020)

                                                    Page 89
                                                                                                 JA089
USCA4 Appeal: 23-2097     Doc: 11-1         Filed: 12/06/2023     Pg: 93 of 462


  05/04/2020    721 Request for Hearing by Marcella P. Singh, Gloria Turnage, Lula Williams re Set/Reset
                    Hearings (Bennett, Leonard) (Entered: 05/04/2020)
  05/05/2020    722 Response to 721 Request for Hearing filed by Matt Martorello. (Attachments: # 1
                    Exhibit A)(Erbach, John) (Entered: 05/05/2020)
  05/07/2020    723 NOTICE of Appearance by Amy Leigh Austin on behalf of Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Austin, Amy) (Entered:
                    05/07/2020)
  05/07/2020         Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                     Conference held on 5/7/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow) (Entered:
                     06/05/2020)
  05/08/2020    724 STATUS REPORT (Second Status Report Regarding Plaintiffs' Motion for Leave to
                    Serve Requests for Production and Third-Party Subpoenas ) by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    05/08/2020)
  05/08/2020         Minute Entry for proceedings held before District Judge Robert E. Payne:Telephone
                     Conference held on 5/8/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow) (Entered:
                     06/05/2020)
  05/09/2020    725 TRANSCRIPT of proceedings held on May 7, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267, email
                    peppypeterson@gmail.com. NOTICE RE REDACTION OF TRANSCRIPTS: The
                    parties have thirty (30) calendar days to file with the Court a Notice of Intent to
                    Request Redaction of this transcript. If no such Notice is filed, the transcript will
                    be made remotely electronically available to the public without redaction after 90
                    calendar days. The policy is located on our website at www.vaed.uscourts.gov
                    Transcript may be viewed at the court public terminal or purchased through the
                    court reporter before the deadline for Release of Transcript Restriction. After that
                    date it may be obtained through PACER Redaction Request due 6/8/2020.
                    Redacted Transcript Deadline set for 7/9/2020. Release of Transcript Restriction set
                    for 8/7/2020.(peterson, peppy) (Entered: 05/09/2020)
  05/10/2020    726 TRANSCRIPT of proceedings held on May 8, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267, email
                    peppypeterson@gmail.com. NOTICE RE REDACTION OF TRANSCRIPTS: The
                    parties have thirty (30) calendar days to file with the Court a Notice of Intent to
                    Request Redaction of this transcript. If no such Notice is filed, the transcript will
                    be made remotely electronically available to the public without redaction after 90
                    calendar days. The policy is located on our website at www.vaed.uscourts.gov
                    Transcript may be viewed at the court public terminal or purchased through the
                    court reporter before the deadline for Release of Transcript Restriction. After that
                    date it may be obtained through PACER Redaction Request due 6/9/2020.
                    Redacted Transcript Deadline set for 7/10/2020. Release of Transcript Restriction
                    set for 8/10/2020.(peterson, peppy) (Entered: 05/10/2020)
  05/11/2020    727 ORDER - It is hereby ORDERED that: The Plaintiffs shall file their response to MATT
                    MARTORELLO'S SUPPLEMENTAL BRIEF ADDRESSING THE EFFECT OF THE
                    FOURTH CIRCUIT'S DECISION ON PLAINTIFFS' MOTION FOR CLASS
                    CERTIFICATION (EOF No. 664) by May 21, 2020; and Defendant Matt Martorello
                    shall file his reply by June 4, 2020. Signed by District Judge Robert E. Payne on
                    05/11/2020. (tjoh, ) (Entered: 05/11/2020)

                                                 Page 90
                                                                                            JA090
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 94 of 462

  05/11/2020    728 MOTION for Reconsideration re 714 Memorandum Opinion, 715 Order on Motion to
                    Transfer Case, by Matt Martorello. (Erbach, John) (Entered: 05/11/2020)
  05/11/2020    729 Memorandum in Support re 728 MOTION for Reconsideration re 714 Memorandum
                    Opinion, 715 Order on Motion to Transfer Case, filed by Matt Martorello. (Attachments:
                    # 1 Exhibit A)(Erbach, John) (Entered: 05/11/2020)
  05/12/2020    730 ORDER - The Court shall hold an evidentiary hearing and hear argument on the issues
                    set out in paragraph (1) at 9:30 a.m. on July 21, 2020, continuing to July 22, 2020, if
                    needed. SEE ORDER FOR DETAILS AND DEADLINES. Signed by District Judge
                    Robert E. Payne on 05/12/2020. (tjoh, ) (Entered: 05/12/2020)
  05/12/2020          Set Hearing: Evidentiary Hearing set for 7/21/2020 at 09:30 AM in Richmond
                      Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered: 05/12/2020)
  05/12/2020    731 STATUS REPORT Regarding Attempts to Schedule Telephonic Hearings on
                    Miscellaneous Subpoena Cases by Matt Martorello. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Erbach, John) (Entered: 05/12/2020)
  05/21/2020    732 Consent MOTION for Leave to File Excess Pages by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 05/21/2020)
  05/21/2020    733 Memorandum in Support re 732 Consent MOTION for Leave to File Excess Pages filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 05/21/2020)
  05/21/2020    734 Response to 664 Memorandum in Opposition, filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                    Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                    13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18)
                    (Kelly, Kristi) (Entered: 05/21/2020)
  05/21/2020    735 MOTION to Seal Regarding ECF 734 by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi)
                    (Entered: 05/21/2020)
  05/21/2020    736 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 735 MOTION to Seal Regarding ECF 734
                    (Kelly, Kristi) (Entered: 05/21/2020)
  05/21/2020    737 Sealed Attachment/Exhibit(s) re 735 MOTION to Seal Regarding ECF 734.
                    (Attachments: # 1 Exhibit 14, # 2 Exhibit 15)(Kelly, Kristi) (Entered: 05/21/2020)
  05/21/2020    738 Memorandum in Support re 735 MOTION to Seal Regarding ECF 734 filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 05/21/2020)
  05/22/2020    739 Witness List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Bennett, Leonard) (Entered: 05/22/2020)
  05/22/2020    740 ORDER granting 524 PLAINTIFFS' MOTION FOR LEAVE TO SERVE REQUESTS
                    FOR PRODUCTION AND THIRD-PARTY SUBPOENAS. SEE ORDER FOR
                    DETAILS. It is further ORDERED that plaintiffs are permitted to serve a subpoena for
                    certain documents on Ascension. However,it is ORDERED that the reasonable cost of
                    searching for those documents shall be paid by the plaintiffs. Signed by District Judge
                    Robert E. Payne on 05/22/2020. (tjoh, ) (Entered: 05/22/2020)

                                                   Page 91
                                                                                               JA091
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 95 of 462

  05/22/2020    741 RESPONSE in Opposition re 728 MOTION for Reconsideration re 714 Memorandum
                    Opinion, 715 Order on Motion to Transfer Case, filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    05/22/2020)
  05/26/2020    742 ORDER - Pursuant to the ORDER (ECF No. 730) entered on May 12, 2020, it is hereby
                    ORDERED that the evidentiary hearing scheduled for 10:00 a.m. June 5, 2020 is
                    continued to 9:30 a.m. July 21, 2020. It is further ORDERED that MATT
                    MARTORELLO'S MOTION FOR CLARIFICATION OR, IN THE ALTERNATIVE,
                    TO ADJOURN EVIDENTIARY HEARING SCHEDULED FOR JUNE 5, 2020 (ECF
                    Nos. 718 and 719) and PLAINTIFFS' REQUEST FOR A STATUS CONFERENCE
                    REGARDING MISREPRESENTATION HEARING (ECF No. 721) are denied as moot.
                    Signed by District Judge Robert E. Payne on 05/26/2020. (tjoh, ) (Entered: 05/26/2020)
  05/28/2020    743 REPLY to Response to Motion re 728 MOTION for Reconsideration re 714
                    Memorandum Opinion, 715 Order on Motion to Transfer Case, filed by Matt Martorello.
                    (Erbach, John) (Entered: 05/28/2020)
  05/28/2020    744 ORDER that Plaintiffs' 732 Motion for Leave to Exceed Page Limit regarding the
                    Plaintiffs' Response to Matt Martorello's Supplemental Brief Addressing the Effect of
                    the Fourth Circuit Decision on Plaintiffs' Motion for Class Certification is GRANTED.
                    Plaintiffs' response shall not exceed 35 pages and Martorello's reply shall not exceed 25
                    pages. Signed by District Judge Robert E. Payne on 5/28/2020. (jsmi, ) (Entered:
                    05/28/2020)
  05/28/2020    745 Joint MOTION for Extension of Time to File Response/Reply as to 727 Order, 730
                    Order, by Matt Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered:
                    05/28/2020)
  05/29/2020    746 ORDER that Plaintiffs shall file their renewed position on alleged misrepresentations as
                    described in 730 order entered May 12, 2020, on or before June 3, 2020. Plaintiffs shall
                    file their exhibits for the hearing on or before June 3, 2020. Martorello shall file his
                    reply in support of his Supplemental Brief Addressing the Effect of the Fourth Circuit's
                    Decision on Plaintiffs' Motion for Class Certification as described in 727 order entered
                    May 11, 2020, on or before June 15, 2020. Signed by District Judge Robert E. Payne on
                    5/28/2020. (jsmi, ) (Entered: 05/29/2020)
  06/03/2020    747 MOTION Under Rule 30(d) for Further Deposition Based on Conduct that Impeded
                    Questioning by Matt Martorello. (Erbach, John) (Entered: 06/03/2020)
  06/03/2020    748 MOTION to Expedite Motion Under Rule 30(d) for Further Deposition Based on
                    Conduct that Impeded Questioning by Matt Martorello. (Erbach, John) (Entered:
                    06/03/2020)
  06/03/2020    749 Memorandum in Support re 747 MOTION Under Rule 30(d) for Further Deposition
                    Based on Conduct that Impeded Questioning , 748 MOTION to Expedite Motion Under
                    Rule 30(d) for Further Deposition Based on Conduct that Impeded Questioning filed by
                    Matt Martorello. (Attachments: # 1 Exhibit A (Under Seal), # 2 Exhibit B, # 3 Exhibit C
                    (Under Seal))(Erbach, John) (Entered: 06/03/2020)
  06/03/2020    750 MOTION to Seal Unredacted Memorandum and Exhibits Containing Material
                    Designated Confidential-Attorneys' Eyes Only by Plaintiffs by Matt Martorello. (Erbach,
                    John) (Entered: 06/03/2020)
  06/03/2020    751 Memorandum in Support re 750 MOTION to Seal Unredacted Memorandum and
                    Exhibits Containing Material Designated Confidential-Attorneys' Eyes Only by
                    Plaintiffs filed by Matt Martorello. (Erbach, John) (Entered: 06/03/2020)

                                                   Page 92
                                                                                               JA092
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 96 of 462

  06/03/2020    752 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 750 MOTION to Seal
                    Unredacted Memorandum and Exhibits Containing Material Designated Confidential-
                    Attorneys' Eyes Only by Plaintiffs (Erbach, John) (Entered: 06/03/2020)
  06/03/2020    753 UNSEALED PER 40 ORDER ENTERED ON 7/30/2020 - Sealed Memorandum in
                    Support re 750 MOTION to Seal Unredacted Memorandum and Exhibits Containing
                    Material Designated Confidential-Attorneys' Eyes Only by Plaintiffs, 747 MOTION
                    Under Rule 30(d) for Further Deposition Based on Conduct that Impeded Questioning ,
                    748 MOTION to Expedite Motion Under Rule 30(d) for Further Deposition Based on
                    Conduct that Impeded Questioning. (Attachments: # 1 Exhibit A, # 2 Exhibit C)(Erbach,
                    John) Modified on 7/30/2020 (jsmi, ). (Entered: 06/03/2020)
  06/03/2020    754 Exhibit List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams.. (Kelly, Kristi) (Entered: 06/03/2020)
  06/03/2020    755 Memorandum Regarding Material Misrepresentations filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    06/03/2020)
  06/04/2020    756 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 755 Memorandum (Volume I of Exhibits) (Attachments: # 1 Exhibit, # 2
                    Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9
                    Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14 Exhibit, # 15
                    Exhibit, # 16 Exhibit, # 17 Exhibit, # 18 Exhibit, # 19 Exhibit, # 20 Exhibit, # 21
                    Exhibit, # 22 Exhibit, # 23 Exhibit, # 24 Exhibit, # 25 Exhibit, # 26 Exhibit, # 27
                    Exhibit, # 28 Exhibit, # 29 Exhibit, # 30 Exhibit, # 31 Exhibit, # 32 Exhibit, # 33
                    Exhibit, # 34 Exhibit, # 35 Exhibit, # 36 Exhibit, # 37 Exhibit, # 38 Exhibit, # 39
                    Exhibit, # 40 Exhibit, # 41 Exhibit, # 42 Exhibit, # 43 Exhibit, # 44 Exhibit, # 45
                    Exhibit, # 46 Exhibit, # 47 Exhibit, # 48 Exhibit, # 49 Exhibit, # 50 Exhibit, # 51
                    Exhibit, # 52 Exhibit, # 53 Exhibit)(Kelly, Kristi) (Entered: 06/04/2020)
  06/04/2020    757 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 755 Memorandum (Volume II of Exhibits) (Attachments: # 1 Exhibit 54, # 2
                    Exhibit 55, # 3 Exhibit 56, # 4 Exhibit 57, # 5 Exhibit 58, # 6 Exhibit 59, # 7 Exhibit 60,
                    # 8 Exhibit 61, # 9 Exhibit 62, # 10 Exhibit 63, # 11 Exhibit 64, # 12 Exhibit 65, # 13
                    Exhibit 66, # 14 Exhibit 67, # 15 Exhibit 68, # 16 Exhibit 69, # 17 Exhibit 70, # 18
                    Exhibit 71, # 19 Exhibit 72, # 20 Exhibit 73, # 21 Exhibit 74, # 22 Exhibit 75, # 23
                    Exhibit 76, # 24 Exhibit 77, # 25 Exhibit 78, # 26 Exhibit 79, # 27 Exhibit 80, # 28
                    Exhibit 81, # 29 Exhibit 82, # 30 Exhibit 83, # 31 Exhibit 84, # 32 Exhibit 86, # 33
                    Exhibit 87, # 34 Exhibit 88, # 35 Exhibit 89, # 36 Exhibit 90, # 37 Exhibit 91, # 38
                    Exhibit 92, # 39 Exhibit 93, # 40 Exhibit 94, # 41 Exhibit 95, # 42 Exhibit 96, # 43
                    Exhibit 97, # 44 Exhibit 98, # 45 Exhibit 99, # 46 Exhibit 101, # 47 Exhibit 102, # 48
                    Exhibit 107)(Kelly, Kristi) (Entered: 06/04/2020)
  06/04/2020    758 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 06/04/2020)
  06/04/2020    759 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 758 MOTION to Seal (Kelly, Kristi)
                    (Entered: 06/04/2020)
  06/04/2020    760 UNSEALED PER 799 ORDER ENTERED ON 6/24/2020 - Sealed
                    Attachment/Exhibit(s) re 758 MOTION to Seal . (Attachments: # 1 Exhibit Ex. 3, # 2
                    Exhibit Ex. 5, # 3 Exhibit Ex. 6, # 4 Exhibit Ex. 18, # 5 Exhibit Ex. 31, # 6 Exhibit Ex.
                    39, # 7 Exhibit Ex. 40)(Kelly, Kristi) Modified on 6/24/2020 (jsmi, ). (Entered:
                    06/04/2020)

                                                    Page 93
                                                                                                 JA093
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 97 of 462

   06/04/2020   761 Memorandum in Support re 758 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    06/04/2020)
   06/04/2020   762 Motion to appear Pro Hac Vice by Michael Allen Caddell and Certification of Local
                    Counsel Leonard Bennett Filing fee $ 75, receipt number 0422-7232323. by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett,
                    Leonard) (Entered: 06/04/2020)
   06/04/2020   763 ORDER that 728 MOTION FOR RECONSIDERATION OF ORDER DENYING
                    MOTION TO TRANSFER will be denied. See Order for details. Signed by District
                    Judge Robert E. Payne on 6/4/2020. (jsmi, ) (Entered: 06/04/2020)
   06/04/2020           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 6/4/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow) (Entered:
                        07/06/2020)
   06/05/2020   764 ORDER granting 762 Motion for Pro hac vice. Michael Allen Caddell appointed for
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, and Lula Williams.
                    Signed by District Judge Robert E. Payne on 6/5/2020. (jsmi, ) (Entered: 06/05/2020)
   06/05/2020   765 Witness List by Matt Martorello. (Erbach, John) (Entered: 06/05/2020)
   06/08/2020   766 TRANSCRIPT of proceedings held on June 5, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267, email
                    peppypeterson@gmail.com. NOTICE RE REDACTION OF TRANSCRIPTS: The
                    parties have thirty (30) calendar days to file with the Court a Notice of Intent to
                    Request Redaction of this transcript. If no such Notice is filed, the transcript will
                    be made remotely electronically available to the public without redaction after 90
                    calendar days. The policy is located on our website at www.vaed.uscourts.gov
                    Transcript may be viewed at the court public terminal or purchased through the
                    court reporter before the deadline for Release of Transcript Restriction. After that
                    date it may be obtained through PACER Redaction Request due 7/8/2020.
                    Redacted Transcript Deadline set for 8/10/2020. Release of Transcript Restriction
                    set for 9/8/2020.(peterson, peppy) (Entered: 06/08/2020)
   06/08/2020   767 ORDER - it is hereby ORDERED that the plaintiffs' MOTION TO SEAL (ECF No.
                    735) is granted and Exhibits 14 and 15 (ECF No. 737) to PLAINTIFFS' RESPONSE TO
                    MATT MARTORELLO'S SUPPLEMENTAL BRIEF ADDRESSING THE EFFECT OF
                    THE FOURTH CIRCUIT'S DECISION ON PLAINTIFFS' MOTION FOR CLASS
                    CERTIFICATION (ECF No. 734) are filed under seal; provided that appropriately
                    redacted versions thereof are filed in the public record. Signed by District Judge Robert
                    E. Payne on 06/08/2020. (tjoh, ) (Entered: 06/08/2020)
   06/08/2020   768 ORDER - ORDER - By June 8, 2020, Defendant Matt Martorello ("Martorello") shall
                    file a supplement and Martorello shall certify that he has given the list of questions that
                    is the subject of paragraph (1) to the U.S. Attorney for the Western District of Michigan
                    and to the FBI office in Detroit, Michigan; By June 11, 2020, the Plaintiffs shall file
                    their response; By June 17, 2020, the United States shall file a statement of position; by
                    June 20, 2020, Martorello shall file his reply. It is further ORDERED that the Clerk shall
                    send a copy of this ORDER to the U.S. Attorney for the Western District of Michigan.
                    SEE ORDER FOR DETAILS. Signed by District Judge Robert E. Payne on 06/08/2020.
                    Copies distributed as directed. Signed by District Judge Robert E. Payne on 06/08/2020.
                    (tjoh, ) (Entered: 06/08/2020)
   06/08/2020   769 Memorandum Supplementing per Order to 768 Order,,, 747 MOTION Under Rule 30(d)
                    for Further Deposition Based on Conduct that Impeded Questioning filed by Matt

                                                   Page 94
                                                                                                JA094
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 98 of 462

                        Martorello. (Attachments: # 1 Exhibit 1)(Erbach, John) (Entered: 06/08/2020)
   06/08/2020   770 CERTIFICATE of Service on Special Agent in Charge of Detroit FBI Field Office and
                    U.S. Attorney for the Western District of Michigan re 768 Order,,, by John Michael
                    Erbach on behalf of Matt Martorello (Erbach, John) (Entered: 06/08/2020)
   06/10/2020   771 RESPONSE in Support re 758 MOTION to Seal filed by Rosette, LLP. (Reilly, Craig)
                    (Entered: 06/10/2020)
   06/10/2020   772 RESPONSE in Opposition re 758 MOTION to Seal filed by Matt Martorello.
                    (Attachments: # 1 Exhibit 1)(Erbach, John) (Entered: 06/10/2020)
   06/11/2020   773 RESPONSE to Motion re 747 MOTION Under Rule 30(d) for Further Deposition Based
                    on Conduct that Impeded Questioning , 748 MOTION to Expedite Motion Under Rule
                    30(d) for Further Deposition Based on Conduct that Impeded Questioning filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B - FILED UNDER SEAL)(Bennett, Leonard)
                    (Entered: 06/11/2020)
   06/11/2020   774 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered:
                    06/11/2020)
   06/11/2020   775 Memorandum in Support re 774 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    06/11/2020)
   06/11/2020   776 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 773 Response to Motion, 775 Memorandum
                    in Support, 774 MOTION to Seal (Bennett, Leonard) (Entered: 06/11/2020)
   06/11/2020   777 UNSEALED PER 40 ORDER ENTERED ON 7/30/2020 - Sealed
                    Response/Reply/Opposition re 773 Response to Motion,. (Bennett, Leonard) Modified
                    on 7/30/2020 (jsmi, ). (Entered: 06/11/2020)
   06/11/2020   778 UNSEALED PER 901 ORDER ENTERED ON 7/30/2020 - Sealed Document re 773
                    Response to Motion,. (Attachments: # 1 Certificate of Service)(Bennett, Leonard)
                    Modified on 7/30/2020 (jsmi, ). (Entered: 06/11/2020)
   06/12/2020   779 Consent MOTION to Amend/Correct 755 Memorandum by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                    Order)(Kelly, Kristi) (Entered: 06/12/2020)
   06/12/2020   780 Memorandum in Support re 779 Consent MOTION to Amend/Correct 755
                    Memorandum filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1 - Proposed Brief)(Kelly, Kristi) (Entered:
                    06/12/2020)
   06/15/2020   781 REPLY to Response to Motion re 189 MOTION to Certify Class against Defendant
                    Matt Martorello Reply in Support of Supplemental Brief Addressing the Effect of the
                    Fourth Circuit's Decision on Plaintiffs' Motion for Class Certification [Reply to ECF
                    No. 734] filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                    Exhibit C)(Erbach, John) (Entered: 06/15/2020)
   06/16/2020   782 ORDER - It is hereby ORDERED that PLAINTIFFS' CONSENT MOTION FOR
                    LEAVE TO FILE AN AMENDED MEMORANDUM REGARDING MATERIAL
                    MISREPRESENTATIONS (3:17-cv- 461, ECF No. 779; 3:18-cv-406, ECF No. 429) is
                    GRANTED. It is further ORDERED that Plaintiffs shall file the Amended Memorandum


                                                    Page 95
                                                                                                JA095
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 99 of 462

                        within one business day of entry of this Order. Signed by District Judge Robert E. Payne
                        on 6/15/2020. (smej, ) (Entered: 06/16/2020)
   06/16/2020           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 6/16/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                        (Entered: 07/06/2020)
   06/17/2020   783 Response to 768 Order,,, Statement of Position filed by UNITED STATES OF
                    AMERICA. (Hambrick, Jonathan) (Entered: 06/17/2020)
   06/17/2020   784 Memorandum Regarding Material Misrepresentations (Replacement Memorandum)
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                    Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                    Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                    Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                    Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                    Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                    Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                    Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46
                    Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50)(Kelly,
                    Kristi) (Entered: 06/17/2020)
   06/17/2020   785 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 784 Memorandum,,,, (Notice Attaching Remaining Exhibits) (Attachments:
                    # 1 Exhibit 51, # 2 Exhibit 52, # 3 Exhibit 53, # 4 Exhibit 54, # 5 Exhibit 55, # 6 Exhibit
                    56, # 7 Exhibit 57, # 8 Exhibit 58, # 9 Exhibit 59, # 10 Exhibit 60, # 11 Exhibit 61, # 12
                    Exhibit 62, # 13 Exhibit 63, # 14 Exhibit 64, # 15 Exhibit 65, # 16 Exhibit 66, # 17
                    Exhibit 67, # 18 Exhibit 68, # 19 Exhibit 69, # 20 Exhibit 70, # 21 Exhibit 71, # 22
                    Exhibit 72, # 23 Exhibit 73, # 24 Exhibit 74, # 25 Exhibit 75, # 26 Exhibit 76, # 27
                    Exhibit 77, # 28 Exhibit 78, # 29 Exhibit 79, # 30 Exhibit 80, # 31 Exhibit 81, # 32
                    Exhibit 82, # 33 Exhibit 83, # 34 Exhibit 84, # 35 Exhibit 85, # 36 Exhibit 86, # 37
                    Exhibit 87, # 38 Exhibit 88, # 39 Exhibit 89, # 40 Exhibit 90, # 41 Exhibit 91, # 42
                    Exhibit 92, # 43 Exhibit 93, # 44 Exhibit 94, # 45 Exhibit 95, # 46 Exhibit 96, # 47
                    Exhibit 97, # 48 Exhibit 98)(Kelly, Kristi) (Entered: 06/17/2020)
   06/17/2020   786 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 06/17/2020)
   06/17/2020   787 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 786 MOTION to Seal (Kelly, Kristi)
                    (Entered: 06/17/2020)
   06/17/2020   788 UNSEALED PER 813 ORDER - Sealed Attachment/Exhibit(s) re 786 MOTION to Seal
                    . (Attachments: # 1 Exhibit 5, # 2 Exhibit 40, # 3 Exhibit 41)(Kelly, Kristi) Modified
                    docket text on 7/7/2020 (jsmi, ). (Entered: 06/17/2020)
   06/17/2020   789 Memorandum in Support re 786 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    06/17/2020)
   06/18/2020   790 REPLY to Response to Motion re 747 MOTION Under Rule 30(d) for Further
                    Deposition Based on Conduct that Impeded Questioning filed by Matt Martorello.
                    (Attachments: # 1 Exhibit A)(Erbach, John) (Entered: 06/18/2020)
   06/22/2020   791 RESPONSE in Support re 786 MOTION to Seal re EXHIBITS 40 & 41 filed by Rosette,
                    LLP. (Attachments: # 1 Proposed Order)(Reilly, Craig) (Entered: 06/22/2020)

                                                     Page 96
                                                                                                  JA096
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 100 of 462

   06/22/2020   792 MOTION to Bar Testimony from Defendant Matt Martorello's Experts At the
                    Misrepresentation Hearing by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 06/22/2020)
   06/22/2020   793 Memorandum in Support re 792 MOTION to Bar Testimony from Defendant Matt
                    Martorello's Experts At the Misrepresentation Hearing filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit
                    "1", # 2 Exhibit "2", # 3 Exhibit "3", # 4 Exhibit "4", # 5 Exhibit "5", # 6 Exhibit "6", #
                    7 Exhibit "7")(Bennett, Leonard) (Entered: 06/22/2020)
   06/23/2020   794 MOTION Plaintiffs' Motion to Exclude Testimony from Witnesses Not Identified in
                    Discovery at the Misrepresentations Hearing by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 06/23/2020)
   06/23/2020   795 Memorandum in Support re 794 MOTION Plaintiffs' Motion to Exclude Testimony from
                    Witnesses Not Identified in Discovery at the Misrepresentations Hearing filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit "A", # 2 Exhibit "B")(Bennett, Leonard) (Entered: 06/23/2020)
   06/23/2020   796 MOTION Plaintiffs' Rule 32 Motion to Exclude Prior Deposition Testimony from
                    Defendant Matt Martorello's Witnesses at the Misrepresentations Hearing by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett,
                    Leonard) (Entered: 06/23/2020)
   06/23/2020   797 Memorandum in Support re 796 MOTION Plaintiffs' Rule 32 Motion to Exclude Prior
                    Deposition Testimony from Defendant Matt Martorello's Witnesses at the
                    Misrepresentations Hearing filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit "A", # 2 Exhibit "B", # 3
                    Exhibit "C", # 4 Exhibit "D", # 5 Exhibit "E")(Bennett, Leonard) (Entered: 06/23/2020)
   06/24/2020   798 TRANSCRIPT of proceedings held on June 16, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 7/24/2020. Redacted Transcript Deadline set for 8/24/2020.
                    Release of Transcript Restriction set for 9/22/2020.(peterson, peppy) (Entered:
                    06/24/2020)
   06/24/2020   799 ORDER that that 758 MOTION TO SEAL is DENIED and that the Plaintiffs' Statement
                    of Position, Exhibit 3, Exhibit 5, Exhibit 6, Exhibit 18, Exhibit 31, Exhibit 39, and
                    Exhibit 40 shall be removed from under seal by the Clerk and placed in the public
                    record. See Order for details. Signed by District Judge Robert E. Payne on 6/24/2020.
                    (jsmi, ) (Entered: 06/24/2020)
   06/24/2020   800 TRANSCRIPT of proceedings held on June 24, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of

                                                    Page 97
                                                                                                  JA097
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 101 of 462

                        Transcript Restriction. After that date it may be obtained through PACER
                        Redaction Request due 7/24/2020. Redacted Transcript Deadline set for 8/24/2020.
                        Release of Transcript Restriction set for 9/22/2020.(peterson, peppy) (Entered:
                        06/24/2020)
   06/24/2020   801 ORDER - It is hereby ORDERED that: By July 1, 2020, Matt Martorello ("Martorello")
                    shall file his response to PLAINTIFFS' MOTION TO BAR TESTIMONY FROM
                    DEFENDANT MATT MARTORELLO'S "EXPERTS" AT THE
                    MISREPRESENTATIONS HEARING (3:17-cv-461 ("Williams"), ECF No. 792; 3:18-
                    cv-406 ("Galloway I"), ECF No. 440); By July 8, 2020, Plaintiffs shall file their reply;
                    By July 1, 2020, Martorello shall file his response to PLAINTIFFS' MOTION TO
                    EXCLUDE TESTIMONY FROM WITNESSES NOT IDENTIFIED IN DISCOVERY
                    AT THE MISREPRESENTATIONS HEARING (Williams, ECF No. 794; Galloway I,
                    ECF No. 442); By July 8, 2020, Plaintiffs shall file their reply; By July 1, 2020,
                    Martorello shall file his response toPLAINTIFFS' RULE 32 MOTION TO EXCLUDE
                    PRIOR DEPOSITION TESTIMONY FROM DEFENDANT MATT MARTORELLO'S
                    WITNESSES AT THE MISREPRESENTATIONS HEARING (Williams, ECF No. 796;
                    Galloway I, ECF No. 444); and By July 8, 2020, Plaintiffs shall file their reply. Signed
                    by District Judge Robert E. Payne on 06/24/2020. (tjoh, ) (Entered: 06/24/2020)
   06/24/2020           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 6/24/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                        (Entered: 07/06/2020)
   06/30/2020   802 ORDER re 34 MOTION TO QUASH OR MODIFY SUBPOENAS DIRECTED TO
                    KARRIE WICHTMAN. The Motion is DENIED AS MOOT with respect to the
                    Plaintiffs' subpoena. The MOTION is GRANTED as to Martorello's subpoena to the
                    extent that Martorello seeks to question Wichtman on topics other than those outlined in
                    paragraph 2. The MOTION is DENIED WITHOUT PREJUDICE as to the refiling of a
                    motion to quash that correctly frames and briefs the issues. By July 9, 2020, the
                    Plaintiffs, Martorello, and Wichtman shall inform the Court of their proposed briefing
                    schedule. By July 9, 2020, Martorello and Wichtman shall inform the Court of the date
                    on which Wichtman's deposition shall take place. The Clerk is directed to file this Order
                    in Williams v. Big Picture Loans, LLC, 3:17-cv-461, and in Galloway v. Big Picture
                    Loans, LLC, 3:18-cv-406. Signed by District Judge Robert E. Payne on 6/30/2020.
                    (jsmi, ) (Entered: 06/30/2020)
   06/30/2020   803 MOTION to Withdraw as Attorney by Michelle L. Alamo by Matt Martorello.
                    (Attachments: # 1 Proposed Order)(Erbach, John) (Entered: 06/30/2020)
   07/01/2020   804 Memorandum in Opposition re 796 MOTION Plaintiffs' Rule 32 Motion to Exclude
                    Prior Deposition Testimony from Defendant Matt Martorello's Witnesses at the
                    Misrepresentations Hearing filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                    Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M,
                    # 14 Exhibit N)(Erbach, John) (Entered: 07/01/2020)
   07/01/2020   805 Memorandum in Opposition re 792 MOTION to Bar Testimony from Defendant Matt
                    Martorello's Experts At the Misrepresentation Hearing filed by Matt Martorello.
                    (Erbach, John) (Entered: 07/01/2020)
   07/01/2020   806 Memorandum in Opposition re 794 MOTION Plaintiffs' Motion to Exclude Testimony
                    from Witnesses Not Identified in Discovery at the Misrepresentations Hearing filed by
                    Matt Martorello. (Attachments: # 1 Exhibit A)(Erbach, John) (Entered: 07/01/2020)
   07/02/2020   807 Response to 802 Order,,, JOINT RESPONSE TO COURT'S ORDER REGARDING THE
                    DEPOSITION OF KARRIE WICHTMAN IN RELATION TO JULY 21 EVIDENTIARY

                                                    Page 98
                                                                                                JA098
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023     Pg: 102 of 462

                        HEARING filed by Matt Martorello. (Erbach, John) (Entered: 07/02/2020)
   07/07/2020   808 (AMENDED) Witness List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 07/07/2020)
   07/07/2020   809 MOTION for Entry of Agreed Order Governing Discovery Designations for July 21-22
                    Hearing by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 07/07/2020)
   07/07/2020   810 ORDER GOVERNING DISCOVERY DESIGNATIONS FOR JULY 21 HEARING.
                    The 809 MOTION FOR ENTRY OF AGREED ORDER GOVERNING DISCOVERY
                    DESIGNATIONS is GRANTED. See Order for details and deadlines. Signed by District
                    Judge Robert E. Payne on 7/7/2020. (jsmi, ) (Entered: 07/07/2020)
   07/07/2020   811 ORDER that the July 16, 2020 hearing at 10:00AM on the parties' discovery designation
                    objections shall take place by video conference. Counsel will receive a Zoom invitation
                    to this hearing. Counsel wishing to attend in person may do so. Signed by District Judge
                    Robert E. Payne on 7/7/2020. (jsmi, ) (Entered: 07/07/2020)
   07/07/2020   812 ORDER that the Motion to Withdraw as Counsel for defendant Matt Martorello filed by
                    Michelle L. Alamois GRANTED. The Clerk is DIRECTED to remove Ms. Alamo from
                    the docket and ECF distribution list in this case. Signed by District Judge Robert E.
                    Payne on 7/7/2020. (jsmi, ) (Entered: 07/07/2020)
   07/07/2020   813 ORDER that the Plaintiffs' 786 MOTION TO SEAL is DENIED and that the
                    PLAINTIFFS' 788 STATEMENT OF POSITION REGARDING MATERIAL
                    MISREPRESENTATIONS AND OMISSIONS MADE TO THE COURT, Exhibit 5,
                    Exhibit 40, and Exhibit 41 shall be removed from under seal by the Clerk and placed in
                    the public record. See Order for details. Signed by District Judge Robert E. Payne on
                    7/7/2020. (jsmi, ) (Entered: 07/07/2020)
   07/07/2020   814 ORDER that the refiling of a motion to quash shall occur on the following schedule: (1)
                    The motion to quash shall be filed by September 4, 2020; (2) The response thereto shall
                    be filed by September 18, 2020; and (3) A reply shall be filed by September 24, 2020.
                    The Clerk is directed to file this Order in Williams v. Big Picture Loans, LLC, 3:17-cv-
                    461, and in Galloway v. Big Picture Loans, LLC, 3:18-cv-406. Signed by District Judge
                    Robert E. Payne on 7/7/2020. (jsmi, ) (Entered: 07/07/2020)
   07/07/2020           Set Hearing: Discovery Designation Objections Hearing set for 7/16/2020 at 10:00 AM
                        in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered:
                        07/07/2020)
   07/08/2020   815 RESPONSE in Support re 794 MOTION Plaintiffs' Motion to Exclude Testimony from
                    Witnesses Not Identified in Discovery at the Misrepresentations Hearing filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit "1")(Bennett, Leonard) (Entered: 07/08/2020)
   07/08/2020   816 Reply to Motion re 796 MOTION Plaintiffs' Rule 32 Motion to Exclude Prior
                    Deposition Testimony from Defendant Matt Martorello's Witnesses at the
                    Misrepresentations Hearing filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 07/08/2020)
   07/08/2020   817 Reply to Motion re 792 MOTION to Bar Testimony from Defendant Matt Martorello's
                    Experts At the Misrepresentation Hearing filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    07/08/2020)
   07/08/2020   818 Motion to appear Pro Hac Vice by Douglas Nelson Marsh and Certification of Local
                    Counsel John Michael Erbach Filing fee $ 75, receipt number 0422-7289998. by Matt
                                                   Page 99
                                                                                                 JA099
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 103 of 462

                        Martorello. (Erbach, John) (Entered: 07/08/2020)
   07/09/2020   819 ORDER that, by 5:00 PM on July 9, 2020, Matt Martorello shall file the expert reports
                    of J. Howard Beales, Eric C. Henson, John M. Norman, Richard E. Ross, Lawrence S.
                    Roberts, Lance Morgan, and Gregory Cowhey. See Order for details. Signed by District
                    Judge Robert E. Payne on 7/9/2020. (jsmi, ) (Entered: 07/09/2020)
   07/09/2020   820 ORDER that MATT MARTORELLO'S 747 MOTION UNDER RULE 30(d) FOR
                    FURTHER DEPOSITION BASED ON CONDUCT THAT IMPEDED QUESTIONING
                    AND FOR EXPEDITED RULING is GRANTED. MATT MARTORELLO'S 748
                    MOTION UNDER RULE 30(d) FOR FURTHER DEPOSITION BASED ON
                    CONDUCT THAT IMPEDED QUESTIONING AND FOR EXPEDITED RULING is
                    DENIED AS MOOT. See Order for additional details and deadlines. Signed by District
                    Judge Robert E. Payne on 7/9/2020. (jsmi, ) (Entered: 07/09/2020)
   07/09/2020   821 NOTICE by Matt Martorello re 819 Order, (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, #
                    3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Mullins, Maurice)
                    (Entered: 07/09/2020)
   07/09/2020   822 MOTION to Seal Expert Reports by Matt Martorello. (Attachments: # 1 Proposed
                    Order)(Mullins, Maurice) (Entered: 07/09/2020)
   07/09/2020   823 Memorandum in Support re 822 MOTION to Seal Expert Reports filed by Matt
                    Martorello. (Mullins, Maurice) (Entered: 07/09/2020)
   07/09/2020   824 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 822 MOTION to Seal
                    Expert Reports (Mullins, Maurice) (Entered: 07/09/2020)
   07/09/2020   825 Sealed Document re 822 MOTION to Seal Expert Reports. (Attachments: # 1 Exhibit 3,
                    # 2 Exhibit 4, # 3 Exhibit 7)(Mullins, Maurice) (Entered: 07/09/2020)
   07/10/2020   826 ORDER that Defendant Matt Martorello shall file by 12:00 PM on July 13, 2020 a
                    notice detailing which experts he intends to call at the misrepresentations hearing to be
                    held on July 21-22, 2020. Signed by District Judge Robert E. Payne on 7/10/2020. (jsmi,
                    ) (Entered: 07/10/2020)
   07/10/2020   827 ORDER that PLAINTIFFS' 794 MOTION TO EXCLUDE TESTIMONY FROM
                    WITNESSES NOT IDENTIFIED IN DISCOVERY AT THE MISREPRESENTATIONS
                    HEARING is HELD IN ABEYANCE as to whether Kym Bunn and Monique Castera
                    may testify at the misrepresentations hearing to be held on July 21-22, 2020. The
                    Plaintiffs shall have leave to depose the Witnesses at Issue. By July 14, 2020 at 9:00
                    AM, Defendant Matt Martorello shall file a notice detailing the topics on which he
                    intends to examine the Witnesses at Issue on direct examination. Signed by District
                    Judge Robert E. Payne on 7/10/2020. (jsmi, ) (Entered: 07/10/2020)
   07/10/2020   828 ORDER that PLAINTIFFS' 796 RULE 32 MOTION TO EXCLUDE PRIOR
                    DEPOSITION TESTIMONY FROM DEFENDANT MATT MARTORELLO'S
                    WITNESSES AT THE MISREPRESENTATIONS HEARING is GRANTED. See Order
                    for additional details. Signed by District Judge Robert E. Payne on 7/10/2020. (jsmi, )
                    (Entered: 07/10/2020)
   07/10/2020   829 ORDER that the Plaintiffs and Defendant Matt Martorello shall file by July 13, 2020 at
                    9:00 AM notices detailing: (1) Which witnesses the parties intend to call in person; (2)
                    Which witnesses the parties intend to call via video conference; and (3) Which witnesses
                    the parties intend to call through deposition testimony. Signed by District Judge Robert
                    E. Payne on 7/10/2020. (jsmi, ) (Entered: 07/10/2020)
   07/12/2020   830 NOTICE by Matt Martorello re 820 Order on Motion for Miscellaneous Relief,, Order
                    on Motion to Expedite, Joint Notice Regarding Continued Deposition of Joette Pete
                                                    Page 100
                                                                                                JA100
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023     Pg: 104 of 462

                        (Erbach, John) (Entered: 07/12/2020)
   07/12/2020   831 NOTICE by Matt Martorello re 829 Order, Regarding Witness Testimony at July 21
                    Hearing (Erbach, John) (Entered: 07/12/2020)
   07/12/2020   832 NOTICE by Matt Martorello re 827 Order,, Regarding Witnesses Kym Bunn and
                    Monique Castero (Erbach, John) (Entered: 07/12/2020)
   07/12/2020   833 (Amended) Witness List by Matt Martorello. (Erbach, John) (Entered: 07/12/2020)
   07/12/2020   834 NOTICE by Matt Martorello re 826 Order, Regarding Expert Witness Testimony at July
                    21 Hearing (Erbach, John) (Entered: 07/12/2020)
   07/13/2020   835 Plaintiff' Second Amended Witness List by Lula Williams. (Bennett, Leonard). Modified
                    docket entry on 07/13/2020. (walk, ) (Entered: 07/13/2020)
   07/13/2020   836 ORDER that the PLAINTIFFS' MOTION TO EXCLUDE TESTIMONY FROM
                    WITNESSES NOT IDENTIFIED IN DISCOVERY AT THE MISREPRESENTATIONS
                    HEARING (Williams, ECF No. 794 ; Galloway I, ECF No. 442 ) is DENIED AS
                    MOOT. It is so ORDERED. Signed by Senior United States District Judge Robert E.
                    Payne on 7/13/2020. (sbea,) (Entered: 07/13/2020)
   07/13/2020   837 ORDER that Defendant Matt Martorello having represented that "he no longer intends
                    to call Ms. Bunn and Ms. Castero at the evidentiary hearing,"(Williams v. Big Picture
                    Loans, LLC, 3:17-cv-461 (E.D. Va.) ("Williams"), ECF No. 832 ; Galloway v. Big
                    Picture Loans, LLC, 3:18-cv-406 (E.D. Va.) ("Galloway I"), ECF No. (492), it is hereby
                    ORDERED that the PLAINTIFFS' MOTION TO EXCLUDE TESTIMONY FROM
                    WITNESSES NOT IDENTIFIED IN DISCOVERY AT THE MISREPRESENTATIONS
                    HEARING (Williams, ECF No. 794 ; Galloway I, ECF No. (442) is DENIED AS
                    MOOT. It is so ORDERED. Signed by District Judge Robert E. Payne on 07/13/2020.
                    (walk, ) (Entered: 07/13/2020)
   07/13/2020   838 ORDER that: 1) The PLAINTIFFS' NOTICE REGARDING COMPLIANCE WITH
                    ECF NO. 654 (DOCUMENTS PERTAINING TO JENNIFER WEDDLE) (Williams,
                    ECF No. 672 ) be stricken as an improper pleading because it does not comply with the
                    Federal Rules of Civil Procedure's motion requirements; 2) The RESPONSE OF NON-
                    PARTY JENNIFER WEDDLE TO PLAINTIFFS' NOTICE REGARDING
                    COMPLIANCE WITH ECF NO. 654 (Weddle, ECF No. 41) be stricken as an improper
                    response to the Plaintiffs' Document; 3) Counsel for all parties are admonished to ensure
                    that their filings comply with the Federal Rules of Civil Procedure; 4) MATT
                    MARTORELLO'S MOTION TO STRIKE PLAINTIFFS' NOTICE (Williams, ECF No.
                    677 ) is DENIED AS MOOT; and 5) The PLAINTIFFS' MOTION TO ENFORCE
                    COURT'S MINUTE ORDER (Williams, ECF No. 687 ) is DENIED because the Court
                    required that counsel for Jennifer Weddle ("Weddle") and the Plaintiffs, not counsel for
                    Martorello, create a list of documents that were destroyed and the Minute Sheet
                    (Williams, ECF No. 654 ) contained a clerical error. See Order for details. It is so
                    ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                    7/13/2020. (sbea,) (Entered: 07/13/2020)
   07/13/2020   839 Discovery Designation by Matt Martorello.(Mullins, Maurice) (Entered: 07/13/2020)
   07/13/2020   840 Discovery Designation by Dowin Coffy, Marcella P. Singh, Gloria Turnage, Lula
                    Williams.(Bennett, Leonard) (Entered: 07/13/2020)
   07/13/2020   841 Discovery Designation by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams.(Bennett, Leonard) (Entered: 07/13/2020)
   07/13/2020   842 Discovery Designation by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria


                                                   Page 101
                                                                                               JA101
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 105 of 462

                      Turnage, Lula Williams.(Bennett, Leonard) (Entered: 07/13/2020)
  07/13/2020    843 Response to 784 Memorandum,,,, Matt Martorello's Response to Plaintiffs' Statement of
                    Position (Redacted Version) filed by Matt Martorello. (Erbach, John) (See Dkt. Entry
                    851 Ex. 1 Sealed (Unredacted) Response. Modified docket event on 9/1/2020 (jtho, ).
                    (Entered: 07/13/2020)
  07/13/2020    844 NOTICE by Matt Martorello re 843 Response (Exhibits Volume I) (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                    Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, #
                    13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                    Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit
                    W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, #
                    29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit EE, # 32 Exhibit FF, # 33 Exhibit GG, #
                    34 Exhibit HH, # 35 Exhibit II, # 36 Exhibit JJ, # 37 Exhibit KK, # 38 Exhibit LL, # 39
                    Exhibit MM, # 40 Exhibit NN, # 41 Exhibit OO, # 42 Exhibit PP, # 43 Exhibit QQ, # 44
                    Exhibit RR, # 45 Exhibit SS, # 46 Exhibit TT, # 47 Exhibit UU, # 48 Exhibit VV, # 49
                    Exhibit WW, # 50 Exhibit XX, # 51 Exhibit YY, # 52 Exhibit ZZ)(Erbach, John)
                    (Entered: 07/13/2020)
  07/13/2020    845 NOTICE by Matt Martorello re 843 Response (Exhibits Volume II) (Attachments: # 1
                    Exhibit AAA, # 2 Exhibit BBB, # 3 Exhibit CCC, # 4 Exhibit DDD, # 5 Exhibit EEE, #
                    6 Exhibit FFF, # 7 Exhibit GGG, # 8 Exhibit HHH, # 9 Exhibit III, # 10 Exhibit JJJ, # 11
                    Exhibit KKK, # 12 Exhibit LLL, # 13 Exhibit MMM, # 14 Exhibit NNN, # 15 Exhibit
                    OOO, # 16 Exhibit PPP, # 17 Exhibit QQQ, # 18 Exhibit RRR, # 19 Exhibit SSS, # 20
                    Exhibit TTT, # 21 Exhibit UUU, # 22 Exhibit VVV, # 23 Exhibit WWW, # 24 Exhibit
                    XXX, # 25 Exhibit YYY, # 26 Exhibit ZZZ, # 27 Exhibit AAAA, # 28 Exhibit BBBB, #
                    29 Exhibit CCCC, # 30 Exhibit DDDD, # 31 Exhibit EEEE, # 32 Exhibit FFFF, # 33
                    Exhibit GGGG, # 34 Exhibit HHHH, # 35 Exhibit IIII, # 36 Exhibit JJJJ, # 37 Exhibit
                    KKKK, # 38 Exhibit LLLL, # 39 Exhibit MMMM, # 40 Exhibit NNNN, # 41 Exhibit
                    OOOO, # 42 Exhibit PPPP, # 43 Exhibit QQQQ, # 44 Exhibit RRRR, # 45 Exhibit
                    SSSS, # 46 Exhibit TTTT, # 47 Exhibit UUUU, # 48 Exhibit VVVV, # 49 Exhibit
                    WWWW, # 50 Exhibit XXXX, # 51 Exhibit YYYY, # 52 Exhibit ZZZZ)(Erbach, John)
                    (Entered: 07/13/2020)
  07/13/2020    846 Exhibit List by Matt Martorello.. (Mullins, Maurice) (Entered: 07/13/2020)
  07/13/2020    847 NOTICE by Matt Martorello re 843 Response (Exhibits Volume III) (Attachments: # 1
                    Exhibit AAAAA, # 2 Exhibit BBBBB, # 3 Exhibit CCCCC, # 4 Exhibit DDDDD, # 5
                    Exhibit EEEEE, # 6 Exhibit FFFFF, # 7 Exhibit GGGGG, # 8 Exhibit HHHHH, # 9
                    Exhibit IIIII, # 10 Exhibit JJJJJ, # 11 Exhibit KKKKK, # 12 Exhibit LLLLL, # 13
                    Exhibit MMMMM, # 14 Exhibit NNNNN, # 15 Exhibit OOOOO, # 16 Exhibit PPPPP,
                    # 17 Exhibit QQQQQ, # 18 Exhibit RRRRR, # 19 Exhibit SSSSS, # 20 Exhibit TTTTT,
                    # 21 Exhibit UUUUU, # 22 Exhibit VVVVV, # 23 Exhibit WWWWW, # 24 Exhibit
                    XXXXX, # 25 Exhibit YYYYY, # 26 Exhibit ZZZZZ, # 27 Exhibit AAAAAA, # 28
                    Exhibit BBBBBB, # 29 Exhibit CCCCCC, # 30 Exhibit DDDDDD, # 31 Exhibit
                    EEEEEE, # 32 Exhibit FFFFFF, # 33 Exhibit GGGGGG, # 34 Exhibit HHHHHH, # 35
                    Exhibit IIIIII, # 36 Exhibit JJJJJJ, # 37 Exhibit KKKKKK, # 38 Exhibit LLLLLL, # 39
                    Exhibit MMMMMM, # 40 Exhibit NNNNNN, # 41 Exhibit OOOOOO, # 42 Exhibit
                    PPPPPP, # 43 Exhibit QQQQQQ, # 44 Exhibit RRRRRR, # 45 Exhibit SSSSSS, # 46
                    Exhibit TTTTTT, # 47 Exhibit UUUUUU, # 48 Exhibit VVVVVV, # 49 Exhibit
                    WWWWWW, # 50 Exhibit XXXXXX, # 51 Exhibit AAAAAAA)(Erbach, John)
                    (Entered: 07/13/2020)
  07/13/2020    848 MOTION to Seal Exhibits Filed With Martorello's Response to Plaintiffs' Statement of
                    Position by Matt Martorello. (Erbach, John) (Entered: 07/13/2020)

                                                  Page 102
                                                                                               JA102
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023      Pg: 106 of 462

   07/13/2020   849 Memorandum in Support re 848 MOTION to Seal Exhibits Filed With Martorello's
                    Response to Plaintiffs' Statement of Position filed by Matt Martorello. (Erbach, John)
                    (Entered: 07/13/2020)
   07/13/2020   850 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 848 MOTION to Seal
                    Exhibits Filed With Martorello's Response to Plaintiffs' Statement of Position (Erbach,
                    John) (Entered: 07/13/2020)
   07/13/2020   851 Sealed Attachment/Exhibit(s) re 848 MOTION to Seal Exhibits Filed With Martorello's
                    Response to Plaintiffs' Statement of Position, 843 Response. (Attachments: # 1
                    Unredacted Response, # 2 Exhibit A, # 3 Exhibit D, # 4 Exhibit G, # 5 Exhibit I, # 6
                    Exhibit J, # 7 Exhibit L, # 8 Exhibit M, # 9 Exhibit U, # 10 Exhibit V, # 11 Exhibit W, #
                    12 Exhibit Y, # 13 Exhibit AA, # 14 Exhibit BB, # 15 Exhibit CC, # 16 Exhibit DD, # 17
                    Exhibit FF, # 18 Exhibit GG, # 19 Exhibit HH, # 20 Exhibit II, # 21 Exhibit KK, # 22
                    Exhibit NN, # 23 Exhibit PP, # 24 Exhibit RR, # 25 Exhibit SS, # 26 Exhibit TT, # 27
                    Exhibit UU, # 28 Exhibit VV, # 29 Exhibit WW, # 30 Exhibit XX, # 31 Exhibit DDD -
                    Part 1, # 32 Exhibit DDD - Part 2, # 33 Exhibit FFF, # 34 Exhibit KKK, # 35 Exhibit
                    LLL, # 36 Exhibit MMM, # 37 Exhibit NNN, # 38 Exhibit QQQ, # 39 Exhibit YYY)
                    (Erbach, John) (Entered: 07/13/2020)
   07/13/2020   852 Sealed Attachment/Exhibit(s) re 848 MOTION to Seal Exhibits Filed With Martorello's
                    Response to Plaintiffs' Statement of Position, 843 Response. (Attachments: # 1 Exhibit
                    AAAA, # 2 Exhibit BBBB, # 3 Exhibit DDDD, # 4 Exhibit EEEE, # 5 Exhibit FFFF, # 6
                    Exhibit GGGG, # 7 Exhibit HHHH, # 8 Exhibit IIII, # 9 Exhibit JJJJ, # 10 Exhibit
                    KKKK, # 11 Exhibit MMMM, # 12 Exhibit OOOO, # 13 Exhibit PPPP, # 14 Exhibit
                    QQQQ, # 15 Exhibit RRRR, # 16 Exhibit TTTT, # 17 Exhibit UUUU, # 18 Exhibit
                    WWWW, # 19 Exhibit XXXX, # 20 Exhibit YYYY, # 21 Exhibit ZZZZ, # 22 Exhibit
                    AAAAA, # 23 Exhibit BBBBB, # 24 Exhibit CCCCC, # 25 Exhibit DDDDD, # 26
                    Exhibit EEEEE, # 27 Exhibit FFFFF, # 28 Exhibit GGGGG, # 29 Exhibit HHHHH, # 30
                    Exhibit IIIII, # 31 Exhibit JJJJJ, # 32 Exhibit KKKKK, # 33 Exhibit NNNNN, # 34
                    Exhibit OOOOO, # 35 Exhibit PPPPP, # 36 Exhibit RRRRR, # 37 Exhibit SSSSS, # 38
                    Exhibit TTTTT, # 39 Exhibit UUUUU, # 40 Exhibit WWWWW, # 41 Exhibit XXXXX,
                    # 42 Exhibit YYYYY, # 43 Exhibit AAAAAA, # 44 Exhibit BBBBBB, # 45 Exhibit
                    DDDDDD, # 46 Exhibit EEEEEE, # 47 Exhibit FFFFFF, # 48 Exhibit GGGGGG, # 49
                    Exhibit IIIIII, # 50 Exhibit JJJJJJ, # 51 Exhibit KKKKKK, # 52 Exhibit LLLLLL, # 53
                    Exhibit MMMMMM, # 54 Exhibit NNNNNN, # 55 Exhibit QQQQQQ, # 56 Exhibit
                    RRRRRR, # 57 Exhibit SSSSSS, # 58 Exhibit UUUUUU)(Erbach, John) (Entered:
                    07/13/2020)
   07/14/2020   853 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 7/14/2020.
                    (jsmi, ) (Entered: 07/14/2020)
   07/14/2020   854 UNSEALED PER 40 ORDER ENTERED ON 7/30/2020 - SEALED MEMORANDUM
                    OPINION. (See Redacted Memorandum Opinion 853 ). Signed by District Judge Robert
                    E. Payne on 7/14/2020. Copy mailed to counsel as directed. (jsmi, ) Modified on
                    7/30/2020 (jsmi, ). (Entered: 07/14/2020)
   07/14/2020   855 ORDER that the accompanying MEMORANDUM OPINION, MATT
                    MARTORELLO'S 753 MEMORANDUM IN SUPPORT OF MOTION UNDER RULE
                    30(d) FOR FURTHER DEPOSITION BASED ON CONDUCT THAT IMPEDED
                    QUESTIONING AND FOR EXPEDITED RULING, accompanying Exhibit A,
                    accompanying Exhibit C, and the PLAINTIFFS' 777 RESPONSE TO DEFENDANT
                    MATT MARTORELLO'S MOTIONS UNDER RULE 30(d) and the accompanying
                    exhibit shall be removed from under seal by the Clerk and placed in the public record
                    after 14 days of entry of this ORDER, unless a party demonstrates why sealing is


                                                  Page 103
                                                                                               JA103
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 107 of 462

                      appropriate. Signed by District Judge Robert E. Payne on 7/14/2020. (jsmi, ) (Entered:
                      07/14/2020)
  07/15/2020    856 ORDER granting 818 Motion for Douglas Nelson Marsh to appear as Pro hac vice for
                    Matt Martorello. Signed by District Judge Robert E. Payne on 7/14/2020. (smej, )
                    (Entered: 07/15/2020)
  07/15/2020    857 ORDER - For the reasons stated on the record during the conference call on July 15,
                    2020, it is hereby ORDERED that the hearing scheduled for 10:00 AM on July 16, 2020
                    is CANCELLED. Signed by District Judge Robert E. Payne on 07/15/2020. (smej, )
                    (Entered: 07/15/2020)
  07/15/2020          Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                      Conference held on 7/15/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                      (Entered: 08/05/2020)
  07/16/2020    858 ORDER that the July 21-22 evidentiary hearing shall be accessible by video conference.
                    Counsel and witnesses are strongly encouraged to attend in person if possible. However,
                    counsel will also receive a Zoom invitation to this hearing. Signed by District Judge
                    Robert E. Payne on 7/16/2020. (jsmi, ) (Entered: 07/16/2020)
  07/17/2020    859 ORDER that Matt Martorello' s 822 Motion to Seal is GRANTED with respect to the
                    expert reports of Gregory Cowhey, John M. Norman, and Richard E. Ross. See Order
                    for details. Signed by District Judge Robert E. Payne on 7/17/2020. (jsmi, ) (Entered:
                    07/17/2020)
  07/17/2020    860 Discovery Designation by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams.(Bennett, Leonard) (Entered: 07/17/2020)
  07/17/2020    861 Discovery Designation by Matt Martorello.(Mullins, Maurice) (Entered: 07/17/2020)
  07/17/2020    864 Response to 843 Response filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3,
                    # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, #
                    10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15
                    Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20
                    Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
                    Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30
                    Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35
                    Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37)(Kelly, Kristi) (Entered: 07/17/2020)
  07/17/2020    865 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 07/17/2020)
  07/17/2020    866 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 865 MOTION to Seal (Kelly, Kristi)
                    (Entered: 07/17/2020)
  07/17/2020    867 Sealed Response/Reply/Opposition re 865 MOTION to Seal . (Kelly, Kristi) (Entered:
                    07/17/2020)
  07/17/2020    868 Memorandum in Support re 865 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    07/17/2020)
  07/17/2020    869 Rebuttal Exhibit List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams.. (Kelly, Kristi) (Entered: 07/17/2020)
  07/19/2020    870 Second Amended Witness List by Matt Martorello. (Erbach, John) (Entered: 07/19/2020)

                                                   Page 104
                                                                                                JA104
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 108 of 462

   07/20/2020   871 Discovery Designation by Matt Martorello.(Mullins, Maurice) (Entered: 07/20/2020)
   07/20/2020   872 TRANSCRIPT of proceedings held on July 15, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date, it may be obtained through PACER
                    Redaction Request due 8/19/2020. Redacted Transcript Deadline set for 9/21/2020.
                    Release of Transcript Restriction set for 10/19/2020.(peterson, peppy) (Entered:
                    07/20/2020)
   07/20/2020   873 Supplemental Exhibit List by Matt Martorello.. (Mullins, Maurice) (Entered:
                    07/20/2020)
   07/21/2020   875 Minute Entry for proceedings held before District Judge Robert E. Payne: Evidentiary
                    Hearing held on 7/21/2020. Opening statements made; testimony of witness Matt
                    Martorello heard; matter continued tomorrow 07/22/2020 at 9:30 a.m. (Attachment: # 1
                    Exhibit & Witness List) (Court Reporter Peppy Peterson, OCR.) (nbrow) (Entered:
                    07/21/2020)
   07/21/2020           Set Hearing: Evidentiary Hearing: Part II set for 7/22/2020 at 09:30 AM in Richmond
                        Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered: 07/21/2020)
   07/22/2020   876 MOTION for Leave to File to File Supplemental Authority Regarding Fourth Circuit's
                    Decision in Gibbs by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Guzzo, Andrew) (Entered:
                    07/22/2020)
   07/22/2020   877 Memorandum in Support re 876 MOTION for Leave to File to File Supplemental
                    Authority Regarding Fourth Circuit's Decision in Gibbs filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 -
                    Gibbs Opinion)(Guzzo, Andrew) (Entered: 07/22/2020)
   07/22/2020   878 Minute Entry for proceedings held before District Judge Robert E. Payne: Evidentiary
                    Hearing held on 7/22/2020. Testimony of Matt Martorello heard; plaintiffs moved to
                    admit all exhibits into evidence - no objection from defendant; parties to file charts &
                    statement of positions on loan criteria by 07/29/2020, briefs on misrepresentations by
                    07/31/2020; defendant to file statement of position on plaintiffs' motion for leave to file
                    supplemental authority by 07/24/2020; parties to order transcripts, if needed.
                    (Attachment: # 1 Exhibit & Witness List) (Court Reporter Peppy Peterson, OCR.)
                    (nbrow) (Entered: 07/22/2020)
   07/23/2020   879 ORDER that 792 PLAINTIFFS' MOTION TO BAR TESTIMONY FROM
                    DEFENDANT MATT MARTORELLO'S "EXPERTS" AT THE
                    MISREPRESENTATIONS HEARING is DENIED AS MOOT. Signed by District Judge
                    Robert E. Payne on 7/23/2020. (jsmi, ) (Entered: 07/23/2020)
   07/23/2020   880 ORDER that by July 24, 2020, Matt Martorello shall file a statement of position with
                    respect to the Plaintiffs' 876 MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                    AUTHORITY. By July 29, 2020, the parties shall file in both listed actions a chart
                    showing how and through which trusts, corporations, people, or other entities money
                    flows through from the time a borrower makes a payment until the money is distributed
                    to Martorello and others; describing all trusts, corporations, people, and other entities

                                                   Page 105
                                                                                                 JA105
USCA4 Appeal: 23-2097       Doc: 11-1           Filed: 12/06/2023         Pg: 109 of 462

                        involved in these transactions and how each trust, corporation, person, or other entity
                        relate to each other; and explaining what Martorello's interest, involvement, or
                        relationship is as to each trust, corporation, person, or entity. If the parties are unable to
                        jointly submit the document described in paragraph (2), the Plaintiffs shall submit their
                        document by July 29, 2020 and Martorello shall file his proposed changes by July 30,
                        2020. By July 29, 2020, the parties shall file in both listed actions a statement of position
                        setting out the evidence in the record that explains who or what entity sets the loan
                        criteria. By July 31, 2020, the parties shall file in both listed actions supplemental briefs
                        regarding the alleged material misrepresentations. Signed by District Judge Robert E.
                        Payne on 7/23/2020. (jsmi, ) (Entered: 07/23/2020)
   07/24/2020   881 RESPONSE to Motion re 876 MOTION for Leave to File to File Supplemental
                    Authority Regarding Fourth Circuit's Decision in Gibbs (Martorello's Statement of
                    Position with Respect to Plaintiffs' Motion for Leave to File Supplemental Authority per
                    Order at ECF No. 880) filed by Matt Martorello. (Erbach, John) (Entered: 07/24/2020)
   07/25/2020   882 TRANSCRIPT of proceedings held on July 21, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 8/24/2020. Redacted Transcript Deadline set for 9/24/2020.
                    Release of Transcript Restriction set for 10/23/2020.(peterson, peppy) (Entered:
                    07/25/2020)
   07/25/2020   883 TRANSCRIPT of proceedings held on July 22, 2020, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 8/24/2020. Redacted Transcript Deadline set for 9/24/2020.
                    Release of Transcript Restriction set for 10/23/2020.(peterson, peppy) (Entered:
                    07/25/2020)
   07/26/2020   884 Reply to 881 Response to Motion, filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 07/26/2020)
   07/27/2020   885 ORDER that 876 MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY is
                    GRANTED. Signed by District Judge Robert E. Payne on 7/27/2020. (jsmi, ) (Entered:
                    07/27/2020)
   07/29/2020   886 Memorandum Regarding Plaintiffs' Statement of Position Regarding the Loan Criteria
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9)(Kelly, Kristi)
                    (Entered: 07/29/2020)
   07/29/2020   887 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,


                                                      Page 106
                                                                                                      JA106
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 110 of 462

                      Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 07/29/2020)
  07/29/2020    888 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 887 MOTION to Seal (Kelly, Kristi)
                    (Entered: 07/29/2020)
  07/29/2020    889 Sealed Attachment/Exhibit(s) re 887 MOTION to Seal . (Attachments: # 1 Exhibit 2
                    (unredacted version), # 2 Exhibit 5 (unredacted version), # 3 Exhibit 8 (unredacted
                    version))(Kelly, Kristi) (Entered: 07/29/2020)
  07/29/2020    890 Memorandum in Support re 887 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    07/29/2020)
  07/29/2020    891 MOTION to Seal Exhibits Submitted with Statement of Position in Response to July 23,
                    2020 Order (Paragraph 4) by Matt Martorello. (Erbach, John) (Entered: 07/29/2020)
  07/29/2020    892 Memorandum in Support re 891 MOTION to Seal Exhibits Submitted with Statement of
                    Position in Response to July 23, 2020 Order (Paragraph 4) filed by Matt Martorello.
                    (Erbach, John) (Entered: 07/29/2020)
  07/29/2020    893 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 891 MOTION to Seal
                    Exhibits Submitted with Statement of Position in Response to July 23, 2020 Order
                    (Paragraph 4) (Erbach, John) (Entered: 07/29/2020)
  07/29/2020    894 Sealed Document re 891 MOTION to Seal Exhibits Submitted with Statement of
                    Position in Response to July 23, 2020 Order (Paragraph 4), 880 Order,,,,,.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit D, # 4 Exhibit E, # 5 Exhibit I, #
                    6 Exhibit J, # 7 Exhibit L, # 8 Exhibit M, # 9 Exhibit N, # 10 Exhibit O, # 11 Exhibit P,
                    # 12 Exhibit Q, # 13 Exhibit R, # 14 Exhibit S, # 15 Exhibit T, # 16 Exhibit U, # 17
                    Exhibit W, # 18 Exhibit X, # 19 Exhibit Y, # 20 Exhibit Z, # 21 Exhibit AA, # 22 Exhibit
                    BB, # 23 Exhibit CC, # 24 Exhibit DD, # 25 Exhibit EE, # 26 Exhibit FF, # 27 Exhibit
                    II, # 28 Exhibit JJ, # 29 Exhibit KK)(Erbach, John) (Entered: 07/29/2020)
  07/29/2020    895 Response to 880 Order,,,,, Matt Martorello's Statement of Position in Response to July
                    23, 2020 Order (Paragraph 4) filed by Matt Martorello. (Attachments: # 1 Exhibit A, #
                    2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                    Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M,
                    # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19
                    Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit
                    X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, #
                    30 Exhibit DD, # 31 Exhibit EE, # 32 Exhibit FF, # 33 Exhibit GG, # 34 Exhibit HH, #
                    35 Exhibit II, # 36 Exhibit JJ, # 37 Exhibit KK, # 38 Exhibit LL)(Erbach, John)
                    (Entered: 07/29/2020)
  07/29/2020    896 Memorandum Regarding Structure of Martorello's Companies and Flow of Funds filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                    6 Exhibit 6, # 7 Exhibit 7 (filed under seal), # 8 Exhibit 8 (filed under seal), # 9 Exhibit
                    9, # 10 Exhibit 10 (filed under seal))(Kelly, Kristi) (Entered: 07/29/2020)
  07/29/2020    897 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 07/29/2020)
  07/29/2020    898 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 897 MOTION to Seal (Kelly, Kristi)
                    (Entered: 07/29/2020)

                                                    Page 107
                                                                                                  JA107
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 111 of 462

  07/29/2020    899 Sealed Attachment/Exhibit(s) re 897 MOTION to Seal . (Attachments: # 1 Exhibit 7, # 2
                    8, # 3 10)(Kelly, Kristi) (Entered: 07/29/2020)
  07/29/2020    900 Memorandum in Support re 897 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    07/29/2020)
  07/30/2020    901 ORDER that MATT MARTORELLO'S 750 MOTION TO FILE UNDER SEAL
                    UNREDACTED MEMORANDUM AND EXHIBITS CONTAINING MATERIAL
                    DESIGNATED CONFIDENTIAL ATTORNEYS' EYES ONLY BY PLAINTIFFS is
                    DENIED. The Plaintiffs' 774 MOTION TO SEAL is DENIED. The 854
                    MEMORANDUM OPINION, 753 MATT MARTORELLO'S MEMORANDUM IN
                    SUPPORT OF MOTION UNDER RULE 30(d) FOR FURTHER DEPOSITION
                    BASED ON CONDUCT THAT IMPEDED QUESTIONING AND FOR EXPEDITED
                    RULING, accompanying Exhibit A, Exhibit C, and the PLAINTIFFS' 777 RESPONSE
                    TO DEFENDANT MATT MARTORELLO'S MOTIONS UNDER RULE 30 (d) and
                    778 accompanying exhibit shall be removed from under seal by the Clerk and placed in
                    the public record. See Order for details. Signed by District Judge Robert E. Payne on
                    7/30/2020. (jsmi, ) (Entered: 07/30/2020)
  07/30/2020    902 Response to 880 Order,,,,, Matt Martorello's Statement of Position in Response to July
                    23, 2020 Order (Paragraph 2) filed by Matt Martorello. (Attachments: # 1 Exhibit A, #
                    2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                    Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Erbach, John) (Entered:
                    07/30/2020)
  07/31/2020    903 MOTION to Seal Unredacted Supplemental Brief Regarding Alleged Misrepresentations
                    by Matt Martorello. (Erbach, John) (Entered: 07/31/2020)
  07/31/2020    904 Memorandum in Support re 903 MOTION to Seal Unredacted Supplemental Brief
                    Regarding Alleged Misrepresentations filed by Matt Martorello. (Erbach, John)
                    (Entered: 07/31/2020)
  07/31/2020    905 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 903 MOTION to Seal
                    Unredacted Supplemental Brief Regarding Alleged Misrepresentations (Erbach, John)
                    (Entered: 07/31/2020)
  07/31/2020    906 MOTION for Leave to File Excess Pages by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett,
                    Leonard) (Entered: 07/31/2020)
  07/31/2020    907 Sealed Response/Reply/Opposition re 903 MOTION to Seal Unredacted Supplemental
                    Brief Regarding Alleged Misrepresentations. (Erbach, John) (Entered: 07/31/2020)
  07/31/2020    908 Memorandum in Support re 906 MOTION for Leave to File Excess Pages filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Bennett, Leonard) (Entered: 07/31/2020)
  07/31/2020    909 Response to 880 Order,,,,, Redacted Version of Matt Martorello's Supplemental Brief
                    Regarding Alleged Misrepresentations (Responding to Order at ECF No. 880 Paragraph
                    5) filed by Matt Martorello. (Erbach, John) (Entered: 07/31/2020)
  07/31/2020    910 Memorandum to 880 Order,,,,, filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 07/31/2020)
  08/04/2020    911 RESPONSE to Motion re 891 MOTION to Seal Exhibits Submitted with Statement of
                    Position in Response to July 23, 2020 Order (Paragraph 4) filed by Rosette, LLP.
                    (Reilly, Craig) (Entered: 08/04/2020)

                                                   Page 108
                                                                                                JA108
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023      Pg: 112 of 462

   08/05/2020   912 Memorandum in Support re 897 MOTION to Seal filed by Matt Martorello.
                    (Attachments: # 1 Proposed Order)(Mullins, Maurice) (Entered: 08/05/2020)
   08/06/2020   913 Reply to 912 Memorandum in Support filed by Dowin Coffy, Conner & Winters, LLC,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 08/06/2020)
   08/07/2020   914 ORDER granting 906 Motion for Leave to File Excess Pages. Plaintiffs' Brief shall not
                    exceed 38 pages. Signed by District Judge Robert E. Payne on 08/07/2020. (tjoh, )
                    (Entered: 08/07/2020)
   08/17/2020   915 MOTION for Protective Order by Matt Martorello. (Attachments: # 1 Proposed Order)
                    (Erbach, John) (Entered: 08/17/2020)
   08/17/2020   916 MOTION to Stay Enforcement of Subpoenas Pending Arbitration (filed in the
                    alternative to Motion for Protective Order at ECF No. 915) by Matt Martorello.
                    (Erbach, John) (Entered: 08/17/2020)
   08/17/2020   917 Memorandum in Support re 916 MOTION to Stay Enforcement of Subpoenas Pending
                    Arbitration (filed in the alternative to Motion for Protective Order at ECF No. 915), 915
                    MOTION for Protective Order filed by Matt Martorello. (Erbach, John) (Entered:
                    08/17/2020)
   08/20/2020   918 MOTION to Seal Exhibits Designated Confidential by Third Parties with Motion for
                    Leave to File Supplemental Exhibits in Support of Motion for Reconsideration and
                    Request for Hearing [ECF No. 486] by Matt Martorello. (Erbach, John) (Entered:
                    08/20/2020)
   08/20/2020   919 Memorandum in Support re 918 MOTION to Seal Exhibits Designated Confidential by
                    Third Parties with Motion for Leave to File Supplemental Exhibits in Support of Motion
                    for Reconsideration and Request for Hearing [ECF No. 486] filed by Matt Martorello.
                    (Erbach, John) (Entered: 08/20/2020)
   08/20/2020   920 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 918 MOTION to Seal
                    Exhibits Designated Confidential by Third Parties with Motion for Leave to File
                    Supplemental Exhibits in Support of Motion for Reconsideration and Request for
                    Hearing [ECF No. 486] (Erbach, John) (Entered: 08/20/2020)
   08/20/2020   921 Sealed Attachment/Exhibit(s) re 918 MOTION to Seal Exhibits Designated Confidential
                    by Third Parties with Motion for Leave to File Supplemental Exhibits in Support of
                    Motion for Reconsideration and Request for Hearing [ECF No. 486]. (Attachments: # 1
                    Exhibit A-1, # 2 Exhibit A-2, # 3 Exhibit A-7, # 4 Exhibit B-2, # 5 Exhibit B-4, # 6
                    Exhibit B-6, # 7 Exhibit B-8, # 8 Exhibit C-5, # 9 Exhibit D-1)(Erbach, John) (Entered:
                    08/20/2020)
   08/20/2020   922 MOTION for Leave to File Supplemental Exhibits in Support of Motion for
                    Reconsideration and Request for Hearing [ECF No. 486] by Matt Martorello. (Erbach,
                    John) (Entered: 08/20/2020)
   08/20/2020   923 Memorandum in Support re 922 MOTION for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration and Request for Hearing [ECF No. 486] filed by
                    Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit A-1, # 3 Exhibit A-2, # 4
                    Exhibit A-3, # 5 Exhibit A-4, # 6 Exhibit A-5, # 7 Exhibit A-6, # 8 Exhibit A-7, # 9
                    Exhibit A-8, # 10 Exhibit A-9, # 11 Exhibit B, # 12 Exhibit B-1, # 13 Exhibit B-2, # 14
                    Exhibit B-3, # 15 Exhibit B-4, # 16 Exhibit B-5, # 17 Exhibit B-6, # 18 Exhibit B-7, #
                    19 Exhibit B-8, # 20 Exhibit B-9, # 21 Exhibit B-10, # 22 Exhibit B-11, # 23 Exhibit B-
                    12, # 24 Exhibit B-13, # 25 Exhibit B-14, # 26 Exhibit B-15, # 27 Exhibit B-16, # 28
                    Exhibit B-17, # 29 Exhibit C, # 30 Exhibit C-1, # 31 Exhibit C-2, # 32 Exhibit C-3, # 33

                                                  Page 109
                                                                                               JA109
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 113 of 462

                        Exhibit C-4, # 34 Exhibit C-5, # 35 Exhibit C-6, # 36 Exhibit C-7, # 37 Exhibit C-8, #
                        38 Exhibit C-9, # 39 Exhibit C-10, # 40 Exhibit C-11, # 41 Exhibit C-12, # 42 Exhibit
                        D, # 43 Exhibit D-1, # 44 Exhibit D-2)(Erbach, John) (Entered: 08/20/2020)
   08/25/2020   924 RESPONSE to Motion re 918 MOTION to Seal Exhibits Designated Confidential by
                    Third Parties with Motion for Leave to File Supplemental Exhibits in Support of Motion
                    for Reconsideration and Request for Hearing [ECF No. 486] filed by Rosette, LLP.
                    (Reilly, Craig) (Entered: 08/25/2020)
   08/26/2020           Conference Call with Martorello Deft's Counsel set for 9/3/2020 at 01:00 PM before
                        District Judge David J. Novak. Conference Call with Pls.' Counsel set for 9/3/2020 at
                        01:30 PM before District Judge David J. Novak. (cgar) (Entered: 08/26/2020)
   08/31/2020   925 Memorandum in Opposition re 916 MOTION to Stay Enforcement of Subpoenas
                    Pending Arbitration (filed in the alternative to Motion for Protective Order at ECF No.
                    915), 915 MOTION for Protective Order filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit, # 2
                    Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9
                    Exhibit, # 10 Exhibit, # 11 Exhibit, # 12 Exhibit)(Bennett, Leonard) (Entered:
                    08/31/2020)
   09/02/2020   926 ORDER that the Plaintiffs' 689 Motion to Seal is granted and the PLAINTIFFS' 672
                    MEMORANDUM OF POINTS AND AUTHORITIES (1) IN OPPOSITION TO MATT
                    MARTORELLO'S MOTION TO STRIKE PLAINTIFFS' NOTICE REGARDING
                    COMPLIANCE and certain exhibits thereto are filed under seal; provided that
                    appropriately redacted versions thereof are filed in the public record. See Order for
                    details. Signed by District Judge Robert E. Payne on 9/1/2020. (jsmi, ) (Entered:
                    09/02/2020)
   09/02/2020   927 ORDER that plaintiffs' 865 MOTION TO SEAL is granted and PLAINTIFFS' 867
                    REPLY IN SUPPORT OF STATEMENT OF POSITION REGARDING MATERIAL
                    MISREPRESENTATIONS MADE TO THE COURT BY DEFENDANTS is filed under
                    seal; provided that appropriately redacted versions thereof are filed in thepublic record.
                    Signed by District Judge Robert E. Payne on 9/1/2020. (jsmi, ) (Entered: 09/02/2020)
   09/02/2020   928 ORDER that the plaintiffs' 887 MOTION TO SEAL is granted and PLAINTIFFS' 889
                    STATEMENT OF POSITION REGARDING THE LOAN CRITERIA is filed under
                    seal; provided that an appropriately redacted version thereof is filed in the public record.
                    Signed by District Judge Robert E. Payne on 9/1/2020. (jsmi, ) (Entered: 09/02/2020)
   09/02/2020   929 ORDER that 848 Motion to Seal is granted and MATT MARTORELLO'S 851
                    RESPONSE TO PLAINTIFFS' STATEMENT OF POSITION and certain exhibits
                    thereto are filed under seal; provided that appropriately redacted versions thereof are
                    filed in the public record. Signed by District Judge Robert E. Payne on 9/1/2020. (jsmi, )
                    (Entered: 09/02/2020)
   09/03/2020   930 RESPONSE to Motion re 922 MOTION for Leave to File Supplemental Exhibits in
                    Support of Motion for Reconsideration and Request for Hearing [ECF No. 486] filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Bennett, Leonard)
                    (Entered: 09/03/2020)
   09/03/2020           Minute Entry for proceedings held before District Judge David J. Novak:Telephone
                        Conferences held on 9/3/2020. (cgar) (Entered: 09/04/2020)
   09/08/2020   931 Consent MOTION for Extension of Time to File Response/Reply as to 916 MOTION to
                    Stay Enforcement of Subpoenas Pending Arbitration (filed in the alternative to Motion


                                                    Page 110
                                                                                                  JA110
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 114 of 462

                        for Protective Order at ECF No. 915), 915 MOTION for Protective Order by Matt
                        Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered: 09/08/2020)
   09/09/2020   932 ORDER that Matt Martorello's Motion for Extension of Time seeking an extension until
                    Friday, September 11, 2020, to file his reply brief in support of Motion for Protective
                    Order or, in the Alternative, to Stay Subpoenas Pending Arbitration is GRANTED. Matt
                    Martorello shall file his reply brief in support of his Motion for Protective Order or, in
                    the Alternative, to Stay Subpoenas Pending Arbitration no later than Friday, September
                    11, 2020. Signed by District Judge Robert E. Payne on 9/9/2020. (jsmi, ) (Entered:
                    09/09/2020)
   09/09/2020   933 REPLY to Response to Motion re 922 MOTION for Leave to File Supplemental Exhibits
                    in Support of Motion for Reconsideration and Request for Hearing [ECF No. 486] filed
                    by Matt Martorello. (Erbach, John) (Entered: 09/09/2020)
   09/10/2020   934 NOTICE of Appearance by Jonathan Frank Hollis on behalf of Matt Martorello (Hollis,
                    Jonathan) (Entered: 09/10/2020)
   09/11/2020   935 MOTION to Withdraw as Attorney for all counsel of record at Armstrong Teasdale LLP
                    by Matt Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered:
                    09/11/2020)
   09/11/2020   936 REPLY to Response to Motion re 916 MOTION to Stay Enforcement of Subpoenas
                    Pending Arbitration (filed in the alternative to Motion for Protective Order at ECF No.
                    915), 915 MOTION for Protective Order filed by Matt Martorello. (Erbach, John)
                    (Entered: 09/11/2020)
   09/16/2020   937 NOTICE of Appearance by Jonathan Frank Hollis on behalf of Matt Martorello (Hollis,
                    Jonathan) (Entered: 09/16/2020)
   09/17/2020   938 ORDER that 935 MOTION TO WITHDRAW AS COUNSEL is granted. It is further
                    ORDERED that the Clerk shall remove the following attorneys and the law firm of
                    Armstrong Teasdale, LLP as counsel of record for the defendant, Matt Martorello:
                    Richard L. Scheff, Jonathan P. Boughrum, Michael C. Witsch, Douglas Marsh, Paul
                    Louis Brusati, Tod Daniel Stephens, William Ojile, Charles Palella. Signed by District
                    Judge Robert E. Payne on 9/17/2020. (jsmi, ) (Entered: 09/17/2020)
   09/18/2020   939 ORDER that Martorello's 70 CONSENT MOTION FOR EXTENSION OF TIME is
                    GRANTED in case 3:20mc008. The deadlines set forth in 65 Order entered July 7, 2020
                    are modified as follows: (1) Matt Martorello shall file his response to the Supplemental
                    Motion to Quash Defendant Martorello' s Subpoena Directed to Non-Party Witness
                    Karrie Wichtman and/or for Relief from or Modification of the Consent and Protective
                    Order of June 3, 2019 on or before Wednesday, September 23, 2020; (2) Non-party
                    witness Karrie Wichtman shall file her reply in support of the Supplemental Motion to
                    Quash on or before Tuesday, September 29, 2020. The Clerk is directed to file this Order
                    in Williams v. Big Picture Loans, LLC, 3:17cv461, and in Galloway v. Big Picture
                    Loans, LLC, 3:18cv406. Signed by District Judge Robert E. Payne on 9/18/2020. (jsmi,
                    ) (Entered: 09/18/2020)
   09/30/2020   940 Joint MOTION for Entry of Stipulated Order Concerning the Applicability of the
                    Motion for Protective Order [ECF No. 915] to the Subpoena Issued to Dropbox, Inc. on
                    September 17, 2020 re 917 Memorandum in Support, 936 Reply to Response to Motion,
                    915 MOTION for Protective Order by Matt Martorello. (Attachments: # 1 Proposed
                    Order)(Erbach, John) (Entered: 09/30/2020)
   10/08/2020   941 Joint MOTION for Entry of Stipulated Order Concerning the Applicability of the
                    Motion for Protective Order [ECF No. 915] to the Subpoena Issued to GoDaddy.com,
                    LLC on September 30, 2020 re 917 Memorandum in Support, 936 Reply to Response to

                                                   Page 111
                                                                                                JA111
USCA4 Appeal: 23-2097      Doc: 11-1         Filed: 12/06/2023       Pg: 115 of 462

                        Motion, 925 Memorandum in Opposition,, 915 MOTION for Protective Order by Matt
                        Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered: 10/08/2020)
   10/13/2020   942 ORDER that Defendant Matt Martorello's Motion for a Protective Order with respect to
                    the First Dropbox Subpoena, Memorandum in Support of the Motion, and Reply, and
                    any ruling thereon, shall apply to the subpoena that Plaintiffs served on Dropbox, Inc. on
                    September 17, 2020. Martorello's Motion for a Protective Order shall constitute a
                    motion for a protective order with respect to the Second Dropbox Subpoena. Signed by
                    District Judge Robert E. Payne on 10/13/2020. (jsmi, ) (Entered: 10/13/2020)
   10/13/2020   943 ORDER that Defendant Matt Martorello's Motion for a Protective Order with respect to
                    the First GoDaddy Subpoena, Memorandum in Support of the Motion, and Reply, and
                    any ruling thereon, shall apply to the subpoena that Plaintiffs served on GoDaddy on
                    September 30, 2020. Martorello's Motion for a Protective Order shall constitute a
                    motion for a protective order with respect to the Second GoDaddy Subpoena. Signed by
                    District Judge Robert E. Payne on 10/13/2020. (jsmi, ) (Entered: 10/13/2020)
   11/18/2020   944 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 11/18/2020.
                    (jsmi, ) (Entered: 11/18/2020)
   11/24/2020   945 ORDER - Having decided the misrepresentations issues (ECF No. 944), it is now
                    appropriate, as set out in the last paragraph of the ORDER (ECF No. 697), to set a
                    schedule for the filing and briefing on an Amended Motion for Class Certification.
                    Accordingly, it is hereby ORDERED that counsel shall confer and submit, by December
                    31, 2020, a schedule for the filing and briefing of an Amended Motion for Class
                    Certification. Signed by District Judge Robert E. Payne on 11/24/2020. (tjoh, ) (Entered:
                    11/24/2020)
   11/30/2020   946 MOTION Certification of Interlocutory Appeal under 28 U.S.C. Sec. 1292(b) re 944
                    Memorandum Opinion by Matt Martorello. (Attachments: # 1 Proposed Order)(Hollis,
                    Jonathan) (Entered: 11/30/2020)
   11/30/2020   947 Memorandum in Support re 946 MOTION Certification of Interlocutory Appeal under
                    28 U.S.C. Sec. 1292(b) re 944 Memorandum Opinion filed by Matt Martorello.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Hollis, Jonathan) (Entered: 11/30/2020)
   11/30/2020   948 MOTION Stay Pending Interlocutory Appeal and/or Decision on re 944 Memorandum
                    Opinion by Matt Martorello. (Attachments: # 1 Proposed Order)(Hollis, Jonathan)
                    (Entered: 11/30/2020)
   11/30/2020   949 Memorandum in Support re 948 MOTION Stay Pending Interlocutory Appeal and/or
                    Decision on re 944 Memorandum Opinion filed by Matt Martorello. (Hollis, Jonathan)
                    (Entered: 11/30/2020)
   12/03/2020   950 VACATED PER 954 ORDER ENTERED ON 12/8/2020 - ORDER that the following
                    motions are denied without prejudice: 1) MATT MARTORELLO'S MOTION FOR
                    RECONSIDERATION OF ORDER, ECF NO. 479 , GRANTING IN PART
                    PLAINTIFFS' MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS
                    OF ATTORNEY-CLIENT PRIVILEGE AND REQUEST FOR ORAL ARGUMENT
                    (ECF No. 486 ); 2) PLAINTIFFS' MOTION TO STRIKE THE DECLARATION OF
                    JOHN M. NORMAN IN SUPPORT OF MOTION FOR RECONSIDERATION (ECF
                    No. 549 ); 3) DEFENDANT MARTORELLO'S MOTION FOR LEAVE TO FILE A
                    REPLY TO PLAINTIFFS' RESPONSE TO COURT'S ORDER DATED JUNE 6, 2019
                    (ECF No. 564 ); and 4) MATT MARTORELLO'S MOTION FOR LEAVE TO FILE
                    SUPPLEMENTAL EXHIBITS IN SUPPORT OF MOTION FOR
                    RECONSIDERATION AND REQUEST FOR HEARING (ECF No. 922 ) It is further
                    ORDERED that, if Matt Martorello desires to have the MEMORANDUM OPINION
                    and ORDER (ECF Nos. 478 and 479 ) reconsidered, he shall file a renewed motion and
                                                   Page 112
                                                                                               JA112
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 116 of 462

                      supporting brief to which the plaintiffs shall respond, and to which Matt Martorello shall
                      reply. These submissions shall be made on the following schedule: 1) December 31,
                      2020: supporting brief; Matt Martorello's motion and 2) January 30, 2021: Plaintiffs'
                      response; 3) February 12, 2021: Matt Martorello's reply. The renewed motion and briefs
                      shall not incorporate by reference any previous motions, briefs or exhibits because such
                      incorporation by reference effectively evades the pages limitations in the Local Civil
                      Rules and makes substantive analysis so difficult that there is a substantial risk of
                      improper analysis. If the Court determines that oral argument is necessary, counsel
                      will be advised. Argument, if any, will be heard on March 8, 2021 at 10:00 AM. It is
                      so ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                      12/2/2020. (sbea,) Modified on 12/8/2020 (jsmi, ). (Entered: 12/03/2020)
  12/03/2020          Set Hearing: Motion Hearing (if necessary) set for 3/8/2021 at 10:00 AM in Richmond
                      Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered: 12/03/2020)
  12/07/2020    951 MOTION to Withdraw as Attorney for all counsel of record at Spotts Fain, P.C. by Matt
                    Martorello. (Attachments: # 1 Proposed Order)(Erbach, John) (Entered: 12/07/2020)
  12/08/2020    952 NOTICE of Appearance by Karen M. Stemland on behalf of Matt Martorello (Stemland,
                    Karen) (Entered: 12/08/2020)
  12/08/2020    953 NOTICE of Appearance by John Benjamin Rottenborn on behalf of Matt Martorello
                    (Rottenborn, John) (Entered: 12/08/2020)
  12/08/2020    954 ORDER that 950 ORDER is VACATED; 478 MEMORANDUM OPINION and 479
                    ORDER are VACATED. PLAINTIFFS' 340 MOTION TO COMPEL INFORMATION
                    WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE is denied without
                    prejudice. The following motions are denied as moot: MATT MARTORELLO' S 479
                    MOTION FOR RECONSIDERATION OF ORDER GRANTING IN PART
                    PLAINTIFFS' 486 MOTION TO COMPEL INFORMATION WITHHELD ON THE
                    BASIS OF ATTORNEY-CLIENT PRIVILEGE AND REQUEST FOR ORAL
                    ARGUMENT; PLAINTIFFS' 549 MOTION TO STRIKE THE DECLARATION OF
                    JOHN M. NORMAN IN SUPPORT OF MOTION FOR RECONSIDERATION;
                    DEFENDANT 564 MARTORELLO'S MOTION FOR LEAVE TO FILE A REPLY TO
                    PLAINTIFFS' RESPONSE TO COURT'S ORDER DATED JUNE 6, 2019; MATT
                    MARTORELLO'S 922 MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                    EXHIBITS IN SUPPORT OF MOTION FOR RECONSIDERATION AND REQUEST
                    FOR HEARING. The Plaintiffs shall file any renewed motion(s) to compel privileged
                    documents by January 9, 2021. Defendant, Matt Martorello, shall file his response(s) by
                    February 5, 2021. Plaintiffs' shall file their reply(ies) by February 22, 2021. See Order
                    for additional details and deadlines. Signed by District Judge Robert E. Payne on
                    12/8/2020. (jsmi, ) (Entered: 12/08/2020)
  12/08/2020          Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                      Conference held on 12/8/2020. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                      (Entered: 01/06/2021)
  12/09/2020    955 ORDER that by January 15, 2021, Martorello shall file any motion(s) under Rule 19 or
                    56 seeking the relief/remedy apparently sought in MARTORELLO'S 613 STATEMENT
                    OF POSITION PURSUANT TO ECF NOS. 599 & 601 and MATT MARTORELLO'S
                    664 SUPPLEMENTAL BRIEF ADDRESSING THE EFFECT OF THE FOURTH
                    CIRCUIT'S DECISION ON PLAINTIFFS' MOTION FOR CLASS CERTIFICATION.
                    By February 15, 2021, Plaintiffs' shall file their responses, By February 24, 2021,
                    Martorello shall file his replies. Counsel will be notified if oral argument is needed, and,
                    if needed, argument will be held on March 12, 2021 at 10:00 AM. See Order for details.
                    Signed by District Judge Robert E. Payne on 12/9/2020. (jsmi, ) (Entered: 12/09/2020)

                                                   Page 113
                                                                                                 JA113
USCA4 Appeal: 23-2097    Doc: 11-1           Filed: 12/06/2023       Pg: 117 of 462

   12/09/2020   956 ORDER that 951 MOTION TO WITHDRAW AS COUNSEL is granted. It is further
                    ORDERED that the Clerk shall remove Hugh M. Fain, Esquire; M.F. Connell Mullins,
                    Jr., Esquire; John M. Erbach, Esquire; and the law firm of Spotts Fain, P.C. as counsel of
                    record for the defendant. Matt Martorello. Signed by District Judge Robert E. Payne on
                    12/9/2020. (jsmi, ) (Entered: 12/09/2020)
   12/10/2020   957 ORDER - In preparing the boxes of in camera documents for retrieval by Martorello's
                    new counsel, the Court found that it was unable to locate the binders that were sent in
                    the box labeled June 11, 2019 submission. Signed by District Judge Robert E. Payne on
                    12/10/2020. (tjoh, ) (Entered: 12/10/2020)
   12/14/2020   958 Memorandum in Opposition re 948 MOTION Stay Pending Interlocutory Appeal and/or
                    Decision on re 944 Memorandum Opinion filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 - LVD
                    Tribal Code, # 2 Exhibit 2 - Otoe Tribal Code)(Kelly, Kristi) (Entered: 12/14/2020)
   12/14/2020   959 Opposition to 946 MOTION Certification of Interlocutory Appeal under 28 U.S.C. Sec.
                    1292(b) re 944 Memorandum Opinion filed by Dowin Coffy. (Bennett, Leonard)
                    (Entered: 12/14/2020)
   12/18/2020   960 ORDER that DEFENDANT MATT MARTORELLO'S 916 MOTION TO STAY
                    SUBPOENAS PENDING ARBITRATION is DENIED as moot; and DEFENDANT
                    MATT MARTORELLO'S 915 MOTION FOR PROTECTIVE ORDER is DENIED. See
                    Order for details. Signed by District Judge Robert E. Payne on 12/18/2020. (jsmi, )
                    (Entered: 12/18/2020)
   12/21/2020   961 Reply to Motion re 948 MOTION Stay Pending Interlocutory Appeal and/or Decision
                    on re 944 Memorandum Opinion filed by Matt Martorello. (Stemland, Karen) (Entered:
                    12/21/2020)
   12/21/2020   962 Reply to Motion re 946 MOTION Certification of Interlocutory Appeal under 28 U.S.C.
                    Sec. 1292(b) re 944 Memorandum Opinion filed by Matt Martorello. (Stemland, Karen)
                    (Entered: 12/21/2020)
   12/22/2020   963 MOTION to set Scheduling Conference re 945 Order, and related pending matters by
                    Matt Martorello. (Attachments: # 1 Proposed Order Regarding Scheduling)(Hollis,
                    Jonathan) (Entered: 12/22/2020)
   12/23/2020   964 MOTION For Leave to Exceed Page Limit by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi)
                    (Entered: 12/23/2020)
   12/23/2020   965 Memorandum in Support re 964 MOTION For Leave to Exceed Page Limit filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1 - Dec. 9, 2020 Email, # 2 Exhibit 2 - Dec. 23, 2020 Email)
                    (Kelly, Kristi) (Entered: 12/23/2020)
   12/23/2020   966 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 945 Order, (Attachments: # 1 Exhibit "1")(Bennett, Leonard) (Entered:
                    12/23/2020)
   12/23/2020   967 MOTION to Certify Class (Plaintiffs' Renewed Motion for Class Certification of Claims
                    Against Matt Martorello) by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 12/23/2020)
   12/23/2020   968 Memorandum in Support re 967 MOTION to Certify Class (Plaintiffs' Renewed Motion
                    for Class Certification of Claims Against Matt Martorello) filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1

                                                  Page 114
                                                                                                JA114
USCA4 Appeal: 23-2097     Doc: 11-1         Filed: 12/06/2023       Pg: 118 of 462

                     Exhibit "1" FILED UNDER SEAL, # 2 Exhibit "2", # 3 Exhibit "3", # 4 Exhibit "4", # 5
                     Exhibit "5", # 6 Exhibit "6", # 7 Exhibit "7", # 8 Exhibit "8", # 9 Exhibit "9", # 10
                     Exhibit "10", # 11 Exhibit "11", # 12 Exhibit "12", # 13 Exhibit "13", # 14 Exhibit "14",
                     # 15 Exhibit "15", # 16 Exhibit "16", # 17 Exhibit "17", # 18 Exhibit "18", # 19 Exhibit
                     "19", # 20 Exhibit "20", # 21 Exhibit "21", # 22 Exhibit "22", # 23 Exhibit "23", # 24
                     Exhibit "24", # 25 Exhibit "25", # 26 Exhibit "26", # 27 Exhibit "27", # 28 Exhibit "28",
                     # 29 Exhibit "29", # 30 Exhibit "30", # 31 Exhibit "31", # 32 Exhibit "32", # 33 Exhibit
                     "33", # 34 Exhibit "34", # 35 Exhibit "35", # 36 Exhibit "36", # 37 Exhibit "37", # 38
                     Exhibit "38", # 39 Exhibit "39", # 40 Exhibit "40", # 41 Exhibit "41", # 42 Exhibit "42",
                     # 43 Exhibit "43", # 44 Exhibit "44", # 45 Exhibit "45", # 46 Exhibit "46", # 47 Exhibit
                     "47" FILED UNDER SEAL, # 48 Exhibit "48", # 49 Exhibit "49", # 50 Exhibit "50", #
                     51 Exhibit "51", # 52 Exhibit "52", # 53 Exhibit "53", # 54 Exhibit "54", # 55 Exhibit
                     "55", # 56 Exhibit "56", # 57 Exhibit "57", # 58 Exhibit "58", # 59 Exhibit "59", # 60
                     Exhibit "60")(Bennett, Leonard) (Entered: 12/23/2020)
  12/23/2020    969 MOTION to Seal by Dowin Coffy, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 12/23/2020)
  12/23/2020    970 Memorandum in Support re 969 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    12/23/2020)
  12/23/2020    971 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 968 Memorandum in Support,,,,,,,, 969
                    MOTION to Seal , 970 Memorandum in Support (Bennett, Leonard) (Entered:
                    12/23/2020)
  12/23/2020    972 Sealed Document re 971 Notice of Filing Sealing Motion LCvR5(C), 968 Memorandum
                    in Support,,,,,,,, 969 MOTION to Seal , 970 Memorandum in Support. (Attachments: # 1
                    Certificate of Service)(Bennett, Leonard) (Entered: 12/23/2020)
  12/23/2020    973 Sealed Document re 971 Notice of Filing Sealing Motion LCvR5(C), 968 Memorandum
                    in Support,,,,,,,, 969 MOTION to Seal , 970 Memorandum in Support. (Attachments: # 1
                    Certificate of Service)(Bennett, Leonard) (Entered: 12/23/2020)
  12/29/2020    974 ORDER that the PLAINTIFFS' MOTION FOR LEAVE TO EXCEED PAGE LIMIT
                    (ECF No. 964 ) is granted. It is further ORDERED that: 1) The plaintiffs shall have an
                    additional ten (10) pages and their memorandum in support of their Renewed Motion for
                    Class Certification of Claims Against Defendant Matt Martorello shall not exceed 40
                    pages; and 2) The defendant, Matt Martello, shall have an additional ten (10) pages and
                    his opposition to the Renewed Motion for Class Certification of Claims shall not exceed
                    40 pages. It is so ORDERED. Signed by Senior United States District Judge Robert E.
                    Payne on 12/29/2020. (sbea,) (Entered: 12/29/2020)
  12/30/2020    975 TRANSCRIPT of proceedings held on December 28, 2020, before Judge Robert E.
                    Payne, Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 1/29/2021. Redacted Transcript Deadline set for 3/1/2021.
                    Release of Transcript Restriction set for 3/30/2021.(peterson, peppy) (Entered:
                    12/30/2020)

                                                  Page 115
                                                                                               JA115
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023        Pg: 119 of 462

   12/30/2020   976 ORDER that Counsel for Defendant Matt Martorello will file the response to
                    PLAINTIFFS' 967 RENEWED MOTION FOR CLASS CERTIFICATION OF
                    CLAIMS AGAINST DEFENDANT MATT MARTORELLO on Monday, February 8,
                    2021. Plaintiffs' Counsel will file their reply on February 26, 2021. The Court's
                    December 9, 2020 955 Order is reaffirmed, including the briefing schedule therein. See
                    Order for details. Signed by District Judge Robert E. Payne on 12/30/2020. (jsmi, )
                    (Entered: 12/30/2020)
   01/08/2021   977 Consent MOTION for Extension To File Renewed Motion to Compel Privileged and
                    Work Product Documents by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered:
                    01/08/2021)
   01/08/2021   978 Memorandum in Support re 977 Consent MOTION for Extension To File Renewed
                    Motion to Compel Privileged and Work Product Documents filed by George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 01/08/2021)
   01/08/2021   979 Consent MOTION for Leave to File Excess Pages by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 01/08/2021)
   01/08/2021   980 Memorandum in Support re 979 Consent MOTION for Leave to File Excess Pages filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 01/08/2021)
   01/08/2021   981 ORDER having considered the PLAINTIFFS' CONSENT MOTION FOR EXTENSION
                    OF TIME TO FILE THEIR RENEWED MOTION TO COMPEL PRIVILEGED AND
                    WORK PRODUCT DOCUMENTS (ECF No. 977) and the supporting memorandum,
                    and there being no objection by the defendant, Matt Martorello, it is hereby ORDERED
                    that the plaintiffs' Consent Motion 977 is granted. See Order for deadlines and details.
                    Signed by District Judge Robert E. Payne on 1/8/21. (jtho, ) (Entered: 01/08/2021)
   01/11/2021   982 ORDER - This matter comes before the Court on Plaintiffs' Motion for Leave to Exceed
                    Page Limit for Plaintiffs' forthcoming Renewed Motions to Compel Privileged and Work
                    Product Documents. Upon consideration of the Motion, and for good cause shown, it is
                    hereby ORDERED that the Motion is GRANTED. Plaintiffs shall be permitted to file
                    45-page memorandum in support of both their Motion to Compel Privileged Documents,
                    as well as their Motion to Compel Work Product Documents. Martorello shall be
                    permitted to file oppositions of 45 pages, as well. Signed by District Judge Robert E.
                    Payne on 1/11/2021. (smej, ) (Entered: 01/11/2021)
   01/11/2021   983 MOTION to Compel Information Withheld on the Basis of Attorney-Client Privilege by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Bennett, Leonard) (Entered: 01/11/2021)
   01/11/2021   984 Memorandum in Support re 983 MOTION to Compel Information Withheld on the Basis
                    of Attorney-Client Privilege filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit "1", # 2 Exhibit "2", # 3
                    Exhibit "3", # 4 Exhibit "4", # 5 Exhibit "5", # 6 Exhibit "6", # 7 Exhibit "7", # 8 Exhibit
                    "8", # 9 Exhibit "9", # 10 Exhibit "10", # 11 Exhibit "11", # 12 Exhibit "12", # 13
                    Exhibit "13", # 14 Exhibit "14", # 15 Exhibit "15", # 16 Exhibit "16", # 17 Exhibit "17',
                    # 18 Exhibit "18", # 19 Exhibit "19", # 20 Exhibit "20", # 21 Exhibit "21", # 22 Exhibit
                    "22", # 23 Exhibit "23", # 24 Exhibit "24", # 25 Exhibit "25", # 26 Exhibit "26", # 27
                    Exhibit "27", # 28 Exhibit "28", # 29 Exhibit "29", # 30 Exhibit "30", # 31 Exhibit "31",
                    # 32 Exhibit "32", # 33 Exhibit "33", # 34 Exhibit "34", # 35 Exhibit "35", # 36 Exhibit
                    "36", # 37 Exhibit "37", # 38 Exhibit "38", # 39 Exhibit "39", # 40 Exhibit "40", # 41
                    Exhibit "41', # 42 Exhibit "42", # 43 Exhibit "43", # 44 Exhibit "44", # 45 Exhibit "45",

                                                   Page 116
                                                                                                 JA116
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 120 of 462

                      # 46 Exhibit "46", # 47 Exhibit "47", # 48 Exhibit "48", # 49 Exhibit "49", # 50 Exhibit
                      "50", # 51 Exhibit "51", # 52 Exhibit "52", # 53 Exhibit "53", # 54 Exhibit "54", # 55
                      Exhibit "55", # 56 Exhibit "56", # 57 Exhibit "57", # 58 Exhibit "58")(Bennett, Leonard)
                      (Entered: 01/11/2021)
  01/11/2021    985 MOTION to Compel Production of Documents That Martorello Claims Are Covered By
                    the Work-Product Doctrine by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 01/11/2021)
  01/11/2021    986 Memorandum in Support re 985 MOTION to Compel Production of Documents That
                    Martorello Claims Are Covered By the Work-Product Doctrine filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                    Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12,
                    # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                    Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23
                    Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28
                    Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31 Exhibit 31, # 32 Exhibit 32, # 33
                    Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36 Exhibit 36, # 37 Exhibit 37, # 38
                    Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41 Exhibit 41, # 42 Exhibit 42, # 43
                    Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46 Exhibit 46, # 47 Exhibit 47, # 48
                    Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51 Exhibit 51, # 52 Exhibit 52, # 53
                    Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56 Exhibit 56, # 57 Exhibit 57, # 58
                    Exhibit 58)(Bennett, Leonard) (Entered: 01/11/2021)
  01/15/2021    987 MOTION to Dismiss Plaintiff's Complaint Pursuant to Federal Rules of Civil Procedure
                    19 And 12(b)(7) by Matt Martorello. (Hollis, Jonathan) (Entered: 01/15/2021)
  01/15/2021    988 Memorandum in Support re 987 MOTION to Dismiss Plaintiff's Complaint Pursuant to
                    Federal Rules of Civil Procedure 19 And 12(b)(7) filed by Matt Martorello.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Hollis, Jonathan) (Entered: 01/15/2021)
  01/20/2021    989 MOTION for Preliminary Injunction by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 01/20/2021)
  01/20/2021    990 Memorandum in Support re 989 MOTION for Preliminary Injunction filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                    Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12,
                    # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16)(Bennett, Leonard)
                    (Entered: 01/20/2021)
  01/20/2021    991 MOTION for Sanctions under Rule 37(b) by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 01/20/2021)
  01/20/2021    992 Memorandum in Support re 991 MOTION for Sanctions under Rule 37(b) filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Bennett,
                    Leonard) (Entered: 01/20/2021)
  01/21/2021    993 ORDER that the Plaintiffs' 969 MOTION TO SEAL is granted and 972 and 973 Exhibit
                    Nos. 1 and 47 (ECF Nos. 972 and 973) to PLAINTIFFS' MEMORANDUM IN
                    SUPPORT OF RENEWED MOTION FOR CLASS CERTIFICATION OF CLAIMS
                    AGAINST DEFENDANT MATT MARTORELLO (ECF No. 967) are filed under seal;
                    provided that appropriately redacted versions thereof are filed in the public record.
                    Signed by District Judge Robert E. Payne on 1/21/2021. (jsmi, ) (Entered: 01/21/2021)

                                                    Page 117
                                                                                                 JA117
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023      Pg: 121 of 462

  01/21/2021    994 ORDER that Matt Martorello's 963 MOTION TO SET SCHEDULING CONFERENCE
                    is denied as moot. Signed by District Judge Robert E. Payne on 1/21/2021. (jsmi, )
                    (Entered: 01/21/2021)
  01/21/2021          Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                      Conference held on 1/21/2021. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                      (Entered: 02/04/2021)
  01/22/2021    995 ORDER re conference call on January 21, 2021. See Order for details and deadlines.
                    Signed by District Judge Robert E. Payne on 1/22/2021. (jsmi, ) (Entered: 01/22/2021)
  01/25/2021    996 TRANSCRIPT of proceedings held on January 21, 2021, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 2/24/2021. Redacted Transcript Deadline set for 3/29/2021.
                    Release of Transcript Restriction set for 4/26/2021.(peterson, peppy) (Entered:
                    01/25/2021)
  01/25/2021    997 TRANSCRIPT of proceedings held on January 21, 2021, before Judge Robert E. Payne,
                    Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                    REDACTION OF TRANSCRIPTS: The parties have thirty (30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 2/24/2021. Redacted Transcript Deadline set for 3/29/2021.
                    Release of Transcript Restriction set for 4/26/2021.(peterson, peppy) (Entered:
                    01/25/2021)
  02/03/2021    998 Opposition to 991 MOTION for Sanctions under Rule 37(b) filed by Matt Martorello.
                    (Attachments: # 1 Exhibit 1)(Hollis, Jonathan) (Entered: 02/03/2021)
  02/03/2021    999 RESPONSE in Opposition re 989 MOTION for Preliminary Injunction filed by Matt
                    Martorello. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit
                    Exhibit 3, # 4 Exhibit Exhibit 4, # 5 Exhibit Exhibit 5, # 6 Exhibit Exhibit 6, # 7 Exhibit
                    Exhibit 7, # 8 Exhibit Exhibit 8, # 9 Exhibit Exhibit 9, # 10 Exhibit Exhibit 10, # 11
                    Exhibit Exhibit 11, # 12 Exhibit Exhibit 12, # 13 Exhibit Exhibit 13, # 14 Exhibit
                    Exhibit 14, # 15 Exhibit Exhibit 15, # 16 Exhibit Exhibit 16, # 17 Exhibit Exhibit 17, #
                    18 Exhibit Exhibit 18, # 19 Exhibit Exhibit 19, # 20 Exhibit Exhibit 20)(Stemland,
                    Karen) (Entered: 02/03/2021)
  02/08/2021   1000 REPLY to Response to Motion re 991 MOTION for Sanctions under Rule 37(b) filed by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 02/08/2021)
  02/08/2021   1001 Reply to 999 Response in Opposition to Motion,, for Prel Injunction (ECF 989) and
                    Memorandum in Support (ECF 990) filed by Lula Williams. (Bennett, Leonard)
                    (Entered: 02/08/2021)

                                                   Page 118
                                                                                                JA118
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 122 of 462

   02/10/2021   1002 Consent MOTION for Leave to File Excess Pages by Matt Martorello. (Hollis,
                     Jonathan) (Entered: 02/10/2021)
   02/10/2021   1003 Memorandum in Support re 1002 Consent MOTION for Leave to File Excess Pages
                     filed by Matt Martorello. (Attachments: # 1 Proposed Order Proposed Order)(Hollis,
                     Jonathan) (Entered: 02/10/2021)
   02/15/2021   1004 Memorandum in Opposition re 987 MOTION to Dismiss Plaintiff's Complaint Pursuant
                     to Federal Rules of Civil Procedure 19 And 12(b)(7) filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1 -
                     LVD Tribal Code)(Kelly, Kristi) (Entered: 02/15/2021)
   02/17/2021   1005 ORDER -This matter comes before the Court on Martorello's Consent Motion for Leave
                     to Exceed Page Limit for Martorello' forthcoming Opposition to Motion for Class
                     Certification. Upon consideration of the Motion, and for good cause shown, it is hereby
                     ORDERED that the Motion is GRANTED. Martorello's opposition brief shall not
                     exceed 50 pages and Plaintiffs' reply brief shall not exceed 35 pages. Signed by District
                     Judge Robert E. Payne on 2/16/2021. (smej, ) (Entered: 02/17/2021)
   02/23/2021   1006 ORDER - It is hereby ORDERED that MATT MARTORELLO'S MOTION TO FILE
                     CONFIDENTIAL EXHIBITS UNDER SEAL STATEMENT OF POSITION IN
                     RESPONSE TO JULY 23, 2020 (PARAGRAPH 4) (ECF No. 891) is granted in part and
                     denied in part. The Motion (ECF No. 891) is granted and the following documents are
                     filed under seal: MATT MARTORELLO'S STATEMENT OF POSITION IN
                     RESPONSE TO JULY 23, 2020 ORDER (PARAGRAPH 4) (ECF No. 894) and
                     Exhibits B, D, S, U, W, X, BB, CC, DD, JJ, and KK; provided that appropriately
                     redacted versions thereof are filed in the public record. The Motion (ECF No. 891) is
                     denied with respect to Exhibits A, E, I, J, L, M, N, 0, P, Q, R, T, Y, Z, AA, EE, FF and II;
                     and the Clerk is directed to remove those exhibits from seal. Signed by District Judge
                     Robert E. Payne on 2/23/2021. (smej, ) (Entered: 02/23/2021)
   02/23/2021   1007 Opposition to 967 MOTION to Certify Class (Plaintiffs' Renewed Motion for Class
                     Certification of Claims Against Matt Martorello) filed by Matt Martorello.
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit CC, # 5 Exhibit
                     D, # 6 Exhibit E, # 7 Exhibit EEE, # 8 Exhibit F, # 9 Exhibit FFF, # 10 Exhibit GG, # 11
                     Exhibit GGG, # 12 Errata H, # 13 Exhibit G, # 14 Exhibit HH, # 15 Exhibit HHH, # 16
                     Exhibit I, # 17 Exhibit III, # 18 Exhibit J, # 19 Exhibit JJJ, # 20 Exhibit Ki, # 21 Exhibit
                     Kii, # 22 Exhibit KKK, # 23 Exhibit LLL, # 24 Exhibit M, # 25 Exhibit MMM, # 26
                     Exhibit N, # 27 Exhibit OOO, # 28 Exhibit Q, # 29 Exhibit S, # 30 Exhibit SS, # 31
                     Exhibit VV, # 32 Exhibit Z, # 33 Exhibit ZZ)(Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1008 MOTION to Seal Exhibits Submitted in Opposition to Renewed Motion for Class
                     Certification by Matt Martorello. (Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1009 Memorandum in Support re 1008 MOTION to Seal Exhibits Submitted in Opposition to
                     Renewed Motion for Class Certification filed by Matt Martorello. (Hollis, Jonathan)
                     (Entered: 02/23/2021)
   02/23/2021   1010 EXHIBIT A to Memorandum in Support of His Motion to Seal Exhibits in Opposition to
                     Renewed Motion for Class Certification by Matt Martorello.. (Hollis, Jonathan)
                     (Entered: 02/23/2021)
   02/23/2021   1011 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 1008 MOTION to
                     Seal Exhibits Submitted in Opposition to Renewed Motion for Class Certification
                     (Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1012 Sealed Attachment/Exhibit(s) re 1008 MOTION to Seal Exhibits Submitted in
                     Opposition to Renewed Motion for Class Certification. (Attachments: # 1 Exhibit AAA,
                                                    Page 119
                                                                                                   JA119
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 123 of 462

                        # 2 Exhibit BB, # 3 Exhibit BBB, # 4 Exhibit C, # 5 Exhibit DDD, # 6 Exhibit EE, # 7
                        Exhibit FF, # 8 Exhibit III, # 9 Exhibit JJ, # 10 Exhibit KK, # 11 Exhibit KKK, # 12
                        Exhibit L, # 13 Exhibit LL, # 14 Exhibit MM, # 15 Exhibit MMM, # 16 Exhibit NN, #
                        17 Exhibit O, # 18 Exhibit OO, # 19 Exhibit P, # 20 Exhibit PP, # 21 Exhibit QQ, # 22
                        Exhibit R, # 23 Exhibit RR, # 24 Exhibit RRR, # 25 Exhibit T, # 26 Exhibit U, # 27
                        Exhibit UU, # 28 Exhibit W, # 29 Exhibit WW, # 30 Exhibit X, # 31 Exhibit XX, # 32
                        Exhibit Y)(Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1013 EXHIBIT RRR to Opposition to Plaintiffs's Renewed Motion for Class Certification
                     against Matt Martorello by Matt Martorello.. (Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1014 STRICKEN PER 1020 ORDER ENTERED ON 2/24/2021 - Opposition to 983
                     MOTION to Compel Information Withheld on the Basis of Attorney-Client Privilege,
                     985 MOTION to Compel Production of Documents That Martorello Claims Are
                     Covered By the Work-Product Doctrine filed by Matt Martorello. (Attachments: # 1
                     Exhibit A, # 2 Exhibit B, # 3 Exhibit BB, # 4 Exhibit CC, # 5 Exhibit D, # 6 Exhibit
                     DDD, # 7 Exhibit E, # 8 Exhibit EEE, # 9 Exhibit F, # 10 Exhibit FF, # 11 Exhibit FFF,
                     # 12 Exhibit G, # 13 Exhibit GG, # 14 Exhibit GGG, # 15 Exhibit H, # 16 Exhibit HH, #
                     17 Exhibit I, # 18 Exhibit III, # 19 Exhibit J, # 20 Exhibit JJJ, # 21 Exhibit Ki, # 22
                     Exhibit Kii, # 23 Exhibit L, # 24 Exhibit M, # 25 Exhibit N, # 26 Exhibit PPP, # 27
                     Exhibit Q, # 28 Exhibit QQQ, # 29 Exhibit RR, # 30 Exhibit RRR, # 31 Exhibit S, # 32
                     Exhibit SS, # 33 Exhibit SSS, # 34 Exhibit UU, # 35 Exhibit Y, # 36 Exhibit YY)(Hollis,
                     Jonathan) Modified on 2/24/2021 (jsmi, ). (Entered: 02/23/2021)
   02/23/2021   1015 MOTION to Seal Exhibits Submitted in Opposition to Motions to Compel by Matt
                     Martorello. (Hollis, Jonathan) (Entered: 02/23/2021)
   02/23/2021   1016 Memorandum in Support re 1015 MOTION to Seal Exhibits Submitted in Opposition to
                     Motions to Compel filed by Matt Martorello. (Attachments: # 1 Exhibit 1)(Hollis,
                     Jonathan) (Entered: 02/23/2021)
   02/23/2021   1017 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 1015 MOTION to
                     Seal Exhibits Submitted in Opposition to Motions to Compel (Hollis, Jonathan) (Entered:
                     02/23/2021)
   02/23/2021   1018 Sealed Attachment/Exhibit(s) re 1015 MOTION to Seal Exhibits Submitted in
                     Opposition to Motions to Compel. (Attachments: # 1 Exhibit AAA, # 2 Exhibit C, # 3
                     Exhibit CCC, # 4 Exhibit DD, # 5 Exhibit EE, # 6 Exhibit HHH, # 7 Exhibit II, # 8
                     Exhibit JJ, # 9 Exhibit KK, # 10 Exhibit KKK, # 11 Exhibit LL, # 12 Exhibit LLL, # 13
                     Exhibit MM, # 14 Exhibit NN, # 15 Exhibit O, # 16 Exhibit OO, # 17 Exhibit OOO, #
                     18 Exhibit P, # 19 Exhibit PP, # 20 Exhibit QQ, # 21 Exhibit R, # 22 Exhibit T, # 23
                     Exhibit TT, # 24 Exhibit TTT, # 25 Exhibit U, # 26 Exhibit UUU, # 27 Exhibit V, # 28
                     Exhibit VV, # 29 Exhibit W, # 30 Exhibit WW, # 31 Exhibit X, # 32 Exhibit XX, # 33
                     Exhibit Z, # 34 Exhibit ZZ)(Hollis, Jonathan) (Entered: 02/23/2021)
   02/24/2021   1019 Joint MOTION for Extension of Time to File Response/Reply as to 983 MOTION to
                     Compel Information Withheld on the Basis of Attorney-Client Privilege, 985 MOTION
                     to Compel Production of Documents That Martorello Claims Are Covered By the Work-
                     Product Doctrine, 967 MOTION to Certify Class (Plaintiffs' Renewed Motion for Class
                     Certification of Claims Against Matt Martorello) by Matt Martorello. (Attachments: # 1
                     Proposed Order)(Hollis, Jonathan) (Entered: 02/24/2021)
   02/24/2021   1020 ORDER that DEFENDANT MATT MARTORELLO'S 1014 OPPOSITION TO
                     PLAINTIFFS' MOTIONS TO COMPEL INFORMATION AND DOCUMENTS is
                     stricken. The defendant, Matt Martorello, shall file, by March 1, 2021, separate
                     responses to the plaintiffs' Motions (ECF Nos. 983 and 985) as required in 995 ORDER


                                                    Page 120
                                                                                                 JA120
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 124 of 462

                        entered on January 22, 2021. See Order for details. Signed by District Judge Robert E.
                        Payne on 2/24/2021. (jsmi, ) (Entered: 02/24/2021)
   02/24/2021   1021 ORDER that MATT MARTORELLO'S 918 MOTION TO FILE CONFIDENTIAL
                     EXHIBITS UNDER SEAL WITH HIS MOTION FOR LEAVE TO FILE
                     SUPPLEMENTAL EXHIBITS IN SUPPORT OF HIS 486 MOTION FOR
                     RECONSIDERATION AND REQUEST FOR HEARING is granted in part and denied
                     in part. See Order for details. Signed by District Judge Robert E. Payne on 2/24/2021.
                     (jsmi, ) (Entered: 02/24/2021)
   02/24/2021   1022 ORDER that MATT MARTORELLO'S 903 MOTION TO FILE UNDER SEAL THE
                     UNREDACTED VERSION OF HIS SUPPLEMENTAL BRIEF REGARDING
                     ALLEGED MISREPRESENTATIONS is granted and MATT MARTORELLO'S 907
                     SUPPLEMENTAL BRIEF REGARDING ALLEGED MISREPRESENTATIONS is
                     filed under seal; provided that an appropriately redacted version thereof is filed in the
                     public record. Signed by District Judge Robert E. Payne on 2/24/2021. (jsmi, ) (Entered:
                     02/24/2021)
   02/24/2021   1023 ORDER that the Plaintiffs' 897 MOTION TO SEAL is granted and PLAINTIFFS' 899
                     STATEMENT OF POSITION REGARDING THE STRUCTURE OF
                     MARTORELLO'S COMPANIES AND FLOW OF FUNDS and Exhibit Nos. 7, 8, and
                     10 thereto are filed under seal; provided that appropriately redacted versions thereof are
                     filed in the public record. See Order for details. Signed by District Judge Robert E.
                     Payne on 2/24/2021. (jsmi, ) (Entered: 02/24/2021)
   02/24/2021   1024 Reply to Motion re 987 MOTION to Dismiss Plaintiff's Complaint Pursuant to Federal
                     Rules of Civil Procedure 19 And 12(b)(7) filed by Matt Martorello. (Hollis, Jonathan)
                     (Entered: 02/24/2021)
   02/26/2021   1025 Opposition to 985 MOTION to Compel Production of Documents That Martorello
                     Claims Are Covered By the Work-Product Doctrine filed by Matt Martorello.
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit BB, # 4 Exhibit CC, # 5 Exhibit
                     D, # 6 Exhibit DDD, # 7 Exhibit E, # 8 Exhibit EEE, # 9 Exhibit F, # 10 Exhibit FF, # 11
                     Exhibit FFF, # 12 Exhibit G, # 13 Exhibit GG, # 14 Exhibit GGG, # 15 Exhibit H, # 16
                     Exhibit HH, # 17 Exhibit I, # 18 Exhibit III, # 19 Exhibit J, # 20 Exhibit JJJ, # 21
                     Exhibit Ki, # 22 Exhibit Kii, # 23 Exhibit L, # 24 Exhibit M, # 25 Exhibit N, # 26
                     Exhibit PPP, # 27 Exhibit Q, # 28 Exhibit QQQ, # 29 Exhibit RR, # 30 Exhibit RRR, #
                     31 Exhibit S, # 32 Exhibit SS, # 33 Exhibit SSS, # 34 Exhibit UU, # 35 Exhibit Y, # 36
                     Exhibit YY)(Hollis, Jonathan) (Attachment 12 replaced on 3/3/2021) (jsmi, ). (Entered:
                     02/26/2021)
   02/26/2021   1026 MOTION to Seal Exhibits Submitted in Opposition to Plaintiffs' Motion to Compel
                     Information and Documents Withheld on the Basis of Work Product Immunity by Matt
                     Martorello. (Hollis, Jonathan) (Entered: 02/26/2021)
   02/26/2021   1027 Memorandum in Support re 1026 MOTION to Seal Exhibits Submitted in Opposition to
                     Plaintiffs' Motion to Compel Information and Documents Withheld on the Basis of Work
                     Product Immunity filed by Matt Martorello. (Attachments: # 1 Exhibit 1)(Hollis,
                     Jonathan) (Entered: 02/26/2021)
   02/26/2021   1028 Notice of Under Seal Filing LCvR5 (B) by Matt Martorello re 1026 MOTION to Seal
                     Exhibits Submitted in Opposition to Plaintiffs' Motion to Compel Information and
                     Documents Withheld on the Basis of Work Product Immunity (Hollis, Jonathan)
                     (Entered: 02/26/2021)
   02/26/2021   1029 Sealed Attachment/Exhibit(s) re 1026 MOTION to Seal Exhibits Submitted in
                     Opposition to Plaintiffs' Motion to Compel Information and Documents Withheld on the
                     Basis of Work Product Immunity. (Attachments: # 1 Exhibit AAA, # 2 Exhibit C, # 3
                                                    Page 121
                                                                                                  JA121
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 125 of 462

                        Exhibit CCC, # 4 Exhibit DD, # 5 Exhibit EE, # 6 Exhibit HHH, # 7 Exhibit II, # 8
                        Exhibit JJ, # 9 Exhibit KK, # 10 Exhibit KKK, # 11 Exhibit LL, # 12 Exhibit LLL, # 13
                        Exhibit MM, # 14 Exhibit NN, # 15 Exhibit O, # 16 Exhibit OO, # 17 Exhibit OOO, #
                        18 Exhibit P, # 19 Exhibit PP, # 20 Exhibit QQ, # 21 Exhibit R, # 22 Exhibit T, # 23
                        Exhibit TT, # 24 Exhibit TTT, # 25 Exhibit UUU, # 26 Exhibit V, # 27 Exhibit VV, # 28
                        Exhibit W, # 29 Exhibit WW, # 30 Exhibit X, # 31 Exhibit XX, # 32 Exhibit Z, # 33
                        Exhibit ZZ)(Hollis, Jonathan) (Additional attachment(s) added on 4/20/2021: # 34
                        Exhibit U) (jsmi, ). (Entered: 02/26/2021)
   02/26/2021   1030 Opposition to 983 MOTION to Compel Information Withheld on the Basis of Attorney-
                     Client Privilege filed by Matt Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                     3 Exhibit BB, # 4 Exhibit CC, # 5 Exhibit D, # 6 Exhibit DDD, # 7 Exhibit E, # 8
                     Exhibit EEE, # 9 Exhibit F, # 10 Exhibit FF, # 11 Exhibit FFF, # 12 Exhibit G, # 13
                     Exhibit GG, # 14 Exhibit GGG, # 15 Exhibit H, # 16 Exhibit HH, # 17 Exhibit I, # 18
                     Exhibit III, # 19 Exhibit J, # 20 Exhibit JJJ, # 21 Exhibit Ki, # 22 Exhibit Kii, # 23
                     Exhibit L, # 24 Exhibit M, # 25 Exhibit N, # 26 Exhibit PPP, # 27 Exhibit Q, # 28
                     Exhibit QQQ, # 29 Exhibit RR, # 30 Exhibit RRR, # 31 Exhibit S, # 32 Exhibit SS, # 33
                     Exhibit SSS, # 34 Exhibit UU, # 35 Exhibit Y, # 36 Exhibit YY)(Hollis, Jonathan)
                     (Attachment 12 replaced on 3/3/2021) (jsmi, ). (Entered: 02/26/2021)
   02/26/2021   1031 MOTION to Seal Exhibits Submitted in Opposition to Plaintiffs' Motion to Compel
                     Information Withheld on the Basis of the Attorney-Client Privilege by Matt Martorello.
                     (Hollis, Jonathan) (Entered: 02/26/2021)
   02/26/2021   1032 Memorandum in Support re 1031 MOTION to Seal Exhibits Submitted in Opposition to
                     Plaintiffs' Motion to Compel Information Withheld on the Basis of the Attorney-Client
                     Privilege filed by Matt Martorello. (Attachments: # 1 Exhibit 1)(Hollis, Jonathan)
                     (Entered: 02/26/2021)
   02/26/2021   1033 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 1031 MOTION to
                     Seal Exhibits Submitted in Opposition to Plaintiffs' Motion to Compel Information
                     Withheld on the Basis of the Attorney-Client Privilege (Hollis, Jonathan) (Entered:
                     02/26/2021)
   02/26/2021   1034 Sealed Attachment/Exhibit(s) re 1031 MOTION to Seal Exhibits Submitted in
                     Opposition to Plaintiffs' Motion to Compel Information Withheld on the Basis of the
                     Attorney-Client Privilege. (Attachments: # 1 Exhibit AAA, # 2 Exhibit C, # 3 Exhibit
                     CCC, # 4 Exhibit DD, # 5 Exhibit EE, # 6 Exhibit HHH, # 7 Exhibit II, # 8 Exhibit JJ, #
                     9 Exhibit KK, # 10 Exhibit KKK, # 11 Exhibit LL, # 12 Exhibit LLL, # 13 Exhibit MM,
                     # 14 Exhibit NN, # 15 Exhibit O, # 16 Exhibit OO, # 17 Exhibit OOO, # 18 Exhibit P, #
                     19 Exhibit PP, # 20 Exhibit QQ, # 21 Exhibit R, # 22 Exhibit T, # 23 Exhibit TT, # 24
                     Exhibit TTT, # 25 Exhibit U, # 26 Exhibit UUU, # 27 Exhibit V, # 28 Exhibit VV, # 29
                     Exhibit W, # 30 Exhibit WW, # 31 Exhibit X, # 32 Exhibit XX, # 33 Exhibit Z, # 34
                     Exhibit ZZ)(Hollis, Jonathan) (Entered: 02/26/2021)
   03/01/2021   1035 MOTION for Extension of Time to File and Serve Updated Privilege Log by Matt
                     Martorello. (Attachments: # 1 Proposed Order)(Hollis, Jonathan) (Entered: 03/01/2021)
   03/01/2021   1036 Memorandum in Support re 1035 MOTION for Extension of Time to File and Serve
                     Updated Privilege Log filed by Matt Martorello. (Hollis, Jonathan) (Entered:
                     03/01/2021)
   03/03/2021   1037 MOTION for Extension of Time to File Response/Reply as to 983 MOTION to Compel
                     Information Withheld on the Basis of Attorney-Client Privilege, 984 Memorandum in
                     Support,,,,,,,, 985 MOTION to Compel Production of Documents That Martorello
                     Claims Are Covered By the Work-Product Doctrine, 986 Memorandum in Support,,,,, by


                                                    Page 122
                                                                                                JA122
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 126 of 462

                        Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                        (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 03/03/2021)
   03/03/2021   1038 Memorandum in Support re 1037 MOTION for Extension of Time to File
                     Response/Reply as to 983 MOTION to Compel Information Withheld on the Basis of
                     Attorney-Client Privilege, 984 Memorandum in Support,,,,,,,, 985 MOTION to Compel
                     Production of Documents That filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                     Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 03/03/2021)
   03/03/2021   1039 NOTICE by Matt Martorello Concerning His First Amended Privilege Log
                     (Attachments: # 1 Exhibit First Amended Privilege Log of Defendant Matt Martorello)
                     (Hollis, Jonathan) (Entered: 03/03/2021)
   03/03/2021   1040 ORDER that 1019 JOINT MOTION FOR EXTENSION OF TIME TO FILE
                     OPPOSITION AND REPLIES TO THE RENEWED MOTION FOR CLASS
                     CERTIFICATION AND MOTIONS TO COMPEL PRIVILEGED AND WORK
                     PRODUCTS is granted in part and denied in part. The JOINT MOTION is granted with
                     respect to the plaintiffs' reply to the pending renewed motion for class certification and it
                     is ORDERED that the plaintiffs shall file, by March 22, 2021, their reply to the
                     PLAINTIFFS' 967 RENEWED MOTION FOR CLASS CERTIFICATION OF
                     CLAIMS AGAINST DEFENDANT MATT MARTORELLO. The JOINT MOTION is
                     denied as moot with respect to all other extension requests. Signed by District Judge
                     Robert E. Payne on 3/3/2021. (jsmi, ) (Entered: 03/03/2021)
   03/03/2021   1041 ORDER that 1035 MOTION FOR EXTENSION OF TIME TO FILE AND SERVE
                     UPDATED PRIVILEGE LOG filed by the defendant, Matt Martorello, is granted and
                     Matt Martorello shall serve an updated privilege log by March 3, 2021. Signed by
                     District Judge Robert E. Payne on 3/3/2021. (jsmi, ) (Entered: 03/03/2021)
   03/03/2021   1042 ORDER that PLAINTIFFS' 1037 CONSENT MOTION FOR AN ENLARGEMENT OF
                     TIME is granted. It is further ORDERED that by March 22, 2021, the plaintiffs shall file
                     their reply in support of 983 MOTION TO COMPEL INFORMATION WITHHELD
                     ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE; by March 22, 2021, the
                     plaintiffs shall file their reply in support of 985 MOTION TO COMPEL PRODUCTION
                     OF DOCUMENTS MARTORELLO CLAIMS ARE COVERED BY THE WORK-
                     PRODUCT DOCTRINE; and the oral argument scheduled for 10:00 a.m. March 12,
                     2021 is continued to 10:00 a.m. April 13, 2021. Signed by District Judge Robert E.
                     Payne on 3/3/2021. (jsmi, ) (Entered: 03/03/2021)
   03/04/2021           Reset Hearing: Motion Hearing set for 4/13/2021 at 10:00 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 03/04/2021)
   03/05/2021   1043 MOTION re 990 Memorandum in Support, Motion for Leave to Supplement the Record
                     by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                     (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 03/05/2021)
   03/05/2021   1044 Memorandum in Support re 1043 MOTION re 990 Memorandum in Support, Motion for
                     Leave to Supplement the Record filed by Dowin Coffy, George Hengle, Marcella P.
                     Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit "1", # 2 Exhibit "2" -
                     FILED UNDER SEAL)(Bennett, Leonard) (Entered: 03/05/2021)
   03/05/2021   1045 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered:
                     03/05/2021)
   03/05/2021   1046 Memorandum in Support re 1045 MOTION to Seal filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                     03/05/2021)

                                                     Page 123
                                                                                                   JA123
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 127 of 462

   03/05/2021   1047 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams re 1045 MOTION to Seal , 1046 Memorandum
                     in Support (Bennett, Leonard) (Entered: 03/05/2021)
   03/09/2021   1048 ORDER that MATT MARTORELLO's 1008 MOTION TO SEAL EXHIBITS
                     SUBMITTED IN OPPOSITION TO RENEWED MOTION FOR CLASS
                     CERTIFICATION is granted and certain exhibits to the OPPOSITION TO
                     PLAINTIFFS' RENEWED MOTION FOR CLASS CERTIFICATION AGAINST
                     MATT MARTORELLO are filed under seal; provided that appropriately redacted
                     versions thereof are filed in the public record. Signed by District Judge Robert E. Payne
                     on 3/9/2021. (jsmi, ) (Entered: 03/09/2021)
   03/09/2021   1049 ORDER that MARTORELLO'S 1015 MOTION TO SEAL EXHIBITS SUBMITTED
                     IN OPPOSITION TO MOTIONS TO COMPEL is denied as moot because, by 1020
                     ORDER entered on February 24, 2021, the Court struck DEFENDANT MATT
                     MARTORELLO'S OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL
                     INFORMATION AND DOCUMENTS from the record herein. Signed by District Judge
                     Robert E. Payne on 3/9/2021. (jsmi, ) (Entered: 03/09/2021)
   03/09/2021   1050 ORDER that MATT MARTORELLO'S 1026 MOTION TO SEAL EXHIBITS
                     SUBMITTED IN OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL
                     INFORMATION AND DOCUMENTS WITHHELD ON THE BASIS OF WORK
                     PRODUCT IMMUNITY is granted and certain exhibits to DEFENDANT MATT
                     MARTORELLO'S OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL
                     INFORMATION AND DOCUMENTS WITHHELD ON THE BASIS OF WORK
                     PRODUCT IMMUNITY are filed under seal; provided that appropriately redacted
                     versions thereof are filed in the public record. Signed by District Judge Robert E. Payne
                     on 3/9/2021. (jsmi, ) (Entered: 03/09/2021)
   03/09/2021   1051 ORDER that MATT MARTORELLO'S 1031 MOTION TO SEAL EXHIBITS
                     SUBMITTED IN OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL
                     INFORMATION WITHHELD ON THE BASIS OF THE ATTORNEY-CLIENT
                     PRIVILEGE is granted and certain exhibits to DEFENDANT MATT MARTORELLO'S
                     OPPOSITION TO PLAINTIFFS' MOTION TO COMPEL INFORMATION
                     WITHHELD ON THE BASIS OF THE ATTORNEY-CLIENT PRIVILEGE are filed
                     under seal; provided that appropriately redacted versions thereof are filed in the public
                     record. Signed by District Judge Robert E. Payne on 3/9/2021. (jsmi, ) (Entered:
                     03/09/2021)
   03/15/2021           Notice of Correction re 1044 Memorandum in Support re 1043 MOTION. Plaintiff's
                        counsel shall file sealed version of 1044 Memorandum in Support and Sealed Exhibit 2.
                        (jsmi, ) (Entered: 03/15/2021)
   03/19/2021   1052 Opposition to 1044 Memorandum in Support, filed by Matt Martorello. (Attachments: #
                     1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit Exhibit 3, # 4 Exhibit Exhibit 4, #
                     5 Exhibit Exhibit 5)(Stemland, Karen) (Entered: 03/19/2021)
   03/19/2021   1053 Consent MOTION for Extension of Time to File Response/Reply by Lula Williams.
                     (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 03/19/2021)
   03/19/2021   1054 Memorandum in Support re 1053 Consent MOTION for Extension of Time to File
                     Response/Reply filed by Lula Williams. (Bennett, Leonard) (Entered: 03/19/2021)
   03/22/2021   1055 Reply to Motion re 967 MOTION to Certify Class (Plaintiffs' Renewed Motion for Class
                     Certification of Claims Against Matt Martorello) filed by Dowin Coffy, George Hengle,
                     Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit "1", # 2
                     Exhibit "2", # 3 Exhibit "3", # 4 Exhibit "4", # 5 Exhibit "5" - Part 1, # 6 Exhibit "5" -

                                                    Page 124
                                                                                                  JA124
USCA4 Appeal: 23-2097       Doc: 11-1           Filed: 12/06/2023        Pg: 128 of 462

                        Part 2, # 7 Exhibit "6", # 8 Exhibit "7", # 9 Exhibit "8", # 10 Exhibit "9", # 11 Exhibit
                        "10", # 12 Exhibit "11")(Bennett, Leonard) (Entered: 03/22/2021)
   03/24/2021   1056 Sealed Memorandum in Support re 1044 Memorandum in Support,. (Bennett, Leonard)
                     (Entered: 03/24/2021)
   03/24/2021   1057 Sealed Attachment/Exhibit(s) re 1044 Memorandum in Support,. (Attachments: # 1
                     Certificate of Service for Sealed docs)(Bennett, Leonard) (Entered: 03/24/2021)
   03/24/2021   1058 ORDER that plaintiffs' 1045 MOTION TO SEAL is granted and the plaintiffs' 1056
                     MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO SUPPLEMENT THE
                     RECORD IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION and
                     Exhibit 2 thereto are filed under seal; provided that appropriately redacted versions
                     thereof are filed in the public record. Signed by District Judge Robert E. Payne on
                     3/24/2021. (jsmi, ) (Entered: 03/24/2021)
   03/25/2021   1059 Reply to Motion re 1043 MOTION re 990 Memorandum in Support, Motion for Leave
                     to Supplement the Record filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                     Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 03/25/2021)
   03/25/2021   1060 MOTION to Strike 1052 Opposition by Dowin Coffy, George Hengle, Marcella P.
                     Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett,
                     Leonard) (Entered: 03/25/2021)
   03/25/2021   1061 Memorandum in Support re 1060 MOTION to Strike 1052 Opposition filed by Dowin
                     Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett,
                     Leonard) (Entered: 03/25/2021)
   03/25/2021   1062 ORDER that PLAINTIFFS' 1053 CONSENT MOTION FOR AN ENLARGEMENT OF
                     TIME TO FILE REPLIES IN SUPPORT OF MOTIONS TO COMPEL is granted. It is
                     further ORDERED that, by April 7, 2021, the plaintiff shall file their replies in support
                     of 983 MOTION TO COMPEL INFORMATION WITHHELD ON THE BASIS OF
                     ATTORNEY-CLIENT PRIVILEGE and 985 MOTION TO COMPEL PRODUCTION
                     OF DOCUMENTS THAT MARTORELLO CLAIMS ARE COVERED BY THE
                     WORK-PRODUCT DOCTRINE. Signed by District Judge Robert E. Payne on
                     3/25/2021. (jsmi, ) (Entered: 03/25/2021)
   03/26/2021   1063 ORDER that 488 MOTION FOR SANCTIONS FOR FAILURE TO COMPLY WITH
                     COURT ORDER DATED MAY 3, 2019 is denied as moot. See Order for details. Signed
                     by District Judge Robert E. Payne on 3/26/2021. (jsmi, ) (Entered: 03/26/2021)
   03/26/2021   1064 ORDER that MATT MARTORELLO'S 499 and 500 MOTION FOR CERTIFICATION
                     OF INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292 (b) AND MOTION FOR
                     STAY PENDING INTERLOCUTORY APPEAL AND/OR DECISION ON A
                     PETITION FOR WRIT OF MANDAMUS are denied as moot. See Order for details.
                     Signed by District Judge Robert E. Payne on 3/26/2021. (jsmi, ) (Entered: 03/26/2021)
   03/26/2021   1065 ORDER that MARTORELLO'S 539 MOTION FOR PROTECTIVE ORDER
                     REGARDING PLAINTIFFS' DEMAND FOR SECOND DEPOSITION OF MATT
                     MARTORELLO RELATED TO ALLEGED SPOLIATION ISSUES TO COMPEL is
                     denied. See Order for details. Signed by District Judge Robert E. Payne on 3/26/2021.
                     (jsmi, ) (Entered: 03/26/2021)
   03/26/2021   1066 NOTICE by Matt Martorello attaching Supplemental Privilege Log (Attachments: # 1
                     Exhibit Supplemental Privilege Log of Defendant Matt Martorello)(Hollis, Jonathan)
                     (Entered: 03/26/2021)
   03/29/2021   1067 ORDER that 542 MOTION TO QUASH, IN PART, NON-PARTY SUBPOENA, OR IN
                     THE ALTERNATIVE MOTION FOR PROTECTIVE ORDER is granted without
                                                      Page 125
                                                                                                     JA125
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023        Pg: 129 of 462

                      prejudice to the future litigation, in this Court, of the issues raised therein pending upon
                      reconsideration of the issues addressed in ECF Nos. 478 and 479. It is further
                      ORDERED that the that the PLAINTIFFS' 571 CROSS MOTION TO COMPEL
                      AGAINST NON-PARTY CONNER & WINTERS, LLP is denied without prejudice for
                      the same reasons. See Order for details. Signed by District Judge Robert E. Payne on
                      3/29/2021. (jsmi, ) (Entered: 03/29/2021)
  03/31/2021   1068 MOTION for Extension of Time to File Response/Reply as to 983 MOTION to Compel
                    Information Withheld on the Basis of Attorney-Client Privilege, 984 Memorandum in
                    Support,,,,,,,, 985 MOTION to Compel Production of Documents That Martorello
                    Claims Are Covered By the Work-Product Doctrine, 986 Memorandum in Support,,,,, by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 03/31/2021)
  03/31/2021   1069 Memorandum in Support re 1068 MOTION for Extension of Time to File
                    Response/Reply as to 983 MOTION to Compel Information Withheld on the Basis of
                    Attorney-Client Privilege, 984 Memorandum in Support,,,,,,,, 985 MOTION to Compel
                    Production of Documents That filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered: 03/31/2021)
  04/01/2021   1070 ORDER that the PLAINTIFFS' 556 MOTION TO COMPEL is denied as moot, as
                    respects the production of a privilege log and without prejudice as respects production of
                    the requested documents in the event that such production is appropriate based upon the
                    resolution of pending motions to compel relating to waiver of the attorney-client
                    privilege. See Order for details. Signed by District Judge Robert E. Payne on 4/1/2021.
                    (jsmi, ) (Entered: 04/01/2021)
  04/06/2021   1071 Memorandum in Opposition re 1060 MOTION to Strike 1052 Opposition filed by Matt
                    Martorello. (Stemland, Karen) (Entered: 04/06/2021)
  04/09/2021   1072 ORDER - It is hereby ORDERED that PLAINTIFFS' CONSENT MOTION FOR AN
                    ENLARGEMENT OF TIME TO FILE REPLIES IN SUPPORT OF MOTIONS TO
                    COMPEL (ECF No. 1068) is granted. It is further ORDERED that, by April 23, 2021,
                    the plaintiff shall file their replies in support of the MOTION TO COMPEL
                    INFORMATION WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE
                    (ECF No. 983) and the MOTION TO COMPEL PRODUCTION OF DOCUMENTS
                    THAT MARTORELLO CLAIMS ARE COVERED BY THE WORK-PRODUCT
                    DOCTRINE (ECF No. 985). It is further ORDERED that oral argument set for 10:00
                    a.m. April 13, 2021 is continued to 10:00 May 28, 2021. Signed by District Judge
                    Robert E. Payne on 4/9/2021. (smej, ) (Entered: 04/09/2021)
  04/12/2021          Reset Hearing: Renewed Motion to Compel Hearing set for 5/28/2021 at 10:00 AM in
                      Richmond Courtroom 7400 before District Judge Robert E. Payne (if necessary).
                      (nbrow) (Entered: 04/12/2021)
  04/12/2021   1073 Reply to 1044 Memorandum in Support, 1052 Opposition filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                    04/12/2021)
  04/15/2021   1074 MOTION for Hearing Pending Motions ECF Nos. 946, 948, 987, 967, 989 by Matt
                    Martorello. (Attachments: # 1 Proposed Order)(Hollis, Jonathan) (Entered: 04/15/2021)
  04/20/2021   1075 Withdrawal of Motion by All Plaintiffs re 983 MOTION to Compel Information
                    Withheld on the Basis of Attorney-Client Privilege, 985 MOTION to Compel Production
                    of Documents That Martorello Claims Are Covered By the Work-Product Doctrine
                    (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 04/20/2021)

                                                    Page 126
                                                                                                   JA126
USCA4 Appeal: 23-2097     Doc: 11-1         Filed: 12/06/2023      Pg: 130 of 462

  04/20/2021   1076 ORDER that the defendant, Matt Martorello, shall file, by 5:00 p.m. April 21, 2021, a
                    response to 1075 NOTICE OF WITHDRAWAL OF MOTIONS advising the Court
                    whether he intends to oppose the withdrawal of 983 MOTION TO COMPEL
                    INFORMATION WITHHELD ON THE BASIS OF ATTORNEY CLIENT PRIVILEGE
                    and 985 MOTION TO COMPEL PRODUCTION OF DOCUMENTS THAT
                    MARTORELLO CLAIMS ARE COVERED BY THE WORK-PRODUCT DOCTRINE.
                    Signed by District Judge Robert E. Payne on 4/20/2021. (jsmi, ) (Entered: 04/20/2021)
  04/21/2021   1077 Response to 1075 Withdrawal of Motion, filed by Matt Martorello. (Stemland, Karen)
                    (Entered: 04/21/2021)
  04/23/2021   1078 MOTION for Leave to File Supplemental Authority by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Kelly, Kristi) (Entered: 04/23/2021)
  04/23/2021   1079 Memorandum in Support re 1078 MOTION for Leave to File Supplemental Authority
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Proposed Order 1 - Brice Order Granting Class
                    Certification)(Kelly, Kristi) (Entered: 04/23/2021)
  04/26/2021   1080 Motion to appear Pro Hac Vice by Bernard Robert Given and Certification of Local
                    Counsel Jon Hollis Filing fee $ 75, receipt number AVAEDC-7753373. by Matt
                    Martorello. (Hollis, Jonathan) (Entered: 04/26/2021)
  04/26/2021   1081 Motion to appear Pro Hac Vice by William Nathaniel Grosswendt and Certification of
                    Local Counsel Jon Hollis Filing fee $ 75, receipt number AVAEDC-7753577. by Matt
                    Martorello. (Hollis, Jonathan) (Entered: 04/26/2021)
  04/29/2021   1082 ORDER that the plaintiff's 983 MOTION TO COMPEL INFORMATION WITHHELD
                    ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE and the plaintiff's 985
                    MOTION TO COMPEL PRODUCTION OF DOCUMENTS THAT MARTORELLO
                    CLAIMS ARE COVERED BY THE WORK-PRODUCT DOCTRINE are denied as
                    moot having been withdrawn. It is further ORDERED that oral argument scheduled for
                    10:00 a.m. May 28, 2021 is canceled. Signed by District Judge Robert E. Payne on
                    4/29/2021. (jsmi, ) (Entered: 04/29/2021)
  05/05/2021   1083 ORDERS granting 1080 and 1081 Motions for Pro hac vice. Bernard Robert Given, II,
                    and William Nathaniel Grosswendt appointed for Matt Martorello. Signed by District
                    Judge Robert E. Payne on 5/5/2021. (jsmi, ) (Entered: 05/05/2021)
  05/06/2021   1084 NOTICE of Appearance by John David Taliaferro on behalf of Matt Martorello
                    (Taliaferro, John) (Entered: 05/06/2021)
  05/07/2021   1085 MOTION to Withdraw as Attorney by Matt Martorello. (Attachments: # 1 Proposed
                    Order Proposed Order)(Hollis, Jonathan) (Entered: 05/07/2021)
  05/07/2021   1086 Response to 1079 Memorandum in Support, 1078 MOTION for Leave to File
                    Supplemental Authority filed by Matt Martorello. (Attachments: # 1 Exhibit 1-2)
                    (Taliaferro, John) (Entered: 05/07/2021)
  05/11/2021   1087 REPLY to Response to Motion re 1078 MOTION for Leave to File Supplemental
                    Authority filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Kelly, Kristi) (Entered: 05/11/2021)
  05/12/2021   1088 ORDER that 1085 Motion to Withdraw as Counsel is granted. The law firm of Woods
                    Rogers PLC and the following counsel shall be withdrawn as counsel in this matter for
                    Defendant Matt Martorello: Jonathan Frank Hollis. Signed by District Judge Robert E.
                    Payne on 5/12/2021. (jsmi, ) (Entered: 05/12/2021)

                                                 Page 127
                                                                                             JA127
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 131 of 462

   05/19/2021   1089 MEMORANDUM ORDER that Martorello meets none of the requirement for a stay in
                     these cases and DEFENDANT MATT MARTORELLO'S 948 MOTION TO STAY is
                     denied. See Order for details. Signed by District Judge Robert E. Payne on 5/18/2021.
                     (jsmi, ) (Entered: 05/19/2021)
   05/19/2021   1090 MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 5/18/2021.
                     (jsmi, ) (Entered: 05/19/2021)
   05/19/2021   1091 ORDER that DEFENDANT MATT MARTORELLO'S 946 MOTION FOR ORDER
                     CERTIFYING NOVEMBER 18, 2020 MEMORANDUM OPINION FOR
                     INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b) is denied. See Order for
                     details. Signed by District Judge Robert E. Payne on 5/18/2021. (jsmi, ) (Entered:
                     05/19/2021)
   05/20/2021   1092 MEMORANDUM ORDER that DEFENDANT MATT MARTORELLO'S 987
                     MOTION TO DISMISS PLAINTIFF'S COMPLAINT PURSUANT TO FEDERAL
                     RULES OF CIVIL PROCEDURE 19 AND 12(b)(7) is denied. See Order for details.
                     Signed by District Judge Robert E. Payne on 5/20/2021. (jsmi, ) (Entered: 05/20/2021)
   06/02/2021   1093 NOTICE of Change of Address by Dowin Coffy, George Hengle, Marcella P. Singh,
                     Gloria Turnage, Lula Williams (Bennett, Leonard). Modified to correct docket text on
                     6/8/2021 (sbea,) (Entered: 06/02/2021)
   06/08/2021           Notice of Correction re: 1093 NOTICE; Filing attorney selected the wrong filing event.
                        The correct event is Notice "Change of Address". Clerk corrected docket text to reflect
                        same. No further action is required at this time. (sbea,) (Entered: 06/08/2021)
   06/10/2021   1094 ORDER that the plaintiffs' MOTION FOR LEAVE TO FILE SUPPLEMENTAL
                     AUTHORITY (ECF No. 1078 ) is granted and the Court will consider the class
                     certification order in Brice v. Stinson, No. 19-cv-1481 (N.D. Cal.) and the decision in
                     Smith v. Martorello, et al., No. 3:18-cv-1651 (D. Or., March 16, 2021). It is further
                     ORDERED that the facts and legal contentions are adequately presented in the materials
                     before the Court and oral argument would not aid the decisional process. It is so
                     ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     6/10/2021. (sbea,) (Entered: 06/10/2021)
   06/10/2021   1095 ORDER that argument for PLAINTIFFS' RENEWED MOTION FOR CLASS
                     CERTIFICATION OF CLAIMS AGAINST DEFENDANT MATT
                     MARTORELLO (ECF No. 967 ) will be held, in person, on June 29, 2021 at 10:00
                     AM. It is so ORDERED. Signed by Senior United States District Judge Robert E. Payne
                     on 6/10/2021. (sbea,) (Entered: 06/10/2021)
   06/10/2021           Set Hearing: Renewed Motion for Class Certification Hearing set for 6/29/2021 at 10:00
                        AM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                        (Entered: 06/10/2021)
   06/10/2021   1096 ORDER that the plaintiffs' MOTION FOR LEAVE TO SUPPLEMENT THE RECORD
                     (ECF No. 1043 ) is granted and that Supplemental Exhibits 1 and 2 shall be accepted as
                     part of the record pertaining to PLAINTIFFS' MOTION FOR PRELIMINARY
                     INJUNCTION (ECF No. 989 ). It is further ORDERED that the facts and legal
                     contentions are adequately presented in the materials before the Court and oral argument
                     would not aid the decisional process. It is so ORDERED. Signed by Senior United
                     States District Judge Robert E. Payne on 6/10/2021. (sbea,) (Entered: 06/10/2021)
   06/28/2021   1097 ORDER that by 9:00 AM on June 29, 2021, each party shall file a statement of position
                     listing, for Counts II-V of the Complaint (ECF No. 1 : 1) the elements of the claim; and
                     2) the statute of limitations applicable to each claim. It is so ORDERED. Signed by

                                                    Page 128
                                                                                                  JA128
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 132 of 462

                        Senior United States District Judge Robert E. Payne on 6/28/2021. (sbea,) (Entered:
                        06/28/2021)
   06/28/2021   1098 Statement of Position Re: Elements and Statute of Limitations by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams re 1097 Order (Kelly, Kristi).
                     Modified docket text on 6/30/2021. (sbea,) (Entered: 06/28/2021)
   06/28/2021   1099 Statement of Position Re: Elements and Statute of Limitations by Matt Martorello re
                     1097 Order (Taliaferro, John). Modified docket text on 6/30/2021. (sbea,) (Entered:
                     06/28/2021)
   06/29/2021   1102 Minute Entry for proceedings held before District Judge Robert E. Payne: Motion for
                     Class Certification of Claims as to Matt Martorello Hearing held on 6/29/2021.
                     Arguments heard; counsel to file status report w/ statement of position by 7/01/2021 re:
                     rule 37 & injunction (Court Reporter Peppy Peterson, OCR.) (nbrow) (Entered:
                     06/29/2021)
   07/01/2021   1103 Joint Status Report Regarding Motions Pursuant to Rule 37 and for Preliminary
                     Injunction by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams (Bennett, Leonard). Modified docket text on 7/2/2021. (sbea,) (Entered:
                     07/01/2021)
   07/05/2021   1104 TRANSCRIPT of proceedings held on June 29, 2021, before Judge Robert E. Payne,
                     Court Reporter Peppy Peterson, Telephone number 804-916-2267. NOTICE RE
                     REDACTION OF TRANSCRIPTS:The parties have thirty (30) calendar days to
                     file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to
                     the public without redaction after 90 calendar days. The policy is located on our
                     website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                     terminal or purchased through the court reporter before the deadline for Release of
                     Transcript Restriction. After that date, it may be obtained through PACER
                     Redaction Request due 8/4/2021. Redacted Transcript Deadline set for 9/7/2021.
                     Release of Transcript Restriction set for 10/4/2021.(peterson, peppy) (Entered:
                     07/05/2021)
   07/09/2021   1105 Joint Supplemental Status Report Regarding Motions Pursuant to Rule 37 and
                     Preliminary Injunction by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                     Turnage, Lula Williams (Kelly, Kristi). Modified docket text on 7/9/2021. (sbea,)
                     (Entered: 07/09/2021)
   07/12/2021   1106 MEMORANDUM OPINION. See Opinion for details. It is so ORDERED. Signed by
                     Senior United States District Judge Robert E. Payne on 7/12/2021. (Attachments: # 1
                     Appendix). (sbea,) (Entered: 07/12/2021)
   07/13/2021   1107 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams re 967 MOTION to Certify Class (Plaintiffs' Renewed Motion for Class
                     Certification of Claims Against Matt Martorello) (Attachments: # 1 Proposed Order)
                     (Kelly, Kristi) (Entered: 07/13/2021)
   07/15/2021   1108 STATUS REPORT (Joint Supplemental) Regarding Motions Pursuant to Rule 37 and
                     Preliminary Injunction by Matt Martorello. (Attachments: # 1 Proposed Order)
                     (Taliaferro, John) (Entered: 07/15/2021)
   07/16/2021   1109 ORDER that Defendant Matt Martorello, will produce the deposition transcripts of
                     Simon Liang, Brian McFadden, and Alan Reeves, as well as the expert reports of
                     William Metzdorff and Robert Miller to the Plaintiffs within eleven (11) court days of
                     the entry of this Order unless the Tribal Entities move for relief from this Order in this
                     Court within ten (10) court days of entry of this Order. If the Tribal Entities move for

                                                    Page 129
                                                                                                   JA129
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023      Pg: 133 of 462

                      relief from this Order in this Court within ten (10) court days of entry of this Order,
                      Defendant Matt Martorello shall not produce the deposition transcripts of Simon Liang,
                      Brian McFadden, and Alan Reeves, as well as the expert reports of William Metzdorff
                      and Robert Miller to the Plaintiffs until after the Court resolves the Tribal Entities'
                      challenge to their disclosure. Plaintiffs' Rule 37(b) Motion (ECF No. 991 ) is
                      WITHDRAWN, and thus is denied as moot. IT IS SO ORDERED. Signed by Senior
                      United States District Judge Robert E. Payne on 7/16/2021. (sbea,) (Entered:
                      07/16/2021)
  07/20/2021   1110 MEMORANDUM OPINION. See Opinion for details. It is so ORDERED. Signed by
                    Senior United States District Judge Robert E. Payne on 7/19/2021. (sbea,) (Entered:
                    07/20/2021)
  07/20/2021   1111 ORDER that comes before the Court on Plaintiffs' Renewed Motion to Certify a Class
                    (ECF No. 967 ). Upon consideration of the Motion, and Defendant's opposition thereto,
                    the Court hereby GRANTS the Motion. The Court certifies the following Classes: (a)
                    Big Picture RICO Class and (b) Red Rock RICO Class. The Court appoints Lula
                    Williams, George Hengle, Gloria Turnage, Dowin Coffy and Marcella Singh, as
                    administrator for Felix Gillison, Jr.'s estate as the Class Representatives. The Court also
                    appoints the law firms of Kelly Guzzo, PLC, Consumer Litigation Associates, P.C.,
                    Terrell Marshall Law Group, PLLC, Berger Montague, P.C., and Caddell & Chapman as
                    counsel for the Class ("Class Counsel"). Pursuant to the Court's March 12, 2019 Order
                    (ECF No. 416 ), Class Counsel shall notify TranDotCom Solutions, LLC of this decision
                    to arrange for the transmission of the necessary data to notify the Classes. Class Counsel
                    and Defendant Martorello shall confer to file a Notice Plan no later than two weeks from
                    the date of the entry of this Order. If the parties cannot agree on a Notice Plan, each side
                    shall submit a pleading no longer than five pages no later than 21 days after the entry of
                    this Order. See Order for complete details. IT IS SO ORDERED. Signed by Senior
                    United States District Judge Robert E. Payne on 7/19/2021. (sbea,) (Entered:
                    07/20/2021)
  07/22/2021   1112 STATUS REPORT (Joint Supplemental) Regarding Preliminary Injunction Motion by
                    Matt Martorello. (Taliaferro, John) (Entered: 07/22/2021)
  07/23/2021          Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                      Conference held on 7/23/2021. (Court Reporter Peppy Peterson, OCR.) (nbrow)
                      (Entered: 08/03/2021)
  07/26/2021   1113 Joint MOTION for Protective Order on Attorney Eyes Only Arbitration Materials by
                    Matt Martorello. (Attachments: # 1 Proposed Order for Supplemental Protective Order)
                    (Taliaferro, John) (Entered: 07/26/2021)
  07/27/2021   1114 STIPULATED SUPPLEMENTAL PROTECTIVE ORDER REGARDING CERTAIN
                    DOCUMENTS DESIGNATED ATTORNEYS' EYES ONLY IN AAA ARBITRATION
                    BETWEEN TRIBAL ENTITIES AND EVENTIDE. See Order for complete details. IT
                    IS SO ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                    7/27/2021. (sbea,) (Entered: 07/27/2021)
  07/29/2021   1115 Motion to Withdraw Without Prejudice, Motion for Preliminary Injunction by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Bennett,
                    Leonard). Modified docket text on 7/30/2021. (sbea,) (Entered: 07/29/2021)
  07/30/2021          Notice of Correction re: 1115 MOTION to Withdraw; the pleading contains more than
                      one motion for relief. In the future, you will be requested to re-file THE copy of the
                      same document separately for each motion relief. No further action is required at this
                      time. (sbea,) (Entered: 07/30/2021)

                                                   Page 130
                                                                                                JA130
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 134 of 462

  07/30/2021   1116 ORDER that 1) PLAINTIFFS' NOTICE AND MOTION TO WITHDRAW, WITHOUT
                    PREJUDICE, MOTION FOR PRELIMINARY INJUNCTION (ECF No. 1115 ) is
                    GRANTED; and 2) PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
                    (ECF No. 989 ) is DENIED as moot. It is so ORDERED. Signed by Senior United
                    States District Judge Robert E. Payne on 7/30/2021. (sbea,) (Entered: 07/30/2021)
  08/03/2021   1117 ORDER entered on June 10, 2021 (ECF No. 1096 ), the Court granted the plaintiffs'
                    MOTION FOR LEAVE TO SUPPLEMENT THE RECORD (ECF No. 1043 ).
                    Accordingly, PLAINTIFFS' MOTION TO STRIKE DEFENDANT MATT
                    MARTORELLO'S OPPOSITION TO PLAINTIFFS' MOTION TO SUPPLEMENT
                    THE MOTION FOR PRELIMINARY INJUNCTION {ECF No. 1060 ) is denied as
                    moot. It is so ORDERED. Signed by Senior United States District Judge Robert E.
                    Payne on 8/2/2021. (sbea,) (Entered: 08/03/2021)
  08/04/2021   1118 PROPOSED CLASS Notice Plan by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams re: 1111 Order. (Attachments: # 1 Exhibit 1 - Proposed
                    Notice, # 2 Exhibit 2 - Declaration, # 3 Proposed Order)(Bennett, Leonard). Clerk
                    replaced the "Proposed Order" on 8/5/2021. NEF was regenerated. Modified docket text
                    on 8/5/2021. (sbea,) (Entered: 08/04/2021)
  08/04/2021   1119 USCA Notification of Permission to Appeal, USCA Case #21-211, Case Manager
                    C.Halupa. (Attachment-Petition for Permission to Appeal Under Rule 23(f)).(lbre, )
                    (Additional attachment(s) added on 8/5/2021: # 2 Petition) (lbre, ). (Entered:
                    08/05/2021)
  08/12/2021   1120 NOTICE by Dowin Coffy, Justin Gray, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams re 1118 NOTICE, 1111 Order on Motion to Certify Class,,,,,
                    (Amended Proposed Notice Plan) (Attachments: # 1 Exhibit Supplemental Declaration,
                    # 2 Proposed Order)(Bennett, Leonard) (Entered: 08/12/2021)
  08/13/2021   1121 ORDER re [1119-2] Appeal. It is hereby ORDERED that all proceedings in this case are
                    stayed pending resolution of Martorello's interlocutory appeal. Signed by District Judge
                    Robert E. Payne on 08/13/2021. (tjoh, ) (Entered: 08/13/2021)
  08/26/2021   1122 NOTICE of Appearance by James Patrick McNichol on behalf of Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (McNichol, James) (Entered:
                    08/26/2021)
  09/13/2021   1123 MOTION to Withdraw as Attorney Amy L. Austin by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)
                    (Austin, Amy) (Entered: 09/13/2021)
  09/14/2021   1124 ORDER that the MOTION TO WITHDRAW AS COUNSEL (ECF No. 1123 ) is
                    granted. It is further ORDERED that the Clerk shall remove Amy L. Austin, Esquire as
                    counsel of record for the plaintiffs. It is so ORDERED. Signed by Senior United States
                    District Judge Robert E. Payne on 9/14/2021. (sbea,) (Entered: 09/14/2021)
  09/23/2021   1125 JOINT NOTICE Pursuant to the Court's Instruction by Matt Martorello (Taliaferro,
                    John). Modified docket text on 9/24/2021. (sbea,) (Entered: 09/23/2021)
  10/07/2021   1126 USCA Order - Upon consideration of submissions relative to the petition for permission
                    to appeal, the court grants the petition. This case is transferred to the regular docket and
                    assigned docket number 21-2116. The record shall be retained in the court below unless
                    requested by this court. (21-2116)(tjoh, ) (Entered: 10/07/2021)
  10/07/2021          Appeal Remark re 1126 . Case transferred to general docket: [No. 21-2116]. Originating
                      case number: 3:17-cv-00461-REP. [21-2116] (tjoh, ) (Entered: 10/08/2021)

                                                   Page 131
                                                                                                 JA131
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023      Pg: 135 of 462

  10/13/2021   1127 USCA Appeal Fees received $ 505.00, receipt number 34683051799 re 1126 Order
                    granting petition for permission to appeal on behalf of Matt Martorello. Modified on
                    10/14/2021 (lbre, ). (Entered: 10/13/2021)
  03/29/2022   1128 ORDER that the MOTION REQUESTING ORAL ARGUMENT ON PENDING
                    MOTIONS (ECF No. 1074 ) is denied as moot because the motions referenced in the
                    request have been resolved. It is so ORDERED. Signed by Senior United States District
                    Judge Robert E. Payne on 3/29/2022. (sbea) (Entered: 03/29/2022)
  10/05/2022   1129 MOTION to Withdraw as Attorney by Matt Martorello. (Attachments: # 1 Proposed
                    Order)(Taliaferro, John) (Entered: 10/05/2022)
  10/06/2022   1130 Motion to appear Pro Hac Vice by Bethany D. Simmons and Certification of Local
                    Counsel J.D. Taliaferro Filing fee $ 75, receipt number AVAEDC-8601508. by Matt
                    Martorello. (Taliaferro, John) (Entered: 10/06/2022)
  10/07/2022   1131 ORDER granting 1130 Motion for Bethany Danielle Simmons to appear as Pro Hac
                    Vice for Matt Martorello. Signed by Senior United States District Judge Robert E. Payne
                    on 10/6/2022. (sbea) (Entered: 10/07/2022)
  10/07/2022   1132 ORDER that the MOTION FOR WITHDRAWAL OF APPEARANCE PURSUANT TO
                    LOCAL CIVIL RULE 83.1(G) (ECF No. 1129 ) is granted. It is further ORDERED that
                    the Clerk shall remove William N. Grosswendt, Esquire as pro hac vice counsel for the
                    defendant, Matt Martorello, and from the ECF distribution list. It is so ORDERED.
                    Signed by Senior United States District Judge Robert E. Payne on 10/6/2022. (sbea)
                    (Entered: 10/07/2022)
  11/22/2022   1133 ORDER - It is ORDERED that counsel for the Plaintiffs' and Non-Settling Defendants
                    in Williams, Galloway I, and Galloway II shall, by December 18, 2022, prepare for each
                    case: (1) a list of pending matters that have been resolved or that no longer need to be
                    resolved and, therefore the record should reflect that those matters have been terminated;
                    and (2) a list of pending matters that require resolution and a suggested priority order for
                    resolving them. SEE ORDER FOR DETAILS. Signed by District Judge Robert E. Payne
                    on 11/22/2022. (jjones, ) (Entered: 11/22/2022)
  11/29/2022   1134 ORDER that the parties shall file Statements of Position explaining their understanding
                    of the reason for the delay between the issuance of the Fourth Circuit's mandate in
                    Williams (Williams, ECF No. 600 ) and the dismissal of Big Picture and Ascension in
                    Williams. (Williams, ECF No. 668 ). By December 9, 2022, the Plaintiffs and the
                    remaining Defendants shall file (simultaneously) their Statements of Position, and, by
                    December 19, 2022, they shall file (simultaneously) their responses to the Statements of
                    Position. The Clerk is directed to file a copy of this Order in Williams, Galloway I,
                    Galloway II and Galloway III. It is so ORDERED. See Order for additional details.
                    Signed by District Judge Robert E. Payne on 11/29/2022. (adun, ) (Entered: 11/30/2022)
  12/09/2022   1135 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams (Statement of Position) (Kelly, Kristi) (Entered: 12/09/2022)
  12/09/2022   1136 NOTICE by Matt Martorello re 1134 Order,,, STATEMENT OF POSITION IN
                    RESPONSE TO NOVEMBER 29, 2022 ORDER (Taliaferro, John) (Entered: 12/09/2022)
  12/16/2022   1137 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams re 1133 Order,, (Joint Notice of Agreed List of Outstanding Motions) (Kelly,
                    Kristi) (Entered: 12/16/2022)
  12/19/2022   1138 Response to 1136 NOTICE filed by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 12/19/2022)

                                                   Page 132
                                                                                                JA132
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 136 of 462

  12/19/2022   1139 Response to 1135 NOTICE filed by Matt Martorello. (Taliaferro, John) (Entered:
                    12/19/2022)
  01/24/2023   1140 Opinion of USCA re 1126 USCA Order. AFFIRMED. (21-2116) (Attachments: # 1
                    Opinion Attachments) (smej, ) (Entered: 01/24/2023)
  01/24/2023   1141 USCA JUDGMENT as to 1126 USCA Order. In accordance with the decision of this
                    court, the judgment of the district court is affirmed. (21-2116) (Attachments: # 1 Notice,
                    # 2 Bill of Costs Form) (smej, ) (Entered: 01/24/2023)
  02/08/2023   1142 TEMPORARY STAY OF MANDATE as to 135 Notice of Appeal filed by Big Picture
                    Loans, LLC, Ascension Technologies, Inc. Under Fed. R. App. P. 41(b), the filing of a
                    timely petition for rehearing or rehearing en banc stays the mandate until the court has
                    ruled on the petition. In accordance with Rule 41(b), the mandate is stayed pending
                    further order of this court. (21-2116) (smej, ) (Entered: 02/08/2023)
  02/22/2023   1143 USCA Order re 1126 USCA Order - The petition for rehearing en banc was circulated to
                    the full court. No judge requested a poll under Fed. R. App. P. 35. The court denies the
                    petition for rehearing en banc. (21-2116) (smej, ) (Entered: 02/22/2023)
  02/22/2023          Minute Entry for proceedings held before District Judge Robert E. Payne:Telephone
                      Conference held on 2/22/2023. (Court Reporter Tracy Stroh, OCR.) (nbrow) (Entered:
                      03/07/2023)
  02/23/2023   1144 ORDERED that: 1) On March 3, 2023, the parties shall submit proposals for scheduling
                    further proceedings herein with a view to conducting the trial on the merits not later
                    than July 10, 2023 through July 14, 2023 with a Final Pretrial Conference to be
                    held on June 27, 2023 at 10:00 am; and 2) When planning the schedule for further
                    proceedings, counsel are referred to the form Pretrial Schedule A and Initial Pretrial
                    Scheduling Order attached hereto; and 3) On March 3, 2023, the parties shall submit
                    positions on and proposed plans for settlement discussions; and 4) On March 9, 2023 at
                    3:00 pm, there shall be a status conference call to discuss the parties' submissions
                    and to confirm dates for the Final Pretrial Conference and trial. It is SO
                    ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                    2/23/2023. (Attachments: # 1 Pretrial Schedule A, # 2 Scheduling Order). (sbea)
                    (Entered: 02/23/2023)
  02/28/2023   1145 Consent MOTION for Entry of Order Approving Previously Filed Joint Notice Plan by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit A, # 2 Proposed Order)(Kelly, Kristi) (Entered: 02/28/2023)
  03/01/2023   1146 TRANSCRIPT of proceedings held on February 22, 2023, before Judge Robert E.
                    Payne, Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267.
                    NOTICE RE REDACTION OF TRANSCRIPTS:The parties have thirty(30)
                    calendar days to file with the Court a Notice of Intent to Request Redaction of this
                    transcript. If no such Notice is filed, the transcript will be made remotely
                    electronically available to the public without redaction after 90 calendar days. The
                    policy is located on our website at www.vaed.uscourts.gov Transcript may be
                    viewed at the court public terminal or purchased through the court
                    reporter/transcriber before the deadline for Release of Transcript Restriction. After
                    that date it may be obtained through PACER Redaction Request due 3/31/2023.
                    Redacted Transcript Deadline set for 5/1/2023. Release of Transcript Restriction set
                    for 5/30/2023.(stroh, tracy) (Entered: 03/01/2023)
  03/03/2023   1147 USCA Mandate as to 1126 USCA Order: The judgment of this court, entered January
                    24, 2023, takes effect today. (21-2116) (smej, ) (Entered: 03/03/2023)

                                                   Page 133
                                                                                               JA133
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 137 of 462

   03/03/2023   1148 USCA Order re 1126 USCA Order: Costs for these proceedings are taxed and certified
                     in the amount of $75.60, as itemized in the accompanying bill of costs. (21-2116)
                     (Attachments: # 1 Bill of Costs) (smej, ) (Entered: 03/03/2023)
   03/03/2023   1149 JOINT NOTICE Regarding Proposed Future Proceedings by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi). Modified on
                     3/3/2023. (sbea) (Entered: 03/03/2023)
   03/06/2023   1150 ORDER GRANTING CLASS NOTICE PLAN. This Court hereby approves the
                     Proposed Class Notice Plan and proposed Class Notice. See Order for details. IT IS SO
                     ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     3/6/2023. (sbea) (Entered: 03/06/2023)
   03/09/2023   1151 NOTICE of Appearance by Drew David Sarrett on behalf of Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Sarrett, Drew) (Entered:
                     03/09/2023)
   03/09/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 3/9/2023. (Court Reporter Melissa Custis, OCR.) (nbrow) (Entered:
                        04/14/2023)
   03/10/2023   1152 Consent MOTION for Entry of Order Approving Revised Class Notice by Dowin Coffy,
                     George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                     Exhibit A, # 2 Proposed Order)(Kelly, Kristi) (Entered: 03/10/2023)
   03/10/2023   1153 ORDER - It is hereby ORDERED that for the jury trial with jury selection scheduled
                     to begin on July 12, 2023, the Jury Clerk shall dismiss for cause any prospective juror
                     who indicate that he or she is not fully vaccinated against COVID-19. It is SO
                     ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     3/9/2023. Order forwarded to Jury Clerk. (sbea) (Entered: 03/10/2023)
   03/10/2023   1154 Order - It is hereby ORDERED that the settlement conference and proceedings required
                     by paragraph 3 of the Scheduling Order are referred to United States Magistrate Judge
                     Mark R. Colombell. Counsel shall be responsible for contacting the Chambers of
                     Magistrate Judge Colombell within five (5) days of the date of this Order to schedule the
                     conference to occur within the fifty-day period required by paragraph 3 of the
                     Scheduling Order or at such other time as Magistrate Judge Colombell shall approve. It
                     is so ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     3/9/2023. (sbea) (Entered: 03/10/2023)
   03/10/2023   1155 ORDER RESPECTING FUTURE PROCEEDINGS. It is ORDERED that: l) A Final
                     Pretrial Conference will be held on June 26, 2023 at 10:00 am, continuing until June
                     27, 2023 if needed; and 2) Jury Selection will be held at 9:30 am on July 12, 2023.
                     There will be eleven (11) jurors; and 3) Trial will begin at 9:30 am on July 13, 2023
                     and will continue until completed; and 4) The parties have reviewed the Pretrial
                     Schedule A and Initial Pretrial Scheduling Order. The parties shall follow the deadlines
                     established by the Pretrial Schedule A and Initial Pretrial Scheduling Order, as modified
                     by the followingprovisions: (a) The parties shall provide updated Rule 26 (a)(1)
                     disclosures no later March 17, 2023; and (b) All affirmative expert disclosures required
                     by Rule 26 (a)(2) shall be exchanged no later than April 14, 2023. Each party must re-
                     serve any expert disclosure for a witness it intends to use at trial. With each expert
                     disclosure, the party designating the expert shall provide at least three deposition dates
                     when the expert and counsel are available during the period of April 28 through May
                     8; and (c) All rebuttal expert disclosures shall be exchanged no later than May 5, 2023.
                     With each rebuttal expert disclosure, the party designating the expert shall provide at
                     least three deposition dates when the expert and counsel are available during the period
                     of May 8 through May 15; and 5) In accordance with the Scheduling Order and Pretrial

                                                   Page 134
                                                                                                 JA134
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 138 of 462

                      Schedule A, discovery, with the exception of expert witness depositions, closes on May
                      5, 2023; and 6) All motions in limine shall be filed no later than April 24, 2023; all
                      responses shall be filed by May 5, 2023; and all replies shall be filed by May 12, 2023;
                      and 7) The plaintiffs shall file their motion for summary judgment on April 21, 2023;
                      the response shall be filed by May 5, 2023; and the reply shall be filed by May 12,
                      2023; and 8) Matt Martorello shall file his motion for summary judgment by May 22,
                      2023; the response shall be filed by June 7, 2023; and the reply shall be filed by June
                      15, 2023; and 9) By May 15, 2023, counsel shall submit: (a) A realistic statement of the
                      number of witnesses each side expects to call and an estimate of the time required for
                      the testimony (direct, cross, and redirect examination) of each witness; and (b) The total
                      time estimated to present the plaintiffs' case-in-chief, the defendant's case-in-chief, and
                      the plaintiffs' rebuttal case; and (c) Proposals for the allocation of trial time. It is SO
                      ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                      3/10/2023. (sbea) (Entered: 03/10/2023)
  03/10/2023   1156 ORDER GRANTING MOTION FOR ENTRY OF ORDER APPROVING REVISED
                    CLASS NOTICE. Having reviewed the Motion and the attached revised notice, noting
                    the consent of Defendant Matt Martorello, and for good cause shown, the Motion is
                    GRANTED. The revised class notice shall be sent to class members in accordance with
                    the Court's March 6, 2023 Order Granting Class Notice Plan, (ECF No. 1150 ). IT IS SO
                    ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                    3/10/2023. (sbea) (Entered: 03/10/2023)
  03/10/2023   1157 ORDER REGARDING PROCEDURES FOR SETTLEMENT CONFERENCE. The
                    Court has scheduled this case for a settlement conference on April 10, 2023 at 9:30
                    A.M. At that time, the parties shall report to the chambers of Magistrate Judge Mark R.
                    Colombell. In addition to counsel, each party must have a representative physically
                    present with the full authority to settle this action. If an individual is a named party,
                    that individual must be personally present at the settlement conference. If a business
                    entity (or entities) is/are involved, each entity must have a representative with full
                    authority to settle the case on behalf of that entity physicallypresent. See Order for
                    details and deadlines. It is so ORDERED. Signed by Magistrate Judge Mark R.
                    Colombell on 3/10/2023. (sbea) (Entered: 03/10/2023)
  03/10/2023          Set Hearings: Final Pretrial Conference set for 6/26/2023 at 10:00 AM in Richmond
                      Judges Chamber before District Judge Robert E. Payne. Jury Selection set for 7/12/2023
                      at 09:30 AM in Richmond Courtroom 7400 before District Judge Robert E. Payne. Jury
                      Trial set for 7/13/2023 at 09:30 AM in Richmond Courtroom 7400 before District Judge
                      Robert E. Payne. (nbrow) (Entered: 03/10/2023)
  03/15/2023          Set Hearing: Settlement Conference set for 4/10/2023 at 09:30 AM in Richmond Judges
                      Chamber before Magistrate Judge Mark R. Colombell. (jsau, ) (Entered: 03/15/2023)
  04/10/2023   1159 ORDER Regarding Procedures for Follow-Up Settlement Conference- The Court has
                    scheduled this case for a follow-up settlement conference on May 3, 2023 at 9:30 A.M.
                    At that time, the parties and their counsel shall report to the chambers of Magistrate
                    Judge Mark R. Colombell. In addition to counsel, each party must have a representative
                    physically present with the full authority to settle this action. On April 14, 2023 at 3:00
                    p.m., the parties shall participate in a telephonic conference call with Judge Colombell
                    regarding the status of the foregoing document production. SEE ORDER FOR
                    DETAILS. Signed by Magistrate Judge Mark R. Colombell on 4/10/2023. (adun, )
                    (Entered: 04/10/2023)
  04/10/2023          Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell:
                      Settlement Conference held on 4/10/2023. (jsau, ) (Entered: 04/10/2023)

                                                    Page 135
                                                                                                  JA135
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 139 of 462


  04/11/2023          Set Hearing: Follow-up Settlement Conference set for 5/3/2023 at 09:30 AM in
                      Richmond Judges Chamber before Magistrate Judge Mark R. Colombell. (jsau, )
                      (Entered: 04/11/2023)
  04/11/2023   1161 TRANSCRIPT of proceedings held on March 9, 2023, before Judge David J. Novak,
                    Court Reporter Melissa Custis, Telephone number 804-916-2278. NOTICE RE
                    REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days to
                    file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                    such Notice is filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter before the deadline for Release of
                    Transcript Restriction. After that date it may be obtained through PACER
                    Redaction Request due 5/11/2023. Redacted Transcript Deadline set for 6/12/2023.
                    Release of Transcript Restriction set for 7/10/2023.(Custis, Melissa) (Entered:
                    04/11/2023)
  04/14/2023          Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell: Status
                      Conference held on 4/14/2023. (jsau, ) (Entered: 04/14/2023)
  04/20/2023   1162 MOTION for Leave to File Excess Pages (Consent) for Plaintiffs' and Defendants'
                    Motion for Summary Judgment by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard)
                    (Entered: 04/20/2023)
  04/20/2023   1163 Memorandum in Support re 1162 MOTION for Leave to File Excess Pages (Consent)
                    for Plaintiffs' and Defendants' Motion for Summary Judgment filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard)
                    (Entered: 04/20/2023)
  04/21/2023   1164 ORDER - This matter comes before the Court on the Plaintiffs' CONSENT MOTION
                    FOR ENLARGEMENTS OF PAGE LIMITATIONS FOR PLAINTIFFS' AND
                    DEFENDANTS' MOTION FOR SUMMARY JUDGMENT BRIEFING (ECF No. 1162
                    ). For good cause shown, it is hereby ORDERED that the Motion is GRANTED.
                    Plaintiffs' and Defendants' Memorandums in Support for their Motions for Summary
                    Judgement shall not exceed 40 pages.It is SO ORDERED. Signed by Senior United
                    States District Judge Robert E. Payne on 4/21/2023. (sbea) (Entered: 04/21/2023)
  04/21/2023   1165 MOTION for Partial Summary Judgment by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 04/21/2023)
  04/21/2023   1166 Memorandum in Support (Redacted) re 1165 MOTION for Partial Summary Judgment
                    filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                    Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                    Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                    Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                    Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                    Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                    Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                    Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                    Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46
                    Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51
                    Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56
                    Exhibit 56)(Kelly, Kristi). Modified on 4/24/2023. (sbea) (Entered: 04/21/2023)

                                                   Page 136
                                                                                                 JA136
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023      Pg: 140 of 462


  04/21/2023   1167 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 04/21/2023)
  04/21/2023   1168 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 1167 MOTION to Seal (Kelly, Kristi)
                    (Entered: 04/21/2023)
  04/21/2023   1169 Sealed Memorandum in Support. (Attachments: # 1 Exhibit 2, # 2 Exhibit 47)(Kelly,
                    Kristi) (Entered: 04/21/2023)
  04/21/2023   1170 Memorandum in Support re 1167 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    04/21/2023)
  04/24/2023   1171 Consent MOTION for Leave to File Excess Pages Consent Motion for Enlargement of
                    Page Limitations for Plaintiffs' Motions in Limine Briefing by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                    Order)(Bennett, Leonard) (Entered: 04/24/2023)
  04/24/2023   1172 Memorandum in Support re 1171 Consent MOTION for Leave to File Excess Pages
                    Consent Motion for Enlargement of Page Limitations for Plaintiffs' Motions in Limine
                    Briefing filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams. (Bennett, Leonard) (Entered: 04/24/2023)
  04/24/2023   1173 MOTION in Limine (Omnibus) by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 04/24/2023)
  04/24/2023   1174 Memorandum in Support re 1173 MOTION in Limine (Omnibus) filed by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                    Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12,
                    # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                    Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23
                    Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28
                    Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30)(Kelly, Kristi) (Entered: 04/24/2023)
  04/24/2023   1175 MOTION to Exclude Expert Designation of J. Howard Beales, III by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 04/24/2023)
  04/24/2023   1176 Memorandum in Support re 1175 MOTION to Exclude Expert Designation of J.
                    Howard Beales, III filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit 1)(Kelly, Kristi) (Entered:
                    04/24/2023)
  04/24/2023   1177 MOTION to Exclude Expert Designation of Professor Todd Zywicki by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 04/24/2023)
  04/24/2023   1178 Memorandum in Support re 1177 MOTION to Exclude Expert Designation of Professor
                    Todd Zywicki filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, #
                    5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Kelly, Kristi) (Entered: 04/24/2023)
  04/24/2023   1179 MOTION to Exclude Expert Designation of Barry W. Brandon by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    04/24/2023)

                                                   Page 137
                                                                                                JA137
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 141 of 462

   04/24/2023   1180 Memorandum in Support re 1179 MOTION to Exclude Expert Designation of Barry W.
                     Brandon filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Kelly,
                     Kristi) (Entered: 04/24/2023)
   04/24/2023   1181 MOTION to Exclude Expert Designation of John M. Norman by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                     04/24/2023)
   04/24/2023   1182 Memorandum in Support re 1181 MOTION to Exclude Expert Designation of John M.
                     Norman filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Kelly,
                     Kristi) (Entered: 04/24/2023)
   04/24/2023   1183 MOTION to Exclude Expert Designation of George Cowhey by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                     04/24/2023)
   04/24/2023   1184 Memorandum in Support re 1183 MOTION to Exclude Expert Designation of George
                     Cowhey filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1)(Kelly, Kristi) (Entered: 04/24/2023)
   04/24/2023   1185 MOTION in Limine (Omnibus - Non Expert) by Matt Martorello. (Taliaferro, John)
                     (Entered: 04/24/2023)
   04/24/2023   1186 Memorandum in Support re 1185 MOTION in Limine (Omnibus - Non Expert) filed by
                     Matt Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4,
                     # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Taliaferro, John) (Entered: 04/24/2023)
   04/24/2023   1187 MOTION in Limine to Exclude Plaintiffs' Expert by Matt Martorello. (Taliaferro, John)
                     (Entered: 04/24/2023)
   04/24/2023   1188 Memorandum in Support re 1187 MOTION in Limine to Exclude Plaintiffs' Expert filed
                     by Matt Martorello. (Attachments: # 1 Exhibit A)(Taliaferro, John) (Entered:
                     04/24/2023)
   04/25/2023   1189 ORDER - For good cause shown, it is hereby ORDERED that the CONSENT MOTION
                     FOR ENLARGEMENT OF PAGE LIMITATIONS FOR PLAINTIFFS' MOTIONS IN
                     LIMINE BRIEFING (ECF No. 1171 ) is GRANTED. Plaintiffs' Memorandum in
                     Support of their Motions in Limine shall not exceed 40 pages. It is SO ORDERED.
                     Signed by Senior United States District Judge Robert E. Payne on 4/25/2023. (sbea)
                     (Entered: 04/25/2023)
   04/27/2023   1190 Motion to appear Pro Hac Vice by Alicia Marie Clough and Certification of Local
                     Counsel John D. Taliaferro Filing fee $ 75, receipt number AVAEDC-8911290. by Matt
                     Martorello. (Taliaferro, John) (Entered: 04/27/2023)
   04/28/2023           Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell: Status
                        Conference held on 4/28/2023. (jsau, ) (Entered: 04/28/2023)
   05/01/2023   1194 ORDER granting 1190 Motion for Alicia Marie Clough to appear as Pro Hac Vice for
                     Matt Martorello. Signed by Senior United States District Judge Robert E. Payne on
                     5/1/2023. (sbea) (Entered: 05/01/2023)
   05/03/2023   1195 ORDER - It is hereby ORDERED that the plaintiffs' MOTION TO SEAL (ECF No.
                     1167 ) is granted and the PLAINTIFFS' MEMORANDUM IN SUPPORT OF THEIR
                     MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No. 1169 ) and Exhibits 2
                     and 47 thereto are filed under seal; provided that an appropriately redacted version


                                                   Page 138
                                                                                                 JA138
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 142 of 462

                        thereof is filed in the public record. It is so ORDERED. Signed by Senior United States
                        District Judge Robert E. Payne on 5/2/2023. (sbea) (Entered: 05/03/2023)
   05/03/2023           Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell:
                        Settlement Conference held on 5/3/2023. (jsau, ) (Entered: 05/08/2023)
   05/04/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 5/4/2023. (Court Reporter Tracy Stroh.) (nbrow) (Entered:
                        06/20/2023)
   05/05/2023   1196 Consent MOTION for Leave to File Excess Pages by Matt Martorello. (Attachments: #
                     1 Proposed Order)(Taliaferro, John) (Entered: 05/05/2023)
   05/05/2023   1197 Memorandum in Support re 1196 Consent MOTION for Leave to File Excess Pages
                     filed by Matt Martorello. (Taliaferro, John) (Entered: 05/05/2023)
   05/05/2023   1198 Memorandum in Opposition re 1187 MOTION in Limine to Exclude Plaintiffs' Expert
                     filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1 - Hallinan Order, # 2 Exhibit 2 - Brice Order)
                     (Kelly, Kristi) (Entered: 05/05/2023)
   05/05/2023   1199 RESPONSE to Motion re 1185 MOTION in Limine (Omnibus - Non Expert) filed by
                     Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                     (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, #
                     6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11,
                     # 12 Exhibit 12, # 13 Exhibit 13)(Kelly, Kristi) (Entered: 05/05/2023)
   05/05/2023   1200 Opposition to 1181 MOTION to Exclude Expert Designation of John M. Norman, 1182
                     Memorandum in Support, filed by Matt Martorello. (Attachments: # 1 Exhibit A)
                     (Taliaferro, John) (Entered: 05/05/2023)
   05/05/2023   1201 Opposition to 1175 MOTION to Exclude Expert Designation of J. Howard Beales, III,
                     1176 Memorandum in Support filed by Matt Martorello. (Taliaferro, John) (Entered:
                     05/05/2023)
   05/05/2023   1202 Opposition to 1184 Memorandum in Support, 1183 MOTION to Exclude Expert
                     Designation of George Cowhey filed by Matt Martorello. (Taliaferro, John) (Entered:
                     05/05/2023)
   05/05/2023   1203 Opposition to 1180 Memorandum in Support, 1179 MOTION to Exclude Expert
                     Designation of Barry W. Brandon filed by Matt Martorello. (Taliaferro, John) (Entered:
                     05/05/2023)
   05/05/2023   1204 Opposition to 1177 MOTION to Exclude Expert Designation of Professor Todd Zywicki,
                     1178 Memorandum in Support, filed by Matt Martorello. (Taliaferro, John) (Entered:
                     05/05/2023)
   05/05/2023   1205 Opposition to 1174 Memorandum in Support,, 1173 MOTION in Limine (Omnibus)
                     filed by Matt Martorello. (Taliaferro, John) (Entered: 05/05/2023)
   05/05/2023   1206 Memorandum , Memorandum in Opposition re 1165 MOTION for Partial Summary
                     Judgment filed by Matt Martorello. (Taliaferro, John) (Entered: 05/05/2023)
   05/06/2023   1207 EXHIBIT A by Matt Martorello.. (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit
                     D, # 4 Exhibit E, # 5 Exhibit F, # 6 Exhibit G, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit J
                     FILED UNDER SEAL, # 10 Exhibit K, # 11 Exhibit L, # 12 Exhibit M, # 13 Exhibit N,
                     # 14 Exhibit O, # 15 Exhibit P, # 16 Exhibit Q, # 17 Exhibit R FILED UNDER SEAL, #
                     18 Exhibit S FILED UNDER SEAL, # 19 Exhibit T FILED UNDER SEAL, # 20
                     Exhibit U, # 21 Exhibit V, # 22 Exhibit W, # 23 Exhibit X, # 24 Exhibit Y, # 25 Exhibit

                                                    Page 139
                                                                                                  JA139
USCA4 Appeal: 23-2097      Doc: 11-1         Filed: 12/06/2023      Pg: 143 of 462

                        Z, # 26 Exhibit AA FILED UNDER SEAL, # 27 Exhibit BB, # 28 Exhibit CC, # 29
                        Exhibit DD, # 30 Exhibit EE, # 31 Exhibit FF FILED UNDER SEAL, # 32 Exhibit GG
                        FILED UNDER SEAL, # 33 Exhibit HH FILED UNDER SEAL, # 34 Exhibit II FILED
                        UNDER SEAL, # 35 Exhibit JJ FILED UNDER SEAL, # 36 Exhibit KK FILED
                        UNDER SEAL, # 37 Exhibit LL FILED UNDER SEAL, # 38 Exhibit MM FILED
                        UNDER SEAL, # 39 Exhibit NN FILED UNDER SEAL, # 40 Exhibit OO FILED
                        UNDER SEAL, # 41 Exhibit PP FILED UNDER SEAL, # 42 Exhibit QQ, # 43 Exhibit
                        RR FILED UNDER SEAL, # 44 Exhibit SS, # 45 Exhibit TT FILED UNDER SEAL, #
                        46 Exhibit UU FILED UNDER SEAL, # 47 Exhibit VV FILED UNDER SEAL, # 48
                        Exhibit WW FILED UNDER SEAL, # 49 Exhibit XX, # 50 Exhibit YY, # 51 Exhibit
                        ZZ)(Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1208 EXHIBIT AAAA (CONTINUED) by Matt Martorello.. (Attachments: # 1 Exhibit BBB
                     FILED UNDER SEAL, # 2 Exhibit CCC FILED UNDER SEAL, # 3 Exhibit DDD, # 4
                     Exhibit EEE, # 5 Exhibit FFF FILED UNDER SEAL, # 6 Exhibit GGG FILED UNDER
                     SEAL, # 7 Exhibit HHH FILED UNDER SEAL, # 8 Exhibit III FILED UNDER SEAL,
                     # 9 Exhibit JJJ FILED UNDER SEAL, # 10 Exhibit KKK FILED UNDER SEAL, # 11
                     Exhibit LLL FILED UNDER SEAL, # 12 Exhibit MMM FILED UNDER SEAL, # 13
                     Exhibit NNN FILED UNDER SEAL, # 14 Exhibit OOO FILED UNDER SEAL, # 15
                     Exhibit PPP FILED UNDER SEAL, # 16 Exhibit QQQ, # 17 Exhibit RRR FILED
                     UNDER SEAL, # 18 Exhibit SSS, # 19 Exhibit TTTT, # 20 Exhibit UUU, # 21 Exhibit
                     VVV, # 22 Exhibit WWW, # 23 Exhibit XXX, # 24 Exhibit YYY FILED UNDER
                     SEAL, # 25 Exhibit ZZZ FILED UNDER SEAL, # 26 Exhibit AAAA FILED UNDER
                     SEAL, # 27 Exhibit BBBB FILED UNDER SEAL, # 28 Exhibit CCCC FILED UNDER
                     SEAL, # 29 Exhibit DDDD FILED UNDER SEAL, # 30 Exhibit EEEE FILED UNDER
                     SEAL, # 31 Exhibit FFFF FILED UNDER SEAL, # 32 Exhibit GGGG FILED UNDER
                     SEAL, # 33 Exhibit HHHH FILED UNDER SEAL, # 34 Exhibit IIII FILED UNDER
                     SEAL, # 35 Exhibit JJJJ FILED UNDER SEAL, # 36 Exhibit MMMM FILED UNDER
                     SEAL, # 37 Exhibit NNNN FILED UNDER SEAL, # 38 Exhibit OOOO FILED
                     UNDER SEAL, # 39 Exhibit PPPP FILED UNDER SEAL, # 40 Exhibit RRRR FILED
                     UNDER SEAL, # 41 Exhibit SSSS FILED UNDER SEAL, # 42 Exhibit TTTT FILED
                     UNDER SEAL, # 43 Exhibit UUUU FILED UNDER SEAL, # 44 Exhibit VVVV
                     FILED UNDER SEAL, # 45 Exhibit WWWW FILED UNDER SEAL, # 46 Exhibit
                     XXXX)(Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1209 MOTION to Seal by Matt Martorello. (Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1210 Memorandum in Support re 1209 MOTION to Seal filed by Matt Martorello.
                     (Attachments: # 1 Exhibit 1)(Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1211 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 1209 MOTION to
                     Seal (Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1212 Sealed Attachment/Exhibit(s) re 1211 Notice of Filing Sealing Motion LCvR5(C).
                     (Attachments: # 1 Exhibit R, # 2 Exhibit T, # 3 Exhibit AA, # 4 Exhibit FF, # 5 Exhibit
                     GG, # 6 Exhibit HH, # 7 Exhibit II, # 8 Exhibit JJ, # 9 Exhibit KK, # 10 Exhibit LL, #
                     11 Exhibit MM, # 12 Exhibit NN, # 13 Exhibit OO, # 14 Exhibit PP, # 15 Exhibit RR, #
                     16 Exhibit SS, # 17 Exhibit UU, # 18 Exhibit VV, # 19 Exhibit WW, # 20 Exhibit BBB,
                     # 21 Exhibit CCC, # 22 Exhibit FFF, # 23 Exhibit GGG, # 24 Exhibit HHH, # 25
                     Exhibit III, # 26 Exhibit JJJ, # 27 Exhibit KKK, # 28 Exhibit LLL, # 29 Exhibit MMM,
                     # 30 Exhibit NNN, # 31 Exhibit OOO, # 32 Exhibit PPP, # 33 Exhibit RRR, # 34
                     Exhibit XXX, # 35 Exhibit YYY, # 36 Exhibit ZZZ, # 37 Exhibit AAAA, # 38 Exhibit
                     BBBB, # 39 Exhibit CCCC, # 40 Exhibit DDDD, # 41 Exhibit EEEE, # 42 Exhibit
                     FFFF, # 43 Exhibit GGGG, # 44 Exhibit HHHH, # 45 Exhibit IIII, # 46 Exhibit JJJJ, #
                     47 Exhibit KKKK, # 48 Exhibit LLLL, # 49 Exhibit MMMM, # 50 Exhibit NNNN, # 51
                     Exhibit OOOO, # 52 Exhibit PPPP, # 53 Exhibit QQQQ, # 54 Errata RRRR, # 55

                                                  Page 140
                                                                                              JA140
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 144 of 462

                        Exhibit SSSS, # 56 Exhibit TTTT, # 57 Exhibit UUUU, # 58 Exhibit VVVV, # 59
                        Exhibit S, # 60 Exhibit WWWW)(Taliaferro, John) (Entered: 05/06/2023)
   05/06/2023   1213 MOTION for Extension of Time to File Exhibits by Matt Martorello. (Attachments: # 1
                     Proposed Order)(Taliaferro, John) (Entered: 05/06/2023)
   05/08/2023   1214 MOTION FOR LEAVE TO SERVE SUPPLEMENTAL REBUTTAL DAMAGES
                     REPORT ONE WEEK AFTER RECEIVING LOAN LEVEL DATA FROM CLAIMS
                     ADMINISTRATOR by Matt Martorello. (Attachments: # 1 Proposed Order)(Taliaferro,
                     John) (Entered: 05/08/2023)
   05/08/2023   1215 Memorandum in Support re 1214 MOTION FOR LEAVE TO SERVE
                     SUPPLEMENTAL REBUTTAL DAMAGES REPORT ONE WEEK AFTER
                     RECEIVING LOAN LEVEL DATA FROM CLAIMS ADMINISTRATOR filed by Matt
                     Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                     Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H)(Taliaferro, John) (Entered:
                     05/08/2023)
   05/09/2023   1216 Consent MOTION (1) FOR PERMISSION TO FILE REPLACEMENT BRIEF TO
                     DEFENDANT MATT MARTORELLOS MEMORANDUM OF LAW IN
                     OPPOSITION TO PLAINTIFFS MOTION FOR SUMMARY JUDGMENT (2) TO
                     EXTEND PLAINTIFFS REPLY DEADLINE, AND (3) TO ENLARGE THE PAGE
                     LIMITATION FOR PLAINTIFFS REPLY by Matt Martorello. (Attachments: # 1
                     Proposed Order)(Taliaferro, John) (Entered: 05/09/2023)
   05/09/2023   1217 Memorandum in Support re 1216 Consent MOTION (1) FOR PERMISSION TO FILE
                     REPLACEMENT BRIEF TO DEFENDANT MATT MARTORELLOS
                     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS MOTION FOR
                     SUMMARY JUDGMENT (2) TO EXTEND PLAINTIFFS REPLY DEADLINE, AND
                     (3) TO ENLARGE THE PAGE LIMITATION FOR PL filed by Matt Martorello.
                     (Taliaferro, John) (Entered: 05/09/2023)
   05/09/2023   1218 Defendant Matt Martorello's Replacement Memorandum of Law In Opposition to
                     Plaintiffs' Motion for Partial Summary Judgment by Matt Martorello. (Attachments: # 1
                     Exhibit AAAAA, # 2 Exhibit BBBBB)(Taliaferro, John). Modified on 5/10/2023. (sbea)
                     (Entered: 05/09/2023)
   05/09/2023   1219 MOTION to Seal by Matt Martorello. (Attachments: # 1 Proposed Order)(Taliaferro,
                     John) (Entered: 05/09/2023)
   05/09/2023   1220 Memorandum in Support re 1219 MOTION to Seal filed by Matt Martorello.
                     (Taliaferro, John) (Entered: 05/09/2023)
   05/09/2023   1221 Notice of Under Seal Filing LCvR5 (B) by Matt Martorello re 1219 MOTION to Seal ,
                     1220 Memorandum in Support (Taliaferro, John) (Entered: 05/09/2023)
   05/09/2023   1222 Sealed Attachment/Exhibit(s) re 1221 Notice of Under Seal Filing LCvR5 (B).
                     (Taliaferro, John) (Entered: 05/09/2023)
   05/10/2023   1223 ORDER - Having considered the MOTION (1) FOR PERMISSION TO FILE
                     REPLACEMENT BRIEF TO DEFENDANT MATT MARTORELLO'S
                     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS' MOTION FOR
                     SUMMARY JUDGMENT (2) TO EXTEND PLAINTIFFS' REPLY DEADLINE, AND
                     ( 3) TO ENLARGE THE PAGE LIMITATION FOR PLAINTIFFS' REPLY (ECF No.
                     1216 ) filed by the defendant, Matt Martorello, and with the consent of the plaintiffs, it
                     is hereby ORDERED that the Motion (ECF No. 1216 ) is granted. It is further
                     ORDERED that: 1) The Court finds that the document entitled EXHIBIT 1 (ECF No.
                     1218 ) is actually Matt Martorello's replacement brief and the Clerk is directed to correct

                                                    Page 141
                                                                                                 JA141
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 145 of 462

                      the minute entry of the docket sheet to reflect that ECF No. 1218 is "DEFENDANT
                      MATT MARTORELLO REPLACEMENT MEMORANDUM OF LAW IN
                      OPPOSITION TO PLAINTIFFS' MOTION FOR PARTIAL SUMMARY
                      JUDGMENT;" and 2) The plaintiffs shall file their reply by May 16, 2023; and 3) The
                      plaintiffs' reply brief shall not exceed thirty (30) pages. It is so ORDERED. Signed by
                      Senior United States District Judge Robert E. Payne on 5/10/2023. (sbea) (Entered:
                      05/10/2023)
  05/10/2023   1224 ORDER - Having considered the MOTION FOR THREE HOUR SEVEN MINUTE
                    EXTENSION OF TIME TO FILE EXHIBITS TO DEFENDANT'S MEMORANDUM
                    IN OPPOSITION TO PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT (ECF
                    No. 1213 ), and it appearing that the defendant is requesting a time extension for the
                    filing of the defendant's memorandum and certain exhibits in response to the pending
                    summary judgment motion made by John David Taliaferro, Esquire on May 6, 2023
                    (ECF No. 1212 ), it is hereby ORDERED that the Motion for Extension (ECF No. 1213
                    ) is granted and the memorandum and exhibits filed by Mr. Taliaferro are deemed timely
                    filed. It is so ORDERED. Signed by Senior United States District Judge Robert E. Payne
                    on 5/10/2023. (sbea) (Entered: 05/10/2023)
  05/10/2023   1225 ORDER - Having considered the MOTION TO ENLARGE THE PAGE LIMITATION
                    OF DEFENDANT MATT MARTORELLO'S MEMORANDUM OF LAW IN
                    OPPOSITION TO PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT (ECF No.
                    1196 ), and upon agreement of counsel, it is hereby ORDERED that the Motion to
                    Enlarge (ECF No. 1196 ) is granted. It is so ORDERED. Signed by Senior United States
                    District Judge Robert E. Payne on 5/10/2023. (sbea) (Entered: 05/10/2023)
  05/10/2023   1226 Memorandum in Opposition re 1209 MOTION to Seal filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    05/10/2023)
  05/12/2023   1227 Consent MOTION for Leave to File Excess Pages Consent Motion for Enlargement of
                    Page Limitations for Plaintiffs' Reply in Support of Motion in Limine by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1
                    Proposed Order)(Bennett, Leonard) (Entered: 05/12/2023)
  05/12/2023   1228 Memorandum in Support re 1227 Consent MOTION for Leave to File Excess Pages
                    Consent Motion for Enlargement of Page Limitations for Plaintiffs' Reply in Support of
                    Motion in Limine filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Bennett, Leonard) (Entered: 05/12/2023)
  05/12/2023   1229 REPLY to Response to Motion re 1173 MOTION in Limine (Omnibus) filed by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments:
                    # 1 Exhibit 1 - Deposition Excerpt, # 2 Exhibit 2 - Martorello/Williams Email)(Kelly,
                    Kristi) (Entered: 05/12/2023)
  05/12/2023   1230 Reply to Motion re 1187 MOTION in Limine to Exclude Plaintiffs' Expert filed by Matt
                    Martorello. (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D)(Taliaferro, John)
                    (Entered: 05/12/2023)
  05/12/2023   1231 Reply to Motion re 1185 MOTION in Limine (Omnibus - Non Expert) filed by Matt
                    Martorello. (Taliaferro, John) (Entered: 05/12/2023)
  05/12/2023   1232 REPLY to Response to Motion re 1183 MOTION to Exclude Expert Designation of
                    George Cowhey filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit)(Bennett, Leonard) (Entered:
                    05/12/2023)

                                                   Page 142
                                                                                                JA142
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 146 of 462


  05/12/2023   1233 REPLY to Response to Motion re 1181 MOTION to Exclude Expert Designation of
                    John M. Norman filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit)(Bennett, Leonard) (Entered:
                    05/12/2023)
  05/12/2023   1234 REPLY to Response to Motion re 1175 MOTION to Exclude Expert Designation of J.
                    Howard Beales, III filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit, # 2 Exhibit)(Bennett, Leonard)
                    (Entered: 05/12/2023)
  05/12/2023   1235 REPLY to Response to Motion re 1179 MOTION to Exclude Expert Designation of
                    Barry W. Brandon filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit)(Bennett, Leonard) (Entered:
                    05/12/2023)
  05/12/2023   1236 REPLY to Response to Motion re 1177 MOTION to Exclude Expert Designation of
                    Professor Todd Zywicki filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit)(Bennett, Leonard) (Entered:
                    05/12/2023)
  05/15/2023   1237 ORDER - Before the Court is DEFENDANT MATT MARTORELLO'S MOTION FOR
                    LEAVE TO SERVE SUPPLEMENTAL REBUTTAL DAMAGES REPORT ONE
                    WEEK AFTER RECEIVING LOAN LEVEL DATA FROM CLAIMS
                    ADMINISTRATOR (ECF No. 1214 ). It is hereby ORDERED that the plaintiffs shall
                    file their response to the Motion by May 22, 2023 and the defendant, Matt Martorello,
                    shall file his reply by May 26, 2023. It is so ORDERED. Signed by Senior United States
                    District Judge Robert E. Payne on 5/15/2023. (sbea, ) (Entered: 05/15/2023)
  05/15/2023   1238 Joint Witness List by Matt Martorello. (Taliaferro, John) (Entered: 05/15/2023)
  05/16/2023   1239 ORDER - Having considered the CONSENT MOTION FOR ENLARGEMENT OF
                    PAGE LIMITATIONS FOR PLAINTIFFS' REPLY IN SUPPORT OF MOTIONS IN
                    LIMINE (ECF No. 1227 ), and with the consent of the defendant, Matt Martorello, it is
                    hereby ORDERED that the Motion (ECF No. 1227 ) is granted. The plaintiffs reply brief
                    shall not exceed 25 pages. It is so ORDERED. Signed by Senior United States District
                    Judge Robert E. Payne on 5/15/2023. (sbea) (Entered: 05/16/2023)
  05/16/2023   1240 ORDER - This matter is before the Court on MATT MARTORELLO'S FOR PARTIAL
                    RECONSIDERATION OF MEMORANDUM ORDER, ECF NO. 515 , ADDRESSING
                    ESI DISPUTES AND CLARIFICATION OR MODIFICATION OF MEMORANDUM
                    ORDER, ECF NO. 515 , AND ORDER, ECF NO. 511 (ECF No. 528 ). Having
                    reviewed the docket and the parties' JOINT NOTICE OF AGREED LIST OF
                    OUTSTANDING MOTIONS (ECF NO. 1137 ) and seeing that the parties "identified no
                    outstanding motions" as of December 16, 2022, it is ORDERED that MATT
                    MARTORELLO'S MOTION FOR PARTIAL RECONSIDERATION OF
                    MEMORANDUM ORDER, ECF NO. 515, ADDRESSING ESI DISPUTES AND
                    CLARIFICATION OR MODIFICATION OF MEMORANDUM ORDER, ECF NO.
                    515 , AND ORDER, ECF NO. 511 (ECF NO. 528 ) is dismissed without prejudice as
                    moot. It is SO ORDERED. Signed by Senior United States District Judge Robert E.
                    Payne on 5/15/2023. (sbea) (Entered: 05/16/2023)
  05/16/2023   1241 REPLY to Response to Motion re 1165 MOTION for Partial Summary Judgment filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)
                    (Kelly, Kristi) (Entered: 05/16/2023)

                                                   Page 143
                                                                                               JA143
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 147 of 462

   05/16/2023   1242 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 05/16/2023)
   05/16/2023   1243 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams re 1242 MOTION to Seal (Kelly, Kristi)
                     (Entered: 05/16/2023)
   05/16/2023   1244 Sealed Response/Reply/Opposition. (Attachments: # 1 Exhibit 2)(Kelly, Kristi)
                     (Entered: 05/16/2023)
   05/16/2023   1245 Memorandum in Support re 1242 MOTION to Seal filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                     05/16/2023)
   05/17/2023           Minute Entry for proceedings held before Magistrate Judge Mark R. Colombell: Status
                        Conference held on 5/17/2023. (jsau, ) (Entered: 05/17/2023)
   05/18/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 5/18/2023. (Court Reporter Tracy Stroh.) (nbrow) (Entered:
                        06/20/2023)
   05/19/2023   1246 MEMORANDUM ORDER - This matter is before the Court on PLAINTIFFS'
                     OMNIBUS MOTION IN LIMINE (ECF No. 1173 ), the MEMORANDUM IN
                     SUPPORT OF PLAINTIFFS' OMNIBUS MOTIONS [sic] IN LIMINE (ECF No. 1174 ),
                     DEFENDANT MATT MARTORELLO'S MEMORANDUM OF LAW IN
                     OPPOSITION TO PLAINTIFFS' MOTION IN LIMINE (ECF No. 1205 ), and the
                     PLAINTIFFS' REPLY BRIEF IN SUPPORT OF THEIR MOTIONS [sic] IN LIMINE
                     (ECF No. 1229 ). The Plaintiffs' Motion In Limine are twenty in number and are referred
                     to as "MIL [1 - 20)". On the basis of the positions asserted in ECF Nos. 1173 , 1174 ,
                     1205 , and 1209 , it is hereby ORDERED that MIL Nos. 1, 7, 8, 11, 12, 13, 16, 17, 18,
                     19, and 20 are granted as agreed to. It is further ORDERED that the facts and legal
                     contentions are adequately presented in the materials before the Court and oral argument
                     would not aid the decisional process. It is so ORDERED. Signed by Senior United
                     States District Judge Robert E. Payne on 5/19/2023. (sbea, ) (Entered: 05/19/2023)
   05/19/2023   1247 ORDERED that: 1) On May 22, 2023 at noon, the parties shall identify (a) which of the
                     motions in limine (ECF Nos. 1173 and 1185 ); (b) which of the motions relating to
                     experts (ECF Nos. 1175 , 1177 , 1179 , 1183 , and 1187 ); and (c) which aspects of the
                     partial summary judgement (ECF No. 1165 ) they wish to be heard orally; and they shall
                     specify any other issue or topic on which they wish to be heard or ally; and 2) On May
                     22, 2023, the parties shall submit copies of any jury instructions given in similar cases to
                     the RICO claims in this case; and 3) On May 23, 2023, Matt Martorello ("Martorello")
                     shall file a statement setting forth the factual basis of his proposed "good faith" defense.
                     Therein, Martorello shall include: (a) a statement of what belief(s) he held; (b) the
                     substantive advice that he was allegedly provided; (c) the date that advice was given; (d)
                     the identity of the person who provided the advice; (e) whether the advice was written or
                     oral; (f) all written advice upon which he allegedly relied; and (g) all documents in
                     which he comments on or describes the advice; and 4) On May 23, 2023, Plaintiffs shall
                     file a statement explaining what is known about the alleged 20-page Greenberg Traurig
                     legal memorandum mentioned in MEMORANDUM IN SUPPORT OF PLAINTIFFS'
                     OMNIBUS MOTIONS IN LIMINE at 13 (ECF No. 1174 ), including the details
                     respecting its destruction. It is SO ORDERED. Signed by Senior United States District
                     Judge Robert E. Payne on 5/19/2023. (sbea) (Entered: 05/19/2023)
   05/19/2023   1248 TRANSCRIPT of proceedings held on May 18, 2023, before Judge Robert E. Payne,
                     Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                     RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days

                                                    Page 144
                                                                                                  JA144
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 148 of 462

                        to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                        no such Notice is filed, the transcript will be made remotely electronically available
                        to the public without redaction after 90 calendar days. The policy is located on our
                        website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                        terminal or purchased through the court reporter/transcriber before the deadline
                        for Release of Transcript Restriction. After that date it may be obtained through
                        PACER Redaction Request due 6/20/2023. Redacted Transcript Deadline set for
                        7/19/2023. Release of Transcript Restriction set for 8/17/2023.(stroh, tracy)
                        (Entered: 05/19/2023)
   05/22/2023   1249 STIPULATION Regarding the Calculation and Tabulation of Loan Data by Matt
                     Martorello. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Taliaferro, John)
                     (Entered: 05/22/2023)
   05/22/2023   1250 Withdrawal of Motion by Matt Martorello re 1214 MOTION FOR LEAVE TO SERVE
                     SUPPLEMENTAL REBUTTAL DAMAGES REPORT ONE WEEK AFTER
                     RECEIVING LOAN LEVEL DATA FROM CLAIMS ADMINISTRATOR (Taliaferro,
                     John) (Entered: 05/22/2023)
   05/22/2023   1251 Requests for Oral Argument Pursuant to Order at Docket No. 1247 by Matt Martorello
                     re: 1174 Memorandum in Support, 1247 Order, 1185 MOTION in Limine (Omnibus -
                     Non Expert), 1165 MOTION for Partial Summary Judgment, 1173 MOTION in Limine
                     (Omnibus), 1187 MOTION in Limine to Exclude Plaintiffs' Expert (Taliaferro, John).
                     Modified on 5/22/2023. (sbea) (Entered: 05/22/2023)
   05/22/2023   1252 STATEMENT of Position in Response to the Court's Order dated May 19, 2023 by
                     Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams re:
                     1247 Order. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)
                     (Kelly, Kristi). Modified on 5/22/2023. (sbea) (Entered: 05/22/2023)
   05/22/2023   1253 NOTICE of Filing Pursuant to Order at Docket No. 1247 of Jury Instructions Given in
                     Other Unlawful Debt RICO Cases by Matt Martorello re: 1247 Order. (Attachments: # 1
                     Exhibit 1)(Taliaferro, John). Modified on 5/22/2023. (sbea) (Entered: 05/22/2023)
   05/22/2023   1254 MOTION for Summary Judgment by Matt Martorello. (Taliaferro, John) (Entered:
                     05/22/2023)
   05/22/2023   1255 Memorandum in Support re 1254 MOTION for Summary Judgment filed by Matt
                     Martorello. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                     Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J
                     FILED UNDER SEAL, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N,
                     # 15 Exhibit O FILED UNDER SEAL, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R
                     FILED UNDER SEAL, # 19 Exhibit S FILED UNDER SEAL, # 20 Exhibit T, # 21
                     Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit
                     Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit
                     EE, # 32 Exhibit FF FILED UNDER SEAL, # 33 Exhibit GG FILED UNDER SEAL, #
                     34 Exhibit HH FILED UNDER SEAL, # 35 Exhibit II, # 36 Exhibit JJ, # 37 Exhibit
                     KK, # 38 Exhibit LL, # 39 Exhibit MM, # 40 Exhibit NN, # 41 Exhibit OO FILED
                     UNDER SEAL, # 42 Exhibit PP, # 43 Exhibit QQ, # 44 Exhibit RR, # 45 Exhibit SS, #
                     46 Exhibit TT, # 47 Exhibit UU, # 48 Exhibit VV, # 49 Exhibit WW, # 50 Exhibit XX, #
                     51 Exhibit YY, # 52 Exhibit ZZ, # 53 Exhibit AAA, # 54 Exhibit BBB FILED UNDER
                     SEAL, # 55 Exhibit CCC, # 56 Exhibit DDD, # 57 Exhibit EEE, # 58 Exhibit FFF, # 59
                     Exhibit GGG FILED UNDER SEAL, # 60 Exhibit HHH, # 61 Exhibit III, # 62 Exhibit
                     JJJ, # 63 Exhibit KKK, # 64 Exhibit LLL FILED UNDER SEAL, # 65 Exhibit MMM, #
                     66 Exhibit NNN FILED UNDER SEAL, # 67 Exhibit OOO, # 68 Exhibit PPP, # 69
                     Exhibit QQQ, # 70 Exhibit RRR FILED UNDER SEAL, # 71 Exhibit SSS, # 72 Exhibit
                     TTT, # 73 Exhibit UUU, # 74 Exhibit VVV, # 75 Exhibit WWW, # 76 Exhibit XXX, #

                                                    Page 145
                                                                                                 JA145
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 149 of 462

                        77 Exhibit YYY, # 78 Exhibit ZZZ, # 79 Exhibit AAAA, # 80 Exhibit BBBB, # 81
                        Exhibit CCCC, # 82 Exhibit DDDD, # 83 Exhibit EEEE, # 84 Exhibit FFFF, # 85
                        Exhibit GGGG, # 86 Exhibit HHHH, # 87 Exhibit IIII)(Taliaferro, John) (Entered:
                        05/22/2023)
   05/22/2023   1256 MOTION to Seal Exhibits in Support of Motion for Summary Judgment by Matt
                     Martorello. (Attachments: # 1 Proposed Order)(Taliaferro, John) (Entered: 05/22/2023)
   05/22/2023   1257 Memorandum in Support re 1256 MOTION to Seal Exhibits in Support of Motion for
                     Summary Judgment filed by Matt Martorello. (Taliaferro, John) (Entered: 05/22/2023)
   05/22/2023   1258 Sealed Attachment/Exhibit(s) re 1257 Memorandum in Support, 1256 MOTION to Seal
                     Exhibits in Support of Motion for Summary Judgment. (Attachments: # 1 Exhibit O, # 2
                     Exhibit R, # 3 Exhibit S, # 4 Exhibit FF, # 5 Exhibit GG, # 6 Exhibit HH, # 7 Exhibit
                     OO, # 8 Exhibit BBB, # 9 Exhibit GGG, # 10 Exhibit LLL, # 11 Exhibit NNN, # 12
                     Exhibit PPP, # 13 Exhibit RRR)(Taliaferro, John) (Entered: 05/22/2023)
   05/22/2023   1259 Notice of Under Seal Filing LCvR5 (B) by Matt Martorello re 1256 MOTION to Seal
                     Exhibits in Support of Motion for Summary Judgment, 1257 Memorandum in Support
                     (Taliaferro, John) (Entered: 05/22/2023)
   05/23/2023   1260 ORDER - Having reviewed DEFENDANT MATT MARTORELLO'S NOTICE OF
                     WITHDRAWAL OF MOTION FOR LEAVE TO SERVE SUPPLEMENTAL
                     REBUTTAL DAMAGES REPORT (ECF No. 1250 ), it is hereby ORDERED that
                     DEFENDANT MATT MARTORELLO'S MOTION FOR LEAVE TO SERVE
                     SUPPLEMENTAL REBUTTAL DAMAGES REPORT ONE WEEK AFTER
                     RECEIVING LOAN LEVEL DATA FROM CLAIMS ADMINI STRATOR (ECF No.
                     1214 ) is denied as moot having been withdrawn. It is so ORDERED. Signed by Senior
                     United States District Judge Robert E. Payne on 5/23/2023. (sbea) (Entered: 05/23/2023)
   05/23/2023   1261 NOTICE by Matt Martorello re 1247 Order,,,,,, DEFENDANT MATT MARTORELLOS
                     STATEMENT OF POSITION REGARDING GOOD FAITH DEFENSE PURSUANT TO
                     ORDER AT DOCKET NO. 1247 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                     C, # 4 Exhibit D FILED UNDER SEAL, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                     Exhibit H, # 9 Exhibit I FILED UNDER SEAL, # 10 Exhibit J FILED UNDER SEAL, #
                     11 Exhibit K FILED UNDER SEAL, # 12 Exhibit L FILED UNDER SEAL, # 13
                     Exhibit M FILED UNDER SEAL, # 14 Exhibit N FILED UNDER SEAL, # 15 Exhibit,
                     # 16 Exhibit P FILED UNDER SEAL, # 17 Exhibit Q FILED UNDER SEAL, # 18
                     Exhibit R, # 19 Exhibit S FILED UNDER SEAL, # 20 Exhibit T, # 21 Exhibit U FILED
                     UNDER SEAL, # 22 Exhibit V FILED UNDER SEAL, # 23 Exhibit W, # 24 Exhibit X,
                     # 25 Exhibit Y, # 26 Exhibit Z FILED UNDER SEAL, # 27 Exhibit AA, # 28 Exhibit
                     BB FILED UNDER SEAL, # 29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit EE, # 32
                     Exhibit FF FILED UNDER SEAL, # 33 Exhibit GG, # 34 Exhibit HH FILED UNDER
                     SEAL, # 35 Exhibit II FILED UNDER SEAL, # 36 Exhibit JJ FILED UNDER SEAL, #
                     37 Exhibit KK FILED UNDER SEAL, # 38 Exhibit LL FILED UNDER SEAL, # 39
                     Exhibit MM FILED UNDER SEAL, # 40 Exhibit NN FILED UNDER SEAL, # 41
                     Exhibit OO, # 42 Exhibit PP, # 43 Exhibit QQ, # 44 Exhibit RR FILED UNDER SEAL,
                     # 45 Exhibit SS FILED UNDER SEAL, # 46 Exhibit TT, # 47 Exhibit UU FILED
                     UNDER SEAL, # 48 Exhibit VV, # 49 Exhibit WW FILED UNDER SEAL, # 50
                     Exhibit XX FILED UNDER SEAL, # 51 Exhibit YY FILED UNDER SEAL, # 52
                     Exhibit ZZ, # 53 Exhibit AAA FILED UNDER SEAL, # 54 Exhibit BBB, # 55 Exhibit
                     CCC FILED UNDER SEAL, # 56 Exhibit DDD FILED UNDER SEAL, # 57 Exhibit
                     EEE, # 58 Exhibit FFF, # 59 Exhibit GGG FILED UNDER SEAL, # 60 Exhibit HHH
                     FILED UNDER SEAL, # 61 Exhibit III FILED UNDER SEAL, # 62 Exhibit JJJ, # 63
                     Exhibit KKK FILED UNDER SEAL, # 64 Exhibit LLL, # 65 Exhibit MMM, # 66


                                                   Page 146
                                                                                               JA146
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 150 of 462

                        Exhibit NNN, # 67 Exhibit OOO, # 68 Exhibit PPP, # 69 Exhibit QQQ, # 70 Exhibit
                        RRR, # 71 Exhibit SSS)(Taliaferro, John) (Entered: 05/23/2023)
   05/23/2023   1262 MOTION to Seal by Matt Martorello. (Attachments: # 1 Proposed Order)(Taliaferro,
                     John) (Entered: 05/23/2023)
   05/23/2023   1263 Memorandum in Support re 1262 MOTION to Seal filed by Matt Martorello.
                     (Taliaferro, John) (Entered: 05/23/2023)
   05/23/2023   1264 Sealed Attachment/Exhibit(s) re 1262 MOTION to Seal , 1263 Memorandum in
                     Support. (Attachments: # 1 Exhibit I, # 2 Exhibit J, # 3 Exhibit K, # 4 Exhibit L, # 5
                     Exhibit M, # 6 Exhibit N, # 7 Exhibit P, # 8 Exhibit Q, # 9 Exhibit S, # 10 Exhibit U, #
                     11 Exhibit V, # 12 Exhibit Z, # 13 Exhibit BB, # 14 Exhibit FF, # 15 Exhibit HH, # 16
                     Exhibit II, # 17 Exhibit JJ, # 18 Exhibit KK, # 19 Exhibit LL, # 20 Exhibit MM, # 21
                     Exhibit NN, # 22 Exhibit RR, # 23 Exhibit SS, # 24 Exhibit UU, # 25 Exhibit WW, # 26
                     Exhibit XX, # 27 Exhibit YY, # 28 Exhibit AAA, # 29 Exhibit CCC, # 30 Exhibit DDD,
                     # 31 Exhibit GGG, # 32 Exhibit HHH, # 33 Exhibit III, # 34 Exhibit KKK)(Taliaferro,
                     John) (Entered: 05/23/2023)
   05/23/2023   1265 Notice of Filing Sealing Motion LCvR5(C) by Matt Martorello re 1262 MOTION to
                     Seal , 1263 Memorandum in Support (Taliaferro, John) (Entered: 05/23/2023)
   05/23/2023   1266 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams (Plaintiffs' Statement of Position Regarding the 20-Page Greenberg Traurig
                     Legal Memorandum) (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                     Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10
                     Exhibit 10, # 11 Exhibit 11)(Kelly, Kristi) (Entered: 05/23/2023)
   05/24/2023   1267 ORDER - It is hereby ORDERED that, on June 7, 8, and (if necessary) 9, 2023, the
                     Court will hear oral argument on all outstanding motions in limine, motions to preclude
                     expert testimony, and motions for summary judgment. proceed in the following order:
                     Argument will 1) Plaintiff's Motion for Partial Summary Judgment 2) Motions in Limine
                     3) Motions to Preclude Expert Testimony Argument will begin at 9:30 a.m. on June
                     7 and 8, 2023; and at 9:30 a.m. June 9, 2023 (if necessary). Argument on
                     DEFENDANT MATT MARTORELLO'S MOTION FOR SUMMARY
                     JUDGMENT (ECF No. 1254) will be heard at 1:30 p.m. on June 20, 2023. See Order
                     for details. It is so ORDERED. Signed by Senior United States District Judge Robert E.
                     Payne on 5/24/2023. (sbea) (Entered: 05/24/2023)
   05/24/2023           Set Hearings: Motions Hearing set for 6/7/2023 at 09:30 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. Motion for Summary Judgment Hearing set
                        for 6/20/2023 at 01:30 PM in Richmond Courtroom 7400 before District Judge Robert
                        E. Payne. (nbrow) (Entered: 05/24/2023)
   05/24/2023   1268 NOTICE by Matt Martorello re 1206 Memorandum, Memorandum in Opposition, 1212
                     Sealed Attachment/Exhibit(s),,,,, 1209 MOTION to Seal OF WITHDRAWAL OF
                     MOTION TO SEAL CERTAIN EXHIBITS FILED IN SUPPORT OF HIS OPPOSITION
                     TO PLAINTIFFS MOTION FOR PARTIAL SUMMARY JUDGMENT (Attachments: # 1
                     Exhibit J, # 2 Exhibit S, # 3 Exhibit T, # 4 Exhibit AA, # 5 Exhibit FF, # 6 Exhibit GG, #
                     7 Exhibit HH, # 8 Exhibit II, # 9 Exhibit JJ, # 10 Exhibit KK, # 11 Exhibit LL, # 12
                     Exhibit MM, # 13 Exhibit NN, # 14 Exhibit PP, # 15 Exhibit RR, # 16 Exhibit TT, # 17
                     Exhibit UU, # 18 Exhibit VV, # 19 Exhibit WW, # 20 Exhibit CCC, # 21 Exhibit HHH,
                     # 22 Exhibit III, # 23 Exhibit KKK, # 24 Exhibit LLL, # 25 Exhibit MMM, # 26 Exhibit
                     RRR, # 27 Exhibit ZZZ, # 28 Exhibit AAAA, # 29 Exhibit BBBB, # 30 Exhibit EEEE, #
                     31 Exhibit GGGG, # 32 Exhibit IIII, # 33 Exhibit JJJJ, # 34 Exhibit KKKK, # 35
                     Exhibit MMMM, # 36 Exhibit NNNN, # 37 Exhibit OOOO, # 38 Exhibit PPPP, # 39


                                                    Page 147
                                                                                                   JA147
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023       Pg: 151 of 462

                      Exhibit QQQQ, # 40 Exhibit RRRR, # 41 Exhibit SSSS, # 42 Exhibit VVVV)
                      (Taliaferro, John) (Entered: 05/24/2023)
  05/24/2023   1269 NOTICE by Matt Martorello re 1256 MOTION to Seal Exhibits in Support of Motion
                    for Summary Judgment, 1255 Memorandum in Support,,,,,,,, OF WITHDRAWAL OF
                    MOTION TO SEAL CERTAIN EXHIBITS FILED IN SUPPORT OF HIS MOTION FOR
                    SUMMARY JUDGMENT (Attachments: # 1 Exhibit J, # 2 Exhibit S, # 3 Exhibit FF, # 4
                    Exhibit GG, # 5 Exhibit HH)(Taliaferro, John) (Entered: 05/24/2023)
  05/24/2023   1270 Objection to 1261 NOTICE,,,,,,,, filed by Dowin Coffy, George Hengle, Marcella P.
                    Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
                    Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Kelly, Kristi) (Entered:
                    05/24/2023)
  05/26/2023   1271 MOTION to Exclude Rebuttal Expert Designation of Professor Todd Zywicki by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                    (Entered: 05/26/2023)
  05/26/2023   1272 Memorandum in Support re 1271 MOTION to Exclude Rebuttal Expert Designation of
                    Professor Todd Zywicki filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Kelly, Kristi)
                    (Entered: 05/26/2023)
  05/26/2023   1273 ORDER - It is hereby ORDERED that Matt Martorello's MOTION TO SEAL (ECF No.
                    1219 ) is granted and Exhibit AAAAA (ECF No. 1222 ) to DEFENDANT MATT
                    MARTORELLO REPLACEMENT MEMORANDUM OF LAW IN OPPOSITION TO
                    PLAINTIFFS' MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No. 1218 ) is
                    filed under seal; provided that an appropriately redacted version thereof is filed in the
                    public record. It is so ORDERED. Signed by Senior United States District Judge Robert
                    E. Payne on 5/25/2023. (sbea) (Entered: 05/26/2023)
  05/30/2023   1274 MEMORANDUM ORDER that Martorello has failed to show that a "compelling public
                    interest" requires sealing of the documents and has failed to show that sealing the
                    documents in their entirety is a "narrowly tailored" means of advancing that interest.
                    Therefore, his MOTION TO SEAL ECF No. 1209 is DENIED. SEE ORDER FOR
                    FURTHER DETAILS.. Signed by District Judge Robert E. Payne on 5/30/23. (Khan, )
                    (Entered: 05/30/2023)
  06/01/2023   1275 Sealed Document re 1262 MOTION to Seal , 1263 Memorandum in Support.
                    (Taliaferro, John) (Entered: 06/01/2023)
  06/01/2023   1276 ORDER - Having reviewed the PLAINTIFFS' MOTION TO EXCLUDE EXPERT
                    DESIGNATION OF BARRY W. BRANDON (ECF No. 1179 , the supporting, opposing
                    and reply memoranda (ECF Nos. 1180 , 1203 and 1235 ), it is hereby ORDERED that,
                    by June 7, 2023, the plaintiffs' shall provide a redline version of Mr. Brandon's report
                    showing how his opinions are the same as "the identical report" from Messrs. Henson
                    and Morgan that were excluded in the Brice case (ECF No. 1180 , p. 2). It is so
                    ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                    6/1/2023. (sbea) (Entered: 06/01/2023)
  06/01/2023   1277 MOTION to Strike 1270 Objection, or in the Alternative, Leave to File a Response to
                    Plaintiffs' Objection by Matt Martorello. (Attachments: # 1 Proposed Order)(Taliaferro,
                    John) (Entered: 06/01/2023)
  06/01/2023   1278 Memorandum in Support re 1277 MOTION to Strike 1270 Objection, or in the
                    Alternative, Leave to File a Response to Plaintiffs' Objection filed by Matt Martorello.
                    (Attachments: # 1 Exhibit A)(Taliaferro, John) (Entered: 06/01/2023)

                                                   Page 148
                                                                                               JA148
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 152 of 462

   06/01/2023   1279 Memorandum in Opposition re 1271 MOTION to Exclude Rebuttal Expert Designation
                     of Professor Todd Zywicki filed by Matt Martorello. (Taliaferro, John) (Entered:
                     06/01/2023)
   06/01/2023   1280 MOTION for Leave to File a Response to Plaintiffs' Statement of Position Regarding the
                     20-Page Greenberg Traurig Legal Memorandum by Matt Martorello. (Attachments: # 1
                     Proposed Order)(Taliaferro, John) (Entered: 06/01/2023)
   06/01/2023   1281 Memorandum in Support re 1280 MOTION for Leave to File a Response to Plaintiffs'
                     Statement of Position Regarding the 20-Page Greenberg Traurig Legal Memorandum
                     filed by Matt Martorello. (Attachments: # 1 Exhibit A)(Taliaferro, John) (Entered:
                     06/01/2023)
   06/02/2023   1282 Consent MOTION for Leave to File Excess Pages for Plaintiffs' Response in Opposition
                     and Defendant's Reply in Support of 1254 Matt Martorello's Motion for Summary
                     Judgment by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Proposed Order)(Bennett, Leonard) (Entered: 06/02/2023)
   06/02/2023   1283 Memorandum in Support re 1282 Consent MOTION for Leave to File Excess Pages for
                     Plaintiffs' Response in Opposition and Defendant's Reply in Support of 1254 Matt
                     Martorello's Motion for Summary Judgment filed by Dowin Coffy, George Hengle,
                     Marcella P. Singh, Gloria Turnage, Lula Williams. (Bennett, Leonard) (Entered:
                     06/02/2023)
   06/02/2023   1286 NOTICE by Matt Martorello re 1274 Order on Motion to Seal, of filing certain exhibits
                     previously filed under seal in Support of his Opposition to Plaintiffs' Motion for Partial
                     Summary Judgment (Attachments: # 1 Exhibit R, # 2 Exhibit OO, # 3 Exhibit BBB, # 4
                     Exhibit FFF, # 5 Exhibit GGG, # 6 Exhibit JJJ, # 7 Exhibit NNN, # 8 Exhibit OOO, # 9
                     Exhibit PPP, # 10 Exhibit XXX, # 11 Errata YYY, # 12 Exhibit CCCC, # 13 Exhibit
                     DDDD, # 14 Exhibit FFFF, # 15 Exhibit HHHH, # 16 Exhibit LLLL, # 17 Exhibit
                     TTTT, # 18 Exhibit UUUU, # 19 Exhibit WWWW)(Taliaferro, John) (Entered:
                     06/02/2023)
   06/05/2023   1287 REPLY to Response to Motion re 1271 MOTION to Exclude Rebuttal Expert
                     Designation of Professor Todd Zywicki filed by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 06/05/2023)
   06/05/2023   1288 MOTION for Leave to File Additional Authority for Upcoming Hearing on June 7, 2023
                     by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                     (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Proposed Order)(Kelly, Kristi) (Entered:
                     06/05/2023)
   06/06/2023   1289 ORDER - The plaintiffs' MOTION TO SEAL (ECF No. 1242 ) is granted and the
                     PLAINTIFFS' REPLY IN SUPPORT OF THEIR MOTION FOR PARTIAL
                     SUMMARY JUDGMENT (ECF No. 1244 ) and Exhibit 2 thereto are filed under seal;
                     provided that appropriately redacted versions thereof are filed in the public record. It is
                     so ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     6/6/2023. (sbea) (Entered: 06/06/2023)
   06/06/2023   1290 ORDER - Having considered the CONSENT MOTION FOR ENLARGEMENT OF
                     PAGE LIMITATIONS FOR PLAINTIFFS' RESPONSE IN OPPOSITION AND
                     DEFENDANT'S REPLY IN SUPPORT OF MATT MARTORELLO'S MOTION FOR
                     SUMMARY JUDGMENT (ECF No. 1282 ) and for good cause shown, it is hereby
                     ORDERED that the Motion (ECF No. 1282 ) is granted. It is further ORDERED that the
                     Plaintiffs' Response in Opposition shall not exceed forty-five (45) pages and Defendant's
                     Reply in Support shall not exceed thirty-five (35) pages. It is so ORDERED. Signed by


                                                    Page 149
                                                                                                   JA149
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023      Pg: 153 of 462

                        Senior United States District Judge Robert E. Payne on 6/6/2023. (sbea) (Entered:
                        06/06/2023)
   06/06/2023   1291 ORDER - Having considered PLAINTIFFS' UNOPPOSED MOTION FOR LEAVE TO
                     FILE ADDITIONAL AUTHORITY FOR UPCOMING HEARING ON JUNE 7, 2023
                     (ECF No. 1288 ), and there being no objection by the defendant, Matt Martorello, it is
                     hereby ORDERED that the Motion (ECF No. 1288 ) is granted. It is so ORDERED.
                     Signed by Senior United States District Judge Robert E. Payne on 6/6/2023. (sbea)
                     (Entered: 06/06/2023)
   06/06/2023           Reset Hearing: Motions Hearing set for 6/7/2023 at 10:30 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 06/06/2023)
   06/06/2023   1292 ORDER - It is hereby ORDERED that the MOTION TO SEAL EXHIBITS IN
                     SUPPORT OF DEFENDANT MATT MARTORELLO'S MOTION FOR SUMMARY
                     JUDGMENT (ECF No. 1256 ) is granted and certain exhibits (ECF No. 1258 ) to
                     DEFENDANT MATT MARTORELLO [sic] MEMORANDUM OF LAW OF [sic] IN
                     SUPPORT OF HIS MOTION FOR PARTIAL SUMMARY JUDGMENT (ECF No.
                     1255 ) are filed under seal; provided that appropriately redacted versions thereof are
                     filed in the public record. It is so ORDERED. Signed by Senior United States District
                     Judge Robert E. Payne on 6/6/2023. (sbea) (Entered: 06/06/2023)
   06/06/2023   1294 ORDER - It is ORDERED that the DEFENDANT MATT MARTORELLO'S MOTION
                     FOR LEAVE TO FILE RESPONSE TO PLAINTIFFS' STATEMENT OF POSITION
                     REGARDING THE 20-PAGE GREENBERG TRAURIG LEGAL MEMORANDUM
                     (ECF No. 1280 ) is granted and DEFENDANT MATT MARTORELLO'S MOTION TO
                     STRIKE, OR IN THE ALTERNATIVE FOR LEAVE TO FILE A RESPONSE TO
                     PLAINTIFFS' OBJECTION TO MARTORELLO' S STATEMENT OF POSITION
                     REGARDING GOOD FAITH DEFENSE (ECF No. 1277 ) is granted to the extent it
                     seeks to file a response. DEFENDANT MATT MARTORELLO'S MOTION TO
                     STRIKE, OR IN THE ALTERNATIVE FOR LEAVE TO FILE A RESPONSE TO
                     PLAINTIFFS' OBJECTION TO MARTORELLO'S STATEMENT OF POSITION
                     REGARDING GOOD FAITH DEFENSE (ECF No. 1277 ) is otherwise denied.
                     Defendant shall immediately file the proposed response memorandum. It is SO
                     ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     6/6/2023. (sbea) (Entered: 06/06/2023)
   06/06/2023   1295 ORDER - It is hereby ORDERED that the MOTION TO SEAL EXHIBITS IN
                     SUPPORT OF DEFENDANT MATT MARTORELLO'S STATEMENT OF POSITION
                     REGARDING GOOD FAITH DEFENSE PURSUANT TO ORDER AT DOCKET NO.
                     1247 (ECF No. 1262 ) is granted and DEFENDANT MATT MARTORELLO'S
                     STATEMENT OF POSITION REGARDING GOOD FAITH DEFENSE PURSUANT
                     TO ORDER AT DOCKET NO. 1247 (ECF No. 1275 ) and certain exhibits thereo (ECF
                     No. 1264 ) are filed under seal; provided that appropriately redacted versions thereof are
                     filed in the public record. It is so ORDERED. Signed by Senior United States District
                     Judge Robert E. Payne on 6/6/2023. (sbea) (Entered: 06/06/2023)
   06/06/2023   1296 NOTICE by Matt Martorello re 1266 NOTICE, Defendant's memorandum in Response
                     (Taliaferro, John) (Entered: 06/06/2023)
   06/07/2023   1297 Minute Entry for proceedings held before District Judge Robert E. Payne: Motions
                     Hearing held on 6/7/2023 re 1165 Motion for Partial Summary Judgment and 1173
                     Motion in Limine; Court heard arguments on these motions; Court ruled on choice-of-
                     law question: VA law applies; motion in limine #2, #3 & #4 granted as moot per ruling;
                     plaintiffs to draft order requesting defendant to produce needed files re: Greenberg
                     Traunig; Court holding arguments on motion in limine #5, #6 & #9 in abeyance; motion
                     in limine #10 granted per ECF No. 828 ; motion in limine #14 granted w/ leave to

                                                    Page 150
                                                                                                 JA150
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 154 of 462

                        reopen if circumstances demand; motion in limine #15 granted; matter continued to
                        10:00 a.m. on 6/8/2023 (Court Reporter Tracy Stroh.) (nbrow) (Entered: 06/07/2023)
   06/07/2023           Set Hearing: Motions Hearing set for 6/8/2023 at 10:00 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. (nbrow) (Entered: 06/07/2023)
   06/07/2023   1298 NOTICE in Response to the Court's June 1, 2023 Order (DKT. NO. 1276 by Dowin
                     Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi).
                     Modified on 6/8/2023. (sbea) (Entered: 06/07/2023)
   06/07/2023   1299 Memorandum in Opposition (Redacted) re: 1254 MOTION for Summary Judgment
                     filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                     Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                     Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16
                     Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                     Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26
                     Exhibit 26, # 27 Exhibit 27, # 28 Exhibit 28, # 29 Exhibit 29, # 30 Exhibit 30, # 31
                     Exhibit 31, # 32 Exhibit 32, # 33 Exhibit 33, # 34 Exhibit 34, # 35 Exhibit 35, # 36
                     Exhibit 36, # 37 Exhibit 37, # 38 Exhibit 38, # 39 Exhibit 39, # 40 Exhibit 40, # 41
                     Exhibit 41, # 42 Exhibit 42, # 43 Exhibit 43, # 44 Exhibit 44, # 45 Exhibit 45, # 46
                     Exhibit 46, # 47 Exhibit 47, # 48 Exhibit 48, # 49 Exhibit 49, # 50 Exhibit 50, # 51
                     Exhibit 51, # 52 Exhibit 52, # 53 Exhibit 53, # 54 Exhibit 54, # 55 Exhibit 55, # 56
                     Exhibit 56, # 57 Exhibit 57, # 58 Exhibit 58, # 59 Exhibit 59, # 60 Exhibit 60, # 61
                     Exhibit 61, # 62 Exhibit 62, # 63 Exhibit 63)(Kelly, Kristi). Modified on 6/8/2023.
                     (sbea) (Entered: 06/07/2023)
   06/07/2023   1300 MOTION to Seal by Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: #
                     1 Proposed Order)(Kelly, Kristi) (Entered: 06/07/2023)
   06/07/2023   1301 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams re 1300 MOTION to Seal (Kelly, Kristi)
                     (Entered: 06/07/2023)
   06/07/2023   1302 Sealed Memorandum in Support. (Attachments: # 1 Exhibit 58, # 2 Exhibit 61, # 3
                     Exhibit 62, # 4 Exhibit 63)(Kelly, Kristi) (Entered: 06/07/2023)
   06/07/2023   1303 Memorandum in Support re 1300 MOTION to Seal filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                     06/07/2023)
   06/08/2023   1304 Minute Entry for proceedings held before District Judge Robert E. Payne: Motions
                     Hearing held on 6/8/2023 re 1181 Motion to Exclude Expert Designation of John M.
                     Norman, 1185 Motion in Limine (Omnibus - Non Expert), 1183 Motion to Exclude
                     Expert Designation of George Cowhey, 1173 Motion in Limine (Omnibus); plaintiff's
                     motion in limine #6 granted; simultaneous statements of positions re: apprehension of
                     litigation or as part of jury deliberation & provide instruction due 6/15/2023, replies by
                     6/17/2023; plaintiff's motion in limine #15 granted; defendant's Martorello Exhibit 1 to
                     be filed into record; defendant's motion in limine #1 denied, defendant's motion in
                     limine #2 denied as moot; defendant's motion in limine #3 granted; defendant's motion
                     in limine #4 granted; defendant's motion in limine #5 - plaintiffs to file statement of
                     position re: relation of cases due 5pm 6/13/2023, response due 5pm 6/15/2023, reply due
                     5pm 6/19/2023; defendant's motion in limine #6 denied as moot by agreement;
                     defendant's motion in limine #7 denied as moot - parties to submit stipulation;
                     defendant's motion in limine #8 denied as moot by agreement; defendant's motion in
                     limine #9 denied as moot by agreement; motion to exclude Cowhey (ECF No. 1183
                     granted; motion to exclude Norman (ECF No. 1181 ) denied as to opinion A, granted as

                                                    Page 151
                                                                                                   JA151
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 155 of 462

                        to opinions B & C; parties to file revised expert declarations by 5pm 6/14/2023; Court
                        ruled no good faith defense is available - opinion to follow; matter continued to 1:30pm
                        6/20/2023 for defendant's motion for summary judgment hearing. (Court Reporter Tracy
                        Stroh.)(nbrow) (Entered: 06/08/2023)
   06/08/2023           Set Hearing: Defendant's Motion for Summary Judgment Hearing set for 6/20/2023 at
                        01:30 PM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                        (Entered: 06/08/2023)
   06/08/2023   1305 Plaintiffs' Witness List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                     Turnage, Lula Williams. (Guzzo, Andrew) (Entered: 06/08/2023)
   06/08/2023   1306 NOTICE by Matt Martorello of Filing of Hearing Exhibit 1 (Attachments: # 1 Exhibit 1)
                     (Taliaferro, John) (Entered: 06/08/2023)
   06/08/2023   1307 Plaintiffs' Exhibit List by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                     Turnage, Lula Williams.. (Kelly, Kristi) (Entered: 06/08/2023)
   06/09/2023   1308 JOINT MOTION For Entry of Agreed Amended Pre-trial Scheduling Order by Matt
                     Martorello. (Attachment: # 1 Proposed Order Amended and Agreed Trial Scheduling
                     Order)(Taliaferro, John). Clerk replaced the Proposed Order on 6/12/2023. NEF was
                     regenerated. Modified on 6/12/2023. (sbea) (Entered: 06/09/2023)
   06/12/2023   1309 Trial Witness List by Matt Martorello. (Taliaferro, John) (Entered: 06/12/2023)
   06/12/2023   1310 Trial Exhibit List by Matt Martorello.. (Taliaferro, John) (Entered: 06/12/2023)
   06/13/2023   1311 AMENDED PRETRIAL SCHEDULING ORDER. It is hereby ORDERED that the
                     Joint Motion for Entry of Agreed Amended Pre-Trial Schedule Order (ECF No. 1308 ) is
                     granted. It is further ORDERED that: 1) The deadline for Defendant to file his witness
                     list and exhibit list shall be June 12, 2023. 2) The deadline for the parties to serve their
                     amended discovery designations shall be June 12, 2023. 3) The deadline for the parties
                     to serve their counter discovery designations shall be June 14, 2023. 4) The deadline for
                     the parties to files their objections to discovery designations and objections to exhibits
                     shall be June 16, 2023. 5) The deadline for the parties to file any agreed stipulations
                     shall be June 19, 2023. 6) The deadline for the parties to meet and confer regarding
                     objections to exhibits and discovery designations shall be June 19, 2023. 7) The
                     deadline for the parties to file their revised discovery designations shall be June 21,
                     2023. 8) The deadline for the parties to serve hard copies of the exhibits that they intend
                     to introduce at trial on the opposing party shall be June 23, 2023. It is so ORDERED.
                     Signed by Senior United States District Judge Robert E. Payne on 6/13/2023. (sbea)
                     (Entered: 06/13/2023)
   06/13/2023   1312 (Statement of Position Regarding Intended Reference to Other Tribal Lending
                     Litigation) by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                     Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Kelly, Kristi). Modified on
                     6/14/2023. (sbea) (Entered: 06/13/2023)
   06/14/2023   1313 NOTICE in Response to the Courts June 8, 2023 Order (DKT. NO. 1304 ) Regarding
                     Expert Witnesses by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams re: 1304 Motion Hearing (Attachments: # 1 Exhibit "1" Expert Report of
                     Nathalie Martin)(Bennett, Leonard). Modified on 6/14/2023. (sbea) (Entered:
                     06/14/2023)
   06/14/2023   1314 STIPULATION Regarding Defendant's Omnibus Motion in Limine #7 and Plaintiffs'
                     Motion to Exclude Expert Todd Zywicki and Expert Barry Brandon re: 1186


                                                    Page 152
                                                                                                  JA152
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 156 of 462

                      Memorandum in Support, 1203 Opposition, 1178 Memorandum in Support by Matt
                      Martorello. (Taliaferro, John). Modified on 6/14/2023. (sbea) (Entered: 06/14/2023)
  06/14/2023   1315 NOTICE Regarding Status of Expert Witnesses by Matt Martorello re: 1314 Stipulation
                    (Taliaferro, John). Modified on 6/14/2023 (sbea) (Entered: 06/14/2023)
  06/15/2023   1316 TRANSCRIPT of proceedings held on June 7, 2023, before Judge Robert E. Payne,
                    Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                    RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                    to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                    no such Notice is filed, the transcript will be made remotely electronically available
                    to the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter/transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER Redaction Request due 7/17/2023. Redacted Transcript Deadline set for
                    8/15/2023. Release of Transcript Restriction set for 9/13/2023.(stroh, tracy)
                    (Entered: 06/15/2023)
  06/15/2023   1317 TRANSCRIPT of proceedings held on June 8, 2023, before Judge Robert E. Payne,
                    Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                    RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                    to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                    no such Notice is filed, the transcript will be made remotely electronically available
                    to the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter/transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER Redaction Request due 7/17/2023. Redacted Transcript Deadline set for
                    8/15/2023. Release of Transcript Restriction set for 9/13/2023.(stroh, tracy)
                    (Entered: 06/15/2023)
  06/15/2023   1318 Defendant Matt Martorellos Statement of Position Regarding Procedure for Adverse
                    Instruction for Spoliation in Anticipation of Litigation and Proposed Instruction by Matt
                    Martorello re: 1304 Motion Hearing. (Attachment: # 1 Exhibit A)(Taliaferro, John).
                    Modified on 6/20/2023. (sbea) (Entered: 06/15/2023)
  06/15/2023   1319 (Plaintiffs' Statement of Position Regarding Adverse Inference Instruction) by Dowin
                    Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi).
                    Modified on 6/20/2023. (sbea) (Entered: 06/15/2023)
  06/15/2023   1322 Defendant Matt Martorellos Response to Plaintiffs Statement of Position Regarding
                    Their Intended Reference to Other Tribal Lending Litigation by Matt Martorello
                    (Taliaferro, John) re: 1312 Statement of Position Regarding Intended Reference to Other
                    Tribal Lending Litigation. Modified on 6/20/2023 (sbea, ). (Entered: 06/15/2023)
  06/15/2023   1323 Defendant Matt Martorellos Statement of Position Regarding Remaining Issues to be
                    Decided On His Motion For Partial Summary Judgment by Matt Martorello re: 1254
                    MOTION for Summary Judgment (Taliaferro, John). Modified on 6/20/2023. (sbea)
                    (Entered: 06/15/2023)
  06/15/2023   1324 Reply to Motion re 1254 MOTION for Summary Judgment filed by Matt Martorello.
                    (Attachments: # 1 Exhibit 1)(Taliaferro, John) (Entered: 06/15/2023)
  06/16/2023   1325 AGREED STIPULATION as to Authenticity by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi). Modified on 6/20/2023. (sbea)
                    (Entered: 06/16/2023)

                                                  Page 153
                                                                                               JA153
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 157 of 462

   06/16/2023   1326 ORDER - Due to a conflict with the Court's docket, it is hereby ORDERED that the
                     hearing originally schedule for June 20, 2023 (ECF No. 1267 ) is rescheduled to June
                     26, 2023 at 10:00 am. It is so ORDERED. Signed by Senior United States District
                     Judge Robert E. Payne on 6/16/2023. (sbea) (Entered: 06/16/2023)
   06/16/2023   1327 ORDER - It is hereby ORDERED: 1) PLAINTIFFS' MOTION TO EXCLUDE
                     EXPERT DESIGNATION OF J. HOWARD BEALES, III (ECF No. 1175 ) is denied as
                     moot; and 2) PLAINTIFFS' MOTION TO EXCLUDE EXPERT DESIGNATION OF
                     PROFESSOR TODD ZYWICKI (ECF No. 1177 ) is denied as moot; and 3)
                     PLAINTIFFS' MOTION TO EXCLUDE EXPERT DESIGNATION OF BARRY W.
                     BRANDON (ECF No. 1179 ) is denied as moot; and 4) DEFENDANT MATT
                     MARTORELLO'S MOTION IN LIMINE TO EXCLUDE PLAINTIFF'S EXPERT
                     NATHALIE MARTIN (ECF No. 1187 ) is denied as moot; and 5) PLAINTIFFS'
                     MOTION TO EXCLUDE REBUTTAL EXPERT DESIGNATION OF PROFESSOR
                     TODD ZYWICKI (ECF No. 1271 ) is denied as moot. It is SO ORDERED. Signed by
                     Senior United States District Judge Robert E. Payne on 6/16/2023. (sbea) (Entered:
                     06/16/2023)
   06/16/2023           Reset Hearing: Defendant's Motion for Summary Judgment Hearing set for 6/26/2023 at
                        10:00 AM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                        (Entered: 06/16/2023)
   06/16/2023   1328 *** VACATED PURSUANT TO ORDER ENTERED 8/15/23 ECF 1397 *** ORDER -
                     This matter is before the Court on PLAINTIFFS' MOTION FOR PARTIAL
                     SUMMARY JUDGMENT (ECF No. 1165), PLAINTIFFS' OMNIBUS MOTION IN
                     LIMINE (ECF No. 1173 ), PLAINTIFFS' MOTION TO EXCLUDE EXPERT
                     DESIGNATION OF J. HOWARD BEALES, III (ECF No. 1175 ), PLAINTIFFS'
                     MOTION TO EXCLUDE EXPERT DESIGNATION OF PROFESSOR TODD
                     ZYWICKI (ECF No. 1177 ), PLAINTIFFS' MOTION TO EXCLUDE EXPERT
                     DESIGNATION OF BARRY W. BRANDON (ECF No. 1179 ), PLAINTIFFS'
                     MOTION TO EXCLUDE EXPERT DESIGNATION OF JOHN M. NORMAN (ECF
                     No. 1181 ), PLAINTIFFS' MOTION TO EXCLUDE EXPERT DESIGNATION OF
                     GEORGE COWHEY (ECF No. 1183 ), DEFENDANT MATT MARTORELLO'S
                     OMNIBUS NON-EXPERT MOTION IN LIMINE (ECF No. 1185 ), and DEFENDANT
                     MATT MARTORELLO'S MOTION IN LIMINE TO EXCLUDE PLAINTIFF'S
                     EXPERT NATHALIE MARTIN (ECF No. 1187 ); and the respective supporting,
                     opposing, and reply memoranda. For the reasons set forth on the record during the
                     hearings on June 7 and 8, 2023 ("the June 7 - 8 Pretrial Hearing") and to be set forth in
                     forthcoming memorandum opinions, It is hereby ORDERED: 1). Plaintiffs' Motion for
                     Partial Summary Judgment (ECF No. 1165 ); II. Plaintiffs' Omnibus Motion in Limine
                     (ECF No. 1173 ); III. Motions to Exclude Experts Beales, Zywicki, Brandon and Martin
                     (ECF Nos. 1175, 1177, 1179, and 1187); IV. Motion to Exclude Expert Designation of
                     John M. Norman (ECF No. 1181 ); V. Motion to Exclude Expert Designation of George
                     Cowhey (ECF No. 1183 ); VI. Defendant Matt Martorello's Omnibus Non-Expert
                     Motion in Limine (ECF No. 1185 ); and VII. Additional Matters. See Order for details
                     and deadlines. It is SO ORDERED. Signed by Senior United States District Judge
                     Robert E. Payne on 6/16/2023 Nunc pro tunc June 12, 2023. (sbea) Modified on
                     8/15/2023 (Khan, ). (Additional attachment(s) added on 8/15/2023: # 1 ORDER
                     REPLACING ECF 1328) (Khan, ). (Entered: 06/16/2023)
   06/16/2023   1329 OBJECTIONS TO DEFENDANT MARTORELLOS EXHIBIT LIST re: 1310 Exhibit
                     List filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams (Kelly, Kristi). Modified on 6/20/2023. (sbea) (Entered: 06/16/2023)
   06/16/2023   1330 Defendant Matt Martorello's Response to Plaintiffs' Statement of Position Regarding
                     Adverse Inference Instruction re: 1319 NOTICE filed by Matt Martorello (Taliaferro,
                                                   Page 154
                                                                                                JA154
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 158 of 462

                        John). Modified on 6/20/2023 (sbea) (Entered: 06/16/2023)
   06/16/2023   1331 (Plaintiffs' Objections to Martorello's Amended Discovery Designations and Counter
                     Designations) by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Kelly, Kristi) Modified on
                     6/20/2023. (sbea) (Entered: 06/16/2023)
   06/16/2023   1332 PLAINTIFFS' Reply Regarding Their Intended Reference to Other Tribal Lending
                     Litigation re: 1322 Defendant Matt Martorellos Response to Plaintiffs Statement of
                     Position Regarding Their Intended Reference to Other Tribal Lending Litigation filed by
                     Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly,
                     Kristi). Modified on 6/20/2023. (sbea) (Entered: 06/16/2023)
   06/16/2023   1333 Objections to Plaintiffs' Proposed Trial Exhibits re: 1307 Exhibit List filed by Matt
                     Martorello (Taliaferro, John). Modified on 6/20/2023. (sbea) (Entered: 06/16/2023)
   06/16/2023   1334 Objection to Plaintiffs Discovery Designations filed by Matt Martorello. (Taliaferro,
                     John) (Entered: 06/16/2023)
   06/17/2023   1335 Plaintiffs' Statement of Position Regarding Adverse Inference Instruction re: 1318
                     Defendant Matt Martorellos Statement of Position Regarding Procedure for Adverse
                     Instruction for Spoliation in Anticipation of Litigation and Proposed Instruction filed by
                     Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly,
                     Kristi). Modified on 6/20/2023. (sbea) (Entered: 06/17/2023)
   06/20/2023   1336 TRANSCRIPT of proceedings held on June 20, 2023, before Judge Robert E. Payne,
                     Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                     RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                     to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                     no such Notice is filed, the transcript will be made remotely electronically available
                     to the public without redaction after 90 calendar days. The policy is located on our
                     website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                     terminal or purchased through the court reporter/transcriber before the deadline
                     for Release of Transcript Restriction. After that date it may be obtained through
                     PACER Redaction Request due 7/20/2023. Redacted Transcript Deadline set for
                     8/21/2023. Release of Transcript Restriction set for 9/18/2023.(stroh, tracy)
                     (Entered: 06/20/2023)
   06/20/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 6/20/2023. (Court Reporter Tracy Stroh.) (nbrow) (Entered:
                        07/26/2023)
   06/21/2023   1337 ORDER - This matter is before the Court on DEFENDANT MATT MARTORELLO'S
                     OMNIBUS NON-EXPERT 1185 MOTION IN LIMINE. The parties have come to an
                     agreement on the use of other cases involving Native American tribes, it is hereby
                     ORDERED that MIL 5 is denied as moot. It is SO ORDERED. Signed by Senior United
                     States District Judge Robert E. Payne on 6/21/2023. (sbea) (Entered: 06/21/2023)
   06/21/2023   1338 ORDER - It is hereby ORDERED: 1) Due to a conflict in the Court's docket, the
                     hearing set for June 26, 2023 at 10:00 am (ECF No. 1326) is rescheduled to June 26,
                     2023 at 1:00 pm; and 2) Plaintiffs' UNCONTESTED ORAL MOTION FOR AN
                     EXTENSION OF TIME TO SUBMIT DEPOSITION TRANSCRIPT DESIGNATIONS
                     is granted. The deadline for the parties to submit deposition transcript designations is
                     continued generally until further ORDER from the Court. On June 26, 2023, at the Final
                     Pre-Trial Conference, the parties shall provide a proposed briefing schedule on this
                     matter; and 3) On June 26, 2023, at the Final Pre-Trial Conference, the parties shall
                     provide a proposed briefing schedule or a stipulation as to the proper calculation for

                                                    Page 155
                                                                                                 JA155
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 159 of 462

                      damages. It is SO ORDERED. Signed by Senior United States District Judge Robert E.
                      Payne on 6/21/2023. (sbea) (Entered: 06/21/2023)
  06/21/2023          Reset Hearing: Defendant's Motion for Summary Judgment Hearing set for 6/26/2023 at
                      01:00 PM in Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow)
                      (Entered: 06/21/2023)
  06/21/2023          Reset Hearing: Final Pretrial Conference set for 6/26/2023 at 01:00 PM in Richmond
                      Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered: 06/21/2023)
  06/21/2023   1339 Motion to appear Pro Hac Vice by Steven Douglas Gordon and Certification of Local
                    Counsel John D. Taliaferro Filing fee $ 75, receipt number AVAEDC-8990887. by Matt
                    Martorello. (Taliaferro, John) (Entered: 06/21/2023)
  06/21/2023   1340 NOTICE AND REQUEST for Reconsideration of Court's Ruling on Satisfacton of the
                    1962(d) Elements re: 1328 Order by Dowin Coffy, George Hengle, Marcella P. Singh,
                    Gloria Turnage, Lula Williams (Kelly, Kristi). Modified on 6/22/2023. (sbea) (Entered:
                    06/21/2023)
  06/21/2023   1341 ORDER that this matter is before the Court on PLAINTIFFS' NOTICE AND
                    REQUEST FOR RECONSIDERATION OF COURT'S RULING ON SATISFACTION
                    OF THE 1962(d) ELEMENTS (ECF No. 1340 . It is hereby ORDERED that on June 22,
                    2023 at 5:00 pm, Martorello shall file his response. Signed by District Judge Robert E.
                    Payne on 6/21/23. (Khan, ) Modified on 6/21/2023 (Khan, ). (Entered: 06/21/2023)
  06/21/2023   1342 Objection to 1307 Exhibit List (Revised) filed by Matt Martorello. (Taliaferro, John)
                    (Entered: 06/21/2023)
  06/21/2023   1343 Objection to 1310 Exhibit List (Revised) filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered: 06/21/2023)
  06/22/2023   1344 Plaintiffs' Notice of Filing Witness Subpoena for Attendance at Trial by Dowin Coffy,
                    George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams re: 1144 Order.
                    (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Bennett, Leonard). Modified on 6/22/2023.
                    (sbea) (Entered: 06/22/2023)
  06/22/2023   1345 Response to Plaintiffs' Notice and Request for Reconsideration of Court's Ruling on
                    Satisfaction of the 1962(d) Elements re: 1340 MOTION for Reconsideration, 1328
                    Order filed by Matt Martorello (Taliaferro, John). Modified on 6/23/2023. (sbea)
                    (Entered: 06/22/2023)
  06/22/2023   1348 ORDER - Having considered the plaintiffs' MOTION TO SEAL (ECF No. 1300 ), the
                    supporting memorandum (ECF No. 1303 , and the NOTICE OF FILING UNDER SEAL
                    (ECF No. 1301 ), and the requirements of Local Civil Rule 5 and the decisions in
                    Ashcraft, et al. v. Conoco, Inc., 218 F. 3d 288 (4th Cir. 2000), In re Knight Publishing
                    Co., 743 F. 2d 231 (4th Cir 1984) and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir.
                    1988) having been met, it is hereby ORDERED that the plaintiffs' MOTION TO SEAL
                    (ECF No. 1300 ) is granted and PLAINTIFFS' OPPOSITION TO MATT
                    MARTORELLO'S MOTION FOR PARTIAL SUMMARY JUDGMENT and certain
                    exhibits thereto (ECF No. 1302 ) are filed under seal; provided that appropriately
                    redacted versions thereof are filed in the public record. It is so ORDERED. Signed by
                    Senior United States District Judge Robert E. Payne on 6/22/2023. (sbea) (Entered:
                    06/22/2023)
  06/23/2023   1349 ORDER granting 1339 Motion for Steven Douglas Gordon to appear as Pro Hac Vice
                    for Matt Martorello. Signed by Senior United States District Judge Robert E. Payne on
                    6/23/2023. (sbea) (Entered: 06/23/2023)

                                                  Page 156
                                                                                              JA156
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023      Pg: 160 of 462

   06/26/2023   1350 ORDER - That matter is before the Court on PLAINTIFFS' NOTICE AND REQUEST
                     FOR RECONSIDERATION OF COURT'S RULING ON SATISFACTION OF THE
                     1962(d) ELEMENTS (ECF No. 1340 ). It is hereby ORDERED that: 1) PLAINTIFFS'
                     NOTICE AND REQUEST FOR RECONSIDERATION OF COURT'S RULING ON
                     SATISFACTION OF THE 1962(d) ELEMENTS (ECF No. 1340 ) is granted; and 2)
                     Section II(5) of the Court's ORDER on June 16, 2023 (ECF No. 1328 ) is hereby
                     amended to read "Summary judgment is granted in favor of the Plaintiffs as to all
                     elements of Plaintiffs' 18 U.S.C. § 1962(d) claim" and the language currently in Section
                     II(s) reading "Summary judgment is otherwise denied" shall become Section II(6). In all
                     other respects, Court's ORDER on June 16, 2023 (ECF No. 1328 ) shall remain as
                     issued. It is SO ORDERED. Signed by Senior United States District Judge Robert E.
                     Payne on 6/23/2023. (sbea) (Entered: 06/26/2023)
   06/26/2023   1351 Minute Entry for proceedings held before District Judge Robert E. Payne: Motion for
                     Summary Judgment Hearing held on 6/26/2023. Court heard arguments - choice of law
                     disposed of by previous decision; defendant's motion for summary judgment (ECF No.
                     1254 ) as to Virginia usury and unjust enrichment claims denied - opinion to issue;
                     plaintiff's motion in limine (ECF No. 1173 ) re: #9 held in abeyance by Court (Court
                     Reporter Tracy Stroh.)(nbrow) (Entered: 06/26/2023)
   06/26/2023   1352 Minute Entry for proceedings held before District Judge Robert E. Payne: Final Pretrial
                     Conference held on 6/26/2023. Defendant excluding two witnesses - will call Matt
                     Martorello & 12 depositions; plaintiffs have three witnesses & six depositions; exhibits
                     30, 31 & 35 withdrawn by defendant; objection sustained re: exhibits 54 & 55; parties to
                     submit proposed pretrial order to chambers tomorrow; matter continued to 6/27/2023 at
                     9:30 a.m. (Court Reporter Tracy Stroh.)(nbrow) (Entered: 06/26/2023)
   06/26/2023           Set Hearing: Final Pretrial Conference (cont'd) set for 6/27/2023 at 09:30 AM in
                        Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered:
                        06/26/2023)
   06/27/2023   1353 Minute Entry for proceedings held before District Judge Robert E. Payne: Final Pretrial
                     Conference (cont'd) held on 6/27/2023. Parties to submit by 5PM 7/5/2023 deposition
                     designations by text & color coded; count 5 (unjust enrichment claim) to be tried by
                     Court and not jury by agreement; revised revision of pages 68-118 & pages 62-64 in
                     proposed final pretrial order forwarded to Court for replacement; plaintiff's motion in
                     limine re: #6 denied as moot; jury of 11 people by agreement w/ 3 strikes each (Court
                     Reporter Tracy Stroh.)(nbrow) (Entered: 06/27/2023)
   06/28/2023   1354 ORDER - This matter is before the Court on DEFENDANT MATT MARTORELLO'S
                     MOTION FOR SUMMARY JUDGMENT (ECF No. 1254 ). For the reasons set forth on
                     the record during the hearing on June 26, 2023, and to be set forth in a forthcoming
                     memorandum opinion, it is hereby ORDERED that: 1) In light of the Court's June 16,
                     2023 ORDER (ECF No. 1328 ), Matt Martorello's ("Martorello") motion for summary
                     judgment is denied as to the choice-of-law; and 2) Martorello's motion for summary
                     judgment is denied as to COUNT FOUR of the COMPLAINT (ECF No. 1 ) that alleges
                     Martorello violated Virginia usury laws. There remain questions of material fact to be
                     determined at trial (a memorandum opinion will follow); and 3) Martorello's motion for
                     summary judgment is denied as to COUNT FIVE of the COMPLAINT that alleges
                     Martorello was unjustly enriched. There remain questions of material fact to be
                     determined at trial (a memorandum opinion will follow). It is SO ORDERED. Signed by
                     Senior United States District Judge Robert E. Payne on 6/27/2023. (sbea) (Entered:
                     06/28/2023)
   06/29/2023   1355 TRANSCRIPT of proceedings held on June 26, 2023, before Judge Robert E. Payne,
                     Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE

                                                   Page 157
                                                                                               JA157
USCA4 Appeal: 23-2097     Doc: 11-1          Filed: 12/06/2023      Pg: 161 of 462

                      RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                      to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                      no such Notice is filed, the transcript will be made remotely electronically available
                      to the public without redaction after 90 calendar days. The policy is located on our
                      website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                      terminal or purchased through the court reporter/transcriber before the deadline
                      for Release of Transcript Restriction. After that date it may be obtained through
                      PACER Redaction Request due 7/31/2023. Redacted Transcript Deadline set for
                      8/29/2023. Release of Transcript Restriction set for 9/27/2023.(stroh, tracy)
                      (Entered: 06/29/2023)
  06/29/2023   1356 TRANSCRIPT of proceedings held on June 27, 2023, before Judge Robert E. Payne,
                    Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                    RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                    to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                    no such Notice is filed, the transcript will be made remotely electronically available
                    to the public without redaction after 90 calendar days. The policy is located on our
                    website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                    terminal or purchased through the court reporter/transcriber before the deadline
                    for Release of Transcript Restriction. After that date it may be obtained through
                    PACER Redaction Request due 7/31/2023. Redacted Transcript Deadline set for
                    8/29/2023. Release of Transcript Restriction set for 9/27/2023.(stroh, tracy)
                    (Entered: 06/29/2023)
  06/30/2023   1357 MOTION for Entry of Judgment under Rule 54(b) As to the Plaintiffs and Class
                    Members' 1962(d) Claims by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered:
                    06/30/2023)
  06/30/2023   1358 Memorandum in Support re 1357 MOTION for Entry of Judgment under Rule 54(b) As
                    to the Plaintiffs and Class Members' 1962(d) Claims filed by Dowin Coffy, George
                    Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi) (Entered:
                    06/30/2023)
  06/30/2023   1359 STIPULATION REGARDING REMAINING ELEMENTS OF RICO 1962(c) CLAIM by
                    Matt Martorello. (Taliaferro, John) (Entered: 06/30/2023)
  06/30/2023   1360 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                    Williams (Notice Regarding the Parties' Proposed Jury Instructions) (Attachments: # 1
                    Exhibit 1 - Proposed Instructions)(Kelly, Kristi) (Entered: 06/30/2023)
  07/05/2023   1361 Objection to 1360 NOTICE (Plaintiffs' Objection to Martorello's Proposed Instruction
                    Nos. 12, 21, 24, 26) filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria
                    Turnage, Lula Williams. (Kelly, Kristi) (Entered: 07/05/2023)
  07/05/2023   1362 ORDER - The Court's ORDER on June 26, 2023 (ECF No. 1350 ) is hereby amended to
                    change all references from "Section II" to "Section I" of the Court's ORDER.In all other
                    respects, the ORDER shall remain as issued. It is SO ORDERED. Signed by Senior
                    United States District Judge Robert E. Payne on 7/5/2023. (sbea) (Entered: 07/05/2023)
  07/05/2023   1363 Objection to 1360 NOTICE (to Plaintiffs' Proposed Jury Instructions Nos. 12, 21, 24,
                    and 26) filed by Matt Martorello. (Taliaferro, John) (Entered: 07/05/2023)
  07/05/2023   1364 Proposed Voir Dire by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                    Lula Williams. (Kelly, Kristi) (Entered: 07/05/2023)
  07/05/2023   1365 Proposed Voir Dire by Matt Martorello. (Taliaferro, John) (Entered: 07/05/2023)

                                                  Page 158
                                                                                             JA158
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023        Pg: 162 of 462

   07/06/2023   1370 NOTICE by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams (Statement Regarding Factual Contentions and Triable Issues) (Kelly, Kristi)
                     (Entered: 07/06/2023)
   07/06/2023   1371 NOTICE by Matt Martorello Statement Regarding Factual Contentions and Triable
                     Issues. (Taliaferro, John) (Entered: 07/06/2023)
   07/06/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 7/6/2023. (Court Reporter Krista Liscio.) (nbrow) (Entered:
                        08/11/2023)
   07/07/2023   1372 FINAL PRETRIAL ORDER. Pursuant to this Court's Scheduling Order (Doc. 1144 )
                     counsel for the Parties present this Final Pretrial Order for the Court's consideration at
                     the final pretrial conference held on June 27, 2016. See Order for details. Signed by
                     Senior United States District Judge Robert E. Payne on 7/7/2023. (sbea) (Entered:
                     07/07/2023)
   07/07/2023   1373 ORDER - Having reviewed DEFENDANT MATT MARTORELLO'S STIPULATION
                     REGARDING REMAINING ELEMENTS OF RICO 1962(c) CLAIM (ECF No. 1359 ),
                     it is hereby ORDERED that summary judgment is entered in favor of the Plaintiffs as to
                     Plaintiffs' COUNT TWO. CLASS ACTION COMPLAINT at 20 (ECF No. 1 ).
                     Judgment thereon shall be entered at the conclusion of the trial set to begin on July 17,
                     2023. By July 21, 2023, the parties shall advise: (1) the calculations of damages; and (2)
                     whether the damages as to COUNT TWO are the same as, or different than, those for
                     COUNT THREE. It is SO ORDERED. Signed by Senior United States District Judge
                     Robert E. Payne on 7/7/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1374 ORDER - It is hereby ORDERED that: 1) At the conclusion of the jury trial scheduled
                     to begin on July 17, 2023, judgment will be entered against Defendant Matt Martorello
                     in favor of the Plaintiffs and Class Members on COUNT THREE of the CLASS
                     ACTION COMPLAINT (ECF No. 1 ), the 18 U.S.C. § 1962(d) claim. The total
                     judgment amount will be in the amount of $43,401,817.47 with interest at the federal
                     judgment rate, 5.35% per annum, from July 7, 2023 until paid, and none of this amount
                     may be set off based on any prior settlement of any part of Plaintiffs' claims; and 2) The
                     Court will determine a reasonable amount of fees and costs to be awarded to Class
                     Counsel pursuant to Rule 54 of the Federal Rules of Civil Procedure after the remaining
                     issues are tried in this case. Thus, the Court hereby extends the deadline under Rule
                     54(d)(2)(B)(i) until 14 days after the conclusion of the trial or settlement is reached in
                     this matter. It is SO ORDERED. Signed by Senior United States District Judge Robert
                     E. Payne on 7/7/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1375 ORDER - It is hereby ORDERED: 1) Having been withdrawn by the Plaintiffs,
                     PLAINTIFFS' OMNIBUS MOTION IN LIMINE (ECF No. 1173 ) MIL 6 is denied as
                     moot and no adverse inference instruction shall be given at trial; and 2) By agreement of
                     the parties, COUNT FIVE (unjust enrichment) shall be decided by the Court, not by the
                     jury. The predicate evidence available to the Court to make that decision shall be all the
                     evidence that is presented at the trial to the jury. If, hereafter, it is necessary to present
                     evidence that would not be proper to present before the jury, there shall be a separate
                     evidentiary hearing at which that evidence would be presented. It is SO ORDERED.
                     Signed by Senior United States District Judge Robert E. Payne on 7/7/2023. (sbea)
                     (Entered: 07/07/2023)
   07/07/2023   1376 ORDER - It is hereby ORDERED that the jury selection scheduled to begin on July 12,
                     2023 and the trial scheduled to begin on July 13, 2023 in this matter are continued.
                     March 10, 2023 ORDER (ECF No. 1155 ). Jury selection shall begin on July 14, 2023
                     at 9:30 am. The trial shall begin July 17, 2023 at 9:30 am. The prior ORDER

                                                     Page 159
                                                                                                    JA159
USCA4 Appeal: 23-2097      Doc: 11-1           Filed: 12/06/2023       Pg: 163 of 462

                        directing the Jury Clerk to dismiss for cause any juror not vaccinated for COVID-19
                        remains in effect. March 10, 2023 ORDER (ECF No. 1153 ). A copy of this ORDER
                        shall be forwarded to the Jury Clerk. It is SO ORDERED. Signed by Senior United
                        States District Judge Robert E. Payne on 7/7/2023. Copy of this Order and ECF No.
                        1153 have been forwarded to the Jury Clerk. (sbea) (Entered: 07/07/2023)
   07/07/2023   1377 ORDER - It is hereby ORDERED that: 1) On July 7, 2023 by 5:00 pm, Plaintiffs shall
                     file a statement of position on the effect of the Court's ruling regarding Plaintiffs' Motion
                     in Limine 7 (ECF No. 1246 ) and on Matt Martorello's ("Martorello") Proposed Jury
                     Instructions Nos. 24 and 26 (ECF No. 1360-1); and 2) On July 10, 2023 by 9:00 am,
                     Martorello shall file a response; and 3) On July 11, 2023 by 5:00 pm, Plaintiffs shall file
                     a reply. It is SO ORDERED. Signed by Senior United States District Judge Robert E.
                     Payne on 7/7/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023           Reset Hearings: Jury Selection set for 7/14/2023 at 09:30 AM in Richmond Courtroom
                        7400 before District Judge Robert E. Payne. Jury Trial set for 7/17/2023 at 09:30 AM in
                        Richmond Courtroom 7400 before District Judge Robert E. Payne. (nbrow) (Entered:
                        07/07/2023)
   07/07/2023   1378 TRANSCRIPT of proceedings held on 7/6/2023, before Judge Robert E. Payne, Court
                     Reporter/Transcriber Krista Liscio, Telephone number 804 916-2296. NOTICE RE
                     REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days to
                     file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to
                     the public without redaction after 90 calendar days. The policy is located on our
                     website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                     terminal or purchased through the court reporter/transcriber before the deadline
                     for Release of Transcript Restriction. After that date it may be obtained through
                     PACER Redaction Request due 8/7/2023. Redacted Transcript Deadline set for
                     9/6/2023. Release of Transcript Restriction set for 10/5/2023.(liscio, krista)
                     (Entered: 07/07/2023)
   07/07/2023   1379 (Statement of Position Regarding Motion in Limine No. 7 and Liability Under Virginia
                     Code 6.2-305(A)) by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams (Attachment: # 1 Exhibit 1 - Filed Under Seal)(Kelly, Kristi). Modified
                     on 7/12/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1380 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi) (Entered: 07/07/2023)
   07/07/2023   1381 Amended Proposed Voir Dire by Matt Martorello (Taliaferro, John). Modified on
                     7/12/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1382 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi) (Entered: 07/07/2023)
   07/07/2023   1383 Statement Regarding Motion in Limine No. and Liability Under Virginia Code
                     6.2.305(A) re: 1380 MOTION to Seal by Dowin Coffy, George Hengle, Marcella P.
                     Singh, Gloria Turnage, Lula Williams. (Attachment: # 1 Exhibit 1 (Unredacted
                     Interrogatory))(Kelly, Kristi). Modified on 7/12/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1384 Memorandum in Support re: 1380 MOTION to Seal filed by Dowin Coffy, Greenberg
                     Traurig, LLP, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly,
                     Kristi). Modified on 7/12/2023. (sbea) (Entered: 07/07/2023)
   07/07/2023   1385 Objection to Certain Voir Dire 1381 Proposed Voir Dire filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Bennett, Leonard), Modified
                     on 7/12/2023. (sbea) (Entered: 07/07/2023)

                                                     Page 160
                                                                                                   JA160
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 164 of 462

   07/10/2023   1386 Response to Plaintiffs Statement Regarding Motion in Limine No. 7 and Liability Under
                     Virginia Code § 6.2-305(A) by Matt Martorello re: 1379 (Statement of Position
                     Regarding Motion in Limine No. 7 and Liability Under Virginia Code 6.2-305(A))
                     (Taliaferro, John). Modified on 7/12/2023. (sbea) (Entered: 07/10/2023)
   07/10/2023   1387 Consent MOTION to Voluntarily Dismiss Usury and Unjust Enrichment Claims Without
                     Prejudice Pursuant to Rule 41(a)(2) by Dowin Coffy, George Hengle, Marcella P. Singh,
                     Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly, Kristi)
                     (Entered: 07/10/2023)
   07/10/2023   1388 Memorandum in Support re 1387 Consent MOTION to Voluntarily Dismiss Usury and
                     Unjust Enrichment Claims Without Prejudice Pursuant to Rule 41(a)(2) filed by Dowin
                     Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly, Kristi)
                     (Entered: 07/10/2023)
   07/10/2023   1389 JOINT NOTICE and Stipulation Regarding 1962(c) Damages by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Kelly, Kristi). Modified on
                     7/12/2023. (sbea) (Entered: 07/10/2023)
   07/10/2023   1390 ORDER - Having considered the PLAINTIFFS' CONSENT MOTION TO DISMISS
                     USURY ANDUNJUST ENRICHMENT CLAIMS WITHOUT PREJUDICE
                     PURSUANT TO RULE 41(a)(2) (ECF No. 1387 ) and with the consent of the
                     defendant, Matt Martorello, it is hereby ORDERED that the Motion (ECF No. 1387 ) is
                     granted and the usury claim (COUNT FOUR) and the unjust enrichment claim (COUNT
                     FIVE) are dismissed without prejudice. Signed by Senior United States District Judge
                     Robert E. Payne on 7/10/2023. (sbea) (Entered: 07/10/2023)
   07/10/2023           Minute Entry for proceedings held before District Judge Robert E. Payne: Telephone
                        Conference held on 7/10/2023. (Court Reporter Tracy Stroh.) (nbrow) (Entered:
                        08/11/2023)
   07/11/2023   1391 ORDER - Having conferred with the parties during the conference call on July 10, 2023
                     and understanding that there are no remaining triable issues, it is hereby ORDERED that
                     the jury selection and trial scheduled to begin on July 14, 2023 are canceled (ECF
                     No. 1376 ). A copy of this ORDER shall be forwarded to the Jury Clerk. It is SO
                     ORDERED. Signed by Senior United States District Judge Robert E. Payne on
                     7/11/2023. Order forwarded to Jury Clerk. (sbea) (Entered: 07/11/2023)
   07/11/2023   1392 MEMORANDUM OPINION. See Opinion for details. Signed by Senior United States
                     District Judge Robert E. Payne on 7/11/2023. (sbea) (Entered: 07/11/2023)
   07/24/2023   1393 TRANSCRIPT of proceedings held on July 10, 2023, before Judge Robert E. Payne,
                     Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267. NOTICE
                     RE REDACTION OF TRANSCRIPTS:The parties have thirty(30) calendar days
                     to file with the Court a Notice of Intent to Request Redaction of this transcript. If
                     no such Notice is filed, the transcript will be made remotely electronically available
                     to the public without redaction after 90 calendar days. The policy is located on our
                     website at www.vaed.uscourts.gov Transcript may be viewed at the court public
                     terminal or purchased through the court reporter/transcriber before the deadline
                     for Release of Transcript Restriction. After that date it may be obtained through
                     PACER Redaction Request due 8/23/2023. Redacted Transcript Deadline set for
                     9/25/2023. Release of Transcript Restriction set for 10/23/2023.(stroh, tracy)
                     (Entered: 07/24/2023)
   08/03/2023   1394 ORDER that having reviewed the record in this case and finding certain documents
                     referenced during the June 8, 2023 hearing missing from the electronic record, it is
                     hereby ORDERED that Matt Martorello ("Martorello") shall re-file the following

                                                    Page 161
                                                                                                JA161
USCA4 Appeal: 23-2097       Doc: 11-1           Filed: 12/06/2023       Pg: 165 of 462

                        exhibits: BB (ECF No. 1264 -13), MM (ECF No. 1264 -20), and CCC (ECF No. 1264
                        -29). It each of these cases, both the cover emails and accompanying attachments were
                        discussed on the record but it appears that only the cover emails were filed. See June 8,
                        2023 Hrg. Trans. at 277, 298, 304 (ECF No. 1317). Martorello is ORDERED to
                        forthwith re-file the exhibits with the attachments. It is SO ORDERED. Signed by
                        District Judge Robert E. Payne on 8/3/2023. (jenjones) (Entered: 08/03/2023)
   08/03/2023   1395 ORDER that the plaintiffs' MOTION TO SEAL 1380 is granted and PLAINTIFFS'
                     STATEMENT REGARDING MOTION IN LIMINE NO. 7 AND LIABILITY UNDER
                     VIRGINIA CODE § 6.2-305(A) (ECF No. 1783 ) and Exhibit 1 thereto (ECF No. 1383
                     -1) are filed under seal; provided that appropriately redacted versions thereof are filed in
                     the public record. It is so ORDERED. Signed by District Judge Robert E. Payne on
                     8/3/2023. Associated Cases: 3:17-cv-00461-REP, 3:18-cv-00100-REP, 3:18-mc-00001-
                     REP, 3:20-mc-00008-REP, 4:18-cv-00075-HCM-RJK(jenjones) (Entered: 08/03/2023)
   08/04/2023   1396 Sealed Attachment/Exhibit(s) re 1394 Order,,. (Attachments: # 1 Exhibit MM, # 2
                     Exhibit CCC)(Taliaferro, John) (Entered: 08/04/2023)
   08/15/2023   1397 ORDER that for reasons to be explained in a forthcoming Memorandum Opinion, the
                     statement in Section I ( 4) ( d), p. 3 of the ORDER entered on June 16, 2023 (ECF No.
                     1328) that "There is no willfulness element for a civil cause of action under 18 U.S.C.
                     §§ 1962(c)- (d)" is overly broad and thus is erroneous. Also, by the ORDER entered on
                     June 26, 2023 (ECF No. 1350), ECF No. 1328 was corrected and, by the ORDER
                     entered on July 5, 2023 (ECF No. 1362), ECF No. 1350 was corrected. To clarify the
                     record, it is hereby ORDERED that the June 16, 2023 ORDER (ECF No. 1328) is
                     VACATED in its entirety and will be replaced in its entirety by the attached ORDER.
                     Signed by District Judge Robert E. Payne on 8/15/23. (Attachments: # 1 Order replacing
                     ECF 1328)(Khan, ) (Entered: 08/15/2023)
   09/21/2023   1398 VACATED PURSUANT TO ORDER ENTERED 9/22/2023 ECF #1404
                     MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on 9/21/2023.
                     (Kat) Modified on 9/22/2023 (jenjones, ). (Entered: 09/21/2023)
   09/21/2023   1399 ORDER - Attached is a proposed FINAL JUDGMENT ORDER. It is hereby
                     ORDERED that counsel shall file, by 12:00 noon, September 22, 2023, Statements of
                     Position either agreeing with the proposed FINAL JUDGMENT ORDER or suggesting
                     revisions thereto for the Court's consideration. It is so ORDERED. Signed by District
                     Judge Robert E. Payne on 9/21/2023. (Attachments: # 1 Proposed Order)(jenjones, )
                     (Entered: 09/21/2023)
   09/21/2023   1400 Consent MOTION to Dismiss Count One of the Complaint by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                     Order)(Kelly, Kristi) (Entered: 09/21/2023)
   09/21/2023   1401 Memorandum in Support re 1400 Consent MOTION to Dismiss Count One of the
                     Complaint filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage,
                     Lula Williams. (Kelly, Kristi) (Entered: 09/21/2023)
   09/21/2023   1402 TRANSCRIPT of proceedings held on September 21, 2023, before Judge Robert E.
                     Payne, Court Reporter/Transcriber Tracy Stroh, Telephone number 804-916-2267.
                     NOTICE RE REDACTION OF TRANSCRIPTS: The parties have thirty (30)
                     calendar days to file with the Court a Notice of Intent to Request Redaction of this
                     transcript. If no such Notice is filed, the transcript will be made remotely
                     electronically available to the public without redaction after 90 calendar days. The
                     policy is located on our website at www.vaed.uscourts.gov Transcript may be
                     viewed at the court public terminal or purchased through the court
                     reporter/transcriber before the deadline for Release of Transcript Restriction. After

                                                     Page 162
                                                                                                    JA162
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 166 of 462

                      that date it may be obtained through PACER Redaction Request due 10/23/2023.
                      Redacted Transcript Deadline set for 11/21/2023. Release of Transcript Restriction
                      set for 12/20/2023.(stroh, tracy) (Entered: 09/21/2023)
  09/21/2023          Minute Entry for proceedings held before District Judge Robert E. Payne:Telephone
                      Conference held on 9/21/2023. (Court Reporter Ruth Levy.) (nbrow) (Entered:
                      10/10/2023)
  09/22/2023   1403 Response Joint Statement Regarding Proposed Order filed by Matt Martorello.
                    (Attachments: # 1 Proposed Order)(Taliaferro, John) (Entered: 09/22/2023)
  09/22/2023   1404 ORDER that the September 21, 2023 MEMORANDUM OPINION (ECF No. 1398 ) is
                    VACATED in its entirety and will be replaced in its entirety by a forthcoming revised
                    Memorandum Opinion. It is SO ORDERED. Signed by District Judge Robert E. Payne
                    on 9/22/2023. (jenjones, ) (Entered: 09/22/2023)
  09/22/2023   1405 ORDER - Having considered Plaintiffs' CONSENT MOTION TO DISMISS COUNT
                    ONE OF THE COMPLAINT (ECF No. 1400 ), the governing standard, and Defendants'
                    consent to the motion, the Court hereby GRANTS the motion. Count One is hereby
                    dismissed without prejudice. It is SO ORDERED. Signed by District Judge Robert E.
                    Payne on 9/22/2023. (jenjones, ) (Entered: 09/22/2023)
  09/22/2023   1406 AMENDED MEMORANDUM OPINION. Signed by District Judge Robert E. Payne on
                    9/22/2023. (jenjones, ) (Entered: 09/22/2023)
  09/22/2023   1407 FINAL JUDGMENT ORDER that judgment is hereby entered in favor of the Plaintiffs,
                    as representatives of the Certified Class (see ORDER (ECF No. 1111 ) and against the
                    defendant Matt Martorello as follows: (1) For relief under COUNT TWO of the CLASS
                    ACTION COMPLAINT, Matt Martorello shall pay damages to the Plaintiffs, as
                    representatives of the Certified Class, in the amount of $43,401,817.47 with interest at
                    the federal judgment rate of 5.35% per annum from July 7, 2023 until paid in full (none
                    of which may be setoff based on any prior settlement of any part of the Plaintiffs' Class
                    Claims; and (2) For relief under COUNT THREE of the CLASS ACTION
                    COMPLAINT, Matt Martorello shall pay damages to the Plaintiffs, as representatives of
                    the Certified Class, in the amount of $43,401,817.47 with interest at the federal
                    judgment rate of 5.35% per annum from July 7, 2023 until paid in full (none of which
                    may be set off based on any prior settlement of any part of the Plaintiffs' Classes'
                    Claims. It is further ORDERED that, upon motion of the Plaintiffs and agreement of
                    Matt Martorello, COUNTS ONE, FOUR, and FIVE of the CLASS ACTION
                    COMPLAINT are dismissed without prejudice and with leave to amend; and It is further
                    ORDERED that, upon agreement of the parties, the time for filing a bill of costs and
                    petition for attorneys' fees shall be extended until ninety (90) days after final resolution
                    of any appeal. It is so ORDERED. Signed by District Judge Robert E. Payne on
                    9/22/2023. (jenjones, ) (Entered: 09/22/2023)
  09/24/2023   1408 TRANSCRIPT of proceedings held on 9-21-2023, before Judge Robert E. Payne, Court
                    Reporter Ruth Levy, Telephone number,804-916-2893. NOTICE RE REDACTION
                    OF TRANSCRIPTS: The parties have thirty (30) calendar days to file with the
                    Court a Notice of Intent to Request Redaction of this transcript. If no such Notice
                    is filed, the transcript will be made remotely electronically available to the public
                    without redaction after 90 calendar days. The policy is located on our website at
                    www.vaed.uscourts.gov Transcript may be viewed at the court public terminal or
                    purchased through the court reporter before the deadline for Release of Transcript
                    Restriction. After that date it may be obtained through PACER Redaction Request
                    due 10/24/2023. Redacted Transcript Deadline set for 11/24/2023. Release of
                    Transcript Restriction set for 12/26/2023.(Levy, Ruth) (Entered: 09/24/2023)

                                                   Page 163
                                                                                                 JA163
USCA4 Appeal: 23-2097     Doc: 11-1           Filed: 12/06/2023       Pg: 167 of 462

  10/16/2023   1409 MOTION Motion to Repatriate Foreign Assets and for an Evidentiary Hearing by
                    Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Kelly,
                    Kristi) (Entered: 10/16/2023)
  10/16/2023   1410 Memorandum in Support re 1409 MOTION Motion to Repatriate Foreign Assets and for
                    an Evidentiary Hearing REDACTED VERSION filed by Dowin Coffy, George Hengle,
                    Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4 (Filed Under Seal), # 5 Exhibit 5, # 6 Exhibit 6
                    (Filed Under Seal), # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11
                    Exhibit 11, # 12 Exhibit 12)(Kelly, Kristi) (Entered: 10/16/2023)
  10/16/2023   1411 MOTION to Seal Exhibits 4 and 6 and Unredacted Memorandum in Support of Motion
                    to Repatriate and for an Evidentiary Hearing by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed Order)(Kelly,
                    Kristi) (Entered: 10/16/2023)
  10/16/2023   1412 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                    P. Singh, Gloria Turnage, Lula Williams re 1411 MOTION to Seal Exhibits 4 and 6 and
                    Unredacted Memorandum in Support of Motion to Repatriate and for an Evidentiary
                    Hearing (Kelly, Kristi) (Entered: 10/16/2023)
  10/16/2023   1413 Sealed Memorandum in Support re 1411 MOTION to Seal Exhibits 4 and 6 and
                    Unredacted Memorandum in Support of Motion to Repatriate and for an Evidentiary
                    Hearing. (Attachments: # 1 Exhibit 4, # 2 Exhibit 6)(Kelly, Kristi) (Entered:
                    10/16/2023)
  10/16/2023   1414 Memorandum in Support re 1411 MOTION to Seal Exhibits 4 and 6 and Unredacted
                    Memorandum in Support of Motion to Repatriate and for an Evidentiary Hearing filed
                    by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams.
                    (Kelly, Kristi) (Entered: 10/16/2023)
  10/17/2023   1415 NOTICE OF APPEAL as to 1407 Order Dismissing Case,,,,,, by Matt Martorello. Filing
                    fee $ 505, receipt number BVAEDC-9175020. (Taliaferro, John) (Entered: 10/17/2023)
  10/18/2023   1416 Transmission of Notice of Appeal to US Court of Appeals re 1415 Notice of Appeal (All
                    case opening forms, plus the transcript guidelines, may be obtained from the Fourth
                    Circuit's website at www.ca4.uscourts.gov) (smej, ) (Entered: 10/18/2023)
  10/20/2023          USCA Case Number 23-2097, Case Manager R. Edwards, for 1415 Notice of Appeal
                      filed by Matt Martorello. (smej, ) (Entered: 10/20/2023)
  10/30/2023   1417 Memorandum in Opposition (redacted) re: 1409 MOTION Motion to Repatriate Foreign
                    Assets and for an Evidentiary Hearing filed by Matt Martorello. (Attachments: # 1
                    Exhibit A, # 2 Exhibit B - filed under seal, # 3 Exhibit C- filed under seal, # 4 Exhibit D,
                    # 5 Exhibit E- filed under seal, # 6 Exhibit F- filed under seal, # 7 Exhibit G - filed
                    under seal, # 8 Exhibit H- filed under seal, # 9 Exhibit I- filed under seal, # 10 Exhibit J,
                    # 11 Exhibit K- filed under seal, # 12 Exhibit L- filed under seal, # 13 Exhibit M- filed
                    under seal, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P)(Taliaferro, John). Modified
                    on 11/1/2023. (sbea) (Entered: 10/30/2023)
  10/30/2023   1418 MOTION to Seal by Matt Martorello. (Attachments: # 1 Proposed Order)(Taliaferro,
                    John) (Entered: 10/30/2023)
  10/30/2023   1419 Memorandum in Support re 1418 MOTION to Seal filed by Matt Martorello.
                    (Taliaferro, John) (Entered: 10/30/2023)
  10/30/2023   1420 Notice of Under Seal Filing LCvR5 (B) by Matt Martorello re 1419 Memorandum in
                    Support, 1418 MOTION to Seal (Taliaferro, John) (Entered: 10/30/2023)

                                                    Page 164
                                                                                                  JA164
USCA4 Appeal: 23-2097      Doc: 11-1          Filed: 12/06/2023       Pg: 168 of 462

   10/30/2023   1421 Sealed Response/Reply/Opposition re 1418 MOTION to Seal , 1419 Memorandum in
                     Support. (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit E, # 4 Exhibit F, # 5
                     Exhibit G, # 6 Exhibit H, # 7 Exhibit I, # 8 Exhibit K, # 9 Exhibit L, # 10 Exhibit M)
                     (Taliaferro, John) (Entered: 10/30/2023)
   11/06/2023   1422 NOTICE of Appearance by Matthew G Rosendahl on behalf of Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams (Rosendahl, Matthew)
                     (Entered: 11/06/2023)
   11/06/2023   1423 REPLY to Response to Motion re 1409 MOTION Motion to Repatriate Foreign Assets
                     and for an Evidentiary Hearing (Redacted Version) filed by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Exhibit 13
                     (Under Seal), # 2 Exhibit 14 (Under Seal), # 3 Exhibit 15 (Under Seal))(Kelly, Kristi)
                     (Entered: 11/06/2023)
   11/06/2023   1424 MOTION to Seal Exhibits 13-15 and Unredacted Reply Brief in Support of Motion to
                     Repatriate Foreign Assets and for an Evidentiary Hearing by Dowin Coffy, George
                     Hengle, Marcella P. Singh, Gloria Turnage, Lula Williams. (Attachments: # 1 Proposed
                     Order)(Kelly, Kristi) (Entered: 11/06/2023)
   11/06/2023   1425 Notice of Filing Sealing Motion LCvR5(C) by Dowin Coffy, George Hengle, Marcella
                     P. Singh, Gloria Turnage, Lula Williams re 1424 MOTION to Seal Exhibits 13-15 and
                     Unredacted Reply Brief in Support of Motion to Repatriate Foreign Assets and for an
                     Evidentiary Hearing (Kelly, Kristi) (Entered: 11/06/2023)
   11/06/2023   1426 Sealed Unredacted Brief re 1423 Reply to Response to Motion,. (Attachments: # 1
                     Exhibit 13, # 2 Exhibit 14, # 3 Exhibit 15)(Kelly, Kristi) (Entered: 11/06/2023)
   11/06/2023   1427 Memorandum in Support re 1424 MOTION to Seal Exhibits 13-15 and Unredacted
                     Reply Brief in Support of Motion to Repatriate Foreign Assets and for an Evidentiary
                     Hearing filed by Dowin Coffy, George Hengle, Marcella P. Singh, Gloria Turnage, Lula
                     Williams. (Kelly, Kristi) (Entered: 11/06/2023)
   11/17/2023   1428 ORDER- The parties shall meet and confer with the Court via telephone conference call
                     on November 28, 2023 at 10:00 AM; and By November 27, 2023 at 3:00 PM, the parties
                     shall file a notice designating the particular topics to be discussed and a summary
                     statement of the positions of the parties on those topics. Signed by District Judge Robert
                     E. Payne on 11/17/2023. (adun, ) (Entered: 11/17/2023)
   11/27/2023   1429 Response Parties' Joint Statement Regarding Post-Judgment Proceedings filed by Matt
                     Martorello (Taliaferro, John) re: 1428 Order. Modified on 11/28/2023. (sbea) (Entered:
                     11/27/2023)
   11/28/2023   1430 ORDER Having considered 1418 Motion to Seal, it is hereby ORDERED that the
                     Motion 1418 is granted. SEE ORDER FOR DETAILS. Signed by District Judge Robert
                     E. Payne on 11/27/2023. (Kat) (Entered: 11/28/2023)
   11/28/2023   1431 ORDER Having considered 1411 Motion to Seal it is hereby ORDERED that the
                     Motion 1411 is granted. SEE ORDER FOR DETAILS. Signed by District Judge Robert
                     E. Payne on 11/27/2023. (Kat) (Entered: 11/28/2023)
   11/28/2023   1432 ORDER Having considered 1424 Motion to Seal it is hereby ORDERED that the
                     Motion 1424 is granted. SEE ORDER FOR DETAILS. Signed by District Judge Robert
                     E. Payne on 11/27/2023. (Kat) (Entered: 11/28/2023)



                                         PACER Service Center

                                                   Page 165
                                                                                                 JA165
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   169 of1 462
                                                                         of 32 PageID# 1




                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Richmond Division

         LULA WILLIAMS, GLORIA TURNAGE,                 :
         GEORGE HENGLE, DOWIN COFFY, and                                    3:17cv461
                                                        : Civil Case No. __________________
         FELIX GILLISON, JR., on behalf of themselves   :
         and all individuals similarly situated,        :
                                                        :
                                 Plaintiffs,            :
                                                        :
         v.                                             :
                                                        :
         BIG PICTURE LOANS, LLC; MATT MARTORELLO; :
         ASCENSION TECHNOLOGIES, INC.;                   :
         DANIEL GRAVEL; JAMES WILLIAMS, JR.;             :
         GERTRUDE MCGESHICK; SUSAN MCGESHICK;            :
         and GIIWEGIIZHIGOOKWAY MARTIN,                  :
                                                         :
                                 Defendants.             :
         ______________________________________________ :

                                         CLASS ACTION COMPLAINT

                COME NOW Plaintiffs, Lula Williams, Gloria Turnage, George Hengle, Dowin Coffy and

         Felix Gillison, Jr. (“Plaintiffs”), on behalf of themselves and all individuals similarly situated, by

         counsel, and for their Class Action Complaint against Defendants, they allege as follows:

                                                 INTRODUCTION

                1.      It is well established that Virginia’s usury laws “are founded upon considerations

         of public policy.” Town of Danville v. Pace, 66 Va. 1, 19 (1874). Even in an era where “state-by-

         state lobbying campaigns” have persuaded state legislators to reverse “nearly three hundred years”

         of prohibitions against “double- or even single-digit interest rate caps,” Virginia has remained

         committed to its longstanding view that it is contrary to public policy to charge excessive interest

         rates to Virginians. Christopher L. Peterson, “Warning: Predatory Lender”—A Proposal for

         Candid Predatory Small Loan Ordinances, 69 Wash & Lee L. Rev. 893, 896 (2012) (providing

         historical context on usury laws). Virginia’s strong public policy against excessive interest rates is


                                                           1
                                                                                                       JA166
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   170 of2 462
                                                                         of 32 PageID# 2




         not only hammered home by its criminalization of such conduct, but its civil remedies are also

         severe for it has long been established that “[h]owever small amount of usurious interest contracted

         for, and however large amount of money loaned, the contract is declared void, and the lender

         forfeits the whole amount of the debt and interest.” Brockenbrough’s Ex’rs v. Spindle’s Adm’rs,

         58 Va. 21, 32 (1866) (emphasis added).

                  2.       This case involves a criminal enterprise that was established with the intent of

         evading state usury laws. In an apparent attempt to insulate themselves from any legal liability,

         Defendants established what is commonly referred to as a “rent-a-tribe” business model, where a

         payday lending scheme associates with a Native American tribe in an attempt to cloak itself in the

         privileges and immunities enjoyed by the tribe—or to at least create the illusion that it enjoys tribal

         immunity.

                  3.       To facilitate blatant violations of state usury laws, Defendant Matt Martorello

         (“Martorello”) approached the Lac Vieux Desert Band of Lake Superior Chippewa Indians (the

         “Tribe”) for the purpose of establishing a rent-a-tribe scheme. Under the rent-a-tribe model,

         Defendants made high interest loans in the name of Big Picture Loans, LLC (“Big Picture Loans”),

         which claim to be owned and operated by the Tribe. In reality, Martorello’s company, Bellicose

         Capital, LLC (“Bellicose Capital”), funded the loans, controlled the underwriting, and handled the

         day-to-day operations of the business. In return for the use of its name, the Tribe received 2% of

         the revenue,1 but otherwise the Tribe had no control over the income or expenses of Big Picture

         Loans.




         1
           Zeke Faux, Payday Lenders are Changing the Game Ahead of a U.S. Crackdown, Bloomberg (Feb. 4, 2016)
         (“Bellicose has collected tens of millions of dollars, with the tribe keeping about 2 percent of the revenue, according
         to documents provided by a person involved in the deal.”), https://www.bloomberg.com/news/articles/2016-02-
         04/payday-lenders-are-changing-the-game-ahead-of-a-u-s-crackdown.




                                                                   2
                                                                                                                      JA167
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   171 of3 462
                                                                         of 32 PageID# 3




                  4.       This lawsuit challenges the legality of Defendants’ loans and seeks to enforce

         Virginia’s longstanding public policy against usurious loans. Plaintiffs seek a declaratory

         judgment that the loan agreements related to Defendants’ rent-a-tribe scheme are void and

         unenforceable. Defendants’ usurious loans were void ab initio pursuant to Va. Code. § 6.2-

         1541(A), which provides that any loan containing an interest rate above 12% “shall be void.” 2

         Further, Plaintiffs seek a judgment declaring that the loan agreement’s choice-of-law and forum

         selection provisions are unenforceable as a matter of public policy and because the provisions

         attempt to deprive consumers of both a remedy and of a day in court.

                  5.       Plaintiffs also seek an injunction against all Defendants, prohibiting them from

         lending or collecting loans in Virginia 3 as well as actual damages and treble damages from

         Defendants Big Picture, Ascension Technologies, Martorello, and Daniel Gravel for their

         participation in the unlawful lending enterprise, which violated Virginia’s usury laws, unjustly

         enriched the Defendants, and violated the Racketeer Influenced and Corrupt Organizations Act

         (“RICO”).4 As a result of their participation in the enterprise, Big Picture, Ascension Technologies,


         2
          Rahmani v. Resorts Intern. Hotel, Inc., 20 F. Supp. 2d 932, 935 (E.D. Va. 1998) (Ellis, J.) (explaining that a gambling
         contract “is void under Virginia law, it is a complete legal nullity, one that has no legal force or binding effect”).

         3
           Defendants James Williams, Jr., Giiwegiizhigookway Martin, Gertrude McGeshick, and Susan McGeshick are the
         chief executive officers of the Tribe. This lawsuit seeks to enjoin these tribal officials from ongoing violations of
         federal law, and, thus, the tribal officials are not protected by the Tribe’s immunity. Santa Clara Pueblo v. Martinez,
         436 U.S. 49, 59 (1978) (“As an officer of the Pueblo, petitioner Lucario Padilla is not protected by the tribe's immunity
         from suit.”); Michigan v. Bay Mills Indian Cmty., 134 S. Ct. 2024, 2034 (2014) (“As this Court has stated before . . .
         tribal immunity does not bar such a suit for injunctive relief against individuals, including tribal officers, responsible
         for unlawful conduct.” (citing Santa Clara Pueblo, 436 U.S. at 59). Plaintiffs do not seek any monetary damages from
         any of the tribal officials as a result of their participation in the rent-a-tribe scheme.

         4
           Plaintiffs anticipate that Big Picture Loan’s will claim to be “an arm of the tribe” and thus protected by tribal
         immunity. Although the doctrine of tribal sovereign immunity protects the Tribe itself, it does not automatically extend
         to economic subdivisions of a tribe, and the Court must determine whether these entities are “analogous to a
         governmental agency, which should benefit from sovereign immunity” or whether they are more like a “commercial
         business enterprise, instituted for the purpose of generating profits for [their] private owners.” Breakthrough Mgmt.
         Grp., Inc. v. Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1184 (10th Cir. 2010) (citing Gavle v. Little Six, Inc.,
         555 N.W.2d 284, 293 (Minn.1996)). In addition to the allegations alleged in this Complaint concerning the creation,
         purpose, and structure of Big Picture Loans, Big Picture is not entitled to sovereign immunity because 98% of the
         profits of the scheme went to non-tribal participants and the companies were established for the sole purpose of


                                                                     3
                                                                                                                         JA168
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   172 of4 462
                                                                         of 32 PageID# 4




         Martorello, and Daniel Gravel violated Virginia’s usury laws and RICO’s prohibition against the

         “collection of unlawful debt,” which RICO defines as a debt incurred in “the business of lending

         money” where “the usurious rate is at least twice the enforceable rate” under State of Federal law.

         18 U.S.C. § 1961(6).

                                                       JURISDICTION

                 6.       This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1965 and 28

         U.S.C. § 1332(d)(2). Moreover, the Court has supplemental jurisdiction over state law claims

         pursuant to 28 U.S.C. § 1367.

                 7.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as a majority of

         Plaintiffs are residents of this District and Division and a substantial part of Plaintiffs’ claims

         occurred in Virginia.

                                                           PARTIES

                 8.       Plaintiff Lula Williams (“Williams”) is a natural person and resident of this

         Division and District.

                 9.       Plaintiff Gloria Turnage (“Turnage”) is a natural person and resident of this

         Division and District.

                 10.      Plaintiff George Hengle (“Hengle”) is a natural person and resident of this Division

         and District.

                 11.      Plaintiff Felix Gillison, Jr. (“Gillison”) is a natural person and resident of this

         Division and District.




         evading state usury laws. Further, extending the protections of tribal immunity to the scheme alleged in this case
         would not serve the policies underlying tribal sovereign immunity.




                                                                 4
                                                                                                                  JA169
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   173 of5 462
                                                                         of 32 PageID# 5




                 12.      Plaintiff Dowin Coffy (“Coffy”) is a natural person and resident of this Division

         and District.

                 13.      Defendant Big Picture Loans is a limited liability company doing business as an

         internet lending website under the domain name www.bigpictureloans.com. In return for a small

         fraction of the revenue, the Tribe allowed the lending scheme to use its name and falsely claim

         that it is operated by the Tribe. At all times relevant hereto, the Tribe did not participate in the day-

         to-day operations of Big Picture Loans and did not fund the loans or handle the servicing or

         collection of the loans. Big Picture Loans was formerly known as Red Rock Tribal Lending, LLC,

         who did business under the domain name www.castlepayday.com. 5 Big Picture Loans is the

         successor in interest of Red Rock.

                 14.      Defendant Martorello is a natural person and resident of Puerto Rico. Martorello

         was the founder and chief executive officer of Bellicose Capital, which Martorello created to make

         and collect the usurious loans described herein. As explained below, Martorello was the architect

         of the rent-a-tribe lending scheme and had direct personal involvement in the creation and day-to-

         day operations of the illegal enterprise.

                 15.      Defendant Ascension Technologies, LLC, f/k/a Bellicose Capital, LLC was a

         limited liability company previously organized under the laws of the U.S. Virgin Islands and then

         Puerto Rico. Bellicose Capital was formed by Martorello in 2011 to make the usurious loans to

         Virginia consumers. Although Defendants held it out as a “managing consulting company,”

         Bellicose Capital was the actual entity that procured the investment capital, serviced the loans, and

         received the vast majority of the revenue from the loans, which was then funneled to Martorello.

         Due to various lawsuits against Martorello’s competitors and anticipated regulation from the


         5
          Castle Payday, We Have Big News! Castle Payday is now Big Picture Loans,
         https://www.bigpictureloans.com/CastlePaydayRedirectLanding (last visited June 22, 2017).


                                                                5
                                                                                                         JA170
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   174 of6 462
                                                                         of 32 PageID# 6




         Consumer Financial Protection Bureau (“CFPB”), Martorello transferred Bellicose to the Tribe in

         April 2016 in an attempt to shield Bellicose Capital’s illegal business practices. The Tribe

         rebranded Bellicose as Ascension Technologies, which continues to operate with minimal tribal

         involvement or benefit to the Tribe.

                16.     Defendant Daniel Gravel (“Gravel”) was the general counsel for Bellicose Capital

         and was one of the masterminds of the rent-a-tribe lending scheme described herein. As early as

         August 2012, Gravel had direct personal involvement in the day-to-day operations of the illegal

         enterprise and participated in the management of the legal affairs of the company, including

         drafting and reviewing the software, financial, payment processing, and servicing contracts that

         enabled the enterprise to operate. Additionally, Gravel drafted and reviewed all advertising and

         marketing materials for the enterprise and made the decisions regarding the legal content in the

         websites and contracts.

                17.     Defendant James Williams, Jr. (“Mr. Williams”) is the tribal chairman of the Lac

         Vieux Desert Band of Lake Superior Chippewa Indians.

                18.     Defendant Giiwegiizhigookway Martin (“Ms. Martin”) is the tribal chairwoman of

         the Lac Vieux Desert Band of Lake Superior Chippewa Indians.

                19.     Defendant Gertrude McGeshick is the secretary of the Lac Vieux Desert Band of

         Lake Superior Chippewa Indians.

                20.     Defendant Susan McGeshick is the treasurer of the Lac Vieux Desert Band of Lake

         Superior Chippewa Indians.




                                                        6
                                                                                                 JA171
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   175 of7 462
                                                                         of 32 PageID# 7




                                            FACTUAL BACKGROUND

         A.     Virginia’s Longstanding Public Policy Prohibiting Usurious Loans.

                21.     More than forty years before the signing of the Declaration of Independence,

         Virginia enacted its first usury law, which capped interest rates at 6 percent. John W. Edmonds,

         Virginia Law of Interest and Usury, 10 U. Rich. L.R. 77 (1975) (citing 4 Hennings Stat. 194).

                22.     Virginia’s “usury laws serve a beneficial public purpose and are to be liberally

         construed with a view to advance the remedy and suppress the mischief.” Radford v. Cmty. Mortg.

         & Inv. Corp., 226 Va. 596, 601 (1984).

                23.     The Supreme Court of Virginia has repeatedly acknowledged that Virginia’s “usury

         statutes represent a clarification of the public policy of the state that usury is not to be tolerated,

         and the court should therefore be chary in permitting this policy to be thwarted.” Id. (quoting

         Heubusch & Reynolds v. Boone, 213 Va. 414 (1972).

                24.     In accordance with this longstanding public policy, a person may not charge an

         annual percentage rate (“APR”) exceeding 12% without first obtaining a consumer finance license

         from the Commonwealth. Va. Code §§ 6.2-1501(A), 6.2-303(A).

                25.     The consumer finance licensing requirements are designed to protect Virginia

         consumers from predatory lenders like Defendants. Virginia’s licensing requirements include

         physical presence in the commonwealth and a minimum amount of liquid assets. Va. Code § 6.2-

         1507(A)(2). Additionally, before granting a license, the Commission must make specific findings

         concerning the applicant lender such as the character and fitness of the applicant and the

         applicant’s knowledge of applicable Virginia laws and regulations. Va. Code § 6.2-1507.




                                                           7
                                                                                                       JA172
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   176 of8 462
                                                                         of 32 PageID# 8




         B.      Defendants Established an Enterprise to Evade Virginia’s Licensing Requirements
                 and Usury Laws.

                 26.     Over the last decade, businesses have sought to evade state lending laws like

         Virginia’s by entering into ventures with Native American tribes “so they can use tribal immunity

         as a shield for conduct of questionable legality.” Michigan v. Bay Mills Indian Cmty., 134 S. Ct.

         2024, 2052 (2014) (Scalia, J., dissenting) (citing Nathalie Martin & Joshua Schwartz, The Alliance

         Between Payday Lenders and Tribes: Are Both Tribal Sovereignty and Consumer Protection at

         Risk? 69 Wash. & Lee L. Rev. 751, 758–759, 777 (2012)).

                 27.     Defendant Matt Martorello recognized the exorbitant profits he could achieve by

         not complying with Virginia’s usury laws and lending out high interest loans to some of Virginia’s

         most vulnerable consumers.

                 28.     Recognizing this, Martorello established a rent-a-tribe business model for his

         company, Bellicose Capital, associating themselves with the Lac Vieux Desert Band of Lake

         Superior Chippewa Indians (the “Tribe”), a federally recognized tribe located in the Upper

         Peninsula of Michigan.

                 29.     With the assistance of Gravel, Martorello and Bellicose helped form Big Picture

         Loans and Red Rock—two companies formed as “business enterprises” of the Tribe, which

         claimed to be “wholly owned” and “operated as an instrumentality of the Tribe.” 6

                 30.     Although the Tribe holds itself out as the actual lender of the internet payday loans,

         the Tribe is merely a front, and Bellicose Capital provided the infrastructure to market, fund,

         underwrite, and collect the loans, including by providing the following services: lead generation,

         technology platforms, payment processing, and collection procedures.

         6
           See, e.g., Lac Vieux Desert Band of Lake Superior Chippewa Indians, Resolution # T2014-066, Approving the
         Creation of the Wholly Owned and Operated Lending Entity—Big Picture Loans, LLC (Aug. 26, 2014),
         http://www.lvdtribal.com/pdf/BPL%20Organizing%20Documents.pdf.




                                                             8
                                                                                                           JA173
USCA4 Appeal:
          Case23-2097    Doc: 11-1 Document
                3:17-cv-00461-REP      Filed:112/06/2023     Pg: Page
                                                Filed 06/22/17   177 of9 462
                                                                         of 32 PageID# 9




                31.     Upon information and belief, the Tribe had no control over the income or expenses

         of either Red Rock or Big Picture Loans.

                32.     Instead, the Tribe allowed Defendants to use their name as a front and, in return,

         received a nominal, 2% flat fee of the revenue. Delvin D. Hawley, Payday Lenders on the Run,

         Bloomberg Business Week (Feb. 8, 2016) (“Matt Martorello’s company, Bellicose Capital, helps

         an American Indian tribe in Michigan run websites that offer small loans to the public at annualized

         interest rates as high as 780 percent. The tribe gets 2 percent of the revenue, while Martorello

         makes millions.”).

                33.     Upon information and belief, tribal members do not participate in the day-to-day

         operations of Red Rock or Big Picture Loans and nearly all the activities associated with these

         companies occurred off the Lac Vieux Reservation, such as the call centers, payment processing,

         and servicing of the loans.

                34.     Despite representations in the loan agreements that Big Picture Loans and Red

         Rock were owned and operated by the Tribe, Bellicose Capital was the de facto owner and

         controlled the operations of the Big Picture Loans and Red Rock.

                35.     Moreover, nearly all activities performed on behalf of Big Picture and Red Rock

         were performed by officers and employees of Bellicose who were not located on the Lac Vieux

         Reservation. Instead, they were Bellicose Capital employees located in the Virgin Islands, Puerto

         Rico, and the Philippines.

                36.     Upon information and belief, the money loaned to Plaintiffs was transferred from a

         bank account owned and operated or controlled by Bellicose Capital and Martorello, and neither

         the Tribe nor its officials were allowed to access the accounts.




                                                          9
                                                                                                     JA174
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 178 10
                                                                     of 462
                                                                        of 32 PageID# 10




                 37.      Furthermore, neither Big Picture Loans nor Red Rock ever accepted consumer

        payments after the loan agreement was executed. Rather, all payments went to Bellicose Capital,

        who then kicked back, at most, the 2% flat fee to the Tribe.

                 38.      Additionally, Bellicose Capital also handled the lead generation used to identify

        and solicit potential consumers. 7

                 39.      For example, Bellicose Capital procured consumer reports from Trans Union in an

        attempt to identify consumers who may be susceptible or in need of a loan.

                 40.      If a Virginia consumer’s report showed that he or she may be susceptible to a high-

        interest loan, then Bellicose Capital sent correspondences to the home of the consumer in Virginia

        stating that he or she is “one of 1,442 people in Richmond” that are pre-approved, that the loan is

        “a smarter way to borrow,” and that funds can be deposited “as early as tomorrow.” (Feb. 27, 2017

        Letter to Turnage).

                 41.      If a consumer called the number on the letter, he or she would reach a call center in

        the Philippines, who took direction and instructions from Bellicose Capital and not the Tribe.

                 42.      Upon information and belief, Bellicose Capital’s lead generation procedures were

        developed by Martorello and Gravel.

                 43.      In the past few years, federal regulators have begun cracking down on rent-a-tribe

        arrangements.




        7
          In order to find potential customers, internet lenders pay companies known as “lead generators,” which are businesses
        that collect information on potential consumers to solicit for high-interest loans. Pew Charitable Trust, Fraud and
        Abuse        Online:       Harmful        Practices      in     Internet   Payday       Lending       (Oct.      2014),
        http://www.pewtrusts.org/~/media/assets/2014/10/payday-lending-report/fraud_and_abuse_online_harmful_prac-
        tices_in_internet_payday_lending.pdf. Lead generators pay high fees to several sources, such as consumer reporting
        agencies, to acquire borrower information to determine whether a consumer has ever applied or received an internet
        loan or whether a consumer may be in need or qualify for an additional loan. Id.




                                                                  10
                                                                                                                     JA175
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 179 11
                                                                     of 462
                                                                        of 32 PageID# 11




               44.     For example, the United States Attorney for the Southern District of New York has

        indicted Scott Tucker and Timothy Muir, competitors of Defendants, for engaging in exactly the

        same unlawful-lending “rent a tribe” and collection practices alleged herein.

               45.     The Tucker indictment, which sets out a strikingly similar set of facts, includes: (1)

        Mr. Tucker, through the use of shell companies, personally lent money to thousands of consumers

        through payday loans; (2) Tucker personally controlled virtually every aspect of the operations of

        these sham entities; (3) these sham entities shared employees, computer systems, and “other

        operating costs and infrastructure of a single lending business”; and (4) Mr. Muir acted as general

        counsel for one of the Tucker entities. United States v. Tucker, Case No. 16-crim-091 (S.D. N.Y.

        Feb. 9, 2016) (Dot. 1 at ¶¶ 1–3).

               46.     For example, the indictment explains:

               In truth and in fact, as SCOTT TUCKER and TIMOTHY MUIR, the defendants,
               well knew, while TUCKER and MUIR took steps to create the sham appearance of
               tribal ownership and control of the Tucker Payday Lenders, Tribes 1–3 played no
               substantive role in the ownership or operation of the Tucker Payday Lenders at any
               time. To create the sham appearance of ownership, TUCKER assigned nominal
               ownership of the Tucker Payday Lenders to Tribes 1-3 (that is, Ameriloan, United
               Cash Loans, US Fast Cash, Advantage Cash Services and Star Cash Processing
               were assigned to Tribe 1, One Click Cash was assigned to Tribe 2, and 500 Fast
               Cash was assigned to Tribe 3), and from time to time caused Tribes 1-3 to appear
               as the businesses’ owners on certain corporate and financial documents. However,
               in truth and in fact, at all relevant times, and as TUCKER and MUIR well knew,
               Tribes 1-3 had no power to make any decisions on behalf of any of the Tucker
               Payday Lenders, no control over the income or expenses of any of the Tucker
               Payday Lenders, and no entitlement to the Tucker Payday Lenders’ profits.

               Similarly, to create the sham appearance that Tribes 1–3 not only owned, but
               operated, the Tucker Payday Lenders, SCOTT TUCKER, the defendant, caused
               members of two of the tribes (Tribe 1 and Tribe 2) to have a tribal member press a
               key on a computer on a daily basis on tribal lands to purportedly “approve” the
               extension of credit on hundreds or thousands of loans that the Tucker Payday
               Lenders, through their approximately 600 employees in Kansas, had in fact already
               approved and agreed to provide to customers. TUCKER did not require a third tribe
               that purportedly owned and operated one of the Tucker Payday Lenders (Tribe 3)
               to engage in this sham participation in the operations of his business at all.



                                                         11
                                                                                                     JA176
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 180 12
                                                                     of 462
                                                                        of 32 PageID# 12




        Id. at ¶¶ 23-24.

               47.     Just like the Tucker defendants, Defendants’ business relationship with the Tribe

        was nothing more than an attempt to mislead consumers and regulators by an illusion that

        Defendants were protected by tribal immunity.

               48.     After these rent-a-tribe schemes were uncovered through private lawsuits and

        governmental enforcement actions against Defendants’ competitors, Martorello “sold” Bellicose

        Capital to the Tribe in an effort to further insulate the scheme from liability. Faux, supra note 1.

               49.     As part of this arrangement, the Tribe paid Martorello $1.3 million dollars, plus he

        is entitled to receive as much as $300 million in future payments. Faux, supra note 1. In other

        words, the Tribe continues to accept a nominal fee in return for the use of its name.

               50.     And while it is now organized under the laws of the Tribe, Ascension Technologies

        continues to be operated in the same manner and by the same individuals who ran Bellicose

        Capital—none of whom are affiliated with the Tribe.

               51.     For example, approximately 20 individuals identify Ascension Technologies as

        their employers on LinkedIn. However, none of these people are located on the reservation.

               52.     Instead, many of them list Atlanta, Mississippi, or Puerto Rico as the place where

        they are located.

               53.     Upon information and belief, none of these people are members of the Tribe and

        nearly all of the activities of Ascension Technologies are performed by these non-tribal members

        who are not located on the reservation.




                                                         12
                                                                                                     JA177
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 181 13
                                                                     of 462
                                                                        of 32 PageID# 13




        C.      Defendants Made Loans to Virginia Consumers Charging Interest in Excess of 12%
                APR.

                54.     Defendants marketed, initiated, and collected usurious loans in Virginia. Martorello

        and Gravel chose Virginia as a place where loans and collection efforts would ensue, and they

        participated in and knew of the actions of Red Rock, Big Picture, and Bellicose in Virginia.

                55.     Martorello and Gravel knew the subject loans were illegal under Virginia law, but

        they pursued the scheme anyway through Red Rock, Big Picture, and Bellicose in Virginia.

                56.     In order to qualify for Defendants’ loan product, consumers were required to

        electronically sign a form contract created by Defendants—not created by the Tribe.

                57.     Under the terms of the standard Loan Agreements, the interest rates charged were

        significantly greater than 12% APR.

                58.     For example, Defendants charged Williams with an APR of 649.8%—more than

        50 times the 12% interest cap in Virginia for companies that are not licensed by the Commission.

        Va. Code § 6.2-303(A).

                59.     Similarly, Defendants charged Turnage with an APR of 693.2%; Hengle with an

        APR of 607.5%; Coffy with an APR of 607.5%; and Gillison, Jr. with an APR of 627.2%.

                60.     None of the Defendants had a consumer finance license permitting them to make

        loans charging interest in excess of 12% APR when they made the loans to Plaintiffs nor did they

        ever attempted to obtain such a license. See Va. Code § 6.2-1501. The Tribe also did not have a

        consumer finance license in Virginia.

                61.     Accordingly, Defendants’ loans are null and void, and it was unlawful for

        Defendants or any of their affiliated entities to collect or receive any principal, interest, or charges

        on the loans, including the amounts paid by Plaintiffs. Va. Code § 6.2-1541(A).




                                                          13
                                                                                                       JA178
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 182 14
                                                                     of 462
                                                                        of 32 PageID# 14




               62.     Defendants received at least $1,330 from Williams as a result of Defendants’ illegal

        loan to her—most of which Defendants credited as payment for interest or other fees.

               63.     Defendants received at least $319.80 from Turnage as a result of Defendants’ illegal

        loans to her—most of which Defendants credited as payment for interest or other fees.

               64.     Defendants received at least $2,500 from Hengle as a result of Defendants’ illegal

        loans to him—most of which Defendants credited as payment for interest or other fees.

               65.     Defendants received at least $1,150 from Coffy as a result of Defendants’ illegal

        loans to him—most of which Defendants credited as payment for interest or other fees.

               66.     Defendants’ conduct also violated § 1962(c) of RICO, which prohibits the

        “collection of unlawful debt.” 18 U.S.C. § 1962(c); see also 18 U.S.C. § 1961(6) (defining

        “unlawful debt” as a debt that was incurred in connection with “the business of lending money or

        a thing of value at a rate usurious under State or Federal law, where the usurious rate is at least

        twice the enforceable rate”).

               67.     As a result of Defendants’ conduct, including participation in the Enterprise,

        Defendants are liable to Plaintiffs and the class for twice the total amount of interest paid on the

        usurious loans pursuant to Va. Code § 6.2-305(A), and Defendants are also jointly and severally

        liable to Plaintiffs and the putative class members for their actual damages, treble damages, costs,

        and attorneys’ fees pursuant to 18 U.S.C. § 1964(c).

        D.     Defendants’ Loan Agreements Are Void and Unenforceable Under Virginia Law.

               68.     Because the loans were made without a consumer finance license and used an

        annual APR in excess of 12%, the agreements were void ab initio under Virginia law. Va. Code.

        § 6.2-1541(A) (“A loan contract shall be void if any act has been done in the making or collection

        thereof that violates § 6.2-1501.”).




                                                        14
                                                                                                    JA179
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 183 15
                                                                     of 462
                                                                        of 32 PageID# 15




               69.     Defendants’ loan agreements not only violate Virginia’s public policy against

        usurious loans as codified in Va. Code. § 6.2-1541(A), but they also contain unconscionable and

        unenforceable choice of law and forum selection provisions that seek to disclaim all laws and

        deprive consumers of their day in court.

               70.     For example, Williams’ Loan Agreement provides:

               GOVERNING LAW AND FORUM SELECTION: This Agreement will be
               governed by the laws of the Lac Vieux Desert Band of Lake Superior Chippewa
               Indians (“Tribal law”), including but not limited to the Code as well as applicable
               federal law. All disputes shall be solely and exclusively resolved pursuant to the
               Tribal Dispute Resolution Procedure set forth in Section 9 of the Code and
               summarized below for your convenience.

               ...

               TRIBAL DISPUTE RESOLUTION PROCEDURE: The Tribe has established
               a Tribal Dispute Resolution Procedure (the “Procedure”) to review and consider
               any and all types of complaints made by you or on your behalf relating to or arising
               from this Agreement. . . . The Tribe and Enterprise intend and require, to the extent
               permitted by Tribal law, that any complaint lodged, filed, or otherwise submitted
               by you or on your behalf to follow the Procedure. Under the Procedure, a consumer
               who, in the course of his otherwise lawful and proper use of Enterprise’s business
               believes himself to be harmed by some aspect of the operation of any part of
               Enterprise’s business, shall direct his concerns or dispute to Enterprise in writing.
               A person’s complaint to the Enterprise shall be considered similar in nature to a
               petition for redress submitted to a sovereign government, without waiver of
               sovereign immunity and exclusive jurisdiction, and does not create any binding
               procedural or substantive rights for a petitioner. The Enterprise will investigate
               the complaint and respond as soon as reasonably practicable, but no later than thirty
               (30) days from the receipt of the complaint. In the event that the consumer is
               dissatisfied with Enterprise’s determination, he may initiate Formal Dispute
               Resolution by requesting an administrative review of Enterprise’s determination by
               submitting such request in writing to the Tribal Financial Services Regulatory
               Authority (“Authority”), P.O. Box 249, Watersmeet, MI 49969, no later than ninety
               (90) days after receiving Enterprise’s determination.

         (Feb. 15, 2016 Loan Agreement, attached as Ex. 1 at 5).

               71.     Turnage, Hengle, Coffy, and Gillison, Jr.’s loan agreements contained virtually

        identical governing law and forum selection clauses.




                                                        15
                                                                                                   JA180
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 184 16
                                                                     of 462
                                                                        of 32 PageID# 16




               72.     Upon information and belief, the governing law and forum selection clauses were

        template language included in all loan agreements involving Red Rock and Big Picture.

               73.     Defendants’ governing law clause is unenforceable because it violates public policy

        concerns in Virginia and was procured through fraud and misrepresentations, including that Red

        Rock and Big Picture Loans were “wholly owned” and “operated by” the Tribe.

               74.     These statements were false, misleading, and designed to create the appearance that

        consumers were doing business with a neutral, government-like entity.

               75.     In reality, the loans were owned and operated by Bellicose Capital, who funded the

        loans, controlled the underwriting, and handled the day-to-day operations of the businesses,

        including the interactions with consumers and collections.

               76.     Likewise, the forum selection clause is also unenforceable because it seeks to

        deprive consumers of a remedy and their day in court. Rather than selecting an alternative dispute

        resolution procedure, Defendants use the forum selection clause as a means of depriving

        consumers of a remedy and a day in court.

               77.     For example, the Tribal Dispute Resolution Procedure claims that consumers do

        not have “any binding procedural or substantive rights” against Big Picture.

               78.     Additionally, the Tribal Dispute Resolution Procedure purportedly allows

        consumers to lodge a “Formal Dispute Resolution” with the “Tribal Financial Services Regulatory

        Authority.”

               79.     However, the Formal Dispute Resolution is a sham because the Tribal Financial

        Services Regulatory Authority does not have subject matter jurisdiction to consider: (1) any claims

        brought under state or federal law or (2) claims regarding the legality of the debt. Tribal Financial




                                                         16
                                                                                                     JA181
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 185 17
                                                                     of 462
                                                                        of 32 PageID# 17




        Services Authority Comm. Regs., Reg. 1.1 § 4, available at http://www.lvdtribal.com/pdf/TFSRA-

        Regulations.pdf.

               80.     In particular, the Regulations indicate that the Tribal Financial Services Regulatory

        Authority will not “grant the consumer an opportunity be heard” if the only allegation is that the

        loan “is illegal in a jurisdiction outside the jurisdiction of the Tribe.” Tribal Financial Services

        Authority Comm. Regs., Reg. 1.1 § 4(b).

               81.     Additionally, the Regulations provide that the Tribal Financial Services Regulatory

        Authority may “resolve the dispute in favor of the consumer upon a finding that the [tribal entity]

        violated a law or regulation of the Tribe.” Tribal Financial Services Authority Comm. Regs., Reg.

        1.1 § 4(c) (emphasis added).

               82.     In essence, Defendants used the forum selection and choice of law clauses to

        convert it into “a choice of no law clause.” Hayes v. Delbert Servs. Corp., 811 F.3d 666, 675 (4th

        Cir. 2016).

               83.     Accordingly, Plaintiffs request the Court to enter a declaratory judgment that the

        governing law and forum selection provisions are unenforceable as to Virginia consumers.

                                           COUNT ONE:
                                     DECLARATORY JUDGMENT
                              (CLASS CLAIM AGAINST ALL DEFENDANTS)

               84.     Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

        at length herein.

               85.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

        action for themselves and on behalf of a class initially defined as follows:

               Declaratory Judgment Class: All persons who: (1) received a loan with either
               Red Rock or Big Picture Loans (2) when they resided or were located in Virginia
               and (3) where the loan contained an interest rate greater than 12%.




                                                         17
                                                                                                     JA182
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 186 18
                                                                     of 462
                                                                        of 32 PageID# 18




               Declaratory Judgment Sublass: All persons who: (1) received a loan with either
               Red Rock or Big Picture Loans (2) when they resided or were located in Virginia
               (3) and the agreement concerning the loan included a choice-of- law or forum
               selection clause similar or identical to one in Paragraph 70.

               Plaintiffs are members of the Declaratory Judgment Class and Subclass.

               86.     Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

        allege that the class members are so numerous that joinder of all is impractical. The names and

        addresses of the class members are identifiable through the internal business records maintained

        by Defendants, and the class members may be notified of the pendency of this action by published

        and/or mailed notice.

               87.     Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

        Common questions of law and fact exist as to all members of the putative class, and there are no

        factual or legal issues that differ between the putative class members. These questions predominate

        over the questions affecting only individual class members. The principal issues include: (1)

        whether the loan agreements are void under Va. Code. § 6.2-1541(A); (2) whether the loan

        agreements are void as a matter of public policy; and (3) whether the choice-of-law and forum

        selection provisions are enforceable.

               88.     Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

        each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

        action as the other members of the putative class. All are based on the same facts and legal theories.

               89.     Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

        representatives of the putative class, because their interests coincide with, and are not antagonistic

        to, the interests of the members of the class they seek to represent; they have retained counsel

        competent and experienced in such litigation; and they have and intend to continue to prosecute

        the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of



                                                          18
                                                                                                      JA183
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 187 19
                                                                     of 462
                                                                        of 32 PageID# 19




        the members of the class. Neither Plaintiffs nor their counsel have any interests that might cause

        them not to vigorously pursue this action.

                90.     Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

        class members predominate over questions affecting only individual members, and a class action

        is superior to other available methods for fair and efficient adjudication of the controversy.

        Litigating the validity and enforceability of each loan agreement would prove burdensome and

        expensive. It would be virtually impossible for members of the class individually to effectively

        redress the wrongs done to them. Even if the members of the class themselves could afford such

        individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

        litigation presents a potential for inconsistent or contradictory judgments and increases the delay

        and expense to all parties and to the court system presented by the legal and factual issues raised

        by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to

        the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

        a single set of proof in a case.

                91.     As explained above, Defendants’ loan agreements not only violate Virginia’s usury

        statutes and public policy, but they also contain unconscionable choice of law and forum-selection

        provisions that are void and unenforceable for public policy concerns.

                92.     The dispute and controversy is a justiciable matter that is not speculative, and a

        resolution by this court will determine the rights and interests of the parties to the Loan Agreements

        as well as the validity, if any, of the choice of law and forum-selection provisions.

                93.     Pursuant to 28 U.S.C. § 2201, there is an actual justiciable controversy, and a

        declaratory judgment is the appropriate mechanism for resolving the validity and enforceability of

        the loan agreements.




                                                          19
                                                                                                      JA184
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 188 20
                                                                     of 462
                                                                        of 32 PageID# 20




                94.      Accordingly, Plaintiffs seek a declaratory judgment that the choice of law and

        forum-selection provisions are void and unenforceable under Va. Code. § 6.2-1541(A) and as a

        matter of Virginia’s well-established public policy.

                                              COUNT TWO:
                                   VIOLATIONS OF RICO, 18 U.S.C. § 1962(c)
                                 (CLASS CLAIM AGAINST ALL DEFENDANTS)

                95.      Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

        at length herein.8

                96.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

        action for themselves and on behalf of a class—the “Virginia RICO Class”—initially defined as:

                All Virginia residents who executed a loan with Red Rock or Big Picture where the
                loan was originated and/or any payment was made on or after June 22, 2013.

                Plaintiffs are members of the Virginia RICO Class.

                97.      Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief and as reflected

        by the profits generated by Defendants, Plaintiffs allege that the class members are so numerous

        that joinder of all is impractical. The names and addresses of the class members are identifiable

        through the internal business records maintained by Defendants, and the class members may be

        notified of the pendency of this action by published and/or mailed notice.

                98.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

        Common questions of law and fact exist as to all members of the putative class, and there are no

        factual or legal issues that differ between the putative class members. These common questions

        predominate over the questions affecting only individual class members. The common questions

        include: (1) whether the Enterprise constitutes an “enterprise” under RICO; (2) whether

        8
         For Counts II and III, Plaintiffs do not seek any monetary relief from Defendants Williams, Jr., Martin, Gertrude
        McGeshick, and Susan McGeshick. Plaintiffs seek injunctive relief only as to Defendants Williams, Jr., Martin,
        Gertrude McGeshick, and Susan McGeshick.




                                                               20
                                                                                                                 JA185
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 189 21
                                                                     of 462
                                                                        of 32 PageID# 21




        Defendants participated in the Enterprise; (3) whether the loans violated Va. Code § 6.2-1501

        because the interest rates were too high; and (4) what is the proper recovery for Plaintiffs and the

        class members against each of the Defendants.

               99.     Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

        each putative class member. Plaintiffs are entitled to relief under the same causes of action as the

        other members of the putative class. Additionally, Plaintiffs’ claims are based on the same facts

        and legal theories as each of the class members.

               100.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

        representatives of the putative class because their interests coincide with, and are not antagonistic

        to, the interests of the members of the class that they seek to represent. Plaintiffs have retained

        counsel competent and experienced in such litigation, and they intend to continue to prosecute the

        action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the

        members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them

        to not vigorously pursue this action.

               101.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

        class members predominate over questions affecting only individual members, and a class action

        is superior to other available methods for fair and efficient adjudication of the controversy. The

        damages sought by each member are such that individual prosecution would prove burdensome

        and expensive. It would be virtually impossible for members of the class individually to effectively

        redress the wrongs done to them. Even if the members of the class themselves could afford such

        individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

        litigation presents a potential for inconsistent or contradictory judgments and increases the delay

        and expense to all parties and to the court system presented by the legal and factual issues raised




                                                          21
                                                                                                       JA186
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 190 22
                                                                     of 462
                                                                        of 32 PageID# 22




        by Defendants’ conduct. By contrast, the class action device will result in substantial benefits to

        the litigants and the Court by allowing the Court to resolve numerous individual claims based upon

        a single set of proof in a case.

                102.      Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class

        certification is appropriate because Defendants acted on grounds generally applicable to the class,

        making appropriate injunctive relief with respect to Plaintiffs and the class members. Plaintiff and

        the putative class seek an injunction ordering Defendants to divest themselves of any interest in

        the Enterprise, including the receipt of racketeering profits; prohibiting Defendants from

        continuing to engage in the Enterprise; and ordering the dissolution of any entity associated with

        the Enterprise.

                103.      As alleged above, Defendants violated § 1962(c) of RICO through the “collection

        of unlawful debt.” 18 U.S.C. § 1962(c).

                104.      RICO defines “unlawful debt” as a debt which was incurred in connection with “the

        business of lending money or a thing of value at a rate usurious under State or Federal law, where

        the usurious rate is at least twice the enforceable rate.” 18 U.S.C. § 1961(6).

                105.      All of the loans made to Virginia residents and collected by Defendants included

        an interest rate far in excess of twice the enforceable rate in Virginia.

                106.      Martorello and Gravel, during the pertinent times, were directly and materially

        involved in this intentional misconduct and knew the subject loans were illegal under Virginia law,

        but they pursued the scheme anyway through Bellicose Capital.

                107.      This conduct began sometime as early as 2011, continues to date, and will be

        repeated again and again in the future to the detriment of Virginia consumers.




                                                          22
                                                                                                    JA187
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 191 23
                                                                     of 462
                                                                        of 32 PageID# 23




               108.    Plaintiffs and the class members were injured as a result of Defendants’ violations

        of 18 U.S.C. § 1962(c).

               109.    Accordingly, Defendants Big Picture Loans, Matt Martorello, Ascension

        Technologies, and Daniel Gravel are jointly and severally liable to Plaintiffs and the putative class

        members for their actual damages, treble damages, costs, and attorney’s fees pursuant to 18 U.S.C.

        § 1964(c).

                                            COUNT THREE:
                                  VIOLATIONS OF RICO, 18 U.S.C. § 1962(d)
                                (CLASS CLAIM AGAINST ALL DEFENDANTS)

               110.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

        at length herein.

               111.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

        action for themselves and on behalf of a class, initially defined as:

               All Virginia residents who executed a loan with Red Rock or Big Picture where the
               loan was originated and/or any payment was made on or after June 22, 2013.

               112.    Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

        allege that the class members are so numerous that joinder of all is impractical. The names and

        addresses of the class members are identifiable through the internal business records maintained

        by Defendants, and the class members may be notified of the pendency of this action by published

        and/or mailed notice.

               113.    Predominance of Common Questions of Law and Fact. Fed. R. Civ. P. 23(a)(2).

        Common questions of law and fact exist as to all members of the putative class, and there are no

        factual or legal issues that differ between the putative class members. These questions predominate

        over the questions affecting only individual class members.




                                                         23
                                                                                                     JA188
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 192 24
                                                                     of 462
                                                                        of 32 PageID# 24




               114.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

        each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

        action as the other members of the putative class. All are based on the same facts and legal theories.

               115.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

        representatives of the putative class because their interests coincide with, and are not antagonistic

        to, the interests of the members of the class they seek to represent; they have retained counsel

        competent and experienced in such litigation; and they have and intend to continue to prosecute

        the action vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of

        the members of the class. Neither Plaintiffs nor their counsel have any interests which might cause

        them to not vigorously pursue this action.

               116.    Injunctive Relief Appropriate for the Class. Fed. R. Civ. P. 23(b)(2). Class

        certification is appropriate because Defendants acted on grounds generally applicable to the class,

        making appropriate equitable injunctive relief with respect to Plaintiffs and the class members.

        Plaintiffs and the putative class seek an injunction ordering Defendants to divest themselves of the

        Enterprise, including the receipt of racketeering profits; prohibiting Defendants from continuing

        to engage in the Enterprise; and ordering the dissolution of each entity that has engaged in the

        Enterprise.

               117.    As alleged above, Defendants violated § 1962(d) of RICO by entering into a series

        of agreements to violate § 1962(c) and Virginia’s usury laws, including the agreement between

        Defendants and Tribe that established the terms and operations of the rent-a-tribe business.

               118.    Accordingly, Defendants Big Picture Loans, Matt Martorello, Ascension

        Technologies, and Daniel Gravel are jointly and severally liable to Plaintiffs and the putative class




                                                          24
                                                                                                       JA189
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 193 25
                                                                     of 462
                                                                        of 32 PageID# 25




        members for their actual damages, treble damages, costs, and attorney’s fees pursuant to 18 U.S.C.

        § 1964(c).

                                      COUNT FOUR:
                           VIOLATIONS OF VIRGINIA USURY LAWS
               (CLASS CLAIM AGAINST BIG PICTURE LOANS, MATT MARTORELLO,
                        ASCENSION TECHNOLOGIES, DANIEL GRAVEL)

                119.     Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

        at length herein.9

                120.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

        action for themselves and on behalf of a class—the “Virginia Usury Class and Subclass”—initially

        defined as follows:

                Virginia Usury Class: All Virginia residents who executed a loan with Red Rock
                or Big Picture where any amount of principal, interest, fees, or other charges were
                repaid.

                Virginia Usury Subclass: All Virginia residents who executed a loan with Red
                Rock or Big Picture where any interest was paid on or after June 23, 2015.

                121.     Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

        allege that the class members are so numerous that joinder of all is impractical. The names and

        addresses of the class members are identifiable through the internal business records maintained

        by Defendants, and the class members may be notified of the pendency of this action by published

        and/or mailed notice.

                122.     Based on the estimated size of the class and the volume of loans offered by

        Defendants, Plaintiffs believe that the amount in controversy easily exceeds $5 million when

        considering the amounts repaid by Virginia borrowers, as well as the amount of outstanding debt



        9
          For Counts IV and V, Plaintiffs do not seek any relief from Defendants Williams, Jr., Martin, Gertrude McGeshick,
        and Susan McGeshick. Plaintiffs use of the term “Defendants” in Count IV and V only refers to the defendants
        identified under the headings, i.e., Big Picture Loans, Matt Martorello, Ascension Technologies, and Daniel Gravel.




                                                                25
                                                                                                                  JA190
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 194 26
                                                                     of 462
                                                                        of 32 PageID# 26




        that will be cancelled as part of the relief sought in this lawsuit. Settlements involving similar tribal

        lending enterprises have far exceeded $5 million, including a settlement recently approved by this

        Court. See, e.g., Hayes v. Delbert Servs. Corp., Preliminary Approval Order, 3:14-cv-00258-JAG,

        Doc 193 (Jan. 30, 2017) (granting preliminary approval of a class action settlement that included

        $9.43    million     in   compensation and          forgiving     $5.9    million     in   outstanding     debt)

        https://secure.dahladmin.com/VACASH/content/docu-ments/PreliminaryApprovalOrder.pdf;

        Press Release, Office of Att’y Gen., Ga., Attorney General Chris Carr Announces $40 Million Plus

        Settlement with Online Payday Lender (Feb. 8, 2017), https://law.georgia.gov/press-

        releases/2017-02-08/attorney-general-chris-carr-announces-40million-plus-settlement-online

        ($23.5 million in compensation, $17 million in loan forgiveness, $1 million civil penalty, and

        $500,00 attorney’s fees and costs).10

                123.       Predominance of Common Questions of Law and Fact. Fed. R. Civ. P.

        23(a)(2). Common questions of law and fact exist as to all members of the putative class, and there

        are no factual or legal issues that differ between the putative class members. These questions

        predominate over the questions affecting only individual class members. The principal issues

        include: (1) whether the loans made by Defendants of the Virginia Usury Class claims violated

        Virginia Code Section § 6.2-1501 because their interest levels were too high and (2) what is the

        proper recovery for Plaintiffs and the class members against each of the Defendants.




        10
          See also News Release, Attorney Gen. Pam Bondi, Fl., Attorney General Bondi and OFR Reach Multimillion Dollar
        Settlements       with     Online     Lender      (Jan.      12,     2017),  http://myfloridalegal.com/__8525622-
        20065EE67.nsf/0/2F836464563D0EB5852580A600709370?Open&Highlight=0,western,sky ($11 million in
        compensation, $15 million in loan forgiveness, $500,000 civil penalty, $500,000 administrative fine, and $250,000
        for costs); Internet Lender CashCall, Inc. Barred from Doing Business in Minnesota, Minn. Att’y Gen. Lori Swanson,
        https://www.ag.state.mn.us/Office/PressRelease/20160819InternetLender.asp (last visited May 24, 2017) ($11.7
        million in monetary relief including a $4.5 million restitution fund).




                                                               26
                                                                                                                 JA191
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 195 27
                                                                     of 462
                                                                        of 32 PageID# 27




                124.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

        each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

        action as the other members of the putative class. All claims are based on the same facts and legal

        theories.

                125.    Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

        representatives of the putative class because their interests coincide with, and are not antagonistic

        to, the interests of the members of the class they seek to represent. Plaintiffs have retained counsel

        competent and experienced in such litigation, and they intend to continue to prosecute the action

        vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the

        members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them

        to not vigorously pursue this action.

                126.    Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

        class members predominate over questions affecting only individual members, and a class action

        is superior to other available methods for fair and efficient adjudication of the controversy. The

        damages sought by each member are such that individual prosecution would prove burdensome

        and expensive. It would be virtually impossible for members of the class individually to effectively

        redress the wrongs done to them. Even if the members of the class themselves could afford such

        individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

        litigation presents a potential for inconsistent or contradictory judgments and increases the delay

        and expense to all parties and to the court system because of the legal and factual issues raised by

        Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the

        litigants and the Court by allowing the Court to resolve numerous individual claims based upon a

        single set of proof in a case.




                                                         27
                                                                                                      JA192
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 196 28
                                                                     of 462
                                                                        of 32 PageID# 28




               127.    All of the loans made by Defendants to Virginia consumers used an interest rate

        greater than 12% and none of the exceptions to Va. Code § 6.2-303 apply.

               128.    Accordingly, Plaintiffs and the class Members are entitled to recover from

        Defendants an amount equal to the total amount of interest paid in excess of 12% plus twice the

        amount of such usurious interest that was paid in the two years preceding the filing of this action,

        attorney’s fees, and costs. Va. Code § 6.2-305(A).

                                      COUNT FIVE:
                                  UNJUST ENRICHMENT
                 (CLASS CLAIM AGAINST BIG PICTURE LOANS, RED ROCK, MATT
                  MARTORELLO, ASCENSION TECHNOLOGIES, DANIEL GRAVEL)

               129.    Plaintiffs restate each of the allegations in the preceding paragraphs as if set forth

        at length herein.

               130.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

        action for themselves and on behalf of a class—the “Virginia Unjust Enrichment Class”—initially

        defined as follows:

               Virginia Unjust Enrichment Class: All Virginia residents who executed a loan
               with Red Rock or Big Picture where any amount of principal, interest, fees, or other
               charges were repaid.

               131.    Numerosity. Fed. R. Civ. P 23(a)(1). Upon information and belief, Plaintiffs

        allege that the class members are so numerous that joinder of all is impractical. The names and

        addresses of the class members are identifiable through the internal business records maintained

        by Defendants, and the class members may be notified of the pendency of this action by published

        and/or mailed notice.

               132.    Based on the estimated size of the class and the volume of loans offered by

        Defendants, Plaintiffs believe that the amount in controversy easily exceeds $5 million when

        considering the amounts repaid by Virginia borrowers, as well as the amount of outstanding debt



                                                         28
                                                                                                     JA193
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 197 29
                                                                     of 462
                                                                        of 32 PageID# 29




        that will be cancelled as part of the relief sought in this lawsuit. Settlements involving similar tribal

        lending enterprises have far exceeded $5 million, including a settlement recently approved by this

        Court. See, e.g., Hayes v. Delbert Servs. Corp., Preliminary Approval Order, 3:14-cv-00258-JAG,

        Doc 193 (Jan. 30, 2017) (granting preliminary approval of a class action settlement that included

        $9.43   million    in   compensation and        forgiving    $5.9   million    in   outstanding    debt)

        https://secure.dahladmin.com/VACASH/content/docu-ments/PreliminaryApprovalOrder.pdf;

        Press Release, Office of Att’y Gen., Ga., Attorney General Chris Carr Announces $40 Million Plus

        Settlement with Online Payday Lender (Feb. 8, 2017), https://law.georgia.gov/press-

        releases/2017-02-08/attorney-general-chris-carr-announces-40million-plus-settlement-online

        ($23.5 million in compensation, $17 million in loan forgiveness, $1 million civil penalty, and

        $500,00 attorney’s fees and costs).

                133.      Predominance of Common Questions of Law and Fact. Fed. R. Civ. P.

        23(a)(2). Common questions of law and fact exist as to all members of the putative class, and there

        are no factual or legal issues that differ between the putative class members. These questions

        predominate over the questions affecting only individual class members. The principal issues

        include: (1) whether Plaintiffs and the class members conferred a benefit on Defendants of the

        Virginia Unjust Enrichment Class claims; (2) whether Defendant knew or should have known of

        the benefit; (3) whether Defendants retained an unjust benefit because the loan was void; and (4)

        what is the proper recovery for Plaintiffs and the class members against each of Defendants.

                134.    Typicality. Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims of

        each putative class member. In addition, Plaintiffs are entitled to relief under the same causes of

        action as the other members of the putative class. All claims are based on the same facts and legal

        theories.




                                                           29
                                                                                                          JA194
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 198 30
                                                                     of 462
                                                                        of 32 PageID# 30




                135.     Adequacy of Representation. Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

        representatives of the putative class because their interests coincide with, and are not antagonistic

        to, the interests of the members of the class they seek to represent. Plaintiffs have retained counsel

        competent and experienced in such litigation, and they intend to continue to prosecute the action

        vigorously. Plaintiffs and their counsel will fairly and adequately protect the interests of the

        members of the class. Neither Plaintiffs nor their counsel have any interests that might cause them

        to not vigorously pursue this action.

                136.     Superiority. Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

        class members predominate over questions affecting only individual members, and a class action

        is superior to other available methods for fair and efficient adjudication of the controversy. The

        damages sought by each member are such that individual prosecution would prove burdensome

        and expensive. It would be virtually impossible for members of the class individually to effectively

        redress the wrongs done to them. Even if the members of the class themselves could afford such

        individual litigation, it would be an unnecessary burden on the Courts. Furthermore, individualized

        litigation presents a potential for inconsistent or contradictory judgments and increases the delay

        and expense to all parties and to the court system because of the legal and factual issues raised by

        Defendants’ conduct. By contrast, the class action device will result in substantial benefits to the

        litigants and the Court by allowing the Court to resolve numerous individual claims based upon a

        single set of proof in a case.

                137.     All of the loans made by Defendants to Virginia consumers were void and

        unenforceable.




                                                         30
                                                                                                      JA195
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 199 31
                                                                     of 462
                                                                        of 32 PageID# 31




               138.    Plaintiffs conferred a benefit on Defendants when they repaid the void loans;

        Defendants knew or should have known of the benefit; and Defendants have been unjustly

        enriched through their receipt of any amounts in connection with the unlawful loans.

               139.    Accordingly, Plaintiffs seek to recover from Defendants, jointly and severally, all

        amounts repaid on any loans with Big Picture or Red Rock.

                                            PRAYER FOR RELIEF

               WHEREFORE, Plaintiffs request the Court enter judgment for themselves and the class

        they seek to represent against Defendants, including for:

               A.      Certification of this matter to proceed as a class action;

               B.      Declaratory, injunctive, and compensatory relief as pled herein;

               C.      Attorney’s fees, litigation expenses, and costs of suit; and

               D.      Any further relief the Court deems proper.

        TRIAL BY JURY IS DEMANDED

                                                      Respectfully submitted,
                                                      LULA WILLIAMS, GLORIA TURNAGE,
                                                      GEORGE HENGLE, DOWIN COFFY, and
                                                      FELIX GILLISON, JR., on behalf of themselves
                                                      and all individuals similarly situated,

                                                      By:      /s/ Kristi C. Kelly
                                                      Kristi C. Kelly, Esq., VSB #72791
                                                      Andrew J. Guzzo, Esq., VSB #82170
                                                      KELLY & CRANDALL, PLC
                                                      3925 Chain Bridge Road, Suite 202
                                                      Fairfax, VA 22030
                                                      (703) 424-7572
                                                      (703) 591-0167 Facsimile
                                                      Email: kkelly@kellyandcrandall.com
                                                      Email: aguzzo@kellyandcrandall.com

                                                      James W. Speer, VSB#23046
                                                      VIRGINIA POVERTY LAW CENTER
                                                      919 E. Main Street, Suite 610
                                                      Richmond, VA 23219


                                                         31
                                                                                                  JA196
USCA4 Appeal:
         Case23-2097    Doc: 11-1 Document
              3:17-cv-00461-REP        Filed:
                                            1 12/06/2023
                                               Filed 06/22/17Pg:Page
                                                                 200 32
                                                                     of 462
                                                                        of 32 PageID# 32




                                              (804) 782-9430
                                              (804) 649-0974
                                              Email: jay@vplc.org

                                              Counsel for Plaintiffs




                                                32
                                                                                   JA197
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                201 of 462
                                                                    1 of 81 PageID# 4012


                                                                               p             I        E    ill
                          IN THE UNITED STATES DISTRICT COURT                  1        JJL 2 T 2u;8
                          FOR THE EASTERN DISTRICT OF VIRGINIA                                             ili
                                       Richmond Division
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                         RICHMOND, VA


       LULA WILLIAMS, et al.,
       on behalf of themselves and all
       individuals similarly situated,

               Plaintiffs,

                                                     Civil Action No. 3:17-cv-461


       BIG PICTURE LOANS, LLC, et al..                     PUBLIC VERSION^

               Defendants.



                                      MEMORANDUM OPINION


               This   matter   is   before   the   Court   on   DEFENDANTS     BIG       PICTURE


       LOANS    AND   ASCENSION     TECHNOLOGIES'    MOTION     TO   DISMISS   FOR      LACK     OF


       SUBJECT MATTER JURISDICTION (EOF No. 22). Big Picture Loans, LLC

       ("Big    Picture")      and Ascension       Technologies, Inc. ("Ascension")

       argue that the Court lacks subject matter jurisdiction over all

       claims asserted against them because they qualify as arms of the

       Lac Vieux      Desert Band of Lake Superior Chippewa Indians ("the


       ^ This opinion was initially filed under seal on July 3, 2018.
       See Memorandum Op. (EOF No. 130). The Clerk provided copies of
       the sealed opinion to Plaintiffs, Big Picture, and Ascension,
       who were given fourteen days to request that certain information
       in the public version of the opinion remain sealed. See ECF No.
       131 at 1-2. Following that order. Big Picture and Ascension
       indicated that the majority of the documents cited or discussed
       in the opinion could be unsealed, or could remain sealed with
       only limited redactions that would not affect the opinion. See
       Response to July 3 Order (ECF No. 133) at 4-9. The Court agreed
       with their proposed approach, and minor changes have been made
       to the opinion to account for the unsealing and re-filing of
       certain documents. See ECF No. 143.




                                                                                             JA198
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                202 of 462
                                                                    2 of 81 PageID# 4013




       Tribe") and are thereby entitled to tribal sovereign iimnunity.

       For the reasons set forth below, the motion was denied. See ECF

       No. 124.


                                           BACKGROUND


        A.   Factual Background

             1. Tribal Regulatoiry Structure

             The Tribe is a federally recognized Indian tribe, and its

       members       reside     close     to     their       ancestral       homeland          near


       Watersmeet, Michigan. 25 U.S.C. § 1300h(1)-(2). Its status as an

      "independent       tribal    entity" has         consistently        been    reaffirmed.

       See   id. § 1300h-2(a). As          a    result, the        Tribe    is    a     sovereign

       entity that can create its own laws and regulations.

             To that end, the Tribe adopted its current constitution on

       May   14,      1992     ("the     LVD    Constitution")        for         the    Tribe's

      "government, protection and common welfare." ECF No. 23-1 at 1,

       19.   Among    other    things,    the    LVD    Constitution       established         the

       Tribe's council ("the LVD Council"), granting it the authority

       to, inter alia, enact law, including ordinances and regulations;

       manage the Tribe's economic affairs; and "promote and                             protect

       the   health,     safety,       education,      and    general      welfare       of    the

      [Tribe]      and   its   members."       Id.   art.    IV,   § 1(a)-(b),          (f).   The

      Council could also charter organizations and delegate them with




                                                                                               JA199
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                203 of 462
                                                                    3 of 81 PageID# 4014




       the     authority              to        manage     the        Tribe's       economic           affairs.

       Id. § l(j).

               The    Tribe       initially         pursued       economic          self-sufficiency           by

       opening        a       casino       in     the     late    1990s.        The       casino       provided

       significant revenue for the Tribe until 2008, when the recession

       severely       limited           the      casino's       revenue       stream      and    forced       the

       Tribe to explore other avenues to improve its finances. One of

       these    steps          was to start tribal businesses in                           certain areas,

       such as online lending, that would yield profits for the Tribe.

       Hazen Aff. (EOF No. 34-1) SISI 2-5.

             On      July        8,     2011,      the     LVD     Council       enacted         the    Tribal

      Consumer Financial Services Regulatory Code ("the Code"), which

      legalized online lending by the Tribe. July 8, 2011 Resolution

      (ECF No. 23-5) at 1; Nov. 18, 2011 Resolution (ECF No. 23-3) at

      1-2.      The           purpose       of    the     Code        was,     inter       alia:       (1)    to

      "[d]iversify              and     expedite         the     development         of    the     [Tribe's]

      economy"        in        order       to    "improve        the     Tribe's         economic       self-

      sufficiency              [and]       to    enable     the       Tribe    to     better      serve      the

      social, economic, educational, and health and safety needs of

      its members and                 visitors"; (2) to "[e]nsure that all consumer

      financial services profits are used for the benefit of the Tribe

      and    [it]s            community";         and    (3)     to    "[e]nsure          that   the     Tribe

      provides            a     Tribal-based            forum     for     the       fair     and       orderly




                                                                                                             JA200
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                204 of 462
                                                                    4 of 81 PageID# 4015




       resolution      of   consumer       financial     services          disputes      consistent

       with the Tribe's preservation of sovereign immunity." Code (EOF

       No. 23-4) §§ 1.1(a), 1.2(a), (c), (g). The                           Code   required that

       all entities offering tribal consumer financial services obtain

       licenses      through    a    particular        licensing       process,       as    part    of

       which   licensees       had    to   certify that they would "abide                    by all

       applicable Tribal and Federal laws, regulations and policies."

       Id. §§ 1.3(d),        5-7,     5.2(b)(8).        It    also        established       specific

       rules   for    certain        financial    services          transactions,          including

       small loans transactions. See id. § 11.


              The    Code    also      created     the        Tribal       Financial        Services


       Regulatory      Authority       ("the     TFSRA")       to    enforce       the     Code    and

       regulate licensees. Id. § 4.1. As a governmental subdivision of

       the Tribe, the TFSRA was "under the direction and control of the

       [LVD] Council." Id. § 4.4. However, the Code granted the TFSRA

       certain      independent      powers,     including,          as    relevant      here,     the

       powers: (1) to "promulgate, adopt, and enforce regulations and

       rules furthering the purpose and provisions of the th[e] Code";

       (2)   to     discipline       licensees    and        other    persons      "by     ordering

       immediate       compliance,          issuing      fines        and      sanctions,          and

       suspending     or    revoking       any [Ijicense        pursuant to         the     hearings

       and due process required by Section 4.18 of th[e] Code"; and (3)

       to    investigate     any      licensee    or     person       engaging      in     consumer

                                                   4




                                                                                                  JA201
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                205 of 462
                                                                    5 of 81 PageID# 4016




       financial       services              within       the         Tribe's         jurisdiction.

       Id. § 4.13(a)-(d), (h)-(i);                    §§ 4.14, 4.16, 4.18.

              In addition, the Code placed the TFSRA at the center of a

       three-tiered dispute resolution process for loan borrowers from

       tribal   licensees.         First,      consumers        that    are "aggrieved" by               a

       licensee's      action         must    submit      a     written       complaint          to    the

       licensee.     The     licensee        must   respond      in    writing        within      thirty

       days, and if it does not, it may be fined by the TFSRA in an

       amount equivalent to the greater of the outstanding principal

       loan   amount       or    $1,500.      Id.     §   9.2(a)-(b).          Second,       consumers

       dissatisfied        with    a    licensee's        response       (or        who    receive      no

       response at all) may submit a written request for administrative

       review   to     the      TFSRA     within      ninety      days        of    the     licensee's

       determination. The TFSRA may then "investigate the dispute in

      any manner it chooses," including by granting an administrative

       hearing. If such a hearing occurs, consumers can be represented

      by   counsel     at       their   own    expense,       and      the    TFSRA        can   conduct

      matters    before         and     during      the   hearing        in    a     quasi-judicial

      manner.    After       any      hearing,      the    TFSRA       must        issue    a    written

      decision that contains its factual findings and conclusions of

      law, and "may grant or deny any relief as the [TFSRA] determines




                                                                                                      JA202
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                206 of 462
                                                                    6 of 81 PageID# 4017




       appropriate."^ Consumers can then request rehearing, which the

       TFSRA    may   grant      or   deny   at    its       discretion.     Id. § 9.3(a)-(g).

       Finally, consumers may appeal adverse TFSRA decisions by filing

       a   written petition for review                 with the Tribal Court ("the LVD

       Court")      within    ninety    days      of       the   TFSRA's    decision.   The    LVD

       Court's review is limited to the TFSRA's administrative record,

       and the Court must give deference to the TFSRA's interpretations

       and    applications       of the Code.          It can      only reverse      a decision

       that    is     "arbitrary       and     capricious,           or    that . . . is       not

       supported      by   the    evidence,"      and       must    not    reverse   because   of

      "[m]ere disagreement            with the [TFSRA]'s factual findings." The

       LVD Court's subsequent opinion is final and cannot be appealed.

       Id. § 9.4.




      ^ Plaintiffs allege that the TFSRA's powers with regard to a
      hearing are constrained by TFSRA Regulation 1.1. Compl. fSl 79-
      81. That regulation states that the TFSRA "will adhere to the
      dispute resolution procedures set out under section 9.3 of the
      Code." However, the regulation also indicates that the TFSRA:
      (1) "[m]ay grant a fair opportunity to be heard about the
      dispute if . . . the [TFSRA] finds the existence of a material
      issue as to whether or not the alleged act or practice is unfair
      or deceptive, or in violation of existing tribal consumer
      finance laws or regulations"; (2) "[w]ill not grant the consumer
      an opportunity to be heard if the only allegation contained in
      [a] consumer complaint is an allegation that the consumer
      finance service provided is illegal in a jurisdiction outside
      the jurisdiction of the Tribe"; and (3) "[m]ay resolve the
      dispute in favor of the consumer upon a finding that the
      [l]icensee has violated a law or regulation of the Tribe."
                                                       6




                                                                                              JA203
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                207 of 462
                                                                    7 of 81 PageID# 4018




              The latest development in the Tribe's history of economic

       regulation      occurred     on    August   26,       2014,   when    the    LVD    Council

       enacted        the     Business       Entity      Ordinance           ("the        Business

       Ordinance").         Aug.   28    Resolution    (EOF      No.   23-6)       at    1-2.     The

       Business       Ordinance     created    comprehensive           procedures         for     the

       creation, operation, and dissolution of various tribal entities,

       including      limited      liability   companies        ("LLCs").       See      generally

       Business Ordinance (EOF No. 23-7). Relevant to this dispute, the

       Ordinance stated that a tribally-owned LLC with the Tribe as its

       sole   member     would "be       considered      a    wholly owned         and    operated

       instrumentality of the Tribe and . . . have all the privileges

       and immunities of the Tribe, including but not limited to the

       Tribe's    sovereign        immunity    from      suit,       except    as       explicitly

       waived by the [LVD] Council." Id. Ch. 5, § 8(E). The Ordinance

      further indicated that those LLCs would be subject to the LVD

       Court's jurisdiction, but that such                    provision       would      not    waive

       any    claim    to    sovereign     immunity      in    state    or     federal         court.

       Id. Ch. 1, § 3(A), (D).

              2. Beginning of Tribal Lending Operations

              Soon after the Code was enacted, the Tribe began operating

      in the online lending arena when the LVD Council organized Red

       Rock Tribal Lending, LLC ("Red Rock") as a tribally-owned LLC on

       September 14, 2011. See Sept. 14, 2011 Resolution (ECF No. 23-
                                                   7




                                                                                                 JA204
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                208 of 462
                                                                    8 of 81 PageID# 4019




       8), The company was managed by two members of the Tribe, and the

       Tribe was Red Rock's sole member. Red Rock Arts, of Organization

       (EOF No. 23-9), Art. 7; Hazen Aff. SISI 6-7. The Complaint alleges

       that        Matt       Martorello             ("Martorello")—along           with     Bellicose

       Capital,         LLC    ("Bellicose")^           and      Bellicose's       general    counsel,

       Daniel Gravel ("Gravel")—associated with the Tribe to form Red

       Rock. Compl. (ECF No. 1) SISI 13, 29. Martorello, however, states

       that he was never a manager or member of Red Rock, nor were any

       of the companies that he owned or managed. Martorello Decl. (ECF

       No. 106-1) fi 18-21. Red Rock provided loans to consumers from

       its    offices         on   the     Reservation,        and   its employees, computers,

       and    records         were       all     located      there.     Moreover,     as    a   tribal

       business. Red Rock was regulated by the TFSRA. Hazen Aff. If 8-

       9.


              Red Rock subsequently decided to contract with an outside

       entity      to     better      learn       the    lending       industry.      The    Tribe    had

       identified Martorello as a potential consultant in mid-2011, but

       he    was    not    involved         in    the    creation       of   Red    Rock.   Martorello


       Decl. fSI 14, 17. Then, on October 25, 2011, Red Rock contracted

       with     Bellicose            VI,       LLC     ("Bellicose        VI")—a      subsidiary      of

       Bellicose—for           it    to     provide      Red     Rock    with      vendor   management


       ^ Martorello was the founder                        and    chief      executive      officer    of
       Bellicose. Compl. SI 14.




                                                                                                     JA205
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP         Filed:
                                Document 146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                209 of 462
                                                                    9 of 81 PageID# 4020




       services,        compliance      management     assistance,   marketing      material

       development, and             risk modeling and data       analytics development.

       Hazen Aff. f 10; Servicing Agm't'^ (ECF No. 83-2) at 1. On April

       15, 2012, Bellicose VI assigned its interest in the contract to

       SourcePoint            VI,     LLC   ("SourcePoint"),         another      Bellicose

       subsidiary. Hazen Aff. f 12; Servicing Agm't at 1.

              The Servicing Agreement detailed the revenue                     distribution

       structure        for    Red    Rock's    lending   business    and    each   party's

       duties      as   to    that   business.   Under    the   contract,   revenues    were

       distributed first to Red Rock,                which   received 2% of all gross

       revenues "plus bad debt recoveries minus the sum of charge backs

       and    bad debt charge-offs." Servicing Agm't §§ 2.25, 6.4.1. The

       remainder        was then      distributed in the following order: (1) to

       SourcePoint, to reimburse it for advances made to Red Rock and

      for servicing expenses; (2) to any of Red Rock's creditors, to

       pay outstanding debt that was then due; and (3) to SourcePoint,

       to pay its monthly servicing fee. Id. § 6.4.2-.5. The servicing

       fee was a variable performance-based fee equivalent to whatever

       cash   basis      revenue      remained after the distributions above,            and

       was    at   a    minimum      $20,000.   Id. § 3.5.1.    Martorello     claims   that



       ^ The parties have not provided the original servicing agreement
       between Red Rock and Bellicose VI, but there is no indication
       that its provisions were substantially different than those in
       the Servicing Agreement between Red Rock and SourcePoint.
                                                   9




                                                                                        JA206
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 210 10
                                                            Page   of 462
                                                                      of 81 PageID# 4021




       the    Tribe    itself        suggested         this       revenue        split      because       it

       guaranteed      monthly       income      for     the     Tribe's        general      fund       while

       also    incentivizing         SourcePoint            to     help       the    Tribe       grow    its

       businesses. Martorello Decl. SI 36. In addition, aside from these

       distributions. Red Rock received and retained ownership of all

       intellectual property developed under the Servicing Agreement by

       SourcePoint. Id. SI 35.

              The   Agreement        also    assigned          specific         responsibilities          to

       SourcePoint.         For    instance,      after        noting      that      SourcePoint         was

       being engaged as Red Rock's "independent contractor" to perform

       the    services      noted, the       Agreement granted to SourcePoint "the

       authority       and        responsibility            over       all      communication            and

       interaction         whatsoever       between         [Red       Rock]     and      each     service

       provider, lender and other agents of [Red Rock]." Id. § 3.1. The

      contract      also        prevented    Red       Rock      from     operating         its    lending

       business     anywhere        without       using        SourcePoint           to     provide      its

       management       and       consulting        services            for      those       operations.

       Id. § 3.3.1.         In     addition,       the      Servicing           Agreement         required

       SourcePoint         to     select    a    bank       account        to       store    all      funds


       generated      by    Red    Rock's       lending,         and     gave    SourcePoint—unless

       otherwise      agreed       between      Red     Rock       and    SourcePoint—the           "sole

       signatory      and    transfer       authority       over       such     bank      accounts," as

       well as "sole authority to sweep monies from such bank accounts"

                                                       10




                                                                                                         JA207
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 21111
                                                             Page  of 462
                                                                      of 81 PageID# 4022




      to distribute revenues under the priority structure. Id. § 4.4.

       Finally,     the     Agreement       gave      SourcePoint       numerous        other     duties

      concerning       the    day-to-day             functioning       of     Red   Rock's       lending

      business,      such     as:    (1) "[s]creening             of    and      selecting       service

      providers       and    lenders,          and    negotiating        agreements         with    such

      service       providers       and    lenders       on    behalf       of   [Red     Rock]";    (2)

      "[d]evelopment         and     promotion         of     sound     and      positive    business

      relationships          on    behalf       of     [Red     Rock]       with    the    designated

      service providers and lenders"; (3) preparation of regulatory,

      compliance,         training,            education,        financial          reporting        and

      accounting,         website         content,       and     marketing          standards;       (4)

      "providing pre-qualified leads to [Red Rock] and providing the

      necessary      credit-modeling            data    and     risk    assessment        strategies"

      to    Red     Rock;    and     (5)       "training        and    monitoring         [Red     Rock]

      employees . . . that                operate        [Red         Rock]'s       call     center."

      Id. § 4.2.1.^

             However, the Servicing Agreement also limited the ultimate

      authority of SourcePoint over Red Rock's management decisions.


      ^    Based,    presumably,          on    the     Servicing        Agreement,        Plaintiffs
      allege that: Bellicose funded and underwrote Red Rock's loans;
      the money loaned was transferred from a bank account controlled
      by Bellicose and Martorello, which tribal officials could not
      access; Bellicose accepted consumer payments directly; and the
      only funds that Red Rock, Big Picture, or the Tribe ever
      received or handled was the specified revenue percentage under
      the Servicing Agreement. Compl. SISl 30-32, 36-37.

                                                       11




                                                                                                    JA208
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 212 12
                                                             Page   of 462
                                                                       of 81 PageID# 4023




       For    instance,       the    provision       allowing             SourcePoint         to   provide

       leads and credit-modeling data to Red Rock also said that "[t]he

       criteria      used     to    extend        funds    to       individual         borrowers      will


       remain within the sole and absolute discretion of [Red Rock] and

       [Red Rock] shall execute all necessary loan documentation." Id.

       § 4.2.1(1). Similarly, SourcePoint "ha[d] no authority to engage

       in     origination      activities,           execute             loan    documentation,        or

       approve      the      issuance        of     loans           to    third        parties.      Final

       determination as to whether to lend to a consumer rest[ed] with

       [Red    Rock]." Id. § 4.1.1.               SourcePoint            also   needed       the   Tribe's

       written      consent "to        do    any    of    the       following:         (1)    to   borrow,

       pledge,      assign,    convey,       encumber,          grant      security interest          in,

       guaranty, or otherwise restrict the assets of [Red Rock]; (2) to

       sell or otherwise            dispose       of all or substantially all of the

       assets of [Red Rock]; [or] (3) to waive the sovereign immunity

       of    [Red    Rock]."        Id. § 4.1.2.          In    other       words,       SourcePoint's

       duties,      although        numerous,       were       to    be    limited       to    providing

      "reasonable         measures          for     the        orderly          administration        and

       management" of Red Rock. Id. § 4.2.1.

              Some evidence also indicates that Red Rock's role                                under the


       Servicing      Agreement         was        more        substantial            than    Plaintiffs

       suggest. Red         Rock's co-manager, Michelle                    Hazen ("Hazen"), says

       that,    "[w]hile       Red    Rock        received       advice         and    consulted      with

                                                      12




                                                                                                     JA209
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 213 13
                                                             Page   of 462
                                                                       of 81 PageID# 4024




       Bellicose about operations, all final decisions about operations

       were made by Red Rock's managers." Hazen Aff. SI 11; see also ECF

       No.   83-4   (e-mail       from    SourcePoint     employee      to    tribal    members

       recommending     adoption          of   direct     mail     campaign     prepared        by

       SourcePoint).      Similarly,           Martorello        indicates      that,     as     a

       consultant,®    he "made suggestions and offered advice to Red

       Rock's co-managers," but "Red Rock's co-managers were ultimately

       responsible for all decisions regarding Red                     Rock's operation."

       Furthermore,    Martorello,          Bellicose,     and     SourcePoint       never,     on

       Red Rock's behalf, made lending decisions; originated a consumer

       loan;    purchased     a    loan    originated     by     Red   Rock;    or   took      any

       action to collect a Red Rock loan. Instead, Red Rock always made

       the final decision to lend to a                   particular consumer, and              Red

       Rock's     co-managers,           including      Hazen,     always      reviewed        and

       approved     marketing       materials,       including      the      prescreening      of

       credit reports.^ Finally, Bellicose's and SourcePoint's access to


       ® As permitted by the Servicing Agreement, SourcePoint hired
       Bellicose    employees,       including       Martorello,       to    perform    certain
       services for Red Rock. Martorello Decl. SI 31.


       ^ Plaintiffs cite Big Picture's interrogatory response to assert
      that Red Rock's role in the lending process was limited to
      "final verification of the applicant's information in the loan
      agreement," including "the applicant's e-signature, the due
      dates,   the  payment  schedule,  [and]  the  applicant's  bank
      information." Big Picture Interrogatory Responses (ECF No. 91-
      4) SI 24. This statement is misleading. First, the response
      addressed Big Picture's loan evaluation procedure, and thus had
                                                  13




                                                                                            JA210
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 214 14
                                                            Page   of 462
                                                                      of 81 PageID# 4025




       Red Rock's bank accounts was limited by deposit access control

       agreements     provided     by Red    Rock,    which    Red    Rock or the Tribe

       could    terminate    at    any   time.   Furthermore,        although      Martorello

       was a signatory on certain Red Rock accounts, he claims that he

       was listed that way only "to facilitate                     accounts payable, and

       never     without    express      contractual     or    delegated        authority."

       Martorello Decl. ff 22-28.


               Red   Rock then    began making loans to consumers, including

       some in New York. In February 2013, the New York Department of

       Financial      Services     ("the     Department")      sent     cease-and-desist

       letters to a number of lending entities, including the Tribe,

       accusing      them   of "using      the   Internet     to    offer    and   originate

       illegal payday loans to New York consumers, in violation of New

       York's civil and criminal usury laws."® Otoe-Missouria Tribe of

       Indians v. N.Y. State Dep't of Fin. Servs., 974 F. Supp. 2d 353,

       356     (S.D.N.Y.      2013)      (internal     quotations           omitted).    The

       Department also sent letters to third parties that credit and

       debit payday loan          payments, advising them that the                 Department


       nothing to do with Red Rock. Second, the response did not
       concern Big Picture's relationship with third parties, and even
       noted that "[n]o third party participates in Big Picture's
       [loan] evaluation." Id.

       ® New York prohibits annual interest above 16% on loans greater
       than $250,000, N.Y. Gen. Obligations Law § 5-501; N.Y. Banking
       Law § 14-a(l), and criminalizes annual interest above 25%, N.Y.
       Penal Law § 190.40.
                                                 14




                                                                                         JA211
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 215 15
                                                             Page   of 462
                                                                       of 81 PageID# 4026




       would pursue enforcement actions against lenders that refused to

       cease    and     desist.      Id.       at    356-57.          This   threat      of    regulatory

       enforcement       caused      the      lending       entities'         business        partners    to

       limit or end their relationship with the entities, which in turn

       led the entities to seek a preliminary injunction preventing the

       Department from enforcing New York's anti-usury statutes against

      them—in      part      because       any       regulation          would       infringe       on   the

       entities' tribal sovereignty. See id. at 357-58.                                    However, the

       court denied the entities' request, finding that they had not

       shown a likelihood of success on the merits because their online


      lending      to       New    York        consumers             constituted       off-reservation

       activity,      and    could    therefore            be    properly regulated              under   New

       York's   non-discriminatory               anti-usury laws.              See    id.     at   360-61.

       The   Second     Circuit      affirmed        this       decision      in   October       2014.   See


       Otoe-Missouria         Tribe      of     Indians         v.    N.Y.    State      Dep't     of    Fin.

       Servs., 769         F.3d    105    (2d       Cir.    2014). The         Tribe's        response    to

      these decisions is unknown.


             3. Expansion of Tribal Lending Business

             After      2011,       through          its        operation       of     Red       Rock    and

       relationship         with   Bellicose          and       Martorello,        the     Tribe      gained

       knowledge      of     the     online         lending          industry.       Hazen     Aff. 1 13;

       Martorello       Decl. S[f 47-48.             The        Tribe     wanted      to      apply      that

       knowledge      to    expand       its    online          lending      platform      and     increase
                                                           15




                                                                                                         JA212
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 216 16
                                                            Page   of 462
                                                                      of 81 PageID# 4027




       profitability      for    the     Tribe,    employ     more    tribal       members,       and

       acquire    its    vendors'      businesses       so   that    the    Tribe       would   earn

       more money. Hazen Aff. SI 13. As part of that strategy, the LVD

       Council organized Big Picture on August 26, 2014. Aug. 26, 2014

       Resolution (EOF No. 23-10). Big Picture was formed "as a wholly

       owned     and    operated     instrumentality          of     the    Tribe,"       and     was

       managed     by    two    tribal      members,         Hazen    and       James     Williams

       ("Williams"). Id. at 2-3. Big Picture was meant to serve as an

       independent       tribal      lending       entity      that        would      "ultimately

       consolidate the business" of the Tribe's other lending entities.

       Red Rock and Duck Creek Tribal Financial, LLC. Id. at 1.

             On February 5, 2015, the LVD Council formed another entity.

       Tribal Economic         Development     Holdings,       LLC    ("TED"), to          operate

       the Tribe's current and future lending companies. Feb. 5, 2015

       TED Resolution (ECF No. 23-13). The Tribe was the sole member of

       TED, and Hazen and Williams were designated as its co-managers.

       Id. at 3; TED Arts, of Organization (ECF No. 23-14), Arts. 8-9.

       Big   Picture's     membership       was     also      restructured         so    that     TED

       became its sole member. Big Picture Arts, of Organization (ECF

       No. 23-13), Arts. 8-9. Then, also on February 5, the LVD Council

       formed    Ascension      as   a   subsidiary      of    TED "for         the     purpose    of

       engaging    in    marketing,       technological        and    vendor       services"       to

       support    the    Tribe's     lending      entities.        Feb.    5,   2015     Ascension

                                                   16




                                                                                                JA213
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 217 17
                                                             Page   of 462
                                                                       of 81 PageID# 4028




       Resolution     (ECF       No.    23-16)    at    1.    Ascension      was    created "as      a

       wholly     owned    and    operated       instrumentality of the                Tribe," with

       TED as its sole member, and was managed by Hazen and Williams.

       Id.   at   2-3;    Ascension       Arts,     of       Organization       (ECF   No.    23-17),

       Arts. 8-9. Hazen and Williams named Brian McFadden ("McFadden")

       as Ascension's        President.         Feb. 5, 2015 Ascension              Resolution      at

       3.


              4. Tribe's Acquisition of Bellicose

              Since      2012,        Martorello       and     the    Tribe     had     engaged     in

       multiple conversations about the potential sale of Martorello's

       consulting companies to the Tribe, which would allow the Tribe

       to engage in online lending without relying on outside vendors

       for   support      services.       The     creation      of    TED     and   Ascension      and

       reorganization of Big Picture in February 2015 were undertaken

       to enable the Tribe to more easily purchase Bellicose, in part

       because     those    steps        added    layers       to    protect     the    Tribe     from

       liability. Martorello Decl. 11 49-50; Martorello Sept. 11, 2015

       E-mail     (ECF    No.    83-8)    at     LVD-DEF00014697.          In   addition,     around

       that time,        the LVD       Council formed          Tribal Acquisition            Company,

       LLC ("TAC"), with TED as its sole member and Hazen and Williams

       as    co-managers,        for    the     sole    purpose       of    acquiring     Bellicose

       without     creating       a    nexus    between       TED    and   Delaware.     Sept.     14,



                                                       17




                                                                                                  JA214
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 218 18
                                                             Page   of 462
                                                                       of 81 PageID# 4029




       2015 Merger Resolution (ECF No. 34-2) ("the Merger Resolution")

       at 2/ Martorello Sept. 11, 2015 E-mail at LVD-DEF00014697.

             In early 2015, the parties agreed on the basic framework of

       the   merger:       a    seller-financed          transaction      with         non-fixed

       payments over a seven-year term, with any outstanding amount due

       being forgiven at the end of that term. According to Martorello,

       the Tribe requested this structure because it would enable the

       Tribe to accomplish its goals of economic self-sufficiency more

       easily.      Martorello    Decl. SI 51.         The   seller-financier          would    be

       Eventide      Credit     Acquisitions,          LLC     ("Eventide"),      a        company

       managed      and    majority-owned         by    multiple      entities        of     which

       Martorello was the president. Merger Resolution at 3; Eventide

       Operating      Agm't,     Sched.    A    (ECF     No.    91-11).    Eventide          would

       provide a $300 million loan to TED, which TED would then use to

       purchase Bellicose. Merger Resolution at 3. After this structure

       was set,      Martorello       continued    negotiating        with the    Tribe over

      the    next    several     months.       Martorello      Decl. St 52.      The       parties

       reached a final agreement on September 14, 2015, memorializing

      the terms of the deal in a loan agreement ("the Loan Agreement")

      and a promissory note ("the Note"). Merger Resolution at 7-9;

      see generally Loan Agreement (ECF No. 83-17); Note (ECF No. 83-

      11).   As     part   of   the    transaction,      the    LVD    Council    approved      a

      limited waiver of TED's and Big Picture's sovereign immunity in

                                                  18




                                                                                              JA215
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 21919
                                                             Page  of 462
                                                                      of 81 PageID# 4030




       connection with TED's repayment of the Eventide loan during its

       seven-year term. See Sept. 14, 2015 Immunity Waiver Resolution

       (ECF No. 34-3) at 2-8. On               January 26, 2016, the Tribe finally

       completed its purchase of Bellicose, including subsidiaries like

       SourcePoint, and acquired all of Bellicose's data, software, and

       corporate goodwill. Martorello Decl. I 53; Hazen Aff. 5 22.

              Under   the        Note,    revenues        from    Big        Picture's     lending

       business are       distributed monthly in              several steps.           First, Big

       Picture    makes      a    distribution       to   TED    of     Big    Picture's      gross

      revenues.       Note       § 1.2(a);      Martorello            Decl. SI 57.     TED      then

      distributes 2% of those gross revenues to the Tribe, until half

      of   the   total     loan       amount   has    been      paid,     at   which     time    the

      distribution           percentage         increases             from      2%       to      4%.

      Note § 1.2(b)(1).           The    parties     agreed      to    increase      the   monthly

      distribution from 2% to 3% in or around September 2016.® Note

      Addendum (ECF No. 91-18); Martorello Decl. SI 57. If TED defaults

      under the Loan Agreement, then the monthly distribution to the

      Tribe      reduces         to   zero.    Note § 1.2(b)(1);               see    also      Loan

      Agreement § 6.1 (describing events triggering default). Second,

      TED pays an additional 2% of gross revenues to the Tribe to be



       ® That agreement also indicated that the percentage distribution
       would increase from 3% to 6% when half the loan had been repaid.
       Note Addendum; Martorello Decl. SI 57.

                                                   19




                                                                                                JA216
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 220 20
                                                             Page   of 462
                                                                       of 81 PageID# 4031




       reinvested "in growing the loan portfolio."^® Note § 1.2(b)(2).

       That reinvestment amount must "stay in equity within [TED] or

       [Big    Picture]            conducting            lending"       until       the     Note     and    Loan

       Agreement        terminate.             As    with        the    first       distribution,           this

       payment       reduces        to     zero       if    TED        defaults.          Note § 1.2(b)(2).

       Third, TED and Big Picture must pay any interest and principal

       due to other creditors. Id. § 1.2(b)(3).

               Fourth,        an    amount          is    deducted       to     pay       "[o]rdinary        and

       necessary        business         expenses" incurred                in   connection           with    Big

       Picture's        lending       business,            including       payments         to     tribal    and

       non-tribal        vendors.              Id. § 1.2(b)(4);            Martorello              Decl. 1 57.

       Those      expenses may not exceed                    reasonable         rates for particular

       services,        and    TED       and    Big       Picture       have    a    fiduciary        duty   to

       Eventide to ensure that they do not "undermine the [p]arties'

       intent to maximize the cash flows directed to retire the Note as


       soon     as      possible."         Note § 1.2(b)(4).               Accordingly,             TED     must


          The initial reinvestment amount was $1.3 million, but the
       amount was reduced to 2% of gross revenues for each month
       thereafter. Note § 1.2(b)(2).

          The Note also identifies certain "[n]on-deductible expenses,"
       which are taken instead from the Tribe's 2% monthly distribution
       or   the    2%    reinvestment           amount       at    TED's      choice.       These    include:
       (1) any tax, fine, or licensing fee charged by the Tribe, except
       for certain regulatory fees or fines charged by the TFSRA; (2)
       any attorneys' fees award from a suit related to the Bellicose
       merger documents; or (3) any ordinary and necessary expenses
       that Eventide does not agree to pay and that, in the aggregate,
       exceed $25,000 per year. Note § 1.2(b)(5).
                                                            20




                                                                                                            JA217
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 221 21
                                                             Page   of 462
                                                                       of 81 PageID# 4032




       submit a monthly budget and expense report to Eventide, which

       Eventide uses to ensure that the expenses are reasonable and not

       inflated to deprive Eventide of payments it will receive under

       the   Note. Id. § 1.2(c);            Martorello       Decl. 1 59.       The      Note    allows

       expenses       based    on    a    "reasonable     expansion"          of    Big       Picture's

       lending    operations         in    light     of "industry        climate        and     norms."

       Note § 1.2(b)(4)(b). Nonetheless, Eventide must approve a budget

       for such expansion to ensure that TED's repayment of the loan is

       not   affected.        Id.    Martorello      claims    that      Eventide         has   "never


       unreasonably          withheld      its     consent    to    expenses,           nor     has   it

       objected to the reasonable expansion of the business—even when

       expansion      created       additional debt for            Big   Picture        which    meant

       smaller (or no) payments to Eventide." Martorello Decl. 1 60.

               Finally, TED pays to Eventide the "Net Cash Available"—that

       is. Big Picture's gross revenues minus all the distributions and

       deductions      above.       That    amount is     applied first to                any   unpaid

       principal,       and     then       to    unpaid      interest.             Note § 1.2.        As

       Martorello       explains,         because    Eventide      receives         payments      last

       under    the    Note's       distribution      structure,         it   is    possible      that

       Eventide       will    not   receive      a   principal     payment         in   some    months



         The Note carries a fixed interest rate of 1.8% per year. Note
       at 1, which Martorello claims is "significantly below the rate
       at which [the Tribe] could go into the marketplace and borrow
       funds," Martorello Decl. SI 64.
                                                     21




                                                                                                  JA218
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 222 22
                                                             Page   of 462
                                                                       of 81 PageID# 4033




       because TED has no net income from which to make a payment. This

       situation has occurred on at least five occasions. TED, on the

       other hand, has always received all of Big Picture's net income,

       and     is     guaranteed             to   receive       its       3%     distribution         and

       reinvestment amount every month. Martorello Decl. I 63.

              Each payment to Eventide under the waterfall structure is

       accompanied by a payment schedule. Note § 1.2(c). Based on these

       schedules,         and     other      financial      statements,          Martorello      states

       that    TED    has        consistently        paid   down     its   principal       under      the

       Note, such that the Tribe has been receiving an equity interest

       in     the    lending        support       services      that       it       acquired    through

       Bellicose.         He notes that, since the close                       of the    acquisition.

       Eventide's          Note     payments         have     amounted         to     $21,375,922.10,

       whereas the total economic consideration obtained by the Tribe

       under the          Note    has   been $28,184,007.69. Martorello                   Decl. SI 63;

       McFadden Aff. (ECF No. 106-17) SI 17. However, the exact basis of

       those figures is unclear. In fact. Plaintiffs cite two documents

       with    different          numbers than        those    provided         by   Martorello.      One

       indicates      that,        as   of    June    2017,    the    cumulative         repayment     to

       Eventide      was     $17,968,528.36,          and     the    cumulative        amount    to   TED

       was      $4,924,930.94             ($1,963,708.81             in        distributions,         and

       $2,961,222.13 in reinvestments). Pis. 0pp. (ECF No. 90) at 11,

       21-22.       The    second       shows     slightly      higher         numbers    than    those

                                                       22




                                                                                                      JA219
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 22323
                                                             Page   of of
                                                                       46281 PageID# 4034




       through December 2017. See id. Those figures are consistent with

       Big     Picture's       assertion         that,    by    September       2017,     TED     had

       distributed          approximately         $20.5   million       in    loan     payments    to

       Eventide and nearly $5 million to the Tribe ($3,035,374.90 in

       distributions, and $1,948,999.53 in reinvestments). Big Picture

       Suppl. Interrogatory Responses (ECF No. 102-3) SI 1. Martorello's

       calculations might include amounts not accounted for in those

       spreadsheets, such as the economic value of Bellicose's data or

       corporate goodwill, but that is hard to discern. In any event,

       the    Note    is    fixed    to    expire     seven     years    after its       execution

       date—thus, by September 14, 2022—at which time "the remaining

       balance is forgiven." Note § 1.3.

              The     Tribe    finished          restructuring     its       lending    businesses

       soon after the Bellicose purchase. TAG dissolved in late January

       2016    after    control      of    Bellicose      had    been    transferred       to    TED.


       Arts,    of     Dissolution        (ECF     No.    91-9).    Around      the     same    time.

       Bellicose's          assets        were     assigned      to      Ascension        and     its

       liabilities were assigned to Big Picture, and Bellicose ceased

       to exist. Shortly thereafter, on February 16, 2016, Big Picture

       engaged      Ascension       as    an   independent      contractor to          provide    Big

       Picture with the servicing support services that Ascension had

       carried       over    from    Bellicose.      Intratribal        Servicing       Agm't    (ECF

       No.    91-17) § 3.1;         see    also    McFadden     Feb.    24,    2015 Letter       (ECF

                                                     23




                                                                                                 JA220
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 22424
                                                             Page   of of
                                                                       46281 PageID# 4035




       No.     91-30)        (noting        that     all     Bellicose      VI     positions       and

       operations would be merged into Ascension).

              The       Intratribal         Servicing       Agreement     is     similar    to     the

       earlier Servicing Agreement between Red Rock and SourcePoint. In

       particular, the contract requires that Ascension "develop and

       recommend        to     [Big    Picture] . . . reasonable               measures     for    the

       orderly administration and management of [Big Picture] in the

       areas of financial reporting, financing, regulatory compliance,

       marketing, human resources, development of vendor relationships,

       collections and risk assessment," and then describes most of the

       same    day-to-day         operational        responsibilities            that    SourcePoint

       had.    Intratribal            Servicing      Agm't § 4.2.1;        see    also     Servicing

       Agm't § 4.2.1. Ascension also receives a monthly fee, which is

       the sum of the following: (1) "[m]anpower charges," which are

       Ascension's        salary       costs,      payroll    taxes,     and     other   employment

       expenses; (2) internal expenses, which are capped by Ascension's

       servicing        budget;       (3)    overhead      expenses, in        different     amounts

       based       on    whether       Big    Picture       is    the    beneficiary       of     such

       expenses;         and    (4)     a    bonus    plan       for    Ascension's       employees.

       Intratribal Servicing Agm't § 3.4.

               Big Picture, however, retains the same managerial authority

       as    Red    Rock.      To that end, the Intratribal Servicing Agreement

       specifically provides that "[t]he criteria used to extend funds

                                                       24




                                                                                                  JA221
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18 Pg: 22525
                                                              Page   of of
                                                                        46281 PageID# 4036




      to individual borrowers will remain within the sole and absolute

       discretion of [Big Picture] . . . and [Big Picture] . . . shall

       execute      all    necessary     loan     documentations."             Id. § 4.2.1(k;).

       Likewise, Ascension "has no authority to engage in origination

       activities, execute loan documentation, or approve the issuance

       of loans to consumers. Final determination as to whether to lend

       to a    consumer      rests    with [Big Picture] . . . ." Id. § 4.1. In

       addition,      even     though    McFadden        and    Simon     Liang           ("Liang"),

       Ascension's controller, were added as authorized signers for Big

       Picture's bank accounts, ECF No. 83-23, their authority is bound

       by deposit account control and lockbox agreements, Intratribal

       Servicing      Agm't §§ 4.4,      4.7.     The    only   real limitation              on    Big

       Picture's authority is the Loan Agreement, which prevents TED or

       Big    Picture      from      amending     or    terminating         the       Intratribal

       Servicing Agreement during the loan's seven-year term without

       Eventide's written consent. Loan Agm't § 5.12.

              On the same day that Big Picture contracted with Ascension,

       the LVD Council also authorized Red Rock to assign the majority

       of    its    consumer   loans    and     obligations      to     Big    Picture.          Hazen

       Aff. f 23; Feb. 16, 2016 Assignment Resolution (ECF No. 23-23)

       at    2-3;    see   generally    Assignment       Agm't    (ECF        No.    23-24).       All

       unassigned      loans    were    written    off    as    bad   debt,         and    Red     Rock

       subsequently        dissolved.     Hazen     Aff. 5 23;        Red      Rock        Arts.    of

                                                  25




                                                                                                  JA222
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 22626
                                                             Page   of of
                                                                       46281 PageID# 4037




       Dissolution       (ECF    No.     23-27);         Feb.   16,     2016     Dissolution

       Resolution (ECF No. 23-26). Hazen, as co-manager of Red Rock,

       gave the appropriate notice of dissolution to the TFSRA and to

       any party that might have claims against Red Rock. See ECF Nos.

       23-28, 23-29. Big Picture then sent a notice of assignment to

       all consumers whose loans it had received, instructing them that

       Big Picture would begin collecting their loan payments effective

       February 17, 2016. ECF No. 23-25.

              5. Current Management of Big Picture and Ascension

              TED now oversees both Big Picture and Ascension. All three

       entities       have    their    headquarters        on    the    Reservation.      TED

       Operating      Agm't    (ECF   No.    23-33) § 1.3;       Big    Picture    Operating

       Agm't (ECF No. 23-30) § 1.3; Ascension Operating Agm't (ECF No.

       23-18) § 1.3. Big Picture currently employs fifteen individuals

       on    the    Reservation.      Ascension     employs     thirty-one     individuals,

       most    of    whom     work    outside      the    Reservation     at     Ascension's


       satellite offices,        Hazen Aff. fSI 24-25,          which    appear to be in

       (at least) Atlanta, Mississippi, and Puerto Rico, Compl. fSl 50-

       53. Hazen and Williams, both LVD Council members, co-manage all

       three companies. Hazen Aff. ff 2, 15, 18-20; Williams Aff. (ECF

       No.    23-36) SISI 1,    11-13.      That   position     grants    them    the   broad

       authority to, in the case of Big Picture, "perform all actions

       as may be necessary or appropriate to carry out the business of

                                                   26




                                                                                        JA223
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: Filed
                              Document 146    12/06/2023
                                                    07/27/18 Pg:
                                                             Page227
                                                                   27ofof462
                                                                          81 PageID# 4038




       [Big Picture] including but not limited to the power to enter

       into contracts for services, to manage vendor relationships, to

       manage    personnel       issues     and   affairs    of    [Big   Picture]." Big

       Picture Operating Agm't § 5.1(a).^^ Where the managers' power is

       limited       by   the   operating    agreements,     the     ultimate      authority

       resides in the LVD Council. See id. § 5.2. Similarly, all three

       entities must submit quarterly reports to either the LVD Council

       (for TED) or TED (for Big Picture and Ascension). Id. § 5.8; TED

       Operating Agm't § 4.7; Ascension Operating Agm't § 5.8.

             Hazen has been Big Picture's CEO since December 2015. Hazen

       Aff. f 20. However, as for Ascension, Hazen and                     Williams have

       delegated to McFadden: (1) the "approval of Ascension strategic

       direction," which must be communicated at least quarterly to the

       co-managers; (2) "authority to              execute    documents       on   behalf   of

       Ascension"; (3) "authority to open and maintain bank accounts";

       (4) "authority to adopt, terminate, or change employee benefit

       plans    or    programs";    and    (5) "authority         regarding    all   matters

       necessary for . . . day to day management." Ascension Delegation

       of Authority Policy (ECF No. 91-13) § 1.4. McFadden must report

       regularly to Hazen and             Williams about the authority exercised


          Hazen and Williams are granted similarly broad management
       authority under    nearly identical provisions in    TED's and
       Ascension's    operating    agreements.   See    TED  Operating
       Agm't § 5.1(a); Ascension Operating Agm't § 5.1(a).

                                                  27




                                                                                      JA224
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 228 28
                                                             Page   of 462
                                                                       of 81 PageID# 4039




       under those provisions and any matters that might fall under

       their purview. Id. § 1.5. McFadden also must obtain co-manager

       approval        "for       changes          in         operations,        personnel,            and

       distributions." McFadden Aff. S[ 8.

               Martorello asserts that he has had limited contact with the

       Tribe    since      it    purchased        Bellicose          in    January    2016.       As    he

       states, he has never been involved in TED's operations, made any

       decisions on its behalf, provided any consulting services to it,

       or solicited any investors on its behalf. Likewise, he has never

       provided any consulting services to Big Picture or Ascension;

       suggested marketing strategies, underwriting criteria, or other

       policies       to   them;       accessed         any    of    their    software       systems,

       databases, bank accounts, or records; or hired or fired their

       employees.      Martorello           has   interacted         with    Hazen    and    Williams

       when    they    have      requested        Eventide's          permission      to    undertake

       expenses for Big Picture that exceeded budgeted expenses under

       the    Note, but Martorello never proposed that they incur those

       expenses,       nor      did    he    object      to        their    requests.      Martorello

       Decl. SIf   70-97;        see    also      McFadden         Aff. If 13-16.         Furthermore,

       says McFadden,           neither     Eventide         nor    Martorello      participates in

       Ascension's day-to-day operations, and Ascension does not seek

       Eventide's or Martorello's consent for those operations, except

       if    Ascension       needs     to   expand       its    budget.      Even    in    that   case,

                                                        28




                                                                                                   JA225
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP  Document Filed:
                                       146 12/06/2023
                                              Filed 07/27/18 Pg: 22929
                                                              Page   ofof462
                                                                          81 PageID# 4040




     explains McFadden, he would first obtain Hazen's or Williams'

     approval before contacting Eventide. McFadden Aff. fSI 10-12.

           Big    Picture    operates    in    some     ways   as   an   independent

     financial entity.         It maintains its operating account              with   a

     regional    bank,    where it funds           all its loans, receives        all

     consumer payments, pays all payroll and vendors, deposits all

     its investments, and makes distributions to TED and the Tribe.

     Big Picture relies on private investors to fund its lending

     operation, including the loans themselves. These investments are

     made through traditional loan agreements and promissory notes,

     under which Big Picture is responsible to each investor. Hazen

     Aff. ISl 26-27. The Tribe itself has invested over $7 million.

     Williams Aff. 1 8.


           Moreover,     Big    Picture's     lending     operation      has   yielded

     concrete financial benefits for the Tribe. Any profits that Big

     Picture earns are allocated to its sole member, TED, which in

     turn allocates those profits to the Tribe. Big Picture Operating

     Agm't § 6.1; TED Operation Agm't § 6.1.^^ If Big Picture's cash


       As with Red Rock, Plaintiffs allege that Big Picture does not
     ever handle the money loaned to or paid by consumers. See
     Compl. SISl 30-32, 36-37.

         Ascension  has an identical provision in its operating
     agreement. Ascension Operating Agm't § 6.1, but Ascension does
     not generate any profit that it could allocate.

                                              29




                                                                                 JA226
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 23030
                                                             Page  of 462
                                                                      of 81 PageID# 4041




       account         balance        exceeds       $500,    it       must     declare         an    immediate

       distribution             and    transfer       the       excess        to     TED.      Big        Picture

       Operating Agm't § 6.2. It is unclear if this always occurs, as

       e-mails from Liang to Martorello about repayment of Eventide's

       loan contain language indicating that Big Picture's cash balance

       was greater than $500, but that Big Picture "would like to keep

       [the       balance]       for     lead       acquisition         and    loan       origination          in

      future months." See, e.g., EOF No. 83-24 at MARTORELLO_000218.

       In    any       event,    beyond       the    profits         obtained       through         the    Note's

       revenue distributions, the Tribe also receives interest payments

      as     a    substantial          investor       in    Big      Picture.       Proceeds         from     Big

       Picture's         business       now     comprise        more    than       10%    of the          Tribe's

       general fund, and those                   profits could           possibly fund more than

       30%    of the          Tribe's    budget       over      the    next        few    years.      Williams

      Aff. n 9-10.


                 The    Tribe relies on             Big    Picture's funds for governmental

       programs         and     services.       Id. f 10.            Specifically,          Big      Picture's

       revenues          have     been     used       to,       in     whole       or     in    part:        meet

       requirements necessary to secure $14.1 million in financing for

      the        Tribe's      new     health        clinic;       refinance         casino      debt;       fund

       college scholarships and pay for educational costs for members

       such as student housing, books, school supplies and equipment;

       create          home      ownership          opportunities             for        members          through

                                                           30




                                                                                                            JA227
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed:Filed
                             Document 146     12/06/2023    Pg: 231
                                                   07/27/18 Page 31of
                                                                    of 462
                                                                       81 PageID# 4042




   tribally-purchased           homes;    subsidize     tribal        members'        home
   purchases and rentals; provide a bridge loan to complete the new
   tribal     health    clinic that offers         services      to    the     regional

   community; fund new vehicles for the Tribe's Police Department/
   fund an Ojibwe language program and other cultural programs;
   provide foster care payments for eligible children, propane
   purchase assistance, and assistance for family care outside of
   the community; cover burial and other funeral expenses for
   members' families; fund renovations and new office space for the

   Tribe's     Social        Services    Department;   fund    youth      activities;

   renovate a new space for the LVD Court and bring in telecom

   services for remote court proceedings; and fund tribal elder

   nutrition programs and tribal elder home care and transport

   services. Hazen Aff. SI 31.

         6. Big Picture's Lending Process

          As noted. Big Picture has its principal place of business

   on the Reservation, and its employees are all located there. The

    servers    for     Big    Picture's    websites    are   also     stored     on    the

    Reservation. And, because all loan applications are approved by

    Big Picture employees on the Reservation, all consumer loans are

    originated there. Id. SISI 28, 30(a).

          To obtain a loan from Big Picture, consumers must log onto

    the company's website and complete and submit an application.
                                             31




                                                                                      JA228
  USCA4
    CaseAppeal: 23-2097
         3:17-cv-00461-REPDoc: 11-1 146 Filed:
                           Document      Filed12/06/2023   Pg:32232
                                               07/27/18 Page        of 462
                                                                 of 81 PageID# 4043




Big Picture then conducts a review using a software-based
underwriting     process     and    either     accepts     or     denies
application.            5 30(a)-(b).    That     software         consolidates
consumer credit data from third-party service providers to
verify applicants' information and determine creditworthiness.
Big Picture Interrogatory Responses 5 24. An applicant receives
a notice of denial if the application is denied. Hazen
Aff. SI 30(d).

      Even if an application is accepted, the consumer must
complete several more steps before the loan is finalized. First,
the website prompts applicants to select their desired loan
amount, which may be as high as $5,000. Second, applicants must
select the term of the loan, and Big Picture in turn provides an
estimated      annual     percentage    rate     ("APR")        based   on     the
 underwriting     software's       determination     of     an      applicant's
 repayment ability. Third, applicants must review Big Picture's
 standard loan agreement, which includes the loan's APR and
 repayment schedule. Fourth, applicants must acknowledge their
 review of, and agree to, the loan agreement-including the
 choice-of-law, forum-selection, and jury trial waiver clauses-
 and Big Picture's privacy disclosures. Finally, applicants must
 select their payment method. Id. i 30(c)(l)-(6).


                                       32




                                                                             JA229
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP  DocumentFiled:
                                         146 12/06/2023
                                              Filed 07/27/18Pg:Page
                                                                233 33
                                                                    of 462
                                                                       of 81 PageID# 4044




            once a consumer signs the loan agreement, the contract goes
      to Big Picture for its employees' review. Employees on the
       Reservation perform a final verification of the applicant
       information in the loan agreement and other details. If there
       are no issues, the reviewing employee manually enters the date
       of disbursal of funds, which authorizes electronic approval of
       the agreement. This action also causes the loan to be originated
       and triggers the transmission of instructions for the particular
       application to a third-party payment processor, which then
       disburses the funds to the consumer.              5 30(c)(7)-(8).
              7. Tribe's Lending Activities in Virginia
             The parties have not provided evidence regarding Red Rock's
        or Big Picture's lending activities in Virginia specifically.
        However, the Complaint alleges that Martorello and Gravel
        intentionally chose Virginia as a place where Red Rock and Big
        Picture would offer loans and collect payments, and they
        proceeded with this plan notwithstanding their knowledge that
        the loans would be illegal under Virginia's usury laws. Certain
        defendants then began marketing, initiating, and collecting
        loans in Virginia. Consumers were required to electronically
        sign the form loan agreement described above. Under the terms of
         that contract, the loans were subject to an APR that was much
         higher than 12%. However, neither the Tribe nor any of the
                                               33




                                                                                  JA230
USCA4 Appeal:
    Case      23-2097   Doc:Document
         3:17-cv-00461-REP  11-1      Filed:
                                     146     12/06/2023
                                          Filed           Pg: 234
                                                07/27/18 Page     of 81
                                                               34 of 462PageID# 4045




 defendants had a consumer finance license permitting them to
 charge interest at such a high rate, and they never attempted to
 obtain such a license. Compl. M 54-57, 60.

       Lula Williams, Gloria Turnage ("Turnage"), George Hengle
 ("Hengle"), Dowin Coffy ("Coffy"), and Felix Gillison, Jr.
 ("Gillison"; with Lula Williams, Turnage, Hengle, and Coffy,
 collectively, "Plaintiffs") all entered into loans with Big
 Picture, and their loan agreements with Big Picture specified
 that interest would be charged at greater than 12% APR. Lula
  Williams' loan was subject to an APR of 649.8%; Turnage's loan
  was subject to an APR of 693.2%; Hengle's and Coffy's loans were
  subject to an APR of 607.5%; and Gillison's loan was subject to
  an APR of 627.2%. Based on those rates. Plaintiffs paid various

  amounts to Big Picture, most of which were credited as payment

  for interest or other loan-related fees. Id. If 58-59, 62-65.

        The    loan     agreements       also      contained     the      following
  provisions:


              GOVERNING      LAW   AND     FORUM   SELECTION:     This
              Agreement will be governed by the laws of
              the Lac Vieux        Desert Band of Lake         Superior
              Chippewa      Indians   ("Tribal law"), including
              but     not   limited   to    the    [Tribal     Consumer
              Financial Services Regulatory] Code as well
              as applicable federal law. All disputes
              shall be solely and exclusively resolved
              pursuant to the Tribal Dispute Resolution
              Procedure set forth in Section 9 of the Code


                                           34




                                                                              JA231
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed:Filed
                              Document 146   12/06/2023
                                                   07/27/18 Pg:
                                                            Page235
                                                                  35ofof462
                                                                         81 PageID# 4046




                and       summarized          below            for          your
                convenience. . . .


                TRIBAL  DISPUTE RESOLUTION PROCEDURE: The
                Tribe  has   established a Tribal  Dispute
                Resolution Procedure (the "Procedure") to
                review and consider any and all types of
                complaints made by You or on Your behalf
                relating to or arising from this Agreement.
                The Procedure is found at Section 9 of the
                Code.  You   can  find  the   Code  at  [Big
                Picture's] website, . . . or You may request
                a      physical     copy      by        written       request
                mailed . . . to         the         Tribal           Financial
                Services Regulatory Authority, P.O. Box 249,
                Watersmeet, Michigan 49969. The Tribe and
                [Big Picture] intend and require, to the
                extent    permitted    by     Tribal         law,    that    any
                complaint   lodged,  filed,   or   otherwise
                submitted by you or on your behalf to follow
                the     Procedure.     Under        the       Procedure,       a
                 consumer who, in the course of his otherwise
                 lawful and proper use of [Big Picture]'s
                 business   believes       himself      to    be    harmed    by
                 some aspect of the operation of any part of
                 [Big Picture]'s business, shall direct his
                 concerns or dispute to [Big Picture] in
                 writing.  A   person's  complaint  to  [Big
                 Picture] shall be considered similar in
                 nature to a petition for redress submitted
                 to a sovereign government, without waiver of
                 sovereign     immunity     and      exclusive
                 jurisdiction,  and   does  not   create   any
                 binding procedural or substantive rights for
                 a petitioner. [Big Picture] will investigate
                 the    complaint     and     respond         as     soon     as
                 reasonably practicable, but no later than
                 thirty (30) days from the receipt of the
                 complaint. In the event that the consumer is
                 dissatisfied      with     [Big     Picture]'s
                 determination,    he   may   initiate    Formal
                 Dispute    Resolution    by    requesting    an
                 administrative      review        of     [Big      Picture]'s
                 determination by submitting such request in
                 writing to the Tribal Financial Services

                                             35




                                                                                   JA232
USCA4Case
      Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP             Filed:Filed
                              Document 146     12/06/2023    Pg: 236
                                                    07/27/18 Page 36 of
                                                                     of 462
                                                                        81 PageID# 4047




               Regulatory Authority ("Authority"), P.O. Box
               249, Watersmeet, MI 49969, no later than
               ninety     (90)    days    after    receiving      [Big
               Picture]'s determination.

   EOF No. 1-1 at 4-5; see also Compl. fSI 70-71. These are the

   choice-of-law and forum-selection provisions referenced above.

    B.   Procedural Background

         On    June 22, 2017, Plaintiffs brought suit against Big

   Picture, Ascension, Martorello, Williams, Gertrude McGeshick,
   Susan McGeshick, Giiwegiizhigookway Martin,^® and Gravel. They
   asserted five class claims:

         (1)    COUNT     ONE,    Declaratory       Judgment,      against     all
                defendants, stating that the choice-of-law and forum-

                selection provisions in all loan agreements made by

                Big Picture or Red Rock to Virginia residents are void
                and unenforceable;


         (2)    COUNT TWO, Violations of the Racketeer Influenced and

                Corrupt           Organizations            Act           ("RICO"),

                18 U.S.C. § 1962(c), against all defendants;




      Williams, the McGeshicks, and Martin (collectively, "the LVD
   Officers") are all members of the LVD Council: Williams is the
   Chairman, Gertrude McGeshick is the Secretary, Susan McGeshick
   is    the     Treasurer,      and     Martin   is    the      Vice-Chairwoman.
   Compl. ISl 17-20.

                                           36




                                                                             JA233
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 23737
                                                             Page  of 462
                                                                      of 81 PageID# 4048




              (3)     COUNT THREE, Violations of RICO, 18 U.S.C. § 1962(d),

                      against all defendants;

              (4)     COUNT FOUR, Violations of Virginia Usury Laws, against

                      Big Picture, Martorello, Ascension, and Gravel; and

              (5)     COUNT    FIVE,      Unjust   Enrichment,       against    Big    Picture,

                      Martorello, Ascension, and Gravel.

       Compl. fSI 84-139.

              After     some     defendants        indicated      that   they       would    seek

       dismissal of the Complaint on the basis of, among other grounds,

       lack of subject matter jurisdiction and personal jurisdiction,

       the     Court    ordered        the     parties       to   conduct      jurisdictional

       discovery. ECF No. 17.              Following discovery disputes, the Court

       ordered      Defendants       to      produce      some    documents    that     it    had

       previously withheld as privileged. ECF No. 49. That same day,

       the    Court    granted       Plaintiffs'       and    Gravel's      joint    motion    to

       dismiss Gravel from the action without prejudice. ECF Nos. 46,

       50. The Court later granted the LVD Officers' motion to dismiss

       the claims against them on Rule 12(b)(6) grounds, and Plaintiffs

       chose    not    to     file   an    Amended     Complaint.     ECF    Nos.     117,   122.




          For Counts Two and Three, Plaintiffs seek injunctive relief
       only as to the LVD Officers, and both damages and injunctive
       relief as to Big Picture, Ascension, and Martorello. Compl. SI 95
       n.8.


                                                     37




                                                                                             JA234
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP  DocumentFiled:
                                      146 12/06/2023
                                             Filed 07/27/18 Pg: 23838
                                                             Page   ofof
                                                                      46281 PageID# 4049




     Accordingly, Big Picture and Ascension are the only remaining

     defendants besides Martorello.

                                         DISCUSSION


       I.   Legal Standard

            Fed.   R.    Civ.   P.   12(b)(1)      tests   whether     the    court    has

     subject matter jurisdiction to resolve the claims before it.^®
     Sovereign          immunity     issues        are      generally         considered

     jurisdictional in nature and, as a result, are appropriately

     resolved in the context of a             Rule 12(b)(1) motion. See United

     States V. Jones, 225 F.3d 468, 469 (4th Cir. 2000) ("Sovereign

     immunity deprives a court of jurisdiction."); Best Med. Belgium,

     Inc. V. Kingdom of Belgium, 913 F. Supp. 2d 230, 236 (E.D. Va.

     2012)    ("Subject     matter     jurisdiction      encompasses    the    scope    of

     sovereign immunity."). When a defendant seeks dismissal under

     Rule 12(b)(1), the plaintiff bears the burden of proving subject

     matter jurisdiction. Richmond, Fredericksburg & Potomac R. Co.

     V. United States, 945 F.2d 765, 768 (4th Cir. 1991); see also

     Lucas V. Henrico Cty. School Bd., 822 F. Supp. 2d 589, 599 (E.D.

     Va.     2011).     Nonetheless,    as    explained     below,     there    is    some


        Big Picture and Ascension also assert that the Court lacks
     personal jurisdiction over them, but they spend little time
     arguing this point given the Fourth Circuit's broad reading of
     RICO's nationwide service of process provision. See ESAB Grp.,
     Inc. V. Centricut, Inc., 126 F.3d 617, 627 (4th Cir. 1997).
     Thus, the Court will not address any personal jurisdiction
     issues in this opinion.
                                              38




                                                                                      JA235
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 23939
                                                             Page  of 462
                                                                      of 81 PageID# 4050




      disagreement       here    about     which        party    bears    the     burden   with

      respect to tribal sovereign immunity.

             Two types of Rule 12(b)(1) motions exist:

                   First, a       12(b)(1) motion may attack                    the
                   complaint      on its face, asserting that                   the
                   complaint fails to state a claim upon which
                   subject matter jurisdiction can lie. In such
                   a challenge, a court assumes the truth of
                   the facts alleged by plaintiff, thereby
                   functionally affording the plaintiff the
                   same procedural protection he or she would
                   receive under Rule 12(b)(6) consideration.

                   However,     a     12(b)(1)   motion    may
                   also . . . challenge    the  existence   of
                   subject matter jurisdiction in fact, apart
                   from the pleadings. In such a challenge, no
                   presumptive truthfulness attaches to the
                   plaintiff's allegations, and the existence
                   of disputed material facts will not preclude
                   the trial court from evaluating for                     itself
                   the merits of jurisdictional claims.

      Lucas,    822    F.    Supp.   2d   at   599      (internal      citations      omitted).

       Moreover,   in the       latter    situation—including            where,    as   here,   a

       defendant      asserts    sovereign      immunity—the          court "may        consider

      evidence outside the pleadings without converting the proceeding

       to one for summary judgment." White Tail Park, Inc. v. Stroube,

       413 F.3d 451, 459 (4th Cir. 2005) (internal quotations omitted);

       see also Blitz v. Napolitano, 700 F.3d 733, 736 n.3 (4th Cir.

       2012)   ("[On]    a    Rule   12(b)(1)      motion       to   dismiss,   the     district

       court may regard the pleadings as mere evidence on the issue and

       may   consider       evidence     outside     the    pleadings . . . ."           (second

                                                   39




                                                                                           JA236
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 240 40
                                                             Page   of 462
                                                                       of 81 PageID# 4051




       alteration       in   original)         (internal        quotations      omitted)).        The

       court     then     must     "weigh[]       the       evidence       to   determine         its

       jurisdiction." Adams             v.   Bain,    697    F.2d       1213,   1219     (4th   Cir.

       1982).

        II. Tribal Sovereign Immunity

                 A. Legal Standard

                      1. In General


               Federally-recognized Indian tribes are "separate sovereigns

       pre-existing the Constitution" that, "unless and until Congress

       acts, . . . retain their historic sovereign authority." Michigan

       V. Bay Mills Indian Cmty., 572 U.S.                        , 134 S. Ct. 2024, 2030

       (2014) (internal quotations omitted). "Among the core aspects of

       sovereignty that tribes possess . . . is the common-law immunity

       from    suit     traditionally        enjoyed       by    sovereign      powers,"        which

       shields        tribes       from         liability         "absent          congressional

       authorization (or a waiver)." Id. at 2030-31 (citing Kiowa Tribe

       of Okla. V. Mfg. Techs., Inc., 523 U.S. 751, 756 (1998)). The

       Supreme    Court      has   on    multiple         occasions      refused    to    "confine

       [tribal] immunity . . . to              transactions         on   reservations       and   to

       governmental      activities." Kiowa,              523    U.S.    at   754-55;     see   also

       Bay Mills Indian Cmty., 134 S. Ct. at 2036 (declining to revisit

       Kiowa    and     recognize       "any    exceptions        for     commercial      or    off-

       reservation      conduct").       Thus,    even      though       this   broad     scope    of

                                                     40




                                                                                                JA237
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 24141
                                                             Page  of 462
                                                                      of 81 PageID# 4052




       immunity      may    have    "unfortunate             consequences," it            is "settled

       law." Everette        v.     Mitchem,         14 6    F.    Supp.    3d    720, 723 (D.        Md.

       2015)    (citing      Bay        Mills    Indian           Cmty.,    134     S, Ct.      at   2052

       (Thomas, J., dissenting) ("In the wake of Kiowa, tribal immunity

       has    also   been    exploited          in    new     areas       that   are    often    heavily

       regulated     by     States.       For    instance,          payday       lenders . . . often

       arrange to share fees or profits with tribes so they can use

       tribal     immunity         as    a    shield         for     conduct       of     questionable

       legality.")); see           also      Kiowa,         523    U.S.    at    756    (acknowledging

       that    tribal      immunity      is     "settled          law," even       if "[t]here        are

       reasons to doubt the wisdom of perpetuating the doctrine").^®

              Consistent with the idea that "an arm or instrumentality of

       the State generally enjoys the same immunity as the sovereign

      itself," Lewis v. Clarke, 581 U.S.                              , 137 S. Ct. 1285, 1290

       (2017), courts in other circuits have universally held that "an



         The Supreme Court has not addressed whether, under Kiowa,
      "immunity should apply in the ordinary way if a tort victim, or
      other plaintiff who has not chosen to deal with a tribe, has no
      alternative way to obtain relief for off-reservation commercial
       conduct." Bay Mills Indian Cmty., 134 S. Ct. at 2036 n.8; see
       also Kiowa, 523 U.S. at 758 ("[IJmmunity can harm those who are
       unaware that they are dealing with a tribe, who do not know of
       tribal immunity, or who have no choice in the matter, as in the
       case of tort victims."). However, Plaintiffs willingly chose to
       contract with Big Picture when obtaining their loans, and Big
       Picture's association with the Tribe (and possible protection by
       sovereign immunity) was obvious from the face of Big Picture's
       loan agreements, so none of those hypothetical situations
       present themselves here.
                                                        41




                                                                                                     JA238
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 242 42
                                                             Page   of 462
                                                                       of 81 PageID# 4053




       entity that functions as an arm of a tribe shares in the tribe's

       immunity," Alabama v. PCI Gaming Auth., 801 F.3d 1278, 1287-88

       (11th      Cir.    2015);   see   also     White     v.   Univ.   of    Cal.,       765   F.3d

       1010,      1025    (9th   Cir.    2014);     Breakthrough     Mgmt.         Grp.,    Inc.    v.

       Chukchansi Gold Casino & Resort, 629 F.3d 1173, 1183 (10th Cir.

       2010);      Ninigret      Dev.    Corp.      v.    Narragansett    Indian           Wetuomuck

       Hous. Auth., 207 F.3d 21, 29 (1st Cir. 2000); Hagen v. Sisseton-

       Wahpeton Cmty. Coll., 205 F.3d 1040, 1043 (8th Cir. 2000); In re

       IntraMTA Switched Access               Charges Litig., 158         F. Supp.          3d   571,

       575 (N.D. Tex. 2015). Although the Fourth Circuit has implicitly

       approved of this conclusion, it has never affirmatively adopted

       it. See United States v. Ely, 510 F.3d 453, 465 (4th Cir. 2007)

       (Motz, J., concurring); Aleman v. Chugach Support Servs., Inc.,

       485 F.3d 206, 213 (4th Cir. 2007). Nonetheless, several courts

       in   the    Fourth    Circuit      have    taken    the   consensus         approach.       See

       Howard v. Plain Green, LLC, No. 2:17CV302, 2017 WL 3669565, at

       *3 (E.D. Va. Aug. 7, 2017), report and recommendation adopted,

       2017 WL 3669096 (E.D. Va. Aug. 24, 2017); Everette, 146 F. Supp.

       3d   at     723;    Madewell      v.    Harrah's      Cherokee     Smokey           Mountains

       Casino,     No.    2:10CV8,      2010   WL    2574079,     at *3 (W.D.N.C.            May    3,

       2010), report and           recommendation         adopted, 730        F.    Supp. 2d       485

       (W.D.N.C. 2010).




                                                     42




                                                                                                 JA239
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP  DocumentFiled:
                                      146 12/06/2023
                                             Filed 07/27/18 Pg: 24343
                                                             Page   ofof
                                                                       462
                                                                         81 PageID# 4054




              The parties do not dispute that Big Picture and Ascension

      would be immune from suit if they qualify as arms of the Tribe,

      so the sole question here is whether they do so. Federal and

      state courts have employed several tests to determine if an

      entity is an arm of a tribe, but the most common was laid out in

      Breakthrough. See 629 F.3d at 1187-88 & n.lO; Howard, 2017 WL

      3669565, at *3 ("Federal courts have not settled on a uniform

      test,     but     the     Tenth    Circuit's       analysis    is     the    most

      comprehensive . . .               Under that framework, courts consider

      six   factors to     decide if the          relationship   between tribes      and

      entities     is   close       enough   to    justify   immunity:      "(1)   [the

      entities']      method   of    creation;     (2)   their   purpose;   (3)    their

      structure, ownership, and management, including the amount of

      control the tribe has over the entities; (4) whether the tribe

      intended for the entities to have tribal sovereign immunity; (5)

      the financial relationship between the tribe and the entities;

      and (6) whether the purposes of tribal sovereign immunity are

      served by granting immunity to the entities."^® Breakthrough


      20
           The court did "not conclude[] that those factors constitute an
      exhaustive listing or that they will provide a sufficient
      foundation in every instance for addressing the tribal-immunity
       question." Breakthrough Mgmt., 629 F". 3d at 1187 n.lO (emphasis
      in original). However, the parties do not suggest that the Court
      should rely on any factors other than those listed, so this
       limitation is not meaningful here.

                                              43




                                                                                   JA240
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP  DocumentFiled:
                                      146 12/06/2023
                                             Filed 07/27/18 Pg: 24444
                                                             Page   ofof
                                                                       462
                                                                         81 PageID# 4055




       Mgmt.,    629    F.3d   at     1183,       1187-88.       Courts          should        apply    these

       factors    only to      the    entity claiming                tribal immunity,                 but    the

       entity's       "prior   operations          under       [different]              names    may        shed

       light     on   the   inquiry." People              ex    rel.           Owen    v.     Miami    Nation

       Enters., 386 P.3d 357, 376 (Gal. 2016).^^ The central question

      "*is      not    whether       the    activity           may        be    characterized           as     a

       business,       which   is     irrelevant          under       Kiowa,          but     whether        the

       entity acts as an arm of the tribe so that its activities are

       properly deemed to be those of the tribe.'" In re IntraMTA, 158

       F. Supp. 3d at 576 (quoting Allen v. Gold Country Casino, 464

       F.3d    1044,    1046     (9th      Cir.     2006)).          In    resolving          that     issue,

       courts    should "take[]            into    account      both           formal    and    functional

       considerations—in            other         words,        not        only         the     legal        or

       organizational       relationship           between       the       tribe       and     the    entity.


           Big    Picture      and    Ascension           criticize             Plaintiffs'          frequent
       citations       to   Miami       Nation       on     the       basis           that     the     case's
       discussion of tribal immunity tried to align Breakthrough with
       California law, not federal law. But tribal immunity is a
       common-law immunity that operates the same way in state and
       federal court, so the location of the underlying lawsuit in
       Miami Nation does not make that case any less helpful here.
       Indeed, Breakthrough itself relied heavily on cases from state
       courts, including California courts. See 629 F.3d at 1187-88.
       Moreover,      the   Tenth     Circuit,       which       authored             Breakthrough,          has
       agreed with Miami Nation's more practical view of tribal
       immunity (albeit to require more jurisdictional discovery, and
       not to decide the ultimate immunity question). See Finn v. Great
       Plains Lending, LLC, 689 F. App'x 608, 611 (10th Cir. 2017).
       Thus, Miami Nation can help explain the Breakthrough factors
       even if the tests in those cases are different.


                                                     44




                                                                                                        JA241
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 245 45
                                                             Page   of 462
                                                                       of 81 PageID# 4056




       but also the practical operation of the entity in                                     relation to

       the   tribe." Miami           Nation^   386       P.3d    at    365. "These            functional

       considerations         illuminate       the    degree          to    which       imposition       of

       liability on the             entity would      practically impair tribal self-

       governance." Id. at 371.

                     2. Burden of Proof


                 Before turning to the merits of the jurisdictional dispute,

       the   Court       must first address          which       party bears            the    burden    of

       proof as to a tribal arm's entitlement to sovereign immunity.

       Big Picture and Ascension contend that this question is easily

       answered because, in the Fourth Circuit, a plaintiff responding

       to    a    Rule     12(b)(1)       motion     must       prove       that    subject       matter

       jurisdiction exists. Richmond, Fredericksburg & Potomac R. Co.,

       945   F.2d     at   768.     However,      this    cursory          assertion         ignores    the

       complexity        of   the    jurisdictional         issues          raised       by    sovereign

       immunity. It is well-settled that the plaintiff bears the burden

       of    showing       subject        matter     jurisdiction,             and       that     tribal

       immunity—like          any    sovereign       immunity—"Meprives                  a     court     of

       jurisdiction'" over a defendant. Everette, 146 F. Supp. 3d                                        at

       723 (quoting        Jones, 225 F.3d at 469). But those statements do

       not   necessarily          imply    that    tribal        immunity          is    a    matter     of

       subject matter jurisdiction in the traditional sense—like, for

       instance, diversity of citizenship—or, instead, a factual issue

                                                     45




                                                                                                       JA242
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 246 46
                                                            Page   of 462
                                                                      of 81 PageID# 4057




       with    jurisdictional implications.               In fact, "the jurisdictional

       nature of tribal immunity has never been definitively settled,"

       and     has     sometimes      been     discussed          in     terms     of      personal

       jurisdiction, at least in California courts. Miami Nation, 386

       P.3d     at     370.   Federal        courts      have     also        reached    differing

       conclusions on the point. Compare Miner Elec., Inc. v. Muscoqee

       (Creek)       Nation, 505     F.3d    1007,     1009 (10th        Cir.    2007)    ("Tribal

       sovereign        immunity        is      a        matter        of      subject      matter

       jurisdiction . . . .") with In re Prairie Island Dakota Sioux,

       21     F.3d    302,    305    (8th    Cir.     1994)       (tribal       immunity    "is   a

       jurisdictional         consideration           separate         from     subject     matter

       jurisdiction"). This categorization is important: pure subject

      matter jurisdictional issues, unlike tribal immunity, cannot be

       waived, and must be raised sua sponte by a court if it might

      lack the ability to hear a case. See Miami Nation, 386 P.3d at

       370. Given these contrasts, it is possible that the burden for

      tribal immunity issues should be allocated differently than the

      burden for subject matter jurisdictional issues.

              Moreover, even assuming that tribal immunity is a question

      of subject matter jurisdiction, that should not necessarily put

      the burden on Plaintiffs to prove that Big Picture and Ascension

      are     not    entitled   to    sovereign       immunity.        Such     placement    would

      effectively assume the            truth       of Big      Picture's       and Ascension's

                                                    46




                                                                                              JA243
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 247 47
                                                             Page   of 462
                                                                       of 81 PageID# 4058




       assertion that they should be immune from suit in the same way

       as the Tribe itself. "Arm-of-the-tribe cases, however, require

       the    court        to   decide      an    antecedent        question:         whether    [the

       entities] can claim sovereign immunity in the first instance."

       Id. (alteration in original) (internal quotations omitted). Big

       Picture       and    Ascension       may    be    right      that      Plaintiffs,       having

       received       extensive       information        from      jurisdictional         discovery,

       can    prove    that     Big   Picture      and      Ascension      are     not   entitled    to

       tribal immunity just as easily as those entities can prove that

       they are entitled to it. At the same time, even if the parties

       can access the same evidence, one side must present it in a way

      that     convinces        the   Court      to    make    a   particular        decision,      and

      there     is    no    reason     that      Big    Picture    and     Ascension      should     be

      freed from having to do so before the Court finds that they are

       entitled to tribal immunity. Stated differently, it would be odd

      to     treat    Big   Picture        and Ascension        as immune          entities   without

      making them show it first. See id. at 371 ("An entity that is

      formally distinct from the tribe will be immune from suit only

      insofar as it benefits from the tribe's own immunity. . . . But

       until the entity has proven it should be treated as an extension

      of     the     tribe,     it    is    no    more      entitled     to    a    presumption     of

      immunity than any other party.").



                                                       47




                                                                                                  JA244
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 248 48
                                                             Page   of 462
                                                                       of 81 PageID# 4059




              With   these    considerations       in       mind,       most     courts      have

       concluded that an entity seeking tribal immunity must show by a

       preponderance     of    the   evidence     that      it    is    entitled       to    that

       immunity, either as an arm of the tribe or as the tribe itself.

       See Gristede^s Foods, Inc. v. Unkechuage Nation, 660 F. Supp. 2d

       442, 465 (E.D.N.Y. 2009); City of N.Y. v. Golden                         Feather Smoke

       Shop, Inc., No. 08-CV-3966, 2009 WL 705815, at *4 (E.D.N.Y. Mar.

       16, 2009); Miami Nation, 386 P.3d at 371. But see Cash Advance &

       Preferred Cash Loans v. State, 242 P.3d 1099, 1113 (Colo. 2010)

       (requiring plaintiff to prove by a preponderance of the evidence

       that tribal entities are not entitled to immunity because tribal

       immunity "bears a substantial enough likeness to subject matter

       jurisdiction to be treated as such for procedural purposes").

       Besides the     practical aspects noted           above, those           courts found

       considerable support in cases involving arms of the state, in

       which courts have held that the governmental entity invoking the

       Eleventh Amendment must show that it qualifies as an arm of the

       state.   See,   e.g.. Golden     Feather,       2009      WL    705815,    at   *4;       see

       also U.S. ex rel. Oberg v. Pa. Higher Educ. Assistance Agency,

       745 F.3d 131, 147 (4th Cir. 2014) (Traxler, C.J., concurring in

       judgment in part and dissenting in part) ("[T]he circuits that

       have   considered     similar   assertions      of   arm-of-state         status      have


       uniformly     concluded   that   it   is   an     affirmative           defense      to    be

                                             48




                                                                                             JA245
USCA4
  CaseAppeal: 23-2097
       3:17-cv-00461-REPDoc: 11-1 146 Filed:
                         Document      Filed12/06/2023   Pg:
                                             07/27/18 Page 49249 of 462
                                                              of 81 PageID# 4060

        raised and established by the entity claim'
                        --use u.e a™.e.-u,e-.u..e Z/l^                           "
               —3 a. .uec^ouen. .eu.ee..
       immunity context      .>   ■                                     sovereign
                                  IS Illogical to place th^ k
       different parties
                 parties in
                         m eachu situation.              P ce the burden on
             The problem here i. .-u
                                       that the     Fourth     r-i
      addressed which party bears the burden on the arm of t-h
      ^--icn.                 clal„        tUe rourt, C'

      d.eu3e.» p. 0°PP- •at■ 17
                             • (geotlng oberg, 745 F 7b .
      (Traxler, C.J    nr.    ■
                         ncurring in judgment in part and dis
   P--'. -t eouteutlou.pi..,                         ^                       ^
   is from Chief Judge Traxler's o' • ' ^
                        raxler s opinion concurrina in fho • ^
   and dissenting, which i,                              indgment
   ho"ever, did
             . acknowledge that precedent. The majority m Oberg,
                                "arm-of-the-state
         tare an aff
   constitute    affirmative defense            in ev,                    "®"
  a      ,                                                 related    Eleventh

  stlttr                                           -Via. on that brief
  entity a'sserting sovereign immunity bearsconcluded that the
                                               the burden   of
  demonstrating^ that it
                      -Lc is
                          IS ^n = of the
                             an arm                      n i
  p.                                                     Pole V. Pa.
                                  13 P. supp. 3d 518, 522 ,P.o. Va.
 2014); se^^ ^g£^-21^^a£Mell_Ct^ch. p.t. »o.
 1:16-CV-01627-JMC, 2017 «L 114874I, at M ,0.3.0. Mar. 28,


                                                                     JA246
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 250 50
                                                             Page   of 462
                                                                       of 81 PageID# 4061




       2017). Accordingly, the                arm-of-the-state           framework         is    just    as

       influential here in determining which side has the burden in the

       arm-of-the-tribe inquiry as it                  was in      Miami Nation              and   Golden

       Feather.        As   a     result,    the    Court     will      join     those       courts      in

       concluding that the entities claiming tribal sovereign immunity—

       here. Big Picture and Ascension—bear the burden of establishing

       by    a    preponderance        of the      evidence      that they         are    entitled       to

       that immunity as arms of the tribe.

                   B. Application of Breakthrough Factors

                 Reviewing      the   six   Breakthrough         factors      in    the      context     of

       the parties' jurisdictional discovery, the Court concludes that

       Big       Picture    and    Ascension    have    not met their              burden       of proof

       and, therefore, are not entitled to sovereign immunity.

                       1. Method of Creation


                 The   first      factor    "focuse[s]      on    the     law      under     which      the

       entity was formed. Formation under tribal law weighs in favor of

       immunity,       whereas        formation     under    state      law     has    been      held   to

       weigh against immunity." Miami Nation, 386 P.3d at 372 (internal

       citations omitted). Consistent with that statement, courts have

       found       that     this      factor      supports       sovereign         immunity         where

       entities'       formation        documents     showed      that    they        were      organized

       under and operated pursuant to tribal law. See White, 765 F.3d

       at    1025;     Breakthrough         Mgmt., 629      F.3d     at   1191-92;         Allen,       464

                                                     50




                                                                                                     JA247
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 251 51
                                                             Page   of 462
                                                                       of 81 PageID# 4062




       F.3d at 1046; Howard, 2017 WL 3669565, at *3; Everette, 146 F.

       Supp. 3d at 724; In re IntraMTA, 158 F. Supp. 3d at 576; Miami

       Nation, 386 P. 3d at 376. In contrast, this factor has weighed

       against sovereign immunity where it was clear that the purported

       tribal entities were incorporated under state law. See Somerlott

       V. Cherokee Nation Distributors, Inc., 686 F.3d 1144, 1149 (10th

       Cir.   2012);     J.L.    Ward   Assocs.,      Inc.   v.   Great    Plains        Tribal

       Chairmen^s Health Bd., 842 F. Supp. 2d 1163, 1176 (D.S.D. 2012).

              Applying that rationale here, this factor weighs in favor

      of    immunity.     Big    Picture    and     Ascension     were    both     organized

      through     resolutions      by    the   LVD     Council,     which        was    itself

      exercising the power given to it by the LVD Constitution, and

      the     entities     operated        pursuant     to    the    Tribe's           Business

      Ordinance. See Aug. 26, 2014 Resolution at 1-2 (Big Picture);

      Big Picture Arts, of Organization at 1; Feb. 5, 2015 Ascension

      Resolution at 1-2; Ascension Arts, of Organization at 1. The

      same is true of Red Rock, the loans of which were assigned to

      Big     Picture    after    TED    acquired      Bellicose.        Sept.    14,     2011

      Resolution at 1; Red Rock Arts, of Organization at 1. As in the

      cases noted above, these tribal formation documents justify Big

      Picture's and Ascension's claims to sovereign immunity.

              Plaintiffs contend that looking only to the documents under

      which Big Picture and Ascension were organized fails to account
                                               51




                                                                                           JA248
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 252 52
                                                             Page   of 462
                                                                       of 81 PageID# 4063




       for other circumstances surrounding their formation—namely, the

       cease-and-desist         letter     issued      to    Red     Rock     by     the    New    York

       Department     of       Financial       Services,       the     "mounting            pressure"

       against rent-a-tribe schemes, and Hazen's inability to explain

       who decided to create Big Picture. Pis. 0pp. at 18. It is true

       that "[t]he       circumstances         under       which   the      entity's        formation

       occurred,     including         whether       the     tribe    initiated            or   simply

       absorbed an operational commercial enterprise," may be relevant

      to   this    factor.      Miami    Nation,       386    P.3d    at      372.    Here,       it    is

       telling    that    Big    Picture       and   Ascension       were     not    formed       until

       after the Tribe was denied an injunction against the New York

       cease-and-desist. See Otoe-Missouria,                   974     F.     Supp. 2d at 353.

       Plaintiffs have presented credible evidence that, following that

       decision,     Martorello          and     the       Tribe     looked         for     ways        to

       restructure       Red    Rock's    lending         operation      in    order       to   reduce

       exposure to liability. Indeed, several steps in February 2015—

      the formation of TED and Ascension, the reorganization of Big

       Picture with TED as its sole member, and the initiation of the

      Tribe's Bellicose purchase—were apparently taken with that very

       goal in mind. Moreover, although Red Rock was formed as a tribal

      entity. Bellicose and its subsidiaries, like SourcePoint, were a

      critical     part    of    Red     Rock's      business.       Thus,     by    creating          Big

      Picture and Ascension, the Tribe was not starting an independent
                                                     52




                                                                                                   JA249
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 253 53
                                                             Page   of 462
                                                                       of 81 PageID# 4064




       lending operation but rather facilitating the absorption of Red

       Rock's      fully-functioning                 lending           enterprise—which             had      a

       decidedly        non-tribal       character,            given    Bellicose's         involvement.

       Big   Picture       and    Ascension         may    be    right        that    Hazen's      lack     of

       knowledge        about     the       decision       to    create        Big    Picture       is     not

       meaningful         on     its     own.       But,        viewed        in     context,       Hazen's

       unawareness teaches that the impetus behind the formation of Big

       Picture     and    Ascension          was   Martorello          and    Bellicose's         desire   to


       avoid liability, more so than the Tribe's interest in starting

       its   own    business.         Consequently,            these    circumstances            limit     the

       extent      to     which       this    factor       weighs        in       favor    of     sovereign

       immunity. Moreover, the real significance of this evidence is in

       the second Breakthrough factor: the purpose factor.

             However,          Plaintiffs'           second       assertion—that             Ascension's

       registration as a foreign LLC in Puerto Rico also affects the

       formation        factor—is       much       less   persuasive.          Somerlott          held   that

       the Breakthrough factors are "inapplicable to entities which are

       legally      distinct          from     their       members       and       which        voluntarily

       subject themselves to the authority of another sovereign which

       allows      them    to     be     sued."       Somerlott,             686    F.3d    at     1149-50.

       Plaintiffs point out that, although Ascension may be organized

       under    tribal         law,    it     subjected         itself       to    the     laws    and     the

       possibility of           being       sued in       Puerto       Rico    by registering as a
                                                          53




                                                                                                         JA250
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 254 54
                                                             Page   of 462
                                                                       of 81 PageID# 4065




      foreign LLC there. See P.R. Laws tit. 14, §§ 3522(a), 3806(b),

      4021(a)(1). But Somerlott's holding was premised entirely on the

      entity's incorporation under state law, which distinguished the

       case   from    others    in     which   entities      claiming     to   be   arms    of a

      tribe were "organized, in some form or another, under tribal

      law." 686 F.3d at 1149; see also J.L. Ward, 842 F. Supp. 2d at

       1176 (entity was "created by incorporation under South Dakota,

       rather than tribal, law" (emphasis added)). Plaintiffs' attempt

      to     skirt    this    limitation       is   unsupported      by   Somerlott,        which

       demonstrated its holding by explaining that a corporation owned

       by the United States but incorporated under New York law would

       not    share    the    United    States'     sovereign immunity.         686 F.3d       at

       1150. Ascension's background is obviously different, as it is

       both owned by the Tribe and incorporated under its laws. See

       Rassi V. Fed. Program Integrators, LLC, 69 F. Supp. 3d 288, 291

       (D.    Me.     2014)    (distinguishing           Somerlott   where     tribe       formed

       subordinate       entity      under     similar     circumstances).          Thus,    this

       argument misses the mark. As a result, the first Breakthrough

       factor supports a finding of sovereign immunity for both                               Big

       Picture and Ascension, albeit with the caveat noted above.

                      2. Purpose of Entities

              The second factor "encompasses both the stated purpose for

       which the entity was created and the degree to which the entity
                                                    54




                                                                                             JA251
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 255 55
                                                             Page   of 462
                                                                       of 81 PageID# 4066




       actually serves that purpose." Miami Nation^ 386 P.3d at 372;

       see also Breakthrough Mqmt. ^          629 F.3d at 1192-93 (considering

       both elements). The initial question is whether the entity has a

       stated purpose that "relates to broader goals of tribal self-

       governance" separate from the entity's commercial activities,

       like   developing      the   tribe's   economy   or    funding   governmental

       services, or whether "the entity was created solely for business

       purposes and     without any declared objective of promoting the

       tribe's general tribal or economic development." Miami Nation,

       386 P.3d at 372 (internal quotations omitted). If such a purpose

       exists, the inquiry then turns to the entity's "execution" of

       that purpose; the "fit . . . need not be exact, but the closer

       the    fit,"   the    more   it    supports   tribal    immunity.    Id.    For

       instance, evidence of "the number of jobs [the entity] creates

       for tribal members or the amount of revenue it generates for the

       tribe" suggests that it is an arm of the tribe, but "evidence

       that the entity engages in activities unrelated to its stated

       goals or that [it] actually operates to enrich primarily persons

       outside of the tribe or only a handful of tribal leaders" shows

       the opposite.        Id. at 373.



          Miami Nation cites no case law in support of this required
       "fit" between purpose and execution. See 386 P.3d at 372-73.
       Nonetheless, Miami Nation's conclusion makes sense logically,
       and Breakthrough supports the more exacting inquiry called for
                                              55




                                                                                  JA252
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 25656
                                                             Page   of of
                                                                       46281 PageID# 4067




              The     stated    purposes       of   both    Big     Picture       and      Ascension

       relate    to the        Tribe's    goal of        economic self-sufficiency.                   Big

       Picture's      stated     purpose       is "[t]o     engage       in    the    business        of

       operating one or more Tribal lending business(es)," Big Picture

       Arts, of Organization, Art. 5, which it does as part of the LVD

       Council's      "strategic         economic     development         efforts"         that       are

       aimed at "diversify[ing] the economy of the Tribe's reservation

      in order to improve the Tribe's economic self-suffiency," Aug.

       26, 2014 Resolution at 1. Similarly, Ascension's stated purpose

      is "[t]o engage in the business of operating one or more Tribal

      marketing,         technology         and      vendor       service        business(es),"

      Ascension Arts, of Organization, Art. 5, which helps fulfill the

       same    tribal    economic        development       efforts,       see     Feb.      5,    2015

      Ascension       Resolution at 1. Those stated purposes must also                                 be

       read in conjunction with that of TED, the sole member of both

      entities, which works "[t]o promote the economic development of

      the     Tribe    through    the     development       of    business      opportunities."

       TED Arts, of Organization, Art. 5. Along the same lines, TED's

       management       activities       are    intended      "to    further         the   economic

       development      of the     Tribe." Feb. 5,           2015    TED       Resolution        at    1.

       These    goals—development           and     execution       of    an    online       lending



       by Miami Nation. See Breakthrough Mgmt., 629 F.3d at 1192-93
       (examining entity's revenue allocation in considering purpose).
                                                    56




                                                                                                  JA253
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 257 57
                                                             Page   of 462
                                                                       of 81 PageID# 4068




       business to gain              revenue for the Tribe's economic benefit—are

       extremely similar to those that other courts have found relate

       to tribal self-governance. See Breakthrough Mgmt., 629 F.3d at

       1192 (casino was created to "further[] the economic prosperity

       of the Tribe"); Howard^ 2017 WL 3669565, at *3 (stated purposes

       included "increase[ing] [sic] Tribal revenues                                and enhance[ing]

       [sic]        the        Tribe's      economic           self-sufficiency               and     self-

       determination"            (alterations          in    original));          Everette,         146    F.

       Supp.    3d    at       724   (entity's     purpose         was "to        engage      in    lending

       related      activities         that     will    generate          additional      revenues        for

       the    Tribe");         Gavle   v.     Little        Six,   Inc.,     555    N.W.2d      284,      294

       (Minn.       1996)      (stated      purpose         was    "improv[ing]         the     business,

       financial          or     general        welfare"          of   the       entity       and    tribe

       (alteration in original)).

               On   the     surface,      these    stated          purposes      seem    to    favor      Big

       Picture      and     Ascension.        However,        as    set    out    in    Section      II.B.l

       above, the record shows that the formation of Big Picture and

       Ascension, and indeed, much of the tribal restructuring, was for

       the real purpose of helping Martorello and Bellicose to avoid

       liability, rather than to help the Tribe start a business. And,

       that    finding         means     that    Big    Picture        and       Ascension      have      not

       carried their burden on the purpose factor.



                                                        57




                                                                                                       JA254
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 25858
                                                             Page  of 462
                                                                      of 81 PageID# 4069




             Plaintiffs also contend that Big Picture and Ascension do

      not fulfill their stated purposes in practice. First, they say.

      Big    Picture       and    Ascension       have      not    provided   any    information

      about the number of jobs created for the Tribe or the amount of

      revenue received by the Tribe from their business. Second, they

      note    that    Ascension          does    not    employ      any    tribal    members    and

      generates no revenue for the Tribe. Third, they assert that Big

      Picture is structured such that the                          primary beneficiaries are

      Hazen (who is paid more than the other tribal employees of Big

      Picture)       and     Martorello         (given      that     TED   uses     most   of    Big

      Picture's revenue to make loan payments to Eventide).

             All three arguments have merit. First, Plaintiffs are wrong

      to    claim     that       Big   Picture     and       Ascension      have     provided     no

      information about the revenue generated for the Tribe; Williams

      has explained that money from Big Picture constitutes more than

      10% of the Tribe's general fund, and may contribute more than

      30% of the fund within the next few years. Williams Aff. 1 10.


           Plaintiffs also argue that Red Rock's distribution of limited
      revenue    to    the       Tribe    in    2014     and      2015   should    influence    the
      Court's decision. However, Red Rock is a defunct entity that
      made distributions pursuant to a servicing agreement with
      another entity, SourcePoint, that also no longer exists, and
      that agreement has no bearing on the parties asserting tribal
      immunity (the relationship of which is governed by an entirely
      different       contract). Given  those  differences. Red  Rock's
      situation      does not "shed light on the [purpose] inquiry" and
       will not affect the Court's consideration                         of this factor.    Miami
       Nation, 386 P.3d at 375.
                                                       58




                                                                                                JA255
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 259 59
                                                             Page   of 462
                                                                       of 81 PageID# 4070




       The    Tribe    obtains       these    funds          both    through       TED's   monthly    3%

       distributions, and as interest on its substantial investment in

       Big    Picture's       enterprise.      See      id. SIf 8-10.         Nonetheless, courts

       assessing       an    entity's       execution         of    purpose    have    examined      how

       much    revenue the tribe             actually received from the entity. See

       Breakthrough,         629     F.3d    at    1192-93          (concluding       that    entity's

       business    "clearly         benefit[ed]          the       Tribe"    based    on    percentage

       allocation of revenue to certain tribal governmental functions);

       Everette, 146 F. Supp. 3d at 724 (noting that revenue was used

      "to fund        various       tribal    governmental, educational,                   and social

       services"       and    to    provide       specified         "essential       services").      In

       that    regard,       Hazen's    statement            that    those    funds "support         LVD

       governmental essential services and support the LVD community"

       in    numerous       ways,   Hazen Aff. i 31, is far too general, as it

       sheds no light on             how    much       Big    Picture's      revenue       helped fund

       those services. That money might, for instance, constitute only

       a small, insignificant part of the funding for the services that

       Hazen    has identified. If that is true, then Big Picture would

       not be effectively serving the Tribe's economic development. The

       evidence provided by Big Picture and Ascension, which bear the

       burden     of        proof    here,        is     too        vague     to    eliminate     that

       possibility.



                                                        59




                                                                                                  JA256
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 260 60
                                                             Page   of 462
                                                                       of 81 PageID# 4071




             Furthermore, even if Big Picture's revenue is a meaningful

       portion of the Tribe's general fund, the revenue received by the

       Tribe is a sliver of Big Picture's total earnings. The entity

       seeking immunity in Breakthrough provided 100% of its revenue to

       various tribal services. 629 F.3d at 1192-93. Here, in contrast,

       the Note expressly limits the funds available to the Tribe to 5%

       of Big Picture's monthly revenue—the 3% monthly distribution and

       the   2%   reinvestment     amount,       if   the    latter     is       treated    as    a

       current benefit to the Tribe.              See Note § 1.2. Breakthrough did

       not   specify   any   revenue      allocation         percentage          that   must     be

       reached    to    reflect     an    adequate       fit      between         purpose      and

       execution, but Miami Nation noted that a similarly small revenue

       distribution—a     monthly     payment     of     either    1%       of    the   entity's

       revenue or $25,000—would not economically benefit the tribe. See

       386 P.3d at 377-78. The evidence here further indicates that Big

       Picture has, over time, given the Tribe a little less than $5

       million,   whereas    TED    has   made    loan      repayments       to    Eventide      of


          Plaintiffs    assert     that   this   amount      is   not   a    current     benefit
       because TED will not receive any reinvestment amount if it
       defaults on the loan. No evidence shows that TED is likely to
       default in the near future, and the Big Picture balance sheets
       cited by Plaintiffs appear to treat that reinvestment amount as
       a current asset. Plaintiffs' assertion thus relies on the wholly
       speculative premise that TED will, at some future date, take
       some action that qualifies as an event of default. See Loan
       Agm't § 6.1. The Court will not base its conclusion about Big
       Picture's purpose on a guess about the future.

                                                 60




                                                                                            JA257
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 26161
                                                             Page  of 462
                                                                      of 81 PageID# 4072




      about      $20        million.          Big      Picture         Suppl.          Interrogatory

       Responses SI 1.       In    other      words,    even       under this       broader      view—

       which accounts for the months in which Eventide has not received


      any distribution—the Tribe has only received about 20% of Big

       Picture's     total       revenue,     still     a    relatively        small      percentage.

      That imbalance shows that Big Picture has not served its stated

       purpose      very    well.      And,    even     if     Big    Picture       will      not     owe

      Eventide anything           after the         Note     terminates in         several      years.

       Note § 1.3,         the    revenue      distribution           disparity        will     almost

      certainly have increased in that period, assuming Big Picture's

      revenue     stream     remains       similar     to     what    it   has     been      since    the


      parties entered into the Note.

             Ascension       is    in    a    very     similar       position.         That    company

      supports       Big    Picture's         lending       operations       and       generates       no

      revenue     itself,        see    Intratribal         Servicing      Agm't § 3.4,         so    the

       purpose analysis for Big Picture applies to Ascension in much

      the    same    way.    Some      evidence      also     demonstrates         that      Ascension



            As   noted,     Martorello        claims        that     the   Tribe       has    actually
      obtained      more     economic        consideration         than    Eventide          since    the
      Bellicose   purchase.   Martorello  Decl. f 63.  However,   that
      assertion is based on his valuation of equity consideration from
      some unknown "audited financial statements." Id. Because Big
      Picture and Ascension have not provided those statements here,
      it  is impossible    to  verify the   accuracy  of  Martorello's
      statement in the face of conflicting evidence showing that the
       Tribe's    actual economic benefit              under the        Note     has   been    dwarfed
       by Eventide's.
                                                     61




                                                                                                     JA258
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 262 62
                                                             Page   of 462
                                                                       of 81 PageID# 4073




       fulfills    its     nominal      purpose       even    less      effectively       than      Big

       Picture. Whereas Big Picture's employees primarily belong to the

       Tribe and work on its reservation, Ascension does not employ any

       non-tribal       members,      instead     relying      mostly      on    employees         that

       previously worked at Bellicose. That composition may have been

       justified when Ascension was formed in 2015 because the company

       needed    individuals          with    certain    technical        knowledge       for      the

       required    support services,            and    Bellicose's employees              were     the

       perfect candidates. But, in the several years since, Hazen's and

       Williams'       testimony      instructs       that   the     Tribe      has   done     little

       more     than    encourage        tribal       members      to     pursue      educational

       opportunities that would allow them to work for Ascension and

       Big    Picture     in    the    future.^®      Thus,     Ascension        has failed         to

       contribute much to the Tribe's self-governance, either directly

       (by    supporting       Big    Picture's       minimal      revenue       generation)         or

       indirectly (by hiring tribal employees).

               Finally,        Big    Picture's        and      Ascension's           compensation

       structures       underscore      the    companies'       poor      execution       of    their

       purposes. Despite what Plaintiffs claim, the evidence does not



             Plaintiffs'    assertion        that     Ascension      or   the     Tribe      has    not
       started any training programs for tribal members to work at the
       company assumes, without any apparent basis in the evidence,
       that the Tribe has both the capacity and the funds to do so.
       This failure to pursue some possibly unachievable hypothetical
       goal does not count against Ascension in the purpose analysis.
                                                    62




                                                                                                   JA259
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 263 63
                                                             Page   of 462
                                                                       of 81 PageID# 4074




       indicate      that      Martorello         himself     has     received          any    substantial

       economic      benefit        from    Big    Picture,       certainly         not       in    the    same

       sense    as     the    non-tribal         individuals         in    Miami    Nation.          See    386


       P. 3d   at 363,        378    (noting that individuals used                       alleged tribal

       entities' checks to pay for their personal expenses). However,

       Plaintiffs' breakdown of the compensation of Hazen, other tribal

       employees of Big Picture, all employees of Ascension, and the

       total     amount        paid        to     Ascension          by     Big     Picture          clearly

       illustrates           two     things:       (1)     Hazen      has        profited          from     Big

       Picture's       lending        operation         far    more       than     any    other       tribal

       members,        and    (2)     Ascension's          employees         are    paid           handsomely

       compared        to      Big     Picture's          employees.             These        compensation

       differences           lead    to     the        conclusion         that     Big        Picture       and

       Ascension primarily benefit individuals and entities outside the

       Tribe, or only one tribal leader, both of which are inconsistent

       with the goal of economic development. See id. at 373.

               Given    these       circumstances—and           even       granting       that       the   fit

       between purpose and execution need not be exact, id. at 372—Big

       Picture       and     Ascension          have    largely      failed        to    fulfill          their

       stated     purposes.           Accordingly,            this        factor        weighs       against

       sovereign immunity for both entities.




                                                         63




                                                                                                           JA260
USCA4 Case
      Appeal: 23-2097    Doc: 11-1
           3:17-cv-00461-REP   Document Filed: 12/06/2023
                                        146 Filed   07/27/18 Pg: 26464ofof462
                                                              Page         81 PageID# 4075




                  3. Structure, Ownership, and Management of Entities,
                        Including Amount of Tribe's Control

           This factor focuses primarily on the leadership of the

     entity claiming immunity.                    Breakthrough Mqmt., 629 F.3d at
     1193.    "Relevant         considerations         include      the   entity's       formal

     governance structure, the extent to which it is owned by the
     tribe, and the entity's day-to-day management." Miami Nation,

     386 P. 3d at 373. However, an entity's "outsourc[ing] management

     to a nontribal third party is not enough, standing alone, to

     tilt this factor against immunity." Id.; see also Gavle, 555

     N.W.2d at 295 ("[C]ontrol of a corporation need not mean control

     of business minutiae; the tribe can be enmeshed in the direction

     and control of the business without being involved in the actual

     management."). In that case, the inquiry turns to the tribe's

     involvement despite the nontribal leadership. "Evidence that the

     tribe actively directs or oversees the operation of the entity

     weighs      in    favor    of    immunity;    evidence      that     the    tribe    is    a

     passive      owner,       neglects    its    governance        roles,      or   otherwise

     exercises        little     or   no   control      or   oversight       weighs    against

     immunity." Miami Nation, 386 P.3d at 373.

             Big Picture is an LLC that is 100% owned and operated by

     its sole member, TED, which in turn is 100% owned and operated

     by    its        sole     member,     the    Tribe.      Big     Picture        Arts.     of


                                                  64




                                                                                             JA261
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 265 65
                                                             Page   of 462
                                                                       of 81 PageID# 4076




       Organization, Arts. 8-9; TED Arts, of Organization, Arts. 8-9.

       Big   Picture is also managed                      by two tribal members,                 Hazen     and

       Williams, who were appointed by majority vote of the LVD Council

       and must be removed in the same way. Hazen Aff. f 15; Williams

       Aff. 1 12;     Big       Picture        Operating         Agm't § 5.1(a),              (d).    As   co-

       managers, Hazen and Williams are granted the broad authority to

      "bind [Big Picture] individually," and "to do and perform all

       actions   as    may      be    necessary           or    appropriate         to   carry out the

       business of [Big Picture] including but not limited to the power

       to    enter    into       contracts           for        services,          to    manage       vendor

       relationships, [and] to manage personnel issues and affairs of

       [Big Picture}." Big Picture Operating Agm't § 5.1(a). They are

       precluded only from restricting or selling Big Picture's assets

       or waiving its sovereign immunity, for which they must obtain

       TED'S consent (by majority vote of the LVD Council). Id. § 5.2.

       Furthermore,        to    the      extent      that       Hazen       and    Williams         are    not

       involved in the day-to-day operations of Big Picture, the Tribe

       has   a   substantial           role     in    those        operations,           as    the    entity

       employs   a    number         of    tribal         members      and    conducts         all    of   its

       operations     on    the      Reservation.              Hazen   Aff. f        24.      Finally,     the

       executive      leadership           of       Big     Picture       preserves           the    Tribe's

       influence,     as    Hazen         is   the    company's         CEO.       Id. SI 20;       see    also

       Breakthrough,       629       F.3d      at    1193       (factor      weighed       both      for    and

                                                           65




                                                                                                           JA262
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 266 66
                                                             Page   of 462
                                                                       of 81 PageID# 4077




       against       immunity       where    directors         of       entity   were    all   tribal

       members    but       some    executive         officers      were    non-tribal    members).

       This     general       structure          is    to    assure       that    Big   Picture      is

       answerable to the Tribe at every level, which supports immunity.

       See Howard, 2017 WL 3669565, at *4; Everette, 146 F. Supp. 3d at

       724-25; In re IntraMTA, 158 F. Supp. 3d at 577; J.L. Ward, 842

       F. Supp. 2d at 1176-77.

               Plaintiffs          claim,      however,        that       Big    Picture's     formal

       structure      is     overcome       in    practice         by    Ascension's    substantial

       role.    In    support       of   this       assertion.          Plaintiffs    highlight      the

       Intratribal Servicing Agreement,                       which, they contend, confers

       significant day-to-day responsibilities on Ascension and permits

       little    oversight          by   Big      Picture.       They      acknowledge    that       the

       Agreement does not grant Ascension the authority to "engage in

       origination      activities,         execute         loan    documentation,       or approve

       the    issuance       of     loans      to     consumers."          Intratribal    Servicing

       Agm't §       4.1.    However,       they       note,       the     Agreement    assigns       to

       Ascension       the    duties        to    give       "pre-qualified          leads"    to    Big

       Picture and to provide "the necessary credit-modeling data and


           Plaintiffs  are  correct   that  the   Intratribal Servicing
       Agreement and the Servicing Agreement delegate nearly identical
       responsibilities to Ascension and SourcePoint, respectively. See
       Intratribal Servicing Agm't § 4.2.1; Servicing Agm't § 4.2.1.
       However, it is unclear how this similarity affects the control
       inquiry, as Plaintiffs     do not explain     how  the Servicing
       Agreement limited the Tribe's control over Red Rock.
                                                        66




                                                                                                    JA263
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 267 67
                                                            Page   of 462
                                                                      of 81 PageID# 4078




       risk   assessment         strategies"          used     by    Big     Picture          to    decide

       whether     to    issue     a    loan.        Id. § 4.2.1(k).            Because       Ascension

       generally identifies             potential loan applicants                  by prescreening

       credit     reports        and     then     directs         mass      mailings          to    those

       consumers,       Plaintiffs       say,    Big        Picture's       role     is    limited     to

       verifying     details       at    the     loan       approval       stage.        This      minimal

       involvement       is   further      shown       by    Williams'       lack        of     knowledge

       about entities owned by Big Picture.

              Plaintiffs' argument relies on two underlying contentions:

       (1)    that      the   Tribe's      formal          oversight       of      Big    Picture      is

       meaningless       given    Ascension's          dominant       role      in   Big        Picture's

       lending operations; and (2) that, assuming Ascension has such a

       role, that entity is not controlled by the Tribe. Both arguments

       are persuasive. As to the first assertion, it is true that the

       Intratribal Servicing Agreement also states that "[t]he criteria

       used to extend funds to individual borrowers                          will remain            within


       the sole and absolute discretion" of Big Picture, and that Big

       Picture "shall execute             all    necessary loan             documentation." Id.

       Nonetheless, considering that Ascension's responsibilities allow

       it    to   identify       borrowers       based       on     Ascension's           own      credit-

       modeling      system      and     then        prepare        mass    mailings          to    those

       consumers,       it    does      not     appear       that     Big       Picture       has     much

       discretion       to    exercise        when    it      receives       recommendations            or

                                                      67




                                                                                                      JA264
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 268 68
                                                            Page   of 462
                                                                      of 81 PageID# 4079




       documents from Ascension. Indeed, Ascension's actions in effect

       reduce     Hazen's         and       William's        responsibilities      in    the   loan

       process       to     pro   forma        review    and     approval     of   key    business

       decisions. See ECF No. 91-3; see also Big Picture Interrogatory

       Responses SI 24. Viewed in conjunction with Ascension's numerous

       other responsibilities under Section 4.2.1, this control is too

       limited       to    support      a    finding     of     tribal   immunity.       See   Miami

       Nation, 386 P.3d at 373.

               Moreover, evidence that Williams is not familiar with three

       Big Picture subsidiaries shows that Hazen and Williams do little

       to oversee Big Picture's operations as co-managers. Big Picture

       and Ascension point to several documents that, they say, suggest

       just the opposite: that those individuals "actively direct[] or

       oversee[]      the     operation        of    [Big     Picture]."     JA.   For   instance,

       Hazen    and       Williams      have     discussed       items   like      Big   Picture's

       operating budget and employee handbook, ECF Nos. 102-15, 102-16;

       and    approved       forms      sent    by   employees      concerning,      inter     alia,

       company       policies      and       procedures,        compliance     management,       and

       personnel decisions, ECF No. 106-13. This evidence reflects that

       Hazen and Williams exercise some managerial oversight over Big

       Picture's operations.                However, Williams' testimony about other

       issues, like his non-involvement in Big Picture's day-to-day and

       lack     of        knowledge      about       customer      service     representatives'
                                                        68




                                                                                               JA265
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 269 69
                                                             Page   of 462
                                                                       of 81 PageID# 4080




       responsibilities operations, demonstrates that such oversight is

       narrow in both scope and depth. Consequently, Big Picture has

       not shown       by a   preponderance of the evidence that the Tribe,

       through Hazen and Williams, controls Big Picture, so this factor

       weighs against immunity for that entity.

               The question of Ascension's tribal control is not as close.

       Just like Big Picture, Ascension is an LLC that is 100% owned

       and    operated    by    its    sole     member,     TED.       Ascension   Arts.    of

       Organization,      Arts.       8-9.      Hazen     and     Williams    also    manage

       Ascension, and the operating agreement gives them the same broad

       powers as with Big Picture and requires an LVD Council vote for

       their     appointment        and     removal.      Hazen     Aff. 5 19;       Williams

       Aff. SI 13;     Ascension      Operating     Agm't §§ 5.1-5.2.         At   the    same

       time, as in Breakthrough, the Tribe's control is diminished by

       the appointment of a non-tribal member, McFadden, as Ascension's

       president.      See 629 F.3d       at 1193. Likewise, Ascension               conducts

       most    activities     outside     the   Reservation       and    employs   only    non-

       tribal    members.      In   light     of   this   non-tribal       management,     the

       Court must consider whether the Tribe is an active or passive

       owner.    See   Miami    Nation,      386 P.3d     at    373.    Here, that inquiry

       revolves around the extent of Hazen and Williams' oversight of

       Ascension     and the influence of non-tribal actors on Ascension's

       decisions.

                                                   69




                                                                                          JA266
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 270 70
                                                             Page   of 462
                                                                       of 81 PageID# 4081




              Ascension has presented evidence that McFadden must obtain

       Hazen's      or    Williams'          approval        for    "changes         in        operations,

       personnel,        or     distributions,"              McFadden     Aff. SI 8,            and     that

       Ascension employees have submitted request and approval forms to

       Hazen and Williams for certain business decisions, ECF No. 106-

       13.    Ascension's           operating         agreement        also      reserves          primary

       oversight of the company's actions for Hazen and Williams. See

       Ascension          Operating           Agm't § 5.1(a).             Nonetheless,                those

       assertions        of    oversight      are     undercut      materially         because        Hazen

       and Williams have delegated to McFadden the authority to approve

       Ascension's "strategic                direction,        goals     and    targets";         execute

       documents on the company's behalf; open and maintain Ascension's

       bank   accounts;         adopt,       terminate,        or    change      employee         benefit

       plans; and oversee "all matters                       necessary for the             day to day

       management        of     Ascension."         Ascension        Delegation           of    Authority

       Policy § 1.4.          These       actions     are    all important           managerial         ones

       that   can    significantly           affect     an     entity's        directions         and   its

       decisions.        And,       the    evidence         tends   to    show       that       the     real

       management function lies not with Hazen and Williams, but with

       McFadden. On           balance, that evidence augurs against Ascension's

       immunity claim.

              Plaintiffs        make      much   of    provisions        in    the    Loan      Agreement

       that   prevent         TED   and    Ascension        from    modifying        the   Intratribal

                                                       70




                                                                                                        JA267
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 271 71
                                                             Page   of 462
                                                                       of 81 PageID# 4082




       Servicing Agreement or terminating or replacing any managers or

       officers of Ascension, among other entities, without Eventide's

       consent.    Loan   Agreement §§ 5.12,           5.14.    Although       there   is   no

       evidence    that   these     rights    have     been     exercised,      their     mere

       presence    is   evidence    that   goes     against     a    finding    of immunity

       because     they    confer     on     Eventide,         and    hence     Martorello,

       significant      control     mechanisms      over       significant      aspects     of

       Ascension's operations. On balance, the control factor slightly

       favors a finding against immunity. At best for Big Picture and

       Ascension, it is neutral, and thus does not aid them in meeting

       their burden of proof.

                   4. Tribe's Intent with Respect to Sharing of Sovereign
                      Immunity

             Big Picture's and Ascension's formation documents show that

       the Tribe intended for both entities to share its immunity. The

       resolutions organizing each company state:

                   [T]he [LVD] Council believes it to be in the
                   best interest of the Tribe to create such an
                   entity which, as a wholly owned and operated
                   instrumentality  of  the   Tribe,  shall  be
                   possessed of all the privileges of the
                   Tribe, including but not limited to the
                   sovereign immunity of the Tribe which shall
                   not be waived unless authorized by the [LVD]
                   Council . . . .


       Aug. 26 2014 Resolution at 2; Feb. 5, 2015 Ascension Resolution

       at   2.   Each   entity's    articles      of   organization       reiterate       that


                                               71




                                                                                          JA268
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 27272
                                                             Page  of 462
                                                                      of 81 PageID# 4083




      "[t]he    sovereign immunity of the         [entity] shall remain intact

       unless waived by [TED] pursuant to a duly authorized resolution

       of the [LVD] Council." Big Picture Arts, of Organization, Art.

       7; Ascension Arts, of Organization, Art. 7. Other courts have

      found    similar    language   sufficient for     this   factor   to   support

       tribal immunity. See Breakthrough, 629 F.3d at 1193-94; Howard,

       2017 WL 3669565, at *4; Everette, 146 F. Supp. 3d at 725.

              Plaintiffs concede that this factor weighs in Big Picture's

       and Ascension's favor, but argue that the Court should accord it

       the least weight out of all the factors. Plaintiffs are right

       that the intent factor "reveals little about ^whether the entity

      acts as an arm of the tribe so that its activities are properly

       deemed to be those of the tribe,'" Miami Nation, 386 P.3d at 379

       (emphasis in      original) (quoting Allen,       464   F.3d at 1046), but

      they mistake the       significance of that statement. Miami Nation

       simply held that tribal intent "cannot, without more, . . . tip

       the balance in favor of immunity" where that factor is the only

       one to point "unequivocally" in that direction. Id. (internal

       quotations omitted). Big Picture and Ascension do not ascribe to

       this factor such outsized importance in the immunity analysis;

       indeed, they discuss it the least of any Breakthrough factor.

       Moreover, neither Miami Nation nor any other case holds that the



                                             72




                                                                                JA269
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 273 73
                                                             Page   of 462
                                                                       of 81 PageID# 4084




       intent factor should be given any less weight. Therefore, the

       Court will consider this factor as it would any other.

              But here the intent factor must be assessed in perspective

       of the context in which Big Picture and Ascension were created.

       As explained above, the record shows that those entities                               were

       intended    to     be    vehicles       that     would       shield    Martorello         and


       Bellicose       from    liability.      Then,     on    this       record,    the    intent

       factor    weighs       against    a    finding     of       immunity    because      to   do

       otherwise is to ignore the driving force for the Tribe's intent

       to share its immunity. Here, the Tribe's intent no doubt was, in

       part, to help the Tribe, but to do so by providing its immunity

       to    shelter    outsiders from the            consequences of their           otherwise

       illegal actions.

                   5. Financial Relationship Between Tribe and Entities

              The "starting point" for this factor is "whether a judgment

       against    the     entity    would       reach    the       tribe's    assets."       Miami

       Nation, 386 P. 3d at 373; see also J.L. Ward, 842 F. Supp. 2d at

       1176 (factor weighed against immunity because "[a] suit against

       [the entity] would not appear to affect, at least not directly,

       any    particular       tribe's       fiscal     resources").         However,      "direct

       tribal    liability . . . is           neither    a     threshold      requirement        for

       immunity    nor    a    predominant      factor        in    the    overall   analysis."

       Miami Nation, 386 P.3d at 373; see also Breakthrough Mgmt., 629

                                                  73




                                                                                             JA270
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 27474
                                                             Page  of 462
                                                                      of 81 PageID# 4085




       F.3d at 1187 ("Although . . . the financial relationship between

      a   tribe   and   its    economic entities is        a   relevant     measure     of the


      closeness of their relationship, . . . it is not a dispositive

      inquiry.").^® After all, "[s]ome tribes rely on [an entity's]

      business     revenues      to   an   extent     that     a    judgment    against    the

      entity      could    effectively      strike     a     blow    against     the    tribal

      treasury, regardless of whether the tribe is directly liable."

      Miami Nation, 386 P. 3d at 373. Consequently, courts consider the

      extent of the tribe's dependence on the entity "^for revenue to

      fund its governmental functions, its support of tribal members,

      and its search for other economic development opportunities.'"

      Id. (quoting Breakthrough Mgmt., 629 F.3d at 1195). Accordingly,

      "[i]f a significant percentage of the entity's revenue flows to

      the    tribe,       or    if    a    judgment    against        the      entity    would

      significantly affect the tribal treasury, this factor will weigh

      in favor of immunity even if the entity's liability is formally

      limited." Id.




         Miami Nation specifically rejected holdings by other state
      courts that the tribe's direct liability (or lack thereof) was
      dispositive of the financial relationship factor. See 386 P. 3d
      at 373 (citing Sue/Perior Concrete & Paving, Inc. v. Lewiston
      Golf Course Corp., 25 N.E.3d 928, 935 (N.Y. 2014); Runyon ex
      rel. B.R. v. Ass'n of Vill. Council Presidents, 84 P.3d 437,
      440-41  (Alaska  2004)).  Given  that   Sue/Perior and  Runyon
      represent the minority approach on this issue, the Court will
      not follow them here.
                                                74




                                                                                          JA271
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 275 75
                                                             Page   of 462
                                                                       of 81 PageID# 4086




               The   Tribe    would    not       be directly affected           by any judgment

       against       Big    Picture       or      Ascension.     Each       entity's       operating

       agreement contains a liability limitation provision that makes

       the entity's "debts, liabilities, and obligations" its own. Big

       Picture Operating Agm't § 4.3/                    Ascension Operating Agm't § 4.3.

       The    entities'      interrogatory          responses        confirm    that       the   Tribe

       would    not    be     liable      for      any    judgment     against       the     entities

       because they are LLCs. Big Picture Interrogatory Responses f 23;

       Ascension       Interrogatory              Responses      (EOF         No.     83-13) f 18.

      Accordingly,          neither    company       can    satisfy     this        aspect    of   the

      financial relationship factor.

              Other    evidence       further       establishes        that    Big     Picture     and

      Ascension lack a strong financial connection to the Tribe. The

      structure       of    the    Note   ensures        that   the    Tribe's      monthly      gains

       will    only   consist       of,     at    most,    5%   of    Big   Picture's        revenue.

      Thus, as described above, the Tribe has received a little less

      than     20%    of     the   total         revenue    distributed        under    the      Note.


      Because the Tribe receives a                   very small part of Big Picture's

      revenue, this factor does not cut the same way as in cases where

      "all of [the entity's] profits inure[d] to the benefit of the

      Tribe." Howard,          2017    WL      3669565,    at *4; see         also    Breakthrough

      Mgmt., 629 F.3d at 1195 ("One                      hundred percent of the Casino's

      revenue goes to the Authority and then to the Tribe.").

                                                      75




                                                                                                   JA272
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 276 76
                                                            Page   of 462
                                                                      of 81 PageID# 4087




             Furthermore,       the    other        evidence         that       Big    Picture        and

       Ascension     claim    weighs    in    favor       of    immunity        is     unconvincing.

       First,     notwithstanding       the     interest         payments        that     the    Tribe

       receives as     an    investor in        Big      Picture,      Williams        Aff. M 8-9,

       the total distributions to the Tribe under the Note are limited.


       Consequently,       although    it     might      be    true     in      theory    that   "any

       reduction in [Big Picture]'s revenue that could result from an

       adverse judgment against it would therefore reduce the Tribe's

       income," Breakthrough Mgmt., 629 F.3d at 1195, the actual effect

       on the Tribe appears to be insubstantial. Second, Big Picture's

       revenue does not play as important a role in the Tribe's general

       fund as in other cases where this factor supported immunity. See

       Breakthrough Mgmt., 629 F.3d at 1195 (tribe "depend[ed] heavily

       on the [entity]" for funding); Everette, 146 F. Supp. 3d at 724.

       As   noted.   Big    Picture    has    not     provided        an    exact      breakdown      of

       revenue     allocation    to     different         tribal        services,        so     it    is

       impossible    to discern        how    the    Tribe      would      be    affected, if at

       all, if a judgment harmed Big Picture's operations. Third, there

       is evidence that Big Picture does not comply with its operating

       agreement's      mandatory        cash        distribution            requirement             when

       balances      exceed     $500.         See,       e.g.,        EOF        No.     83-24        at

       MARTORELLO_000218; see also Big Picture Operating Agmt' § 6.2.

       If   Big   Picture     does    not    transfer          its   funds       to    TED    when    it

                                                    76




                                                                                                     JA273
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 277 77
                                                             Page   of 462
                                                                       of 81 PageID# 4088




       should,      then     the    Tribe      likely       does   not     need      that      money       on   a

       timely       basis.    Given       these      circumstances,            this       factor       weighs

       against Big Picture.

               Ascension's         financial        relationship          with      the    Tribe      is    not

       very     different.         By    its     own        admission.         Ascension            does    not

       generate      revenue       for    itself       or    for    the    Tribe,         so    a    judgment

       against Ascension could not possibly affect the Tribe's revenue

       directly.       However,          given      that       Ascension            performs         critical

       services for Big Picture, any judgment that limited Ascension's

       operations       or     forced          it      to     close       would,          by    extension,

       drastically         reduce        Big     Picture's           revenue.         This          potential

       indirect effect on the Tribe's general fund is important in the

       financial      relationship          framework.         See     Breakthrough             Mgmt.,      629

       F.3d    at    1195;     Miami      Nation,       386     P.3d      at     373.      Yet,      for    the

       reasons detailed above, any reduction in Big Picture's revenue

       would    not be felt strongly by the Tribe itself. Consequently,

       this factor also weighs against immunity for Ascension.

                      6. Fulfillment of Purposes Underlying Tribal Immunity

               The final factor assesses "the policies underlying tribal

       sovereign       immunity          and     its        connection         to    tribal          economic

       development, and whether those policies are served by granting

       immunity to the economic entities." Breakthrough Mgmt., 629 F.3d

       at   1187.     "Those        policies        include        protection         of       the    tribe's

                                                        77




                                                                                                           JA274
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:17-cv-00461-REP  DocumentFiled:
                                       146 12/06/2023
                                             Filed 07/27/18Pg: 278 78
                                                             Page  of 462
                                                                      of 81 PageID# 4089




       monies,    as    well      as    preservation        of     tribal       cultural     autonomy,

       preservation         of    tribal       self-determination,              and     promotion         of

       commercial       dealings        between      Indians       and    non-Indians."            Id.    at

       1188 (internal citations and quotations omitted); of. Okla. Tax

       Common    v.    Citizen        Band    Potawatomi      Indian       Tribe       of   Okla.,       498

       U.S. 505, 510 (1991) (federal statutes affirming tribal immunity

      "reflect Congress'              desire    to     promote the        goal of Indian self-

       government, including its overriding goal of encouraging tribal

       self-sufficiency and economic development" (internal quotations

       omitted)).

              At first glance, granting sovereign immunity to Big Picture

       and Ascension          would     appear to serve these purposes.                      As noted,

       more   than      10%      of    the    Tribe's       general       fund    comes      from        Big

       Picture's      revenue,         and    that   percentage          will    increase         to   more

       than 30% in the next few                 years. In addition, Hazen has stated

       that   those     funds         "are    used     to   provide       a     variety      of    social

       services       and   other      benefits      for    the     Tribe."       Howard,         2017    WL

       3669565, at *4. Even though Ascension does not make any money

       itself, it necessarily contributes to Big Picture's revenues by

       providing crucial technical and marketing services. As a result,

       both   entities        seem      to    "promote       and    fund        the    Tribe's         self-

       determination          through        revenue    generation         and        the   funding       of



                                                       78




                                                                                                        JA275
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 279 79
                                                             Page   of 462
                                                                       of 81 PageID# 4090




       diversified economic development." Breakthrough Mgmt. ^                                  629 F.3d

       at 1195; see also Everette^ 146 F. Supp. 3d at 725.

               However,       a    closer       look    reveals that         neither      Big    Picture

       nor    Ascension       fulfills         those    goals    very    well,       if at      all.    The

       inadequacies of Hazen's general statements about the Tribe's use

       of Big Picture's revenues are detailed above. Because the extent

       to which the Tribe has actually used Big Picture's funds for the

       services       noted       by    Hazen     is     unclear,      the    Court       cannot       tell

       whether         granting               immunity         here       "directly             protects

       the . . . Tribe's               treasury,       which     is     one     of    the       historic

       purposes of sovereign immunity in general." Allen, 464 F.3d at

       1047.     Moreover,         even        assuming       that     Big     Picture's         lending

       operation       and     Ascension's         support        have       contributed         to     the

       Tribe's     economic             self-development          to      some       extent,          those

       entities'      actions          have    primarily       enriched       non-tribal        entities

       like    Eventide       and,      possibly, individuals             like      Martorello.         The

       Bellicose purchase, and the resulting Note and Loan Agreement,

       have undoubtedly            yielded some benefits for the Tribe. Yet, by

       limiting       the     Tribe's         monthly     distribution         to     a   very        small

       percentage of Big Picture's revenue, the Note forces the Tribe

       to receive those benefits at substantial cost—a reality that is

       illustrated by the sharp disparity in distributions received by

       the    Tribe    and        Eventide       since     TED   began        repaying       the      loan.

                                                         79




                                                                                                       JA276
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 280 80
                                                             Page   of 462
                                                                       of 81 PageID# 4091




       Consequently, as Plaintiffs note, granting immunity here might

       have   the    unintended       consequence      of     preventing      the    Tribe    from

       obtaining     favorable    terms    in     future      business      transactions,         as

       non-tribal     entities    would     not    be       inclined   to    offer     repayment

       above a certain rate. Thus, even if the Tribe is not bound by

       the Note's distribution structure forever, the example will have

       been   set.   Therefore, although          Big       Picture and Ascension serve

       the    core   purposes     of    tribal    immunity       to    some       extent,    these

       circumstances     cause    this factor          to    weigh    against immunity for

       both entities.


                C. Weight of Factors

              For the reasons discussed above. Big Picture and Ascension

       have    the    burden     to     prove     arm-of-the-tribe            immunity       by   a

       preponderance     of     the     evidence.       That    means       the     weighing      of

       factors must permit a finding of immunity. On this record, that

       balance actually falls the other way, and weighing everything on

       the balance, the Court finds that neither entity qualifies as an

       arm of the Tribe. Therefore, Big Picture and Ascension are not

       immune from suit here.




                                                  80




                                                                                              JA277
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        146 12/06/2023
                                              Filed 07/27/18Pg: 281 81
                                                             Page   of 462
                                                                       of 81 PageID# 4092




                                        CONCLUSION


             For the foregoing reasons, DEFENDANTS BIG PICTURE LOANS AND

       ASCENSION   TECHNOLOGIES'     MOTION   TO   DISMISS     FOR   LACK   OF   SUBJECT


       MATTER JURISDICTION (EOF No. 22) was denied.

             It is so ORDERED.




                                                         /s/
                                     Robert E. Payne
                                     Senior United States District Judge



       Richmond, Virginia
       Date: July       2018




                                              81




                                                                                   JA278
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   282 of 462
                                                                    1 of 6 PageID# 18412




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

        LULA WILLIAMS, GLORIA TURNAGE,
        GEORGE HENGLE, DOWIN COFFY, and
        FELIX GILLISON, JR., on behalf of themselves
        and all individuals similarly situated,

                              Plaintiffs,                    Civil Action No. 3:17-cv-00461-REP
        v.

        BIG PICTURE LOANS, LLC; MATT MARTORELLO;
        ASCENSION TECHNOLOGIES, INC.;

                          Defendants.
        ______________________________________________ /

              MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF JUDGMENT OF
             DEFENDANTS BIG PICTURE LOANS, LLC AND ASCENSION TECHNOLOGIES,
                                          LLC

                Defendants, Big Picture Loans, LLC and Ascension Technologies, LLC, (collectively,

        “Tribal Defendants”) by counsel and pursuant to Federal Rules of Civil Procedure 54(b) and 58(d),

        as well as the July 25, 2019 mandate from the United States Court of Appeals for the Fourth Circuit

        [ECF No. 600], state as follows in support of their Motion for Entry of Judgment dismissing the

        Tribal Defendants.

                                                BACKGROUND

                On July 3, 2019, the Fourth Circuit issued a published opinion, holding that the Tribal

        Defendants are sovereign arms of the Lac Vieux Desert Band of the Lake Superior Chippewa

        Indians and are immune from suit. See Williams, et al. v. Big Picture Loans, LLC, et al., 929 F.3d

        170 (4th Cir. 2019). The Fourth Circuit remanded the appeal “with instructions to grant the [Tribal

        Defendants’] motion to dismiss for lack of subject matter jurisdiction.” Id. Under Fed. R. App.




                                                                                                   JA279
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   283 of 462
                                                                    2 of 6 PageID# 18413




        P. 35(c) and 40(a)(1), Plaintiffs’ deadline to file a petition for panel rehearing or a rehearing en

        banc was July 17, 2019. Plaintiffs did not file any such petition.

               Thus, on July 25, 2019 and in accordance with Fed. R. App. P. 41(b), the Fourth Circuit

        issued a mandate indicating that its July 3, 2019 Judgment was to take full effect that day. (See

        ECF No. 600). To date, this Court has not entered a final judgment consistent with that mandate.

                                                   ARGUMENT

               A mandate is binding upon the lower court. Indeed, the force of the mandate “is governed

        by well-established principles.” Invention Submission Corp. v. Dudas, 413 F.3d 411, 414 (4th Cir.

        2005); see also United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993) (“Few legal precepts are as

        firmly established as the doctrine that the mandate of a higher court is ‘controlling as to matters

        within its compass.’”) (quoting Sprague v. Ticonic Nat’l Bank, 307 U.S. 161, 168 (1939)). “[O]nce

        a case has been decided on appeal and a mandate issued, the lower court may not deviate from that

        mandate but is required to give full effect to its execution.” Dudas, 413 F.3d at 414 (citing Stamper

        v. Baskerville, 724 F.2d 1106, 1107 (4th Cir. 1984)). This “mandate rule” is based on “the

        principle that an inferior tribunal is bound to honor the mandate of a superior court within a single

        judicial system.” 18B Charles Alan Wright, Arthur B. Miller, & Edward H. Cooper, FEDERAL

        PRACTICE AND PROCEDURE § 4478.3 (2d ed. 2002). “Under the mandate rule, therefore, a lower

        court generally may not consider questions that the mandate has laid to rest.” Dudas, 413 F.3d at

        415 (citing Sprague, 307 U.S. at 168).

               As in Dudas, the July 25, 2019 mandate “directed the district court to dismiss this case for

        lack of subject matter jurisdiction and, on its face, does not authorize the district court to open the

        case for further adjudication.” Id. at 415. “[T]he court [is] not free to do anything else but to

        dismiss the case.” Id. Thus, as the Fourth Circuit has explained previously, “[c]ompliance with



                                                          2

                                                                                                      JA280
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   284 of 462
                                                                    3 of 6 PageID# 18414




        an order to relinquish jurisdiction necessarily precludes the lower court from taking any further

        action other than dismissal, for to do so would involve retaining jurisdiction.” Baskerville, 724

        F.2d at 1108.

               Here, to comply with the mandate, this Court can “only dismiss the case” against the Tribal

        Defendants by entering an order consistent with Rule 58(d). Id. The Fourth Circuit’s instruction

        was “clear, direct, and limiting.” Id. There should be nothing more, and the dismissal already

        should have been entered.

               Aside from its duty to adhere to the mandate, the Court also should enter judgment

        consistent with Fed. R. Civ. P. 54(b). “When an action presents more than one claim for relief . . .

        or when multiple parties are involved, the court may direct entry of a final judgment as to one or

        more, but fewer than all, claims or parties only if the court expressly determines that there is no

        just reason for delay.” Fed. R. Civ. P. 54(b). “A dismissal for lack of subject-matter or personal

        jurisdiction, for example, may dispose of a claim completely and thus bring it within the scope of

        [Rule 54(b)].” 10 Charles Alan Wright, Arthur B. Miller, & Edward H. Cooper, FEDERAL

        PRACTICE AND PROCEDURE § 2656 (2d ed. 2002). The Fourth Circuit’s mandate disposes of the

        Tribal Defendants completely. There is no just reason to delay entry of final judgment as to them.

               Failure to enter a judgment prejudices the Tribal Defendants in multiple ways. First, the

        Tribal Defendants are sovereign entities immune from suit, and all proceedings against them are

        an inherent and inexcusable infringement upon their sovereignty. “A strong doctrine of sovereign

        immunity is nowhere more important than for damages claims.” Robinson v. United States Dep’t

        of Educ., 917 F.3d 799, 801 (4th Cir. 2019); see also Behrens v. Pelletier, 516 U.S. 299, 306 (1996)

        (immunity is “an entitlement not to stand trial or face the other burdens of litigation, conditioned

        on the resolution of the essentially legal [immunity] question.’”) (quoting Mitchell v. Forsyth, 472



                                                         3

                                                                                                    JA281
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   285 of 462
                                                                    4 of 6 PageID# 18415




        U.S. 511 (1985)). Indeed, immunity doctrines are meant to give sovereigns “a right, not merely to

        avoid ‘standing trial,’ but also to avoid the burdens of ‘such pretrial matters as discovery.” In re

        Facebook Inc., 42 F. Supp. 3d 556, 558 (S.D.N.Y. 2014) (quoting Behrens v. Pelletier, 516 U.S.

        299, 308 (1996)); see also Bowen v. Doyle, 880 F. Supp. 99, 134 (W.D.N.Y. 1995) (“A claim of

        sovereign immunity is forever lost by subjecting [the party] to the very process from which he

        asserts he is immune.”). The Tribal Defendants continue to incur needless fees and costs as a result

        of remaining nominal parties in this action.

               Second, any act by this Court without jurisdiction is inherently prejudicial. “Federal

        district courts are courts of limited subject-matter jurisdiction.”       Andrew v. Herring, No.

        3:17CV373, 2018 WL 3385173, at *3 (E.D. Va. July 11, 2018) (citing United States ex rel.

        Vuyvuru v. Jadhav, 555 F.3d 337, 347 (4th Cir. 2009)). “Unless a federal court possesses subject

        matter jurisdiction over a dispute, . . . any order it makes (other than an order of dismissal or

        remand) is void.” Dahiya v. Talmidge Int’l, Ltd., 371 F.3d 207, 210 (5th Cir. 2004) (citing John

        G. & Marie Stella Kenedy Mem'l Found. v. Mauro, 21 F.3d 667, 674 (5th Cir. 1994)). “It is

        axiomatic that a court without subject matter jurisdiction must dismiss the case. . . . Subject matter

        jurisdiction is more than a mere formality: federal courts are courts of limited subject matter

        jurisdiction possessing ‘only that power authorized by Constitution and statute.’” Vafokulova v.

        UA Int'l Consulting Corp., No. CV 17-2605, 2017 WL 5557923, at *1 (E.D. Pa. Nov. 17, 2017)

        (quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994)).

               Third, failure to enter a judgment prevents the Tribal Defendants from exercising their

        rights to recover district court costs under Fed. R. Civ. P. 54(d) and this Court’s Local Rules.




                                                          4

                                                                                                      JA282
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   286 of 462
                                                                    5 of 6 PageID# 18416




                In sum, the fact that a judgement has not been entered yet continues to cause irreparable

        harm to Tribal Defendants. Tribal Defendants file this motion merely to effectuate the Fourth

        Circuit’s ruling that they are sovereign entities entitled to sovereign immunity.

                In accordance with the above controlling authority, the binding Opinion and Judgment of

        the Fourth Circuit, and the July 25, 2019 mandate, the Tribal Defendants hereby move under Rule

        54(b) and Rule 58(d) for immediate entry of a separate judgment order dismissing them from this

        case.

                                                 CONCLUSION

                For the foregoing reasons, Defendants, Big Picture Loans, LLC and Ascension

        Technologies, LLC, respectfully request that the Court: (a) grant this motion for entry of judgment

        dismissing the Tribal Defendants from this case for lack of subject matter jurisdiction; and (b)

        enter the proposed form of judgment, which reflects the Opinion and Judgment of the Fourth

        Circuit that went into effect on July 25, 2019.




                                                          5

                                                                                                   JA283
USCA4 Appeal: 23-2097   Doc: 11-1Document
       Case 3:17-cv-00461-REP          Filed:
                                          60512/06/2023     Pg:Page
                                               Filed 08/12/19   287 of 462
                                                                    6 of 6 PageID# 18417




                                             BIG PICTURE LOANS, LLC; ASCENSION
                                             TECHNOLOGIES, LLC


                                             By:/s/ David N. Anthony
                                             David N. Anthony
                                             Virginia State Bar No. 31696
                                             Timothy J. St. George
                                             Virginia State Bar No. 77349
                                             Counsel for Big Picture Loans, LLC and Ascension
                                             Technologies, LLC
                                             TROUTMAN SANDERS LLP
                                             1001 Haxall Point
                                             Richmond, Virginia 23219
                                             Telephone: (804) 697-1254
                                             Facsimile: (804) 698-6013
                                             Email: david.anthony@troutmansanders.com
                                             Email: tim.stgeorge@troutmansanders.com

                                             Justin A. Gray (admitted pro hac vice)
                                             ROSETTE, LLP
                                             25344 Red Arrow Highway
                                             Mattawan, MI 49071
                                             Telephone: (269) 283-5005
                                             Facsimile: (517) 913-6443
                                             Email: jgray@rosettelaw.com


        39655217




                                                6

                                                                                      JA284
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                288 1
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18560




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

        LULA WILLIAMS, GLORIA TURNAGE,
        GEORGE HENGLE, DOWIN COFFY, and
        FELIX GILLISON, JR., on behalf of themselves
        and all individuals similarly situated,

                              Plaintiffs,                    Civil Action No. 3:17-cv-00461-REP
        v.

        BIG PICTURE LOANS, LLC; MATT MARTORELLO;
        ASCENSION TECHNOLOGIES, INC.,

                          Defendants.
        ______________________________________________ /

                          TRIBAL DEFENDANTS’ REPLY BRIEF IN SUPPORT
                              OF MOTION FOR ENTRY OF JUDGMENT

               Defendants, Big Picture Loans, LLC and Ascension Technologies, LLC (collectively, the

        “Tribal Defendants”), by counsel and pursuant to Federal Rules of Civil Procedure 54(b) and

        58(d), file this reply brief in support of their Motion for Entry of Judgment [ECF No. 604].

               Plaintiffs’ response concedes that the Court should comply with the mandate of the Fourth

        Circuit, which requires that the Tribal Defendants be dismissed for lack of subject matter

        jurisdiction. Indeed, Plaintiffs cite Stamper v. Baskerville, 724 F.2d 1106 (4th Cir. 1984), as

        governing authority here. In that case, the Fourth Circuit states unequivocally that “[c]ompliance

        with an order to relinquish jurisdiction necessarily precludes the lower court from taking any

        further action other than dismissal, for to do so would involve retaining jurisdiction” and that

        “[o]nce an order to dismiss is received, any action by the lower court other than immediate and

        complete dismissal is by definition inconsistent with – and therefore a violation – of the order.”

        Baskerville, 724 F.2d at 1108 (emphasis added). Plaintiffs’ reliance on Baskerville is tantamount




                                                                                                  JA285
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                289 2
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18561




        to an admission that this Court has already erred by its failure to give immediate effect to the

        mandate.

               Plaintiffs oppose the entry of judgment under Rule 54(b), claiming that such judgment is

        unwarranted because the Fourth Circuit did not order it. But they miss the point. The “complete

        dismissal” required by Baskerville, 724 F.2d at 1108, necessarily includes entry of judgment.

        Alternatively, when an appellate decision finds want of subject matter jurisdiction, the mandated

        lower court may decide “matters left open” by the mandate – but only such matters. Id. at 1108.

        Here, the Fourth Circuit did not expressly address whether dismissal should be by way of a Rule

        54(b) judgment. Thus, to the extent the Rule 54(b) judgment question may not be answered by

        Baskerville, that question – but only that question – is properly before the Court.

               Plaintiffs say that, in deciding whether to grant judgment under Rule 54(b), the Court

        should consider “‘the interest of sound judicial administration.’” (See ECF No. 620 at p. 3 (quoting

        Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 7 (1980).) The Tribal Defendants do not

        dispute the principle, but it does not help Plaintiffs. Indeed, the principle primarily means that

        “[a]pplication of [Rule 54(b)] should preserve the ‘historic federal policy against piecemeal

        appeals.’” Jordan v. Pugh, 425 F.3d 820, 829 (10th Cir. 2005) (quoting Curtiss-Wright, 446 U.S.

        at 8 (quoting Sears, Roebuck & Co. v. Mackey, 351 U.S. 427, 438 (1956))). Here, granting

        judgment under Rule 54(b) will not risk piecemeal appeals because the issue on which such

        judgment would be based has already been appealed and decided.

               Plaintiffs also note that “Rule 54(b) certification is recognized as the exception rather than

        the norm,” and that it “should neither be granted routinely, nor as an accommodation to counsel.”

        (See ECF No. 620 at p. 3 (quoting Braswell Shipyards, Inc. v. Beazer East, Inc., 2 F.3d 1331, 1335

        (4th Cir. 1993)) (emphasis added). But, that guidance was provided by the Fourth Circuit in



                                                         2

                                                                                                     JA286
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                290 3
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18562




        circumstances where Rule 54(b) certification was sought in order to permit an appeal that would

        otherwise have to wait until the end of the entire case. Those circumstances do not apply here, where

        the court of appeals acquired jurisdiction by other means and the appeal has been concluded.

               Moreover, this is an exceptional case. As shown by the decision of the Fourth Circuit, the

        Tribal Defendants have sovereign immunity and, thus, never should have been made parties to this

        case. Even so, they have been required to spend millions of dollars to vindicate their sovereignty,

        and these facts remove this case from the category of “routine.” It is time not merely for the Tribal

        Defendants to be dismissed from the case, but to have judgment entered in their favor. Again, when

        a mandate is based on a want of jurisdiction, the lower court is obliged to dismiss and take no further

        action – period – as anything else would “involve retaining jurisdiction” and constitute a “violation”

        of the Fourth Circuit’s order. Baskerville, 724 F.2d at 1108. To invoke the standard of Rule 54(b),

        there is “no just reason for delay” in entering final judgment.

               As the Tribal Defendants have explained, without a judgment under Rule 54(b), they will

        “continue to incur needless fees and costs as a result of remaining nominal parties in this action.”

        (See ECF No. 605 at p. 4.) In response, Plaintiffs assert that problem will be solved by an order

        dismissing them from the case without entry of judgment. (ECF No. 620 at p. 3.) But they are

        wrong about that. Indeed, any merit that might otherwise be found in Plaintiffs’ argument has

        been undermined by Plaintiffs’ announcement that they may ask the Court to bring the Tribal

        Defendants back into the case at some point in the future. (Id. at pp. 4-5.)

               “The purpose of Rule 54(b) in allowing the entry of judgment for or against a party in a

        multiparty case . . . is to enable a party (and its adversaries) to determine at the earliest possible

        opportunity whether it is securely out of the litigation and therefore can stop worrying about and

        preparing for further proceedings in it.” Cont’l Cas. Co. v. Anderson Excavating & Wrecking Co.,



                                                          3

                                                                                                      JA287
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                291 4
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18563




        189 F.3d 512, 517-18 (7th Cir. 1999). These considerations apply with special force where, as

        here, the basis of dismissal is immunity. Immunity is meant, of course, not only to protect the

        immune defendant from judgment, but also to protect that defendant from the expense and

        distraction of litigation, including any need to monitor or “worry about” a case. Accordingly, a

        finding of immunity of any sort creates the sort of circumstance warranting the entry of judgment

        under Rule 54(b). See e.g., Lee v. Willins, 617 F.2d 320, 321 (2d Cir. 1980) (affirming decision

        by district court to dismiss claims against immune prosecutorial defendants and enter Rule 54(b)

        judgment); Burnett v. Hinds Cty., No. 3:14-cv-651-CWR-FKB, 2015 U.S. Dist. LEXIS 136814,

        at *9 (S.D. Miss. Sept. 11, 2015) (dismissing claims against immune state defendants and entering

        Rule 54(b) judgment); Montgomery v. City of Lake Charles, No. 2:10-1297, 2011 U.S. Dist.

        LEXIS 24716, at *10 (W.D. La. Mar. 9, 2011) (dismissing claims against immune judicial

        defendants and entering Rule 54(b) judgment).

               Plaintiffs also cavalierly dismiss the Tribal Defendants’ point that they cannot ask for costs

        until judgment is entered. But, their observation that the award of costs is discretionary is

        irrelevant. The Tribal Defendants were haled into a court where they were immune, and the

        expenses that they incurred were an infringement of their immunity. The continued deprivation

        of reimbursement for costs (or, at a minimum, the continued deprivation of an opportunity to ask

        for costs) is a continuation of that infringement.

               What truly motivates Plaintiffs to oppose a Rule 54(b) judgment is not their desire to

        postpone a motion for the award of costs, nor any of their other misplaced arguments. Instead,

        Plaintiffs are very forthright about their strategy. They seek a second bite at the apple and plan

        to bring forward additional “evidence” bearing upon sovereign immunity. They say: “The

        possibility that this Court may revise its dismissal order serves as a compelling basis to deny the



                                                             4

                                                                                                     JA288
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                292 5
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18564




        Corporate Defendants’ request here.” (See ECF No. 620 at p. 5 (emphasis added).) But, under

        the law, there is no legitimate possibility of any such “revision.” Such a revision may have been

        technically possible if the dismissal of the Tribal Defendants had been this Court’s decision, but

        it was not. Dismissal was mandated by the Fourth Circuit, and this Court may not revise that

        mandate.

                Seeking to overcome this obvious flaw in their argument, Plaintiffs then boldly assert:

                As the Fourth Circuit has explained, orders dismissing parties on the basis for [sic]
                subject matter jurisdiction—even if required by mandate—“do[] not and cannot
                limit the power of a court to reconsider an earlier ruling.”

        Id. (quoting Am. Canoe, 326 F.3d at 515) (emphasis added). But the key part of their assertion –

        “even if required by mandate” – is a figment of Plaintiffs’ imagination. The case they cite,

        American Canoe, said no such thing, nor do the facts of that case support such a proposition.

        Contrary to Plaintiffs’ suggestion, there was no mandate in American Canoe ordering dismissal

        of the parties.

                To be sure, American Canoe also involved a question of subject matter jurisdiction, but

        any similarity with the instant case ends there. In American Canoe, the jurisdictional question

        was whether the plaintiffs had Article III standing, not whether the defendants had sovereign

        immunity. Having ruled that the plaintiffs had such standing, the district court refused to

        reconsider that ruling when defendants produced evidence suggesting they did not – a refusal the

        Fourth Circuit found to be error. See Am. Canoe, 326 F.3d at 516 (“[W]e cannot help but conclude

        that the district court abused its discretion in denying the [defendants’] reconsideration request.”).

        To say that a district court can – and sometimes must – reconsider its own ruling in favor of

        subject matter jurisdiction, does not mean that a district court can “reconsider” a court of appeal’s




                                                          5

                                                                                                        JA289
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                293 6
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18565




        ruling against such jurisdiction. Tellingly, Plaintiffs do not cite any case where a district court

        has ventured down such a path.1

               Moreover, it should be noted that Plaintiffs have already attempted to sway the Fourth

        Circuit with their claims of misrepresentation, but they were rebuffed. Shortly after the May 7,

        2019 appellate argument – and seeing the hand-writing on the wall – the plaintiffs in a related

        case (with the same counsel) came to this Court with their newly-fabricated claim that the Tribal

        Defendants had engaged in misrepresentation, both here and on appeal. See Galloway v. Big

        Picture Loans, LLC, No. 3:18cv406 (E.D. Va.) (“Galloway I”), ECF No. 249. Reviewing the

        submission from the Galloway plaintiffs – and not yet having the benefit of the Tribal Defendants’

        response – this Court entered an Order giving credence to their claim. See Galloway I, ECF No.

        246 (May 29, 2019).2 A few days later, the Williams Plaintiffs submitted that Order to the Fourth

        Circuit as “additional authority” and made the following request:

               Given these new developments, if this Court concludes that, on the original record,
               the district court erred in denying sovereign immunity, it should consider
               remanding to allow the district court to re-evaluate that decision in light of any
               new and relevant evidence.

        Letter from M. Wessler to the Fourth Circuit, No. 18-1827, ECF No. 125 (4th Cir. June 4, 2019)

        (emphasis added). The Fourth Circuit did not heed the Plaintiffs’ request. Instead, on July 3,



        1
               Plaintiffs also quote Moses H. Cone Mem. Hosp. v. Mercury Const. Corp., 460 U.S. 1, 12
        (1983) for the Supreme Court’s statement that “every order short of a final decree is subject to
        reopening at the discretion of the district judge.” But that statement – along with Rule 54(b), which
        the Court cites in support of its statement – refers to orders entered by the district judge in the
        exercise of his or her own judgment, not orders entered by the district judge pursuant to the
        mandate of the court of appeals.
        2
               This Court’s May 29, 2019 Order stated, for example, that (i) the Galloway I plaintiffs’
        newly-filed documents “raise[] substantive doubts about the accuracy of evidence presented in this
        case and the Williams Case by the Corporate Defendants…” and (ii) “there is significant new and
        important evidence that will be critical to deciding whether Big Picture and Ascension enjoy
        sovereign immunity.” Galloway I, ECF No. 246, at p. 3.

                                                         6

                                                                                                     JA290
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                294 7
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18566




        2019, the Fourth Circuit issued its decision, revers[ing] the district court’s order and remand[ing]

        with instructions to grant the [Tribal Defendants’] motion to dismiss for lack of subject matter

        jurisdiction.” Williams v. Big Picture Loans, LLC, 929 F.3d 170, 185 (4th Cir. 2019). When the

        Williams Plaintiffs sought neither rehearing nor rehearing en banc, the Fourth Circuit entered its

        mandate on July 25, 2019. It is that mandate that now governs this case, and it precludes the sort

        of “reconsideration” that the Plaintiffs sought in vain from the Fourth Circuit and that they

        mistakenly think this Court could or should entertain.

               While the mandate of the Fourth Circuit did not expressly require entry of judgment under

        Rule 54(b), the requirement that this Court relinquish all claims of jurisdiction and take no further

        action show the appropriateness of entering such a judgment. There is nothing to be gained by

        doing otherwise. Indeed, Plaintiffs’ response is “Exhibit A” for why entry of a Rule 54(b) final

        judgment is not only warranted, but necessary. Plaintiffs argue that the Court should not close

        out this matter definitively, so that they may assert, at some later date, more motions and more

        litigation targeting the Tribal Defendants.

               But, there is no process by which this Court can “reconsider” the Fourth Circuit’s decision

        that this Court lacks subject matter jurisdiction. Even so, Plaintiffs’ suggestion that they may

        seek such “reconsideration” at some future date furnishes an additional reason for entering

        judgment now. In light of that suggestion – or threat – the Tribal Defendants must now monitor

        the proceedings in this case more closely than ever, unless judgment is entered their favor.

        (Indeed, a decision not to enter such judgment might well suggest that this Court agrees with

        Plaintiffs’ view that the case can be reopened, thus making such monitoring all the more urgent.)

        This will require the expenditure of time, attention, and money – all of which represent additional

        infringements on the sovereign immunity that the Fourth Circuit found the Tribal Defendants to



                                                         7

                                                                                                     JA291
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                295 8
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18567




        possess. To give “full effect to [the Fourth Circuit Order’s] execution,” entry of a final judgment

        is necessary.    Baskerville, 724 F.2d 1107. This Court should not only dismiss the Tribal

        Defendants but should enter judgment under Rule 54(b).

                                                 CONCLUSION

               For the foregoing reasons and those stated in their opening memorandum, Defendants, Big

        Picture Loans, LLC and Ascension Technologies, LLC, respectfully request that the Court:

        (a) grant their motion for entry of judgment under Rule 54(b) dismissing them from this case for

        lack of subject matter jurisdiction; and (b) enter the proposed form of judgment previously

        submitted to the Court [ECF No. 604-1], which reflects the Opinion and Judgment of the Fourth

        Circuit that went into effect on July 25, 2019.

               In the alternative, the Court should, at a minimum, heed the mandate of the Fourth Circuit

        and dismiss the Tribal Defendants for lack of subject matter jurisdiction.

                                                      BIG PICTURE LOANS, LLC. and
                                                      ASCENSION TECHNOLOGIES, LLC


                                                      By:/s/ David N. Anthony
                                                      David N. Anthony
                                                      Virginia State Bar No. 31696
                                                      William H. Hurd
                                                      Virginia State Bar No. 16967
                                                      Timothy J. St. George
                                                      Virginia State Bar No. 77349
                                                      Counsel for Big Picture Loans, LLC and Ascension
                                                      Technologies, LLC
                                                      TROUTMAN SANDERS LLP
                                                      1001 Haxall Point
                                                      Richmond, Virginia 23219
                                                      Telephone: (804) 697-1254
                                                      Facsimile: (804) 698-6013
                                                      Email: david.anthony@troutman.com
                                                      Email: tim.stgeorge@troutman.com




                                                          8

                                                                                                   JA292
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP          Filed:
                                Document 621 12/06/2023
                                              Filed 09/10/19Pg:Page
                                                                296 9
                                                                    ofof
                                                                       462
                                                                         12 PageID# 18568




                                             Justin A. Gray (admitted pro hac vice)
                                             ROSETTE, LLP
                                             25344 Red Arrow Highway
                                             Mattawan, MI 49071
                                             Telephone: (269) 283-5005
                                             Facsimile: (517) 913-6443
                                             Email: jgray@rosettelaw.com




                                                9

                                                                                      JA293
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        621 12/06/2023
                                              Filed 09/10/19 Pg: 29710
                                                              Page   of of
                                                                        46212 PageID# 18569




                                         CERTIFICATE OF SERVICE

               I hereby certify that on the 10th day of September 2019, I electronically filed the foregoing

        with the Clerk of the Court using the CM/ECF System which will then send a notification of such

        filing (NEF) to the following:

         Kristi C. Kelly                                  James W. Speer
         Andrew J. Guzzo                                  VIRGINIA POVERTY LAW CENTER
         Casey S. Nash                                    919 E. Main Street, Suite 610
         KELLY GUZZO PLC                                  Richmond, VA 23219
         3925 Chain Bridge Road, Suite 202                Telephone: 804-782-9430
         Fairfax, VA 22030                                Facsimile: 804-649-0974
         Telephone: 703-424-7570                          Email: jay@vplc.orga
         Facsimile: 703-591-0167                          Counsel for Plaintiffs
         Email: kkelly@kellyguzzo.com
         Email: aguzzo@kellyguzzo.com
         Email: casey@kellyguzzo.com
         Counsel for Plaintiffs

         Craig Carley Marchiando                          Beth Ellen Terrell
         Elizabeth W. Hanes                               Elizabeth Anne Adams
         Leonard A. Bennett                               Jennifer Rust Murray
         CONSUMER LITIGATION ASSOCIATES                   TERRELL MARSHALL LAW GROUP
         763 J Clyde Morris Boulevard, Suite 1A           PLLC
         Newport News, VA 23601                           936 North 34th St., Suite 300
         Telephone: 757-930-3660                          Seattle, WA 98103-6689
         Facsimile: 757-930-3662                          Telephone: 206-816-6603
         Email: craig@clalegal.com                        Facsimile: (206) 319-5450
         Email: elizabeth@clalegal.com                    Email: bterrell@terrellmarshall.com
         Email: lenbennett@clalegal.com                   Email: eadams@terrellmarshall.com
         Counsel for Plaintiffs                           Email: jmurray@terrellmarshall.com
                                                          Counsel for Plaintiffs
         Eleanor Michelle Drake                           Matthew William Wessler
         James Gerard Albanese                            GUPTA WESSLER PLLC
         BERGER & MONTAGUE PC                             1900 L Street NW, Suite 312
         43 S.E. Main Street, Suite 505                   Washington, DC 20036
         Minneapolis, MN 55414                            Telephone: 202-888-1741
         Telephone: (612-594-5999                         Facsimile: (202) 888-7792
         Facsimile: (612) 584-4470                        Email: matt@guptawessler.com
         Email: emdrake@bm.net                            Counsel for Plaintiffs
         Email: jalbanese@bm.net
         Counsel for Plaintiffs



                                                        10

                                                                                                    JA294
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        621 12/06/2023
                                              Filed 09/10/19 Pg: 29811
                                                              Page   of of
                                                                        46212 PageID# 18570




         Charles Palella                           Jonathan P. Boughrum
         ARMSTRONG TEASDALE LLP                    Richard L. Scheff
         919 Third Avenue, 37th Floor              Michael C. Witsch
         New York, NY 10022                        ARMSTRONG TEASDALE LLP
         Telephone: 212-209-4403                   2005 Market Street, 29th Floor
         Facsimile: (212) 409-8385                 One Commerce Square
         Email: cpalella@armstrongteasdale.com     Philadelphia, PA 19103
         Counsel for Defendant Matt Martorello     Telephone: 215-246-3467
                                                   Facsimile: 215-569-8228
                                                   Email: jboughrum@armstrongteasdale.com
                                                   Email: rlscheff@armstrongteasdale.com
                                                   Email: mwitsch@armstrongteasdale.com
                                                   Counsel for Defendant Matt Martorello

         Hugh McCoy Fain, III                      Michelle Lynne Alamo
         John M. Erbach                            William Ojile
         Maurice F. Mullins                        ARMSTRONG TEASDALE LLP
         SPOTTS FAIN PC                            4643 S Ulster Street, Suite 800
         411 E Franklin St                         Denver, CO 80237
         PO Box 1555                               Telephone: 720-722-7189
         Richmond, VA 23218-1555                   Facsimile: (720) 200-0679
         Telephone: 804-788-1190                   Email: malamo@armstrongteasdale.com
         Facsimile: 804-697-2144                   Email: bojile@armstrongteasdale.com
         Email: hfain@spottsfain.com               Counsel for Matt Martorello
         Email: jerbach@spottsfain.com
         Email: cmullings@spottsfain.com
         Counsel for Matt Martorello

         Paul Louis Brusati
         Todd D. Stephens
         ARMSTRONG TEASDALE LLP
         7700 Forsyth Blvd., Suite 1800
         St. Louis, MO 63105
         Telephone: 314-552-6602
         Facsimile: (314) 613-8522
         Email: pbrusati@armstrongteasdale.com
         Email: tstephens@armstrongteasdale.com
         Counsel for Matt Martorello




                                                  11

                                                                                     JA295
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:17-cv-00461-REP   DocumentFiled:
                                        621 12/06/2023
                                              Filed 09/10/19 Pg: 29912
                                                              Page   of of
                                                                        46212 PageID# 18571




                                        /s/David N. Anthony
                                        David N. Anthony
                                        Virginia State Bar No. 31696
                                        Counsel for Big Picture Loans, LLC and Ascension
                                        Technologies, LLC
                                        TROUTMAN SANDERS LLP
                                        1001 Haxall Point
                                        Richmond, Virginia 23219
                                        Telephone: (804) 697-1254
                                        Facsimile: (804) 698-6013
                                        Email: david.anthony@troutman.com


        39975631




                                                 12

                                                                                           JA296
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  300 of1 462
                                                                       of 79 PageID# 1461




                     CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

               This Class Action Settlement Agreement and Release (“Settlement Agreement”) is made

        and entered into by and between: (1) Plaintiffs in the Actions listed below (“Plaintiffs”), and (2)

        (i) Big Picture Loans, LLC (“Big Picture”) and Ascension Technologies, LLC (“Ascension”)

        (collectively, the “Big Picture Defendants”), wholly-owned and operated entities of the Lac Vieux

        Desert Band of Lake Superior Chippewa Indians (the “Tribe”), a federally-recognized Indian tribe,

        (ii) James Williams, Jr., Michelle Hazen, Henry Smith, Alice Brunk, Andrea Russell, Tina Caron,

        Mitchell McGeshick, Gertrude McGeshick, Susan McGeshick, Giiwegiizhigookway Martin,

        Jeffery McGeshick, Roberta Ivey, and June Saad (collectively, the “Individual Tribal

        Defendants”), (iii) Columbia Pipe & Supply Co., Timothy Arenberg, Terrance Arenberg, DTA

        Trinity Wealth Transfer Trust, and Deborah M. Arenberg Living Trust (collectively, the

        “Columbia Defendants”), (iv) Amlaur Resources, LLC and Brian Jedwab (collectively the

        “Amlaur Defendants”), (v) James Dowd (“Dowd”), (vi) Simon Liang (“Liang”), and (vii) Brian

        McFadden (“McFadden”) (collectively, the Big Picture Defendants, the Tribe, the Individual

        Tribal Defendants, the Columbia Defendants, the Amlaur Defendants, Dowd, Liang and

        McFadden shall be referred to as the “Settling Defendants”; collectively, Plaintiffs and the Settling

        Defendants shall be referred to as the “Parties”).

               This Settlement Agreement is intended to fully, finally, and forever resolve the Released

        Claims (see Section XII) of the Settlement Class (see Section 2.28), some of which are set forth in

        certain pending and dismissed civil actions, including but not limited to: Lula Williams, et al. v.

        Big Picture Loans, LLC, et al., No. 3:17-cv-00461 (E.D. Va.) (“Williams”); Renee Galloway, et

        al. v. Big Picture Loans, LLC, et al., No. 3:18-cv-00406 (E.D. Va.) (“Galloway I”); Renee

        Galloway, et al. v. Matt Martorello, et al., No. 3:19-cv-00314 (E.D. Va.) (“Galloway II”); Renee




                                                                                                     JA297
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  301 of2 462
                                                                       of 79 PageID# 1462




        Galloway, et al. v. James Williams, Jr., et al., No. 3:19-cv-00470 (E.D. Va.) (“Galloway III”);

        Dana Duggan v. Big Picture Loans, LLC, et al., No. 1:18-cv-12277 (D. Mass.) (“Duggan”);

        Richard Lee Smith, Jr. v. Big Picture Loans, LLC, et al., No. 3:18-cv-01651 (D. Or.) (“Smith”);

        Christine Cumming, et al. v. Big Picture Loans, LLC, et al., No. 5:18-cv-03476 (N.D. Ca.); Chris

        Kobin v. Big Picture Loans, LLC, et al., 2:19-cv-02842 (C.D. Ca.); and Victoria Renee McKoy, et

        al., v. Big Picture Loans, LLC, et al., 1:18-cv-03217 (N.D. Ga.) (collectively, the “Actions”).

        I.     RECITALS

               1.1     Beginning in June 2017, Plaintiffs filed putative class action Complaints in the

        United States District Courts for the Eastern District of Virginia, Central District of California,

        Northern District of California, Northern District of Georgia, District of Massachusetts, and

        District of Oregon, alleging violations of the Racketeer Influenced and Corrupt Organizations Act

        (“RICO”) and the usury laws of various states, among other claims, arising from loans made to

        consumers by Big Picture or Red Rock Tribal Lending, LLC (“Red Rock”).

               1.2     The Actions collectively involved substantial discovery and motion practice,

        including multiple motions to dismiss; the production and review of hundreds of thousands of

        pages of documents; depositions and expert reports; an appeal to the Fourth Circuit Court of

        Appeals; and pre-trial briefing and preparation, which – following significant arms-length

        negotiations and multiple all-day mediations conducted by Nancy F. Lesser of PAX ADR Dispute

        Resolution & Mediation Services and the Honorable David J. Novak – culminated in a Settlement

        (see Section 2.24). During those mediation sessions, the fact that Troutman Sanders, LLP

        represented multiple Defendants, including certain Settling Defendants and certain Non-Settling

        Defendants, was fully disclosed to the Parties, the mediator, and the Honorable David J. Novak.

        Troutman Sanders, LLP did not participate in discussions where any proposed settlement term

        potentially adversely impacting any of the Non-Settling Defendants was being considered.


                                                         2
                                                                                                   JA298
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  302 of3 462
                                                                       of 79 PageID# 1463




               1.3     Based on Class Counsel’s investigation and the Parties’ negotiations, which

        included Class Counsel’s extensive review of voluminous documents and data obtained in

        discovery in related litigation and multiple depositions, and taking into account the sharply-

        contested issues involved, the risks, uncertainty, and cost of further prosecution of this litigation,

        and the substantial benefits to be received by Settlement Class Members pursuant to this Settlement

        Agreement, Class Counsel have concluded that a settlement with the Settling Defendants on the

        terms set forth herein is fair, reasonable, adequate and in the best interests of the Settlement Class

        Members.

               1.4     The Tribe, the Big Picture Defendants, the Tribal Officials, the Individual Tribal

        Defendants, Dowd, McFadden, and Liang assert that they are all entitled to tribal sovereign

        immunity. Further, the Tribe, the Big Picture Defendants, the Tribal Officials, the Individual Tribal

        Defendants, Dowd, McFadden, and Liang deny that any court in the Actions has subject matter

        jurisdiction or personal jurisdiction over any of them. By entering into this Settlement Agreement,

        Plaintiffs and Class Counsel have not conceded nor agreed to these defenses.

               1.5     The Columbia Defendants and the Amlaur Defendants deny that the Court in

        Galloway II has subject matter jurisdiction or personal jurisdiction over any of them. By entering

        into this Settlement Agreement, Plaintiffs and Class Counsel have not conceded nor agreed to these

        defenses.

               1.6     The Settling Defendants deny all material allegations in the Complaints, deny any

        jurisdiction in this Court save for purposes of enforcing this Settlement Agreement, deny any fault,

        wrongdoing, or liability whatsoever arising out of or related to their business practices, and

        affirmatively state that their practices have been lawful and proper. The Settling Defendants deny

        that the resolution of the merits of the Actions is suitable for class treatment, and further deny




                                                          3
                                                                                                     JA299
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  303 of4 462
                                                                       of 79 PageID# 1464




        liability to Plaintiffs or to others similarly situated, including all members of the Settlement Class.

        It is specifically agreed that the execution of this Settlement Agreement is not, and shall not be

        construed as, an admission of wrongdoing or liability by any Defendant, an admission that any

        Defendant violated any provision of any federal or state law, or an admission that any Defendant

        concedes that class treatment of the Actions is appropriate for any purpose other than certification

        of a settlement class as set forth herein. By entering into this Settlement Agreement, Plaintiffs and

        Class Counsel have not conceded nor agreed to the preceding assertions, disputes, and defenses.

               1.7     Based on the investigation and negotiations described above, Plaintiffs and Class

        Counsel have concluded that it would be in the best interests of the Settlement Class to enter into

        this Settlement Agreement in order to avoid the uncertainties of litigation and to assure benefits to

        the Settlement Class and that the settlement contemplated hereby is fair, reasonable, and adequate,

        and in the best interests of all members of the Settlement Class.

               1.8     The Parties understand, acknowledge and agree that the execution of this

        Settlement Agreement constitutes the settlement and compromise of disputed claims. This

        Settlement Agreement is inadmissible as evidence against any Party except to enforce the terms of

        the Settlement Agreement and is not an admission of fact or law, or as a concession of any

        wrongdoing, obligation, or liability on the part of any Party or the Tribe. The Parties desire and

        intend to affect a full, complete, and final settlement and resolution of all existing disputes and

        claims as set forth herein. The Parties agree that nothing in this Settlement Agreement shall

        constitute a waiver by the Tribe, the Big Picture Defendants, the Tribal Officials, the Individual

        Tribal Defendants, Dowd, McFadden, and/or Liang of sovereign immunity, except as specifically

        and expressly provided herein, namely and only to the extent, of enforcement of this Settlement

        Agreement.




                                                          4
                                                                                                      JA300
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  304 of5 462
                                                                       of 79 PageID# 1465




               1.9     The Settlement contemplated by this Settlement Agreement is subject to

        preliminary approval and final approval by the Court, as set forth herein. This Settlement

        Agreement is intended by the Parties to fully, finally, and forever resolve, discharge, and settle the

        Released Claims, upon and subject to the terms and conditions hereof.

               NOW, THEREFORE, in consideration of the promises and agreements set forth herein, it

        is hereby STIPULATED AND AGREED, subject to this Court’s approval, that each and every

        claim that has been alleged, or could have been alleged based on the facts alleged in the Actions,

        whether brought by or on behalf of Plaintiffs, the Settlement Class (as defined in Paragraph 2.32

        below), or portions of the Settlement Class, shall be fully and finally settled and compromised and

        dismissed with prejudice, and shall be fully discharged and released, upon and subject to the

        following terms and conditions.

               The recitals stated above are true and accurate and are hereby made a part of the Settlement

        Agreement.

        II.    DEFINITIONS

               2.1     As used in this Settlement Agreement, the terms defined below shall have the

        meanings assigned to them when capitalized in the same fashion as in this Section II. All other

        terms shall have the meaning accorded to those terms in the operative complaint in the Actions.

               2.2     “Attorneys’ Fees” means the attorneys’ fees and expenses applied for by Class

        Counsel relating to this Settlement Agreement and approved by the Court.

               2.3     “Claim” means any and all actions, causes of action, proceedings, adjustments,

        executions, offsets, contracts, judgments, obligations, suits, debts, dues, sums of money, accounts,

        reckonings, bonds, bills, specialties, variances, covenants, trespasses, damages, demands (whether

        written or oral), agreements, promises, liabilities, controversies, costs, expenses, attorneys’ fees

        and losses whatsoever, whether in law, in admiralty or in equity, whether by affirmative claim,


                                                          5
                                                                                                      JA301
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  305 of6 462
                                                                       of 79 PageID# 1466




        counterclaim, or setoff, and whether based on any federal law, state law, foreign law or common

        law right of action or otherwise, foreseen or unforeseen, matured or unmatured, known or

        unknown, accrued or not accrued, existing now or that may later exist in the future, relating to

        and/or arising out of loans made by and/or in the name of Big Picture, Castle Payday Loans, and/or

        Red Rock that are the subject of the Actions.

               2.4     “Claim Amount” means a pro rata distribution to those members of the Settlement

        Class who make a claim and have paid more than 2.5 times the amount of principal on their

        respective loan. This Claim Amount will be the same regardless of the number of loans.

               2.5     “Claims Process” means the process by which a member of the Settlement Class

        must complete a Claim Form certifying his or her membership in the Settlement Class and decision

        electing to obtain a distribution from the Settlement Fund, as set forth in Section VIII.

               2.6     “Class Counsel” means Consumer Litigation Associates, P.C.; Kelly Guzzo PLC,

        Terrell Marshall Law Group PLLC; Berger & Montague PC; Virginia Poverty Law Center; Gupta

        Wessler PLLC; Tycko & Zavareei LLP; Caddell & Chapman; and their respective attorneys, as

        listed on the operative complaints in the Actions.

               2.7     “Class Notice” means the notice (in form substantially similar to that attached

        hereto as Exhibit A and approved by the Court) that will be emailed to Settlement Class Members

        pursuant to the Notice Plan approved by the Court.

               2.8     “Consumer” means a natural person residing in the United States of America or its

        territories who is a member of the Settlement Class.

               2.9     “Court” means the United States District Court for the Eastern District of Virginia.




                                                         6
                                                                                                    JA302
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  306 of7 462
                                                                       of 79 PageID# 1467




                2.10    “Settling Defendants’ Counsel” means Rosette, LLP; Troutman Sanders LLP;

        Dorsey & Whitney LLP; Hinshaw and Culbertson LLP; Ruyak Cherian LLP; and Bellew LLC, as

        set forth in the respective signature blocks below.

                2.11    “Effective Date” is the date on which this Court’s entry of the Final Approval Order

        and this Court’s order regarding attorneys’ fees have all become final because the following has

        occurred: (i) the expiration of three (3) business days after the time to file a motion to alter or

        amend the Final Approval Order under Federal Rule of Civil Procedure 59(e) has passed without

        any such motion having been filed; (ii) the expiration of three (3) business days after the time in

        which to appeal the Final Approval Order has passed without any appeal having been filed (which

        date shall be deemed to be thirty-three (33) days following the entry of the Final Approval Order,

        unless the date to take such an appeal shall have been extended by Court order or otherwise, or

        unless the thirty-third (33rd) day falls on a weekend or a Court holiday, in which case the date for

        purposes of this Settlement shall be deemed to be the next business day after such thirty-third

        (33rd) day); and (iii) if such motion to alter or amend is filed, or if an appeal is taken, three business

        days after a determination of any such motion or appeal that permits the consummation of the

        Settlement. For purposes of this definition, the term “appeal” includes all writ proceedings.

                2.12    “Final Approval” means the approval of the Settlement Agreement by the Court at

        or after the Final Approval Hearing, and entry on the Court’s docket of the Final Approval Order.

                2.13    “Final Approval Hearing” or “Final Fairness Hearing” means the hearing at which

        the Court will consider and finally decide whether to approve this Settlement, enter a judgment,

        and make such other rulings as are contemplated by this Settlement. The Final Approval Hearing

        shall be scheduled in accordance with the Notice Plan approved by the Court and following the

        granting of Plaintiffs’ motion for Preliminary Approval of the Settlement.




                                                            7
                                                                                                         JA303
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  307 of8 462
                                                                       of 79 PageID# 1468




               2.14    “Final Approval Order” means a final order and judgment entered by the Court

        giving Final Approval of the Settlement Agreement, dismissing with prejudice Plaintiffs’ claims

        (which shall not include Plaintiffs’ Claims against the Non-Settling Defendants), and entering a

        judgment in a form agreed to by the Parties according to the terms set forth in this Settlement

        Agreement and as approved by the Court.

               2.15    “Named Plaintiffs” means Lula Williams; Gloria Turnage; George Hengle; Dowin

        Coffy; Marcella Singh; Renee Galloway; Dianne Turner; Earl Browne; Rose Marie Buchert;

        Regina Nolte; Kevin Minor; Teresa Titus; Lisa Martinez; Anthony Green; Sonji Grandy; Anastasia

        Sherman; Burry Pough; Linda Madison; Dominque de la Bay; Lucinda Gray; Andrea

        Scarborough; Jerry Avent; Lori Fitzgerald; Derek Geter; Keisha Hamm; Faith Thomas; Sharon

        Paavo; Latanya Tarleton; Christina Cumming; Lamesha Kondo; Andrea Mendez; Tammy

        Wangeline; Freeman Revels; Kimberly Pool; Tasha Pettiford; Richard L. Smith, Jr.; Victoria R.

        McKoy; Desiree W. Lovins; Sandra Monsalve; Carrie S. Smith; Chris Kobin; and Dana Duggan.

               2.16    “Non-Settling Defendant” means any defendant in any of the Actions that is not

        one of the Released Parties and/or Settling Defendants in this Settlement Agreement. The Non-

        Settling Defendants include at this time, but are not limited to, Matt Martorello, Justin Martorello,

        Rebecca Martorello, Jeremy Davis, Eventide Credit Acquisitions, Bluetech Irrevocable Trust,

        Kairos Holdings, LLC, Liont, LLC, Breakwater Holdings, LLC, and Gallant Capital, LLC.

               2.17    “Notice Plan” means the plan for disseminating notice to Settlement Class

        Members that is approved by the Court, as described in Sections 6.6 through 6.8.

               2.18    “Objection Deadline” shall be the final date set by the Court for Settlement Class

        Members to return notice of their objection to this Settlement, which shall be thirty (30) days prior

        to the Final Approval Hearing.




                                                         8
                                                                                                     JA304
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 55-112/06/2023     Pg:Page
                                               Filed 12/19/19  308 of9 462
                                                                       of 79 PageID# 1469




               2.19    “Payment Notices” means the notices sent at the time of payment to Settlement

        Class Members who submit Valid Claims pursuant to Section VIII.

               2.20    “Preliminary Approval” means the preliminary approval of the Settlement

        Agreement by the Court, conditional certification of the Settlement Class, and approval of the

        Notice Plan by the Court, including the method and content of notice to the Settlement Class

        Members.

               2.21    “Released Claims” means those Claims released as set forth in Section 12.3 below.

               2.22    “Released Parties” shall include the Tribe and its current and former Tribal

        Officials; the Individual Tribal Defendants; Big Picture; Ascension; Red Rock; Duck Creek Tribal

        Financial, LLC (“Duck Creek”); Tribal Economic Development Holdings, LLC (“TED”);

        Columbia Pipe & Supply Co. (“Columbia Pipe”); DTA Wealth Transfer Trust (“DTA Wealth”);

        Deborah M. Arenberg Living Trust (“DMA Living”); Amlaur Resources, LLC (“Amlaur”) and

        each of their current and former directors, officers, principals, trustees, shareholders, partners,

        contractors, agents, attorneys (including, Rosette Holdings, LLC, Rosette, LLP, Robert A. Rosette,

        and Karrie S. Wichtman). The Released Parties also specifically include: (1) Simon Liang;

        (2) Brian McFadden; (3) James Dowd; (4) Terrance Arenberg; (5) Timothy Arenberg; (6) Brian

        Jedwab; (7) Alice Brunk; (8) Tina Caron; (9) Michelle Hazen; (10) Roberta Ivey; (11) Gertrude

        McGeshick; (12) Jeffery McGeshick; (13) Mitchell McGeshick; (14) Susan McGeshick;

        (15) Giiwegiizhigookway Martin; (16) Andrea Russell; (17) June Saad; (18) all members (past and

        present) of the LVD Tribal Council, each in their individual and official capacity; (19) Henry

        Smith; and (20) James Williams, Jr. The “Released Parties” shall not include Matt Martorello,

        Justin Martorello, Rebecca Martorello, Jeremy Davis, Eventide Credit Acquisitions, LLC,




                                                        9
                                                                                                   JA305
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                309 of
                                                                    10462
                                                                       of 79 PageID# 1470




        Bluetech Irrevocable Trust, Kairos Holdings, LLC, Liont, LLC, or any other entities owned,

        directly or indirectly, by Matt Martorello, Justin Martorello or Rebecca Martorello.

                  2.23   “RICO” means the federal Racketeer Influenced and Corrupt Organizations Act,

        18 U.S.C. §§ 1961, et seq., and any subsequent amendments thereto.

                  2.24   “Service Awards” means the payments to Named Plaintiffs for their service as class

        representatives of the Settlement Class as set forth in Section 10.11, subject to approval by the

        Court.

                  2.25   “Settlement” means the agreement between the Named Plaintiffs as proposed

        representatives of the Settlement Class, and Settling Defendants, to settle and compromise, fully,

        finally, and forever, the Named Plaintiffs’ and the Settlement Class Members’ Claims in the

        Actions, as memorialized in this Settlement Agreement and the accompanying documents attached

        hereto.

                  2.26   “Settlement Administrator” means the class settlement administration company

        mutually agreeable to all Parties and approved by the Court, which has been hired by the Parties

        to provide the Class Notice and to carry out the other specified, administrative tasks set forth in

        this Settlement Agreement.

                  2.27   “Settlement Agreement” means this Class Action Settlement Agreement and

        Release.

                  2.28   “Settlement Class” or “Settlement Class Member” means all consumers residing

        within the United States who executed loan agreements with Red Rock, Castle Payday Loans, or

        Big Picture (including loans assigned to Big Picture) from June 22, 2013 to the date of the

        Preliminary Approval Order; provided, however, that “Settlement Class” and “Settlement Class

        Member” shall exclude: (i) all consumers who would otherwise qualify for membership in the




                                                         10
                                                                                                   JA306
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                310 of
                                                                    11462
                                                                       of 79 PageID# 1471




        “Settlement Class” for which the consumer previously has released all claims as to the Settling

        Defendants; (ii) Settling Defendants’ officers, directors, and employees; (iii) Settling Defendants’

        attorneys; (iv) Plaintiffs’ attorneys; and (v) any judge who has presided over either mediation or

        disposition of this case and the members of his or her immediate family.

               2.29    “Settlement Fund” means the amount paid pursuant to Sections 10.1 and 10.2

        herein. The Settlement Fund shall be inclusive of any and all Service Awards, Attorneys’ Fees,

        costs, expenses, notice to the Settlement Class Members, and settlement administration costs.

               2.30    “Settlement Website” means the internet website established by the Settlement

        Administrator for purposes of facilitating notice to, and communicating with, the Settlement Class

        and for receipt of online claims.

               2.31    “Tribal Officials” means the Individual Tribal Defendants and/or any past or

        present members of the Lac Vieux Desert Band of Lake Superior Chippewa Indians Tribal Council

        and/or any employees of the Tribe or any arms of the Tribe.

               2.32    “Valid Claim” means a claim filed pursuant to Section VIII by a Settlement Class

        Member who (1) repaid his or her loan in full, and also (2) paid more than 2.5 times the original

        principle amount of the loan in payments over the life of the loan.

        III.   NO ADMISSION OF LIABILITY OR TO THE ELEMENTS OF CLASS
               CERTIFICATION FOR PURPOSES OF MERITS RESOLUTION.

               3.1     Settling Defendants’ Denial of Wrongdoing or Liability. Settling Defendants have

        asserted and continue to assert many defenses in these Actions and have expressly denied and

        continue to deny any fault, wrongdoing, or liability whatsoever arising out of the conduct alleged

        in the Actions. Settling Defendants expressly deny any fault, wrongdoing, or liability whatsoever,

        as well as the validity of each of the claims and prayers for relief asserted in the Actions. The

        Parties expressly acknowledge and agree that neither the fact of, nor any provision contained in,



                                                        11
                                                                                                    JA307
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                311 of
                                                                    12462
                                                                       of 79 PageID# 1472




        this Settlement Agreement nor any of the implementing documents or actions taken under them,

        shall constitute or be construed as an admission of the validity of any claim, any status, or any fact

        alleged in the Actions or any fault, wrongdoing, violation of law, or liability of any kind on the

        part of Settling Defendants and/or the Released Parties, or any admission by Settling Defendants

        and/or the Released Parties of any claim or allegation made in any action or proceeding against

        Settling Defendants. Settling Defendants have denied and continue to deny each and all of the

        claims and allegations in the Actions. Neither this Settlement Agreement nor any document

        referred to herein, nor any action taken to carry out this Settlement Agreement and/or the

        Settlement, or Settling Defendants’ willingness to enter into this Settlement Agreement, nor any

        or all negotiations, communications, and discussions associated with the Settlement are, or may

        be construed as, or may be used in any proceeding as, an admission by or against any or all Settling

        Defendants of any fault, wrongdoing or liability whatsoever, or any infirmity of any defenses

        asserted by any or all Settling Defendants.

               3.2     No Waiver of Tribal Sovereign Immunity. The Big Picture Defendants, the Tribe,

        the Individual Tribal Defendants, the Tribal Officials, Dowd, McFadden, and Liang expressly

        assert that they are all entitled to tribal sovereign immunity. Neither this Settlement Agreement

        nor any document referred to herein, nor any action taken to carry out this Settlement Agreement

        and/or the Settlement, or Defendants’ willingness to enter into this Settlement Agreement, nor any

        or all negotiations, communications, and discussions associated with the Settlement are, or may

        be construed as, or may be used in any proceeding as, an admission by or against the Big Picture

        Defendants, the Tribe, the Individual Tribal Defendants, the Tribal Officials, Dowd, McFadden,

        and/or Liang of any waiver of sovereign immunity.




                                                         12
                                                                                                      JA308
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                312 of
                                                                    13462
                                                                       of 79 PageID# 1473




                3.3     No Admission of Applicability or Inapplicability of State Law or State Regulation.

        The Big Picture Defendants, the Tribe, the Individual Tribal Defendants, and the Tribal Officials

        expressly deny that they – or any of their loans or lending activity – are subject to the laws and/or

        regulations of any state. Plaintiffs expressly assert that they – and any of their loans or lending

        activity – are subject to the laws and/or regulations of their respective states. Neither this

        Settlement Agreement nor any document referred to herein, nor any action taken to carry out this

        Settlement Agreement and/or the Settlement, or the Parties’ willingness to enter into this

        Settlement Agreement, nor any or all negotiations, communications, and discussions associated

        with the Settlement are, or may be construed as, or may be used in any proceeding as, an admission

        by or against any Party as to the application of state law and/or state regulation to the Settling

        Defendants, their loans, or their activities.

                3.4     No Admission by Settling Defendants of Elements of Class Certification for Merits

        Resolution. Settling Defendants deny that a class should be certified other than for purposes of this

        Settlement and reserve their rights to contest any class certification motion should this Settlement

        Agreement not be approved by the Court. Settling Defendants contend for settlement purposes

        only that the Actions could be certified as a class action under Federal Rule of Civil Procedure 23,

        including Rule 23(b)(2) and/or 23(b)(3). Nothing in this Settlement Agreement shall be construed

        as an admission by any Defendant that the Actions or any similar case is amenable to class

        certification for trial purposes. Furthermore, nothing in this Settlement Agreement shall prevent

        Settling Defendants from opposing class certification or seeking de- certification of the

        conditionally certified Settlement Class if Final Approval of this Settlement is not obtained, or not

        upheld on appeal, including, without limitation, any review by the United States Supreme Court.




                                                         13
                                                                                                     JA309
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                313 of
                                                                    14462
                                                                       of 79 PageID# 1474




               3.5      None of the foregoing disclaimers in this Section should be construed as an

        admission or stipulation by Plaintiffs and Class Counsel regarding the Released Parties’ defenses,

        including the disputed issues of sovereign immunity, the application of state law, and/or the

        legality of the subject lending practices.

               3.6      Admissibility of this Settlement Agreement and Release. The Parties agree that this

        Settlement Agreement, its terms and provisions, and any facts surrounding its entry by the Parties

        shall not be used in any court of law, including the Actions, for any purpose other than those

        permitted under Section 14.1 below.

        IV.    CERTIFICATION OF THE SETTLEMENT CLASS

               4.1      Certification of Settlement Class. Plaintiffs shall seek, and Settling Defendants

        shall not oppose, the certification for settlement purposes only of the Settlement Class under Rule

        23(b)(2) of the Federal Rules of Civil Procedure. If the Settlement Agreement is not finally

        approved by the Court for any reason whatsoever, the certification of the Settlement Class will be

        void, and no doctrine of waiver, estoppel, or preclusion will be asserted in any litigated certification

        proceedings in this Action. No agreements made by or entered in connection with the Settlement

        Agreement may be admitted as evidence or used in any way by Plaintiffs, Settling Defendants, any

        person in the Settlement Class, or any other person to establish any of the elements of liability or

        class certification other than as expressly provided herein in any litigated certification proceedings,

        whether in the Actions or any other judicial proceeding.

               4.2      Appointment of Class Counsel and Class Representatives. For Settlement purposes

        only, Plaintiffs shall also seek, and Settling Defendants shall not oppose, appointment of Class

        Counsel, and appointment of the Named Plaintiffs as class representatives, to represent the

        Settlement Class.

        V.      PRELIMINARY APPROVAL


                                                          14
                                                                                                       JA310
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                314 of
                                                                    15462
                                                                       of 79 PageID# 1475




               5.1     Amended Complaint and Single Case for Settlement. Upon execution of this

        Settlement Agreement and prior to the filing of the Motion for Preliminary Approval of this

        Settlement Agreement, Plaintiffs in Galloway III shall seek leave to amend their complaint to add

        the Plaintiffs and the Settling Defendants from the other Actions, after which Williams, Galloway

        I, Galloway II, Duggan, and Smith shall be voluntarily dismissed as to the Settling Defendants

        only. The amended complaint in Galloway III shall represent a consolidation of the allegations

        against the Settling Defendants and will name all of the Settling Defendants. The Parties agree to

        consent to Plaintiffs’ request to amend their complaint in Galloway III solely for the purposes of

        effectuating this Settlement. The Settling Defendants do not by such consent agree that the

        allegations that may be contained in such amended complaint are true, correct, or accurate. In the

        event this Settlement is not finally approved, Plaintiffs shall file whatever motions and pleadings

        are necessary to ensure that the Parties are postured in the respective Actions as they were prior to

        the aforementioned amendment as if such amendment intended for settlement purposes had never

        occurred.

               5.2     Order of Preliminary Approval. Plaintiffs shall move the Court for entry of the

        Preliminary Approval Order subsequent to the amendment described in Section 5.1. Pursuant to

        the motion for preliminary approval, Plaintiffs will request that:

                       5.2.1   the Court certify the Settlement Class for settlement purposes only, appoint

        the Named Plaintiffs as the class representatives of the Settlement Class for settlement purposes

        only, and appoint Class Counsel as counsel for the Settlement Class for settlement purposes only;

                       5.2.2   the Court preliminarily approve the Settlement Agreement as fair, adequate,

        and reasonable, and within the reasonable range of possible Final Approval;




                                                         15
                                                                                                     JA311
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                315 of
                                                                    16462
                                                                       of 79 PageID# 1476




                       5.2.3   the Court approve the form(s) of Class Notice and find that the Notice Plan

        satisfies due process and Rule 23 of the Federal Rules of Civil Procedure;

                       5.2.4   the Court set the date and time for the Final Fairness Hearing, which may

        be continued by the Court from time to time without the necessity of further notice; and,

                       5.2.5   the Court set the Objection Deadline.

               5.3     Stay. Other than actions taken for purposes of effectuating the Settlement and those

        items covered in Sections 6.2 of this Settlement Agreement and subject to Court approval, the

        Parties agree to jointly move the respective Courts for stays of the Actions – including all pending

        motions and discovery directed to the Parties – and any related appeals after preliminary approval

        and pending Final Approval of this Settlement Agreement with respect to Settling Defendants

        only. The stay will not apply to the prosecution of claims against the Non-Settling Defendants.

        VI.    ADMINISTRATION AND NOTIFICATION PROCESS

               6.1     Appointment of Settlement Administrator. Class Counsel will cause to be hired the

        Settlement Administrator, subject to reasonable objection by the Settling Defendants and approval

        by the Court. The Settlement Administrator shall be responsible for carrying out the specified tasks

        set forth in this Settlement Agreement, including, but not limited to, creating a post office box for

        receipt of objections and maintaining records of all its activities, including the dates of Class

        Notices, mailed checks, returned mail, and any other communications and attempted

        communications with the Settlement Class Members.

               6.2     Provision of Data and Information for Settlement Purposes as to Settling

        Defendants. Within thirty (30) days after entry of the Preliminary Approval Order and only as part

        of this Settlement, the Big Picture Defendants agree to provide a list of names, postal addresses,

        and email addresses, all if known, for Settlement Class Members to the Settlement Administrator

        approved by the Court for the purposes of effectuating this Settlement. The Big Picture Defendants


                                                         16
                                                                                                     JA312
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                316 of
                                                                    17462
                                                                       of 79 PageID# 1477




        will cooperate with the Settlement Administrator to the extent that additional personally-

        identifiable information is necessary to locate a Settlement Class Member. The Big Picture

        Defendants shall also provide Loan-Level information regarding each Settlement Class Member’s

        loan sufficient to demonstrate the original principal balance of the loan, the interest rate, and the

        amount and timing of any payments the Settlement Class Member made on the Loan, as well as

        any other loan-level information reasonably requested by Class Counsel for purposes of

        effectuating the Settlement and for no other purpose. Class Counsel shall have five (5) business

        days to review and approve the class data and/or class list, or to notify the Big Picture Defendants

        of any objections to its completeness. In the event this Settlement is not finally approved, within

        five (5) business days of such an occurrence, Class Counsel shall destroy all copies of such data

        that remain in their possession, custody, or control, and shall certify to each Settling Defendant

        that they have done so.

               6.3     Class Certification as to a Non-Settling Defendant. If a class action is certified

        against a non-Settling Defendant in one or more of the Actions, the Big Picture Defendants will

        provide (or provide authorization for third parties to provide) data sufficient to identify class

        members, to determine the terms of class members’ loans, to determine payments made by class

        members on their loans, to determine which loans have been charged off, to determine all

        outstanding amounts owed under the terms of class members’ loan agreements, and any other data

        or information about class members and their loans which is reasonably requested by Class

        Counsel and under this provision, such data may only be used for the purpose of creation of a class

        list or distribution of funds to class members, or to effectuate a subsequent settlement with such

        Non-Settling Defendant. Subject to the provisions in Section 6.4 below, upon Twenty-One (21)

        calendar days’ notice, in response to a reasonable request from Plaintiffs, the Big Picture




                                                         17
                                                                                                      JA313
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                317 of
                                                                    18462
                                                                       of 79 PageID# 1478




        Defendants shall also provide evidence necessary to establish the availability of this data to identify

        class membership in a contested class certification motion.

               6.4     Other Uses Plaintiffs have represented that they may need additional data,

        documents, and information to establish liability or for other important purposes in the Actions

        other than class certification, including by example only and without limitation, information from:

        TransDotCom, LLC, Data X, LLC, and Microbilt (as it relates to the Actions); emails and

        communications by Non-Settling Defendants to which the Tribe or Tribal Officials were not a

        party; and loan-level information regarding each Settlement Class Member’s loan sufficient to

        demonstrate the original principal balance of the loan, the interest rate, and the amount and timing

        of any payments the Settlement Class Member made on the loan. The Settling Defendants have

        neither agreed nor refused to provide this information and documents to the Plaintiffs as a term of

        the Settlement. If such request is made to the Big Picture Defendants by the Plaintiffs, Plaintiffs

        will discuss their request(s) with Robert Rosette and both sides agree to negotiate and attempt to

        resolve any disagreement in good faith. Any remaining disputes will be resolved in accordance

        with Section 6.5.

               6.5     If the Parties are not able to reach an agreement on Plaintiffs’ request(s), the

        Honorable. David J. Novak will conduct binding mediation of the disputed issues.

               6.6     Notice Process Generally. Subject to approval by the Court, Class Notice shall be

        provided to all persons in the Settlement Class in accordance with the Notice Plan approved by the

        Court. The form of the Class Notice is attached hereto as Exhibit A for all Settlement Class

        Members. Class Notice will be sent in accordance with Fed. R. Civ. P. 23(c) in the manner

        approved by the Court through email notice to verified email addresses to each Settlement Class




                                                          18
                                                                                                      JA314
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                318 of
                                                                    19462
                                                                       of 79 PageID# 1479




        Member identified on the Class List. Class Notice shall be emailed no later than thirty (30) days

        after the class list is reviewed by Class Counsel.

               6.7     Settlement Website. The Settlement Administrator shall establish an Internet

        domain and website containing information about the Settlement. The Settlement Website will be

        accessible by no later than the date of the electronic mailing of the Class Notices. The Settlement

        Website will post the Settlement Agreement, the Class Notice, Claim Form, the Preliminary

        Approval Order, the proposed Final Judgment, and, if not included in the Preliminary Approval

        Order, any court order setting a date and time for the Final Fairness Hearing, and all other

        documents and information requested by Plaintiffs, subject to reasonable objection by another

        Party, and any other information required by the Court. Any information appearing on the

        Settlement Website in addition to the above-listed documents shall be subject to joint approval of

        the Parties. The Settlement Website also will offer a Spanish-language translation option. The

        Settlement Website also will detail a process through the website and direct e-mail notice by which

        a Settlement Class Member can review an estimated claim amount before submitting either a

        mailed or electronic claim as well as a process to determine, after the claim deadline has passed,

        an approximate amount of recovery and may elect to withdraw his or her claim. A Settlement Class

        Member may elect to withdraw his or her claim only by U.S. Mail. The Settlement Website shall

        be disestablished by the Settlement Administrator within ninety (90) days following the mailing

        of the last payment to a Settlement Class Member.

               6.8     Telephone Assistance Program. The Settlement Administrator will establish a toll-

        free telephone number, which will be staffed by the Settlement Administrator, to answer questions

        from Settlement Class Members. The toll-free number will provide access to live support, a voice




                                                         19
                                                                                                   JA315
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                319 of
                                                                    20462
                                                                       of 79 PageID# 1480




        response unit (“VRU”) or a combination of live support and VRU. It shall also offer a Spanish-

        language alternative number and VRU.

               6.9     Expenses of Notice and Administration. All Class Notice, Payment Notices, and

        other class administration costs shall be invoiced by the Settlement Administrator and paid

        promptly from the Settlement Fund, as set forth in Sections 6.10 and 6.11 below. Any disputes

        relating to this Subsection shall be brought to the Honorable David J. Novak for binding resolution.

               6.10    Expenses Paid Through the Settlement Fund. The total expenses associated with

        Class Notice, Payment Notices, and any other class administration costs (including any consulting

        costs), shall not increase the amount paid by any of the Settling Defendants as part of the

        Settlement under any circumstance. Any and all payments shall come from the Settlement Fund

        before the calculation of net settlement payments to Settlement Class Members. The Settlement

        Administrator shall invoice and charge as to each subsequent distribution against the payments to

        be made in that distribution.

               6.11    In the event that the Big Picture Defendants advance payments for purposes of

        effectuating the Notice Plan and administration of the Settlement as provided in Sections 6.6

        through 6.8 (as provided in Section 10.1), the Big Picture Defendants will provide an accounting

        of the payments to Class Counsel. Any disagreement or objection as to the advance payments will

        be raised with Honorable David J. Novak for binding resolution.

               6.12    Notice under Class Action Fairness Act of 2005 (“CAFA Notice”). Settling

        Defendants will send the CAFA Notice in accordance with 28 U.S.C. § 1715(a)-(b), not later than

        ten (10) days after this Settlement Agreement is filed with the Court.

               6.13    Notice to Court. No later than fourteen (14) days prior to the Final Fairness Hearing,

        the Settlement Administrator shall file with the Court and serve on counsel for all Parties a




                                                        20
                                                                                                     JA316
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                320 of
                                                                    21462
                                                                       of 79 PageID# 1481




        declaration stating that the Class Notice required by the Settlement Agreement has been completed,

        as well as implementation of the Settlement Website, toll-free telephone support, and copies of all

        objections received.

               6.14    Confidentiality. The Settlement Administrator (and any person retained by the

        Settlement Administrator) shall sign a confidentiality agreement in a form agreed to by all counsel

        for the Parties. The confidentiality agreement will provide that the Settlement Administrator (and

        any person retained by the Settlement Administrator) shall treat as confidential the names,

        addresses, and all other information concerning Settlement Class Members. The confidentiality

        agreement will further provide that the Settlement Administrator (and any person retained by the

        Settlement Administrator) shall use such information only for the purposes of fulfilling the

        Settlement Administrator’s duties and responsibilities as provided for under this Settlement

        Agreement.

        VII.   PROCEDURES FOR OBJECTIONS

               7.1     Objections from Settlement Class Members. Any Settlement Class Member may

        appear at the Final Fairness Hearing to argue that the proposed Settlement should not be approved

        and/or to oppose the application of Class Counsel for an award of Attorneys’ Fees and costs and

        the Service Awards to the Named Plaintiffs. However, no individual within the Settlement Class

        shall be heard, and no objection may be considered, unless the individual files the objection with

        the Court no later than thirty (30) days before the Final Fairness Hearing and serves the objection

        so that it is received by representative Class Counsel, representative Settling Defendants’ Counsel

        (who shall forward a copy of each objection received to the other Settling Defendants’ Counsel),

        and the Settlement Administrator no later than thirty (30) days before the Final Fairness Hearing;

        provided, however, objections to the Class Counsel’s Attorneys’ Fees or the requested Service

        Awards may be supplemented up to seven (7) days after the filing of a motion for such fees or


                                                        21
                                                                                                   JA317
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                321 of
                                                                    22462
                                                                       of 79 PageID# 1482




        awards to address additional information or materials in the motion. Copies of all objection papers

        must be sent to the following addresses:

          Class Counsel Representative                       Big Picture Defendants’ Counsel
                                                             Representative
          Leonard A. Bennett
          Consumer Litigation Associates, PC                 Karrie S. Wichtman
          763 J Clyde Morris Blvd., Suite 1A                 Lac Vieux Desert Band of Lake Superior
          Newport News, VA 23601                             Chippewa Indians
          Telephone: (757) 930-6330                          N4698 US 45, P.O. Box 249
          Facsimile: (757) 960-3662                          Watersmeet, Michigan 49969
          Email: lenbennett@clalegal.com                     Telephone: (906) 358-4577, extension 4127
                                                             Email: karrie.wichtman@lvdtribal.com

          Big Picture Defendants’ Counsel                    Settlement Administrator
          Representative
                                                             Settlement Administrator to be approved by
          Robert A. Rosette                                  the Court.
          Rosette, LLP
          565 W. Chandler Boulevard
          Suite 212
          Chandler, Arizona 85225
          Telephone: (480) 889-8990
          Facsimile: (480) 899-8997
          Email: rosette@rosettelaw.com


               7.2     All objections must include: (1) the objector’s name, address, telephone number,

        and the last four digits of the Settlement Class Member’s Social Security number; (2) a sentence

        stating that to the best of his or her knowledge he or she is a member of the Settlement Class; and

        (3) the factual basis and legal grounds for the objection to the Settlement; and (4) the name, firm

        name, phone number, email address, and mailing address of counsel representing the objector, if

        any. The written objection must state whether the Settlement Class Member and/or his or her

        lawyer(s) intend to appear at the Final Fairness Hearing. Any lawyer who intends to appear at the

        Final Fairness Hearing must also enter a written Notice of Appearance of Counsel with the Clerk

        of the Court no later than thirty (30) days before the Final Fairness Hearing and shall include the




                                                        22
                                                                                                    JA318
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                322 of
                                                                    23462
                                                                       of 79 PageID# 1483




        full style and case number of each previous class action case in which that counsel has represented

        an objector. To the extent necessary or desired, the Parties may respond to any properly-filed

        objections no later than fourteen (14) days before the Final Fairness Hearing.

               7.3     A Settlement Class Member who objects to the Settlement may withdraw that

        objection. Any Settlement Class Member that does not make an objection in the time and manner

        set forth herein shall be deemed to have waived any objection and be forever foreclosed from

        making any objection to the fairness or adequacy of any aspect of the Settlement.

        VIII. SETTLEMENT CLAIMS PROCESS

               8.1     In order to receive a payment from the Settlement Fund, a Settlement Class Member

        must submit a Claim Form, no later than sixty (60) days from the date of mailing the Class Notices,

        by either: (1) submitting a Claim Form on the Settlement Website; or (2) returning to the

        Settlement Administrator, via U.S. mail, the completed Claim Form attached to the Class Notice.

               8.2     Submission of claims pursuant to this Section shall be permitted commencing on

        the first day on which Class Notice is disseminated.

               8.3     To be eligible for any payment from the Settlement Fund, a Settlement Class

        Member must submit a Valid Claim by completing a Claim Form, which shall be provided within

        the Class Notice to all Settlement Class Members and also made available for download or

        submission on the Settlement Website or by request from the Settlement Administrator. The Claim

        Form shall be streamlined, requiring only the Settlement Class Member’s name, current postal

        address, date of birth, and the last four digits of the Settlement Class Member’s Social Security

        number. The Claim Form shall also solicit and recommend Settlement Class Members submit an

        updated email address and current telephone number of the Class Member. However, an email

        address and phone number shall not be required. The Claim Form and the Settlement Website shall

        provide complete instructions for completion of this claims process. Each Class Member


                                                        23
                                                                                                   JA319
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                323 of
                                                                    24462
                                                                       of 79 PageID# 1484




        may submit only one Claim Form regardless of the number of loans the Class Member had with

        the Big Picture Defendants and that Claim Form will apply to all loans the Class Member had with

        the Big Picture Defendants.

               8.4     Claim Forms submitted by U.S. mail shall contain the same information as

        contained in the electronic form (plus the individual’s signature) and shall be mailed to a separate,

        dedicated post office box established by the Settlement Administrator, as provided herein.

               8.5     Deceased Claimants. Claims may be filed by deceased Settlement Class Members

        through authorized representatives of their estates if appropriate documentation is provided. Any

        claim paid to a deceased consumer shall be made payable to the estate of the deceased.

               8.6     Determining the Validity of Claims. Claim Forms, whether submitted

        electronically via the Settlement Website or by U.S. mail, that do not meet the requirements as set

        forth in this Settlement Agreement shall be rejected. The Settlement Administrator shall have the

        authority to determine whether a claim is a Valid Claim. The Settlement Administrator’s

        determination in this regard shall be final and non-appealable unless Settling Defendants’ Counsel

        or Class Counsel disagree, in which case the determination shall be made by the Honorable David

        J. Novak. The Settlement Administrator shall promptly notify such individual that his or her claim

        has been denied and why it has been denied. Settlement Class Members shall have an opportunity

        to cure deficient claims.

               8.7     The Settlement Administrator shall notify, in a prompt fashion, any Settlement

        Class Member whose Claim Form has been rejected, setting forth the reasons therefore. The

        Settlement Administrator shall timely provide copies of all rejection notices to Class Counsel and

        to Settling Defendants’ Counsel. Such claimant shall have an additional twenty-one (21) days




                                                         24
                                                                                                     JA320
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                324 of
                                                                    25462
                                                                       of 79 PageID# 1485




        after the date this notice is mailed to correct and resubmit the defective claim, but any subsequent

        determination by the Class Administrator on any resubmitted notice shall be final.

               8.8     No Liability for Determinations Relating to Validity of Claims. No person shall

        have any claim against Settling Defendants, Plaintiffs, the Settlement Class, Class Counsel,

        Settling Defendants’ Counsel, or the Settlement Administrator based on any claim determinations

        made in accordance with this Settlement Agreement.

        IX.    FINAL FAIRNESS HEARING AND FINAL APPROVAL

               9.1     Final Fairness Hearing. The Parties will jointly request that the Court hold the Final

        Fairness Hearing to consider approval of the Settlement of the Actions in accordance with the time

        period specified in the Notice Plan approved by the Court. On or before a date at least fourteen

        (14) days prior to the Final Fairness Hearing, Class Counsel shall file a motion for entry of the

        Final Approval Order. The Parties agree that, upon entry, the Final Approval Order constitutes a

        final judgment dismissing the Actions with prejudice as to Settling Defendants and all of the

        Released Parties.

               9.2     Final Approval. Unless stated otherwise herein, all relief contemplated by this

        Settlement Agreement is expressly contingent upon the Settlement Agreement receiving the

        Court’s Final Approval.

        X.     SETTLEMENT FUND

               10.1    Creation of and Deposit into Settlement Fund. Class Counsel, in conjunction with

        the Settlement Administrator, shall establish an escrow account or equivalent account at Towne

        Bank (the “Financial Institution”), which shall be considered a common fund created as a result of

        the settlement of the Actions. The Settlement Administrator shall direct the Financial Institution

        to make distributions from the Settlement Fund only in accordance with this Settlement

        Agreement. No funds shall be distributed or paid by the Financial Institution without written


                                                        25
                                                                                                     JA321
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                325 of
                                                                    26462
                                                                       of 79 PageID# 1486




        confirmation from both Class Counsel and Settling Defendants’ Counsel. Class Counsel shall

        promptly notify the other Parties of the date of the establishment of the account. Subject to credits

        for amounts that were previously paid by the Big Picture Defendants for purposes of effectuating

        the Notice Plan and administration of the Settlement as provided in Sections 6.6 through 6.8, the

        Big Picture Defendants shall make deposits totaling $8,700,000.00 to the Settlement Fund on the

        following schedule: (1) $2,900,000 within Ninety (90) days after the Effective Date; (2) an

        additional $2,900,000.00 within One (1) years after the Effective Date; and (3) an additional

        $2,900,000.00 within Two (2) years after the Effective Date. The failure of the Big Picture

        Defendants to perform as to this term will constitute a material breach. The Settlement Fund may

        not be commingled with any other funds and may be held in cash, cash equivalents, certificates of

        deposit, or instruments insured by an arm of or backed by the full faith and credit of the United

        States Government. Interest earned, if any, on the Settlement Fund shall be for the benefit of the

        Settlement Class Members who submit Valid Claims in the event this Settlement Agreement is not

        terminated by the Settling Defendants and the Effective Date otherwise occurs.

               10.2    Dowd, Liang, and McFadden each presently own discrete membership interests in

        Eventide Credit Acquisitions, LLC (“Eventide”), which is entitled to receive payments from the

        Loan Agreement and Promissory Note dated September 14, 2015 between Eventide and TED (the

        “Eventide Note”). As separate and distinct consideration for the respective releases granted to each

        of them under this Settlement, each of Dowd, Liang, and McFadden shall transfer to the Settlement

        Fund their respective Eventide membership interests, including their respective interests in future

        Eventide distributions, if any, received under the Eventide Note (separately and collectively,

        Dowd’s, Liang’s, and McFadden’s “Eventide Interests”) subject to the Parties’ understanding that

        such transfer must be structured in such a way as to: (a) avoid any tax liability




                                                         26
                                                                                                     JA322
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                326 of
                                                                    27462
                                                                       of 79 PageID# 1487




        to Dowd, Liang, and McFadden; (b) comply with the terms of the Eventide Note; (c) comply with

        the terms of the Eventide Operating Agreement; and (d) if necessary because it is not possible to

        satisfy requirements (a), (b) and (c), through the direct transfer of their Eventide Interests,

        effectuate the transfer or assignment to the Settlement Fund of their respective future Eventide

        distributions, if any. The transfer of the Eventide Interests shall be made in a manner to avoid

        Dowd, Liang, or McFadden incurring any tax liabilities; however, in the event that is not possible,

        such transfer shall be made, less whatever amounts are necessary to satisfy any tax liabilities

        incurred by Dowd, Liang, or McFadden as the result of receiving such distributions before payment

        to the Settlement Fund. The Parties and Settlement Administrator shall provide their reasonable

        cooperation to accomplish the transfer of the Eventide Interests contemplated under this Section

        10.2. Any disputes relating to this Section 10.2 shall be brought to the Honorable David J. Novak

        for resolution.

               10.3       Settlement Fund Distributions. The Settlement Fund will be used to make

        distributions to the Settlement Class Members who submit a Valid Claim from the Settlement Fund

        under the process set forth below. Class Counsel will: (1) request an award of Attorneys’ Fees in

        an amount not to exceed Thirty-three percent (33%) of the Settlement Fund; and (2) seek the

        disbursement of the remaining balance of the costs of the Notice Plan and administration out of

        the Settlement Fund. The remainder of the Settlement Fund shall be used to pay Settlement Class

        Members who submit a Valid Claim on a pro rata basis, as set forth below. Distribution checks

        will be void after ninety (90) days. To the extent that Attorney’s Fees are awarded by the Court in

        an amount that is less than what is sought by Class Counsel at the time of Final Approval, the

        difference shall be credited to the Settlement Fund.




                                                        27
                                                                                                   JA323
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                327 of
                                                                    28462
                                                                       of 79 PageID# 1488




               10.4      Costs of Notice and Administration Expenses Deduction. Prior to Final Approval,

        costs of notice and any other expenses incurred in the administration of the Settlement shall be

        paid by the Big Picture Defendants within ten (10) business days of receiving advance, written

        notice from the Settlement Administrator for amounts to be invoiced by the Settlement

        Administrator to the Big Picture Defendants for costs and any other expenses incurred in the

        administration of the Settlement. This amount shall be credited against the initial payment of

        $2,900,000.00 scheduled to be paid within Ninety (90) days of the Effective Date. The Big Picture

        Defendants, therefore, will fund the Settlement Fund in two stages: first to pay the costs of notice

        and any other expenses incurred in the administration of the Settlement in accordance with Section

        6.6-6.10; and second to pay the remainder of the Settlement Fund in accordance with Section 10.1.

        Under no circumstance shall the total amount paid by the Big Picture Defendants into the

        Settlement Fund exceed $8,700,000.00. Under no circumstances shall the total amount paid by

        Dowd, Liang, and McFadden into the Settlement Fund exceed the Eventide Interests (addressed in

        Section 10.2).

               10.5      Settlement Fund Tax Status. The Parties agree to treat the Settlement Fund as being

        at all times a “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1. The

        Settlement Administrator shall timely make such elections as necessary or advisable to carry out

        the provisions of this Subsection, including the “relation back election” (as defined in Treas. Reg.

        § 1.468B-1) back to the earliest permitted date. Such elections shall be made in compliance with

        the procedures and requirements contained in such regulations. It shall be the responsibility of the

        Settlement Administrator to timely and properly prepare and deliver the necessary documentation

        for signature by all necessary parties, and thereafter to cause the appropriate filing to occur. For

        the purpose of Treasury Regulation § 1.468B of the Internal Revenue Code of 1986, as amended,




                                                         28
                                                                                                    JA324
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                328 of
                                                                    29462
                                                                       of 79 PageID# 1489




        and the regulations promulgated thereunder, the “administrator” shall be the Settlement

        Administrator. The Settlement Administrator shall timely and properly file all informational and

        other tax returns necessary or advisable with respect to the Settlement Fund (including, without

        limitation, the returns described in Treas. Reg. § 1.468B-2(k)). Such returns shall be consistent

        with this Subsection and in all events shall reflect that all federal or state income taxes (“Taxes”)

        (including any estimated Taxes, interest or penalties) on the income earned by the Settlement Fund,

        if any, shall be paid out of the Settlement Fund.

               10.6    Tax Liabilities. All (a) taxes (including any estimated Taxes, interest or penalties)

        arising with respect to any income earned by the Settlement Fund, including any Taxes or tax

        detriments that may be imposed upon the Released Parties with respect to any income earned by

        the Settlement Fund for any period during which the Settlement Fund does not qualify as a

        “qualified settlement fund” for federal or state income tax purposes, and (b) expenses and costs

        incurred in connection with the operation and implementation of this Subsection (including,

        without limitation, expenses of tax attorneys and/or accountants and mailing and distribution costs

        and expenses relating to filing (or failing to file) the returns herein (“Tax Expenses”), shall be paid

        out of the Settlement Fund. In no event shall the Released Parties have any responsibility for or

        liability with respect to the Taxes or the Tax Expenses. The Settlement Administrator shall

        indemnify and hold the Released Parties harmless for Taxes and Tax Expenses (including, without

        limitation, Taxes payable by reason of any such indemnification). Further, Taxes and Tax

        Expenses shall be timely paid by the Settlement Administrator out of the Settlement Fund without

        prior order from the Court, and the Settlement Administrator shall be obligated (notwithstanding

        anything herein to the contrary) to withhold from distribution any funds necessary to pay such

        amounts, including the establishment of adequate reserves for any Taxes and Tax Expenses (as




                                                            29
                                                                                                      JA325
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                329 of
                                                                    30462
                                                                       of 79 PageID# 1490




        well as any amounts that may be required to be withheld under Treas. Reg. § 1.468B-2(l)); the

        Released Parties are not responsible therefore nor shall they have any liability with respect thereto.

        The Parties hereto agree to cooperate with the Settlement Administrator, each other, and their tax

        attorneys and accountants to the extent reasonably necessary to carry out the provisions of this

        Section. The Settlement Administrator has discretion to submit whatever tax form(s) it deems

        appropriate to any Settlement Class Member. The Settling Defendants do not make any

        representation or warranty as to the appropriate tax treatment of any provision of this Settlement

        Agreement.

               10.7    Attorneys’ Fees. No later than fourteen (14) days before the Final Approval

        Hearing, Class Counsel shall file an application or applications to the Court for reimbursement of

        Attorneys’ Fees and costs from the overall Settlement Fund, not to exceed Thirty-three percent

        (33%) of the Settlement Fund. The application or applications shall be noticed to be heard at the

        Final Fairness Hearing. Settling Defendants will not oppose such a request so long as it does not

        exceed that amount.

               10.8    Settlement Not Conditioned on Attorneys’ Fees Approval. The application or

        applications for Attorneys’ Fees, and any and all matters related thereto, shall not be considered

        part of the Settlement Agreement, and shall be considered by the Court separately from the Court’s

        consideration of the fairness, reasonableness, and adequacy of the Settlement. Plaintiffs and Class

        Counsel agree that this Settlement Agreement is not conditional on the Court’s approval of

        Attorneys’ Fees in the requested amount or in any amount whatsoever. The Court’s ruling on the

        application or applications for such fees shall not operate to terminate or cancel the Settlement.




                                                         30
                                                                                                      JA326
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                330 of
                                                                    31462
                                                                       of 79 PageID# 1491




               10.9    All Attorneys’ Fees Come Out of Settlement Fund. Settling Defendants shall have

        no responsibility for, nor any liability with respect to, the payment of Attorneys’ Fees to Class

        Counsel. The sole source of any payment of Attorneys’ Fees shall be the Settlement Fund.

               10.10   Payment of Attorneys’ Fees. Attorneys’ Fees in the amount approved by the Court

        will be paid through distribution from the Settlement Fund by the Settlement Administrator from

        the third and final $2,900,000 payment made by the Settling Defendants and may be paid ten (10)

        days after receipt of the final payment in the Settlement Fund under Section 10.1.

               10.11   Service Awards to the Named Plaintiff. On or before fourteen (14) days before the

        Final Fairness Hearing, Class Counsel shall file an application to the Court for a Service Award,

        not to exceed five-thousand dollars ($5,000.00), depending upon each Plaintiff’s degree of

        contribution and service, to be paid to each of the Named Plaintiffs serving as class representatives

        in support of the Settlement out of the Settlement Fund. Settling Defendants will not oppose such

        a request. To the extent the Court approves a Service Award in an amount less than $5,000.00 to

        a Named Plaintiff, the difference will remain in the Settlement Fund. Any Service Award payment

        shall be funded through the Settlement Fund.

               10.12   Settlement Class Member Payments. All Settlement Class Members who submit

        Valid Claims are entitled to payment pursuant to the processes for submitting Claim Forms and

        determining Valid Claims as set forth in Section VIII. The amount of each check to be issued is

        subject to deduction for Attorneys’ Fees and costs approved by the Court and costs of

        administration by the Settlement Administrator. To calculate the amount of each payment, the

        Settlement Administrator shall divide the amount left in the Settlement Fund after all other

        payments and costs required by this Settlement Agreement have been deducted.




                                                         31
                                                                                                     JA327
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                331 of
                                                                    32462
                                                                       of 79 PageID# 1492




                 10.13   Settlement Checks. All settlement checks shall be issued thirty (30) days after

        receipt of the second deposit into the Settlement Fund under Section 10.1. All settlement checks

        shall state: “This payment is tendered to you as a class member in Renee Galloway, et al. v. James

        Williams, Jr., et al., Case No. 3:19-cv-00470-REP (E.D. Va.) in consideration for your release of

        the Released Parties as set forth in the Class Action Settlement Agreement and Release.”

                 10.14   Use and Disbursement of Settlement Fund. The Settlement Fund shall be used only

        in the manner and for the purposes provided for in this Settlement Agreement. No portion of the

        Settlement Fund shall be disbursed except as expressly provided for herein.

                 10.15   Disbursement of Funds for Notice and Administrative Expenses. Upon Preliminary

        Approval, the Settlement Administrator shall disburse funds for the costs of notice and related

        administrative expenses incurred with respect to effectuating the Notice Plan approved by the

        Court.

                 10.16   Deduction of Reasonable and Necessary Expenses. The Settlement Administrator

        shall distribute payments from the Settlement Fund pursuant to the processes set forth in this

        Section X. The Settlement Administrator may deduct from the Settlement Fund any and all

        reasonable and necessary expenses for the administration of such payments (e.g., costs associated

        with generating and mailing checks), as well as all reasonable expenses for the determinations as

        to Valid Claims.

                 10.17   General Distribution Plan. The Settlement Administrator shall send payments via

        U.S. mail or by commercially reasonable electronic means out of the Settlement Fund to the

        Settlement Class Members who submit Valid Claims. Each such Settlement Class Member will

        receive only one payment, regardless of the number of counts in any of the operative complaints

        in the Actions that may have applied to that Settlement Class Member. The Payment Notices




                                                        32
                                                                                                   JA328
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                332 of
                                                                    33462
                                                                       of 79 PageID# 1493




        accompanying the payment check shall notify the recipients that the checks must be cashed within

        sixty (60) days from the date on the Payment Notice and that the enclosed check shall not be valid

        after that date.

                10.18      Distribution after Sixty (60) Days. Sixty (60) days after the date on the Payment

        Notice, if the check has not been deposited or cashed, the amount of the check shall remain in the

        Settlement Fund.

                10.19      Residual Amounts in Settlement Fund. Any residual amounts in the Settlement

        Fund (including after payments to Settlement Class Members, Attorneys’ Fees, Service Awards,

        and amounts necessary to effectuate the Notice Plan and for administration of the Settlement) shall

        be paid to The PEW Charitable Trusts.

                10.20      Capped Fund. All of the following must be paid from the $8,700,000 and Eventide

        Interests, if any, paid into the Settlement Fund by Settling Defendants: (i) notice and

        administration/consulting costs; (ii) payments to the Settlement Class Members who submit Valid

        Claims; (iii) payments of Service Awards to the Named Plaintiffs; (iv) and payments to Class

        Counsel for Attorneys’ Fees. The Parties and their respective counsel agree that under no

        circumstances will Settling Defendants and/or Released Parties pay or cause to be paid more than

        their respective contributions aggregating to the sum of $8,700,000, plus the assigned Eventide

        Interests, if any, pursuant to this Settlement.

                10.21      No Vested Interest. The Parties Agree, and the Court shall order, that no Settlement

        Class Member has a vested interest in any amount to be paid to him or her under the Settlement

        Agreement unless and until he or she has cashed a settlement check under the parameters and

        timeframe set forth herein.

        XI.     SETTLEMENT CLASS INJUNCTIVE RELIEF




                                                            33
                                                                                                       JA329
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                333 of
                                                                    34462
                                                                       of 79 PageID# 1494




                11.1    Subject to the terms and conditions of this Settlement Agreement, the Parties have

        agreed that Plaintiffs will move for an uncontested motion for the Court to enter an injunction

        attached as Exhibit B to this Settlement Agreement that will consist of the following issues only.

                11.2    Cap on Collections. With respect to Settlement Class Members residing within the

        United States or its territories who executed loan agreements with Big Picture and/or Red Rock

        (including loans assigned to Big Picture or Red Rock) from June 22, 2013, to the date of the

        Preliminary Approval Order and have not fully paid off his or her loan under the agreed terms, but

        not including Charged-Off Loans (defined below), the Big Picture Defendants agree to collect no

        more than 2.5 times the original principal amount of the loan in payments over the life of the loan

        (e.g., if the original principal amount of the loan was $500.00 then the Big Picture Defendants

        agree to cap collection at $1,250.00, including payments credited to either interest or principal

        reduction).

                11.3    Cease Collection and Cancellation of Charged-Off Loans. With respect to loan

        agreements executed (i) by Settlement Class Members residing within the United States or its

        territories, (ii) with Big Picture and/or Red Rock (including loans assigned to Big Picture) and (iii)

        from June 22, 2013 to the date of the Preliminary Approval Order, Big Picture will charge off such

        loans after being at least 210 days in default (“Charged-Off Loans”). The Big Picture Defendants

        agree to cease any collection activities and cancel all such loans as a contested liability to the extent

        not already done for Charged-Off Loans. The Big Picture Defendants will not assign, sell, or

        transfer any interest in Charged-Off Loans and/or future loan proceeds from Charged-Off Loans.

        Any consumers with Charged-Off Loans on the Effective Date will be notified of the elimination

        of their defaulted loan balances through a letter, approved by all Parties and sent by the Settlement

        Administrator. Such letter will be sent by email if such address is reasonably verifiable and shall




                                                           34
                                                                                                        JA330
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                334 of
                                                                    35462
                                                                       of 79 PageID# 1495




        not imply or express any admission of wrongdoing by any of the Released Parties. Any payments

        made on Charged-Off Loans to the Big Picture Defendants after the date of the Preliminary

        Approval Order will either be (i) rejected by Big Picture Defendants or (ii) held in escrow by the

        Big Picture Defendants and within thirty (30) days of the Effective Date shall be returned to the

        respective consumer or paid to the Settlement Administrator to be returned to the respective

        Settlement Class Member.

        XII.   RELEASE OF CLAIMS

               12.1    Release for Valid Claims. Upon the Effective Date, the Named Plaintiffs, for

        themselves and as representatives of the Settlement Class, each Settlement Class Member who

        submits a Valid Claim, and/or their respective spouses, heirs, executors, administrators,

        representatives, agents, attorneys, partners, successors, predecessors and assigns and all those

        acting or purporting to act on their behalf acknowledge full satisfaction of, and shall be

        conclusively deemed to have fully, finally and forever settled, released and discharged the

        Released Parties of and from the Released Claims. Nothing in this Settlement Agreement,

        however, shall be deemed a release of the Parties’ respective rights and obligations under this

        Settlement Agreement. Also, nothing in this Settlement Agreement shall be deemed a release of

        Plaintiffs’ and Settlement Class Members’ respective Claims against the Non-Settling Defendants.

               12.2    Scope of Release for Settlement Class Members Who Submit Valid Claims. In

        exchange for the relief described in this Settlement Agreement and the injunctive relief set forth

        in Section XI, the Settlement Class Members who submit Valid Claims and/or anyone acting or

        purporting to act on their behalf agree to release the Released Parties from any and all Released

        Claims. It is the intent of the Parties that this release covers every possible Claim that could have

        been brought in the Actions against the Released Parties, regardless of any other requirement




                                                         35
                                                                                                     JA331
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                335 of
                                                                    36462
                                                                       of 79 PageID# 1496




        imposed by federal or state law, including all damages claims and claims for any and other

        remedies.

               12.3    Released Claims. “Released Claims” means any and all claims, causes of action,

        suits, obligations, debts, demands, agreements, promises, liabilities, damages, losses,

        controversies, costs, expenses and attorneys’ fees of any nature whatsoever, whether based on any

        federal law, state law, common law, territorial law, foreign law, tribal law, contract, rule,

        regulation, any regulatory promulgation (including, but not limited to, any opinion or declaratory

        ruling), common law or equity, whether known or unknown, suspected or unsuspected, asserted

        or unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive or

        compensatory, as of the date of the Final Fairness Approval Order and Judgment, that relate to

        and/or arise out of loans made by and/or in the name of Big Picture, Castle Payday Loans, and/or

        Red Rock. Notwithstanding the Release defined and stated herein, this Settlement Agreement shall

        not release any claim alleged against any party in Williams, et al, v. Microbilt Corporation, et al,

        Civ. No. 3:19cv85 (E.D. Va.).

               12.4    Scope of Release for Settlement Class Members Who Do Not Receive a Payment

        (“Non-Payment Released Claims”). All Settlement Class Members who do not receive a payment

        from the Settlement Fund will waive their rights to bring a class action, collective action, and/or

        mass action (but not an individual action) against any and all of the Released Parties related to not

        only claims asserted in the Actions, but also claims that could have been asserted in the Actions.

               12.5    General Release to Fullest Extent Possible. The Parties agree that the release is

        limited to those Released Claims encompassed by the provisions of Section 12.3. Notwithstanding

        that understanding, Plaintiffs, for themselves and for each Settlement Class Member, acknowledge

        that they are aware that they may hereafter discover facts in addition to or different from those that




                                                         36
                                                                                                      JA332
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                336 of
                                                                    37462
                                                                       of 79 PageID# 1497




        they or Class Counsel now knows or believes to be true with respect to the subject matter of these

        releases, but it is their intention to, and they do hereby, upon the Effective Date of this Settlement

        Agreement, fully, finally and forever settle and release any and all Released Claims and Non-

        Payment Released Claims, without regard to the subsequent discovery or existence of such

        different or additional facts. Plaintiffs, for themselves and for each Settlement Class Member,

        further waives any and all rights and benefits afforded by California Civil Code Section 1542,

        which provides as follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT

        THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN

        HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF

        KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER

        SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.” Plaintiffs and Class

        Counsel understand and acknowledge the significance of this waiver and/or of any other applicable

        federal or state law relating to limitations on releases.

               12.6    Binding Nature of Settlement. Subject to the requirements of due process, this

        Settlement Agreement shall bind all Settlement Class Members and all of the Released Claims

        shall be dismissed with prejudice and released as against the Released Parties, even if the

        Settlement Class Member claims or can later show that he or she did not receive actual notice of

        the Settlement prior to the hearing on final approval of the Settlement.

               12.7    This Release as set forth in this Section may be raised as a complete defense and

        bar to any action or demand brought in contravention of this Settlement Agreement.

               12.8    Upon entry of the Final Fairness Approval Order and Judgment, the Parties shall

        take all actions necessary to cause entry of Final Judgment, including the severance of Claims




                                                          37
                                                                                                      JA333
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                337 of
                                                                    38462
                                                                       of 79 PageID# 1498




        against the Non-Settling Defendants, and the Parties agree to dismiss the Actions and any related

        appeals with prejudice as to Settling Defendants.

               12.9    It is expressly understood and acknowledged by the Parties that the provisions of

        this release and covenant not to sue as set forth in this Section together constitute essential and

        material terms of the Settlement Agreement to be included in the Final Approval Order.

        XIII. TERMINATION AND SUSPENSION

               13.1    Settling Defendants’ Rights to Terminate Agreement. Settling Defendants’

        willingness to settle the Actions on a class-action basis and to agree to the certification of

        conditional Settlement Class is dependent upon achieving finality in the Actions, and the desire to

        avoid the expense of these and other Actions. Consequently, Settling Defendants shall have the

        unilateral right in their sole discretion to individually terminate this Settlement Agreement, declare

        it null and void, and have no further obligations under this Settlement Agreement to the Plaintiffs,

        Settlement Class Members, or Class Counsel if any of the following conditions subsequently

        occurs: (1) the Court fails or declines to grant Preliminary Approval pursuant to the terms of the

        Preliminary Approval Order; (2) the Court modifies the terms of the Settlement Agreement; or (3)

        the Effective Date does not occur for any reason, including the entry of an order by any court that

        would require either material modification or termination of the Settlement Agreement or the Final

        Approval Order.

               13.2    Plaintiffs’ Rights to Terminate Agreement. Plaintiffs shall have the unilateral right

        in their sole discretion to individually terminate this Settlement Agreement, declare it null and

        void, and have no further obligations under this Settlement Agreement to the Settling Defendants

        if any of the following conditions subsequently occurs: (1) the Court fails or declines to grant

        Preliminary Approval pursuant to the terms of the Preliminary Approval Order; (2) the Court

        modifies the terms of the Settlement Agreement; or (3) the Effective Date does not occur for any


                                                         38
                                                                                                      JA334
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                338 of
                                                                    39462
                                                                       of 79 PageID# 1499




        reason, including the entry of an order by any court that would require either material modification

        or termination of the Settlement Agreement or the Final Approval Order.

               13.3    Disapproval of Fee Request. Notwithstanding anything else contained herein, the

        failure of any Court to approve the Attorneys’ Fees or Service Awards in the requested amounts,

        or any amounts whatsoever, shall not be grounds for the Named Plaintiffs or Class Counsel to

        terminate this Settlement Agreement.

               13.4    Effect of Termination on This or Future Actions. If this Settlement Agreement is

        rejected by the Court or terminated for any reason: (1) the class-certification portions of the

        Settlement Agreement shall have no further force and effect and shall not be offered in evidence

        or used in the Actions or in any other proceeding; (2) counsel for the Parties shall seek to have any

        Court orders, filings, or other entries in the Court’s file that result from this Settlement Agreement

        set aside, withdrawn, and stricken from the record; (3) the Settlement Agreement and all

        negotiations, proceedings, and documents prepared, and statements made in connection with either

        of them, shall be without prejudice to any Party and shall not be deemed or construed to be an

        admission or confession by any Party of any fact, matter, liability, or proposition of law; and (4)

        the Parties shall stand in the same procedural position as if the Settlement Agreement had not been

        negotiated, made, or filed with the Court, and no doctrine of waiver, estoppel, or preclusion will

        be asserted in any litigated certification proceedings in the Actions against any Party, including

        without limitation, the amended complaint filed in Galloway III and any consolidation of the

        Actions pursuant to Section 5.1 shall be null and void as it was filed only to effectuate this

        Settlement.

        XIV. PUBLIC STATEMENTS

               14.1 Public Statements. Settling Defendants and Plaintiffs shall not issue any press releases

        or make any affirmative statements to any media regarding this Settlement. Class Counsel


                                                         39
                                                                                                      JA335
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                339 of
                                                                    40462
                                                                       of 79 PageID# 1500




        shall not use the name of or identity of any Settling Defendant, other than the Big Picture

        Defendants, on any of Class Counsel’s websites or promotional materials.

        XV.    MISCELLANEOUS PROVISIONS

               15.1    No Invocation of Sovereign Immunity as a Defense to the Final Settlement

        Agreement: The Tribe, the Individual Tribal Defendants, the Big Picture Defendants, Dowd,

        Liang, and McFadden will not invoke sovereign immunity as a defense to the enforcement of the

        Settlement Agreement. None of the Individual Tribal Defendants, the Big Picture Defendants,

        Dowd, Liang, or McFadden consent to a waiver of their sovereign immunity from suit except for

        the limited purposes of the enforcement of this Settlement Agreement and as follows: (a) any

        dispute shall be brought by and limited to Plaintiffs, Settlement Class Members and no other party

        or entity; (b) the dispute shall be limited to those arising under this Settlement Agreement and the

        enforcement of any agreement, order, judgment or ruling resulting therefrom; and (c) the dispute

        shall be brought in the United States District Court for the Eastern District of Virginia. Nothing

        contained herein shall be construed as a waiver of the sovereign immunity of the Tribe, the

        Individual Tribal Defendants, the Big Picture Defendants, Dowd, Liang, and/or McFadden in any

        other context, proceeding or litigation. Except as expressly set forth herein, nothing contained in

        this Settlement Agreement shall be construed as a waiver of any rights or privileges belonging to

        the Tribe, the Individual Tribal Defendants, the Tribal Officials, the Big Picture Defendants,

        Dowd, Liang, and McFadden, and each of their current, past and future affiliates, subsidiaries,

        parents, insurers, and all of the respective directors, officers, Tribal Council members, general and

        limited partners, shareholders, managers, representatives, employees, members, agents, attorneys,

        accountants successors, assigns, and representatives, including sovereign immunity from judicial

        process, all of which are otherwise reserved.




                                                         40
                                                                                                      JA336
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                340 of
                                                                    41462
                                                                       of 79 PageID# 1501




               15.2    Choice of Law. This Agreement and the rights of the parties under this Settlement

        Agreement shall be governed by and construed in accordance with the laws of the Commonwealth

        of Virginia including all matters of construction, validity, performance, and enforcement and

        without giving effect to the principles of conflict of laws. By agreeing to this, none of the

        Defendants is agreeing to the application of Virginia law in any other context. Neither this

        Settlement Agreement nor any document referred to herein, nor any action taken to carry out this

        Settlement Agreement and/or the Settlement, or Defendants’ willingness to enter into this

        Settlement Agreement, nor any or all negotiations, communications, and discussions associated

        with the Settlement are, or may be construed as, or may be used in any proceeding as, an admission

        by or against the Big Picture Defendants, the Tribe, the Individual Tribal Defendants, the Tribal

        Officials, Dowd, McFadden, and/or Liang of any waiver of sovereign immunity.

               15.3    Discovery to Settling Defendants. In addition to the stay sought in Section 5.3 and

        the dismissals pursuant to Section 5.1, as to Settling Defendants named in the Actions, all

        discovery as to the Settling Defendants is stayed while the Settlement Agreement goes through the

        approval process. If the Settlement is not finally approved by the Court for any reason, the stay

        shall be terminated, and any discovery implicated by this Section 15.3 shall not be deemed due for

        response until at least forty-five (45) days from such termination.

               15.4    Use of Discovery Materials in Related Actions. Settling Defendants agree that

        documents produced, and depositions provided in Williams or Galloway I shall be produced in

        Galloway II or any other related case subject to the protective order entered or to be entered in

        Galloway II.

               15.5    Destruction and Non-Use of Discovery Materials. Class Counsel agrees to destroy

        all materials produced by the Settling Defendants, Released Parties, and all third parties upon entry




                                                         41
                                                                                                     JA337
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                341 of
                                                                    42462
                                                                       of 79 PageID# 1502




        of the Final Approval Order or upon resolution of the Actions, or any related actions brought

        against a party that is not a Released Party, whichever is later; subject to good faith discussion

        between counsel of the Parties as necessary. Class Counsel agree to be bound by the requirements

        of the protective orders entered in the Actions, even following their disposal of the materials. Any

        disputes will be arbitrated by the Honorable David J. Novak.

               15.6    Bellicose Capital, LLC (“Bellicose”) Privilege. The Big Picture Defendants agree

        to withdraw their assertion of attorney-client privilege for communications that occurred at

        Bellicose or Sourcepoint VI, LLC prior to the acquisition on January 26, 2016. The Big Picture

        Defendants will produce such communications if they are within the Big Picture Defendants’

        possession unless another Party or entity, other than a Released Party, has timely served a separate

        privilege objection that has not been overruled by the respective court. The Big Picture Defendants

        agree to withdraw their objections to discovery for such communications, including but not limited

        to third-party subpoenas to Jennifer Galloway and Conner & Winters, LLP.

               15.7    Admissibility of Settlement Agreement. This Settlement Agreement shall not be

        offered or be admissible in evidence in any action or proceeding except: (1) the hearings necessary

        to obtain and implement Court approval of this Settlement; or (2) any hearing to enforce the terms

        of this Settlement Agreement or any related order by the Court.

               15.8    Successors and Assigns. The terms of this Settlement Agreement shall apply to and

        bind the Parties as well as their heirs, successors, and assigns.

               15.9    Communications Relating to Settlement Agreement. Unless specified otherwise

        herein, all notices or other formal communications under this Settlement Agreement and/or the

        Settlement shall be in writing and sent by electronic mail, fax or hand delivery, or overnight mail

        postage prepaid to:




                                                          42
                                                                                                    JA338
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                342 of
                                                                    43462
                                                                       of 79 PageID# 1503




              If to Class Counsel:

                     Leonard A. Bennett
                     CONSUMER LITIGATION ASSOCIATES, P.C.
                     763 J. Clyde Morris Blvd., Ste. 1-A
                     Newport News, VA 23601
                     Telephone: (757) 930-3660
                     Facsimile: (757) 930-3662
                     Email: lenbennett@clalegal.com

              If to counsel for the Big Picture Defendants, the Tribe, the Individual Tribal Defendants,
              Liang and McFadden:

                     Robert A. Rosette
                     Justin A. Gray
                     Rosette, LLP
                     44 Grandville Avenue SW
                     Suite 300
                     Grand Rapids, Michigan 49503
                     Telephone: (616) 655-1601
                     Facsimile: (517) 916-6443
                     Email: rosette@rosettelaw.com
                     Email: jgray@rosettelaw.com

              If to counsel for the Columbia Defendants:

                     Thomas Lester
                     Devin Noble
                     HINSHAW & CULBERTSON LLP
                     100 Park Avenue
                     PO Box 1389
                     Rockford, IL 61105
                     Telephone: 815-490-4946
                     Facsimile: 815-490-4901
                     Email: tlester@hinshawlaw.com
                     Email: dnoble@hinshawlaw.com

              If to counsel for Defendant James Dowd:

                     Michael Stinson
                     Vernle C. Durocher, Jr.
                     DORSEY & WHITNEY LLP
                     50 S Sixth St., Suite 1500
                     Minneapolis, MN 55402
                     Telephone: 612-492-6624
                     Facsimile: 612-340-2868
                     Email: stinson.mike@dorsey.com


                                                      43
                                                                                                 JA339
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                343 of
                                                                    44462
                                                                       of 79 PageID# 1504




                       Email: Durocher.skip@dorsey.com

               If to counsel for Defendants Amlaur Resources and Brian Jebwab:

                       Rebecca Ruby Anzidei
                       Amadou Kilkenny Diaw
                       Martin Cunniff
                       RUYAK CHERIAN LLP
                       1700 K Street NW
                       Suite 810
                       Washington, DC 20006
                       Telephone: (202) 897-1914
                       Facsimile: (202) 478-1715
                       Email: rebeccaa@ruyakcherian.com
                       Email: amadoukd@ruyakcherian.com
                       Email: martinc@ruyakcherian.com

                       Sean J. Bellew
                       Bellew LLC
                       2961 Centerville Road
                       Suite 302
                       Wilmington, DE 19808
                       Telephone: (302) 353-4951
                       Email: sjbellew@bellewllc.com

        The notice recipients and addresses designated above may be changed by written notice. Upon the

        request of any of the Parties, the Parties agree to promptly provide each other with copies of

        objections received in relation to this Settlement Agreement.

               Any Party may, by written notice to all the other Parties, change its designated recipient(s)

        or notice address provided above.

               15.10   If any Party to this Agreement believes that another Party is in default of its

        obligations under this Agreement, the Party believe there is a default must advise all Parties in

        writing (“Notice of Default”), as listed in Section 15.9, prior to filing suit or seeking other relief

        to enforce the terms of this Agreement. Upon receipt of the Notice of Default, the defaulting Party

        shall have thirty (30) days to cure the default. If the default is not cured at the end of the 30-day




                                                         44
                                                                                                      JA340
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                344 of
                                                                    45462
                                                                       of 79 PageID# 1505




        period, the non-defaulting Party may file suit or seek other relief to enforce the terms of this

        Agreement.

               15.11    Non-Solicitation/Representation. Class Counsel represents and warrants that they

        will not solicit or suggest, directly or indirectly, personally or through other actions, other lawyers,

        law firms, nonprofit entities, or governmental or regulatory authorities the filing of new actions

        against Settling Defendants or any of the Released Parties relating to the offering, transacting,

        servicing, selling, or collection of the Big Picture Defendants’ or Red Rock’s loans consummated

        prior to the date of Preliminary Approval to any consumer located in the United States.

               15.12    Destruction and Non-Use of Discovery Materials: Class Counsel agree to destroy

        all materials produced by Settling Defendants, any Released Party, and/or any third parties and

        designated upon that production as confidential upon entry of the Final Order or upon final

        resolution of the Actions, or any related actions brought against a party that is not a Released Party,

        whichever is later; subject to good faith discussion between counsel for the Parties as necessary.

        Class Counsel agree to be bound by the requirements of the protective orders entered in the

        Actions, even following their disposal of the materials. Any disputes will be arbitrated by the

        Honorable David J. Novak.

                15.13   Big Picture Defendants’ Communications with Consumers in the Ordinary Course

        of Business. Big Picture Defendants reserve the right to continue communicating with its

        customers and Consumers, including Settlement Class Members, in the ordinary course of

        business. Big Picture Defendants shall not advise consumers of anything contrary to the terms of

        this Settlement.

                15.14   Efforts to Support Settlement. The Parties and their counsel agree to cooperate fully

        in seeking Court approval for this Settlement Agreement and to use their best efforts to effect




                                                          45
                                                                                                       JA341
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                345 of
                                                                    46462
                                                                       of 79 PageID# 1506




        the consummation of the Settlement and to protect the Settlement Agreement by applying for

        appropriate orders enjoining others from initiating or prosecuting any action arising out of or

        related to facts or claims alleged in the Actions, if so required.

               15.15   Competency of the Parties. The Parties, and each of them, acknowledge, warrant,

        represent, and agree that in executing and delivering this Settlement Agreement, they do so freely,

        knowingly, and voluntarily, that they had an opportunity to and did discuss its terms and their

        implications with legal counsel of their choice, that they are fully aware of the contents and effect

        of this Settlement, and that such execution and delivery is not the result of any fraud, duress,

        mistake, or undue influence whatsoever.

               15.16   Procedures for Disputes Between Parties Relating to the Settlement Agreement.

        Unless specifically indicated as a dispute to be brought to the Honorable David J. Novak in the

        first instance, the Parties agree to submit any dispute arising under this Settlement Agreement first

        to mediation with Nancy F. Lesser of PAX ADR Dispute Resolution & Mediation Services, a

        private mediator previously used by the Parties on three occasions for the Actions, and, if deemed

        necessary and agreed by the Parties, the Honorable David J. Novak, before filing any motion or

        action with the Court, allowing a reasonable time for the mediation of the dispute.

               15.17   Entire and Voluntary Agreement. The Parties intend the Settlement Agreement to

        be a final and complete resolution of the Actions. The Parties agree that the terms of the Settlement

        Agreement were negotiated at arm’s length and in good faith and were reached voluntarily after

        consultation with competent legal counsel. There shall there be no presumption for or against any

        Party that drafted all or any portion of this Settlement Agreement. This Settlement Agreement

        contains the entire agreement and understanding concerning the subject matter between the Parties

        and supersedes all prior negotiations and proposals, whether written or oral. No other party or any




                                                          46
                                                                                                     JA342
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                346 of
                                                                    47462
                                                                       of 79 PageID# 1507




        agent or attorney of any other party has made any promise, representation or warranty whatsoever

        not contained in this Settlement Agreement and the other documents referred to in this Settlement

        Agreement to induce them to execute the same. The Parties represent that they have not executed

        this instrument or the other documents in reliance on any promise, representation, or warranty not

        contained in this Settlement Agreement and the other documents referred to in this Settlement

        Agreement. Any modification must be in writing signed by the Parties and their respective counsel

        and, to the extent necessary, approved by the Court.

               15.18   Headings for Convenience Only. The headings in this Settlement Agreement are

        for the convenience of the reader only and shall not affect the meaning or interpretation of this

        Settlement Agreement.

               15.19   Settlement Agreement Controls. All of the Exhibits attached hereto are hereby

        incorporated by reference as though fully set forth herein. To the extent that there is any conflict

        between the terms of this Settlement Agreement and the Exhibits attached hereto, this Settlement

        Agreement shall control.

               15.20   Time Periods. The time periods and dates described herein are subject to Court

        approval and may be modified upon order of the Court or written stipulation of the Parties.

               15.21   Amendments. The Settlement Agreement may be amended or modified only by a

        written instrument signed by Class Counsel and Settling Defendants’ Counsel, or their respective

        successors-in-interest.

               15.22   Receipt of Advice of Counsel. Each Party acknowledges, agrees, and specifically

        warrants that he, she, or it has fully read this Settlement Agreement, received independent legal

        advice with respect to the advisability of entering into this Settlement Agreement and fully




                                                        47
                                                                                                    JA343
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                347 of
                                                                    48462
                                                                       of 79 PageID# 1508




        understands the effect of this Settlement Agreement, the Released Parties, and the Released

        Claims.

                15.23   Authorization of Counsel. Class Counsel, on behalf of the Settlement Class, are

        expressly authorized by Plaintiffs to take all appropriate action required or permitted to be taken

        by the Settlement Class pursuant to the Settlement Agreement to effectuate its terms, and also are

        expressly authorized to enter into any modifications or amendments to the Settlement Agreement

        on behalf of the Settlement Class that they deem necessary or appropriate. Each attorney executing

        the Settlement Agreement on behalf of any Party hereto hereby warrants that such attorney has the

        full authority to do so.

                15.24   Confidentiality. All agreements made and Orders entered during the course of the

        Actions relating to the confidentiality of information shall survive this Settlement Agreement.

                15.25   Court’s Jurisdiction. The Court shall retain jurisdiction with respect to

        implementation and enforcement of the terms of the Settlement Agreement and all orders entered

        in connection therewith. The Parties and their attorneys submit to the jurisdiction of the Court

        regarding these matters.

                15.26   Construction. Each of the Parties has cooperated in the mutual drafting and

        preparation of this Settlement Agreement. Hence, in any construction to be made of this Settlement

        Agreement, the same shall not be construed against any of the Parties. Before declaring any

        provision of this Settlement Agreement invalid, a court should first attempt to construe the

        provision as valid to the fullest extent possible consistent with applicable precedent so as to find

        all provisions of this Settlement Agreement valid and enforceable.

                15.27   No Claims Arising from this Settlement Agreement. No person shall have any claim

        against any Settling Defendants, Released Party, Settling Defendants’ Counsel, Named




                                                        48
                                                                                                    JA344
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                348 of
                                                                    49462
                                                                       of 79 PageID# 1509




        Plaintiff or Class Counsel based on distribution of benefits made substantially in accordance with

        this Settlement Agreement or any Settlement Agreement-related order(s) of the Court.

               15.28   Waiver. The waiver by one party of any provision or breach of this Settlement

        Agreement shall not be deemed a waiver of any other provision or breach of this Agreement.

               15.29   Counterparts and Date of Agreement. This Settlement Agreement may be executed

        in one or more counterparts and by facsimile. All executed counterparts and each of them shall be

        deemed to be one and the same instrument. Counsel for the Parties shall exchange among

        themselves signed counterparts, and a complete set of executed counterparts shall be filed with the

        Court. The Settlement Agreement shall become effective upon its execution by all of the

        undersigned.




                                                        49
                                                                                                   JA345
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                349 of
                                                                    50462
                                                                       of 79 PageID# 1510




                                                                                 JA346
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                350 of
                                                                    51462
                                                                       of 79 PageID# 1511




                                                                                 JA347
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                351 of
                                                                    52462
                                                                       of 79 PageID# 1512




                                                                                 JA348
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                352 of
                                                                    53462
                                                                       of 79 PageID# 1513




                                                                                 JA349
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                353 of
                                                                    54462
                                                                       of 79 PageID# 1514




                                                                                 JA350
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                354 of
                                                                    55462
                                                                       of 79 PageID# 1515




                                                                                 JA351
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                355 of
                                                                    56462
                                                                       of 79 PageID# 1516




                                                                                 JA352
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                356 of
                                                                    57462
                                                                       of 79 PageID# 1517




                                                                                 JA353
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                357 of
                                                                    58462
                                                                       of 79 PageID# 1518




                                                                                 JA354
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                358 of
                                                                    59462
                                                                       of 79 PageID# 1519




                                                                                 JA355
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                359 of
                                                                    60462
                                                                       of 79 PageID# 1520




                                                                                 JA356
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                360 of
                                                                    61462
                                                                       of 79 PageID# 1521




                                                                                 JA357
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                361 of
                                                                    62462
                                                                       of 79 PageID# 1522




                                                                                 JA358
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                362 of
                                                                    63462
                                                                       of 79 PageID# 1523




                                                                                 JA359
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                363 of
                                                                    64462
                                                                       of 79 PageID# 1524




                                                                                 JA360
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                364 of
                                                                    65462
                                                                       of 79 PageID# 1525




                                                                                 JA361
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                365 of
                                                                    66462
                                                                       of 79 PageID# 1526




                                                                                 JA362
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                366 of
                                                                    67462
                                                                       of 79 PageID# 1527




                                                                                 JA363
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                367 of
                                                                    68462
                                                                       of 79 PageID# 1528




                                                                                 JA364
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                368 of
                                                                    69462
                                                                       of 79 PageID# 1529




                                                                                 JA365
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                369 of
                                                                    70462
                                                                       of 79 PageID# 1530




                                                                                 JA366
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                370 of
                                                                    71462
                                                                       of 79 PageID# 1531




                                                                                 JA367
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                371 of
                                                                    72462
                                                                       of 79 PageID# 1532




                                                                                 JA368
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                372 of
                                                                    73462
                                                                       of 79 PageID# 1533




                                                                                 JA369
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                373 of
                                                                    74462
                                                                       of 79 PageID# 1534




                                                                                 JA370
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                374 of
                                                                    75462
                                                                       of 79 PageID# 1535




                                                                                 JA371
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                375 of
                                                                    76462
                                                                       of 79 PageID# 1536




                                                                                 JA372
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                376 of
                                                                    77462
                                                                       of 79 PageID# 1537




                                                                                 JA373
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                377 of
                                                                    78462
                                                                       of 79 PageID# 1538




                                                                                 JA374
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        55-1 12/06/2023
                                              Filed 12/19/19Pg:Page
                                                                378 of
                                                                    79462
                                                                       of 79 PageID# 1539




                                                                                 JA375
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                379 of 462
                                                                    1 of 37 PageID# 2979




                                                                                 JA376
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                380 of 462
                                                                    2 of 37 PageID# 2980




                                                                                 JA377
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                381 of 462
                                                                    3 of 37 PageID# 2981




                                                                                 JA378
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                382 of 462
                                                                    4 of 37 PageID# 2982




                                                                                 JA379
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                383 of 462
                                                                    5 of 37 PageID# 2983




                                                                                 JA380
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                384 of 462
                                                                    6 of 37 PageID# 2984




                                                                                 JA381
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                385 of 462
                                                                    7 of 37 PageID# 2985




                                                                                 JA382
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                386 of 462
                                                                    8 of 37 PageID# 2986




                                                                                 JA383
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:19-cv-00470-REP         Filed:
                                Document 114 12/06/2023
                                              Filed 12/18/20Pg:Page
                                                                387 of 462
                                                                    9 of 37 PageID# 2987




                                                                                 JA384
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 388 10
                                                             Page   of 462
                                                                       of 37 PageID# 2988




                                                                                 JA385
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 389 11
                                                             Page   of 462
                                                                       of 37 PageID# 2989




                                                                                 JA386
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:19-cv-00470-REP  DocumentFiled:
                                       114 12/06/2023
                                             Filed 12/18/20Pg: 390 12
                                                            Page   of 462
                                                                      of 37 PageID# 2990




                                                                                JA387
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 391 13
                                                             Page   of 462
                                                                       of 37 PageID# 2991




                                                                                 JA388
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 392 14
                                                             Page   of 462
                                                                       of 37 PageID# 2992




                                                                                 JA389
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 393 15
                                                             Page   of 462
                                                                       of 37 PageID# 2993




                                                                                 JA390
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:19-cv-00470-REP  DocumentFiled:
                                       114 12/06/2023
                                             Filed 12/18/20Pg: 394 16
                                                            Page   of 462
                                                                      of 37 PageID# 2994




                                                                                JA391
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 395 17
                                                             Page   of 462
                                                                       of 37 PageID# 2995




                                                                                 JA392
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 396 18
                                                             Page   of 462
                                                                       of 37 PageID# 2996




                                                                                 JA393
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 397 19
                                                             Page   of 462
                                                                       of 37 PageID# 2997




                                                                                 JA394
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 398 20
                                                             Page   of 462
                                                                       of 37 PageID# 2998




                                                                                 JA395
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 399 21
                                                             Page   of 462
                                                                       of 37 PageID# 2999




                                                                                 JA396
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 400 22
                                                             Page   of 462
                                                                       of 37 PageID# 3000




                                                                                 JA397
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 401 23
                                                             Page   of 462
                                                                       of 37 PageID# 3001




                                                                                 JA398
USCA4 Appeal: 23-2097  Doc: 11-1
      Case 3:19-cv-00470-REP  DocumentFiled:
                                       114 12/06/2023
                                             Filed 12/18/20Pg: 402 24
                                                            Page   of 462
                                                                      of 37 PageID# 3002




                                                                                JA399
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 403 25
                                                             Page   of 462
                                                                       of 37 PageID# 3003




                                                                                 JA400
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 404 26
                                                             Page   of 462
                                                                       of 37 PageID# 3004




                                                                                 JA401
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 405 27
                                                             Page   of 462
                                                                       of 37 PageID# 3005




                                                                                 JA402
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 40628
                                                             Page  of 462
                                                                      of 37 PageID# 3006




                                                                                JA403
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 407 29
                                                             Page   of 462
                                                                       of 37 PageID# 3007




                                                                                 JA404
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 40830
                                                             Page  of 462
                                                                      of 37 PageID# 3008




                                                                                JA405
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 409 31
                                                             Page   of 462
                                                                       of 37 PageID# 3009




                                                                                 JA406
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 41032
                                                             Page  of 462
                                                                      of 37 PageID# 3010




                                                                                JA407
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 411 33
                                                             Page   of 462
                                                                       of 37 PageID# 3011




                                                                                 JA408
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 412 34
                                                             Page   of 462
                                                                       of 37 PageID# 3012




                                                                                 JA409
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 41335
                                                             Page  of 462
                                                                      of 37 PageID# 3013




                                                                                JA410
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 41436
                                                             Page  of 462
                                                                      of 37 PageID# 3014




                                                                                JA411
USCA4 Appeal: 23-2097   Doc: 11-1
      Case 3:19-cv-00470-REP   DocumentFiled:
                                        114 12/06/2023
                                              Filed 12/18/20Pg: 41537
                                                             Page  of 462
                                                                      of 37 PageID# 3015




                                                                                JA412
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP  DocumentFiled:
                                         109212/06/2023     Pg: Page
                                               Filed 05/20/21   416 of1 462
                                                                        of 2 PageID# 47109



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division


        LULA WILLIAMS, et al.,

               Plaintiffs,

        V.                                          Civil Action No. 3;17cv461


        BIG PICTURE LOANS, LLC,
        et al.,

               Defendants.




        RENEE GALLOWAY, et al.,

        V.                                          Civil Action No. 3tl8cv406

        BIG PICTURE LOANS, LLC,
        et al.,

               Defendants.


                                       MEMORANDUM ORDER


               This matter is before the Court on DEFENDANT MATT MARTORELLO'S


        MOTION TO DISMISS PLAINTIFFS' COMPLAINT PURSUANT TO FJSDERAL RULES


        OF CIVIL PROCEDURE 19 AND 12(b)(7) (ECF No. 947 in Wil Liams, et al

        V. Big Picture Loans, LLC, et al., 3:17cv461) (ECF No. 592 in

        Galloway, et al v. Big Picture Loans, LLC, et al., 3:1 3cv406), the

        supporting, opposing and reply memoranda, it is hei[<eby ORDERED
        that   DEFENDANT    MATT   MARTORELLO'S    MOTION    TO   DISMISS   PLAINTIFFS'


        COMPLAINT    PURSUANT    TO   FEDERAL   RULES   OF   CIVIL   PROCEDURE   19   AND


        12(b)(7) (ECF No. 947 in Williams, et al v. Big Pic:ture Loans,

        LLC, et al., 3:17cv461) (ECF No. 592 in Galloway, e t al V. Big




                                                                                  JA413
USCA4 Appeal: 23-2097   Doc: 11-1
       Case 3:17-cv-00461-REP  DocumentFiled:
                                         109212/06/2023     Pg: Page
                                               Filed 05/20/21   417 of2 462
                                                                        of 2 PageID# 47110



        Picture Loans, LLC, et al., 3:18cv406} is denied because, under

        the   well-reasoned     rationale    in   Commonwealth    of   Pei   sylvania v.

        Think Fin., Inc., 2016 WL 183289, at *4 (E.D. Pa. Ja:                  14, 2016)

        and Gingras v. Rosette, 2016 WL 2932163, at *20 (D. Vt. May 18,

        2016), Big Picture Loans, LLC, Ascension Technologies, LLC, and

        the Lac Vieux Desert Band of Lake Superior Chippewa Indians are

        not indispensable parties within the meaning of Fed. R. Civ. P. 19

        and because under the settled law reflected in Temple v. Synthes

        Corp., Ltd., 498 U.S. 5, 7 {1990} and Southern Co. Eiiergy Mktg.,

        L.P. V. Virginia Elec. & Power Co., 190 F.R.D. 182, 1^6 n.5 {E.D
        Va. 1999) joint tortfeasors are not necessary parties

              Moreover, the Motion fails because the very entities that the

        defendant assert should be joined as indispensable ties were, in

        fact, joined as parties to this litigation.               Howevei', they have

        reached a settlement with the plaintiffs.              Accordingly, Rule 19

        simply does not apply by its very terms.

              It is further ORDERED that the facts and legal contentions

        are adequately presented in the materials before the                  Court   and


        oral argument would not aid the decisional process.

              It is so ORDERED.




                                                            /s/
                                             Robert E. Payne
                                             Senior United States District Judge

        Richmond, Virginia
        Date: May            2021




                                                                                   JA414
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 418
                                                Filed 04/21/23  Pageof1462
                                                                        of 19 PageID# 48062




                                     Exhibit 3




                                                                                  JA415
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 419
                                                Filed 04/21/23  Pageof2462
                                                                        of 19 PageID# 48063




                                                                                  JA416
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 420
                                                Filed 04/21/23  Pageof3462
                                                                        of 19 PageID# 48064




                                                                                  JA417
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 421
                                                Filed 04/21/23  Pageof4462
                                                                        of 19 PageID# 48065




                                                                                  JA418
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 422
                                                Filed 04/21/23  Pageof5462
                                                                        of 19 PageID# 48066




                                                                                  JA419
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 423
                                                Filed 04/21/23  Pageof6462
                                                                        of 19 PageID# 48067




                                                                                  JA420
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 424
                                                Filed 04/21/23  Pageof7462
                                                                        of 19 PageID# 48068




                                                                                  JA421
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 425
                                                Filed 04/21/23  Pageof8462
                                                                        of 19 PageID# 48069




                                                                                  JA422
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-312/06/2023     Pg: 426
                                                Filed 04/21/23  Pageof9462
                                                                        of 19 PageID# 48070




                                                                                  JA423
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  427 of10462
                                                                         of 19 PageID# 48071




                                                                                   JA424
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  428 of11462
                                                                         of 19 PageID# 48072




                                                                                   JA425
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  429 of12462
                                                                         of 19 PageID# 48073




                                                                                   JA426
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  430 of13462
                                                                         of 19 PageID# 48074




                                                                                   JA427
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  431 of14462
                                                                         of 19 PageID# 48075




                                                                                   JA428
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  432 of15462
                                                                         of 19 PageID# 48076




                                                                                   JA429
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  433 of16462
                                                                         of 19 PageID# 48077




                                                                                   JA430
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  434 of17462
                                                                         of 19 PageID# 48078




                                                                                   JA431
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  435 of18462
                                                                         of 19 PageID# 48079




                                                                                   JA432
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-3                Pg:Page
                                                Filed 04/21/23  436 of19462
                                                                         of 19 PageID# 48080




                                                                                   JA433
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 437
                                                 Filed 04/21/23      of 1462
                                                                  Page    of 9 PageID# 48081




                                      Exhibit 4




                                                                                    JA434
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 438
                                                 Filed 04/21/23      of 2462
                                                                  Page    of 9 PageID# 48082

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
          · · · · · · ·FOR THE EASTERN DISTRICT OF VIRGINIA
          ·2· · · · · · · · · · RICHMOND DIVISION

          ·3· ·LULA WILLIAMS, et al., on· · *
          · · ·behalf of themselves and all *
          ·4· ·other similarly situated· · ·*
          · · ·individuals,· · · · · · · · ·*
          ·5· · · · · · Plaintiff,· · · · · *
          · · · · · · · · · · · · · · · · · *
          ·6· ·VS.· · · · · · · · · · · · · *· Civil Action No.
          · · · · · · · · · · · · · · · · · *· 3:17-cv-461 (REP)
          ·7· ·BIG PICTURE LOANS, LLC,· · · *
          · · ·et al.,· · · · · · · · · · · *
          ·8· · · · · · Defendants.· · · · ·*

          ·9
          · · ·****************************************************
          10
          · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
          11· · · · · · · · · · MATTHEW MARTORELLO
          · · · · · · · · · · · ·FEBRUARY 25, 2019
          12
          · · ·****************************************************
          13

          14· · · · · · · · ·DEPOSITION of MATTHEW MARTORELLO,

          15· ·produced as a witness at the instance of the

          16· ·Plaintiffs, and duly sworn, was taken in the

          17· ·above-styled and numbered cause on the 25th day of

          18· ·February, 2019, from 10:33 a.m. to 5:56 p.m., before

          19· ·Christy R. Sievert, CSR, RPR, in and for the State

          20· ·of Texas, reported by machine shorthand, at the

          21· ·offices of Regus Business Center, 100 Crescent

          22· ·Court, 7th Floor, Dallas, Texas 75201, pursuant to

          23· ·the Federal Rules of Civil Procedure and the

          24· ·provisions stated on the record or attached hereto.

          25


         www.huseby.com                 Huseby, Inc. Regional Centers                800-333-2082
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                           JA435
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 439
                                                 Filed 04/21/23      of 3462
                                                                  Page    of 9 PageID# 48083

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· · · · · · · · · A P P E A R A N C E S

          ·2

          ·3· ·FOR THE PLAINTIFFS:

          ·4· · ·MR. LEONARD A. BENNETT
          · · · ·(Appearing via teleconference)
          ·5· · ·Consumer Litigation Associates
          · · · ·763 J. Clyde Morris Boulevard, Suite 1-A
          ·6· · ·Newport News, Virginia 23601
          · · · ·Phone:· · ·757-930-3660
          ·7· · ·E-mail:· · len@clalegal.com

          ·8· · ·MR. ANDREW J. GUZZO
          · · · ·(Appearing telephonically)
          ·9· · ·Kelly & Crandall, PLC
          · · · ·763 J Clyde Morris Boulevard, Suite 1A
          10· · ·Newport News, Virginia· 23601
          · · · ·Phone:· · ·703-424-7576
          11· · ·E-mail:· · aguzzo@kellyandcrandall.com

          12· · ·MS. E. MICHELLE DRAKE
          · · · ·(Appearing telephonically)
          13· · ·Berger Montague
          · · · ·43 SE Main Street, Suite 505
          14· · ·Minneapolis, Minnesota 55414
          · · · ·Phone:· · ·612-594-5933
          15· · ·E-mail:· · emdrake@bm.net

          16
          · · ·COUNSEL FOR MATTHEW MARTORELLO:
          17
          · · · ·MR. RICHARD L. SCHEFF
          18· · ·Armstrong Teasdale, LLP
          · · · ·1500 Market Street, 12th Floor, East Tower
          19· · ·Philadelphia, Pennsylvania 19102
          · · · ·Phone:· · ·215-246-3478
          20· · ·E-mail:· · rscheff@armstrongteasdale.com

          21

          22

          23

          24

          25


         www.huseby.com                 Huseby, Inc. Regional Centers           800-333-2082· Page 2
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA436
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 440
                                                 Filed 04/21/23      of 4462
                                                                  Page    of 9 PageID# 48084

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· ·products?
          ·2· · · ·A.· ·Never traded any consumer financial
          ·3· ·products.
          ·4· · · ·Q.· ·And prior to leaving KPMG, had you ever --
          ·5· ·yourself ever invested in -- in a business that
          ·6· ·involved consumer products, consumer financial
          ·7· ·products?
          ·8· · · ·A.· ·No.· No, I haven't.· I had not.
          ·9· · · ·Q.· ·All right.· So after 2009, or after KPMG,
          10· ·what was your next career move?
          11· · · ·A.· ·So let me think about when this was.· It
          12· ·must have been late 2008 or early 2009.· I feel like
          13· ·it was probably late 2008.· That's when I tried to
          14· ·raise money to start an online lending business.
          15· · · ·Q.· ·And can I ask why -- why you would -- I
          16· ·mean, that's -- you had not dealt with online
          17· ·lending in any of your other professional capacities
          18· ·before, right?
          19· · · ·A.· ·Yeah, that's correct.
          20· · · ·Q.· ·So what -- what brought you into --
          21· · · ·A.· ·I'm sorry, that's not really correct.· I'm
          22· ·sorry.
          23· · · · · · More specific to the KPMG experience, my
          24· ·job there was mainly in asset-based lending, and --
          25· ·and, obviously, transactions, mergers and

         www.huseby.com                 Huseby, Inc. Regional Centers          800-333-2082· Page 26
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA437
                                                                                                       YVer1f
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 441
                                                 Filed 04/21/23      of 5462
                                                                  Page    of 9 PageID# 48085

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· ·different business, right?
          ·2· · · ·A.· ·I left, because I could sort of see the
          ·3· ·writing on the wall.· And so I continued my efforts
          ·4· ·to, you know, be an owner and not an employee in
          ·5· ·that context.· And so I was able to raise capital
          ·6· ·for my own business.
          ·7· · · ·Q.· ·And did you just quit or did -- was there a
          ·8· ·buy-sell agreement or something that. . .
          ·9· · · ·A.· ·I got bullied out by litigation,
          10· ·effectively.· And then I think I had signed
          11· ·something, like, you know, releasing any rights to
          12· ·claiming ownership or anything like that.· And so it
          13· ·was just kind of -- it was not consensual, I guess,
          14· ·but it was what it was.
          15· · · ·Q.· ·And did you get any money out of the
          16· ·company?
          17· · · ·A.· ·No.
          18· · · ·Q.· ·All right.· And then you started a new
          19· ·business, right?
          20· · · ·A.· ·Correct.
          21· · · ·Q.· ·Approximately when?· What was the best
          22· ·estimate of month and year?
          23· · · ·A.· ·I believe that was probably -- like, I
          24· ·don't want to be off by a year here.· It's too far
          25· ·to be off.· But I feel like -- I would say early

         www.huseby.com                 Huseby, Inc. Regional Centers          800-333-2082· Page 33
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA438
                                                                                                       YVer1f
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 442
                                                 Filed 04/21/23      of 6462
                                                                  Page    of 9 PageID# 48086

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· ·2010, give or take, is my best guess.· It could have
          ·2· ·been earlier.
          ·3· · · ·Q.· ·And what was --
          ·4· · · ·A.· ·Could have been earlier.
          ·5· · · ·Q.· ·And what was the name of the business that
          ·6· ·you started then?
          ·7· · · ·A.· ·That was Collect 500.
          ·8· · · ·Q.· ·And what was the corporate entity's name,
          ·9· ·if you -- if it was different?
          10· · · ·A.· ·It was MMP Finance.
          11· · · ·Q.· ·What does the P stand for?
          12· · · ·A.· ·Peter.
          13· · · ·Q.· ·Who was Peter?
          14· · · ·A.· ·He was the -- one of the guys who backed me
          15· ·on it.
          16· · · ·Q.· ·What was Peter's last name?
          17· · · ·A.· ·Savarino.· It's S-a-v-a-r-i-n-o.
          18· · · ·Q.· ·And what -- what was the business in
          19· ·which -- what was the business model for Collect
          20· ·500?
          21· · · ·A.· ·Sorry, can you elaborate on "business
          22· ·model"?
          23· · · ·Q.· ·Right.· So -- right.
          24· · · · · · Did it -- was it an online lender?
          25· · · ·A.· ·Yes.

         www.huseby.com                 Huseby, Inc. Regional Centers          800-333-2082· Page 34
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA439
                                                                                                       YVer1f
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 443
                                                 Filed 04/21/23      of 7462
                                                                  Page    of 9 PageID# 48087

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· · · ·Q.· ·And was the loan product actually called
          ·2· ·Collect 500?
          ·3· · · ·A.· ·That was the -- the domain name.· That was,
          ·4· ·like, the d/b/a.
          ·5· · · ·Q.· ·And what type of loans did Collect 500
          ·6· ·make?
          ·7· · · ·A.· ·Collect 500 made traditional payday loans.
          ·8· · · ·Q.· ·And did it do it in all states?
          ·9· · · ·A.· ·That's a good question.· I don't recall it
          10· ·being in all states.· I think it was something less
          11· ·than all states, but I don't recall all of the
          12· ·states.
          13· · · ·Q.· ·And then whatever happened to Collect 500?
          14· · · ·A.· ·Collect 500 operated for less than two
          15· ·years, and it was probably in operations for
          16· ·about -- really -- I mean, really operating maybe 10
          17· ·to 12 months, and then sort of liquidated.· And I'm
          18· ·trying -- that's why I'm trying to remember what the
          19· ·time period was.· So I'm trying to remember when it
          20· ·liquidated.
          21· · · ·Q.· ·So as of that point, what e-mail address
          22· ·were you using as your primary e-mail address?
          23· · · ·A.· ·That's a good question.· It probably --
          24· ·well, let's see.· In that era, probably my Yahoo
          25· ·e-mail address, personally, I mean.· And for

         www.huseby.com                 Huseby, Inc. Regional Centers          800-333-2082· Page 35
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA440
                                                                                                       YVer1f
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 444
                                                 Filed 04/21/23      of 8462
                                                                  Page    of 9 PageID# 48088

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
          · · · · · · ·FOR THE EASTERN DISTRICT OF VIRGINIA
          ·2· · · · · · · · · · RICHMOND DIVISION

          ·3· ·LULA WILLIAMS, et al., on· · *
          · · ·behalf of themselves and all *
          ·4· ·other similarly situated· · ·*
          · · ·individuals,· · · · · · · · ·*
          ·5· · · · · · Plaintiff,· · · · · *
          · · · · · · · · · · · · · · · · · *
          ·6· ·VS.· · · · · · · · · · · · · *· Civil Action No.
          · · · · · · · · · · · · · · · · · *· 3:17-cv-461 (REP)
          ·7· ·BIG PICTURE LOANS, LLC,· · · *
          · · ·et al.,· · · · · · · · · · · *
          ·8· · · · · · Defendants.· · · · ·*

          ·9
          · · · · · · · · · ·REPORTER'S CERTIFICATION
          10· · · · · · ·DEPOSITION OF MATTHEW MARTORELLO
          · · · · · · · · · · · ·FEBRUARY 25, 2019
          11

          12· · · · · · · · ·I, CHRISTY R. SIEVERT, CSR, RPR, in

          13· ·and for the State of Texas, hereby certify to the

          14· ·following:

          15· · · · · · That the witness, MATTHEW MARTORELLO, was

          16· ·duly sworn by the officer and that the transcript of

          17· ·the oral deposition is a true record of the

          18· ·testimony given by the witness;

          19· · · · · · I further certify that the signature of

          20· ·the deponent was requested by the deponent or a

          21· ·party and is to be returned within 30 days from date

          22· ·of receipt of the transcript.· If returned, the

          23· ·attached Changes and Signature Page contains any

          24· ·changes and the reasons therefor;

          25· · · · · · I further certify that I am neither


         www.huseby.com                 Huseby, Inc. Regional Centers         800-333-2082· Page 229
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA441
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-412/06/2023     Pg: 445
                                                 Filed 04/21/23      of 9462
                                                                  Page    of 9 PageID# 48089

                      LULA WILLIAMS, ET AL. vs BIG PICTURE LOANS, LLC, ET AL.
                                  Matthew Martorello on 02/25/2019

          ·1· ·counsel for, related to, nor employed by any of the

          ·2· ·parties or attorneys in the action in which this

          ·3· ·proceeding was taken, and further that I am not

          ·4· ·financially or otherwise interested in the outcome

          ·5· ·of the action.

          ·6· · · · · · Subscribed and sworn to on this the 4th

          ·7· ·day of March, 2019.

          ·8

          ·9

          10· · · · · · · · · · · · · ·____________________________

          11· · · · · · · · · · · · · ·CHRISTY R. SIEVERT, CSR, RPR
          · · · · · · · · · · · · · · ·Expiration Date:· 4-30-2021
          12· · · · · · · · · · · · · ·Huseby, Inc.
          · · · · · · · · · · · · · · ·7000 North Mopac Freeway
          13· · · · · · · · · · · · · ·2nd Floor
          · · · · · · · · · · · · · · ·Austin, Texas· 78731
          14· · · · · · · · · · · · · ·(512) 687-0421 (tel)

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25


         www.huseby.com                 Huseby, Inc. Regional Centers         800-333-2082· Page 230
                 Charlotte ~ Atlanta ~ Washington, DC ~ New York ~ Houston ~ San Francisco
                                                                                            JA442
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 446
                                                Filed 04/21/23  Pageof1462
                                                                        of 13 PageID# 48090




                                     Exhibit 5




                                                                                  JA443
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 447
                                                Filed 04/21/23  Pageof2462
                                                                        of 13 PageID# 48091
    From:                                              Rob Rosette </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                                                       (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=4EA335FB493D4964B92B0395C04F0C63-ROB
                                                       ROSETTE>
    To:                                                Nicole St. Germain; Karrie Wichtman; 'flint@whetstoneedge.biz'
    Sent:                                              8/24/2011 5:28:43 AM
    Subject:                                           Fw: Tasks for Oct 1 Launch
    Attachments:                                       PepperCash_NEW_Loan_Agreement.docx


!                                                                                                                                                                                                                                                        i

i                                                                                                        Redacted                                                                                                                                        !
(_______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________ i



    From: mattmrii bellicosevi.com [mailto :mattmrii bellicosevi.com]
    Sent: Tuesday. August 23. 2011 09:50 PM
    To: Rob Rosette: flintri,wsedge.biz <flintri,wsedge.biz>
    Cc: Scott Merritt <smerritt!i1answersetc.com>
    Subject: Tasks for Oct l Launch

    Perhaps the most efficient option \\Ould then be for Rob to help educate my counsel so they can get that done for me. I
    believe they'll be \\orking on this next \\eek.

    For the Tribal entity. is it an LLC or Corp? I like the name Red Rock Tribal Cash, LLC ( or Corp).

    In the meantime. I plan to have the draft documents done by end of\\eek. and then sent to Ryan Bloom for finalization next
    \\eek. After that Ryan \\ill send them off to you guys ,veek of the 5th for execution on/around September 15 ,vith an
    October l effective date/go live date.

    Tasks for Rob:
    *I have attached the current consumer loan agreement for the portfolio. I understand you ,vill need to redline this for the
    Tribal Lender and ,ve ,vill have it put in place in the LMS beginning Oct 1. The current version has a lot of elements in it
    specific to the international structure.
    *Please also revie,v and edit the privacy policy of the ,vebsite. as ,vell as the footer on each ,vebpage. and the terms &
    conditions of the ,vebsite so that those may be updated Oct l as ,vell:
    A) https://,v,v,v.peppercash.com/privacv policv.html
    B) https://,,,,,,.peppercash.com/terms of \\ebsite use.html
    C) This web site's contents do not signify a solicitation or offer for check advances in all states. Areas of
    operation may change with or without notice. Services mentioned on this site may or may not be available in
    your particular state. Each aspect of, communication, and transaction, with/on this site will be deemed to have
    occurred in PepperCash.com's Costa Rica offices, regardless of the location where you are accessing or viewing
    this site. The borrower is responsible for observing any local statutory requirements that may exist in their state
    or area with respect to any transactions with PepperCash.com. All content, existing and/or submitted to and in
    association with this site will be considered PepperCash.com's copyrighted property. All communications with
    the company are deemed confidential. Any unauthorized reproduction, distribution, or disclosure is prohibited
    without the company's express written consent.
    *Please revie\\ the PepperCash.com \\ebsite in its entirety for any changes the Tribe requires
    *I ,,ill later get the email templates and disclaimers ,vithin them over to you as \\ell for your edits on all communications
    there
    *Please let me lrno,v if there are any services. or notifications. or procedures that the tribe ,,ants to explicitly have
    performed or anything else not mentioned

    Hopefully you can take ,vhatever steps are necessary to complete formation. and secure ACH and bank account so they are
    all set to go come October 1st.

    What else can I help you ,vith in the meantime')

    Regards,

                                                                                                                                                                                                                               JA444
CONFIDENTIAL                                                                                                                                                                                                                       ROS002-0000681
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 448
                                                Filed 04/21/23  Pageof3462
                                                                        of 13 PageID# 48092
 Matt Martorello
 Mobile: 773-209- 7720




 From: Rob Rosette [mailto:rosetteri,rosettelaw.com]
 Sent: Tuesday. August 23. 2011 8:-1-1 PM
 To: flintri,wsedge.biz: mattmri, bellicosevi.com
 Cc: Scott Merritt
 Subject: RE: Opinion Letter

 Flint

 That is correct. My insurance coverage \\ill only cover opinions rendered to my Tribal clients.

 Thanks.

 Robert A. Rosette
 Rosette, LLP
 Attorneys at Law
 565 W. Chandler Blvd., Suite 212
 Chandler, Arizona 85225
 Tel (480) 889-8990
 Fax (480) 889-8997
 Cell (480) 242-9810
 www.rosettelaw.com

 CONFIDENTIAL COMMUNICATION: THIS MESSAGE IS A CONFIDENTIAL ATTORNEY COMMUNICATION ONLY FOR
 USE BY THE INTENDED RECIPIENT. ANY INADVERTENT RECEIPT SHALL NOT CONSTITUTE A WAIVER OF
 ATTORNEY-CLIENT OR WORK PRODUCT PROTECTION. IF RECEIVED IN ERROR. PLEASE NOTIFY THE SENDER
 IMMEDIATELY AND DELETE THIS MESSAGE.



 From: Flint Richardson [mailto:flint!i,wsedge.biz]
 Sent: Tuesday. August 23. 2011 5:03 PM
 To: mattmri, bellicosevi.com
 Cc: Rob Rosette: Scott Merritt
 Subject: Re: Opinion Letter

 Matt - since Rob isn't your legal counsel it wouldn't be permissible for him to issue you an opinion. He could
 work with your counsel on the support needed for them to issue the opinion you require. Rob - correct me if I am
 wrong here. Thanks.

 Sent via BlackBerry by AT&T

 From: "mattm@bellicosevi.com" <mattm@bellicosevi.com>
 Date: Tue, 23 Aug201123:54:47+0000
 To: Flint Richardson<flint@wsedge.biz>
 Cc: Rob Rosette<rosette@rosettelaw.com>; smerritt@answersetc.com<smerritt@answersetc.com>
 Subject: Opinion Letter


 Rob, would you be able to provide an opinion letter to Bellicose simply stating that the entire model and

                                                                                                      JA445
CONFIDENTIAL                                                                                            ROS002-0000682
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 449
                                                Filed 04/21/23  Pageof4462
                                                                        of 13 PageID# 48093
 relationships throughout do not equate to the tribe being an agent of Bellicose or any of it's owners or any of our
 other entities involved. This would be very valuable to us in case one day the IRS were to challenge that the
 tribe is simply an agent. This negates any fee associated with such an event should it ever occur.



 On Aug 22, 2011, at 9:36 AM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Sounds good Matt. We look fornard to it. In the meantime not sure if you and Scott have talked through technology or the
 operating account structure but \\e should ,rnrk on that as \\ell soon.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image002.j pg>
 **************************************************************************************************************'
 This e-mail message maY contain legally priYileged and or confidential information. If you are not the intended recipient(s). or the emploYee or agent
 responsible for deliYerY of this message to the intended recipient(s). You are hereby notified that any dissemination. distribution or copYing of this
 e-mail message is strictly prohibited. If you haYe receiYed this message in error. please immediately notify the sender and delete this e-mail message
 from Your computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance \Yith Treasury Department regulations. \Ye inform You that any U.S. federal tax adYice
 contained in this correspondence (including any attachments) is not intended or \Hitten to be used. and cannot be used. for the purpose of (i) aYoiding
 penalties that may be imposed under the U.S. Internal ReYenue Code or (ii) promoting. marketing or recommending to another party any transaction or
 matter addressed herein.



 From: Matt Ma1iorello [mailto:mattmri,bellicose,i.com]
 Sent: Monday. August 22. 2011 7:21 AM
 To: Flint Richardson: Rob Rosette: smerrittriians,,ersetc.com
 Subject: RE: Next Steps

 I agree. I'd like to get the legal documents all completed and ready for signatures ASAP. Then on that week in Sept. we can execute the
 agreements with an Oct l launch date.


 From: Flint Richardson [flintrilwsedge.biz]
 Sent: Monday. August 22. 2011 8:50 AM
 To: Matt Ma1iorello: Rob Rosette: smerrittrilanswersetc.com
 Cc: mmaiiorelloriiapriorisolutions.com
 Subject: RE: Next Steps

 That \\Ould be possible Matt. Ho\\ever. I believe that \\e should have agreements finalized and have the meeting coincide
 \\ith the execution of documents. Since you have outside legal counsel in Dela\\are and Michigan I believe that \\e should
 \\Ork \\ith them in order to get a full set of documents that \\ill be acceptable hainmered out as soon as possible. To the
 extent that your counsel desires to revie\\ the lending ordinance. regulatory fraine\\ork and tribal limited liability ordinance
 \\e can \\Ork \\ith them so that they are comfortable that all of structural components of the deal are in fact in place \\ith
 appropriate resolutions.

 Let me Imo\\ \\hat you think about this approach.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I
                                                                                                                                       JA446
CONFIDENTIAL                                                                                                                              ROS002-0000683
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 450
                                                Filed 04/21/23  Pageof5462
                                                                        of 13 PageID# 48094

 <image003.j pg>
 **************************************************************************************************************'
 This e-mail message may contain legallY priYileged and or confidential information. If you are not the intended recipient(s). or the emploYee or agent
 responsible for deli Yer:, of this message to the intended recipient(s). You are herebY notified that any dissemination. distribution or copYing of this
 e-mail message is strictlv prohibited. Ifvou have received this message in error. please immediatelv notifv the sender and delete this e-mail message
 from Your computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance \Yith Treasury Department regulations. \Ye inform You that any U.S. federal tax advice
 contained in this correspondence (including any attachments) is not intended or \Hitten to be used. and cannot be used. for the purpose of (i) aYoiding
 penalties that may be imposed under the U.S. Internal Revenue Code or (ii) promoting. marketing or recommending to another party any transaction or
 matter addressed herein.



 From: Matt Ma1iorello [mailto:mattmri,bellicosevi.com]
 Sent: Monday. August 22. 2011 6:-1-6 AM
 To: Matt Ma1iorello: Rob Rosette: 'flintri,wsedge.biz': 'smerrittri,answersetc.com'
 Cc: 1nuna1iorellori,apriorisolutions.com1
 Subject: RE: Next Steps

 Can we schedule a day on the week of 9/12 - 9/16 to meet the Tribe in the UP?

 From: Matt Ma1iorello
 Sent: Saturday. August 20. 2011 8:-1-0 AM
 To: Rob Rosette: 'flint!iiwsedge.biz': 'smerrittriianswersetc.com'
 Cc: 1nuna1iorelloriiapriorisolutions.com1
 Subject: RE: Next Steps

 OK. maybe we can coordinate a UP trip to all get together when we do a site meet and greet with the Tribe. Preferably before the very
 rough winters up there begin.

 Thanks and enjov the weekend.




 From: Rob Rosette [rosetterdrosettelaw.com]
 Sent: Sahirdm. August 20. 2011 8:21 AM
 To: Matt Maiiorello: 'flintriiwsedge.biz': 'smerrittrdanrnersetc.com'
 Cc: 1mmaiiorello 1dapriorisolutions.com1
 Subject: Re: Next Steps

 Hi Matt. I'm in the U.P. We are quite far mvav from each othec but othernise I \\Ould have loved to meet vou!

 From: Matt Maiiorello [mailto:mattnvdbellicosevi.com]
 Sent: Saturdm. August 20. 2011 06:17 AM
 To: flintrd\\sedge.biz <flintrdwsedge.biz>: Scott Merritt <smerrittrdanrnersetc.com>
 Cc: nunaiiorellordapriorisolutions.com <mmaiiorellordapriorisolutions.com>: Rob Rosette
 Subject: RE: Next Steps

 Rob? I'll be staving at the Campus Inn in Ann Arbor tonight and to the race in Brookh n tomorro,v. Are mu am" here nearbv?




 From: Flint Richardson [flintrd\\sedge.biz]
 Sent: Sahirdm. August 20. 2011 7:-J.8 AM
 To: Matt Maiiorello: Scott Merritt
 Cc: nunaiiorellordapriorisolutions.com: Rob Rosette
                                                                                                                                         JA447
CONFIDENTIAL                                                                                                                               ROS002-0000684
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 451
                                                Filed 04/21/23  Pageof6462
                                                                        of 13 PageID# 48095
 Subject: Re: Next Steps

 Rob is in Michigan as well - perhaps you gents could meet if you are in proximity?

 Sent via BlackBeny by AT&T




 From: Matt Martorello <mattm@bellicosevi.com>
 Date: Sat, 20 Aug 2011 11:47:08 +0000
 To: Scott Merritt<smerritt@answersetc.com>
 Cc: mmartorello@apriori solutions. com <mmartorell o@apri ori solutions. com>;
 flint@wsed ge. biz<flint@wsed ge. biz>; rosette@rosettelaw.com <rosette@rosettelaw.com>
 Subject: Re: Next Steps

 Sounds great. I'll be up in Michigan this weekend for the NASCAR race and back on island Wed night. I do have
 additional questions to clarify some other details when I started reading docs again a few days ago. Maybe we
 can keep moving forward with docs to complete things ASAP and have a call Thursday morning to go over
 status and additional questions?



 On Aug 20, 2011, at 12:35 AM, "Scott Merritt" <smerritt@answersetc.com> wrote:



 Good to hear from ,ou: glad to hear you're making headway on ,our tax situation. We can appreciate how critical that component is to
 ,our model.

 The good news is the tribe is read,. and we'd be glad to arrange a ,isit at ,our com enience. The, are read, to go Ii\ e toda,.

 We can drill dmn1 to a much more granular leYel regarding the origination from the tribe on our next call - "e\·e only provided a
 high-le,el outline in our documentation. so we can ce1iainh clarify the process.

 Additionall,. we can discuss the banking and assignment issues when we tall.;:.

 I belie,e Flint ma, be trm eling Monda,/Tuesda,. but should be able to accommodate most da,s/times. Let us know what worl.;:s best
 for,ou.

 Ha,e a good weekend - I'm sure that's fairly eas, to do. considering ,our location. Flint and I might hm e to trm el down ,our wa, for
 official business at some point!



 -Scott




 From: Matt Maiiorello <mmaiiorellordapriorisolutions.com>
 To: Flint Richardson <flintriiwsedge.biz>
 Cc: Scott Merritt: Rob Rosette <rosette1drosettelm,.com>
 Sent: Fri Aug 19 20:01:0-1- 2011
 Subject: Re: Next Steps
 Hey Flint, how's it coming along? I plan to get my tax opinion letter back on Tuesday, and I told them I wanted
                                                                                                                            JA448
CONFIDENTIAL                                                                                                                   ROS002-0000685
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 452
                                                Filed 04/21/23  Pageof7462
                                                                        of 13 PageID# 48096
 to have all of this completed within 2 weeks.

 -Is the tribe ready to go live?
 -I wanted to talk about the detail of origination occurring at the tribe
 -I'd love to make a visit to their facility in the near future as well.
 -wanted to discuss operating bank account activity
 -do you have assignment contracts
 -it sounds like we may transfer this over and then launch a new one, and nm returning only on the current one
 after #2 gets going

 Anyway, maybe we can discuss next week. I plan to take a crack at merging these myself too and then we can
 compare notes.

 Let's get this thing going. Looking forward to it, have a great weekend guys.

 Thanks,
 Matt



 On Aug 9, 2011, at 5:59 PM, "Flint Richardson" <flint@wsedge.biz> wrote:

 Hey Matt-

 Just wanted to circle back with you to ensure that you had received the servicing agreement that I had sent to you
 yesterday. Also - I wanted to see if it made sense to schedule another call to discuss the service agreement or
 work with someone with your company to merge this with the RAPE agreement? I would recommend that
 having your counsel (whichever attorney you want to use in-house or external) may help us expedite this
 process.

 Let us know what we can do to help.

 Flint


 Flint Richardson I CPA I Chandler I AZI 85225 I
 office 480.889.4888 I fax 480.889.8997 I flint@wsedge.biz I

 <image003.jpg>
 *********************************************************************************************************************~
 This e-mail message ma, contain legall, pri,ileged and or confidential information. Ifnm are not the intended recipient( s ). or the emplo,ee or agent
 responsible for deli,er, of this message to the intended recipient(s). ,ou are hereb, notified that an, dissemination. distribution or cop,ing of this
 e-mail message is strict!, prohibited. Ifnm ha,e recei,ed this message in error. please immediate!, notif\ the sender and delete this e-mail message
 from ,our computer.

 IRS CIRCULAR 230 DISCLOSURE: To ensure compliance ,,ith Treasur, Department regulations. ,,e inform ,ou that an, U.S. federal tax ad,ice
 contained in this correspondence ( including an, attachments) is not intended or ,nitten to be used. and cannot be used. frlr the purpose of (i) anliding
 penalties that ma, be imposed under the U.S. Internal ReYenue Code or (ii) promoting. marketing or recommending to another part, an, transaction or
 matter addressed herein.



 The message does not contain any threats

                                                                                                                                        JA449
CONFIDENTIAL                                                                                                                               ROS002-0000686
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 453
                                                Filed 04/21/23  Pageof8462
                                                                        of 13 PageID# 48097
 AVG for MS Exchange Server (9.0.901 -271.1.1/3845)
 <image002.jpg>
 <image003 .j pg>
 <AVG certification.txt>




                                                                                  JA450
CONFIDENTIAL                                                                        ROS002-0000687
USCA4Case
     Appeal: 23-2097    Doc: 11-1
          3:17-cv-00461-REP   Document Filed:
                                       1166-512/06/2023     Pg: 454
                                                Filed 04/21/23  Pageof9462
                                                                        of 13 PageID# 48098



                                                                         LOAN AGREEMENT
      Disbursement Date: LOAN_EFFECTIVE_DATE                                               Type of Contract:         Loan # APPLICATION_NUMBER
      PaymentDate:    LOAN_DUE_DATE

                                                                                           Borrower Name: CUSTOMER_NAME
      Tribal Entity, LLC                                                                   Borrower Address : CUSTOMER_ADDRESS1
      DBA: PepperCash.com                                                                  CUSTOMER_ADDRESS2
      Address ....                                                                         Address: CUSTOMER_CITY, CUSTOMER_STATE
      Phone: 1-888-408-0151                                                                CUSTOMER_ZIP
      Email address: legal@PepperCash.com                                                  Phone: CUSTOMER_PHONE_NUMBER
                                                                                           Email address: CUST_EMAIL
      In this Loan Agreement (hereinafter, the "Loan Agreement", or "Agreement") the words "you", "your" and "I" mean the borrower who has electronically signed it.
      The words "we", "us" and "our" mean PepperCash.com. ("Lender").

      In order to complete your transaction with us, you must electronically sign this Loan Agreement by (a) entering your initials and (b) clicking the "I Agree" button at
      the end of the Loan Agreement. We will then approve or deny the Loan Agreement. If the Loan Agreement is approved, it will be consummated as of the
      Disbursement Date shown above. We will use commercially reasonable efforts to affect a credit entry by depositing the proceeds from this Loan Agreement into
      the bank account listed below in the ACH Authorization Section (your "Bank Account") on the Disbursement Date above. Unavoidable delays as a result of bank
      holidays, the processing schedule of your individual bank, the untimely receipt of borrower verification detail (if required), inadvertent processing errors, "acts of
      God", and/or "acts of terror" may extend the time for the deposit. In the event that the disbursement is delayed, the Disbursement Date will automatically adjust to
      reflect the date when proceeds entered your Bank Account. You will have the option of rescinding the Loan in accordance with the "RESCISSION" provision listed
      below, which describes, among other things, the time and manner within which notice of rescission must be given to be effective. Failure to give such notice as
      and when set out in the "RESCISSION" provision will be deemed to constitute acceptance by you of the delayed disbursement date and the revised terms of the
      Loan Agreement.

      All terms of this Agreement remain in full force and effect until all amounts owed to us by you are paid in full, including those associated with any renewal
      transactions, as described below.

      You promise to pay us the Total of Payments according to the terms of our disclosures set forth below on the date stated in the Payment Schedule below
      ("Payment Due Date"). You grant us a security interest in your ACH Authorization in the amount of the Total of Payments (the "ACH Authorization") which we may
      negotiate on the Payment Due Date or thereafter. You further promise to pay us all subsequent finance and other charges and fees in accordance with this
      Agreement. No interest, fees, or other charges are charged after the Payment Due Date except in the event of a "Late Charge", "Renewal", or "Workout" as
      explained below. All payments will be applied first to interest and then to principal. Both the amount of interest charged and rate thereof are set forth respectively in
      the Finance Charge and Annual Percentage Rate disclosures in this Agreement, which are subject to adjustment in the event of a delayed disbursement.

                                             U.S. FEDERAL TRUTH-IN-LENDING DISCLOSURES

             ANNUAL                                 FINANCE CHARGE                            Amount Financed                           Total of Payments
         PERCENTAGE RA TE

         The cost of your credit                      The dollar amount                     The amount of credit                     The amount you will
           as a yearly rate.                          the credit will cost                  provided to you or on                  have paid after you have
                                                             you.                                your behalf.                       made all payments as
                                                                                                                                         scheduled.

       )cALCULATED_APR¾) FINANCE_CHARGE                                                 I      LOAN_AMOUNT                         TOTAL_OF_PAYMENTS

       Your Payment Schedule will be:

       One Payment in the Amount of                                  TOTAL_OF_PAYMENTS                                   is due        LOAN_DUE_DA TE

      Security: You are giving us a security interest in the ACH Authorization.
      Prepayment: If you pay off early, you will not be entitled to a refund of the unearned portion of the
      finance charge.
      See the terms of this Loan Agreement for any additional information about nonpayment, default, and
      prepayment refunds.


     Itemization of Amount Financed: Amount given to you directly: LOAN_AMOUNT. Amount paid on
     Loan No. APPLICATION_NUMBER with us: $0.00.

     (1) THIS LOAN IS DESIGNED AS A SHORT-TERM CASH FLOW SOLUTION AND NOT DESIGNED
     AS A SOLUTION FOR LONGER TERM FINANCIAL PROBLEMS. (2) ADDITIONAL FEES MAY
     ACCRUE IF THE LOAN IS ROLLED OVER. (3) CREDIT COUNSELING SERVICES ARE




                                                                                                                                                              JA451
CONFIDENTIAL                                                                                                                                                     ROS002-0000688
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-5                Pg:Page
                                                Filed 04/21/23  455 of10462
                                                                         of 13 PageID# 48099



     AVAILABLE TO CONSUMERS WHO ARE EXPERIENCING FINANCIAL PROBLEMS.
                                                          CONSENT TO ELECTRONIC COMMUNICATIONS

      The following terms and conditions govern electronic communications in connection with this Loan Agreement and the transaction evidenced hereby (the
      "Consent"). By electronically signing this Loan Agreement by clicking the "I AGREE" button below, you are confirming that you have agreed to the terms and
      conditions of the Consent and that you have downloaded or printed a copy of this Consent for your records. You agree that:

                 Any disclosure, notice, record or other type of information that is provided to you in connection with your transaction with us, including but not limited to,
      this Loan Agreement, this Consent, the Truth in Lending disclosures set forth in this Agreement, change-in-term notices, fee and transaction information,
      statements, delayed disbursement letters, notices of adverse action, and transaction information (collectively, "Communications"), may be sent to you electronically
      by posting the information at our web site, www.PepperCash.com, or by sending it to you by e-mail by us or any vendor/servicer contracted through us at any time.

                 We will not be obligated to provide any Communication to you in paper form unless you specifically request us to do so.

                You may obtain a copy of any Communication by contacting us at legal@PepperCash.com or by calling us at 1-888-408-0151 You also can withdraw
      your consent to ongoing electronic communications in the same manner, and ask that they be sent to you in paper or non-electronic form.

                 You agree to provide us with your current e-mail address for notices at the email address indicated above. If your e-mail address, telephone number(s),
      or residence address changes, you must send us a notice of the new address/telephone number(s) by sending us an e-mail, using secure messaging, at least five
      (5) days before the change.

                 In order to receive electronic communications in connection with this transaction, you will need a working connection to the Internet. Your browser must
      support the Secure Sockets Layer (SSL) protocol. SSL provides a secure channel to send and receive data over the Internet through HS encryption capabilities.
      Netscape 4.7+ and above and Microsoft Internet Explorer 5.01+ and above support this feature. You will also need a printer connected to your computer to print
      disclosures/notices. We do not provide ISP services. You must have your own Internet Service Provider.

                 We may amend (add to, delete or change) the terms of this Consent to Electronic Communications by providing you with advance notice.

               You agree that you are able to view and/or electronically store the information presented at this website. You also agree to print and retain a copy of this
      Agreement and Consent to Electronic Communications for your records.

      SECURITY: We have disclosed to you that our interest in the ACH Authorization is a security interest as a courtesy only, because Costa Rica law does not clearly
      address whether our interest in the ACH Authorization is a "security interest"

      PAYMENT OPTIONS: Your Total of Payments will be due on the Payment Due Date. If you do not wish to pay the Total of Payments on your Payment
      Due Date, you must select your payment option at least three (3) banking business days prior to your Payment Due Date by contacting us at 1-888-408-
      0151. At that time, you may choose:

           (a)   Payment in full: You may pay the Total of Payments shown above, plus any accrued fees, to satisfy your loan in full. When you contact us
                 and choose this option, we will debit your Account for the Total of Payments plus any accrued fees, in accordance with the ACH
                 Authorization below; OR
           (b)   Renewal: You may renew your loan (that is, extend the Payment Due Date of your loan until your next Pay Date 1) by authorizing us to debit
                 your Account for the amount of the Finance Charge, plus any accrued fees. If you choose this option, your new Payment Due Date will be
                 your next Pay Date', and the rest of the terms of this Agreement will continue to apply.

      AUTO-RENEWAL: If you fail to contact us to confirm your Payment Option, or otherwise fail to pay the loan in full on any Payment Due Date,
      PepperCash.com may automatically renew your loan as described under (b) above, and debit your Bank Account on the Payment Date or thereafter for
      the Finance Charge and any accrued fees. Your new Payment Due Date will be your next Pay Date 1, and the rest of the terms of this Agreement will
      continue to apply. You must contact us 3 banking business days prior to your new Payment Due Date to confirm your payment option for the Renewal
      Transaction. If you fail to contact us, or otherwise fail to pay the loan in full on your new Payment Due Date, we may automatically renew the loan until
      your next Pay Date. 1 You may obtain up to 5 Renewals in addition to the initial loan transaction. All terms of this Agreement continue to apply to
      Renewal Transactions. All Renewals are subject to Lender's approval. If you choose to renew your loan for any additional period after the Payment
      Due Date, you will be charged the Finance Charge disclosed above for each "Loan Period" in which the Loan remains outstanding. If your Renewal is
      approved, your existing loan will be extended to a one Loan Period loan (10 - 24 day term) payment schedule and you will pay the finance charge of
      $35 per $100 of principal owed on the next Payment Due Date. You will accrue new finance charges with every Renewal of this loan.

      AUTO-WORKOUT: Unless you contact us to confirm your option for Payment in Full prior to your 5th Renewal Payment Due Date, your loan will
      automatically be placed into a Workout Payment Plan. Under the Workout Payment Plan, your Account will automatically be debited on your Pay Date 1
      for accrued finance charges plus a principal payment of $25 until the loan principal amount owed reaches $25 or less. When your amount owed
      reaches $25 or less, we will debit the remaining amount of principal, plus additional finance charges, on your next pay date 1. This does not limit any of
      Lender's other rights under the terms of this Agreement. All Workout Payment Plans are subject to Lender's approval.
      RETURNED ITEM FEE: You agree to pay an insufficient fund fee of $30 if an item in payment of what you owe is returned unpaid, or if an ACH debit entry, the
      authorization for which was not properly revoked by you, is rejected by your bank for any reason. If your payment is returned unpaid, you authorize us to make a
      one-time electronic funds transfer from your account to collect the returned item charge of $30.
      LATE CHARGE: If your scheduled payment is late more than fifteen (15) days after its due date, we will effect a debit entry to Your Account, a Late Charge of $30
      will be assessed to your account.
      TELEPHONE COMMUNICATIONS/MESSAGING: You authorize us, our assigns, successors or our servicing agents to send a SMS text message to you at any
      mobile number at which we reasonably believe we can contact you, for any lawful purpose, including but not limited to: (1) suspected fraud or identity theft; (2)
      obtaining information necessary for us to service your account; (3) collecting on your account; (4) notifying you as to important issues regarding your account, or
      (5) and other purpose. Telephone numbers you authorize us, our assigns, successors or our servicing agents to text message to include any numbers provided to
      us, our assigns, successors or our servicing agents and numbers from which you call us, our assign, successors or our servicing agents. You agree to pay any
      fee(s) or charge(s) that you may incur for incoming and outgoing messages from or to us or our assigns, successors, or our servicing agents, without
      reimbursement from us or them." You authorize us, our assigns, successors or servicing agents to send recorded messages to any phone numbers provided to us,
      our assigns, successors or service agents.


      1 The term "Pay Date" refers to the next time following the Payment Due Date, that you receive regular wages or salary from your employer. Because Renewal
      transactions are for at least ten (10) days, if you are paid weekly, your loan will be Renewed until the next Pay Date that is at least fourteen days after the prior
      Payment Date.




                                                                                                                                                              JA452
CONFIDENTIAL                                                                                                                                                     ROS002-0000689
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-5                Pg:Page
                                                Filed 04/21/23  456 of11462
                                                                         of 13 PageID# 48100



      INCOME VERIFICATION: You authorize PepperCash.com to verify your past and/or present employment history and income as may be necessary to process
      your Loan. The employment and/or income verification that PepperCash.com obtains is only to be used in the processing of your application for a Loan.
      Furthermore, you represent that you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for relief under any chapter of the
      United States Bankruptcy Code.

      ACH AUTHORIZATION: You hereby voluntarily authorize us, and our successors and assigns, to initiate automatic credit and debit entries to your Bank Account:
      Bank Routing Number CUSTOMER_ABA_NUMBER and Bank Account Number CUSTOMER_BANK_ACCOUNT_NUMBER, in accordance with this Agreement

      You agree that we will initiate a credit entry to your Bank Account for the Amount Financed on or about the Disbursement Date.

      You also authorize us to initiate an ACH debit entry to Your Bank Account:
           (a) For the Total of Payments plus any accrued fees on the Payment Due Date, or on any subsequent Renewal Payment Due Date, if you contact us and
                select Payment Option (a) above;
           (b) For the Finance Charge plus any accrued fees on the Payment Due Date, or on any subsequent Renewal Payment Due Date, if you contact us and
                select Payment Option (b) above, or if you fail to contact us to confirm your payment option;
           (c) For the accrued finance charges and fees, plus $25.00 on each Pay Date 1 after the 5th Renewal Payment Due Date, until the loan principal amount
                owed reaches $25 or less. When your principal amount owed reaches $25 or less, you authorize us to debit the remaining amount of principal, plus
                any additional fees and finance charges, on your next pay date 1 , and
           (d) For any accrued Late Fees or Returned Payment charges, subject to this Agreement

      You agree that we may re-initiate a debit entry for the same amount if the ACH debit entry is dishonored or payment is returned for any reason. The ACH
      Authorizations set forth in this Agreement are to remain in full force and effect for this transaction until your indebtedness to us for the Total of Payments, plus any
      other charges or fees incurred and described in this Agreement, is fully satisfied. You may only revoke the above authorizations by contracting us directly at least
      three (3) business days prior to the Payment Due Date. If you revoke your authorization, you agree to provide us with another form of payment acceptable to us.

      If any payment is returned unpaid, you authorize us to make a one-time electronic fund transfer from your account to collect a fee of $30. If your loan is over 15
      days late, you will be assessed a late fee of $30. You voluntarily authorize us, and our successor and assigns, to initiate a debit entry to your Bank Account for
      payment of this fee. You further authorize us to initiate debit entries as necessary to recoup the outstanding loan balance whenever an ACH transaction is
      returned to us for any reason. If your payment is returned to us by your financial institution due to insufficient funds or a closed account, you agree that we also
      may recover court costs and reasonable attorney's fees incurred by us.

      You understand and agree that this ACH authorization is provided for your convenience, and that you have authorized repayment of your loan by ACH debits
      voluntarily. You agree that you may repay your indebtedness through other means (i.e. money order) by providing timely payment, or through the Credit/Debit
      Card Authorization provided below.

      You authorize us to verify all of the information that you have provided, including past and/or current information. You agree that the ACH Authorization herein is
      for repayment of a single payment loan, or for single payment of finance charges for Renewal transactions, and that these entries shall not recur at substantially
      regular intervals. If there is any missing or erroneous information in or with your loan application regarding your bank, bank routing and transit number, or account
      number, then you authorize us to verify and correct such information.

      CREDIT/DEBIT CARD AUTHORIZATION: By signing this document below, you authorize us, and our successors or assigns, to charge any amounts owing under
      this Agreement to any credit/debit card that you provide to us for such purpose, in the event that any ACH debit entry, or other payment method, is returned unpaid
      for any reason. This authorization will remain in full force and effect until either (1) all obligations under this Agreement have been satisfied or (2) it is cancelled, in
      writing, in such time as to give us and the card issuer reasonable opportunity to act upon it Such cancellations shall be emailed to legal@PepperCash.com or
      faxed to 214-446-6314. If you choose to cancel this authorization, you agree to provide another payment method acceptable to us in our sole discretion.

      RESCISSION: You may rescind future payment obligations under this Loan Agreement, without cost or finance charges, no later than 5:00 p.m. EST of the next
      business day immediately following the Disbursement Date ("Rescission Deadline"). To rescind future payment obligations on this loan, you must inform us in
      writing, by or before the Rescission Deadline by email to support@PepperCash.com or by fax to 214-446-6314 that you want to cancel the future payment
      obligations on this loan and that you authorize us to effect a debit entry to Your Account for the principal amount of the Loan Agreement In the event that we
      timely receive your written notice of rescission on or before the Rescission Deadline but before the loan proceeds have been credited to Your Account, we will not
      effect a debit entry to Your Account and both ours and your obligations under this Loan Agreement will be rescinded. In the event that we timely receive your
      written notice of rescission on or before the Rescission Deadline but after the loan proceeds have been credited to Your Account, we will effect a debit to Your
      Account for the principal amount of the Loan Agreement If we receive payment of the principal amount via the debit, ours and your obligations under this Loan
      Agreement will be rescinded. If we do not receive payment of the principal amount via the debit, then the Loan Agreement will remain in full force and effect

      PREPAYMENT: At any time after the Rescission Deadline defined above, you can prepay your obligations partially or in full before the Payment Date by sending
      us an email to the address and number referenced above informing us that you want to make a prepayment and giving us written authorization to effect a debit
      entry to your Bank Account for the prepayment If we receive the prepayment via the debit, it will be applied first to fees and then to principal. Please be advised
      that by paying your loan off early you will not be entitled to a rebate of the unearned portion of your Finance Charge.

      BANKRUPTCY: You certify to us that you are not a debtor under any proceeding in bankruptcy and have no intention to file a petition for relief under any chapter
      of the United States Bankruptcy Code.

      CONSUMER REPORTS: You authorize us to obtain consumer reports about you prior to issuing a loan to you under this Agreement, and at any time that you owe
      us money under this or any other Loan Agreement We may report information about your account to credit bureaus. Late payments, missed payments, or other
      defaults on your account may be reflected in your credit report

      CHECKS: If you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund transfer from your
      account or to process the payment as a check transaction. When we use information from your check to make an electronic funds transfer, funds may be
      withdrawn from your account as soon as the same day we receive your payment, and you will not receive your check back from your financial institution. You also
      authorize us to collect a fee of $30 through an electronic fund transfer from your account if your payment is returned unpaid.

      COLLECTION AND USE OF BANK ACCOUNT INFORMATION FOR PURPOSES OF COLLECTING LOAN PAYMENTS: If we extend credit to you, we will
      consider the bank account information provided by you as eligible for us to process payments against. In addition, as part of our information collection process, we
      may detect additional bank accounts under your ownership. You agree that we will consider these additional accounts to be part of the application process and
      eligible for payment retrieval.

      DEFAULT, GOVERNING LAW, ASSIGNMENT AND EXECUTION You will be in default under this Agreement if (a) you provide false or misleading information
      about yourself, your employment, or your financial condition (including the bank account on which the electronic debit is drawn) prior to entering this Agreement,
      (b) you fail to make a payment by the Due Date or if your payment is returned to us unpaid for any reason, or (c) any of the following things occur: appointment of
      a committee, receiver, or other custodian of any of your property, or the commencement of a case under the U.S. Federal Bankruptcy Laws by or against you as a




                                                                                                                                                                 JA453
CONFIDENTIAL                                                                                                                                                        ROS002-0000690
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-5                Pg:Page
                                                Filed 04/21/23  457 of12462
                                                                         of 13 PageID# 48101



      debtor. This Agreement will be governed by the laws of Costa Rica, except that the arbitration provision is governed by Costa Rica's Law on Alternate Conflict
      Resolution and the Promotion of Social Peace (Law 7727, Article 18), and the New York Convention on the Recognition and Enforcement of Foreign Arbitral
      Awards, as adopted by the United Nations Conference on International Commercial Arbitration. We may assign or transfer this Agreement or any of our rights
      hereunder. If this Agreement is consummated, then you agree that the electronically signed Agreement we receive from you will be considered the original
      executed Agreement, which is binding and enforceable as to both parties.

      WAIVER OF JURY TRIAL AND ARBITRATION PROVISION: Arbitration is a process in which persons with a dispute (a) waive their rights to file a lawsuit and
      proceed in court and to have a jury trial to resolve their disputes; and (b) agree, instead, to submit their disputes to a neutral third person (an 'arbitrator') for a
      decision. Each party to the dispute has an opportunity to present some evidence to the arbitrator. Pre-arbitration discovery may be limited. Arbitration proceedings
      are private and less formal than court trials. The arbitrator will issue a final and binding decision resolving the dispute, which may be enforced as a court judgment.
      A court rarely overturns an arbitrator's decision. We have a policy of arbitrating all disputes with customers, including the scope and validity of this Arbitration
      Provision and any right you may have to participate in an alleged class action. THEREFORE, YOU ACKNOWLEDGE AND AGREE AS FOLLOWS

      1 For purposes of this Waiver of Jury Trial and Arbitration Provision, the words "dispute" and "disputes" are given the broadest possible meaning and include,
      without limitation (a) all claims, disputes, or controversies arising from or relating directly or indirectly to the signing of this Arbitration Provision, the validity and
      scope of this Arbitration Provision and any claim or attempt to set aside this Arbitration Provision; (b) all U.S. federal or state law claims, disputes or controversies,
      arising from or relating directly or indirectly to the Agreement, the information you gave us before entering into the Agreement, including the customer information
      application, and/or any past Agreement or Agreements between you and us; (c) all counterclaims, cross-claims and third-party claims; (d) all common law claims,
      based upon contract, tort, fraud, or other intentional torts; (e) all claims based upon a violation of any state or federal constitution, statute or regulation; (f) all claims
      asserted by us against you, including claims for money damages to collect any sum we claim you owe us; (g) all claims asserted by you individually against us
      and/or any of our employees, agents, directors, officers, shareholders, governors, managers, members, parent company or affiliated entities (hereinafter
      collectively referred to as "related third parties"), including claims for money damages and/or equitable or injunctive relief; (h) all claims asserted on your behalf by
      another person; (i) all claims asserted by you as a private attorney general, as a representative and member of a class of persons, or in any other representative
      capacity, against us and/or related third parties (hereinafter referred to as "Representative Claims"); and/or U) all claims arising from or relating directly or indirectly
      to the disclosure by us or related third parties of any non-public personal information about you.

      2. You acknowledge and agree that by entering into this Arbitration Provision:
      (a) YOU ARE GIVING UP YOUR RIGHT TO HAVE A TRIAL BY JURY TO RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES;
      (b) YOU ARE GIVING UP YOUR RIGHT TO HAVE A COURT RESOLVE ANY DISPUTE ALLEGED AGAINST US OR RELATED THIRD PARTIES; and
      (c) YOU ARE GIVING UP YOUR RIGHT TO SERVE AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER
      REPRESENTATIVE CAPACITY, AND/OR TO PARTICIPATE AS A MEMBER OF A CLASS OF CLAIMANTS, IN ANY LAWSUIT FILED AGAINST US AND/OR
      RELATED THIRD PARTIES.

      3. All disputes including any Representative Claims against us and/or related third parties shall be resolved by binding arbitration only on an individual basis with
      you. THEREFORE, THE ARBITRATOR SHALL NOT CONDUCT CLASS ARBITRATION; THAT 15, THE ARBITRATOR SHALL NOT ALLOW YOU TO SERVE
      AS A REPRESENTATIVE, AS A PRIVATE ATTORNEY GENERAL, OR IN ANY OTHER REPRESENTATIVE CAPACITY FOR OTHERS IN THE
      ARBITRATION.

      4. Any party to a dispute, including related third parties, may send the other party written notice by certified mail return receipt requested of their intent to arbitrate
      and setting forth the subject of the dispute along with the relief requested. All disputes arising out of or in connection with this Agreement shall be finally settled
      under the Rules of Arbitration of the International Chamber of Commerce by one or more arbitrators appointed in accordance with the said Rules. You may obtain
      a copy of the rules and procedures by contacting the arbitration organization listed above.

      5. Regardless of who demands arbitration, at your request we will advance your portion of the arbitration expenses, including the filing, administrative, hearing and
      arbitrator's fees ("Arbitration Fees"). Throughout the arbitration, each party shall bear his or her own attorneys' fees and expenses, such as witness and expert
      witness fees. The arbitrator shall apply applicable substantive law consistent with Costa Rica's Law on Alternate Conflict Resolution and the Promotion of Social
      Peace (Law 7727, Article 18), and applicable statutes of limitation, and shall honor claims of privilege recognized at law. The arbitration hearing will be conducted
      by telephone via a toll-free conference line at a mutually convenient time, and Lender will pay the telephone costs for you. The arbitrator may decide, with or
      without a hearing, any motion that is substantially similar to a motion to dismiss for failure to state a claim or a motion for summary judgment. In conducting the
      arbitration proceeding, the arbitrator shall not apply any federal or state rules of civil procedure or evidence. If allowed by Costa Rica statute or applicable Costa
      Rica law, the arbitrator may award statutory damages and/or reasonable attorneys' fees and expenses. If the arbitrator renders a decision or an award in your
      favor resolving the dispute, then you will not be responsible for reimbursing us for your portion of the Arbitration Fees, and we will reimburse you for any Arbitration
      Fees you have previously paid. If the arbitrator does not render a decision or an award in your favor resolving the dispute, then the arbitrator shall require you to
      reimburse us for the Arbitration Fees we have advanced, not to exceed the amount which would have been assessed as court costs if the dispute had been
      resolved by a Costa Rica court with jurisdiction, less any Arbitration Fees you have previously paid. At the timely request of any party, the arbitrator shall provide a
      written explanation for the award. The arbitrator's award may be filed with any court having jurisdiction.

      6. This Arbitration Provision is made pursuant to a transaction involving international commerce.

      7. This Arbitration Provision is binding upon and benefits you, your respective heirs, successors and assigns. This Arbitration Provision is binding upon and
      benefits us, our successors and assigns, and related third parties. This Arbitration Provision continues in full force and effect, even if your obligations have been
      paid or discharged through bankruptcy. This Arbitration Provision survives any cancellation, termination, amendment, expiration or performance of any transaction
      between you and us and continues in full force and effect unless you and we otherwise agree in writing. If any of this Arbitration Provision is held invalid, the
      remainder shall remain in effect.

      Your right to file suit against us for any claim or dispute regarding this Agreement is limited by the WAIVER OF JURY TRIAL AND ARBITRATION
      PROVISION.

      You may choose to opt out of this Arbitration Provision but only by following the process set forth below. If you do not wish to be subject to this Arbitration
      Provision, then you must notify us in email within forty-five (45) calendar days of the date of this Agreement at the following address: legal@PepperCash.com.
      Your written notice must include your name, address, social security number, the date of this Agreement, a statement that you wish to opt out of the Arbitration
      Provision, and must not be sent with any other correspondence. Indicating your desire to opt-out of this Arbitration Provision in any manner other than as provided
      above is insufficient notice. Your decision to opt out of this Arbitration Provision will not affect your other rights or responsibilities under this Agreement, and applies
      only to this Arbitration Provision and no prior or subsequent Arbitration Provision to which you and we have agreed.

      PRIVACY POLICY:
      By signing this Agreement, you agree to PepperCash.com's Privacy Policy as stated on PepperCash.com's website at the following link:
      https ://PepperCas h.com/P rivacy.aspx

      BY ENTERING IN YOUR INITIALS AND CLICKING THE "I AGREE" BUTTON BELOW, YOU ARE ELECTRON/CALLY SIGNING THIS AGREEMENT. BY
      ELECTRON/CALLY SIGNING THIS AGREEMENT. YOU AGREE THAT THIS ELECTRONIC SIGNATURE HAS THE FULL FORCE AND EFFECT OF YOUR
      PHYSICAL SIGNATURE AND THAT IT BINDS YOU TO THIS AGREEMENT IN THE SAME MANNER A PHYSICAL SIGNATURE WOULD DO SO. YOU
      CERTIFY THAT THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT 15 TRUE AND CORRECT. YOU AUTHORIZE PEPPERCASH.COM




                                                                                                                                                                   JA454
CONFIDENTIAL                                                                                                                                                           ROS002-0000691
USCA4Case
      Appeal: 23-2097   Doc: 11-1
          3:17-cv-00461-REP            Filed: 12/06/2023
                              Document 1166-5                Pg:Page
                                                Filed 04/21/23  458 of13462
                                                                         of 13 PageID# 48102



      TO VERIFY THE INFORMATION GIVEN IN CONNECTION WITH THIS AGREEMENT AND GIVE PEPPERCASH.COM CONSENT TO OBTAIN INFORMATION
      ON YOU FROM A CONSUMER REPORTING AGENCY OR OTHER SERVICE. YOU ACKNOWLEDGE THAT (AJ YOU HAVE READ, UNDERSTAND, AND
      AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT INCLUDING THE WAIVER OF JURY TRIAL AND ARBITRATION PROVISION
      AND THE PRIVACY POLICY, (BJ THIS AGREEMENT CONTAINS ALL OF THE TERMS OF THE AGREEMENT AND THAT NO REPRESENTATIONS OR
      PROMISES OTHER THAN THOSE CONTAINED IN THE AGREEMENT HAVE BEEN MADE, (CJ THIS AGREEMENT WAS FILLED IN BEFORE YOU SIGNED
      IT, AND (DJ THAT YOU HA VE PRINTED OR DOWNLOADED A COMPLETED COPY OF THIS AGREEMENT FOR YOUR RECORDS. YOU FURTHER
      ACKNOWLEDGE THAT PEPPERCASH.COM MAY WITHHOLD FUNDING OF YOUR LOAN AT ANY TIME PRIOR TO DISBURSEMENT SUBJECT TO
      VER/FICA TION OF APPL/CATION INFORMATION.

      By signing below you agree that we will initiate ACH debits and credits to Your Bank Account as described under the ACH Authorization above. You
      agree that the debit entries authorized herein are for repayment of a single payment loan and shall not recur at substantially regular intervals. You
      agree that this ACH Authorization is subject to our approval of the Loan Agreement.

      By signing below you agree that your loan may be renewed up to five times as described under AUTO-RENEWAL above, without additional notice to
      you. You also agree that your loan may be subject to the Workout Payment Plan after the Fifth Renewal Transaction, as described under AUTO-
      WORKOUT above. You authorize us to initiate debit entries to Your Bank Account for Renewal and Workout transactions as described above. You
      agree that you will receive no prior notice of Renewal and/or Workout plan payments, unless the amount of the payment is greater than $1300.

      By signing below you authorize us to verify all of the information that you have provided, including past and/or current information. You certify that
      you have made or will make all payments on any previous loans with Lender, and you agree that that Lender may cancel this loan if any payment on
      previous loans is not made or is returned unpaid. You agree that we may obtain information about you and your Account from your Bank and/or
      consumer reporting agencies and other services until all amounts owing pursuant to this Agreement are paid-in-full. If there is any missing or
      erroneous information in or with your loan application regarding your bank, bank routing number, or account number, then you authorize us to verify
      and correct such information.

      By signing below you agree that your loan may be renewed up to five times as described under AUTO-RENEWAL above, without additional notice to
      you.

      By signing below you warrant that you ARE NOT a regular or reserve member of the U.S. Military, including the Army, Navy, Marine Corps, Air Force, or
      Coast Guard, serving on active duty under a call or order that does not specify a period of 30 days or fewer (or a dependent of such a member).

      Initial below and click "I AGREE" to electronically sign this Agreement:

      Lender: PepperCash.com

      Borrower's E-Signature: 1517 ESIGNATURE 1

      Borrower Initials:
      First Name:                               Last Name:                        SSN #                                 Date:
      CUSTOMER_FIRST_NAME                       CUSTOMER_LAST_NAME                CUSTOMER_SSN                          APPLICATION_DATE




                                                                                                                                             JA455
CONFIDENTIAL                                                                                                                                   ROS002-0000692
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-612/06/2023     Pg: 459
                                                 Filed 04/21/23      of 1462
                                                                  Page    of 4 PageID# 48103




                                      Exhibit 6




                                                                                    JA456
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-612/06/2023     Pg: 460
                                                 Filed 04/21/23      of 2462
                                                                  Page    of 4 PageID# 48104



                                                                               Page 1

         1                             UNITED STATES DISTRICT COURT
         2                         IN AND FOR THE DISTRICT OF VIRGINIA
         3                                  RICHMOND DIVISION
         4
                                                      )
         5             LULA WILLIAMS, GLORIA          )
                       TURNAGE, GEORGE HENGLE, DOWIN )
         6             COFFY, and FELIX GILLISON,     )
                       JR., on behalf of themselves )
         7             and all individuals similarly ) No. 3:17-cv-00461
                       situated,                      )
         8                                            )
                                          Plaintiffs, )
         9                                            )
                                      vs.             )
       10                                             )
                       BIG PICTURE LOANS, LLC; MATT )
       11              MARTORELLO; ASCENSION          )
                       TECHNOLOGIES, INC.; DANIEL     )
       12              GRAVEL; JAMES WILLIAMS, JR.; )
                       GERTRUDE MCGESHICK; SUSAN      )
       13              MCGESHICK; and                 )
                       GIIWEGIIZHIGOODWAY MARTIN,     )
       14                                             )
                                          Defendants. )
       15                                             )
       16                               VIDEOTAPED DEPOSITION OF
       17                                 WARREN SCOTT MERRITT
       18                           Taken in behalf of Defendants
       19                                       * * *
       20                                    March 21, 2019
       21                          400 Columbia Street, Suite 140
       22                                 Vancouver, WA 98660
       23
                        Job No. CS3256218
       24               Janette M. Schmitt, CSR, CCR, RPR
       25               Court Reporter

                                          Veritext Legal Solutions
             800-567-8658                                                        973-410-4098
                                                                                    JA457
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-612/06/2023     Pg: 461
                                                 Filed 04/21/23      of 3462
                                                                  Page    of 4 PageID# 48105



                                                                             Page 32

         1      in, did you say, doing work with tribes?
         2           A.     Yes.
         3           Q.     Okay.    You don't recall anything
         4      specifically that he told you?
         5           A.     Not really, no.        I mean, I have dozens of
         6      those conversations at every trade show.
         7           Q.     Okay.    So what made you -- what led you,
         8      then, to introduce him to Mr. Rosette?
         9           A.     Just his -- his interest in working with
       10       the tribe.     I knew Rob -- Rob's a very well-known
       11       attorney in that space.
       12            Q.     At the time that you introduced
       13       Mr. Martorello to Mr. Rosette, had Mr. Rosette or
       14       anyone -- or Ms. Wichtman or anyone else indicated
       15       to you that LVD was interested in finding a service
       16       provider?
       17            A.     No.
       18            Q.     Had you had any interactions with anyone
       19       specifically at the tribe or its -- any of its
       20       corporate entities?
       21            A.     LVD?
       22            Q.     Uh-huh.
       23            A.     No.
       24            Q.     When did you introduce Mr. Martorello to
       25       Mr. Rosette?

                                          Veritext Legal Solutions
             800-567-8658                                                        973-410-4098
                                                                                    JA458
USCA4 Case
      Appeal: 23-2097   Doc: 11-1
           3:17-cv-00461-REP   DocumentFiled:
                                        1166-612/06/2023     Pg: 462
                                                 Filed 04/21/23      of 4462
                                                                  Page    of 4 PageID# 48106



                                                                            Page 124

         1                           C E R T I F I C A T E
         2
         3                  I, Janette M. Schmitt, a Certified Court
         4      Reporter for Washington, pursuant to RCW 5.28.010
         5      authorized to administer oaths and affirmations in
         6      and for the State of Washington, do hereby certify
         7      that, WARREN SCOTT MERRITT personally appeared
         8      before me at the time and place set forth in the
         9      caption hereof; that at said time and place I
       10       reported in Stenotype all testimony adduced and
       11       other oral proceedings had in the foregoing matter;
       12       that thereafter my notes were reduced to typewriting
       13       under my direction pursuant to Washington
       14       Administrative Code 308-14-135, the transcript
       15       preparation format guideline; and that the foregoing
       16       transcript, pages 1 to 125, both inclusive,
       17       constitutes a full, true and accurate record of all
       18       such testimony adduced and oral proceedings had, and
       19       of the whole thereof.
       20                   Witness my hand and CCR stamp at Vancouver,
       21       Washington, this 26th of March, 2019.
       22
                                             <%2143,Signature%>
       23                                  ______________________________
                                           JANETTE M. SCHMITT
       24                                  Certified Court Reporter
                                           Certificate No. 2252
       25                                  Commission Expires:          7/30/2019

                                          Veritext Legal Solutions
             800-567-8658                                                        973-410-4098
                                                                                    JA459
